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                                     #: 413



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ALLSTATE INSURANCE COMPANY, ALLSTATE FIRE & CASUALTY
 INSURANCE COMPANY, ALLSTATE INDEMNITY COMPANY, AND
 ALLSTATE PROPERTY & CASUALTY INSURANCE COMPANY,
                                                                     22-CV-4441
                                            PLAINTIFFS,
                           -against-
                                                                  COMPENDIUM OF
 TATIANA M. RYBAK, OLEG RYBAK, FABIOLA G. PERNIER AS
                                                                    EXHIBITS
 EXECUTOR OF THE ESTATE OF JEAN PIERRE CLAUDE PERNIER, M.D.,
 FRANCOIS JULES PARISIEN, M.D., FRANCIS JOSEPH LACINA, M.D.,
 KSENIA PAVLOVA, D.O., ALFORD A. SMITH, M.D., DARREN THOMAS
 MOLLO, D.C., CHARLES DENG, L.AC., MARIA SHEILA BUSLON A/K/A
 MARIA MASIGLA, P.T., JPC MEDICAL, P.C., JPF MEDICAL SERVICES,
 P.C., JULES MEDICAL, P.C. N/K/A GIBBONS MEDICAL, P.C., JP
 MEDICAL SERVICES P.C., JFL MEDICAL CARE P.C., ALLAY MEDICAL
 SERVICES, P.C., FJL MEDICAL SERVICES P.C., PFJ MEDICAL CARE
 P.C., RA MEDICAL SERVICES P.C., KP MEDICAL CARE P.C., ALFORD
 A. SMITH MD, P.C., STRATEGIC MEDICAL INITIATIVES P.C., ACH
 CHIROPRACTIC, P.C., ENERGY CHIROPRACTIC, P.C., ISLAND LIFE
 CHIROPRACTIC PAIN CARE, PLLC, CHARLES DENG ACUPUNCTURE,
 P.C., MSB PHYSICAL THERAPY, P.C., JOHN DOES 1 THROUGH 20, AND
 ABC CORPORATIONS 1 THROUGH 20,
                                              DEFENDANTS.




         COMPENDIUM OF EXHIBITS TO COMPLAINT


                             MORRISON MAHONEY LLP
                                WALL STREET PLAZA
                             88 PINE STREET, SUITE 1900
                                PHONE: 212-825-1212
                                 FAX: 212-825-1313
                             ATTORNEYS FOR PLAINTIFFS
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                    EXHIBIT “1”
                    Case 1:22-cv-04441-SJB-VMS      Document 1-4       Filed 07/28/22    Page 3 of 449 PageID
                                                          #: 415

                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials           Provider                 Used        Service       Units Paid                   Payor
0398385996-02    F.P.         ACH Chiropractic PC         98940 01/11/2016-03/16/2016 2     $26.41           Allstate Ins. Co.
0398385996-02    F.P.         ACH Chiropractic PC         98940       01/11/2016       1    $26.41           Allstate Ins. Co.
0398385996-02    F.P.         ACH Chiropractic PC         99203       01/11/2016       1    $54.74           Allstate Ins. Co.
0398385996-02    F.P.         ACH Chiropractic PC         98941 01/12/2016-03/14/2016 20 $589.56             Allstate Ins. Co.
0398385996-02    F.P.         ACH Chiropractic PC         98941 01/12/2016-02/01/2016 9    $312.12           Allstate Ins. Co.
0398385996-02    F.P.         ACH Chiropractic PC         98941 02/09/2016-03/01/2016 9    $312.12           Allstate Ins. Co.
0398385996-02    F.P.         ACH Chiropractic PC         97012 02/10/2016-02/22/2016 2     $23.12           Allstate Ins. Co.
0398385996-02    F.P.         ACH Chiropractic PC         97012 02/10/2016-02/22/2016 2     $23.12           Allstate Ins. Co.
0398385996-02    F.P.         ACH Chiropractic PC         98941 03/07/2016-03/14/2016 3    $104.04           Allstate Ins. Co.
0398385996-02    F.P.         ACH Chiropractic PC         98940       03/16/2016       1    $26.41           Allstate Ins. Co.
0398385996-02    F.P.         ACH Chiropractic PC         99212       03/16/2016       1    $26.41           Allstate Ins. Co.
0411304496-01    I.L.         ACH Chiropractic PC         98940       04/27/2016       1    $26.41    Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.         ACH Chiropractic PC         98941 04/28/2016-05/16/2016 6    $208.08    Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.         ACH Chiropractic PC         98941 05/24/2016-06/17/2016 10 $346.80      Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.         ACH Chiropractic PC         97012       05/25/2016       1    $11.56    Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.         ACH Chiropractic PC         98941 06/22/2016-07/14/2016 5    $173.40    Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.         ACH Chiropractic PC         98941 10/19/2016-10/27/2016 4    $138.72    Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.         ACH Chiropractic PC         99203       04/21/2016       1    $54.73    Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.         ACH Chiropractic PC         98941 04/27/2016-05/12/2016 6    $208.08    Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.         ACH Chiropractic PC         98941 05/24/2016-06/17/2016 9    $312.12    Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.         ACH Chiropractic PC         98941 06/22/2016-07/14/2016 4    $138.72    Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.         ACH Chiropractic PC         98941 07/21/2016-08/05/2016 6    $208.08    Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.         ACH Chiropractic PC         99212       07/25/2016       1    $26.41    Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.         ACH Chiropractic PC         98941       09/07/2016       1    $34.68    Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.         ACH Chiropractic PC         98941       09/16/2016       1    $34.68    Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.         ACH Chiropractic PC         98941 10/19/2016-10/27/2016 4    $138.72    Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.         ACH Chiropractic PC         72040       10/07/2016       1    $65.88    Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.         ACH Chiropractic PC         72100       10/07/2016       1    $45.07    Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.         ACH Chiropractic PC         99203       10/07/2016       1    $54.73    Allstate Fire and Cas. Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials           Provider                 Used        Service       Units Paid                   Payor
0431774421-01    J.C.         ACH Chiropractic PC         98941 10/10/2016-10/17/2016 4    $138.72    Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.         ACH Chiropractic PC         98940 10/26/2016-10/28/2016 3     $79.23    Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.            ACH Chiropractic PC         99203       10/07/2016       1    $54.73    Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.            ACH Chiropractic PC         98941 10/10/2016-10/26/2016 7    $242.76    Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.            ACH Chiropractic PC         99203       10/10/2016       1    $54.73    Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.            ACH Chiropractic PC         72040       10/12/2016       1    $65.88    Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.            ACH Chiropractic PC         72100       10/12/2016       1    $45.07    Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.            ACH Chiropractic PC         98941 10/17/2016-10/26/2016 4    $138.72    Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.            ACH Chiropractic PC         72040       10/07/2016       1    $65.88    Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.            ACH Chiropractic PC         72100       10/07/2016       1    $45.07    Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.            ACH Chiropractic PC         99203       10/07/2016       1    $54.73    Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.            ACH Chiropractic PC         98941 10/13/2016-10/24/2016 2     $69.36    Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.            ACH Chiropractic PC         98940 10/22/2016-10/26/2016 2     $52.82    Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.            ACH Chiropractic PC         99203       10/07/2016       1    $54.73    Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.            ACH Chiropractic PC         98941 10/10/2016-10/26/2016 6    $208.08    Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.            ACH Chiropractic PC         98940       10/17/2016       1    $26.41    Allstate Fire and Cas. Ins. Co.
0434546750-02 S.B.            ACH Chiropractic PC         72040       10/20/2016       1    $65.88           Allstate Ins. Co.
0434546750-02 S.B.            ACH Chiropractic PC         72100       10/20/2016       1    $45.07           Allstate Ins. Co.
0434546750-02 S.B.            ACH Chiropractic PC         93740       10/20/2016       1    $97.74           Allstate Ins. Co.
0434546750-02 S.B.            ACH Chiropractic PC         99203       10/20/2016       1    $54.73           Allstate Ins. Co.
0434546750-02 S.B.            ACH Chiropractic PC         98941 10/21/2016-10/28/2016 3    $104.04           Allstate Ins. Co.
0434546750-11    E.I.         ACH Chiropractic PC         93740       10/19/2016       1    $97.74           Allstate Ins. Co.
0434546750-11    E.I.         ACH Chiropractic PC         99203       10/19/2016       1    $54.73           Allstate Ins. Co.
0434546750-11    E.I.         ACH Chiropractic PC         72040       10/20/2016       1    $65.88           Allstate Ins. Co.
0434546750-11    E.I.         ACH Chiropractic PC         72100       10/20/2016       1    $45.07           Allstate Ins. Co.
0434546750-11    E.I.         ACH Chiropractic PC         98941 10/20/2016-10/28/2016 3    $104.04           Allstate Ins. Co.
0476244595-03 J.M.            ACH Chiropractic PC         72040       10/19/2017       1    $65.88           Allstate Ins. Co.
0476244595-03 J.M.            ACH Chiropractic PC         72100       10/19/2017       1    $45.07           Allstate Ins. Co.
0482079902-02 S.B.            ACH Chiropractic PC         72050       11/17/2017       1    $83.98    Allstate Fire and Cas. Ins. Co.


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                                                Allstate Ins. Co., et al. v. Rybak, et al.
                                   Representative Sample of Fraudulent Claims Paid to Defendants
                                                            Billing
              Claimant                                      Code         Dates of       # of Amount
  Claim No.    Initials             Provider                 Used        Service       Units Paid                   Payor
0482079902-02 S.B.            ACH Chiropractic PC           72100       11/17/2017       1    $45.07   Allstate Fire and Cas. Ins. Co.
0482079902-02 S.B.            ACH Chiropractic PC           76499       11/28/2017       1   $500.00   Allstate Fire and Cas. Ins. Co.
0492252812-02 S.B.            ACH Chiropractic PC           93740       02/23/2018       1    $97.74           Allstate Ins. Co.
0492252812-02 S.B.            ACH Chiropractic PC           72100       02/28/2018       1    $60.09           Allstate Ins. Co.
0492252812-02 S.B.            ACH Chiropractic PC           72100       03/19/2018       1    $60.09           Allstate Ins. Co.
0492252812-02 S.B.            ACH Chiropractic PC           76499       03/19/2018       1   $500.00           Allstate Ins. Co.
0496020934-01 E.D.            ACH Chiropractic PC           93740       03/23/2018       1    $97.74   Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.            ACH Chiropractic PC           72050       03/26/2018       1    $83.98   Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.            ACH Chiropractic PC           76499       03/27/2018       1   $500.00   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.         ACH Chiropractic PC           93740       03/23/2018       1    $97.74   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.         ACH Chiropractic PC           72040       03/27/2018       1    $49.41   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.         ACH Chiropractic PC           72110       03/27/2018       1    $87.60   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.         ACH Chiropractic PC           76499       03/28/2018       1   $500.00   Allstate Fire and Cas. Ins. Co.
0509792304-01    J.F.        Alford A Smith MD PC           20999       01/14/2019       2 $1,400.00   Allstate Fire and Cas. Ins. Co.
0509792304-01    J.F.        Alford A Smith MD PC           99215       01/14/2019       1   $148.69   Allstate Fire and Cas. Ins. Co.
0509792304-04    F.F.        Alford A Smith MD PC           99215       12/14/2018       1   $148.69   Allstate Fire and Cas. Ins. Co.
0512214957-01 R.D.           Alford A Smith MD PC           95926       11/29/2018       1   $112.37   Allstate Fire and Cas. Ins. Co.
0512214957-01 R.D.           Alford A Smith MD PC           95927       11/29/2018       1   $112.37   Allstate Fire and Cas. Ins. Co.
0512214957-01 R.D.           Alford A Smith MD PC           99215       12/19/2018       1    $85.00   Allstate Fire and Cas. Ins. Co.
0512214957-01 R.D.           Alford A Smith MD PC           99215       01/09/2019       1    $85.00   Allstate Fire and Cas. Ins. Co.
0358475275-04 C.L.          Allay Medical Services PC       99215       09/14/2015       1   $148.69   Allstate Fire and Cas. Ins. Co.
0369477179-02 J.M.          Allay Medical Services PC       99215       08/28/2015       1   $148.69   Allstate Fire and Cas. Ins. Co.
0370811663-03 K.B.          Allay Medical Services PC       99215       08/10/2015       1   $148.69           Allstate Ins. Co.
0374124246-03 P.G.          Allay Medical Services PC       97750       07/27/2015       1   $249.96   Allstate Prop. and Cas. Ins. Co.
0374124246-03 P.G.          Allay Medical Services PC       97010 09/11/2015-09/21/2015 3     $54.75   Allstate Prop. and Cas. Ins. Co.
0374124246-03 P.G.          Allay Medical Services PC       97110 09/11/2015-09/21/2015 3     $69.54   Allstate Prop. and Cas. Ins. Co.
0374124246-03 P.G.          Allay Medical Services PC       97124 09/11/2015-09/21/2015 3     $60.63   Allstate Prop. and Cas. Ins. Co.
0374124246-03 P.G.          Allay Medical Services PC       97799 09/11/2015-09/21/2015 3    $148.50   Allstate Prop. and Cas. Ins. Co.
0374124246-03 P.G.          Allay Medical Services PC       99215       09/11/2015       1   $148.69   Allstate Prop. and Cas. Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                           Billing
             Claimant                                      Code         Dates of       # of Amount
  Claim No.   Initials            Provider                  Used        Service       Units Paid                Payor
0374512275-02 B.S.         Allay Medical Services PC       95926       07/16/2015       1   $302.12        Allstate Ins. Co.
0374512275-02 B.S.         Allay Medical Services PC       97750       07/27/2015       1   $166.64        Allstate Ins. Co.
0374512275-02 B.S.         Allay Medical Services PC       97010 08/05/2015-08/12/2015 3     $54.75        Allstate Ins. Co.
0374512275-02 B.S.         Allay Medical Services PC       97110 08/05/2015-08/12/2015 3     $69.54        Allstate Ins. Co.
0374512275-02 B.S.         Allay Medical Services PC       97124 08/05/2015-08/12/2015 3     $60.63        Allstate Ins. Co.
0374512275-02 B.S.         Allay Medical Services PC       97799 08/05/2015-08/12/2015 3    $148.50        Allstate Ins. Co.
0374512275-02 B.S.         Allay Medical Services PC       97010 08/25/2015-08/27/2015 2     $36.50        Allstate Ins. Co.
0374512275-02 B.S.         Allay Medical Services PC       97110 08/25/2015-08/27/2015 2     $46.36        Allstate Ins. Co.
0374512275-02 B.S.         Allay Medical Services PC       97124 08/25/2015-08/27/2015 2     $40.34        Allstate Ins. Co.
0374512275-02 B.S.         Allay Medical Services PC       97799 08/25/2015-08/27/2015 2     $83.32        Allstate Ins. Co.
0374512275-02 B.S.         Allay Medical Services PC       97750       08/27/2015       1   $208.30        Allstate Ins. Co.
0374512275-02 B.S.         Allay Medical Services PC       97010 09/01/2015-09/22/2015 5     $91.25        Allstate Ins. Co.
0374512275-02 B.S.         Allay Medical Services PC       97110 09/01/2015-09/22/2015 5    $115.90        Allstate Ins. Co.
0374512275-02 B.S.         Allay Medical Services PC       97124 09/01/2015-09/22/2015 5    $101.05        Allstate Ins. Co.
0374512275-02 B.S.         Allay Medical Services PC       97799 09/01/2015-09/22/2015 5    $208.30        Allstate Ins. Co.
0374512275-02 B.S.         Allay Medical Services PC       97010 10/05/2015-10/16/2015 3     $18.25        Allstate Ins. Co.
0374512275-02 B.S.         Allay Medical Services PC       97110 10/05/2015-10/16/2015 3     $23.18        Allstate Ins. Co.
0374512275-02 B.S.         Allay Medical Services PC       97124 10/05/2015-10/16/2015 3     $20.17        Allstate Ins. Co.
0374512275-02 B.S.         Allay Medical Services PC       97799 10/05/2015-10/16/2015 3     $41.66        Allstate Ins. Co.
0374512275-03 Z.S.         Allay Medical Services PC       95926       07/17/2015       1   $302.12        Allstate Ins. Co.
0374512275-03 Z.S.         Allay Medical Services PC       97750       07/22/2015       1   $166.64        Allstate Ins. Co.
0374512275-03 Z.S.         Allay Medical Services PC       97010 07/27/2015-08/12/2015 4     $73.00        Allstate Ins. Co.
0374512275-03 Z.S.         Allay Medical Services PC       97110 07/27/2015-08/12/2015 4     $92.72        Allstate Ins. Co.
0374512275-03 Z.S.         Allay Medical Services PC       97124 07/27/2015-08/12/2015 4     $80.68        Allstate Ins. Co.
0374512275-03 Z.S.         Allay Medical Services PC       97799 07/27/2015-08/12/2015 4    $198.00        Allstate Ins. Co.
0374512275-03 Z.S.         Allay Medical Services PC       99215       08/12/2015       1   $148.69        Allstate Ins. Co.
0374512275-03 Z.S.         Allay Medical Services PC       97010 08/25/2015-08/27/2015 2     $36.50        Allstate Ins. Co.
0374512275-03 Z.S.         Allay Medical Services PC       97110 08/25/2015-08/27/2015 2     $46.36        Allstate Ins. Co.
0374512275-03 Z.S.         Allay Medical Services PC       97124 08/25/2015-08/27/2015 2     $40.34        Allstate Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                           Billing
             Claimant                                      Code         Dates of       # of Amount
  Claim No.   Initials            Provider                  Used        Service       Units Paid                  Payor
0374512275-03 Z.S.         Allay Medical Services PC       97799 08/25/2015-08/27/2015 2     $83.32          Allstate Ins. Co.
0374512275-03 Z.S.         Allay Medical Services PC       97750       08/27/2015       1   $249.96          Allstate Ins. Co.
0374512275-03 Z.S.         Allay Medical Services PC       97010 09/01/2015-09/22/2015 5     $36.50          Allstate Ins. Co.
0374512275-03 Z.S.         Allay Medical Services PC       97110 09/01/2015-09/22/2015 5     $46.36          Allstate Ins. Co.
0374512275-03 Z.S.         Allay Medical Services PC       97124 09/01/2015-09/22/2015 5     $40.42          Allstate Ins. Co.
0374512275-03 Z.S.         Allay Medical Services PC       97799 09/01/2015-09/22/2015 5     $99.00          Allstate Ins. Co.
0374512275-03 Z.S.         Allay Medical Services PC       95831       09/14/2015       1   $218.00          Allstate Ins. Co.
0374512275-03 Z.S.         Allay Medical Services PC       95833       09/14/2015       1   $114.32          Allstate Ins. Co.
0374512275-03 Z.S.         Allay Medical Services PC       95851       09/14/2015       1   $137.13          Allstate Ins. Co.
0374512275-03 Z.S.         Allay Medical Services PC       97750       10/12/2015       1   $249.96          Allstate Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       95831       07/09/2015       1   $130.80   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       95833       07/09/2015       1   $114.32   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       95851       07/09/2015       1    $91.42   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       95926       07/13/2015       1   $302.12   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       97010 07/30/2015-08/13/2015 4     $73.00   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       97110 07/30/2015-08/13/2015 4     $92.72   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       97124 07/30/2015-08/13/2015 4     $80.68   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       97799 07/30/2015-08/13/2015 4    $166.64   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       97750       08/10/2015       1   $249.96   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       95831       08/12/2015       1   $130.80   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       95833       08/12/2015       1   $114.32   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       95851       08/12/2015       1    $91.42   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       95861       08/13/2015       1   $241.50   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       95927       08/13/2015       1   $302.12   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       97010 08/18/2015-08/27/2015 6    $109.50   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       97110 08/18/2015-08/27/2015 5    $115.82   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       97124 08/18/2015-08/27/2015 6    $121.06   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       97799 08/18/2015-08/27/2015 6    $249.96   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       99215       08/26/2015       1   $148.69   Allstate Fire and Cas. Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                           Billing
             Claimant                                      Code         Dates of       # of Amount
  Claim No.   Initials            Provider                  Used        Service       Units Paid                  Payor
0374553048-02 E.F.         Allay Medical Services PC       97010 09/02/2015-09/24/2015 5     $91.25   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       97110 09/02/2015-09/24/2015 5    $115.90   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       97124 09/02/2015-09/24/2015 5    $101.05   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       97750       09/02/2015       1   $249.96   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       97799 09/02/2015-09/24/2015 5    $208.30   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       99358       09/02/2015       1   $204.41   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       97799 09/28/2015-10/21/2015 7    $148.50   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.         Allay Medical Services PC       95833       11/16/2015       1   $114.32   Allstate Fire and Cas. Ins. Co.
0375170644-02 M.R.         Allay Medical Services PC       99215       08/03/2015       1   $148.69   Allstate Prop. and Cas. Ins. Co.
0375170644-02 M.R.         Allay Medical Services PC       99215       08/17/2015       1   $148.69   Allstate Prop. and Cas. Ins. Co.
0375170644-02 M.R.         Allay Medical Services PC       99215       08/17/2015       1   $148.69   Allstate Prop. and Cas. Ins. Co.
0375170644-02 M.R.         Allay Medical Services PC       99215       09/03/2015       1   $148.69   Allstate Prop. and Cas. Ins. Co.
0375170644-02 M.R.         Allay Medical Services PC       99215       09/10/2015       1   $148.69   Allstate Prop. and Cas. Ins. Co.
0375170644-02 M.R.         Allay Medical Services PC       99215       09/24/2015       1   $148.69   Allstate Prop. and Cas. Ins. Co.
0375170644-04 L.A.         Allay Medical Services PC       99215       08/03/2015       1   $148.69   Allstate Prop. and Cas. Ins. Co.
0375170644-04 L.A.         Allay Medical Services PC       99215       08/27/2015       1   $148.69   Allstate Prop. and Cas. Ins. Co.
0375170644-04 L.A.         Allay Medical Services PC       99215       09/14/2015       1   $148.69   Allstate Prop. and Cas. Ins. Co.
0375170644-04 L.A.         Allay Medical Services PC       20610       09/21/2015       1    $57.26   Allstate Prop. and Cas. Ins. Co.
0376459327-01 R.G.         Allay Medical Services PC       99215       08/10/2015       1   $148.69   Allstate Fire and Cas. Ins. Co.
0376459327-01 R.G.         Allay Medical Services PC       99215       08/17/2015       1   $148.69   Allstate Fire and Cas. Ins. Co.
0376459327-01 R.G.         Allay Medical Services PC       20553       08/24/2015       1   $119.10   Allstate Fire and Cas. Ins. Co.
0376459327-01 R.G.         Allay Medical Services PC       20999       08/24/2015       2 $1,400.00   Allstate Fire and Cas. Ins. Co.
0376459327-01 R.G.         Allay Medical Services PC       99215       08/24/2015       1   $148.69   Allstate Fire and Cas. Ins. Co.
0376459327-01 R.G.         Allay Medical Services PC       99215       09/02/2015       1   $148.69   Allstate Fire and Cas. Ins. Co.
0376459327-01 R.G.         Allay Medical Services PC       99215       09/03/2015       1   $148.69   Allstate Fire and Cas. Ins. Co.
0376459327-01 R.G.         Allay Medical Services PC       99215       09/17/2015       1   $148.69   Allstate Fire and Cas. Ins. Co.
0376459327-01 R.G.         Allay Medical Services PC       20553       11/19/2015       1   $119.10   Allstate Fire and Cas. Ins. Co.
0376459327-01 R.G.         Allay Medical Services PC       20999       11/19/2015       2 $1,225.00   Allstate Fire and Cas. Ins. Co.
0377476239-01 L.C.         Allay Medical Services PC       99215       08/20/2015       1   $148.69   Allstate Fire and Cas. Ins. Co.


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                                                              #: 421

                                                Allstate Ins. Co., et al. v. Rybak, et al.
                                   Representative Sample of Fraudulent Claims Paid to Defendants
                                                            Billing
              Claimant                                      Code          Dates of        # of Amount
  Claim No.    Initials            Provider                  Used         Service         Units Paid                 Payor
0377476239-01 L.C.          Allay Medical Services PC       99215        08/24/2015        1    $148.69 Allstate Fire and Cas. Ins. Co.
0377476239-01 L.C.          Allay Medical Services PC       99215        08/27/2015        1    $148.69 Allstate Fire and Cas. Ins. Co.
0377476239-01 L.C.          Allay Medical Services PC       99215        09/17/2015        1    $148.69 Allstate Fire and Cas. Ins. Co.
0377476239-01 L.C.          Allay Medical Services PC       99215        09/21/2015        1    $148.69 Allstate Fire and Cas. Ins. Co.
0380106203-01    S.F.       Allay Medical Services PC       99244        08/17/2015        1    $236.94 Allstate Fire and Cas. Ins. Co.
0380106203-01    S.F.       Allay Medical Services PC       99215        08/24/2015        1    $148.69 Allstate Fire and Cas. Ins. Co.
0383001823-02 D.R.          Allay Medical Services PC       99244        12/15/2015        1    $236.94 Allstate Prop. and Cas. Ins. Co.
0383954005-01 R.S.          Allay Medical Services PC       99215        10/29/2015        1    $148.69 Allstate Fire and Cas. Ins. Co.
0386951981-02 T.U.          Allay Medical Services PC       20553        10/13/2015        1    $119.10         Allstate Ins. Co.
0386951981-02 T.U.          Allay Medical Services PC       20999        10/13/2015        2 $2,510.00          Allstate Ins. Co.
0386951981-02 T.U.          Allay Medical Services PC       99244        10/13/2015        1    $236.94         Allstate Ins. Co.
0387559552-01 D.D.          Allay Medical Services PC       99244        10/19/2015        1    $236.94 Allstate Fire and Cas. Ins. Co.
0387559552-01 D.D.          Allay Medical Services PC       99215        11/04/2015        1    $148.69 Allstate Fire and Cas. Ins. Co.
0387559552-01 D.D.          Allay Medical Services PC       99215        12/29/2015        1    $148.69 Allstate Fire and Cas. Ins. Co.
0388149213-04 M.C.          Allay Medical Services PC       20553        10/27/2015        1    $119.10     Allstate Indemnity Co.
0388149213-04 M.C.          Allay Medical Services PC       20999        10/27/2015        2 $2,275.00      Allstate Indemnity Co.
0388149213-04 M.C.          Allay Medical Services PC       99244        10/27/2015        1    $236.94     Allstate Indemnity Co.
0388846479-01 S.L.          Allay Medical Services PC       99244        11/19/2015        1    $236.94 Allstate Fire and Cas. Ins. Co.
0389975136-01    J.S.       Allay Medical Services PC       20553        11/04/2015        1    $119.10         Allstate Ins. Co.
0389975136-01    J.S.       Allay Medical Services PC       99244        11/04/2015        1    $236.94         Allstate Ins. Co.
0391142502-07 A.F.          Allay Medical Services PC       20553        11/09/2015        1    $119.10         Allstate Ins. Co.
0391142502-07 A.F.          Allay Medical Services PC       20999        11/09/2015        2 $2,600.00          Allstate Ins. Co.
0391142502-07 A.F.          Allay Medical Services PC       99244        11/09/2015        1    $236.94         Allstate Ins. Co.
0391142502-07 A.F.          Allay Medical Services PC       20553        11/16/2015        1    $119.10         Allstate Ins. Co.
0391142502-07 A.F.          Allay Medical Services PC       20999        11/16/2015        2 $1,400.00          Allstate Ins. Co.
0391537313-01    J.C.       Allay Medical Services PC       99244        12/30/2015        1    $236.94 Allstate Fire and Cas. Ins. Co.
0391594314-02 M.M.          Allay Medical Services PC       99244        11/23/2015        1    $236.94         Allstate Ins. Co.
0391594314-02 M.M.          Allay Medical Services PC       99215        11/30/2015        1    $148.69         Allstate Ins. Co.
0391594314-02 M.M.          Allay Medical Services PC       99215        12/07/2015        1    $148.69         Allstate Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials            Provider                Used        Service       Units Paid                   Payor
0391594314-02 M.M.         Allay Medical Services PC      99215       12/21/2015       1   $148.69           Allstate Ins. Co.
0391674355-01 A.F.         Allay Medical Services PC      99244       12/11/2015       1   $236.94           Allstate Ins. Co.
0391698619-01 D.L.         Allay Medical Services PC      99244       12/23/2015       1   $236.94   Allstate Fire and Cas. Ins. Co.
0391698619-02 P.M.         Allay Medical Services PC      20610       12/30/2015       1    $57.26   Allstate Fire and Cas. Ins. Co.
0391698619-02 P.M.         Allay Medical Services PC      99244       12/30/2015       1   $236.94   Allstate Fire and Cas. Ins. Co.
0393580955-02 M.L.         Allay Medical Services PC      99244       12/15/2015       1   $236.94           Allstate Ins. Co.
0394803431-02 A.D.         Allay Medical Services PC      99244       12/29/2015       1   $236.94           Allstate Ins. Co.
0431774421-02 P.C.         Allay Medical Services PC      20552       10/24/2016       1   $100.00   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.         Allay Medical Services PC      95927       10/19/2016       1   $302.12   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.         Allay Medical Services PC      95927       10/19/2016       1   $302.12   Allstate Fire and Cas. Ins. Co.
0189544090-01    J.T.     Charles Deng Acupuncture PC     97810 01/11/2011-03/01/2011 13 $246.24             Allstate Ins. Co.
0189544090-01    J.T.     Charles Deng Acupuncture PC     99203       01/11/2011       1    $80.00           Allstate Ins. Co.
0189544090-01    J.T.     Charles Deng Acupuncture PC     97810 03/17/2011-04/13/2011 4     $82.08           Allstate Ins. Co.
0191030063-03 F.C.        Charles Deng Acupuncture PC     97810 02/07/2011-02/21/2011 7    $143.64   Allstate Prop. and Cas. Ins. Co.
0191030063-03 F.C.        Charles Deng Acupuncture PC     99203       02/07/2011       1    $80.00   Allstate Prop. and Cas. Ins. Co.
0191030063-03 F.C.        Charles Deng Acupuncture PC     97810 02/22/2011-03/01/2011 4     $82.08   Allstate Prop. and Cas. Ins. Co.
0191030063-03 F.C.        Charles Deng Acupuncture PC     99213       02/22/2011       1    $70.00   Allstate Prop. and Cas. Ins. Co.
0191030063-03 F.C.        Charles Deng Acupuncture PC     97810 03/02/2011-03/28/2011 10 $205.20     Allstate Prop. and Cas. Ins. Co.
0191030063-03 F.C.        Charles Deng Acupuncture PC     97810 03/29/2011-04/12/2011 7    $143.64   Allstate Prop. and Cas. Ins. Co.
0191030063-03 F.C.        Charles Deng Acupuncture PC     97810 04/13/2011-05/24/2011 17 $348.84     Allstate Prop. and Cas. Ins. Co.
0191030063-03 F.C.        Charles Deng Acupuncture PC     97810 05/25/2011-07/07/2011 18    $41.04   Allstate Prop. and Cas. Ins. Co.
0191030063-03 F.C.        Charles Deng Acupuncture PC     99213       05/25/2011       1    $63.58   Allstate Prop. and Cas. Ins. Co.
0191030063-08 S.G.        Charles Deng Acupuncture PC     97810 02/07/2011-02/21/2011 9    $184.68   Allstate Prop. and Cas. Ins. Co.
0191030063-08 S.G.        Charles Deng Acupuncture PC     99203       02/07/2011       1    $80.00   Allstate Prop. and Cas. Ins. Co.
0191030063-08 S.G.        Charles Deng Acupuncture PC     97810 03/07/2011-03/28/2011 10 $205.20     Allstate Prop. and Cas. Ins. Co.
0191030063-08 S.G.        Charles Deng Acupuncture PC     97810 03/29/2011-04/12/2011 7    $143.64   Allstate Prop. and Cas. Ins. Co.
0191030063-08 S.G.        Charles Deng Acupuncture PC     97810 05/31/2011-06/13/2011 7     $41.04   Allstate Prop. and Cas. Ins. Co.
0191030063-08 S.G.        Charles Deng Acupuncture PC     97811 05/31/2011-06/13/2011 7     $70.28   Allstate Prop. and Cas. Ins. Co.
0192991008-08    S.S.     Charles Deng Acupuncture PC     97810       04/15/2011       1    $20.52       Allstate Indemnity Co.


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                   Case 1:22-cv-04441-SJB-VMS       Document 1-4 Filed 07/28/22         Page 11 of 449 PageID
                                                          #: 423

                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials            Provider                Used        Service       Units Paid                   Payor
0192991008-08    S.S.     Charles Deng Acupuncture PC     97811       04/15/2011       1    $17.57       Allstate Indemnity Co.
0193363124-05    J.J.     Charles Deng Acupuncture PC     97810 02/08/2011-03/14/2011 16 $307.80     Allstate Prop. and Cas. Ins. Co.
0193363124-05    J.J.     Charles Deng Acupuncture PC     99203       02/08/2011       1    $54.74   Allstate Prop. and Cas. Ins. Co.
0193363124-05    J.J.     Charles Deng Acupuncture PC     97810 03/15/2011-04/12/2011 12 $246.24     Allstate Prop. and Cas. Ins. Co.
0193363124-05    J.J.     Charles Deng Acupuncture PC     97810 04/13/2011-05/24/2011 18 $328.32     Allstate Prop. and Cas. Ins. Co.
0193363124-06 G.P.        Charles Deng Acupuncture PC     97810 02/09/2011-02/28/2011 9    $164.16   Allstate Prop. and Cas. Ins. Co.
0193363124-06 G.P.        Charles Deng Acupuncture PC     99203       02/09/2011       1    $54.74   Allstate Prop. and Cas. Ins. Co.
0193363124-06 G.P.        Charles Deng Acupuncture PC     97810 03/02/2011-03/08/2011 5    $102.60   Allstate Prop. and Cas. Ins. Co.
0193363124-06 G.P.        Charles Deng Acupuncture PC     97810 03/10/2011-04/13/2011 10 $205.20     Allstate Prop. and Cas. Ins. Co.
0193363124-06 G.P.        Charles Deng Acupuncture PC     97810 04/18/2011-05/04/2011 8     $41.04   Allstate Prop. and Cas. Ins. Co.
0193363124-06 G.P.        Charles Deng Acupuncture PC     97811 04/18/2011-05/04/2011 8     $35.14   Allstate Prop. and Cas. Ins. Co.
0195846332-01 D.S.        Charles Deng Acupuncture PC     97810 03/21/2011-04/13/2011 12 $246.24             Allstate Ins. Co.
0195846332-01 D.S.        Charles Deng Acupuncture PC     99203       03/21/2011       1    $54.74           Allstate Ins. Co.
0195846332-01 D.S.        Charles Deng Acupuncture PC     97810 04/19/2011-05/02/2011 4     $82.08           Allstate Ins. Co.
0195846332-01 D.S.        Charles Deng Acupuncture PC     97811 04/19/2011-05/02/2011 4     $70.28           Allstate Ins. Co.
0195846332-01 D.S.        Charles Deng Acupuncture PC     97810       07/01/2011       1    $20.52           Allstate Ins. Co.
0195846332-01 D.S.        Charles Deng Acupuncture PC     97811       07/01/2011       1    $17.57           Allstate Ins. Co.
0195846332-01 D.S.        Charles Deng Acupuncture PC     97810 07/22/2011-08/09/2011 3     $41.04           Allstate Ins. Co.
0195846332-01 D.S.        Charles Deng Acupuncture PC     97811 07/22/2011-08/09/2011 3     $35.14           Allstate Ins. Co.
0196167787-02 R.B.        Charles Deng Acupuncture PC     97810 04/01/2011-04/13/2011 3     $71.04   Allstate Prop. and Cas. Ins. Co.
0196167787-02 R.B.        Charles Deng Acupuncture PC     99203       04/01/2011       1    $48.03   Allstate Prop. and Cas. Ins. Co.
0196676050-03    J.J.     Charles Deng Acupuncture PC     97810 05/10/2011-05/24/2011 6    $123.12       Allstate Indemnity Co.
0196676050-03    J.J.     Charles Deng Acupuncture PC     97811 05/10/2011-05/24/2011 6    $210.84       Allstate Indemnity Co.
0196676050-03    J.J.     Charles Deng Acupuncture PC     97810 06/20/2011-07/06/2011 3     $61.56       Allstate Indemnity Co.
0196676050-03    J.J.     Charles Deng Acupuncture PC     97811 06/20/2011-07/06/2011 3     $52.71       Allstate Indemnity Co.
0196676050-03    J.J.     Charles Deng Acupuncture PC     97810 07/25/2011-08/02/2011 6    $123.12       Allstate Indemnity Co.
0196676050-03    J.J.     Charles Deng Acupuncture PC     97811 07/25/2011-08/02/2011 6    $105.42       Allstate Indemnity Co.
0204726103-01 A.C.        Charles Deng Acupuncture PC     97810 05/31/2011-06/29/2011 13 $246.24     Allstate Prop. and Cas. Ins. Co.
0204726103-01 A.C.        Charles Deng Acupuncture PC     97811 05/31/2011-06/29/2011 13 $421.68     Allstate Prop. and Cas. Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials            Provider                Used        Service       Units Paid                   Payor
0204726103-01 A.C.        Charles Deng Acupuncture PC     99203       05/31/2011       1    $78.03   Allstate Prop. and Cas. Ins. Co.
0204726103-01 A.C.        Charles Deng Acupuncture PC     97810 06/30/2011-07/07/2011 4     $82.08   Allstate Prop. and Cas. Ins. Co.
0204726103-01 A.C.        Charles Deng Acupuncture PC     97811 06/30/2011-07/07/2011 4    $140.56   Allstate Prop. and Cas. Ins. Co.
0204726103-01 A.C.        Charles Deng Acupuncture PC     97810 07/08/2011-07/28/2011 10 $205.20     Allstate Prop. and Cas. Ins. Co.
0204726103-01 A.C.        Charles Deng Acupuncture PC     97810 08/02/2011-08/17/2011 7    $143.64   Allstate Prop. and Cas. Ins. Co.
0205197642-01 G.D.        Charles Deng Acupuncture PC     97810 06/14/2011-06/29/2011 7    $123.12   Allstate Prop. and Cas. Ins. Co.
0205197642-01 G.D.        Charles Deng Acupuncture PC     99203       06/14/2011       1    $78.03   Allstate Prop. and Cas. Ins. Co.
0205197642-01 G.D.        Charles Deng Acupuncture PC     97810       07/05/2011       1    $20.52   Allstate Prop. and Cas. Ins. Co.
0205197642-01 G.D.        Charles Deng Acupuncture PC     97810 07/11/2011-08/05/2011 6    $123.12   Allstate Prop. and Cas. Ins. Co.
0208669697-03    J.S.     Charles Deng Acupuncture PC     97810 06/20/2011-07/05/2011 6    $123.12           Allstate Ins. Co.
0208669697-03    J.S.     Charles Deng Acupuncture PC     97811 06/20/2011-07/05/2011 6    $210.84           Allstate Ins. Co.
0208669697-03    J.S.     Charles Deng Acupuncture PC     97810 07/08/2011-07/29/2011 8    $164.16           Allstate Ins. Co.
0208669697-03    J.S.     Charles Deng Acupuncture PC     97811 07/08/2011-07/29/2011 8    $281.12           Allstate Ins. Co.
0208669697-03    J.S.     Charles Deng Acupuncture PC     97810 08/09/2011-08/23/2011 3     $61.56           Allstate Ins. Co.
0208669697-03    J.S.     Charles Deng Acupuncture PC     97811 08/09/2011-08/23/2011 3    $105.42           Allstate Ins. Co.
0210577441-04    P.P.     Charles Deng Acupuncture PC     97810 07/18/2011-08/08/2011 8    $164.16           Allstate Ins. Co.
0210577441-04    P.P.     Charles Deng Acupuncture PC     97811 07/18/2011-08/08/2011 8    $140.56           Allstate Ins. Co.
0210577441-04    P.P.     Charles Deng Acupuncture PC     99203       07/18/2011       1    $39.94           Allstate Ins. Co.
0210577441-04    P.P.     Charles Deng Acupuncture PC     97810 08/12/2011-08/19/2011 4     $82.08           Allstate Ins. Co.
0210577441-04    P.P.     Charles Deng Acupuncture PC     97811 08/12/2011-08/19/2011 4     $70.28           Allstate Ins. Co.
0210577441-04    P.P.     Charles Deng Acupuncture PC     97810 09/13/2011-10/24/2011 16 $328.32             Allstate Ins. Co.
0210577441-04    P.P.     Charles Deng Acupuncture PC     97811 09/13/2011-10/24/2011 16 $281.12             Allstate Ins. Co.
0210577441-05    F.P.     Charles Deng Acupuncture PC     97810 07/18/2011-08/08/2011 8    $164.16           Allstate Ins. Co.
0210577441-05    F.P.     Charles Deng Acupuncture PC     97811 07/18/2011-08/08/2011 8    $193.27           Allstate Ins. Co.
0210577441-05    F.P.     Charles Deng Acupuncture PC     99203       07/18/2011       1    $39.94           Allstate Ins. Co.
0210577441-05    F.P.     Charles Deng Acupuncture PC     97810 08/12/2011-08/19/2011 4     $82.08           Allstate Ins. Co.
0210577441-05    F.P.     Charles Deng Acupuncture PC     97811 08/12/2011-08/19/2011 4     $70.28           Allstate Ins. Co.
0210577441-05    F.P.     Charles Deng Acupuncture PC     97810 09/13/2011-10/04/2011 10 $205.20             Allstate Ins. Co.
0210577441-05    F.P.     Charles Deng Acupuncture PC     97811 09/13/2011-10/04/2011 10 $175.70             Allstate Ins. Co.


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                                                          #: 425

                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials            Provider                Used        Service       Units Paid                   Payor
0210577441-05    F.P.     Charles Deng Acupuncture PC     97810 10/05/2011-10/28/2011 10 $205.20             Allstate Ins. Co.
0210577441-05    F.P.     Charles Deng Acupuncture PC     97811 10/05/2011-10/28/2011 10 $175.70             Allstate Ins. Co.
0211701685-05    J.L.     Charles Deng Acupuncture PC     97810 08/01/2011-08/17/2011 7    $143.64   Allstate Prop. and Cas. Ins. Co.
0211701685-05    J.L.     Charles Deng Acupuncture PC     97811 08/01/2011-08/17/2011 7    $245.98   Allstate Prop. and Cas. Ins. Co.
0211701685-05    J.L.     Charles Deng Acupuncture PC     97810 08/19/2011-09/09/2011 7    $143.64   Allstate Prop. and Cas. Ins. Co.
0211701685-05    J.L.     Charles Deng Acupuncture PC     97811 08/19/2011-09/09/2011 7    $245.98   Allstate Prop. and Cas. Ins. Co.
0211701685-05    J.L.     Charles Deng Acupuncture PC     97810 09/14/2011-10/26/2011 7    $143.64   Allstate Prop. and Cas. Ins. Co.
0211701685-05    J.L.     Charles Deng Acupuncture PC     97811 09/14/2011-10/26/2011 7    $122.99   Allstate Prop. and Cas. Ins. Co.
0211701685-06 C.L.        Charles Deng Acupuncture PC     97810 08/02/2011-09/09/2011 12 $246.24     Allstate Prop. and Cas. Ins. Co.
0211701685-06 C.L.        Charles Deng Acupuncture PC     97811 08/02/2011-09/09/2011 12 $210.84     Allstate Prop. and Cas. Ins. Co.
0211701685-06 C.L.        Charles Deng Acupuncture PC     97810 09/14/2011-10/26/2011 4     $82.08   Allstate Prop. and Cas. Ins. Co.
0211701685-06 C.L.        Charles Deng Acupuncture PC     97811 09/14/2011-10/26/2011 4     $70.28   Allstate Prop. and Cas. Ins. Co.
0212571806-03 A.D.        Charles Deng Acupuncture PC     99203       07/28/2011       1    $80.00           Allstate Ins. Co.
0212571806-03 A.D.        Charles Deng Acupuncture PC     97810 08/16/2011-09/09/2011 10 $205.20             Allstate Ins. Co.
0212571806-03 A.D.        Charles Deng Acupuncture PC     97811 08/16/2011-09/09/2011 10 $298.69             Allstate Ins. Co.
0212571806-03 A.D.        Charles Deng Acupuncture PC     97810 09/12/2011-10/12/2011 10 $205.20             Allstate Ins. Co.
0212571806-03 A.D.        Charles Deng Acupuncture PC     97811 09/12/2011-10/12/2011 10 $245.98             Allstate Ins. Co.
0212571806-03 A.D.        Charles Deng Acupuncture PC     97810       10/14/2011       1    $20.52           Allstate Ins. Co.
0212571806-03 A.D.        Charles Deng Acupuncture PC     97811       10/14/2011       1    $35.14           Allstate Ins. Co.
0212571806-03 A.D.        Charles Deng Acupuncture PC     99213       10/14/2011       1    $70.00           Allstate Ins. Co.
0214337768-03 S.L.        Charles Deng Acupuncture PC     97810 07/27/2011-09/07/2011 11 $225.72     Allstate Prop. and Cas. Ins. Co.
0214337768-03 S.L.        Charles Deng Acupuncture PC     97811 07/27/2011-09/07/2011 11 $193.27     Allstate Prop. and Cas. Ins. Co.
0214337768-03 S.L.        Charles Deng Acupuncture PC     99203       07/27/2011       1    $54.74   Allstate Prop. and Cas. Ins. Co.
0214337768-03 S.L.        Charles Deng Acupuncture PC     97810 09/15/2011-10/10/2011 4     $82.08   Allstate Prop. and Cas. Ins. Co.
0214337768-03 S.L.        Charles Deng Acupuncture PC     97811 09/15/2011-10/10/2011 4     $70.28   Allstate Prop. and Cas. Ins. Co.
0214337768-03 S.L.        Charles Deng Acupuncture PC     97810 11/14/2011-12/21/2011 11 $225.72     Allstate Prop. and Cas. Ins. Co.
0214337768-03 S.L.        Charles Deng Acupuncture PC     97811 11/14/2011-12/21/2011 11 $193.27     Allstate Prop. and Cas. Ins. Co.
0217120120-03 Y.B.        Charles Deng Acupuncture PC     97810 09/15/2011-10/20/2011 9    $143.64           Allstate Ins. Co.
0217120120-03 Y.B.        Charles Deng Acupuncture PC     97811 09/15/2011-10/20/2011 8    $105.42           Allstate Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials            Provider                Used        Service       Units Paid                   Payor
0217120120-03 Y.B.        Charles Deng Acupuncture PC     99203       09/15/2011       1    $54.74           Allstate Ins. Co.
0217120120-03 Y.B.        Charles Deng Acupuncture PC     99213       10/18/2011       1    $63.58           Allstate Ins. Co.
0217120120-03 Y.B.        Charles Deng Acupuncture PC     97810 11/10/2011-12/23/2011 9    $184.68           Allstate Ins. Co.
0217120120-03 Y.B.        Charles Deng Acupuncture PC     97811 11/10/2011-12/23/2011 9    $158.13           Allstate Ins. Co.
0223443532-06 Y.P.        Charles Deng Acupuncture PC     97810 10/31/2011-11/09/2011 4     $82.08   Allstate Prop. and Cas. Ins. Co.
0223443532-06 Y.P.        Charles Deng Acupuncture PC     97811 10/31/2011-11/09/2011 4     $70.28   Allstate Prop. and Cas. Ins. Co.
0223443532-06 Y.P.        Charles Deng Acupuncture PC     99203       10/31/2011       1    $54.74   Allstate Prop. and Cas. Ins. Co.
0223443532-06 Y.P.        Charles Deng Acupuncture PC     97810 11/17/2011-12/23/2011 17 $348.84     Allstate Prop. and Cas. Ins. Co.
0223443532-06 Y.P.        Charles Deng Acupuncture PC     97811 11/17/2011-12/23/2011 17 $298.69     Allstate Prop. and Cas. Ins. Co.
0223443532-07 B.B.        Charles Deng Acupuncture PC     97810 11/01/2011-11/10/2011 5     $82.08   Allstate Prop. and Cas. Ins. Co.
0223443532-07 B.B.        Charles Deng Acupuncture PC     99203       11/01/2011       1    $78.03   Allstate Prop. and Cas. Ins. Co.
0223443532-07 B.B.        Charles Deng Acupuncture PC     97810 11/15/2011-12/16/2011 11 $225.72     Allstate Prop. and Cas. Ins. Co.
0227297040-03 M.A.        Charles Deng Acupuncture PC     97810       02/23/2012       1    $20.52           Allstate Ins. Co.
0227297040-03 M.A.        Charles Deng Acupuncture PC     97811       02/23/2012       1    $35.14           Allstate Ins. Co.
0228760237-01 K.L.        Charles Deng Acupuncture PC     97810 12/20/2011-01/19/2012 11 $225.72     Allstate Prop. and Cas. Ins. Co.
0228760237-01 K.L.        Charles Deng Acupuncture PC     97811 12/20/2011-01/19/2012 11 $196.04     Allstate Prop. and Cas. Ins. Co.
0228760237-01 K.L.        Charles Deng Acupuncture PC     99203       12/20/2011       1    $54.74   Allstate Prop. and Cas. Ins. Co.
0228760237-01 K.L.        Charles Deng Acupuncture PC     97810 01/26/2012-03/06/2012 12 $246.24     Allstate Prop. and Cas. Ins. Co.
0228760237-01 K.L.        Charles Deng Acupuncture PC     97811 01/26/2012-03/06/2012 12 $421.68     Allstate Prop. and Cas. Ins. Co.
0228760237-01 K.L.        Charles Deng Acupuncture PC     97810 03/09/2012-04/09/2012 6    $123.12   Allstate Prop. and Cas. Ins. Co.
0228760237-01 K.L.        Charles Deng Acupuncture PC     97811 03/09/2012-04/09/2012 6    $193.27   Allstate Prop. and Cas. Ins. Co.
0228760237-01 K.L.        Charles Deng Acupuncture PC     97810 04/23/2012-04/25/2012 2     $41.04   Allstate Prop. and Cas. Ins. Co.
0228760237-01 K.L.        Charles Deng Acupuncture PC     97811 04/23/2012-04/25/2012 2     $35.14   Allstate Prop. and Cas. Ins. Co.
0229571665-03    S.F.     Charles Deng Acupuncture PC     97810 12/27/2011-01/26/2012 3     $41.04           Allstate Ins. Co.
0229571665-03    S.F.     Charles Deng Acupuncture PC     97811 12/27/2011-01/26/2012 3     $35.14           Allstate Ins. Co.
0229571665-03    S.F.     Charles Deng Acupuncture PC     99203       12/27/2011       1    $54.74           Allstate Ins. Co.
0229571665-03    S.F.     Charles Deng Acupuncture PC     97810       02/29/2012       1    $20.52           Allstate Ins. Co.
0229571665-03    S.F.     Charles Deng Acupuncture PC     97811       02/29/2012       1    $17.57           Allstate Ins. Co.
0229571665-03    S.F.     Charles Deng Acupuncture PC     97810 04/23/2012-05/02/2012 2     $20.52           Allstate Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials            Provider                Used        Service       Units Paid                   Payor
0229571665-03    S.F.     Charles Deng Acupuncture PC     97811 04/23/2012-05/02/2012 2     $17.57           Allstate Ins. Co.
0230271157-01 B.M.        Charles Deng Acupuncture PC     97810 01/10/2012-02/08/2012 9    $184.68           Allstate Ins. Co.
0230271157-01 B.M.        Charles Deng Acupuncture PC     99203       01/10/2012       1    $54.74           Allstate Ins. Co.
0230271157-01 B.M.        Charles Deng Acupuncture PC     97811 01/24/2012-01/26/2012 2     $35.14           Allstate Ins. Co.
0230271157-01 B.M.        Charles Deng Acupuncture PC     97810 02/10/2012-03/07/2012 10 $205.20             Allstate Ins. Co.
0230271157-01 B.M.        Charles Deng Acupuncture PC     97810 03/19/2012-04/11/2012 9    $184.68           Allstate Ins. Co.
0230271157-01 B.M.        Charles Deng Acupuncture PC     99213       03/19/2012       1    $26.41           Allstate Ins. Co.
0230271157-01 B.M.        Charles Deng Acupuncture PC     97810 04/17/2012-05/03/2012 4     $41.04           Allstate Ins. Co.
0230271157-01 B.M.        Charles Deng Acupuncture PC     97810       04/23/2012       1    $20.52           Allstate Ins. Co.
0230271157-06 R.M.        Charles Deng Acupuncture PC     97810 01/12/2012-02/08/2012 10 $205.20             Allstate Ins. Co.
0230271157-06 R.M.        Charles Deng Acupuncture PC     99203       01/12/2012       1    $54.74           Allstate Ins. Co.
0230271157-06 R.M.        Charles Deng Acupuncture PC     97810 02/13/2012-02/22/2012 5    $102.60           Allstate Ins. Co.
0230271157-06 R.M.        Charles Deng Acupuncture PC     97810 03/14/2012-03/27/2012 3     $61.56           Allstate Ins. Co.
0230271157-06 R.M.        Charles Deng Acupuncture PC     99213       03/14/2012       1    $26.41           Allstate Ins. Co.
0230271157-06 R.M.        Charles Deng Acupuncture PC     97811       03/27/2012       1    $17.57           Allstate Ins. Co.
0230271157-07 B.M.        Charles Deng Acupuncture PC     97810 02/10/2012-02/22/2012 7    $143.64           Allstate Ins. Co.
0230271157-07 B.M.        Charles Deng Acupuncture PC     97810 03/26/2012-03/27/2012 2     $41.04           Allstate Ins. Co.
0230710758-01 M.G.        Charles Deng Acupuncture PC     97810 12/12/2011-01/20/2012 16 $307.80     Allstate Prop. and Cas. Ins. Co.
0230710758-01 M.G.        Charles Deng Acupuncture PC     97811 12/12/2011-01/20/2012 16 $527.10     Allstate Prop. and Cas. Ins. Co.
0230710758-01 M.G.        Charles Deng Acupuncture PC     99203       12/12/2011       1    $78.03   Allstate Prop. and Cas. Ins. Co.
0230710758-01 M.G.        Charles Deng Acupuncture PC     97810 01/25/2012-03/01/2012 14 $287.28     Allstate Prop. and Cas. Ins. Co.
0230710758-01 M.G.        Charles Deng Acupuncture PC     97811 01/25/2012-03/01/2012 14 $245.98     Allstate Prop. and Cas. Ins. Co.
0230710758-01 M.G.        Charles Deng Acupuncture PC     97810 03/07/2012-04/04/2012 13 $266.76     Allstate Prop. and Cas. Ins. Co.
0230710758-01 M.G.        Charles Deng Acupuncture PC     97811 03/07/2012-04/04/2012 13 $316.26     Allstate Prop. and Cas. Ins. Co.
0230710758-01 M.G.        Charles Deng Acupuncture PC     99213       03/07/2012       1    $26.41   Allstate Prop. and Cas. Ins. Co.
0230710758-01 M.G.        Charles Deng Acupuncture PC     97810 04/11/2012-04/25/2012 4     $82.08   Allstate Prop. and Cas. Ins. Co.
0230710758-01 M.G.        Charles Deng Acupuncture PC     97811 04/11/2012-04/25/2012 4     $70.28   Allstate Prop. and Cas. Ins. Co.
0231928466-01 G.M.        Charles Deng Acupuncture PC     97810 01/19/2012-03/07/2012 18 $348.84     Allstate Prop. and Cas. Ins. Co.
0231928466-01 G.M.        Charles Deng Acupuncture PC     99203       01/19/2012       1    $54.74   Allstate Prop. and Cas. Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials            Provider                Used        Service       Units Paid                   Payor
0231928466-01 G.M.        Charles Deng Acupuncture PC     97810 03/07/2012-04/10/2012 10 $184.68     Allstate Prop. and Cas. Ins. Co.
0231928466-01 G.M.        Charles Deng Acupuncture PC     99213       03/13/2012       1    $33.70   Allstate Prop. and Cas. Ins. Co.
0232367730-01 L.C.        Charles Deng Acupuncture PC     97810 01/26/2012-02/24/2012 8    $164.16   Allstate Prop. and Cas. Ins. Co.
0232367730-01 L.C.        Charles Deng Acupuncture PC     97811 01/26/2012-02/24/2012 8    $125.76   Allstate Prop. and Cas. Ins. Co.
0232367730-01 L.C.        Charles Deng Acupuncture PC     99203       01/26/2012       1    $54.74   Allstate Prop. and Cas. Ins. Co.
0232367730-06 D.D.        Charles Deng Acupuncture PC     97810 01/26/2012-02/29/2012 5    $102.60   Allstate Prop. and Cas. Ins. Co.
0232367730-06 D.D.        Charles Deng Acupuncture PC     97811 01/26/2012-02/29/2012 5     $73.05   Allstate Prop. and Cas. Ins. Co.
0232367730-06 D.D.        Charles Deng Acupuncture PC     99203       01/26/2012       1    $54.74   Allstate Prop. and Cas. Ins. Co.
0232367730-09    S.J.     Charles Deng Acupuncture PC     97810 01/17/2012-02/28/2012 10 $205.20     Allstate Prop. and Cas. Ins. Co.
0232367730-09    S.J.     Charles Deng Acupuncture PC     97811 01/17/2012-02/28/2012 10 $351.40     Allstate Prop. and Cas. Ins. Co.
0232367730-09    S.J.     Charles Deng Acupuncture PC     99203       01/17/2012       1    $54.74   Allstate Prop. and Cas. Ins. Co.
0232367730-09    S.J.     Charles Deng Acupuncture PC     97810 03/07/2012-03/21/2012 2     $41.04   Allstate Prop. and Cas. Ins. Co.
0232367730-09    S.J.     Charles Deng Acupuncture PC     97811 03/07/2012-03/21/2012 2     $35.14   Allstate Prop. and Cas. Ins. Co.
0232367730-09    S.J.     Charles Deng Acupuncture PC     99213       03/07/2012       1    $26.41   Allstate Prop. and Cas. Ins. Co.
0232442087-03 A.L.        Charles Deng Acupuncture PC     97810 01/24/2012-02/15/2012 10 $205.20             Allstate Ins. Co.
0232442087-03 A.L.        Charles Deng Acupuncture PC     97811 01/24/2012-02/15/2012 10 $351.40             Allstate Ins. Co.
0232442087-03 A.L.        Charles Deng Acupuncture PC     99203       01/24/2012       1    $54.74           Allstate Ins. Co.
0232442087-03 A.L.        Charles Deng Acupuncture PC     97810 02/17/2012-03/02/2012 5    $102.60           Allstate Ins. Co.
0232442087-03 A.L.        Charles Deng Acupuncture PC     97811 02/17/2012-03/02/2012 5    $175.70           Allstate Ins. Co.
0232442087-03 A.L.        Charles Deng Acupuncture PC     97810 03/08/2012-04/09/2012 12 $246.24             Allstate Ins. Co.
0232442087-03 A.L.        Charles Deng Acupuncture PC     97811 03/08/2012-04/09/2012 12 $421.68             Allstate Ins. Co.
0232442087-03 A.L.        Charles Deng Acupuncture PC     99213       03/08/2012       1    $54.74           Allstate Ins. Co.
0237989108-03 E.E.        Charles Deng Acupuncture PC     97810 03/19/2012-04/16/2012 8    $164.16   Allstate Prop. and Cas. Ins. Co.
0237989108-03 E.E.        Charles Deng Acupuncture PC     97811 03/19/2012-04/16/2012 8    $140.56   Allstate Prop. and Cas. Ins. Co.
0237989108-03 E.E.        Charles Deng Acupuncture PC     97810       05/18/2012       1    $20.52   Allstate Prop. and Cas. Ins. Co.
0237989108-03 E.E.        Charles Deng Acupuncture PC     97811       05/18/2012       1    $17.57   Allstate Prop. and Cas. Ins. Co.
0240366203-03 O.L.        Charles Deng Acupuncture PC     97810 04/09/2012-05/15/2012 12 $246.24     Allstate Prop. and Cas. Ins. Co.
0240366203-03 O.L.        Charles Deng Acupuncture PC     97811 04/09/2012-05/15/2012 12 $210.84     Allstate Prop. and Cas. Ins. Co.
0240366203-03 O.L.        Charles Deng Acupuncture PC     99203       04/09/2012       1    $80.00   Allstate Prop. and Cas. Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials            Provider                Used        Service       Units Paid                   Payor
0240366203-03 O.L.        Charles Deng Acupuncture PC     97810 06/04/2012-07/10/2012 9    $184.68   Allstate Prop. and Cas. Ins. Co.
0240366203-03 O.L.        Charles Deng Acupuncture PC     97811 06/04/2012-07/10/2012 9    $158.13   Allstate Prop. and Cas. Ins. Co.
0241444553-05 K.L.        Charles Deng Acupuncture PC     97810       04/16/2012       1    $20.52   Allstate Fire and Cas. Ins. Co.
0241444553-05 K.L.        Charles Deng Acupuncture PC     97811       04/16/2012       1    $17.57   Allstate Fire and Cas. Ins. Co.
0241444553-05 K.L.        Charles Deng Acupuncture PC     99203       04/16/2012       1    $54.74   Allstate Fire and Cas. Ins. Co.
0246761522-01 D.H.        Charles Deng Acupuncture PC     97810 06/04/2012-07/02/2012 11 $225.72     Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.        Charles Deng Acupuncture PC     97811 06/04/2012-07/02/2012 11 $193.27     Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.        Charles Deng Acupuncture PC     99203       06/04/2012       1    $54.74   Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.        Charles Deng Acupuncture PC     97810 07/03/2012-07/17/2012 4     $82.08   Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.        Charles Deng Acupuncture PC     97811 07/03/2012-07/17/2012 4     $70.28   Allstate Prop. and Cas. Ins. Co.
0246847370-04 M.F.        Charles Deng Acupuncture PC     97810 05/18/2012-06/13/2012 12 $246.24             Allstate Ins. Co.
0246847370-04 M.F.        Charles Deng Acupuncture PC     97811 05/18/2012-06/13/2012 12 $210.84             Allstate Ins. Co.
0246847370-04 M.F.        Charles Deng Acupuncture PC     97810       08/15/2012       1    $20.52           Allstate Ins. Co.
0246847370-04 M.F.        Charles Deng Acupuncture PC     97811       08/15/2012       1    $17.57           Allstate Ins. Co.
0246847370-05 W.J.        Charles Deng Acupuncture PC     97810 05/22/2012-06/14/2012 10 $205.20             Allstate Ins. Co.
0246847370-05 W.J.        Charles Deng Acupuncture PC     97811 05/22/2012-06/14/2012 10 $175.70             Allstate Ins. Co.
0246847370-05 W.J.        Charles Deng Acupuncture PC     97810 06/18/2012-07/18/2012 11 $225.72             Allstate Ins. Co.
0246847370-05 W.J.        Charles Deng Acupuncture PC     97811 06/18/2012-07/16/2012 10 $175.70             Allstate Ins. Co.
0246847370-05 W.J.        Charles Deng Acupuncture PC     97810 07/24/2012-08/09/2012 4     $82.08           Allstate Ins. Co.
0247042302-01 B.B.        Charles Deng Acupuncture PC     97810 06/28/2012-07/30/2012 13 $266.76     Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.        Charles Deng Acupuncture PC     97811 06/28/2012-07/30/2012 13 $228.41     Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.        Charles Deng Acupuncture PC     99203       06/28/2012       1    $54.74   Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.        Charles Deng Acupuncture PC     97810 08/01/2012-08/24/2012 6    $123.12   Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.        Charles Deng Acupuncture PC     97811 08/01/2012-08/24/2012 6    $105.42   Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.        Charles Deng Acupuncture PC     97810 08/27/2012-10/02/2012 11 $225.72     Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.        Charles Deng Acupuncture PC     97810 10/09/2012-11/13/2012 5     $61.56   Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.        Charles Deng Acupuncture PC     97811 10/09/2012-11/13/2012 5     $52.71   Allstate Fire and Cas. Ins. Co.
0247385354-01    J.E.     Charles Deng Acupuncture PC     97810 06/07/2012-07/10/2012 11 $225.72             Allstate Ins. Co.
0247385354-01    J.E.     Charles Deng Acupuncture PC     97811 06/07/2012-07/10/2012 11 $193.27             Allstate Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials            Provider                Used        Service       Units Paid                  Payor
0247385354-01    J.E.     Charles Deng Acupuncture PC     97810 07/11/2012-07/18/2012 4     $82.08          Allstate Ins. Co.
0247385354-01    J.E.     Charles Deng Acupuncture PC     97811 07/11/2012-07/18/2012 4     $70.28          Allstate Ins. Co.
0247385354-01    J.E.     Charles Deng Acupuncture PC     97810 07/19/2012-08/23/2012 11 $225.72            Allstate Ins. Co.
0247385354-01    J.E.     Charles Deng Acupuncture PC     97811 07/19/2012-08/23/2012 11 $193.27            Allstate Ins. Co.
0247385354-01    J.E.     Charles Deng Acupuncture PC     97810 08/29/2012-10/03/2012 12 $246.24            Allstate Ins. Co.
0247385354-01    J.E.     Charles Deng Acupuncture PC     97811 08/29/2012-10/03/2012 12 $210.84            Allstate Ins. Co.
0247385354-01    J.E.     Charles Deng Acupuncture PC     97810 10/12/2012-10/25/2012 5     $61.56          Allstate Ins. Co.
0247385354-01    J.E.     Charles Deng Acupuncture PC     97811 10/12/2012-10/25/2012 5     $52.71          Allstate Ins. Co.
0247385354-04 R.K.        Charles Deng Acupuncture PC     97810 06/07/2012-07/10/2012 14 $287.28            Allstate Ins. Co.
0247385354-04 R.K.        Charles Deng Acupuncture PC     99203       06/07/2012       1    $80.00          Allstate Ins. Co.
0247385354-04 R.K.        Charles Deng Acupuncture PC     97810 07/11/2012-07/19/2012 4     $82.08          Allstate Ins. Co.
0247385354-04 R.K.        Charles Deng Acupuncture PC     97811 07/11/2012-07/19/2012 4     $70.28          Allstate Ins. Co.
0247385354-04 R.K.        Charles Deng Acupuncture PC     97810 07/24/2012-08/23/2012 10 $205.20            Allstate Ins. Co.
0247385354-04 R.K.        Charles Deng Acupuncture PC     97810 08/28/2012-10/02/2012 9    $184.68          Allstate Ins. Co.
0247385354-05    R.I.     Charles Deng Acupuncture PC     97810 06/07/2012-06/19/2012 5    $102.60          Allstate Ins. Co.
0247385354-05    R.I.     Charles Deng Acupuncture PC     97811 06/07/2012-06/19/2012 5     $87.85          Allstate Ins. Co.
0247385354-05    R.I.     Charles Deng Acupuncture PC     97810 07/23/2012-08/24/2012 9    $184.68          Allstate Ins. Co.
0247385354-05    R.I.     Charles Deng Acupuncture PC     97811 07/23/2012-08/24/2012 9    $158.13          Allstate Ins. Co.
0247385354-05    R.I.     Charles Deng Acupuncture PC     97810 08/30/2012-09/26/2012 5    $102.60          Allstate Ins. Co.
0247385354-05    R.I.     Charles Deng Acupuncture PC     97811 08/30/2012-09/26/2012 5     $87.85          Allstate Ins. Co.
0249232133-03 M.M.        Charles Deng Acupuncture PC     97810 06/27/2012-07/12/2012 9    $184.68   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.        Charles Deng Acupuncture PC     97811 06/27/2012-07/12/2012 9    $245.98   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.        Charles Deng Acupuncture PC     99203       06/27/2012       1    $54.74   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.        Charles Deng Acupuncture PC     97810 07/16/2012-07/30/2012 7    $143.64   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.        Charles Deng Acupuncture PC     97811 07/16/2012-07/30/2012 7    $122.99   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.        Charles Deng Acupuncture PC     97810 08/01/2012-08/23/2012 7    $143.64   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.        Charles Deng Acupuncture PC     97811 08/01/2012-08/23/2012 7    $122.99   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.        Charles Deng Acupuncture PC     97810 08/28/2012-10/04/2012 12 $246.24     Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.        Charles Deng Acupuncture PC     97811 08/28/2012-10/04/2012 12 $210.84     Allstate Fire and Cas. Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                         Billing
             Claimant                                    Code         Dates of       # of Amount
  Claim No.   Initials            Provider                Used        Service       Units Paid                   Payor
0249232133-03 M.M.       Charles Deng Acupuncture PC     97810 10/11/2012-10/25/2012 6    $123.12   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.       Charles Deng Acupuncture PC     97811 10/11/2012-10/25/2012 6    $105.42   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.       Charles Deng Acupuncture PC     97810       12/26/2012       1    $20.52   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.       Charles Deng Acupuncture PC     97811       12/26/2012       1    $17.57   Allstate Fire and Cas. Ins. Co.
0252361290-05 G.T.       Charles Deng Acupuncture PC     97810 08/14/2012-09/07/2012 7    $143.64   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.       Charles Deng Acupuncture PC     97811 08/14/2012-09/07/2012 7    $122.99   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.       Charles Deng Acupuncture PC     99203       08/14/2012       1    $54.74   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.       Charles Deng Acupuncture PC     97810       09/13/2012       1    $20.52   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.       Charles Deng Acupuncture PC     97811       09/13/2012       1    $17.57   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.       Charles Deng Acupuncture PC     97810 07/17/2012-08/13/2012 12 $246.24     Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.       Charles Deng Acupuncture PC     97811 07/17/2012-08/13/2012 12 $228.41     Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.       Charles Deng Acupuncture PC     97810 09/14/2012-10/09/2012 9    $184.68   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.       Charles Deng Acupuncture PC     97811 09/14/2012-10/09/2012 9    $158.13   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.       Charles Deng Acupuncture PC     97810 07/02/2012-08/16/2012 14 $287.28     Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.       Charles Deng Acupuncture PC     97811 07/02/2012-08/16/2012 14 $245.98     Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.       Charles Deng Acupuncture PC     97810       08/20/2012       1    $20.52   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.       Charles Deng Acupuncture PC     97811       08/20/2012       1    $17.57   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.       Charles Deng Acupuncture PC     97810 08/28/2012-10/05/2012 7    $143.64   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.       Charles Deng Acupuncture PC     97811 08/28/2012-10/05/2012 7    $122.99   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.       Charles Deng Acupuncture PC     97810 10/10/2012-11/23/2012 12 $246.24     Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.       Charles Deng Acupuncture PC     97811 10/10/2012-11/23/2012 12 $210.84     Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.       Charles Deng Acupuncture PC     97810 12/12/2012-01/09/2013 9     $82.08   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.       Charles Deng Acupuncture PC     97811 12/12/2012-01/09/2013 9     $70.28   Allstate Prop. and Cas. Ins. Co.
0253727044-14 M.B.       Charles Deng Acupuncture PC     97810 07/20/2012-08/22/2012 5    $102.60   Allstate Prop. and Cas. Ins. Co.
0253727044-14 M.B.       Charles Deng Acupuncture PC     97811 07/20/2012-08/22/2012 5     $87.85   Allstate Prop. and Cas. Ins. Co.
0257961391-07 M.P.       Charles Deng Acupuncture PC     97810 08/27/2012-10/08/2012 17 $348.84             Allstate Ins. Co.
0257961391-07 M.P.       Charles Deng Acupuncture PC     97810       10/22/2012       1    $20.52           Allstate Ins. Co.
0257961391-07 M.P.       Charles Deng Acupuncture PC     97811       10/22/2012       1    $35.14           Allstate Ins. Co.
0257961391-07 M.P.       Charles Deng Acupuncture PC     97810       01/11/2013       1    $20.52           Allstate Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials            Provider                Used        Service       Units Paid                  Payor
0257961391-07 M.P.        Charles Deng Acupuncture PC     97810       01/29/2013       1    $20.52          Allstate Ins. Co.
0257961391-13    J.J.     Charles Deng Acupuncture PC     97810 08/27/2012-10/04/2012 18 $369.36            Allstate Ins. Co.
0257961391-13    J.J.     Charles Deng Acupuncture PC     97811 08/27/2012-10/04/2012 18 $316.26            Allstate Ins. Co.
0257961391-13    J.J.     Charles Deng Acupuncture PC     99203       08/27/2012       1    $80.00          Allstate Ins. Co.
0257961391-13    J.J.     Charles Deng Acupuncture PC     97810 09/06/2012-10/08/2012 13 $102.60            Allstate Ins. Co.
0257961391-13    J.J.     Charles Deng Acupuncture PC     97811 09/06/2012-10/08/2012 13    $87.85          Allstate Ins. Co.
0257961391-13    J.J.     Charles Deng Acupuncture PC     97810 10/10/2012-10/15/2012 2     $41.04          Allstate Ins. Co.
0257961391-13    J.J.     Charles Deng Acupuncture PC     97811 10/10/2012-10/15/2012 2     $35.14          Allstate Ins. Co.
0259040152-03    R.J.     Charles Deng Acupuncture PC     97810 09/21/2012-10/03/2012 3     $61.56   Allstate Fire and Cas. Ins. Co.
0259040152-03    R.J.     Charles Deng Acupuncture PC     97811 09/21/2012-10/03/2012 3     $52.71   Allstate Fire and Cas. Ins. Co.
0259040152-03    R.J.     Charles Deng Acupuncture PC     97810 10/24/2012-11/23/2012 7    $143.64   Allstate Fire and Cas. Ins. Co.
0259040152-03    R.J.     Charles Deng Acupuncture PC     97811 10/24/2012-11/23/2012 7    $122.99   Allstate Fire and Cas. Ins. Co.
0259681756-03 T.P.        Charles Deng Acupuncture PC     97810 09/25/2012-10/08/2012 5    $102.60          Allstate Ins. Co.
0259681756-03 T.P.        Charles Deng Acupuncture PC     97810 10/15/2012-11/23/2012 9    $184.68          Allstate Ins. Co.
0259681756-03 T.P.        Charles Deng Acupuncture PC     97810 12/14/2012-01/18/2013 8     $61.56          Allstate Ins. Co.
0259681756-03 T.P.        Charles Deng Acupuncture PC     97810 01/23/2013-02/07/2013 4     $61.56          Allstate Ins. Co.
0259681756-03 T.P.        Charles Deng Acupuncture PC     97811 01/23/2013-02/07/2013 4     $52.71          Allstate Ins. Co.
0259686599-02 D.R.        Charles Deng Acupuncture PC     97810 09/19/2012-09/24/2012 3     $61.56          Allstate Ins. Co.
0259686599-02 D.R.        Charles Deng Acupuncture PC     97811 09/19/2012-09/24/2012 3     $52.71          Allstate Ins. Co.
0259686599-02 D.R.        Charles Deng Acupuncture PC     99203       09/19/2012       1    $80.00          Allstate Ins. Co.
0259686599-03 V.C.        Charles Deng Acupuncture PC     97810 09/19/2012-10/08/2012 9    $184.68          Allstate Ins. Co.
0259686599-03 V.C.        Charles Deng Acupuncture PC     97811 09/19/2012-10/08/2012 9    $158.13          Allstate Ins. Co.
0259686599-03 V.C.        Charles Deng Acupuncture PC     99203       09/19/2012       1    $54.74          Allstate Ins. Co.
0259686599-03 V.C.        Charles Deng Acupuncture PC     97810 10/10/2012-11/21/2012 13 $266.76            Allstate Ins. Co.
0259686599-03 V.C.        Charles Deng Acupuncture PC     97811 10/10/2012-11/21/2012 13 $228.41            Allstate Ins. Co.
0259686599-03 V.C.        Charles Deng Acupuncture PC     99213       10/16/2012       1    $70.00          Allstate Ins. Co.
0259686599-03 V.C.        Charles Deng Acupuncture PC     97810 12/19/2012-01/17/2013 7     $61.56          Allstate Ins. Co.
0259686599-07 L.C.        Charles Deng Acupuncture PC     97810 09/21/2012-10/08/2012 8    $164.16          Allstate Ins. Co.
0259686599-07 L.C.        Charles Deng Acupuncture PC     97811 09/21/2012-10/08/2012 8    $140.56          Allstate Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials            Provider                Used        Service       Units Paid                  Payor
0259686599-07 L.C.        Charles Deng Acupuncture PC     99203       09/21/2012       1    $54.74          Allstate Ins. Co.
0259686599-07 L.C.        Charles Deng Acupuncture PC     97810 10/10/2012-11/20/2012 10 $205.20            Allstate Ins. Co.
0259686599-07 L.C.        Charles Deng Acupuncture PC     97811 10/10/2012-11/20/2012 10 $263.55            Allstate Ins. Co.
0259686599-07 L.C.        Charles Deng Acupuncture PC     99213       10/16/2012       1    $70.00          Allstate Ins. Co.
0259686599-07 L.C.        Charles Deng Acupuncture PC     97810 12/12/2012-01/17/2013 10 $143.64            Allstate Ins. Co.
0259686599-07 L.C.        Charles Deng Acupuncture PC     97811 12/12/2012-01/17/2013 5     $35.14          Allstate Ins. Co.
0261148811-03 E.C.        Charles Deng Acupuncture PC     97810 09/20/2012-10/09/2012 10 $205.20     Allstate Fire and Cas. Ins. Co.
0261148811-03 E.C.        Charles Deng Acupuncture PC     97811 09/20/2012-10/09/2012 10 $333.83     Allstate Fire and Cas. Ins. Co.
0261148811-03 E.C.        Charles Deng Acupuncture PC     99203       09/20/2012       1    $54.74   Allstate Fire and Cas. Ins. Co.
0261148811-03 E.C.        Charles Deng Acupuncture PC     97810 10/10/2012-11/20/2012 14 $287.28     Allstate Fire and Cas. Ins. Co.
0261148811-03 E.C.        Charles Deng Acupuncture PC     97811 10/10/2012-11/20/2012 14 $421.68     Allstate Fire and Cas. Ins. Co.
0261148811-03 E.C.        Charles Deng Acupuncture PC     99213       10/23/2012       1    $33.70   Allstate Fire and Cas. Ins. Co.
0268725595-01    J.B.     Charles Deng Acupuncture PC     97810 11/30/2012-12/10/2012 5    $102.60          Allstate Ins. Co.
0268725595-01    J.B.     Charles Deng Acupuncture PC     97811 11/30/2012-12/10/2012 5     $87.85          Allstate Ins. Co.
0268725595-01    J.B.     Charles Deng Acupuncture PC     99203       11/30/2012       1    $54.74          Allstate Ins. Co.
0268725595-01    J.B.     Charles Deng Acupuncture PC     97810 12/12/2012-01/18/2013 11 $225.72            Allstate Ins. Co.
0268725595-01    J.B.     Charles Deng Acupuncture PC     97811 12/12/2012-01/18/2013 9    $158.13          Allstate Ins. Co.
0268725595-01    J.B.     Charles Deng Acupuncture PC     97810 01/23/2013-02/06/2013 6    $123.12          Allstate Ins. Co.
0268725595-01    J.B.     Charles Deng Acupuncture PC     97811 01/23/2013-02/06/2013 6    $105.42          Allstate Ins. Co.
0268725595-01    J.B.     Charles Deng Acupuncture PC     97810 02/13/2013-02/28/2013 7    $143.64          Allstate Ins. Co.
0268725595-01    J.B.     Charles Deng Acupuncture PC     97811       02/13/2013       1    $17.57          Allstate Ins. Co.
0268725595-01    J.B.     Charles Deng Acupuncture PC     97810 03/05/2013-03/19/2013 4     $82.08          Allstate Ins. Co.
0268725595-01    J.B.     Charles Deng Acupuncture PC     97811 03/05/2013-03/19/2013 4     $70.28          Allstate Ins. Co.
0268725595-04 N.A.        Charles Deng Acupuncture PC     97810 12/05/2012-12/07/2012 3     $61.56          Allstate Ins. Co.
0268725595-04 N.A.        Charles Deng Acupuncture PC     97811 12/05/2012-12/07/2012 3     $52.71          Allstate Ins. Co.
0268725595-04 N.A.        Charles Deng Acupuncture PC     99203       12/05/2012       1    $54.74          Allstate Ins. Co.
0268725595-04 N.A.        Charles Deng Acupuncture PC     97810 12/12/2012-01/16/2013 10 $205.20            Allstate Ins. Co.
0268725595-04 N.A.        Charles Deng Acupuncture PC     97811 12/12/2012-01/16/2013 10 $175.70            Allstate Ins. Co.
0268725595-04 N.A.        Charles Deng Acupuncture PC     97810 01/17/2013-02/08/2013 9    $184.68          Allstate Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials            Provider                Used        Service       Units Paid                Payor
0268725595-04 N.A.        Charles Deng Acupuncture PC     97810 02/12/2013-02/22/2013 6    $123.12        Allstate Ins. Co.
0268725595-04 N.A.        Charles Deng Acupuncture PC     97810 03/05/2013-03/14/2013 6    $123.12        Allstate Ins. Co.
0268725595-04 N.A.        Charles Deng Acupuncture PC     97811 03/05/2013-03/14/2013 6    $105.42        Allstate Ins. Co.
0268725595-04 N.A.        Charles Deng Acupuncture PC     97810 03/22/2013-04/05/2013 4     $82.08        Allstate Ins. Co.
0268725595-06 D.P.        Charles Deng Acupuncture PC     97810 02/13/2013-02/21/2013 2     $41.04        Allstate Ins. Co.
0268725595-06 D.P.        Charles Deng Acupuncture PC     99199       02/21/2013       1    $50.00        Allstate Ins. Co.
0268725595-06 D.P.        Charles Deng Acupuncture PC     97810 03/12/2013-03/18/2013 3     $61.56        Allstate Ins. Co.
0268725595-06 D.P.        Charles Deng Acupuncture PC     97810 04/04/2013-04/05/2013 2     $41.04        Allstate Ins. Co.
0268725595-06 D.P.        Charles Deng Acupuncture PC     99199 04/04/2013-04/05/2013 2     $51.44        Allstate Ins. Co.
0269624242-03 O.C.        Charles Deng Acupuncture PC     97810 12/12/2012-01/16/2013 7    $143.64        Allstate Ins. Co.
0269624242-03 O.C.        Charles Deng Acupuncture PC     97811 12/17/2012-01/16/2013 4     $70.28        Allstate Ins. Co.
0269624242-03 O.C.        Charles Deng Acupuncture PC     97810 01/22/2013-01/24/2013 3     $61.56        Allstate Ins. Co.
0269624242-03 O.C.        Charles Deng Acupuncture PC     97810       04/01/2013       1    $20.52        Allstate Ins. Co.
0269624242-03 O.C.        Charles Deng Acupuncture PC     99199       04/01/2013       1    $50.00        Allstate Ins. Co.
0283577740-02    J.A.     Charles Deng Acupuncture PC     99203       04/22/2013       1    $54.74        Allstate Ins. Co.
0283577740-02    J.A.     Charles Deng Acupuncture PC     99199 07/23/2013-07/26/2013 3     $45.42        Allstate Ins. Co.
0283577740-03 M.M.        Charles Deng Acupuncture PC     99203       04/22/2013       1    $54.74        Allstate Ins. Co.
0283577740-03 M.M.        Charles Deng Acupuncture PC     99199 06/13/2013-06/28/2013 5    $231.20        Allstate Ins. Co.
0283577740-03 M.M.        Charles Deng Acupuncture PC     97810 06/14/2013-06/28/2013 4     $82.08        Allstate Ins. Co.
0283577740-03 M.M.        Charles Deng Acupuncture PC     97810 07/23/2013-07/26/2013 3     $61.56        Allstate Ins. Co.
0283577740-03 M.M.        Charles Deng Acupuncture PC     99199 07/23/2013-07/26/2013 3     $45.42        Allstate Ins. Co.
0288265572-02 A.F.        Charles Deng Acupuncture PC     97810 05/17/2013-06/06/2013 7    $143.64        Allstate Ins. Co.
0288265572-02 A.F.        Charles Deng Acupuncture PC     99199 05/17/2013-06/06/2013 7    $323.68        Allstate Ins. Co.
0288265572-02 A.F.        Charles Deng Acupuncture PC     99203       05/17/2013       1    $78.02        Allstate Ins. Co.
0288265572-02 A.F.        Charles Deng Acupuncture PC     97810 06/12/2013-07/08/2013 7    $143.64        Allstate Ins. Co.
0288265572-02 A.F.        Charles Deng Acupuncture PC     97810 06/12/2013-07/09/2013 7     $20.52        Allstate Ins. Co.
0288265572-02 A.F.        Charles Deng Acupuncture PC     99199 06/12/2013-07/08/2013 7    $323.68        Allstate Ins. Co.
0288265572-02 A.F.        Charles Deng Acupuncture PC     99199 06/12/2013-07/09/2013 6     $46.24        Allstate Ins. Co.
0288265572-02 A.F.        Charles Deng Acupuncture PC     97810 08/05/2013-08/27/2013 6    $123.12        Allstate Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials            Provider                Used        Service       Units Paid                   Payor
0288265572-02 A.F.        Charles Deng Acupuncture PC     99199 08/05/2013-08/27/2013 7    $277.44           Allstate Ins. Co.
0293324331-02 D.M.        Charles Deng Acupuncture PC     97810 07/22/2013-07/25/2013 3     $61.56           Allstate Ins. Co.
0293324331-02 D.M.        Charles Deng Acupuncture PC     99199 07/22/2013-07/25/2013 3    $138.72           Allstate Ins. Co.
0293324331-02 D.M.        Charles Deng Acupuncture PC     99203       07/22/2013       1    $80.00           Allstate Ins. Co.
0293324331-02 D.M.        Charles Deng Acupuncture PC     99199 08/02/2013-08/27/2013 8    $287.84           Allstate Ins. Co.
0293324331-02 D.M.        Charles Deng Acupuncture PC     97810 08/08/2013-08/23/2013 5    $102.60           Allstate Ins. Co.
0294866694-01    J.B.     Charles Deng Acupuncture PC     97810 08/05/2013-08/23/2013 6    $123.12   Allstate Prop. and Cas. Ins. Co.
0294866694-01    J.B.     Charles Deng Acupuncture PC     99199 08/05/2013-08/23/2013 6    $277.44   Allstate Prop. and Cas. Ins. Co.
0294866694-01    J.B.     Charles Deng Acupuncture PC     99203       08/05/2013       1    $54.73   Allstate Prop. and Cas. Ins. Co.
0431774421-04 M.J.        Charles Deng Acupuncture PC     99199 02/14/2017-03/06/2017 4    $184.96   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.        Charles Deng Acupuncture PC     99199 02/23/2017-03/03/2017 3    $150.00   Allstate Fire and Cas. Ins. Co.
0446478414-02 B.M.        Charles Deng Acupuncture PC     97810 02/15/2017-03/20/2017 3     $90.00   Allstate Prop. and Cas. Ins. Co.
4817001649-02    J.B.     Charles Deng Acupuncture PC     97810 11/21/2011-12/13/2011 6    $123.12           Allstate Ins. Co.
4817001649-02    J.B.     Charles Deng Acupuncture PC     97811 11/21/2011-12/13/2011 6    $105.42           Allstate Ins. Co.
4817001649-02    J.B.     Charles Deng Acupuncture PC     97810 01/13/2012-02/08/2012 4     $82.08           Allstate Ins. Co.
4817001649-02    J.B.     Charles Deng Acupuncture PC     97811 01/13/2012-02/08/2012 4     $70.28           Allstate Ins. Co.
4817001649-03 K.L.        Charles Deng Acupuncture PC     97810       09/22/2011       1    $20.52           Allstate Ins. Co.
4817001649-03 K.L.        Charles Deng Acupuncture PC     97811       09/22/2011       1    $17.57           Allstate Ins. Co.
4817001649-03 K.L.        Charles Deng Acupuncture PC     99203       09/22/2011       1    $54.74           Allstate Ins. Co.
0288265572-02 A.F.             Charles Deng L.Ac.         97810 09/03/2013-09/27/2013 10 $205.20             Allstate Ins. Co.
0288265572-02 A.F.             Charles Deng L.Ac.         99199 09/03/2013-09/27/2013 11 $462.40             Allstate Ins. Co.
0288265572-02 A.F.             Charles Deng L.Ac.         97810       10/16/2013       1    $20.52           Allstate Ins. Co.
0288265572-02 A.F.             Charles Deng L.Ac.         99199       10/16/2013       1    $46.24           Allstate Ins. Co.
0288265572-02 A.F.             Charles Deng L.Ac.         97810 10/22/2013-11/07/2013 6    $123.12           Allstate Ins. Co.
0288265572-02 A.F.             Charles Deng L.Ac.         99199 10/22/2013-11/07/2013 6    $277.44           Allstate Ins. Co.
0288265572-02 A.F.             Charles Deng L.Ac.         97810       11/20/2013       1    $20.52           Allstate Ins. Co.
0288265572-02 A.F.             Charles Deng L.Ac.         99199       11/20/2013       1    $46.24           Allstate Ins. Co.
0294866694-01    J.B.          Charles Deng L.Ac.         97810 08/27/2013-09/17/2013 4     $82.08   Allstate Prop. and Cas. Ins. Co.
0294866694-01    J.B.          Charles Deng L.Ac.         99199 08/27/2013-09/17/2013 4    $184.96   Allstate Prop. and Cas. Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                         Billing
             Claimant                                    Code         Dates of       # of Amount
  Claim No.   Initials           Provider                 Used        Service       Units Paid                   Payor
0296244239-02 B.H.           Charles Deng L.Ac.          97810 08/21/2013-09/26/2013 12 $246.24             Allstate Ins. Co.
0296244239-02 B.H.           Charles Deng L.Ac.          99199 08/21/2013-09/26/2013 13 $601.12             Allstate Ins. Co.
0296244239-02 B.H.           Charles Deng L.Ac.          99203       08/21/2013       1    $54.73           Allstate Ins. Co.
0296244239-02 B.H.           Charles Deng L.Ac.          97810 10/01/2013-10/17/2013 5    $102.60           Allstate Ins. Co.
0296244239-02 B.H.           Charles Deng L.Ac.          99199 10/01/2013-10/10/2013 3     $58.72           Allstate Ins. Co.
0296244239-02 B.H.           Charles Deng L.Ac.          99199 10/22/2013-11/08/2013 4     $58.72           Allstate Ins. Co.
0296244239-02 B.H.           Charles Deng L.Ac.          97810 10/25/2013-11/08/2013 2     $41.04           Allstate Ins. Co.
0296244239-02 B.H.           Charles Deng L.Ac.          97810 11/21/2013-12/10/2013 4     $82.08           Allstate Ins. Co.
0296244239-02 B.H.           Charles Deng L.Ac.          99199 11/21/2013-12/10/2013 4     $58.72           Allstate Ins. Co.
0296244239-02 B.H.           Charles Deng L.Ac.          97810 12/13/2013-01/02/2014 3     $61.56           Allstate Ins. Co.
0296244239-02 B.H.           Charles Deng L.Ac.          97810 02/06/2014-02/07/2014 2     $41.04           Allstate Ins. Co.
0298350612-01 N.P.           Charles Deng L.Ac.          97810 09/05/2013-09/27/2013 8    $164.16   Allstate Prop. and Cas. Ins. Co.
0298350612-01 N.P.           Charles Deng L.Ac.          99199 09/05/2013-09/27/2013 8    $369.92   Allstate Prop. and Cas. Ins. Co.
0298350612-01 N.P.           Charles Deng L.Ac.          99203       09/05/2013       1    $54.73   Allstate Prop. and Cas. Ins. Co.
0298350612-01 N.P.           Charles Deng L.Ac.          97810 10/01/2013-10/15/2013 6    $123.12   Allstate Prop. and Cas. Ins. Co.
0298350612-01 N.P.           Charles Deng L.Ac.          99199 10/01/2013-10/17/2013 7    $246.52   Allstate Prop. and Cas. Ins. Co.
0298350612-01 N.P.           Charles Deng L.Ac.          97810 10/28/2013-11/07/2013 5    $102.60   Allstate Prop. and Cas. Ins. Co.
0298350612-01 N.P.           Charles Deng L.Ac.          99199 10/28/2013-11/07/2013 5    $184.96   Allstate Prop. and Cas. Ins. Co.
0298350612-01 N.P.           Charles Deng L.Ac.          99199 11/12/2013-12/09/2013 7    $323.68   Allstate Prop. and Cas. Ins. Co.
0298350612-01 N.P.           Charles Deng L.Ac.          97810 11/14/2013-12/09/2013 6    $123.12   Allstate Prop. and Cas. Ins. Co.
0298350612-01 N.P.           Charles Deng L.Ac.          97810       12/13/2013       1    $20.52   Allstate Prop. and Cas. Ins. Co.
0298350612-01 N.P.           Charles Deng L.Ac.          99199       12/13/2013       1    $46.24   Allstate Prop. and Cas. Ins. Co.
0299083659-01 M.Y.           Charles Deng L.Ac.          97810 11/12/2013-12/09/2013 2     $41.04           Allstate Ins. Co.
0299083659-01 M.Y.           Charles Deng L.Ac.          97810 12/16/2013-12/27/2013 3     $61.56           Allstate Ins. Co.
0302803937-04 A.S.           Charles Deng L.Ac.          97810 10/29/2013-11/08/2013 6    $123.12           Allstate Ins. Co.
0302803937-04 A.S.           Charles Deng L.Ac.          99199 10/29/2013-11/08/2013 6    $277.44           Allstate Ins. Co.
0302803937-04 A.S.           Charles Deng L.Ac.          99203       10/29/2013       1    $54.73           Allstate Ins. Co.
0302803937-04 A.S.           Charles Deng L.Ac.          97810 11/13/2013-12/10/2013 8    $164.16           Allstate Ins. Co.
0302803937-04 A.S.           Charles Deng L.Ac.          99199 11/13/2013-12/10/2013 8    $369.92           Allstate Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials           Provider                 Used        Service       Units Paid                   Payor
0302803937-04 A.S.            Charles Deng L.Ac.          97810 01/02/2014-01/06/2014 2     $41.04           Allstate Ins. Co.
0302803937-04 A.S.            Charles Deng L.Ac.          99199 01/02/2014-01/06/2014 2     $92.48           Allstate Ins. Co.
0302803937-04 A.S.            Charles Deng L.Ac.          97810       01/13/2014       1    $20.52           Allstate Ins. Co.
0302803937-04 A.S.            Charles Deng L.Ac.          99199       01/13/2014       1    $46.24           Allstate Ins. Co.
0302803937-04 A.S.            Charles Deng L.Ac.          97810 04/01/2014-04/02/2014 2     $41.04           Allstate Ins. Co.
0302803937-04 A.S.            Charles Deng L.Ac.          99199 04/01/2014-04/02/2014 2     $92.48           Allstate Ins. Co.
0302803937-05 B.S.            Charles Deng L.Ac.          97810 10/24/2013-11/04/2013 2     $41.04           Allstate Ins. Co.
0302803937-05 B.S.            Charles Deng L.Ac.          97810 11/12/2013-12/04/2013 5    $102.60           Allstate Ins. Co.
0302803937-05 B.S.            Charles Deng L.Ac.          97810 12/23/2013-01/06/2014 3     $61.56           Allstate Ins. Co.
0303475743-01 M.G.            Charles Deng L.Ac.          97810 10/30/2013-11/07/2013 4     $82.08   Allstate Prop. and Cas. Ins. Co.
0303475743-01 M.G.            Charles Deng L.Ac.          99199 10/30/2013-11/07/2013 4    $184.96   Allstate Prop. and Cas. Ins. Co.
0303475743-01 M.G.            Charles Deng L.Ac.          99203       10/30/2013       1    $54.73   Allstate Prop. and Cas. Ins. Co.
0303475743-01 M.G.            Charles Deng L.Ac.          97810       11/22/2013       1    $20.52   Allstate Prop. and Cas. Ins. Co.
0303475743-01 M.G.            Charles Deng L.Ac.          99199       11/22/2013       1    $46.24   Allstate Prop. and Cas. Ins. Co.
0303475743-01 M.G.            Charles Deng L.Ac.          97810       12/20/2013       1    $20.52   Allstate Prop. and Cas. Ins. Co.
0303475743-01 M.G.            Charles Deng L.Ac.          99199 12/20/2013-01/03/2014 2     $92.48   Allstate Prop. and Cas. Ins. Co.
0303475743-01 M.G.            Charles Deng L.Ac.          99199 01/17/2014-01/31/2014 3    $138.72   Allstate Prop. and Cas. Ins. Co.
0315420661-02 L.S.            Charles Deng L.Ac.          97810 01/29/2014-02/19/2014 10 $205.20             Allstate Ins. Co.
0315420661-02 L.S.            Charles Deng L.Ac.          99199 01/29/2014-02/19/2014 10 $146.80             Allstate Ins. Co.
0315420661-02 L.S.            Charles Deng L.Ac.          99203       01/29/2014       1    $54.73           Allstate Ins. Co.
0315420661-02 L.S.            Charles Deng L.Ac.          97810 02/17/2014-03/10/2014 5     $61.56           Allstate Ins. Co.
0315420661-02 L.S.            Charles Deng L.Ac.          99199 02/17/2014-03/10/2014 5     $44.04           Allstate Ins. Co.
0315420661-02 L.S.            Charles Deng L.Ac.          97810 03/17/2014-04/04/2014 4     $82.08           Allstate Ins. Co.
0315420661-02 L.S.            Charles Deng L.Ac.          99199 03/19/2014-04/04/2014 6     $88.08           Allstate Ins. Co.
0315420661-02 L.S.            Charles Deng L.Ac.          97810 04/09/2014-04/28/2014 4     $82.08           Allstate Ins. Co.
0315420661-02 L.S.            Charles Deng L.Ac.          99199 05/16/2014-05/23/2014 4    $184.96           Allstate Ins. Co.
0319843156-02    J.P.         Charles Deng L.Ac.          99199 03/28/2014-04/04/2014 3     $45.42           Allstate Ins. Co.
0319843156-02    J.P.         Charles Deng L.Ac.          99203       03/28/2014       1    $54.73           Allstate Ins. Co.
0319843156-02    J.P.         Charles Deng L.Ac.          99199 04/09/2014-04/25/2014 3     $45.42           Allstate Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials           Provider                 Used        Service       Units Paid                   Payor
0319843156-02    J.P.         Charles Deng L.Ac.          97810 05/01/2014-05/22/2014 2     $41.04           Allstate Ins. Co.
0319843156-02    J.P.         Charles Deng L.Ac.          99199 06/03/2014-06/09/2014 3      $1.50           Allstate Ins. Co.
0324099315-01    J.G.         Charles Deng L.Ac.          99199 05/01/2014-05/20/2014 6    $300.00   Allstate Prop. and Cas. Ins. Co.
0324099315-01    J.G.         Charles Deng L.Ac.          99199       06/02/2014       1    $50.00   Allstate Prop. and Cas. Ins. Co.
0324099315-01    J.G.         Charles Deng L.Ac.          97810       07/07/2014       1    $20.52   Allstate Prop. and Cas. Ins. Co.
0324099315-01    J.G.         Charles Deng L.Ac.          99199 07/16/2014-07/17/2014 2    $100.00   Allstate Prop. and Cas. Ins. Co.
0326267416-10 L.G.            Charles Deng L.Ac.          99199 05/23/2014-05/27/2014 2     $69.54   Allstate Fire and Cas. Ins. Co.
0326267416-10 L.G.            Charles Deng L.Ac.          99203       05/23/2014       1    $54.73   Allstate Fire and Cas. Ins. Co.
0326267416-10 L.G.            Charles Deng L.Ac.          99199 06/02/2014-06/13/2014 3    $138.72   Allstate Fire and Cas. Ins. Co.
0326267416-10 L.G.            Charles Deng L.Ac.          99199       06/30/2014       1    $46.24   Allstate Fire and Cas. Ins. Co.
0333596995-01 M.J.            Charles Deng L.Ac.          97810 08/04/2014-08/29/2014 10 $205.20             Allstate Ins. Co.
0333596995-01 M.J.            Charles Deng L.Ac.          97810 09/02/2014-09/05/2014 3     $61.56           Allstate Ins. Co.
0333596995-01 M.J.            Charles Deng L.Ac.          97810 09/15/2014-10/03/2014 5    $102.60           Allstate Ins. Co.
0333596995-01 M.J.            Charles Deng L.Ac.          99199 09/16/2014-10/06/2014 10 $462.40             Allstate Ins. Co.
0333596995-01 M.J.            Charles Deng L.Ac.          99199 10/13/2014-11/10/2014 11 $416.16             Allstate Ins. Co.
0333596995-01 M.J.            Charles Deng L.Ac.          97810 10/15/2014-11/10/2014 6    $123.12           Allstate Ins. Co.
0336215595-02 L.B.            Charles Deng L.Ac.          99199 08/26/2014-09/09/2014 4    $184.96   Allstate Fire and Cas. Ins. Co.
0336215595-02 L.B.            Charles Deng L.Ac.          99203       08/26/2014       1    $54.73   Allstate Fire and Cas. Ins. Co.
0336215595-02 L.B.            Charles Deng L.Ac.          99199 09/19/2014-10/08/2014 5    $231.20   Allstate Fire and Cas. Ins. Co.
0336215595-02 L.B.            Charles Deng L.Ac.          99199 10/14/2014-11/05/2014 6    $277.44   Allstate Fire and Cas. Ins. Co.
0336215595-02 L.B.            Charles Deng L.Ac.          97810       11/18/2014       1    $20.52   Allstate Fire and Cas. Ins. Co.
0340022847-01 J.M.            Charles Deng L.Ac.          97810 09/09/2014-10/03/2014 11 $225.72     Allstate Prop. and Cas. Ins. Co.
0340022847-01 J.M.            Charles Deng L.Ac.          99199 09/09/2014-10/03/2014 7    $204.20   Allstate Prop. and Cas. Ins. Co.
0340022847-01 J.M.            Charles Deng L.Ac.          99203       09/09/2014       1    $54.73   Allstate Prop. and Cas. Ins. Co.
0340022847-01 J.M.            Charles Deng L.Ac.          99199 10/04/2014-11/10/2014 10 $462.40     Allstate Prop. and Cas. Ins. Co.
0340022847-01 J.M.            Charles Deng L.Ac.          97810 10/10/2014-11/10/2014 8    $173.64   Allstate Prop. and Cas. Ins. Co.
0340022847-01 J.M.            Charles Deng L.Ac.          97810 11/17/2014-12/08/2014 5    $102.60   Allstate Prop. and Cas. Ins. Co.
0340022847-01 J.M.            Charles Deng L.Ac.          99199 11/17/2014-12/10/2014 8    $369.92   Allstate Prop. and Cas. Ins. Co.
0340022847-01 J.M.            Charles Deng L.Ac.          99199 12/12/2014-12/16/2014 2     $92.48   Allstate Prop. and Cas. Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials           Provider                 Used        Service       Units Paid                   Payor
0340022847-01 J.M.            Charles Deng L.Ac.          97810       12/16/2014       1    $20.52   Allstate Prop. and Cas. Ins. Co.
0342499539-01    J.R.         Charles Deng L.Ac.          99199 11/19/2014-12/10/2014 4    $184.96           Allstate Ins. Co.
0342499539-01    J.R.         Charles Deng L.Ac.          97810 12/29/2014-01/20/2015 3     $61.56           Allstate Ins. Co.
0342499539-01    J.R.         Charles Deng L.Ac.          97810 01/30/2015-02/03/2015 3     $61.56           Allstate Ins. Co.
0342499539-01    J.R.         Charles Deng L.Ac.          99199 02/27/2015-03/09/2015 3     $46.24           Allstate Ins. Co.
0342499539-01    J.R.         Charles Deng L.Ac.          99199 03/18/2015-04/08/2015 5     $92.48           Allstate Ins. Co.
0374124246-03 P.G.            Charles Deng L.Ac.          99199 05/29/2015-07/13/2015 10 $462.40     Allstate Prop. and Cas. Ins. Co.
0374124246-03 P.G.            Charles Deng L.Ac.          99203       05/29/2015       1    $54.73   Allstate Prop. and Cas. Ins. Co.
0374124246-03 P.G.            Charles Deng L.Ac.          99199 07/23/2015-08/06/2015 5    $231.20   Allstate Prop. and Cas. Ins. Co.
0374124246-03 P.G.            Charles Deng L.Ac.          97810 07/24/2015-08/06/2015 3     $61.56   Allstate Prop. and Cas. Ins. Co.
0374512275-02 B.S.            Charles Deng L.Ac.          97810 06/29/2015-07/16/2015 5    $102.60           Allstate Ins. Co.
0374512275-02 B.S.            Charles Deng L.Ac.          99199 06/29/2015-07/17/2015 10    $50.00           Allstate Ins. Co.
0374512275-02 B.S.            Charles Deng L.Ac.          99203       06/29/2015       1    $54.73           Allstate Ins. Co.
0374512275-02 B.S.            Charles Deng L.Ac.          97810       07/22/2015       1    $20.52           Allstate Ins. Co.
0374512275-02 B.S.            Charles Deng L.Ac.          99199 09/01/2015-09/14/2015 3    $138.72           Allstate Ins. Co.
0374512275-03 Z.S.            Charles Deng L.Ac.          97810 06/29/2015-07/14/2015 7    $143.64           Allstate Ins. Co.
0374512275-03 Z.S.            Charles Deng L.Ac.          99203       06/29/2015       1    $80.00           Allstate Ins. Co.
0374512275-03 Z.S.            Charles Deng L.Ac.          97810 08/05/2015-08/06/2015 2     $41.04           Allstate Ins. Co.
0374512275-03 Z.S.            Charles Deng L.Ac.          99199 08/05/2015-08/27/2015 5     $92.48           Allstate Ins. Co.
0374512275-03 Z.S.            Charles Deng L.Ac.          99199 09/01/2015-09/14/2015 3    $138.72           Allstate Ins. Co.
0374553048-02 E.F.            Charles Deng L.Ac.          99199 07/08/2015-07/30/2015 10 $462.40     Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.            Charles Deng L.Ac.          99203       07/08/2015       1    $54.74   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.            Charles Deng L.Ac.          99199 08/10/2015-08/27/2015 9    $277.44   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.            Charles Deng L.Ac.          99199 09/14/2015-09/17/2015 2     $92.48   Allstate Fire and Cas. Ins. Co.
0398385996-02    F.P.         Charles Deng L.Ac.          97810 01/11/2016-01/13/2016 3     $90.00           Allstate Ins. Co.
0398385996-02    F.P.         Charles Deng L.Ac.          97810 01/11/2016-01/13/2016 3     $61.56           Allstate Ins. Co.
0398385996-02    F.P.         Charles Deng L.Ac.          99199 01/11/2016-01/18/2016 5    $231.20           Allstate Ins. Co.
0398385996-02    F.P.         Charles Deng L.Ac.          99203       01/11/2016       1    $54.73           Allstate Ins. Co.
0398385996-02    F.P.         Charles Deng L.Ac.          99199 01/20/2016-02/16/2016 11 $508.64             Allstate Ins. Co.


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                   Case 1:22-cv-04441-SJB-VMS      Document 1-4 Filed 07/28/22          Page 28 of 449 PageID
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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials           Provider                 Used        Service       Units Paid                  Payor
0398385996-02    F.P.         Charles Deng L.Ac.          99199 02/19/2016-03/14/2016 8    $369.92          Allstate Ins. Co.
0398385996-02    F.P.         Charles Deng L.Ac.          97810       02/29/2016       1    $20.52          Allstate Ins. Co.
0411304496-01    I.L.         Charles Deng L.Ac.          99199 05/04/2016-05/16/2016 5    $250.00   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.         Charles Deng L.Ac.          99203       05/04/2016       1    $54.73   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.         Charles Deng L.Ac.          97810 05/24/2016-06/01/2016 2     $41.04   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.         Charles Deng L.Ac.          99199 05/24/2016-06/15/2016 8    $400.00   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.         Charles Deng L.Ac.          97781 06/10/2016-06/15/2016 2    $107.14   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.         Charles Deng L.Ac.          97781 06/16/2016-07/08/2016 3    $160.71   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.         Charles Deng L.Ac.          99199 06/16/2016-07/08/2016 4    $200.00   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.         Charles Deng L.Ac.          97813 08/04/2016-08/05/2016 2     $44.96   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.         Charles Deng L.Ac.          99199 04/21/2016-05/12/2016 6    $300.00   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.         Charles Deng L.Ac.          99203       04/21/2016       1    $54.73   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.         Charles Deng L.Ac.          99199 05/24/2016-06/10/2016 7    $350.00   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.         Charles Deng L.Ac.          97781 06/03/2016-06/08/2016 2    $107.14   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.         Charles Deng L.Ac.          97810 06/16/2016-06/22/2016 2     $41.04   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.         Charles Deng L.Ac.          99199 06/16/2016-07/07/2016 3    $150.00   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.         Charles Deng L.Ac.          97810 07/13/2016-08/03/2016 4     $82.08   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.         Charles Deng L.Ac.          99199 07/13/2016-07/27/2016 3    $138.72   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.         Charles Deng L.Ac.          97810 08/04/2016-08/05/2016 2     $41.04   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.         Charles Deng L.Ac.          99199 09/07/2016-09/08/2016 2    $100.00   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.         Charles Deng L.Ac.          97810       09/16/2016       1    $20.52   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.            Charles Deng L.Ac.          99203       10/07/2016       1    $54.73   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.            Charles Deng L.Ac.          99203       10/10/2016       1    $54.73   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.            Charles Deng L.Ac.          99199 11/02/2016-11/28/2016 6    $277.44   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.            Charles Deng L.Ac.          97810 12/07/2016-12/20/2016 5    $102.60   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.            Charles Deng L.Ac.          97810 01/05/2017-01/23/2017 5    $102.60   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.            Charles Deng L.Ac.          97810 10/07/2016-10/12/2016 3     $61.56   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.            Charles Deng L.Ac.          99203       10/07/2016       1    $54.73   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.            Charles Deng L.Ac.          99199 11/02/2016-11/29/2016 6    $277.44   Allstate Fire and Cas. Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials           Provider                 Used        Service       Units Paid                   Payor
0431774421-04 M.J.            Charles Deng L.Ac.          99199 02/06/2017-02/13/2017 3    $138.72   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.            Charles Deng L.Ac.          99203       10/07/2016       1    $54.73   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.            Charles Deng L.Ac.          99199 11/02/2016-11/28/2016 5    $231.20   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.            Charles Deng L.Ac.          99199 11/30/2016-12/27/2016 6    $277.44   Allstate Fire and Cas. Ins. Co.
0434546750-02 S.B.            Charles Deng L.Ac.          99199 10/19/2016-11/09/2016 5    $250.00           Allstate Ins. Co.
0434546750-02 S.B.            Charles Deng L.Ac.          99203       10/19/2016       1    $54.73           Allstate Ins. Co.
0434546750-11    E.I.         Charles Deng L.Ac.          99199 01/04/2016-11/11/2016 5    $250.00           Allstate Ins. Co.
0434546750-11    E.I.         Charles Deng L.Ac.          99203       10/25/2016       1    $54.73           Allstate Ins. Co.
0434546750-11    E.I.         Charles Deng L.Ac.          99199 11/23/2016-11/28/2016 2     $92.48           Allstate Ins. Co.
0434546750-11    E.I.         Charles Deng L.Ac.          99199 11/29/2016-12/12/2016 3    $138.72           Allstate Ins. Co.
0436499486-02 S.M.            Charles Deng L.Ac.          97813       11/28/2016       1    $22.48   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.            Charles Deng L.Ac.          99199       11/28/2016       1    $46.24   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.            Charles Deng L.Ac.          99203       11/28/2016       1    $54.73   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.            Charles Deng L.Ac.          99199 12/07/2016-12/15/2016 3    $150.00   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.            Charles Deng L.Ac.          97810 01/03/2017-01/17/2017 2     $41.04   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.            Charles Deng L.Ac.          97813       01/04/2017       1    $22.48   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.            Charles Deng L.Ac.          99199 01/24/2017-02/03/2017 3    $150.00   Allstate Fire and Cas. Ins. Co.
0288265572-02 A.F.             Darren Mollo DC            98941 09/03/2013-09/18/2013 6    $208.08           Allstate Ins. Co.
0288265572-02 A.F.             Darren Mollo DC            98941       10/14/2013       1    $34.68           Allstate Ins. Co.
0293324331-02 D.M.             Darren Mollo DC            98941 09/03/2013-09/19/2013 7    $242.76           Allstate Ins. Co.
0294866694-01    J.B.          Darren Mollo DC            98941 09/05/2013-09/19/2013 3    $104.04   Allstate Prop. and Cas. Ins. Co.
0296244239-02 B.H.             Darren Mollo DC            98941 09/03/2013-09/13/2013 4    $138.72           Allstate Ins. Co.
0296244239-02 B.H.             Darren Mollo DC            98941 09/24/2013-10/11/2013 6    $208.08           Allstate Ins. Co.
0296244239-02 B.H.             Darren Mollo DC            99212       10/11/2013       1    $26.41           Allstate Ins. Co.
0296244239-02 B.H.             Darren Mollo DC            98941 10/16/2013-10/23/2013 3    $104.04           Allstate Ins. Co.
0296244239-02 B.H.             Darren Mollo DC            98940       10/17/2013       1    $26.41           Allstate Ins. Co.
0296244239-02 B.H.             Darren Mollo DC            99212       10/23/2013       1    $26.41           Allstate Ins. Co.
0296244239-02 B.H.             Darren Mollo DC            98940       11/22/2013       1    $26.41           Allstate Ins. Co.
0296244239-02 B.H.             Darren Mollo DC            98941 11/26/2013-12/03/2013 2     $34.68           Allstate Ins. Co.


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                                             Allstate Ins. Co., et al. v. Rybak, et al.
                                Representative Sample of Fraudulent Claims Paid to Defendants
                                                        Billing
             Claimant                                   Code         Dates of       # of Amount
  Claim No.   Initials           Provider                Used        Service       Units Paid                   Payor
0296244239-02 B.H.            Darren Mollo DC           98941 12/06/2013-01/02/2014 2     $69.36           Allstate Ins. Co.
0296244239-02 B.H.            Darren Mollo DC           98940       12/12/2013       1    $26.41           Allstate Ins. Co.
0298350612-01 N.P.            Darren Mollo DC           99203       09/04/2013       1    $54.74   Allstate Prop. and Cas. Ins. Co.
0298350612-01 N.P.            Darren Mollo DC           98941 09/10/2013-09/12/2013 2     $69.36   Allstate Prop. and Cas. Ins. Co.
0298350612-01 N.P.            Darren Mollo DC           98940       09/23/2013       1    $26.41   Allstate Prop. and Cas. Ins. Co.
0298350612-01 N.P.            Darren Mollo DC           98941 09/26/2013-10/11/2013 7    $242.76   Allstate Prop. and Cas. Ins. Co.
0298350612-01 N.P.            Darren Mollo DC           98941 10/17/2013-11/05/2013 3    $104.04   Allstate Prop. and Cas. Ins. Co.
0298350612-01 N.P.            Darren Mollo DC           98940       11/01/2013       1    $26.41   Allstate Prop. and Cas. Ins. Co.
0298350612-01 N.P.            Darren Mollo DC           98941       11/20/2013       1    $34.68   Allstate Prop. and Cas. Ins. Co.
0298350612-01 N.P.            Darren Mollo DC           98941       12/09/2013       1    $34.68   Allstate Prop. and Cas. Ins. Co.
0299083659-01 M.Y.            Darren Mollo DC           99203       09/19/2013       1    $54.74           Allstate Ins. Co.
0299083659-01 M.Y.            Darren Mollo DC           98941 09/20/2013-10/14/2013 8    $277.44           Allstate Ins. Co.
0299083659-01 M.Y.            Darren Mollo DC           98940       09/23/2013       1    $26.41           Allstate Ins. Co.
0299083659-01 M.Y.            Darren Mollo DC           98941 11/05/2013-11/06/2013 2     $69.36           Allstate Ins. Co.
0299083659-01 M.Y.            Darren Mollo DC           98941 11/08/2013-12/04/2013 7    $242.76           Allstate Ins. Co.
0299083659-01 M.Y.            Darren Mollo DC           98941 12/09/2013-12/27/2013 6    $208.08           Allstate Ins. Co.
0299585850-02 L.G.            Darren Mollo DC           99203       08/26/2013       1    $54.74   Allstate Prop. and Cas. Ins. Co.
0299585850-02 L.G.            Darren Mollo DC           98941 08/27/2013-09/12/2013 7    $242.76   Allstate Prop. and Cas. Ins. Co.
0299585850-02 L.G.            Darren Mollo DC           98941 10/03/2013-10/11/2013 5    $173.40   Allstate Prop. and Cas. Ins. Co.
0299585850-02 L.G.            Darren Mollo DC           98941 10/16/2013-11/04/2013 8    $277.44   Allstate Prop. and Cas. Ins. Co.
0299585850-02 L.G.            Darren Mollo DC           98941 12/06/2013-12/13/2013 3    $104.04   Allstate Prop. and Cas. Ins. Co.
0299585850-02 L.G.            Darren Mollo DC           98940       12/18/2013       1    $26.41   Allstate Prop. and Cas. Ins. Co.
0302803937-04 A.S.            Darren Mollo DC           99203       10/30/2013       1    $54.74           Allstate Ins. Co.
0302803937-04 A.S.            Darren Mollo DC           98941 11/01/2013-11/05/2013 3    $104.04           Allstate Ins. Co.
0302803937-04 A.S.            Darren Mollo DC           98941 11/13/2013-11/19/2013 4    $138.72           Allstate Ins. Co.
0302803937-04 A.S.            Darren Mollo DC           98941 12/04/2013-01/02/2014 4    $138.72           Allstate Ins. Co.
0302803937-04 A.S.            Darren Mollo DC           97139       12/11/2013       1    $16.70           Allstate Ins. Co.
0302803937-04 A.S.            Darren Mollo DC           98940       12/11/2013       1    $26.41           Allstate Ins. Co.
0302803937-04 A.S.            Darren Mollo DC           98941       01/06/2014       1    $34.68           Allstate Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                         Billing
              Claimant                                   Code         Dates of       # of Amount
  Claim No.    Initials           Provider                Used        Service       Units Paid                   Payor
0302803937-04 A.S.             Darren Mollo DC           99212       01/13/2014       1    $26.41           Allstate Ins. Co.
0302803937-04 A.S.             Darren Mollo DC           99212       04/01/2014       1    $26.41           Allstate Ins. Co.
0302803937-04 A.S.             Darren Mollo DC           98941       04/02/2014       1    $34.68           Allstate Ins. Co.
0302803937-05 B.S.             Darren Mollo DC           M9999       10/25/2013       1    $54.74           Allstate Ins. Co.
0302803937-05 B.S.             Darren Mollo DC           98941 10/29/2013-11/04/2013 4    $138.72           Allstate Ins. Co.
0302803937-05 B.S.             Darren Mollo DC           98941 11/06/2013-12/03/2013 9    $312.12           Allstate Ins. Co.
0302803937-05 B.S.             Darren Mollo DC           97139       11/18/2013       1    $11.56           Allstate Ins. Co.
0302803937-05 B.S.             Darren Mollo DC           98941 12/04/2013-12/26/2013 7    $242.76           Allstate Ins. Co.
0302803937-05 B.S.             Darren Mollo DC           99212       12/09/2013       1    $26.41           Allstate Ins. Co.
0302803937-05 B.S.             Darren Mollo DC           98941 01/06/2014-01/30/2014 8    $277.44           Allstate Ins. Co.
0303475743-01 M.G.             Darren Mollo DC           98941 11/01/2013-11/27/2013 7    $242.76   Allstate Prop. and Cas. Ins. Co.
0303475743-01 M.G.             Darren Mollo DC           99203       11/01/2013       1    $54.74   Allstate Prop. and Cas. Ins. Co.
0303475743-01 M.G.             Darren Mollo DC           98940       12/05/2013       1    $26.41   Allstate Prop. and Cas. Ins. Co.
0303475743-01 M.G.             Darren Mollo DC           98941 12/12/2013-12/27/2013 3    $104.04   Allstate Prop. and Cas. Ins. Co.
0303475743-01 M.G.             Darren Mollo DC           98941 01/14/2014-01/20/2014 3    $104.04   Allstate Prop. and Cas. Ins. Co.
0303475743-01 M.G.             Darren Mollo DC           98941       01/31/2014       1    $34.68   Allstate Prop. and Cas. Ins. Co.
0305061376-02 A.V.             Darren Mollo DC           98941       02/25/2014       1    $34.68   Allstate Fire and Cas. Ins. Co.
0315420661-02 L.S.             Darren Mollo DC           98941 01/29/2014-02/17/2014 6    $208.08           Allstate Ins. Co.
0315420661-02 L.S.             Darren Mollo DC           99203       01/29/2014       1    $54.74           Allstate Ins. Co.
0315420661-02 L.S.             Darren Mollo DC           98940 02/04/2014-02/10/2014 3     $79.23           Allstate Ins. Co.
0315420661-02 L.S.             Darren Mollo DC           98941 02/26/2014-03/12/2014 4    $138.72           Allstate Ins. Co.
0315420661-02 L.S.             Darren Mollo DC           98940       03/04/2014       1    $26.41           Allstate Ins. Co.
0315420661-02 L.S.             Darren Mollo DC           98941 03/17/2014-04/01/2014 6    $208.08           Allstate Ins. Co.
0315420661-02 L.S.             Darren Mollo DC           98941 04/04/2014-05/06/2014 8    $277.44           Allstate Ins. Co.
0315420661-02 L.S.             Darren Mollo DC           99212       04/09/2014       1    $26.41           Allstate Ins. Co.
0319843156-02    J.P.          Darren Mollo DC           98941 03/28/2014-04/02/2014 3    $104.04           Allstate Ins. Co.
0319843156-02    J.P.          Darren Mollo DC           98941 04/04/2014-05/01/2014 6    $208.08           Allstate Ins. Co.
0319843156-02    J.P.          Darren Mollo DC           98941 05/15/2014-05/22/2014 2     $69.36           Allstate Ins. Co.
0319843156-02    J.P.          Darren Mollo DC           98941       05/16/2014       1    $34.68           Allstate Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                         Billing
              Claimant                                   Code         Dates of       # of Amount
  Claim No.    Initials           Provider                Used        Service       Units Paid                   Payor
0324099315-01    J.G.          Darren Mollo DC           98940       05/20/2014       1    $26.41   Allstate Prop. and Cas. Ins. Co.
0324099315-01    J.G.          Darren Mollo DC           99203       05/20/2014       1    $51.62   Allstate Prop. and Cas. Ins. Co.
0326267416-10 L.G.             Darren Mollo DC           98941 05/15/2014-06/12/2014 5    $162.01   Allstate Fire and Cas. Ins. Co.
0326267416-10 L.G.             Darren Mollo DC           99203       05/15/2014       1    $54.74   Allstate Fire and Cas. Ins. Co.
0333596995-01 M.J.             Darren Mollo DC           99203       08/11/2014       1    $54.74           Allstate Ins. Co.
0333596995-01 M.J.             Darren Mollo DC           98941 09/22/2014-10/13/2014 3    $104.04           Allstate Ins. Co.
0333596995-01 M.J.             Darren Mollo DC           99212       10/13/2014       1    $26.41           Allstate Ins. Co.
0333596995-01 M.J.             Darren Mollo DC           98940       10/17/2014       1    $26.41           Allstate Ins. Co.
0333596995-01 M.J.             Darren Mollo DC           98941 10/29/2014-11/07/2014 2     $69.36           Allstate Ins. Co.
0333596995-01 M.J.             Darren Mollo DC           98941 11/14/2014-11/19/2014 2     $69.36           Allstate Ins. Co.
0335624920-01 A.F.             Darren Mollo DC           99203       08/26/2014       1    $54.74           Allstate Ins. Co.
0335624920-01 A.F.             Darren Mollo DC           98941 08/28/2014-09/08/2014 5    $173.40           Allstate Ins. Co.
0335624920-01 A.F.             Darren Mollo DC           98941       09/23/2014       1    $34.68           Allstate Ins. Co.
0336215595-02 L.B.             Darren Mollo DC           99203       08/28/2014       1    $54.74   Allstate Fire and Cas. Ins. Co.
0336215595-02 L.B.             Darren Mollo DC           98940       09/09/2014       1    $26.41   Allstate Fire and Cas. Ins. Co.
0336215595-02 L.B.             Darren Mollo DC           98941       10/16/2014       1    $34.68   Allstate Fire and Cas. Ins. Co.
0340022847-01 J.M.             Darren Mollo DC           98941 09/22/2014-10/20/2014 9    $312.12   Allstate Prop. and Cas. Ins. Co.
0340022847-01 J.M.             Darren Mollo DC           98941 10/24/2014-11/07/2014 3    $104.04   Allstate Prop. and Cas. Ins. Co.
0340022847-01 J.M.             Darren Mollo DC           98941 11/19/2014-12/12/2014 6    $208.08   Allstate Prop. and Cas. Ins. Co.
0340022847-01 J.M.             Darren Mollo DC           98941       12/19/2014       1    $34.68   Allstate Prop. and Cas. Ins. Co.
0342499539-01    J.R.          Darren Mollo DC           98941 10/09/2014-10/22/2014 4    $138.72           Allstate Ins. Co.
0342499539-01    J.R.          Darren Mollo DC           99203       10/09/2014       1    $54.74           Allstate Ins. Co.
0342499539-01    J.R.          Darren Mollo DC           98941 11/12/2014-11/26/2014 3    $104.04           Allstate Ins. Co.
0342499539-01    J.R.          Darren Mollo DC           98941 12/29/2014-01/19/2015 6    $208.08           Allstate Ins. Co.
0342499539-01    J.R.          Darren Mollo DC           99212       12/29/2014       1    $26.41           Allstate Ins. Co.
0342499539-01    J.R.          Darren Mollo DC           98940 01/30/2015-02/02/2015 2     $52.82           Allstate Ins. Co.
0342499539-01    J.R.          Darren Mollo DC           98941       02/04/2015       1    $34.68           Allstate Ins. Co.
0342499539-01    J.R.          Darren Mollo DC           98941 03/18/2015-04/13/2015 5     $69.36           Allstate Ins. Co.
0374124246-03 P.G.             Darren Mollo DC           99203       06/03/2015       1    $54.74   Allstate Prop. and Cas. Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials           Provider                 Used        Service       Units Paid                   Payor
0374124246-03 P.G.            Darren Mollo DC             98941 06/08/2015-06/22/2015 2     $69.36   Allstate Prop. and Cas. Ins. Co.
0374124246-03 P.G.            Darren Mollo DC             98940 06/15/2015-06/19/2015 2     $52.82   Allstate Prop. and Cas. Ins. Co.
0374124246-03 P.G.            Darren Mollo DC             98940 07/06/2015-07/13/2015 2     $52.82   Allstate Prop. and Cas. Ins. Co.
0374124246-03 P.G.            Darren Mollo DC             98941       07/27/2015       1    $34.68   Allstate Prop. and Cas. Ins. Co.
0374512275-02 B.S.            Darren Mollo DC             99203       07/06/2015       1    $54.74           Allstate Ins. Co.
0374512275-02 B.S.            Darren Mollo DC             98940 07/22/2015-07/27/2015 2     $52.82           Allstate Ins. Co.
0374512275-02 B.S.            Darren Mollo DC             98940       08/12/2015       1    $26.41           Allstate Ins. Co.
0374512275-03 Z.S.            Darren Mollo DC             98940       08/12/2015       1    $26.41           Allstate Ins. Co.
0374553048-02 E.F.            Darren Mollo DC             99203       07/15/2015       1    $54.74   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.            Darren Mollo DC             98941 07/22/2015-07/29/2015 2     $69.36   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.            Darren Mollo DC             98941 08/12/2015-08/26/2015 2     $69.36   Allstate Fire and Cas. Ins. Co.
0595435132-01 K.F.            Darren Mollo DC             72040       08/17/2020       1    $46.40   Allstate Fire and Cas. Ins. Co.
0595435132-01 K.F.            Darren Mollo DC             72100       08/17/2020       1    $36.06   Allstate Fire and Cas. Ins. Co.
0595435132-01 K.F.            Darren Mollo DC             73030       08/17/2020       1    $38.88   Allstate Fire and Cas. Ins. Co.
0595435132-01 K.F.            Darren Mollo DC             98941       08/17/2020       1    $18.63   Allstate Fire and Cas. Ins. Co.
0595435132-01 K.F.            Darren Mollo DC             99203       08/17/2020       1    $43.79   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.       Energy Chiropractic PC        98941 10/31/2016-11/11/2016 5    $173.40   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.       Energy Chiropractic PC        98940       11/02/2016       1    $26.41   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.       Energy Chiropractic PC        97012 11/03/2016-11/11/2016 3     $34.68   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.       Energy Chiropractic PC        98941 12/05/2016-12/12/2016 3    $104.04   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.       Energy Chiropractic PC        98941 12/19/2016-01/04/2017 3    $104.04   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.          Energy Chiropractic PC        98940 10/31/2016-11/10/2016 4    $105.64   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.          Energy Chiropractic PC        98941       11/16/2016       1    $34.68   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.          Energy Chiropractic PC        98941 11/21/2016-12/12/2016 4    $138.72   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.          Energy Chiropractic PC        98940       11/30/2016       1    $26.41   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.          Energy Chiropractic PC        98941 12/14/2016-01/04/2017 4    $138.72   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.          Energy Chiropractic PC        98940       12/19/2016       1    $26.41   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.          Energy Chiropractic PC        98941 10/31/2016-11/21/2016 9    $312.12   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.          Energy Chiropractic PC        98941 12/05/2016-12/12/2016 3    $104.04   Allstate Fire and Cas. Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials           Provider                 Used        Service       Units Paid                   Payor
0431774421-03 D.S.          Energy Chiropractic PC        98941 12/14/2016-12/30/2016 5    $173.40   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.          Energy Chiropractic PC        98941 01/11/2017-02/06/2017 7     $69.36   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.          Energy Chiropractic PC        98941 10/31/2016-11/21/2016 6    $208.08   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.          Energy Chiropractic PC        98940       11/02/2016       1    $26.41   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.          Energy Chiropractic PC        98941 11/30/2016-12/12/2016 4    $138.72   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.          Energy Chiropractic PC        98941 12/14/2016-01/04/2017 5    $173.40   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.          Energy Chiropractic PC        98941 01/09/2017-02/06/2017 8    $138.72   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.          Energy Chiropractic PC        98941 11/02/2016-11/21/2016 6    $208.08   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.          Energy Chiropractic PC        98941 11/30/2016-12/07/2016 3    $104.04   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.          Energy Chiropractic PC        98940       12/12/2016       1    $26.41   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.          Energy Chiropractic PC        98940 12/14/2016-12/21/2016 3     $79.23   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.          Energy Chiropractic PC        98941 12/28/2016-01/09/2017 3    $104.04   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.          Energy Chiropractic PC        98940 01/11/2017-01/23/2017 2     $52.82   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.          Energy Chiropractic PC        98941 01/25/2017-02/01/2017 2     $69.36   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.          Energy Chiropractic PC        98941 02/06/2017-02/27/2017 3    $104.04   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.          Energy Chiropractic PC        98940       02/15/2017       1    $26.41   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.          Energy Chiropractic PC        98941 03/06/2017-03/27/2017 5    $173.40   Allstate Fire and Cas. Ins. Co.
0434546750-02 S.B.          Energy Chiropractic PC        98941       11/10/2016       1    $34.68           Allstate Ins. Co.
0434546750-11    E.I.       Energy Chiropractic PC        98941 11/02/2016-11/17/2016 6    $208.08           Allstate Ins. Co.
0434546750-11    E.I.       Energy Chiropractic PC        97012       12/12/2016       1    $11.56           Allstate Ins. Co.
0434546750-11    E.I.       Energy Chiropractic PC        98941       12/12/2016       1    $34.68           Allstate Ins. Co.
0434546750-11    E.I.       Energy Chiropractic PC        98941 12/19/2016-01/05/2017 2     $69.36           Allstate Ins. Co.
0436499486-02 S.M.          Energy Chiropractic PC        99203       11/18/2016       1    $54.73   Allstate Fire and Cas. Ins. Co.
0446478414-02 B.M.          Energy Chiropractic PC        99203       02/16/2017       1    $54.73   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.          Energy Chiropractic PC        98941 02/17/2017-03/20/2017 5    $173.40   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.          Energy Chiropractic PC        98941 03/22/2017-03/27/2017 2     $69.36   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.          Energy Chiropractic PC        98941 04/03/2017-04/24/2017 6    $208.08   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.          Energy Chiropractic PC        98941 04/26/2017-05/08/2017 5    $173.40   Allstate Prop. and Cas. Ins. Co.
0476244595-03 J.M.          Energy Chiropractic PC        99203       10/19/2017       1    $54.73           Allstate Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials           Provider                 Used        Service       Units Paid                   Payor
0482079902-02 S.B.          Energy Chiropractic PC        99203       11/14/2017       1    $54.73   Allstate Fire and Cas. Ins. Co.
0482079902-02 S.B.          Energy Chiropractic PC        98941       11/17/2017       1    $34.68   Allstate Fire and Cas. Ins. Co.
0492252812-02 S.B.          Energy Chiropractic PC        99203       02/23/2018       1    $54.73           Allstate Ins. Co.
0492252812-02 S.B.          Energy Chiropractic PC        98941 02/26/2018-02/27/2018 2     $69.36           Allstate Ins. Co.
0492252812-02 S.B.          Energy Chiropractic PC        98941 03/02/2018-03/28/2018 11 $381.48             Allstate Ins. Co.
0492252812-02 S.B.          Energy Chiropractic PC        98941 04/09/2018-04/30/2018 9    $312.12           Allstate Ins. Co.
0492252812-02 S.B.          Energy Chiropractic PC        98941 05/02/2018-05/25/2018 6    $208.08           Allstate Ins. Co.
0492252812-02 S.B.          Energy Chiropractic PC        93740       05/09/2018       1    $97.74           Allstate Ins. Co.
0492252812-02 S.B.          Energy Chiropractic PC        99212       05/09/2018       1    $26.41           Allstate Ins. Co.
0492252812-02 S.B.          Energy Chiropractic PC        98941 05/30/2018-06/20/2018 7    $242.76           Allstate Ins. Co.
0492252812-02 S.B.          Energy Chiropractic PC        98941 06/25/2018-07/18/2018 7    $104.04           Allstate Ins. Co.
0496020934-01 E.D.          Energy Chiropractic PC        99203       03/23/2018       1    $54.73   Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.          Energy Chiropractic PC        98941 03/26/2018-03/28/2018 3    $104.04   Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.          Energy Chiropractic PC        98941 04/09/2018-04/26/2018 9    $312.12   Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.          Energy Chiropractic PC        98941 05/02/2018-05/29/2018 6    $208.08   Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.          Energy Chiropractic PC        98941 05/30/2018-06/18/2018 5    $173.40   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.       Energy Chiropractic PC        99203       03/23/2018       1    $54.73   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.       Energy Chiropractic PC        98941       03/28/2018       1    $34.68   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.       Energy Chiropractic PC        98941 04/09/2018-04/30/2018 10 $346.80     Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.       Energy Chiropractic PC        98941 05/01/2018-05/29/2018 7    $242.76   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.       Energy Chiropractic PC        98941 05/30/2018-06/25/2018 9    $312.12   Allstate Fire and Cas. Ins. Co.
0505336941-02 P.G.          Energy Chiropractic PC        72050       06/06/2018       1    $83.98   Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.          Energy Chiropractic PC        72100       06/06/2018       1    $45.07   Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.          Energy Chiropractic PC        99203       06/06/2018       1    $54.73   Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.          Energy Chiropractic PC        98941 06/07/2018-06/22/2018 8    $277.44   Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.          Energy Chiropractic PC        76499       06/20/2018       1   $500.00   Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.          Energy Chiropractic PC        98941 06/25/2018-07/18/2018 12 $416.16     Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.          Energy Chiropractic PC        98941 07/24/2018-08/08/2018 7    $242.76   Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.          Energy Chiropractic PC        98941 08/15/2018-09/05/2018 8    $277.44   Allstate Prop. and Cas. Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                         Billing
             Claimant                                    Code         Dates of       # of Amount
  Claim No.   Initials           Provider                 Used        Service       Units Paid                  Payor
0505336941-02 P.G.         Energy Chiropractic PC        98941 09/12/2018-09/26/2018 6    $208.08   Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.         Energy Chiropractic PC        98941 10/03/2018-10/17/2018 4    $138.72   Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.         Energy Chiropractic PC        98941 10/22/2018-11/12/2018 7    $242.76   Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.         Energy Chiropractic PC        99212       11/06/2018       1    $26.41   Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.         Energy Chiropractic PC        98941 11/13/2018-11/28/2018 3    $104.04   Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.         Energy Chiropractic PC        98941 12/05/2018-12/17/2018 5     $69.36   Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.         Energy Chiropractic PC        99203       06/07/2018       1    $54.73   Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.         Energy Chiropractic PC        98941 06/08/2018-06/22/2018 7    $242.76   Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.         Energy Chiropractic PC        72050       06/22/2018       1    $83.98   Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.         Energy Chiropractic PC        72100       06/22/2018       1    $45.07   Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.         Energy Chiropractic PC        98941 06/25/2018-07/18/2018 11 $381.48     Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.         Energy Chiropractic PC        76499       07/18/2018       1   $500.00   Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.         Energy Chiropractic PC        98941 08/06/2018-08/14/2018 3    $104.04   Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.         Energy Chiropractic PC        98941 08/15/2018-09/05/2018 7    $242.76   Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.         Energy Chiropractic PC        98941 09/11/2018-09/25/2018 4    $138.72   Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.         Energy Chiropractic PC        98941 10/04/2018-10/18/2018 2     $69.36   Allstate Prop. and Cas. Ins. Co.
0512214957-01 R.D.         Energy Chiropractic PC        99203       08/06/2018       1    $54.73   Allstate Fire and Cas. Ins. Co.
0512214957-01 R.D.         Energy Chiropractic PC        72040       08/07/2018       1    $49.41   Allstate Fire and Cas. Ins. Co.
0512214957-01 R.D.         Energy Chiropractic PC        72110       08/07/2018       1    $87.60   Allstate Fire and Cas. Ins. Co.
0512214957-01 R.D.         Energy Chiropractic PC        98941 08/07/2018-08/08/2018 2     $46.24   Allstate Fire and Cas. Ins. Co.
0512214957-01 R.D.         Energy Chiropractic PC        98941 09/25/2018-09/27/2018 2     $69.36   Allstate Fire and Cas. Ins. Co.
0512214957-01 R.D.         Energy Chiropractic PC        98941 10/02/2018-10/22/2018 5    $173.40   Allstate Fire and Cas. Ins. Co.
0512214957-01 R.D.         Energy Chiropractic PC        98941 10/24/2018-11/13/2018 4    $138.72   Allstate Fire and Cas. Ins. Co.
0512214957-01 R.D.         Energy Chiropractic PC        98941       11/28/2018       1    $34.68   Allstate Fire and Cas. Ins. Co.
0512214957-01 R.D.         Energy Chiropractic PC        98941       01/09/2019       1    $34.68   Allstate Fire and Cas. Ins. Co.
0555672849-02 E.D.         Energy Chiropractic PC        99203       08/01/2019       1    $54.74   Allstate Fire and Cas. Ins. Co.
0597828532-02 A.P.         Energy Chiropractic PC        99203       08/19/2020       1    $54.74       Allstate Indemnity Co.
0597828532-02 A.P.         Energy Chiropractic PC        72040       08/21/2020       1    $65.88       Allstate Indemnity Co.
0597828532-02 A.P.         Energy Chiropractic PC        72070       08/21/2020       1    $47.78       Allstate Indemnity Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                           Billing
              Claimant                                     Code         Dates of       # of Amount
  Claim No.    Initials            Provider                 Used        Service       Units Paid                  Payor
0597828532-02 A.P.           Energy Chiropractic PC        72100       08/21/2020       1    $45.07      Allstate Indemnity Co.
0597828532-02 A.P.           Energy Chiropractic PC        98941 08/21/2020-09/04/2020 5    $173.40      Allstate Indemnity Co.
0597828532-02 A.P.           Energy Chiropractic PC        98941 09/25/2020-10/16/2020 5    $240.36      Allstate Indemnity Co.
0608935029-02 R.C.           Energy Chiropractic PC        99203       01/14/2021       1    $75.00   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.       FJL Medical Services PC        99215       07/13/2016       1   $148.69   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.       FJL Medical Services PC        99215       09/07/2016       1   $148.69   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.       FJL Medical Services PC        99215       11/02/2016       1   $148.69   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.       FJL Medical Services PC        99215       07/22/2016       1   $148.69   Allstate Fire and Cas. Ins. Co.
0420227332-03 G.G.          FJL Medical Services PC        99244       07/18/2016       1   $236.94   Allstate Fire and Cas. Ins. Co.
0423203900-01 R.D.          FJL Medical Services PC        99244       08/22/2016       1   $236.94   Allstate Fire and Cas. Ins. Co.
0423203900-01 R.D.          FJL Medical Services PC        99215       09/07/2016       1    $64.07   Allstate Fire and Cas. Ins. Co.
0423203900-01 R.D.          FJL Medical Services PC        99215       10/10/2016       1   $148.69   Allstate Fire and Cas. Ins. Co.
0430328526-03 N.Y.          FJL Medical Services PC        99244       11/21/2016       1   $236.94   Allstate Fire and Cas. Ins. Co.
0430768903-01 J.M.          FJL Medical Services PC        20610       10/05/2016       1    $57.26   Allstate Fire and Cas. Ins. Co.
0430768903-01 J.M.          FJL Medical Services PC        76942       10/05/2016       1   $262.91   Allstate Fire and Cas. Ins. Co.
0430768903-01 J.M.          FJL Medical Services PC        99244       10/05/2016       1   $236.94   Allstate Fire and Cas. Ins. Co.
0430768903-02 C.C.          FJL Medical Services PC        99244       10/05/2016       1   $236.94   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.       FJL Medical Services PC        99244       10/26/2016       1   $236.94   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.          FJL Medical Services PC        99244       10/12/2016       1   $236.94   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.          FJL Medical Services PC        99215       11/01/2016       1   $148.69   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.          FJL Medical Services PC        99244       10/12/2016       1   $236.94   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.          FJL Medical Services PC        99215       10/26/2016       1   $148.69   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.          FJL Medical Services PC        99215       11/16/2016       1   $148.69   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.          FJL Medical Services PC        99244       10/12/2016       1   $236.94   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.          FJL Medical Services PC        99215       11/01/2016       1   $148.69   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.          FJL Medical Services PC        76942       10/12/2016       1   $262.91   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.          FJL Medical Services PC        99244       10/12/2016       1   $236.94   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.          FJL Medical Services PC        76942       11/01/2016       1   $262.91   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.          FJL Medical Services PC        99215       11/01/2016       1   $148.69   Allstate Fire and Cas. Ins. Co.


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                                                            #: 450

                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                           Billing
              Claimant                                     Code         Dates of       # of Amount
  Claim No.    Initials             Provider                Used        Service       Units Paid                   Payor
0434546750-11    E.I.       FJL Medical Services PC        99244       11/04/2016       1   $236.94           Allstate Ins. Co.
0434546750-11    E.I.       FJL Medical Services PC        99215       11/23/2016       1   $148.69           Allstate Ins. Co.
0434704607-02 L.S.          FJL Medical Services PC        99244       11/02/2016       1   $104.08   Allstate Fire and Cas. Ins. Co.
0434704607-09 D.T.          FJL Medical Services PC        99244       11/08/2016       1   $104.08   Allstate Fire and Cas. Ins. Co.
0434704607-09 D.T.          FJL Medical Services PC        99215       11/15/2016       1   $148.69   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.          FJL Medical Services PC        99244       11/18/2016       1   $236.94   Allstate Fire and Cas. Ins. Co.
0457648400-02 G.G.          FJL Medical Services PC        99244       07/20/2017       1   $236.94   Allstate Fire and Cas. Ins. Co.
0462711755-01 D.L.          FJL Medical Services PC        99244       07/20/2017       1   $104.08   Allstate Fire and Cas. Ins. Co.
0462711755-07 E.S.          FJL Medical Services PC        99244       07/20/2017       1   $104.08   Allstate Fire and Cas. Ins. Co.
0462711755-08 R.P.          FJL Medical Services PC        99244       07/20/2017       1   $104.08   Allstate Fire and Cas. Ins. Co.
0466317187-01 M.A.          FJL Medical Services PC        99244       08/09/2017       1   $236.94   Allstate Fire and Cas. Ins. Co.
0467961603-02 P.B.          FJL Medical Services PC        99213       10/05/2017       1    $64.07   Allstate Fire and Cas. Ins. Co.
0477312516-02    E.J.       FJL Medical Services PC        99244       10/05/2017       1   $236.94           Allstate Ins. Co.
0340022847-01 J.M.         Francis Joseph Lacina MD        97010 12/23/2014-01/22/2015 14 $255.50     Allstate Prop. and Cas. Ins. Co.
0340022847-01 J.M.         Francis Joseph Lacina MD        97110 12/23/2014-01/22/2015 14 $324.52     Allstate Prop. and Cas. Ins. Co.
0340022847-01 J.M.         Francis Joseph Lacina MD        97124 12/23/2014-01/22/2015 14 $282.94     Allstate Prop. and Cas. Ins. Co.
0340022847-01 J.M.         Francis Joseph Lacina MD        97799 12/23/2014-01/22/2015 14    $83.44   Allstate Prop. and Cas. Ins. Co.
0340022847-01 J.M.         Francis Joseph Lacina MD        99244       01/12/2015       1   $236.94   Allstate Prop. and Cas. Ins. Co.
0340022847-01 J.M.         Francis Joseph Lacina MD        99215       02/06/2015       1   $148.69   Allstate Prop. and Cas. Ins. Co.
0342499539-01    J.R.      Francis Joseph Lacina MD        97010 12/24/2014-01/20/2015 10 $182.50             Allstate Ins. Co.
0342499539-01    J.R.      Francis Joseph Lacina MD        97110 12/24/2014-01/20/2015 10 $231.80             Allstate Ins. Co.
0342499539-01    J.R.      Francis Joseph Lacina MD        97124 12/24/2014-01/20/2015 10 $202.10             Allstate Ins. Co.
0342499539-01    J.R.      Francis Joseph Lacina MD        20553       01/19/2015       1   $119.10           Allstate Ins. Co.
0342499539-01    J.R.      Francis Joseph Lacina MD        20999       01/19/2015       2 $2,325.00           Allstate Ins. Co.
0342499539-01    J.R.      Francis Joseph Lacina MD        76942       01/19/2015       1   $262.91           Allstate Ins. Co.
0342499539-01    J.R.      Francis Joseph Lacina MD        99244       01/19/2015       1   $236.94           Allstate Ins. Co.
0342499539-01    J.R.      Francis Joseph Lacina MD        97010 01/30/2015-02/04/2015 3     $54.75           Allstate Ins. Co.
0342499539-01    J.R.      Francis Joseph Lacina MD        97110 01/30/2015-02/04/2015 3     $69.54           Allstate Ins. Co.
0342499539-01    J.R.      Francis Joseph Lacina MD        97124 01/30/2015-02/04/2015 3     $60.63           Allstate Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                           Billing
              Claimant                                     Code         Dates of       # of Amount
  Claim No.    Initials             Provider                Used        Service       Units Paid                  Payor
0342499539-01    J.R.      Francis Joseph Lacina MD        97799 01/30/2015-02/04/2015 3     $17.88          Allstate Ins. Co.
0377476239-01 L.C.         Francis Joseph Lacina MD        99244       10/28/2015       1   $236.94   Allstate Fire and Cas. Ins. Co.
0398385996-02    F.P.      Francis Joseph Lacina MD        20553       01/15/2016       1   $119.10          Allstate Ins. Co.
0398385996-02    F.P.      Francis Joseph Lacina MD        76942       01/15/2016       1   $262.91          Allstate Ins. Co.
0398385996-02    F.P.      Francis Joseph Lacina MD        97750       02/04/2016       1   $166.64          Allstate Ins. Co.
0398385996-02    F.P.      Francis Joseph Lacina MD        95866       02/12/2016       1   $114.32          Allstate Ins. Co.
0430768903-01 J.M.           JFL Medical Care PC           99215       12/14/2016       1   $148.69   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.        JFL Medical Care PC           99215       12/07/2016       1   $148.69   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.        JFL Medical Care PC           99215       02/15/2017       1   $148.69   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.           JFL Medical Care PC           99215       12/07/2016       1   $148.69   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.           JFL Medical Care PC           76942       12/16/2016       1   $262.91   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.           JFL Medical Care PC           99215       12/16/2016       1   $148.69   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.           JFL Medical Care PC           99215       12/21/2016       1   $148.69   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.           JFL Medical Care PC           99215       02/01/2017       1   $148.69   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.           JFL Medical Care PC           99215       02/15/2017       1   $148.69   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.           JFL Medical Care PC           99215       03/08/2017       1   $148.69   Allstate Fire and Cas. Ins. Co.
0434704607-02 L.S.           JFL Medical Care PC           99215       11/29/2016       1   $148.69   Allstate Fire and Cas. Ins. Co.
0434704607-02 L.S.           JFL Medical Care PC           99213       12/20/2016       1    $64.07   Allstate Fire and Cas. Ins. Co.
0434704607-09 D.T.           JFL Medical Care PC           99215       11/23/2016       1    $64.07   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.           JFL Medical Care PC           99215       01/04/2017       1   $148.69   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.           JFL Medical Care PC           99215       03/08/2017       1   $148.69   Allstate Fire and Cas. Ins. Co.
0440453512-01 C.W.           JFL Medical Care PC           99244       12/27/2016       1   $104.08   Allstate Fire and Cas. Ins. Co.
0440453512-01 C.W.           JFL Medical Care PC           99215       01/05/2017       1    $64.07   Allstate Fire and Cas. Ins. Co.
0440453512-01 C.W.           JFL Medical Care PC           20552       01/25/2017       1   $100.00   Allstate Fire and Cas. Ins. Co.
0440453512-01 C.W.           JFL Medical Care PC           76942       01/25/2017       1   $262.91   Allstate Fire and Cas. Ins. Co.
0440453512-01 C.W.           JFL Medical Care PC           99215       01/25/2017       1   $148.69   Allstate Fire and Cas. Ins. Co.
0440453512-01 C.W.           JFL Medical Care PC           99215       02/15/2017       1    $64.07   Allstate Fire and Cas. Ins. Co.
0440453512-01 C.W.           JFL Medical Care PC           99215       02/22/2017       1    $64.07   Allstate Fire and Cas. Ins. Co.
0440453512-01 C.W.           JFL Medical Care PC           99215       03/01/2017       1    $64.07   Allstate Fire and Cas. Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                         Billing
             Claimant                                    Code          Dates of       # of Amount
  Claim No.   Initials           Provider                 Used         Service        Units Paid                   Payor
0440453512-01 C.W.          JFL Medical Care PC          99215        03/22/2017       1    $64.07    Allstate Fire and Cas. Ins. Co.
0440453512-01 C.W.          JFL Medical Care PC          99215        03/29/2017       1    $64.07    Allstate Fire and Cas. Ins. Co.
0446478414-02 B.M.          JFL Medical Care PC          99244        02/15/2017       1    $236.94   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.          JFL Medical Care PC          99215        03/15/2017       1    $148.69   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.          JFL Medical Care PC          99215        03/22/2017       1    $148.69   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.          JFL Medical Care PC          99215        05/03/2017       1    $148.69   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.          JFL Medical Care PC          99215        05/17/2017       1    $148.69   Allstate Prop. and Cas. Ins. Co.
0448810002-02 D.W.          JFL Medical Care PC          76942        03/30/2017       1    $262.91   Allstate Fire and Cas. Ins. Co.
0448810002-02 D.W.          JFL Medical Care PC          99244        03/30/2017       1    $236.94   Allstate Fire and Cas. Ins. Co.
0448810002-02 D.W.          JFL Medical Care PC          20999        05/24/2017       2 $2,525.00    Allstate Fire and Cas. Ins. Co.
0448810002-02 D.W.          JFL Medical Care PC          76942        05/24/2017       1    $262.91   Allstate Fire and Cas. Ins. Co.
0448810002-02 D.W.          JFL Medical Care PC          99215        05/24/2017       1    $148.69   Allstate Fire and Cas. Ins. Co.
0448810002-02 D.W.          JFL Medical Care PC          76942        06/13/2017       1    $262.91   Allstate Fire and Cas. Ins. Co.
0448810002-02 D.W.          JFL Medical Care PC          99215        06/13/2017       1    $148.69   Allstate Fire and Cas. Ins. Co.
0449850220-02 K.L.          JFL Medical Care PC          76942        05/17/2017       1    $262.91       Allstate Indemnity Co.
0449850220-02 K.L.          JFL Medical Care PC          99244        05/17/2017       1    $236.94       Allstate Indemnity Co.
0478186786-02 M.L.          JFL Medical Care PC          99244        10/25/2017       1    $236.94   Allstate Fire and Cas. Ins. Co.
0482079902-02 S.B.          JFL Medical Care PC          99244        11/14/2017       1    $236.94   Allstate Fire and Cas. Ins. Co.
0557707767-01 N.B.         JP Medical Services PC        99215        01/08/2020       1    $64.07            Allstate Ins. Co.
0559511448-02 M.D.         JP Medical Services PC        20999        12/17/2019       2 $1,500.00    Allstate Fire and Cas. Ins. Co.
0559511448-02 M.D.         JP Medical Services PC        99215        12/17/2019       1    $148.69   Allstate Fire and Cas. Ins. Co.
0562978064-02 G.A.         JP Medical Services PC        99215        12/27/2019       1    $87.80    Allstate Prop. and Cas. Ins. Co.
0563379072-01 B.L.         JP Medical Services PC        20999        12/10/2019       2 $1,550.00    Allstate Fire and Cas. Ins. Co.
0563379072-01 B.L.         JP Medical Services PC        99244        12/10/2019       1    $236.94   Allstate Fire and Cas. Ins. Co.
0563379072-01 B.L.         JP Medical Services PC        20999        01/23/2020       2    $650.00   Allstate Fire and Cas. Ins. Co.
0563379072-01 B.L.         JP Medical Services PC        99215        01/23/2020       1    $148.69   Allstate Fire and Cas. Ins. Co.
0564349363-01 E.M.         JP Medical Services PC        99215        12/10/2019       1    $87.80    Allstate Fire and Cas. Ins. Co.
0564349363-01 E.M.         JP Medical Services PC        99215        01/15/2020       1    $87.80    Allstate Fire and Cas. Ins. Co.
0564349363-01 E.M.         JP Medical Services PC        99215        01/28/2020       1    $87.80    Allstate Fire and Cas. Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code          Dates of       # of Amount
  Claim No.    Initials           Provider                 Used         Service        Units Paid                  Payor
0567146238-03 R.W.          JP Medical Services PC        99215        12/10/2019       1    $87.80           Allstate Ins. Co.
0567146238-03 R.W.          JP Medical Services PC        99215        12/18/2019       1    $87.80           Allstate Ins. Co.
0567146238-03 R.W.          JP Medical Services PC        99215        01/13/2020       1    $87.80           Allstate Ins. Co.
0567146238-03 R.W.          JP Medical Services PC        99215        01/30/2020       1    $87.80           Allstate Ins. Co.
0567146238-03 R.W.          JP Medical Services PC        99215        02/04/2020       1    $87.80           Allstate Ins. Co.
0567146238-03 R.W.          JP Medical Services PC        99215        02/10/2020       1    $87.80           Allstate Ins. Co.
0567178421-01 T.S.          JP Medical Services PC        99244        12/17/2019       1    $104.08          Allstate Ins. Co.
0567178421-01 T.S.          JP Medical Services PC        99215        12/30/2019       1    $64.07           Allstate Ins. Co.
0567728472-01 W.D.          JP Medical Services PC        99244        01/08/2020       1    $236.94   Allstate Fire and Cas. Ins. Co.
0567765565-06 M.F.          JP Medical Services PC        20999        12/26/2019       2    $475.00   Allstate Fire and Cas. Ins. Co.
0567765565-06 M.F.          JP Medical Services PC        99215        12/26/2019       1    $148.69   Allstate Fire and Cas. Ins. Co.
0568456115-02 K.M.          JP Medical Services PC        20999        11/27/2019       2    $975.00   Allstate Fire and Cas. Ins. Co.
0568456115-02 K.M.          JP Medical Services PC        99244        11/27/2019       1    $236.94   Allstate Fire and Cas. Ins. Co.
0568456115-02 K.M.          JP Medical Services PC        20999        12/04/2019       2 $1,075.00    Allstate Fire and Cas. Ins. Co.
0568456115-02 K.M.          JP Medical Services PC        99215        12/04/2019       1    $148.69   Allstate Fire and Cas. Ins. Co.
0568456115-02 K.M.          JP Medical Services PC        20999        12/10/2019       2 $1,950.00    Allstate Fire and Cas. Ins. Co.
0568456115-02 K.M.          JP Medical Services PC        99215        12/10/2019       1    $64.07    Allstate Fire and Cas. Ins. Co.
0568456115-02 K.M.          JP Medical Services PC        99215        02/07/2020       1    $64.07    Allstate Fire and Cas. Ins. Co.
0570786467-06 W.L.          JP Medical Services PC        99244        01/09/2020       1    $236.94   Allstate Fire and Cas. Ins. Co.
0431259696-05    I.G.          JPC Medical PC             99205        01/26/2017       1    $200.68      Allstate Indemnity Co.
0434552568-02    A.J.          JPC Medical PC             99205        02/16/2017       1    $200.68          Allstate Ins. Co.
0434704607-09 D.T.             JPC Medical PC             99205        12/22/2016       1    $200.68   Allstate Fire and Cas. Ins. Co.
0434704607-09 D.T.             JPC Medical PC             99205        01/24/2017       1    $200.68   Allstate Fire and Cas. Ins. Co.
0436367817-03 M.K.             JPC Medical PC             99205        01/31/2017       1    $200.68   Allstate Fire and Cas. Ins. Co.
0436730963-06 R.N.             JPC Medical PC             99205        02/02/2017       1    $200.68          Allstate Ins. Co.
0438641714-03 P.W.             JPC Medical PC             99205        04/13/2017       1    $200.68          Allstate Ins. Co.
0439267394-01 R.N.             JPC Medical PC             99205        04/25/2017       1    $200.68          Allstate Ins. Co.
0440453512-01 C.W.             JPC Medical PC             99205        12/27/2016       1    $200.68   Allstate Fire and Cas. Ins. Co.
0440453512-01 C.W.             JPC Medical PC             99215        01/24/2017       1    $148.69   Allstate Fire and Cas. Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                           Billing
              Claimant                                     Code          Dates of      # of Amount
  Claim No.    Initials            Provider                 Used         Service       Units Paid                 Payor
0440453512-01 C.W.              JPC Medical PC             99215        02/21/2017      1    $148.69 Allstate Fire and Cas. Ins. Co.
0440453512-01 C.W.              JPC Medical PC             99358        02/21/2017      1    $204.41 Allstate Fire and Cas. Ins. Co.
0440453512-01 C.W.              JPC Medical PC             99215        03/21/2017      1    $148.69 Allstate Fire and Cas. Ins. Co.
0441705449-03 M.T.              JPC Medical PC             99205        03/07/2017      1    $200.68 Allstate Prop. and Cas. Ins. Co.
0448810002-02 D.W.              JPC Medical PC             99205        03/13/2017      1    $200.68 Allstate Fire and Cas. Ins. Co.
0448810002-02 D.W.              JPC Medical PC             99215        04/18/2017      1    $148.69 Allstate Fire and Cas. Ins. Co.
0448810002-02 D.W.              JPC Medical PC             99215        05/16/2017      1    $148.69 Allstate Fire and Cas. Ins. Co.
0448810002-02 D.W.              JPC Medical PC             99358        05/16/2017      1    $204.41 Allstate Fire and Cas. Ins. Co.
0449850220-02 K.L.              JPC Medical PC             99205        04/18/2017      1    $200.68     Allstate Indemnity Co.
0449854487-01 N.W.              JPC Medical PC             99205        04/25/2017      1    $200.68         Allstate Ins. Co.
0449854487-02 L.W.              JPC Medical PC             99205        04/25/2017      1    $200.68         Allstate Ins. Co.
0367613387-01 T.G.          JPF Medical Services PC        20553        10/25/2016      1    $119.10 Allstate Fire and Cas. Ins. Co.
0367613387-01 T.G.          JPF Medical Services PC        20999        10/25/2016      2 $1,040.00 Allstate Fire and Cas. Ins. Co.
0367613387-01 T.G.          JPF Medical Services PC        99214        10/25/2016      1    $92.98  Allstate Fire and Cas. Ins. Co.
0367613387-01 T.G.          JPF Medical Services PC        20553        11/01/2016      1    $119.10 Allstate Fire and Cas. Ins. Co.
0367613387-01 T.G.          JPF Medical Services PC        20999        11/01/2016      2 $1,240.00 Allstate Fire and Cas. Ins. Co.
0367613387-01 T.G.          JPF Medical Services PC        99215        11/01/2016      1    $92.98  Allstate Fire and Cas. Ins. Co.
0395201676-02 F.M.          JPF Medical Services PC        99215        10/07/2016      1    $148.69 Allstate Fire and Cas. Ins. Co.
0420467748-02 L.H.          JPF Medical Services PC        20553        10/04/2016      1    $119.10         Allstate Ins. Co.
0420467748-02 L.H.          JPF Medical Services PC        99215        10/04/2016      1    $148.69         Allstate Ins. Co.
0429945370-01 D.B.          JPF Medical Services PC        20553        10/04/2016      1    $119.10 Allstate Fire and Cas. Ins. Co.
0429945370-01 D.B.          JPF Medical Services PC        99244        10/04/2016      1    $236.94 Allstate Fire and Cas. Ins. Co.
0429945370-01 D.B.          JPF Medical Services PC        20553        11/09/2016      1    $119.10 Allstate Fire and Cas. Ins. Co.
0429945370-01 D.B.          JPF Medical Services PC        99215        02/01/2017      1    $148.69 Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.       JPF Medical Services PC        99244        10/07/2016      1    $236.94 Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.          JPF Medical Services PC        99244        10/07/2016      1    $236.94 Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.          JPF Medical Services PC        20552        10/07/2016      1    $100.00 Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.          JPF Medical Services PC        76942        10/07/2016      1    $262.91 Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.          JPF Medical Services PC        97026        10/07/2016      1    $21.46  Allstate Fire and Cas. Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                           Billing
              Claimant                                     Code          Dates of      # of Amount
  Claim No.    Initials           Provider                  Used         Service       Units Paid                   Payor
0431774421-04 M.J.          JPF Medical Services PC        99244        10/07/2016      1    $236.94   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.          JPF Medical Services PC        20553        10/07/2016      1    $119.10   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.          JPF Medical Services PC        76942        10/07/2016      1    $262.91   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.          JPF Medical Services PC        99244        10/07/2016      1    $236.94   Allstate Fire and Cas. Ins. Co.
0433530375-01 R.M.          JPF Medical Services PC        20553        11/03/2016      1    $119.10       Allstate Indemnity Co.
0433530375-01 R.M.          JPF Medical Services PC        20553        11/29/2016      1    $119.10       Allstate Indemnity Co.
0433530375-01 R.M.          JPF Medical Services PC        99215        01/16/2017      1    $148.69       Allstate Indemnity Co.
0434196456-02    J.R.       JPF Medical Services PC        20553        01/10/2017      1    $119.10           Allstate Ins. Co.
0434196456-02    J.R.       JPF Medical Services PC        99244        01/10/2017      1    $236.94           Allstate Ins. Co.
0434196456-02    J.R.       JPF Medical Services PC        20553        01/17/2017      1    $119.10           Allstate Ins. Co.
0434196456-02    J.R.       JPF Medical Services PC        20553        01/31/2017      1    $119.10           Allstate Ins. Co.
0434196456-02    J.R.       JPF Medical Services PC        20999        01/31/2017      2 $1,525.00            Allstate Ins. Co.
0434196456-02    J.R.       JPF Medical Services PC        99215        01/31/2017      1    $148.69           Allstate Ins. Co.
0434196456-02    J.R.       JPF Medical Services PC        20999        02/07/2017      2 $1,625.00            Allstate Ins. Co.
0434196456-02    J.R.       JPF Medical Services PC        99215        02/07/2017      1    $148.69           Allstate Ins. Co.
0434196456-02    J.R.       JPF Medical Services PC        20553        02/21/2017      1    $119.10           Allstate Ins. Co.
0434196456-02    J.R.       JPF Medical Services PC        20553        02/28/2017      1    $119.10           Allstate Ins. Co.
0434426110-01 P.D.          JPF Medical Services PC        99244        01/24/2017      1    $236.94   Allstate Prop. and Cas. Ins. Co.
0434426110-01 P.D.          JPF Medical Services PC        99215        02/07/2017      1    $148.69   Allstate Prop. and Cas. Ins. Co.
0435844709-01 K.K.          JPF Medical Services PC        20553        01/12/2017      1    $119.10   Allstate Prop. and Cas. Ins. Co.
0435844709-01 K.K.          JPF Medical Services PC        99244        01/12/2017      1    $236.94   Allstate Prop. and Cas. Ins. Co.
0435844709-01 K.K.          JPF Medical Services PC        20553        01/18/2017      1    $119.10   Allstate Prop. and Cas. Ins. Co.
0435844709-01 K.K.          JPF Medical Services PC        20553        01/23/2017      1    $119.10   Allstate Prop. and Cas. Ins. Co.
0435844709-01 K.K.          JPF Medical Services PC        99215        01/30/2017      1    $148.69   Allstate Prop. and Cas. Ins. Co.
0435844709-01 K.K.          JPF Medical Services PC        20553        02/28/2017      1    $119.10   Allstate Prop. and Cas. Ins. Co.
0435844709-01 K.K.          JPF Medical Services PC        20553        03/08/2017      1    $119.10   Allstate Prop. and Cas. Ins. Co.
0435844709-02 N.S.          JPF Medical Services PC        20553        01/12/2017      1    $119.10   Allstate Prop. and Cas. Ins. Co.
0435844709-02 N.S.          JPF Medical Services PC        99244        01/12/2017      1    $236.94   Allstate Prop. and Cas. Ins. Co.
0435844709-02 N.S.          JPF Medical Services PC        20553        01/18/2017      1    $119.10   Allstate Prop. and Cas. Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                           Billing
              Claimant                                     Code          Dates of      # of Amount
  Claim No.    Initials           Provider                  Used         Service       Units Paid                   Payor
0435844709-02 N.S.          JPF Medical Services PC        20553        01/23/2017      1    $119.10   Allstate Prop. and Cas. Ins. Co.
0435844709-02 N.S.          JPF Medical Services PC        20553        01/30/2017      1    $119.10   Allstate Prop. and Cas. Ins. Co.
0435844709-02 N.S.          JPF Medical Services PC        20553        02/16/2017      1    $119.10   Allstate Prop. and Cas. Ins. Co.
0435844709-02 N.S.          JPF Medical Services PC        20553        02/28/2017      1    $119.10   Allstate Prop. and Cas. Ins. Co.
0435844709-02 N.S.          JPF Medical Services PC        20553        03/08/2017      1    $119.10   Allstate Prop. and Cas. Ins. Co.
0436891501-03 E.M.          JPF Medical Services PC        20553        11/15/2016      1    $119.10           Allstate Ins. Co.
0436891501-03 E.M.          JPF Medical Services PC        99244        11/15/2016      1    $236.94           Allstate Ins. Co.
0436891501-03 E.M.          JPF Medical Services PC        99215        01/30/2017      1    $148.69           Allstate Ins. Co.
0437276942-04 E.E.          JPF Medical Services PC        20553        01/23/2017      1    $119.10           Allstate Ins. Co.
0437276942-04 E.E.          JPF Medical Services PC        99244        01/23/2017      1    $236.94           Allstate Ins. Co.
0437276942-04 E.E.          JPF Medical Services PC        20553        02/13/2017      1    $119.10           Allstate Ins. Co.
0437276942-05 B.S.          JPF Medical Services PC        20553        01/23/2017      1    $119.10           Allstate Ins. Co.
0437276942-05 B.S.          JPF Medical Services PC        99244        01/23/2017      1    $236.94           Allstate Ins. Co.
0437276942-05 B.S.          JPF Medical Services PC        20553        02/13/2017      1    $119.10           Allstate Ins. Co.
0437276942-05 B.S.          JPF Medical Services PC        20553        02/20/2017      1    $119.10           Allstate Ins. Co.
0437838963-01 Y.R.          JPF Medical Services PC        20553        11/29/2016      1    $119.10   Allstate Fire and Cas. Ins. Co.
0437838963-01 Y.R.          JPF Medical Services PC        20999        11/29/2016      2 $1,525.00    Allstate Fire and Cas. Ins. Co.
0437838963-01 Y.R.          JPF Medical Services PC        99215        11/29/2016      1    $148.69   Allstate Fire and Cas. Ins. Co.
0438482951-01    J.B.       JPF Medical Services PC        20999        02/07/2017      2 $1,525.00            Allstate Ins. Co.
0438482951-01    J.B.       JPF Medical Services PC        99244        02/07/2017      1    $236.94           Allstate Ins. Co.
0440527661-01    I.S.       JPF Medical Services PC        20553        12/29/2016      1    $119.10   Allstate Prop. and Cas. Ins. Co.
0440527661-01    I.S.       JPF Medical Services PC        99244        12/29/2016      1    $236.94   Allstate Prop. and Cas. Ins. Co.
0440527661-01    I.S.       JPF Medical Services PC        99215        01/05/2017      1    $148.69   Allstate Prop. and Cas. Ins. Co.
0440527661-01    I.S.       JPF Medical Services PC        20553        01/18/2017      1    $119.10   Allstate Prop. and Cas. Ins. Co.
0440527661-01    I.S.       JPF Medical Services PC        99215        01/31/2017      1    $148.69   Allstate Prop. and Cas. Ins. Co.
0440527661-01    I.S.       JPF Medical Services PC        99215        02/08/2017      1    $148.69   Allstate Prop. and Cas. Ins. Co.
0440527661-01    I.S.       JPF Medical Services PC        99215        02/14/2017      1    $148.69   Allstate Prop. and Cas. Ins. Co.
0440527661-01    I.S.       JPF Medical Services PC        99215        02/21/2017      1    $148.69   Allstate Prop. and Cas. Ins. Co.
0440527661-01    I.S.       JPF Medical Services PC        20553        03/01/2017      1    $119.10   Allstate Prop. and Cas. Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                           Billing
              Claimant                                     Code         Dates of       # of Amount
  Claim No.    Initials             Provider                Used        Service       Units Paid                   Payor
0440527661-01    I.S.       JPF Medical Services PC        20553       03/08/2017       1   $119.10   Allstate Prop. and Cas. Ins. Co.
0440527661-02    S.S.       JPF Medical Services PC        99244       12/29/2016       1   $236.94   Allstate Prop. and Cas. Ins. Co.
0440527661-02    S.S.       JPF Medical Services PC        99215       01/05/2017       1   $148.69   Allstate Prop. and Cas. Ins. Co.
0440527661-02    S.S.       JPF Medical Services PC        99215       01/31/2017       1   $148.69   Allstate Prop. and Cas. Ins. Co.
0440527661-02    S.S.       JPF Medical Services PC        99215       02/08/2017       1   $148.69   Allstate Prop. and Cas. Ins. Co.
0440527661-02    S.S.       JPF Medical Services PC        99215       02/14/2017       1   $148.69   Allstate Prop. and Cas. Ins. Co.
0440527661-02    S.S.       JPF Medical Services PC        99215       02/21/2017       1   $148.69   Allstate Prop. and Cas. Ins. Co.
0440527661-02    S.S.       JPF Medical Services PC        99215       03/01/2017       1   $148.69   Allstate Prop. and Cas. Ins. Co.
0440527661-02    S.S.       JPF Medical Services PC        20553       03/08/2017       1   $119.10   Allstate Prop. and Cas. Ins. Co.
0441447026-01 B.R.          JPF Medical Services PC        20553       01/24/2017       1   $119.10   Allstate Fire and Cas. Ins. Co.
0441447026-01 B.R.          JPF Medical Services PC        99244       01/24/2017       1   $236.94   Allstate Fire and Cas. Ins. Co.
0441447026-01 B.R.          JPF Medical Services PC        99215       01/31/2017       1   $148.69   Allstate Fire and Cas. Ins. Co.
0441447026-01 B.R.          JPF Medical Services PC        99215       02/07/2017       1   $148.69   Allstate Fire and Cas. Ins. Co.
0441447026-01 B.R.          JPF Medical Services PC        20553       02/21/2017       1   $119.10   Allstate Fire and Cas. Ins. Co.
0441447026-01 B.R.          JPF Medical Services PC        20553       02/28/2017       1   $119.10   Allstate Fire and Cas. Ins. Co.
0455115931-09 C.S.          JPF Medical Services PC        99203       04/25/2017       1   $104.08   Allstate Fire and Cas. Ins. Co.
0455115931-09 C.S.          JPF Medical Services PC        99213       05/02/2017       1    $64.07   Allstate Fire and Cas. Ins. Co.
0302803937-04 A.S.            Jules F Parisien MD          97010 11/08/2013-12/09/2013 9    $164.25           Allstate Ins. Co.
0302803937-04 A.S.            Jules F Parisien MD          97110 11/08/2013-12/09/2013 9    $208.62           Allstate Ins. Co.
0302803937-04 A.S.            Jules F Parisien MD          97124 11/08/2013-12/09/2013 9    $181.89           Allstate Ins. Co.
0302803937-04 A.S.            Jules F Parisien MD          97799 11/08/2013-12/09/2013 9    $445.50           Allstate Ins. Co.
0326267416-10 L.G.            Jules F Parisien MD          95833       05/22/2014       1   $114.32   Allstate Fire and Cas. Ins. Co.
0326267416-10 L.G.            Jules F Parisien MD          95851       05/22/2014       1    $45.71   Allstate Fire and Cas. Ins. Co.
0326267416-10 L.G.            Jules F Parisien MD          98531       05/22/2014       1    $43.60   Allstate Fire and Cas. Ins. Co.
0567728472-01 W.D.             Jules Medical PC            99215       02/25/2020       1    $87.80   Allstate Fire and Cas. Ins. Co.
0568456115-02 K.M.             Jules Medical PC            20999       02/17/2020       2   $500.00   Allstate Fire and Cas. Ins. Co.
0568456115-02 K.M.             Jules Medical PC            99215       02/17/2020       1   $148.69   Allstate Fire and Cas. Ins. Co.
0571444520-07    K.J.          Jules Medical PC            20999       02/25/2020       2   $100.00           Allstate Ins. Co.
0571444520-07    K.J.          Jules Medical PC            99244       02/25/2020       1   $236.94           Allstate Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                         Billing
              Claimant                                   Code          Dates of       # of Amount
  Claim No.    Initials           Provider                Used         Service        Units Paid                  Payor
0574676656-01 L.R.            Jules Medical PC           99244        01/15/2020       1    $64.07    Allstate Fire and Cas. Ins. Co.
0575785381-02 C.H.            Jules Medical PC           99244        01/29/2020       1    $87.90    Allstate Fire and Cas. Ins. Co.
0575785381-03 K.C.            Jules Medical PC           99244        01/15/2020       1    $236.94   Allstate Fire and Cas. Ins. Co.
0575785381-03 K.C.            Jules Medical PC           20999        01/29/2020       2 $1,400.00    Allstate Fire and Cas. Ins. Co.
0575785381-03 K.C.            Jules Medical PC           99244        01/29/2020       1    $236.94   Allstate Fire and Cas. Ins. Co.
0575785381-07    J.T.         Jules Medical PC           20999        01/29/2020       2 $1,400.00    Allstate Fire and Cas. Ins. Co.
0575785381-07    J.T.         Jules Medical PC           99244        01/29/2020       1    $236.94   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        KP Medical Care PC          99244        12/01/2016       1    $236.94   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.        KP Medical Care PC          95927        10/31/2016       1    $302.12   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.        KP Medical Care PC          99215        11/03/2016       1    $148.69   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.        KP Medical Care PC          95861        11/28/2016       1    $241.50   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.        KP Medical Care PC          95831        12/05/2016       1    $125.74   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.        KP Medical Care PC          95833        12/05/2016       1    $114.32   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.        KP Medical Care PC          95851        12/05/2016       1    $182.84   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.        KP Medical Care PC          99215        12/08/2016       1    $148.69   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.        KP Medical Care PC          97750        01/03/2017       1    $249.96   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.        KP Medical Care PC          95833        02/22/2017       1    $114.32   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.        KP Medical Care PC          95851        02/22/2017       1    $182.84   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.        KP Medical Care PC          97750        02/27/2017       1    $249.96   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.        KP Medical Care PC          99215        02/27/2017       1    $148.69   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.           KP Medical Care PC          95831        10/31/2016       1    $125.74   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.           KP Medical Care PC          95833        10/31/2016       1    $114.32   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.           KP Medical Care PC          95851        10/31/2016       1    $137.13   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.           KP Medical Care PC          95926        10/31/2016       1    $302.12   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.           KP Medical Care PC          97750        11/14/2016       1    $249.96   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.           KP Medical Care PC          95831        11/22/2016       1    $125.74   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.           KP Medical Care PC          95833        11/22/2016       1    $114.32   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.           KP Medical Care PC          95851        11/22/2016       1    $91.42    Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.           KP Medical Care PC          99215        12/05/2016       1    $148.69   Allstate Fire and Cas. Ins. Co.


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                                             Allstate Ins. Co., et al. v. Rybak, et al.
                                Representative Sample of Fraudulent Claims Paid to Defendants
                                                        Billing
             Claimant                                   Code          Dates of       # of Amount
  Claim No.   Initials          Provider                 Used         Service        Units Paid                  Payor
0431774421-02 P.C.          KP Medical Care PC          95851        12/19/2016       1    $137.13   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.          KP Medical Care PC          95831        01/10/2017       1    $125.74   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.          KP Medical Care PC          95833        01/10/2017       1    $114.32   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.          KP Medical Care PC          95851        01/10/2017       1    $137.13   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.          KP Medical Care PC          99358        01/10/2017       1    $204.41   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.          KP Medical Care PC          95831        10/31/2016       1    $125.74   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.          KP Medical Care PC          95833        10/31/2016       1    $114.32   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.          KP Medical Care PC          95851        10/31/2016       1    $182.84   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.          KP Medical Care PC          95861        11/11/2016       1    $241.50   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.          KP Medical Care PC          95831        12/01/2016       1    $130.80   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.          KP Medical Care PC          95833        12/01/2016       1    $114.32   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.          KP Medical Care PC          95851        12/01/2016       1    $91.42    Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.          KP Medical Care PC          20999        12/12/2016       2 $3,800.00    Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.          KP Medical Care PC          99215        12/12/2016       1    $148.69   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.          KP Medical Care PC          97750        01/10/2017       1    $249.96   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.          KP Medical Care PC          99358        01/10/2017       1    $204.41   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.          KP Medical Care PC          99215        01/16/2017       1    $148.69   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.          KP Medical Care PC          95861        11/14/2016       1    $241.50   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.          KP Medical Care PC          95831        11/22/2016       1    $125.74   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.          KP Medical Care PC          95833        11/22/2016       1    $114.32   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.          KP Medical Care PC          95851        11/22/2016       1    $182.84   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.          KP Medical Care PC          95851        12/19/2016       1    $182.84   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.          KP Medical Care PC          97750        01/10/2017       1    $249.96   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.          KP Medical Care PC          99358        01/10/2017       1    $204.41   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.          KP Medical Care PC          95861        11/14/2016       1    $241.50   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.          KP Medical Care PC          95831        12/12/2016       1    $125.74   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.          KP Medical Care PC          95833        12/12/2016       1    $114.32   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.          KP Medical Care PC          95851        12/12/2016       1    $137.13   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.          KP Medical Care PC          97750        12/19/2016       1    $249.96   Allstate Fire and Cas. Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                         Billing
              Claimant                                   Code          Dates of       # of Amount
  Claim No.    Initials          Provider                 Used         Service        Units Paid                  Payor
0431774421-05 M.T.           KP Medical Care PC          95831        01/10/2017       1    $125.74   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.           KP Medical Care PC          95833        01/10/2017       1    $114.32   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.           KP Medical Care PC          95851        01/10/2017       1    $182.84   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.           KP Medical Care PC          99358        01/10/2017       1    $204.41   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.           KP Medical Care PC          97750        01/23/2017       1    $249.96   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.           KP Medical Care PC          99215        01/23/2017       1    $148.69   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.           KP Medical Care PC          95833        02/20/2017       1    $114.32   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.           KP Medical Care PC          95851        02/20/2017       1    $137.13   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.           KP Medical Care PC          99215        02/21/2017       1    $148.69   Allstate Fire and Cas. Ins. Co.
0434546750-11    E.I.        KP Medical Care PC          99215        11/14/2016       1    $148.69          Allstate Ins. Co.
0434546750-11    E.I.        KP Medical Care PC          97750        11/17/2016       1    $249.96          Allstate Ins. Co.
0434546750-11    E.I.        KP Medical Care PC          99215        12/01/2016       1    $148.69          Allstate Ins. Co.
0434546750-11    E.I.        KP Medical Care PC          97750        12/19/2016       1    $249.96          Allstate Ins. Co.
0434546750-11    E.I.        KP Medical Care PC          99215        01/30/2017       1    $148.69          Allstate Ins. Co.
0436499486-02 S.M.           KP Medical Care PC          95926        11/28/2016       1    $302.12   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.           KP Medical Care PC          95861        12/07/2016       1    $241.50   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.           KP Medical Care PC          95926        12/07/2016       1    $302.12   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.           KP Medical Care PC          99244        12/15/2016       1    $236.94   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.           KP Medical Care PC          99215        01/20/2017       1    $148.69   Allstate Fire and Cas. Ins. Co.
0285337622-01    A.J.        Ksenia Pavlova DO           20553        08/27/2013       1    $119.10   Allstate Fire and Cas. Ins. Co.
0285337622-01    A.J.        Ksenia Pavlova DO           99244        08/27/2013       1    $111.55   Allstate Fire and Cas. Ins. Co.
0286190004-02 A.S.           Ksenia Pavlova DO           20553        08/06/2013       1    $119.10          Allstate Ins. Co.
0286190004-02 A.S.           Ksenia Pavlova DO           20999        08/06/2013       2 $1,450.00           Allstate Ins. Co.
0286190004-02 A.S.           Ksenia Pavlova DO           99215        08/06/2013       1    $148.69          Allstate Ins. Co.
0286190004-02 A.S.           Ksenia Pavlova DO           99215        08/13/2013       1    $148.69          Allstate Ins. Co.
0287540454-01    J.R.        Ksenia Pavlova DO           20553        07/01/2013       1    $119.10          Allstate Ins. Co.
0287540454-01    J.R.        Ksenia Pavlova DO           20999        07/01/2013       2 $1,375.00           Allstate Ins. Co.
0287540454-01    J.R.        Ksenia Pavlova DO           99244        07/01/2013       1    $236.94          Allstate Ins. Co.
0287540454-01    J.R.        Ksenia Pavlova DO           20553        07/29/2013       1    $119.10          Allstate Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                         Billing
              Claimant                                   Code          Dates of       # of Amount
  Claim No.    Initials           Provider                Used         Service        Units Paid                   Payor
0287540454-01    J.R.         Ksenia Pavlova DO          20999        07/29/2013       2 $2,575.00            Allstate Ins. Co.
0287540454-01    J.R.         Ksenia Pavlova DO          99215        07/29/2013       1    $148.69           Allstate Ins. Co.
0289515321-01 L.A.            Ksenia Pavlova DO          20553        07/01/2013       1    $119.10       Allstate Indemnity Co.
0289515321-01 L.A.            Ksenia Pavlova DO          20553        07/01/2013       1    $119.10       Allstate Indemnity Co.
0289515321-01 L.A.            Ksenia Pavlova DO          20999        07/01/2013       2    $662.50       Allstate Indemnity Co.
0289515321-01 L.A.            Ksenia Pavlova DO          20999        07/01/2013       2    $662.50       Allstate Indemnity Co.
0289515321-01 L.A.            Ksenia Pavlova DO          99244        07/01/2013       1    $236.94       Allstate Indemnity Co.
0289515321-01 L.A.            Ksenia Pavlova DO          99244        07/01/2013       1    $236.94       Allstate Indemnity Co.
0289804584-01 M.S.            Ksenia Pavlova DO          20553        07/15/2013       1    $119.10   Allstate Prop. and Cas. Ins. Co.
0289804584-01 M.S.            Ksenia Pavlova DO          20999        07/15/2013       2 $2,900.00    Allstate Prop. and Cas. Ins. Co.
0289804584-01 M.S.            Ksenia Pavlova DO          99244        07/15/2013       1    $236.94   Allstate Prop. and Cas. Ins. Co.
0289804584-01 M.S.            Ksenia Pavlova DO          20553        09/05/2013       1    $119.10   Allstate Prop. and Cas. Ins. Co.
0289804584-01 M.S.            Ksenia Pavlova DO          20999        09/05/2013       2 $2,900.00    Allstate Prop. and Cas. Ins. Co.
0289804584-01 M.S.            Ksenia Pavlova DO          99215        09/05/2013       1    $148.69   Allstate Prop. and Cas. Ins. Co.
0291039501-01 C.R.            Ksenia Pavlova DO          99244        06/28/2013       1    $236.94           Allstate Ins. Co.
0291039501-01 C.R.            Ksenia Pavlova DO          99215        07/08/2013       1    $148.69           Allstate Ins. Co.
0291039501-01 C.R.            Ksenia Pavlova DO          20553        08/05/2013       1    $119.10           Allstate Ins. Co.
0291039501-01 C.R.            Ksenia Pavlova DO          20999        08/05/2013       2 $2,505.00            Allstate Ins. Co.
0291039501-01 C.R.            Ksenia Pavlova DO          99215        08/05/2013       1    $148.69           Allstate Ins. Co.
0291039501-01 C.R.            Ksenia Pavlova DO          99215        08/19/2013       1    $148.69           Allstate Ins. Co.
0291588705-02 A.P.            Ksenia Pavlova DO          20553        07/12/2013       1    $119.10   Allstate Prop. and Cas. Ins. Co.
0291588705-02 A.P.            Ksenia Pavlova DO          20999        07/12/2013       2 $2,200.00    Allstate Prop. and Cas. Ins. Co.
0291588705-02 A.P.            Ksenia Pavlova DO          99244        07/12/2013       1    $236.94   Allstate Prop. and Cas. Ins. Co.
0291588705-02 A.P.            Ksenia Pavlova DO          20553        07/15/2013       1    $119.10   Allstate Prop. and Cas. Ins. Co.
0291588705-02 A.P.            Ksenia Pavlova DO          20999        07/15/2013       2 $2,378.00    Allstate Prop. and Cas. Ins. Co.
0291588705-02 A.P.            Ksenia Pavlova DO          99215        07/15/2013       1    $148.69   Allstate Prop. and Cas. Ins. Co.
0291588705-02 A.P.            Ksenia Pavlova DO          99215        08/12/2013       1    $64.07    Allstate Prop. and Cas. Ins. Co.
0293324331-02 D.M.            Ksenia Pavlova DO          99244        09/03/2013       1    $142.21           Allstate Ins. Co.
0293909230-02    J.B.         Ksenia Pavlova DO          99244        07/26/2013       1    $111.55   Allstate Fire and Cas. Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                         Billing
              Claimant                                   Code          Dates of       # of Amount
  Claim No.    Initials           Provider                Used         Service        Units Paid                   Payor
0293909230-06 T.D.            Ksenia Pavlova DO          99244        07/26/2013       1    $111.55   Allstate Fire and Cas. Ins. Co.
0294866694-01    J.B.         Ksenia Pavlova DO          20553        09/19/2013       1    $119.10   Allstate Prop. and Cas. Ins. Co.
0294866694-01    J.B.         Ksenia Pavlova DO          20999        09/19/2013       2 $1,050.00    Allstate Prop. and Cas. Ins. Co.
0294866694-01    J.B.         Ksenia Pavlova DO          99244        09/19/2013       1    $236.94   Allstate Prop. and Cas. Ins. Co.
0295851943-01    J.S.         Ksenia Pavlova DO          20553        08/19/2013       1    $119.10           Allstate Ins. Co.
0295851943-01    J.S.         Ksenia Pavlova DO          99244        08/19/2013       1    $236.94           Allstate Ins. Co.
0295851943-01    J.S.         Ksenia Pavlova DO          99215        08/26/2013       1    $148.69           Allstate Ins. Co.
0296244239-02 B.H.            Ksenia Pavlova DO          99244        09/03/2013       1    $236.94           Allstate Ins. Co.
0296244239-02 B.H.            Ksenia Pavlova DO          99215        09/17/2013       1    $148.69           Allstate Ins. Co.
0296244239-02 B.H.            Ksenia Pavlova DO          99215        11/08/2013       1    $148.69           Allstate Ins. Co.
0296244239-02 B.H.            Ksenia Pavlova DO          99215        12/06/2013       1    $148.69           Allstate Ins. Co.
0297724700-06 G.F.            Ksenia Pavlova DO          20553        09/19/2013       1    $119.10           Allstate Ins. Co.
0297724700-06 G.F.            Ksenia Pavlova DO          99244        09/19/2013       1    $236.94           Allstate Ins. Co.
0297724700-06 G.F.            Ksenia Pavlova DO          20553        10/22/2013       1    $119.10           Allstate Ins. Co.
0298235276-02 P.A.            Ksenia Pavlova DO          99244        09/05/2013       1    $111.55           Allstate Ins. Co.
0298350612-01 N.P.            Ksenia Pavlova DO          99244        09/03/2013       1    $111.55   Allstate Prop. and Cas. Ins. Co.
0299083659-01 M.Y.            Ksenia Pavlova DO          99244        09/19/2013       1    $236.94           Allstate Ins. Co.
0299083659-01 M.Y.            Ksenia Pavlova DO          99215        11/01/2013       1    $148.69           Allstate Ins. Co.
0299585850-02 L.G.            Ksenia Pavlova DO          20553        09/03/2013       1    $119.10   Allstate Prop. and Cas. Ins. Co.
0299585850-02 L.G.            Ksenia Pavlova DO          20999        09/03/2013       2 $1,550.00    Allstate Prop. and Cas. Ins. Co.
0299585850-02 L.G.            Ksenia Pavlova DO          99244        09/03/2013       1    $236.94   Allstate Prop. and Cas. Ins. Co.
0299585850-02 L.G.            Ksenia Pavlova DO          20553        12/06/2013       1    $119.10   Allstate Prop. and Cas. Ins. Co.
0299585850-02 L.G.            Ksenia Pavlova DO          20999        12/06/2013       2 $1,550.00    Allstate Prop. and Cas. Ins. Co.
0300460441-02 K.S.            Ksenia Pavlova DO          20553        10/22/2013       1    $119.10   Allstate Prop. and Cas. Ins. Co.
0300460441-02 K.S.            Ksenia Pavlova DO          99244        10/22/2013       1    $236.94   Allstate Prop. and Cas. Ins. Co.
0302571708-01 N.N.            Ksenia Pavlova DO          20553        10/31/2013       1    $119.10           Allstate Ins. Co.
0302571708-01 N.N.            Ksenia Pavlova DO          99244        10/31/2013       1    $236.94           Allstate Ins. Co.
0302571708-01 N.N.            Ksenia Pavlova DO          99215        11/26/2013       1    $148.69           Allstate Ins. Co.
0303475743-01 M.G.            Ksenia Pavlova DO          64422        01/20/2014       1    $176.36   Allstate Prop. and Cas. Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                         Billing
              Claimant                                   Code          Dates of       # of Amount
  Claim No.    Initials           Provider                Used         Service        Units Paid                 Payor
0303475743-01 M.G.            Ksenia Pavlova DO          99244        01/20/2014       1    $236.94 Allstate Prop. and Cas. Ins. Co.
0303835698-02    R.J.         Ksenia Pavlova DO          20553        10/22/2013       1    $119.10         Allstate Ins. Co.
0303835698-02    R.J.         Ksenia Pavlova DO          20999        10/22/2013       2 $1,300.00          Allstate Ins. Co.
0303835698-02    R.J.         Ksenia Pavlova DO          99244        10/22/2013       1    $236.94         Allstate Ins. Co.
0303835698-03    J.F.         Ksenia Pavlova DO          99244        11/12/2013       1    $111.55         Allstate Ins. Co.
0303835698-03    J.F.         Ksenia Pavlova DO          20553        12/19/2013       1    $119.10         Allstate Ins. Co.
0303835698-03    J.F.         Ksenia Pavlova DO          20999        12/19/2013       2    $628.22         Allstate Ins. Co.
0303835698-04    J.R.         Ksenia Pavlova DO          20553        10/15/2013       1    $119.10         Allstate Ins. Co.
0303835698-04    J.R.         Ksenia Pavlova DO          20999        10/15/2013       2 $1,750.00          Allstate Ins. Co.
0303835698-04    J.R.         Ksenia Pavlova DO          99244        10/15/2013       1    $236.94         Allstate Ins. Co.
0303835698-04    J.R.         Ksenia Pavlova DO          99215        11/05/2013       1    $50.22          Allstate Ins. Co.
0304067465-02 R.L.            Ksenia Pavlova DO          20553        10/29/2013       1    $119.10         Allstate Ins. Co.
0304067465-02 R.L.            Ksenia Pavlova DO          99244        10/29/2013       1    $236.94         Allstate Ins. Co.
0304067465-02 R.L.            Ksenia Pavlova DO          20553        11/19/2013       1    $119.10         Allstate Ins. Co.
0304067465-02 R.L.            Ksenia Pavlova DO          99215        11/25/2013       1    $148.69         Allstate Ins. Co.
0304262934-01 K.A.            Ksenia Pavlova DO          20553        11/26/2013       1    $119.10         Allstate Ins. Co.
0304262934-01 K.A.            Ksenia Pavlova DO          20999        11/26/2013       2    $749.49         Allstate Ins. Co.
0304262934-01 K.A.            Ksenia Pavlova DO          99244        11/26/2013       1    $236.94         Allstate Ins. Co.
0304262934-04 X.E.            Ksenia Pavlova DO          64418        10/17/2013       1    $146.59         Allstate Ins. Co.
0304262934-04 X.E.            Ksenia Pavlova DO          99244        10/17/2013       1    $236.94         Allstate Ins. Co.
0304262934-04 X.E.            Ksenia Pavlova DO          64418        10/31/2013       1    $146.59         Allstate Ins. Co.
0304262934-04 X.E.            Ksenia Pavlova DO          99215        10/31/2013       1    $148.69         Allstate Ins. Co.
0304262934-04 X.E.            Ksenia Pavlova DO          64418        11/14/2013       1    $146.59         Allstate Ins. Co.
0304262934-04 X.E.            Ksenia Pavlova DO          99215        11/14/2013       1    $148.69         Allstate Ins. Co.
0304262934-04 X.E.            Ksenia Pavlova DO          99215        11/18/2013       1    $148.69         Allstate Ins. Co.
0304262934-04 X.E.            Ksenia Pavlova DO          64418        11/26/2013       1    $146.59         Allstate Ins. Co.
0304262934-04 X.E.            Ksenia Pavlova DO          64418        12/18/2013       1    $146.59         Allstate Ins. Co.
0304262934-06 C.W.            Ksenia Pavlova DO          20553        11/18/2013       1    $119.10         Allstate Ins. Co.
0304262934-06 C.W.            Ksenia Pavlova DO          20999        11/18/2013       2    $389.83         Allstate Ins. Co.


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                                                  Allstate Ins. Co., et al. v. Rybak, et al.
                                     Representative Sample of Fraudulent Claims Paid to Defendants
                                                                Billing
              Claimant                                          Code         Dates of       # of Amount
  Claim No.    Initials                 Provider                 Used        Service       Units Paid                   Payor
0304262934-06 C.W.                 Ksenia Pavlova DO            99244       11/18/2013       1   $236.94           Allstate Ins. Co.
0304716061-01 R.C.                 Ksenia Pavlova DO            99244       11/05/2013       1   $111.55           Allstate Ins. Co.
0304716061-01 R.C.                 Ksenia Pavlova DO            20553       11/19/2013       1   $119.10           Allstate Ins. Co.
0304716061-01 R.C.                 Ksenia Pavlova DO            99215       11/19/2013       1   $148.69           Allstate Ins. Co.
0304716061-01 R.C.                 Ksenia Pavlova DO            99215       11/22/2013       1   $148.69           Allstate Ins. Co.
0304716061-03 B.H.                 Ksenia Pavlova DO            99244       11/05/2013       1   $236.94           Allstate Ins. Co.
0358475275-04 C.L.                 Ksenia Pavlova DO            99244       05/21/2015       1   $236.94   Allstate Fire and Cas. Ins. Co.
0362861601-01 P.A.                 Ksenia Pavlova DO            20553       04/09/2015       1   $119.10   Allstate Fire and Cas. Ins. Co.
0362861601-01 P.A.                 Ksenia Pavlova DO            20999       04/09/2015       2 $2,600.00   Allstate Fire and Cas. Ins. Co.
0362861601-01 P.A.                 Ksenia Pavlova DO            99244       04/09/2015       1   $236.94   Allstate Fire and Cas. Ins. Co.
0362861601-01 P.A.                 Ksenia Pavlova DO            20553       05/14/2015       1   $119.10   Allstate Fire and Cas. Ins. Co.
0362861601-01 P.A.                 Ksenia Pavlova DO            20999       05/14/2015       2 $1,220.00   Allstate Fire and Cas. Ins. Co.
0362861601-01 P.A.                 Ksenia Pavlova DO            99215       05/14/2015       1   $148.69   Allstate Fire and Cas. Ins. Co.
0362861601-02 Y.A.                 Ksenia Pavlova DO            20553       04/09/2015       1   $119.10   Allstate Fire and Cas. Ins. Co.
0362861601-02 Y.A.                 Ksenia Pavlova DO            20999       04/09/2015       2    $59.55   Allstate Fire and Cas. Ins. Co.
0362861601-02 Y.A.                 Ksenia Pavlova DO            99244       04/09/2015       1   $236.94   Allstate Fire and Cas. Ins. Co.
0362861601-02 Y.A.                 Ksenia Pavlova DO            64418       05/14/2015       1   $146.59   Allstate Fire and Cas. Ins. Co.
0369477179-02 J.M.                 Ksenia Pavlova DO            99244       06/10/2015       1   $236.94   Allstate Fire and Cas. Ins. Co.
0370811663-03 K.B.                 Ksenia Pavlova DO            64418       05/21/2015       1   $146.59           Allstate Ins. Co.
0370811663-03 K.B.                 Ksenia Pavlova DO            99244       05/21/2015       1   $236.94           Allstate Ins. Co.
0374553048-02 E.F.                 Ksenia Pavlova DO            97750       07/14/2015       1   $249.96   Allstate Fire and Cas. Ins. Co.
0374553048-02 E.F.                 Ksenia Pavlova DO            99244       07/23/2015       1   $236.94   Allstate Fire and Cas. Ins. Co.
0377476239-01 L.C.                 Ksenia Pavlova DO            99215       10/15/2015       1   $148.69   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.                 Ksenia Pavlova DO            95926       10/17/2016       1   $302.12   Allstate Fire and Cas. Ins. Co.
0228760237-01 K.L.      Island Life Chiropractic Pain Care PLLC 98941 03/20/2012-03/26/2012 2     $64.22   Allstate Prop. and Cas. Ins. Co.
0228760237-01 K.L.      Island Life Chiropractic Pain Care PLLC 99212       03/20/2012       1    $26.41   Allstate Prop. and Cas. Ins. Co.
0228760237-01 K.L.      Island Life Chiropractic Pain Care PLLC 97139       03/26/2012       1    $16.70   Allstate Prop. and Cas. Ins. Co.
0228760237-01 K.L.      Island Life Chiropractic Pain Care PLLC 98940       04/25/2012       1    $26.41   Allstate Prop. and Cas. Ins. Co.
0229571665-03    S.F.   Island Life Chiropractic Pain Care PLLC 97139       04/11/2012       1    $16.70           Allstate Ins. Co.


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                                                  Allstate Ins. Co., et al. v. Rybak, et al.
                                     Representative Sample of Fraudulent Claims Paid to Defendants
                                                                Billing
              Claimant                                          Code         Dates of       # of Amount
  Claim No.    Initials                 Provider                 Used        Service       Units Paid                   Payor
0229571665-03    S.F.   Island Life Chiropractic Pain Care PLLC 98941       04/11/2012       1    $34.68           Allstate Ins. Co.
0229571665-03    S.F.   Island Life Chiropractic Pain Care PLLC 99212       04/11/2012       1    $12.20           Allstate Ins. Co.
0229571665-03    S.F.   Island Life Chiropractic Pain Care PLLC 98941 04/23/2012-05/30/2012 3     $34.68           Allstate Ins. Co.
0230710758-01 M.G.      Island Life Chiropractic Pain Care PLLC 97139 03/21/2012-04/11/2012 6    $100.20   Allstate Prop. and Cas. Ins. Co.
0230710758-01 M.G.      Island Life Chiropractic Pain Care PLLC 98941       03/21/2012       1    $29.54   Allstate Prop. and Cas. Ins. Co.
0230710758-01 M.G.      Island Life Chiropractic Pain Care PLLC 98940 03/22/2012-04/11/2012 5    $132.05   Allstate Prop. and Cas. Ins. Co.
0230710758-01 M.G.      Island Life Chiropractic Pain Care PLLC 97139 03/30/2012-04/02/2012 2     $33.40   Allstate Prop. and Cas. Ins. Co.
0230710758-01 M.G.      Island Life Chiropractic Pain Care PLLC 98940 03/30/2012-04/02/2012 2     $52.82   Allstate Prop. and Cas. Ins. Co.
0230710758-01 M.G.      Island Life Chiropractic Pain Care PLLC 97139 04/18/2012-04/25/2012 2     $33.40   Allstate Prop. and Cas. Ins. Co.
0230710758-01 M.G.      Island Life Chiropractic Pain Care PLLC 98940 04/18/2012-04/25/2012 2     $52.82   Allstate Prop. and Cas. Ins. Co.
0231928466-01 G.M.      Island Life Chiropractic Pain Care PLLC 95999       01/25/2012       1 $1,022.00   Allstate Prop. and Cas. Ins. Co.
0231928466-01 G.M.      Island Life Chiropractic Pain Care PLLC 95999       01/25/2012       1 $1,314.00   Allstate Prop. and Cas. Ins. Co.
0231928466-01 G.M.      Island Life Chiropractic Pain Care PLLC 97139 03/20/2012-04/18/2012 7    $116.90   Allstate Prop. and Cas. Ins. Co.
0231928466-01 G.M.      Island Life Chiropractic Pain Care PLLC 98941 03/20/2012-04/18/2012 6    $177.24   Allstate Prop. and Cas. Ins. Co.
0231928466-01 G.M.      Island Life Chiropractic Pain Care PLLC 99212       03/20/2012       1    $26.41   Allstate Prop. and Cas. Ins. Co.
0231928466-01 G.M.      Island Life Chiropractic Pain Care PLLC 98940       03/28/2012       1    $26.41   Allstate Prop. and Cas. Ins. Co.
0231928466-06 A.C.      Island Life Chiropractic Pain Care PLLC 97139 03/20/2012-03/29/2012 2     $33.40   Allstate Prop. and Cas. Ins. Co.
0231928466-06 A.C.      Island Life Chiropractic Pain Care PLLC 98940       03/20/2012       1    $26.41   Allstate Prop. and Cas. Ins. Co.
0231928466-06 A.C.      Island Life Chiropractic Pain Care PLLC 99212       03/20/2012       1    $26.41   Allstate Prop. and Cas. Ins. Co.
0231928466-06 A.C.      Island Life Chiropractic Pain Care PLLC 98941       03/29/2012       1    $34.68   Allstate Prop. and Cas. Ins. Co.
0232367730-01 L.C.      Island Life Chiropractic Pain Care PLLC 97139       03/20/2012       1    $16.70   Allstate Prop. and Cas. Ins. Co.
0232367730-01 L.C.      Island Life Chiropractic Pain Care PLLC 98941       03/20/2012       1    $29.54   Allstate Prop. and Cas. Ins. Co.
0232367730-09    S.J.   Island Life Chiropractic Pain Care PLLC 97139 04/13/2012-04/19/2012 2     $33.40   Allstate Prop. and Cas. Ins. Co.
0232367730-09    S.J.   Island Life Chiropractic Pain Care PLLC 98940       04/13/2012       1    $26.41   Allstate Prop. and Cas. Ins. Co.
0232367730-09    S.J.   Island Life Chiropractic Pain Care PLLC 98941       04/19/2012       1    $29.54   Allstate Prop. and Cas. Ins. Co.
0237989108-03 E.E.      Island Life Chiropractic Pain Care PLLC 97139 03/20/2012-04/16/2012 8    $133.60   Allstate Prop. and Cas. Ins. Co.
0237989108-03 E.E.      Island Life Chiropractic Pain Care PLLC 98941 03/20/2012-04/16/2012 8    $236.32   Allstate Prop. and Cas. Ins. Co.
0237989108-03 E.E.      Island Life Chiropractic Pain Care PLLC 97139       05/18/2012       1    $16.70   Allstate Prop. and Cas. Ins. Co.
0237989108-03 E.E.      Island Life Chiropractic Pain Care PLLC 98941       05/18/2012       1    $29.54   Allstate Prop. and Cas. Ins. Co.


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                                                  Allstate Ins. Co., et al. v. Rybak, et al.
                                     Representative Sample of Fraudulent Claims Paid to Defendants
                                                               Billing
             Claimant                                          Code         Dates of       # of Amount
  Claim No.   Initials                 Provider                 Used        Service       Units Paid                  Payor
0240366203-03 O.L.     Island Life Chiropractic Pain Care PLLC 97139 04/10/2012-04/26/2012 8    $133.60   Allstate Prop. and Cas. Ins. Co.
0240366203-03 O.L.     Island Life Chiropractic Pain Care PLLC 98940 04/10/2012-04/26/2012 6    $158.46   Allstate Prop. and Cas. Ins. Co.
0240366203-03 O.L.     Island Life Chiropractic Pain Care PLLC 98941 04/12/2012-04/16/2012 2     $59.08   Allstate Prop. and Cas. Ins. Co.
0240366203-03 O.L.     Island Life Chiropractic Pain Care PLLC 97139 04/30/2012-05/17/2012 9    $150.30   Allstate Prop. and Cas. Ins. Co.
0240366203-03 O.L.     Island Life Chiropractic Pain Care PLLC 98940 04/30/2012-05/17/2012 9    $237.69   Allstate Prop. and Cas. Ins. Co.
0240366203-03 O.L.     Island Life Chiropractic Pain Care PLLC 97139 05/21/2012-06/05/2012 7    $116.90   Allstate Prop. and Cas. Ins. Co.
0240366203-03 O.L.     Island Life Chiropractic Pain Care PLLC 98940 05/21/2012-06/05/2012 7    $184.87   Allstate Prop. and Cas. Ins. Co.
0240366203-03 O.L.     Island Life Chiropractic Pain Care PLLC 97139 06/07/2012-07/16/2012 8     $83.41   Allstate Prop. and Cas. Ins. Co.
0240366203-03 O.L.     Island Life Chiropractic Pain Care PLLC 98941 06/07/2012-07/16/2012 8    $277.44   Allstate Prop. and Cas. Ins. Co.
0240366203-03 O.L.     Island Life Chiropractic Pain Care PLLC 99212       06/26/2012       1    $26.41   Allstate Prop. and Cas. Ins. Co.
0240366203-03 O.L.     Island Life Chiropractic Pain Care PLLC 97139 07/30/2012-08/07/2012 2     $33.40   Allstate Prop. and Cas. Ins. Co.
0240366203-03 O.L.     Island Life Chiropractic Pain Care PLLC 98940 07/30/2012-08/07/2012 2     $52.82   Allstate Prop. and Cas. Ins. Co.
0241444553-05 K.L.     Island Life Chiropractic Pain Care PLLC 97139 04/20/2012-05/04/2012 7    $116.90   Allstate Fire and Cas. Ins. Co.
0241444553-05 K.L.     Island Life Chiropractic Pain Care PLLC 98940 04/20/2012-05/04/2012 6    $158.46   Allstate Fire and Cas. Ins. Co.
0241444553-05 K.L.     Island Life Chiropractic Pain Care PLLC 98941       04/24/2012       1    $29.54   Allstate Fire and Cas. Ins. Co.
0241444553-05 K.L.     Island Life Chiropractic Pain Care PLLC 97139 05/22/2012-06/01/2012 4     $66.80   Allstate Fire and Cas. Ins. Co.
0241444553-05 K.L.     Island Life Chiropractic Pain Care PLLC 98941 05/22/2012-06/01/2012 3     $88.62   Allstate Fire and Cas. Ins. Co.
0241444553-05 K.L.     Island Life Chiropractic Pain Care PLLC 98940       05/23/2012       1    $26.41   Allstate Fire and Cas. Ins. Co.
0241444553-05 K.L.     Island Life Chiropractic Pain Care PLLC 97139 06/11/2012-07/12/2012 4     $66.80   Allstate Fire and Cas. Ins. Co.
0241444553-05 K.L.     Island Life Chiropractic Pain Care PLLC 98940       06/11/2012       1    $26.41   Allstate Fire and Cas. Ins. Co.
0241444553-05 K.L.     Island Life Chiropractic Pain Care PLLC 98941 07/02/2012-07/12/2012 3     $88.62   Allstate Fire and Cas. Ins. Co.
0241444553-05 K.L.     Island Life Chiropractic Pain Care PLLC 97139       08/02/2012       1    $16.70   Allstate Fire and Cas. Ins. Co.
0241444553-05 K.L.     Island Life Chiropractic Pain Care PLLC 98940       08/02/2012       1    $26.41   Allstate Fire and Cas. Ins. Co.
0245880257-03 T.M.     Island Life Chiropractic Pain Care PLLC 99203       07/25/2012       1    $54.74       Allstate Indemnity Co.
0245880257-03 T.M.     Island Life Chiropractic Pain Care PLLC 99203       07/25/2012       1    $54.74       Allstate Indemnity Co.
0245880257-03 T.M.     Island Life Chiropractic Pain Care PLLC 97139 07/30/2012-08/08/2012 3     $50.10       Allstate Indemnity Co.
0245880257-03 T.M.     Island Life Chiropractic Pain Care PLLC 98940 07/30/2012-08/08/2012 3     $79.23       Allstate Indemnity Co.
0245880257-03 T.M.     Island Life Chiropractic Pain Care PLLC 98940 08/20/2012-10/02/2012 10 $264.10         Allstate Indemnity Co.
0245880257-03 T.M.     Island Life Chiropractic Pain Care PLLC 97139 08/22/2012-10/02/2012 8    $133.60       Allstate Indemnity Co.


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                                                  Allstate Ins. Co., et al. v. Rybak, et al.
                                     Representative Sample of Fraudulent Claims Paid to Defendants
                                                                Billing
              Claimant                                          Code         Dates of       # of Amount
  Claim No.    Initials                 Provider                 Used        Service       Units Paid                   Payor
0245880257-03 T.M.      Island Life Chiropractic Pain Care PLLC 97139       08/30/2012       1    $16.70       Allstate Indemnity Co.
0245880257-03 T.M.      Island Life Chiropractic Pain Care PLLC 98940       08/30/2012       1    $26.41       Allstate Indemnity Co.
0246761522-01 D.H.      Island Life Chiropractic Pain Care PLLC 97139 06/06/2012-07/02/2012 10 $167.00     Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.      Island Life Chiropractic Pain Care PLLC 98940 06/06/2012-07/02/2012 10 $264.10     Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.      Island Life Chiropractic Pain Care PLLC 97139 07/03/2012-07/24/2012 5     $83.50   Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.      Island Life Chiropractic Pain Care PLLC 98940 07/03/2012-07/24/2012 5    $132.05   Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.      Island Life Chiropractic Pain Care PLLC 97139 08/02/2012-08/15/2012 5     $77.87   Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.      Island Life Chiropractic Pain Care PLLC 98940 08/02/2012-08/15/2012 5    $132.05   Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.      Island Life Chiropractic Pain Care PLLC 99212       08/14/2012       1    $26.41   Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.      Island Life Chiropractic Pain Care PLLC 98940 08/22/2012-09/26/2012 8    $184.87   Allstate Prop. and Cas. Ins. Co.
0246847370-05 W.J.      Island Life Chiropractic Pain Care PLLC 99203       06/07/2012       1    $54.74           Allstate Ins. Co.
0246847370-05 W.J.      Island Life Chiropractic Pain Care PLLC 97139       06/18/2012       1    $11.56           Allstate Ins. Co.
0246847370-05 W.J.      Island Life Chiropractic Pain Care PLLC 98941       06/18/2012       1    $34.68           Allstate Ins. Co.
0247042302-01 B.B.      Island Life Chiropractic Pain Care PLLC 98940 07/02/2012-07/30/2012 9    $237.69   Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.      Island Life Chiropractic Pain Care PLLC 98941 07/13/2012-08/01/2012 3     $98.90   Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.      Island Life Chiropractic Pain Care PLLC 97139 08/13/2012-08/16/2012 2     $33.40   Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.      Island Life Chiropractic Pain Care PLLC 98940 08/13/2012-08/16/2012 2     $52.82   Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.      Island Life Chiropractic Pain Care PLLC 97139 08/20/2012-09/18/2012 8     $44.16   Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.      Island Life Chiropractic Pain Care PLLC 98941 08/20/2012-08/29/2012 2     $69.36   Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.      Island Life Chiropractic Pain Care PLLC 98940 09/05/2012-09/18/2012 6    $158.46   Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.      Island Life Chiropractic Pain Care PLLC 99212       09/18/2012       1    $26.41   Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.      Island Life Chiropractic Pain Care PLLC 98940 09/20/2012-11/05/2012 8    $184.87   Allstate Fire and Cas. Ins. Co.
0247385354-01    J.E.   Island Life Chiropractic Pain Care PLLC 99203       06/07/2012       1    $54.74           Allstate Ins. Co.
0247385354-01    J.E.   Island Life Chiropractic Pain Care PLLC 97139 06/08/2012-07/11/2012 13    $16.70           Allstate Ins. Co.
0247385354-01    J.E.   Island Life Chiropractic Pain Care PLLC 98941 06/08/2012-07/11/2012 12 $416.16             Allstate Ins. Co.
0247385354-01    J.E.   Island Life Chiropractic Pain Care PLLC 98940       06/25/2012       1    $26.41           Allstate Ins. Co.
0247385354-01    J.E.   Island Life Chiropractic Pain Care PLLC 98941 07/12/2012-07/24/2012 6    $208.08           Allstate Ins. Co.
0247385354-01    J.E.   Island Life Chiropractic Pain Care PLLC 98940 08/06/2012-08/13/2012 2     $52.82           Allstate Ins. Co.
0247385354-01    J.E.   Island Life Chiropractic Pain Care PLLC 98940 08/29/2012-09/27/2012 8    $211.28           Allstate Ins. Co.


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                                                  Allstate Ins. Co., et al. v. Rybak, et al.
                                     Representative Sample of Fraudulent Claims Paid to Defendants
                                                                Billing
              Claimant                                          Code         Dates of       # of Amount
  Claim No.    Initials                 Provider                 Used        Service       Units Paid                  Payor
0247385354-01    J.E.   Island Life Chiropractic Pain Care PLLC 98941 09/11/2012-09/19/2012 2     $69.36          Allstate Ins. Co.
0247385354-01    J.E.   Island Life Chiropractic Pain Care PLLC 97139 10/01/2012-10/31/2012 8     $16.70          Allstate Ins. Co.
0247385354-01    J.E.   Island Life Chiropractic Pain Care PLLC 98941 10/01/2012-10/25/2012 5    $104.04          Allstate Ins. Co.
0247385354-01    J.E.   Island Life Chiropractic Pain Care PLLC 98940 10/09/2012-10/31/2012 3     $52.82          Allstate Ins. Co.
0247385354-04 R.K.      Island Life Chiropractic Pain Care PLLC 99203       06/07/2012       1    $54.74          Allstate Ins. Co.
0247385354-04 R.K.      Island Life Chiropractic Pain Care PLLC 98941 06/08/2012-06/20/2012 6    $208.08          Allstate Ins. Co.
0247385354-04 R.K.      Island Life Chiropractic Pain Care PLLC 98940       06/18/2012       1    $26.41          Allstate Ins. Co.
0247385354-04 R.K.      Island Life Chiropractic Pain Care PLLC 98941 06/25/2012-07/10/2012 7    $242.76          Allstate Ins. Co.
0247385354-04 R.K.      Island Life Chiropractic Pain Care PLLC 98940       07/05/2012       1    $26.41          Allstate Ins. Co.
0247385354-04 R.K.      Island Life Chiropractic Pain Care PLLC 98940       07/11/2012       1    $26.41          Allstate Ins. Co.
0247385354-04 R.K.      Island Life Chiropractic Pain Care PLLC 98941 07/16/2012-07/25/2012 5    $173.40          Allstate Ins. Co.
0247385354-04 R.K.      Island Life Chiropractic Pain Care PLLC 98941 07/31/2012-08/16/2012 5    $173.40          Allstate Ins. Co.
0247385354-04 R.K.      Island Life Chiropractic Pain Care PLLC 97139 08/28/2012-09/26/2012 6     $33.40          Allstate Ins. Co.
0247385354-04 R.K.      Island Life Chiropractic Pain Care PLLC 98941 08/28/2012-09/26/2012 5    $168.26          Allstate Ins. Co.
0247385354-04 R.K.      Island Life Chiropractic Pain Care PLLC 98940       09/11/2012       1    $26.41          Allstate Ins. Co.
0247385354-05    R.I.   Island Life Chiropractic Pain Care PLLC 99203       06/07/2012       1    $54.74          Allstate Ins. Co.
0247385354-05    R.I.   Island Life Chiropractic Pain Care PLLC 98941 06/08/2012-07/05/2012 10 $346.80            Allstate Ins. Co.
0247385354-05    R.I.   Island Life Chiropractic Pain Care PLLC 98941 07/23/2012-07/25/2012 3    $104.04          Allstate Ins. Co.
0247385354-05    R.I.   Island Life Chiropractic Pain Care PLLC 98941 08/02/2012-08/08/2012 3    $104.04          Allstate Ins. Co.
0247385354-05    R.I.   Island Life Chiropractic Pain Care PLLC 97139 08/22/2012-09/26/2012 5     $33.40          Allstate Ins. Co.
0247385354-05    R.I.   Island Life Chiropractic Pain Care PLLC 98941       08/22/2012       1    $34.68          Allstate Ins. Co.
0247385354-05    R.I.   Island Life Chiropractic Pain Care PLLC 98940 09/07/2012-09/26/2012 4    $105.64          Allstate Ins. Co.
0249232133-03 M.M.      Island Life Chiropractic Pain Care PLLC 99203       06/27/2012       1    $54.74   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.      Island Life Chiropractic Pain Care PLLC 97139 06/28/2012-07/24/2012 12 $149.00     Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.      Island Life Chiropractic Pain Care PLLC 98940 06/28/2012-07/12/2012 2     $52.82   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.      Island Life Chiropractic Pain Care PLLC 98941 07/02/2012-07/24/2012 10 $346.80     Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.      Island Life Chiropractic Pain Care PLLC 95999       07/05/2012       1 $1,022.00   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.      Island Life Chiropractic Pain Care PLLC 95999       07/05/2012       1 $1,314.00   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.      Island Life Chiropractic Pain Care PLLC 97139 07/30/2012-08/14/2012 6     $69.36   Allstate Fire and Cas. Ins. Co.


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                                                  Allstate Ins. Co., et al. v. Rybak, et al.
                                     Representative Sample of Fraudulent Claims Paid to Defendants
                                                               Billing
             Claimant                                          Code         Dates of       # of Amount
  Claim No.   Initials                 Provider                 Used        Service       Units Paid                  Payor
0249232133-03 M.M.     Island Life Chiropractic Pain Care PLLC 98941 07/30/2012-08/14/2012 5    $173.40   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.     Island Life Chiropractic Pain Care PLLC 98940       08/13/2012       1    $26.41   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.     Island Life Chiropractic Pain Care PLLC 97139 08/20/2012-09/25/2012 7     $91.20   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.     Island Life Chiropractic Pain Care PLLC 98940 08/20/2012-08/23/2012 2     $52.82   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.     Island Life Chiropractic Pain Care PLLC 98941 08/28/2012-09/25/2012 5    $173.40   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.     Island Life Chiropractic Pain Care PLLC 99212       09/05/2012       1    $26.41   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.     Island Life Chiropractic Pain Care PLLC 97139 10/04/2012-10/25/2012 4     $61.66   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.     Island Life Chiropractic Pain Care PLLC 98940 10/04/2012-10/25/2012 3     $79.23   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.     Island Life Chiropractic Pain Care PLLC 98941       10/16/2012       1    $34.68   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.     Island Life Chiropractic Pain Care PLLC 97139 11/09/2012-11/26/2012 3     $39.82   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.     Island Life Chiropractic Pain Care PLLC 98941 11/09/2012-11/16/2012 2     $69.36   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.     Island Life Chiropractic Pain Care PLLC 99212       11/16/2012       1    $26.41   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.     Island Life Chiropractic Pain Care PLLC 98940       11/26/2012       1    $26.41   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.     Island Life Chiropractic Pain Care PLLC 97139       12/26/2012       1    $16.70   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.     Island Life Chiropractic Pain Care PLLC 98940       12/26/2012       1    $26.41   Allstate Fire and Cas. Ins. Co.
0252361290-05 G.T.     Island Life Chiropractic Pain Care PLLC 99203       08/16/2012       1    $54.74   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.     Island Life Chiropractic Pain Care PLLC 97139 08/20/2012-10/01/2012 9    $114.32   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.     Island Life Chiropractic Pain Care PLLC 98940 08/20/2012-08/28/2012 2     $52.82   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.     Island Life Chiropractic Pain Care PLLC 98941 08/21/2012-10/01/2012 7    $242.76   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.     Island Life Chiropractic Pain Care PLLC 97139 10/05/2012-11/01/2012 4     $66.80   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.     Island Life Chiropractic Pain Care PLLC 98940 10/05/2012-11/01/2012 4    $105.64   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.     Island Life Chiropractic Pain Care PLLC 97139 11/15/2012-11/28/2012 5     $68.08   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.     Island Life Chiropractic Pain Care PLLC 98941 11/15/2012-11/23/2012 3    $104.04   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.     Island Life Chiropractic Pain Care PLLC 98940 11/26/2012-11/28/2012 2     $52.82   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.     Island Life Chiropractic Pain Care PLLC 97139 12/10/2012-12/27/2012 3     $50.10   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.     Island Life Chiropractic Pain Care PLLC 98940 12/10/2012-12/27/2012 3     $79.23   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.     Island Life Chiropractic Pain Care PLLC 99203       07/26/2012       1    $54.74   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.     Island Life Chiropractic Pain Care PLLC 98940 07/30/2012-08/06/2012 3     $79.23   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.     Island Life Chiropractic Pain Care PLLC 98941 07/31/2012-08/13/2012 3    $104.04   Allstate Prop. and Cas. Ins. Co.


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                                                  Allstate Ins. Co., et al. v. Rybak, et al.
                                     Representative Sample of Fraudulent Claims Paid to Defendants
                                                                Billing
              Claimant                                          Code         Dates of       # of Amount
  Claim No.    Initials                 Provider                 Used        Service       Units Paid                   Payor
0253727044-01 G.M.      Island Life Chiropractic Pain Care PLLC 97139 09/14/2012-10/01/2012 7     $44.96   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.      Island Life Chiropractic Pain Care PLLC 98941 09/14/2012-09/27/2012 5    $173.40   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.      Island Life Chiropractic Pain Care PLLC 98940 09/25/2012-10/01/2012 2     $52.82   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.      Island Life Chiropractic Pain Care PLLC 97139 10/09/2012-11/07/2012 8     $68.08   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.      Island Life Chiropractic Pain Care PLLC 98941 10/09/2012-10/22/2012 3    $104.04   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.      Island Life Chiropractic Pain Care PLLC 98940 10/18/2012-11/07/2012 5     $52.82   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.      Island Life Chiropractic Pain Care PLLC 99203       07/03/2012       1    $54.74   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.      Island Life Chiropractic Pain Care PLLC 98940 07/16/2012-08/20/2012 3     $79.23   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.      Island Life Chiropractic Pain Care PLLC 98941 07/17/2012-08/16/2012 7    $242.76   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.      Island Life Chiropractic Pain Care PLLC 98941 08/28/2012-09/18/2012 4    $138.72   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.      Island Life Chiropractic Pain Care PLLC 98940       09/20/2012       1    $26.41   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.      Island Life Chiropractic Pain Care PLLC 97139 10/16/2012-10/31/2012 5     $57.80   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.      Island Life Chiropractic Pain Care PLLC 98941 10/16/2012-10/31/2012 5    $173.40   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.      Island Life Chiropractic Pain Care PLLC 97139 11/07/2012-11/26/2012 7     $44.96   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.      Island Life Chiropractic Pain Care PLLC 98940 11/07/2012-11/26/2012 4    $105.64   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.      Island Life Chiropractic Pain Care PLLC 98941 11/08/2012-11/20/2012 3    $104.04   Allstate Prop. and Cas. Ins. Co.
0257961391-07 M.P.      Island Life Chiropractic Pain Care PLLC 99203       08/29/2012       1    $54.74           Allstate Ins. Co.
0257961391-07 M.P.      Island Life Chiropractic Pain Care PLLC 97139 08/31/2012-10/02/2012 9    $150.30           Allstate Ins. Co.
0257961391-07 M.P.      Island Life Chiropractic Pain Care PLLC 98940 08/31/2012-10/02/2012 5    $132.05           Allstate Ins. Co.
0257961391-07 M.P.      Island Life Chiropractic Pain Care PLLC 98941 09/14/2012-09/25/2012 4    $118.16           Allstate Ins. Co.
0257961391-07 M.P.      Island Life Chiropractic Pain Care PLLC 97139 10/03/2012-10/25/2012 7    $116.90           Allstate Ins. Co.
0257961391-07 M.P.      Island Life Chiropractic Pain Care PLLC 98940 10/03/2012-10/09/2012 2     $52.82           Allstate Ins. Co.
0257961391-07 M.P.      Island Life Chiropractic Pain Care PLLC 98941 10/08/2012-10/25/2012 5    $147.70           Allstate Ins. Co.
0257961391-07 M.P.      Island Life Chiropractic Pain Care PLLC 99212       10/16/2012       1    $26.41           Allstate Ins. Co.
0257961391-07 M.P.      Island Life Chiropractic Pain Care PLLC 97139 11/28/2012-12/04/2012 2     $33.40           Allstate Ins. Co.
0257961391-07 M.P.      Island Life Chiropractic Pain Care PLLC 98941       11/28/2012       1    $29.54           Allstate Ins. Co.
0257961391-07 M.P.      Island Life Chiropractic Pain Care PLLC 98940       12/04/2012       1    $26.41           Allstate Ins. Co.
0257961391-13    J.J.   Island Life Chiropractic Pain Care PLLC 99203       08/29/2012       1    $54.74           Allstate Ins. Co.
0257961391-13    J.J.   Island Life Chiropractic Pain Care PLLC 97139 08/31/2012-09/26/2012 12 $200.40             Allstate Ins. Co.


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                                                  Allstate Ins. Co., et al. v. Rybak, et al.
                                     Representative Sample of Fraudulent Claims Paid to Defendants
                                                                Billing
              Claimant                                          Code         Dates of       # of Amount
  Claim No.    Initials                 Provider                 Used        Service       Units Paid                   Payor
0257961391-13    J.J.   Island Life Chiropractic Pain Care PLLC 98940 08/31/2012-09/26/2012 13 $343.33             Allstate Ins. Co.
0261148811-03 E.C.      Island Life Chiropractic Pain Care PLLC 95999       09/26/2012       1 $1,022.00   Allstate Fire and Cas. Ins. Co.
0268725595-01    J.B.   Island Life Chiropractic Pain Care PLLC 95999       12/10/2012       1 $1,314.00           Allstate Ins. Co.
0268725595-01    J.B.   Island Life Chiropractic Pain Care PLLC 95999       01/29/2013       1 $1,022.00           Allstate Ins. Co.
0342499539-01    J.R.   Island Life Chiropractic Pain Care PLLC 95925       01/20/2015       1   $206.69           Allstate Ins. Co.
0342499539-01    J.R.   Island Life Chiropractic Pain Care PLLC 95926       01/20/2015       1   $620.07           Allstate Ins. Co.
0374512275-03 Z.S.      Island Life Chiropractic Pain Care PLLC 99203       07/01/2015       1    $54.74           Allstate Ins. Co.
0246761522-01 D.H.              Maria Shiela Masigla PT         97001       06/04/2012       1    $42.35   Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.              Maria Shiela Masigla PT         97010 06/04/2012-06/19/2012 8    $146.00   Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.              Maria Shiela Masigla PT         97110 06/04/2012-06/19/2012 8    $244.56   Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.              Maria Shiela Masigla PT         97124 06/04/2012-06/19/2012 8    $102.24   Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.              Maria Shiela Masigla PT         97010 06/21/2012-07/02/2012 5     $91.25   Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.              Maria Shiela Masigla PT         97110 06/21/2012-07/02/2012 5    $152.85   Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.              Maria Shiela Masigla PT         97124 06/21/2012-07/02/2012 5     $63.90   Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.              Maria Shiela Masigla PT         99358       07/02/2012       1   $143.20   Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.              Maria Shiela Masigla PT         97010 07/03/2012-08/03/2012 7     $84.70   Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.              Maria Shiela Masigla PT         97799 07/03/2012-08/03/2012 7    $346.50   Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.              Maria Shiela Masigla PT         97010 08/07/2012-09/18/2012 13 $237.25     Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.              Maria Shiela Masigla PT         97110 08/07/2012-09/18/2012 13 $359.53     Allstate Prop. and Cas. Ins. Co.
0246761522-01 D.H.              Maria Shiela Masigla PT         97124 08/07/2012-09/18/2012 13 $115.02     Allstate Prop. and Cas. Ins. Co.
0247042302-01 B.B.              Maria Shiela Masigla PT         97001       06/28/2012       1    $42.35   Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.              Maria Shiela Masigla PT         97010 06/28/2012-07/25/2012 12 $219.00     Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.              Maria Shiela Masigla PT         97110 06/28/2012-07/25/2012 12 $366.84     Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.              Maria Shiela Masigla PT         97124 06/28/2012-07/25/2012 12 $153.36     Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.              Maria Shiela Masigla PT         99358       07/02/2012       1   $143.20   Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.              Maria Shiela Masigla PT         97750       07/12/2012       1   $249.96   Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.              Maria Shiela Masigla PT         97010 07/30/2012-08/01/2012 2     $36.50   Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.              Maria Shiela Masigla PT         97110 07/30/2012-08/01/2012 2     $61.14   Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.              Maria Shiela Masigla PT         97124 07/30/2012-08/01/2012 2     $25.56   Allstate Fire and Cas. Ins. Co.


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                   Case 1:22-cv-04441-SJB-VMS         Document 1-4 Filed 07/28/22       Page 60 of 449 PageID
                                                            #: 472

                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                           Billing
              Claimant                                     Code         Dates of       # of Amount
  Claim No.    Initials            Provider                 Used        Service       Units Paid                  Payor
0247042302-01 B.B.          Maria Shiela Masigla PT        97010 08/03/2012-09/10/2012 10 $182.50     Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.          Maria Shiela Masigla PT        97110 08/03/2012-09/10/2012 10 $286.76     Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.          Maria Shiela Masigla PT        97124 08/03/2012-09/10/2012 10 $102.24     Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.          Maria Shiela Masigla PT        97010 09/18/2012-10/23/2012 8    $146.00   Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.          Maria Shiela Masigla PT        97110 09/18/2012-10/23/2012 8    $235.09   Allstate Fire and Cas. Ins. Co.
0247042302-01 B.B.          Maria Shiela Masigla PT        97124 09/18/2012-10/23/2012 8     $89.46   Allstate Fire and Cas. Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97001       06/07/2012       1    $72.92          Allstate Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97010 06/07/2012-06/25/2012 8    $146.00          Allstate Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97110 06/07/2012-06/25/2012 8    $226.77          Allstate Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97124 06/07/2012-06/25/2012 8     $89.46          Allstate Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97010 06/26/2012-07/10/2012 6    $109.50          Allstate Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97110 06/26/2012-07/10/2012 6    $183.42          Allstate Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97124 06/26/2012-07/10/2012 6     $76.68          Allstate Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97010 07/11/2012-08/02/2012 8    $146.00          Allstate Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97110 07/11/2012-08/02/2012 8    $244.56          Allstate Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97124 07/11/2012-08/02/2012 8    $102.24          Allstate Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97010 08/06/2012-09/12/2012 11 $200.75            Allstate Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97110 08/06/2012-09/12/2012 11 $336.27            Allstate Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97124 08/06/2012-09/12/2012 11 $140.58            Allstate Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97799 08/06/2012-08/30/2012 7    $143.36          Allstate Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97010 09/19/2012-10/31/2012 12 $219.00            Allstate Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97110 09/19/2012-10/31/2012 12 $366.84            Allstate Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97124 09/19/2012-10/31/2012 12 $153.36            Allstate Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97010       09/21/2012       1    $18.25          Allstate Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97110       09/21/2012       1    $30.57          Allstate Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97124       09/21/2012       1    $12.78          Allstate Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97010 11/07/2012-11/14/2012 3     $54.75          Allstate Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97110 11/07/2012-11/14/2012 3     $91.71          Allstate Ins. Co.
0247385354-01    J.E.       Maria Shiela Masigla PT        97124 11/07/2012-11/14/2012 3     $38.34          Allstate Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                           Billing
              Claimant                                     Code         Dates of       # of Amount
  Claim No.    Initials            Provider                 Used        Service       Units Paid               Payor
0247385354-04 R.K.          Maria Shiela Masigla PT        97001       06/07/2012       1    $72.92       Allstate Ins. Co.
0247385354-04 R.K.          Maria Shiela Masigla PT        97010 06/07/2012-06/27/2012 10 $182.50         Allstate Ins. Co.
0247385354-04 R.K.          Maria Shiela Masigla PT        97110 06/07/2012-06/27/2012 10 $287.91         Allstate Ins. Co.
0247385354-04 R.K.          Maria Shiela Masigla PT        97124 06/07/2012-06/27/2012 10 $115.02         Allstate Ins. Co.
0247385354-04 R.K.          Maria Shiela Masigla PT        97010 06/28/2012-07/10/2012 6    $109.50       Allstate Ins. Co.
0247385354-04 R.K.          Maria Shiela Masigla PT        97110 06/28/2012-07/10/2012 6    $183.42       Allstate Ins. Co.
0247385354-04 R.K.          Maria Shiela Masigla PT        97124 06/28/2012-07/10/2012 6     $76.68       Allstate Ins. Co.
0247385354-04 R.K.          Maria Shiela Masigla PT        97010 07/11/2012-08/07/2012 9    $164.25       Allstate Ins. Co.
0247385354-04 R.K.          Maria Shiela Masigla PT        97110 07/11/2012-08/07/2012 9    $275.13       Allstate Ins. Co.
0247385354-04 R.K.          Maria Shiela Masigla PT        97124 07/11/2012-08/07/2012 9    $115.02       Allstate Ins. Co.
0247385354-04 R.K.          Maria Shiela Masigla PT        97750       07/16/2012       1    $41.66       Allstate Ins. Co.
0247385354-04 R.K.          Maria Shiela Masigla PT        97010 08/08/2012-09/18/2012 12 $219.00         Allstate Ins. Co.
0247385354-04 R.K.          Maria Shiela Masigla PT        97110 08/08/2012-09/18/2012 12 $366.84         Allstate Ins. Co.
0247385354-04 R.K.          Maria Shiela Masigla PT        97124 08/08/2012-09/18/2012 12 $153.36         Allstate Ins. Co.
0247385354-04 R.K.          Maria Shiela Masigla PT        97010 09/26/2012-10/12/2012 3      $1.55       Allstate Ins. Co.
0247385354-04 R.K.          Maria Shiela Masigla PT        97110 09/26/2012-10/12/2012 3     $30.57       Allstate Ins. Co.
0247385354-04 R.K.          Maria Shiela Masigla PT        97124 09/26/2012-10/12/2012 3     $12.78       Allstate Ins. Co.
0247385354-05    R.I.       Maria Shiela Masigla PT        97001       06/07/2012       1    $72.92       Allstate Ins. Co.
0247385354-05    R.I.       Maria Shiela Masigla PT        97010 06/07/2012-07/05/2012 11 $200.75         Allstate Ins. Co.
0247385354-05    R.I.       Maria Shiela Masigla PT        97110 06/07/2012-07/05/2012 11 $318.48         Allstate Ins. Co.
0247385354-05    R.I.       Maria Shiela Masigla PT        97124 06/07/2012-07/05/2012 11 $127.80         Allstate Ins. Co.
0247385354-05    R.I.       Maria Shiela Masigla PT        97010 07/23/2012-08/06/2012 6    $109.50       Allstate Ins. Co.
0247385354-05    R.I.       Maria Shiela Masigla PT        97110 07/23/2012-08/06/2012 6    $183.42       Allstate Ins. Co.
0247385354-05    R.I.       Maria Shiela Masigla PT        97124 07/23/2012-08/06/2012 6     $76.68       Allstate Ins. Co.
0247385354-05    R.I.       Maria Shiela Masigla PT        97010 08/08/2012-09/12/2012 7    $127.75       Allstate Ins. Co.
0247385354-05    R.I.       Maria Shiela Masigla PT        97110 08/08/2012-09/12/2012 7    $213.99       Allstate Ins. Co.
0247385354-05    R.I.       Maria Shiela Masigla PT        97124 08/08/2012-09/12/2012 7     $89.46       Allstate Ins. Co.
0247385354-05    R.I.       Maria Shiela Masigla PT        97010 09/21/2012-10/01/2012 3     $54.75       Allstate Ins. Co.
0247385354-05    R.I.       Maria Shiela Masigla PT        97110 09/21/2012-10/01/2012 3     $90.45       Allstate Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                           Billing
              Claimant                                     Code         Dates of       # of Amount
  Claim No.    Initials            Provider                 Used        Service       Units Paid                   Payor
0247385354-05    R.I.       Maria Shiela Masigla PT        97124 09/21/2012-10/01/2012 3     $39.60           Allstate Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97001       06/27/2012       1    $42.35   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97010 06/27/2012-07/16/2012 10 $182.50     Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97110 06/27/2012-07/16/2012 10 $305.70     Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97124 06/27/2012-07/16/2012 10 $127.80     Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        99358       07/02/2012       1   $143.20   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97750       07/12/2012       1    $41.66   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97010 07/17/2012-07/25/2012 5     $91.25   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97110 07/17/2012-07/25/2012 5    $152.85   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97124 07/17/2012-07/25/2012 5     $63.90   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97010 07/30/2012-08/08/2012 4     $73.00   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97110 07/30/2012-08/08/2012 4    $122.28   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97124 07/30/2012-08/08/2012 4     $51.12   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97010 08/13/2012-09/19/2012 12 $219.00     Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97110 08/13/2012-09/19/2012 12 $366.84     Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97124 08/13/2012-09/19/2012 12 $153.36     Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97010 10/02/2012-11/09/2012 9    $164.25   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97110 10/02/2012-11/09/2012 9    $275.13   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97124 10/02/2012-11/09/2012 9    $115.02   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97010 11/16/2012-11/26/2012 2     $36.50   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97110 11/16/2012-11/26/2012 2     $61.14   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97124 11/16/2012-11/26/2012 2     $25.56   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97010 12/07/2012-12/26/2012 2     $36.50   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97110 12/07/2012-12/26/2012 2     $61.14   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97124 12/07/2012-12/26/2012 2     $25.56   Allstate Fire and Cas. Ins. Co.
0249232133-03 M.M.          Maria Shiela Masigla PT        97799       12/07/2012       1    $49.50   Allstate Fire and Cas. Ins. Co.
0252361290-05 G.T.          Maria Shiela Masigla PT        97001       08/15/2012       1    $42.35   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.          Maria Shiela Masigla PT        97010 08/15/2012-09/04/2012 8    $146.00   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.          Maria Shiela Masigla PT        97110 08/15/2012-09/04/2012 8    $244.56   Allstate Prop. and Cas. Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
             Claimant                                     Code         Dates of       # of Amount
  Claim No.   Initials            Provider                 Used        Service       Units Paid                  Payor
0252361290-05 G.T.         Maria Shiela Masigla PT        97124 08/15/2012-09/04/2012 8    $102.24   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.         Maria Shiela Masigla PT        97010 09/07/2012-09/21/2012 5     $91.25   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.         Maria Shiela Masigla PT        97110 09/07/2012-09/21/2012 5    $152.85   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.         Maria Shiela Masigla PT        97124 09/07/2012-09/21/2012 5     $63.90   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.         Maria Shiela Masigla PT        97010 10/01/2012-11/15/2012 6    $109.50   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.         Maria Shiela Masigla PT        97110 10/01/2012-11/15/2012 6    $183.42   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.         Maria Shiela Masigla PT        97124 10/01/2012-11/15/2012 6     $76.68   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.         Maria Shiela Masigla PT        97010 11/20/2012-11/28/2012 4     $73.00   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.         Maria Shiela Masigla PT        97110 11/20/2012-11/28/2012 4    $122.28   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.         Maria Shiela Masigla PT        97124 11/20/2012-11/28/2012 4     $51.12   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.         Maria Shiela Masigla PT        97010 12/17/2012-12/27/2012 2     $36.50   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.         Maria Shiela Masigla PT        97110 12/17/2012-12/27/2012 2     $61.14   Allstate Prop. and Cas. Ins. Co.
0252361290-05 G.T.         Maria Shiela Masigla PT        97124 12/17/2012-12/27/2012 2     $25.56   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.         Maria Shiela Masigla PT        97799 07/19/2012-08/13/2012 10 $184.32     Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.         Maria Shiela Masigla PT        97010       08/08/2012       1    $18.25   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.         Maria Shiela Masigla PT        97110       08/08/2012       1    $30.57   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.         Maria Shiela Masigla PT        97124       08/08/2012       1    $12.78   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.         Maria Shiela Masigla PT        97010 09/14/2012-09/19/2012 4     $73.00   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.         Maria Shiela Masigla PT        97110 09/14/2012-09/19/2012 4    $122.28   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.         Maria Shiela Masigla PT        97124 09/14/2012-09/19/2012 4     $51.12   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.         Maria Shiela Masigla PT        97010 10/01/2012-10/31/2012 10 $182.50     Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.         Maria Shiela Masigla PT        97110 10/01/2012-10/31/2012 10 $293.94     Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.         Maria Shiela Masigla PT        97124 10/01/2012-10/31/2012 10    $54.78   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.         Maria Shiela Masigla PT        97010 11/05/2012-11/14/2012 3     $54.75   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.         Maria Shiela Masigla PT        97110 11/05/2012-11/14/2012 3     $91.71   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.         Maria Shiela Masigla PT        97124 11/05/2012-11/14/2012 3     $38.34   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.         Maria Shiela Masigla PT        97010 11/16/2012-11/29/2012 5     $91.25   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.         Maria Shiela Masigla PT        97110 11/16/2012-11/29/2012 5    $152.85   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.         Maria Shiela Masigla PT        97124 11/16/2012-11/29/2012 5     $63.90   Allstate Prop. and Cas. Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
             Claimant                                     Code         Dates of       # of Amount
  Claim No.   Initials            Provider                 Used        Service       Units Paid                   Payor
0253727044-01 G.M.         Maria Shiela Masigla PT        97010       12/04/2012       1    $18.25   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.         Maria Shiela Masigla PT        97110       12/04/2012       1    $30.57   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.         Maria Shiela Masigla PT        97124       12/04/2012       1    $12.78   Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.         Maria Shiela Masigla PT        97010 12/06/2012-01/09/2013 10 $182.50     Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.         Maria Shiela Masigla PT        97110 12/06/2012-01/09/2013 10 $305.70     Allstate Prop. and Cas. Ins. Co.
0253727044-01 G.M.         Maria Shiela Masigla PT        97124 12/06/2012-01/09/2013 10 $127.80     Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.         Maria Shiela Masigla PT        97001       07/03/2012       1    $72.92   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.         Maria Shiela Masigla PT        97010 07/03/2012-08/16/2012 13 $229.55     Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.         Maria Shiela Masigla PT        97110 07/03/2012-08/16/2012 13 $274.44     Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.         Maria Shiela Masigla PT        97799 07/03/2012-08/16/2012 13 $266.24     Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.         Maria Shiela Masigla PT        97010 08/20/2012-09/20/2012 6     $91.05   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.         Maria Shiela Masigla PT        97110 08/20/2012-09/20/2012 6     $91.71   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.         Maria Shiela Masigla PT        97124 08/20/2012-09/20/2012 6     $38.34   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.         Maria Shiela Masigla PT        97799 08/20/2012-08/31/2012 3    $148.50   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.         Maria Shiela Masigla PT        97010 10/03/2012-11/13/2012 12 $145.20     Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.         Maria Shiela Masigla PT        97799 10/03/2012-11/13/2012 11 $544.50     Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.         Maria Shiela Masigla PT        97010       11/08/2012       1    $12.10   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.         Maria Shiela Masigla PT        97010 11/12/2012-11/26/2012 5     $54.75   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.         Maria Shiela Masigla PT        97110 11/12/2012-11/26/2012 5     $91.71   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.         Maria Shiela Masigla PT        97124 11/12/2012-11/26/2012 5     $38.34   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.         Maria Shiela Masigla PT        97010       12/03/2012       1    $18.25   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.         Maria Shiela Masigla PT        97110       12/03/2012       1    $30.57   Allstate Prop. and Cas. Ins. Co.
0253727044-04 D.M.         Maria Shiela Masigla PT        97124       12/03/2012       1    $12.78   Allstate Prop. and Cas. Ins. Co.
0257961391-07 M.P.         Maria Shiela Masigla PT        64550 08/27/2012-09/18/2012 10 $733.00             Allstate Ins. Co.
0257961391-07 M.P.         Maria Shiela Masigla PT        97001       08/27/2012       1    $72.92           Allstate Ins. Co.
0257961391-07 M.P.         Maria Shiela Masigla PT        97010 08/27/2012-09/18/2012 10 $182.50             Allstate Ins. Co.
0257961391-07 M.P.         Maria Shiela Masigla PT        97110 08/27/2012-09/18/2012 10 $304.44             Allstate Ins. Co.
0257961391-07 M.P.         Maria Shiela Masigla PT        97124 08/27/2012-09/18/2012 10 $129.06             Allstate Ins. Co.
0257961391-07 M.P.         Maria Shiela Masigla PT        97799 08/27/2012-10/03/2012 8    $396.00           Allstate Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                           Billing
              Claimant                                     Code         Dates of       # of Amount
  Claim No.    Initials            Provider                 Used        Service       Units Paid               Payor
0257961391-07 M.P.          Maria Shiela Masigla PT        64550 09/20/2012-10/03/2012 6    $439.80       Allstate Ins. Co.
0257961391-07 M.P.          Maria Shiela Masigla PT        97010 09/20/2012-10/03/2012 6    $109.50       Allstate Ins. Co.
0257961391-07 M.P.          Maria Shiela Masigla PT        97110 09/20/2012-10/03/2012 6    $183.42       Allstate Ins. Co.
0257961391-07 M.P.          Maria Shiela Masigla PT        97124 09/20/2012-10/03/2012 6     $76.68       Allstate Ins. Co.
0257961391-07 M.P.          Maria Shiela Masigla PT        97010 10/08/2012-11/13/2012 11 $200.75         Allstate Ins. Co.
0257961391-07 M.P.          Maria Shiela Masigla PT        97110 10/08/2012-11/13/2012 11 $211.00         Allstate Ins. Co.
0257961391-07 M.P.          Maria Shiela Masigla PT        97124 10/08/2012-11/13/2012 11    $14.04       Allstate Ins. Co.
0257961391-07 M.P.          Maria Shiela Masigla PT        97010 11/19/2012-11/29/2012 4     $73.00       Allstate Ins. Co.
0257961391-07 M.P.          Maria Shiela Masigla PT        97110 11/19/2012-11/29/2012 4     $84.40       Allstate Ins. Co.
0257961391-07 M.P.          Maria Shiela Masigla PT        97010 12/04/2012-12/05/2012 2     $36.50       Allstate Ins. Co.
0257961391-07 M.P.          Maria Shiela Masigla PT        97110 12/04/2012-12/05/2012 2     $42.20       Allstate Ins. Co.
0257961391-07 M.P.          Maria Shiela Masigla PT        97010 12/11/2012-01/11/2013 4     $73.00       Allstate Ins. Co.
0257961391-07 M.P.          Maria Shiela Masigla PT        97110 12/11/2012-01/11/2013 4    $122.28       Allstate Ins. Co.
0257961391-07 M.P.          Maria Shiela Masigla PT        97124 12/11/2012-01/11/2013 4     $51.12       Allstate Ins. Co.
0257961391-07 M.P.          Maria Shiela Masigla PT        97010       01/29/2013       1    $18.25       Allstate Ins. Co.
0257961391-07 M.P.          Maria Shiela Masigla PT        97110       01/29/2013       1    $23.18       Allstate Ins. Co.
0257961391-07 M.P.          Maria Shiela Masigla PT        97124       01/29/2013       1    $20.17       Allstate Ins. Co.
0257961391-07 M.P.          Maria Shiela Masigla PT        97010       02/05/2013       1    $18.25       Allstate Ins. Co.
0257961391-07 M.P.          Maria Shiela Masigla PT        97110       02/05/2013       1    $23.18       Allstate Ins. Co.
0257961391-07 M.P.          Maria Shiela Masigla PT        97124       02/05/2013       1    $20.17       Allstate Ins. Co.
0257961391-13    J.J.       Maria Shiela Masigla PT        64550 08/27/2012-09/14/2012 9    $659.70       Allstate Ins. Co.
0257961391-13    J.J.       Maria Shiela Masigla PT        97001       08/27/2012       1    $72.92       Allstate Ins. Co.
0257961391-13    J.J.       Maria Shiela Masigla PT        97010 08/27/2012-09/17/2012 10 $182.50         Allstate Ins. Co.
0257961391-13    J.J.       Maria Shiela Masigla PT        97110 08/27/2012-09/17/2012 10 $304.44         Allstate Ins. Co.
0257961391-13    J.J.       Maria Shiela Masigla PT        97124 08/27/2012-09/17/2012 10 $129.06         Allstate Ins. Co.
0257961391-13    J.J.       Maria Shiela Masigla PT        97799 08/27/2012-10/01/2012 5    $247.50       Allstate Ins. Co.
0257961391-13    J.J.       Maria Shiela Masigla PT        64550 09/17/2012-10/01/2012 7    $513.10       Allstate Ins. Co.
0257961391-13    J.J.       Maria Shiela Masigla PT        97010 09/18/2012-10/01/2012 6    $109.50       Allstate Ins. Co.
0257961391-13    J.J.       Maria Shiela Masigla PT        97110 09/18/2012-10/01/2012 6    $183.42       Allstate Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                           Billing
              Claimant                                     Code         Dates of       # of Amount
  Claim No.    Initials            Provider                 Used        Service       Units Paid                  Payor
0257961391-13    J.J.       Maria Shiela Masigla PT        97124 09/18/2012-10/01/2012 6     $76.68          Allstate Ins. Co.
0257961391-13    J.J.       Maria Shiela Masigla PT        97010 10/04/2012-10/16/2012 6    $109.50          Allstate Ins. Co.
0257961391-13    J.J.       Maria Shiela Masigla PT        97110 10/04/2012-10/16/2012 6    $183.42          Allstate Ins. Co.
0257961391-13    J.J.       Maria Shiela Masigla PT        97124 10/04/2012-10/16/2012 6     $76.68          Allstate Ins. Co.
0259040152-03    R.J.       Maria Shiela Masigla PT        97001       09/20/2012       1    $72.92   Allstate Fire and Cas. Ins. Co.
0259040152-03    R.J.       Maria Shiela Masigla PT        97010 09/20/2012-10/23/2012 10 $182.50     Allstate Fire and Cas. Ins. Co.
0259040152-03    R.J.       Maria Shiela Masigla PT        97110 09/20/2012-10/23/2012 10 $287.91     Allstate Fire and Cas. Ins. Co.
0259040152-03    R.J.       Maria Shiela Masigla PT        97124 09/20/2012-10/23/2012 10 $115.02     Allstate Fire and Cas. Ins. Co.
0259040152-03    R.J.       Maria Shiela Masigla PT        64550 10/24/2012-11/02/2012 3    $219.90   Allstate Fire and Cas. Ins. Co.
0259040152-03    R.J.       Maria Shiela Masigla PT        97010 10/24/2012-11/02/2012 3     $54.75   Allstate Fire and Cas. Ins. Co.
0259040152-03    R.J.       Maria Shiela Masigla PT        97110 10/24/2012-11/02/2012 3     $91.71   Allstate Fire and Cas. Ins. Co.
0259040152-03    R.J.       Maria Shiela Masigla PT        97124 10/24/2012-11/02/2012 3     $38.34   Allstate Fire and Cas. Ins. Co.
0259040152-03    R.J.       Maria Shiela Masigla PT        64550 11/05/2012-11/30/2012 8    $586.40   Allstate Fire and Cas. Ins. Co.
0259040152-03    R.J.       Maria Shiela Masigla PT        97010 11/05/2012-11/30/2012 8    $146.00   Allstate Fire and Cas. Ins. Co.
0259040152-03    R.J.       Maria Shiela Masigla PT        97110 11/05/2012-11/30/2012 8    $244.56   Allstate Fire and Cas. Ins. Co.
0259040152-03    R.J.       Maria Shiela Masigla PT        97124 11/05/2012-11/30/2012 8    $102.24   Allstate Fire and Cas. Ins. Co.
0259040152-03    R.J.       Maria Shiela Masigla PT        64550 12/03/2012-12/04/2012 2    $146.60   Allstate Fire and Cas. Ins. Co.
0259040152-03    R.J.       Maria Shiela Masigla PT        97010 12/03/2012-12/04/2012 2     $36.50   Allstate Fire and Cas. Ins. Co.
0259040152-03    R.J.       Maria Shiela Masigla PT        97110 12/03/2012-12/04/2012 2     $61.14   Allstate Fire and Cas. Ins. Co.
0259040152-03    R.J.       Maria Shiela Masigla PT        97124 12/03/2012-12/04/2012 2     $25.56   Allstate Fire and Cas. Ins. Co.
0259040152-03    R.J.       Maria Shiela Masigla PT        97010 12/05/2012-12/12/2012 3     $54.75   Allstate Fire and Cas. Ins. Co.
0259040152-03    R.J.       Maria Shiela Masigla PT        97110 12/05/2012-12/12/2012 3     $91.71   Allstate Fire and Cas. Ins. Co.
0259040152-03    R.J.       Maria Shiela Masigla PT        97124 12/05/2012-12/12/2012 3     $42.12   Allstate Fire and Cas. Ins. Co.
0259681756-03 T.P.          Maria Shiela Masigla PT        97001       09/24/2012       1    $72.92          Allstate Ins. Co.
0259681756-03 T.P.          Maria Shiela Masigla PT        97010 09/24/2012-10/15/2012 9    $164.25          Allstate Ins. Co.
0259681756-03 T.P.          Maria Shiela Masigla PT        97110 09/24/2012-10/15/2012 9    $257.34          Allstate Ins. Co.
0259681756-03 T.P.          Maria Shiela Masigla PT        97124 09/24/2012-10/15/2012 9    $102.24          Allstate Ins. Co.
0259681756-03 T.P.          Maria Shiela Masigla PT        97010 10/17/2012-11/06/2012 7    $127.75          Allstate Ins. Co.
0259681756-03 T.P.          Maria Shiela Masigla PT        97110 10/17/2012-11/06/2012 7    $213.99          Allstate Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
             Claimant                                     Code         Dates of       # of Amount
  Claim No.   Initials            Provider                 Used        Service       Units Paid               Payor
0259681756-03 T.P.         Maria Shiela Masigla PT        97124 10/17/2012-11/06/2012 7     $89.46       Allstate Ins. Co.
0259681756-03 T.P.         Maria Shiela Masigla PT        97010 11/23/2012-11/30/2012 4     $73.00       Allstate Ins. Co.
0259681756-03 T.P.         Maria Shiela Masigla PT        97110 11/23/2012-11/30/2012 4    $122.28       Allstate Ins. Co.
0259681756-03 T.P.         Maria Shiela Masigla PT        97124 11/23/2012-11/30/2012 4     $51.12       Allstate Ins. Co.
0259681756-03 T.P.         Maria Shiela Masigla PT        97010       12/03/2012       1    $18.25       Allstate Ins. Co.
0259681756-03 T.P.         Maria Shiela Masigla PT        97110       12/03/2012       1    $30.57       Allstate Ins. Co.
0259681756-03 T.P.         Maria Shiela Masigla PT        97124       12/03/2012       1    $12.78       Allstate Ins. Co.
0259681756-03 T.P.         Maria Shiela Masigla PT        97010 12/10/2012-01/09/2013 9    $145.31       Allstate Ins. Co.
0259681756-03 T.P.         Maria Shiela Masigla PT        97110 12/10/2012-01/09/2013 9    $275.13       Allstate Ins. Co.
0259681756-03 T.P.         Maria Shiela Masigla PT        97124 12/10/2012-01/09/2013 9     $89.46       Allstate Ins. Co.
0259681756-03 T.P.         Maria Shiela Masigla PT        97010 01/17/2013-01/25/2013 4     $16.17       Allstate Ins. Co.
0259681756-03 T.P.         Maria Shiela Masigla PT        97110 01/17/2013-01/25/2013 4     $71.69       Allstate Ins. Co.
0259681756-03 T.P.         Maria Shiela Masigla PT        97124 01/17/2013-01/25/2013 4     $60.51       Allstate Ins. Co.
0259681756-03 T.P.         Maria Shiela Masigla PT        64550 02/07/2013-02/15/2013 2    $146.60       Allstate Ins. Co.
0259681756-03 T.P.         Maria Shiela Masigla PT        97010 02/07/2013-02/15/2013 2     $36.50       Allstate Ins. Co.
0259681756-03 T.P.         Maria Shiela Masigla PT        97110 02/07/2013-02/15/2013 2     $46.36       Allstate Ins. Co.
0259681756-03 T.P.         Maria Shiela Masigla PT        97124 02/07/2013-02/15/2013 2     $40.34       Allstate Ins. Co.
0259681756-03 T.P.         Maria Shiela Masigla PT        64550 03/29/2013-04/09/2013 3    $219.90       Allstate Ins. Co.
0259681756-03 T.P.         Maria Shiela Masigla PT        97010 03/29/2013-04/09/2013 3     $54.75       Allstate Ins. Co.
0259681756-03 T.P.         Maria Shiela Masigla PT        97110 03/29/2013-04/09/2013 3     $69.54       Allstate Ins. Co.
0259681756-03 T.P.         Maria Shiela Masigla PT        97124 03/29/2013-04/09/2013 3     $60.51       Allstate Ins. Co.
0259681756-03 T.P.         Maria Shiela Masigla PT        97799 03/29/2013-04/09/2013 3    $148.50       Allstate Ins. Co.
0259686599-02 D.R.         Maria Shiela Masigla PT        97001       09/19/2012       1    $42.35       Allstate Ins. Co.
0259686599-02 D.R.         Maria Shiela Masigla PT        97010 09/19/2012-09/24/2012 3     $54.75       Allstate Ins. Co.
0259686599-02 D.R.         Maria Shiela Masigla PT        97110 09/19/2012-09/24/2012 3     $91.71       Allstate Ins. Co.
0259686599-02 D.R.         Maria Shiela Masigla PT        97124 09/19/2012-09/24/2012 3     $38.34       Allstate Ins. Co.
0259686599-03 V.C.         Maria Shiela Masigla PT        97001       09/19/2012       1    $72.92       Allstate Ins. Co.
0259686599-03 V.C.         Maria Shiela Masigla PT        97799 09/25/2012-10/10/2012 6    $297.00       Allstate Ins. Co.
0259686599-03 V.C.         Maria Shiela Masigla PT        97010 10/16/2012-10/31/2012 6     $52.68       Allstate Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
             Claimant                                     Code         Dates of       # of Amount
  Claim No.   Initials            Provider                 Used        Service       Units Paid                  Payor
0259686599-03 V.C.         Maria Shiela Masigla PT        97110 10/16/2012-10/31/2012 6    $183.42          Allstate Ins. Co.
0259686599-03 V.C.         Maria Shiela Masigla PT        97010 10/31/2012-11/28/2012 9     $70.24          Allstate Ins. Co.
0259686599-03 V.C.         Maria Shiela Masigla PT        97110 10/31/2012-11/28/2012 9    $244.56          Allstate Ins. Co.
0259686599-03 V.C.         Maria Shiela Masigla PT        97010 12/06/2012-01/07/2013 7     $43.90          Allstate Ins. Co.
0259686599-03 V.C.         Maria Shiela Masigla PT        97110 12/06/2012-01/07/2013 7    $152.85          Allstate Ins. Co.
0259686599-03 V.C.         Maria Shiela Masigla PT        64550 01/11/2013-01/24/2013 4    $293.20          Allstate Ins. Co.
0259686599-03 V.C.         Maria Shiela Masigla PT        97799       01/24/2013       1    $49.50          Allstate Ins. Co.
0259686599-07 L.C.         Maria Shiela Masigla PT        97001       09/21/2012       1    $42.35          Allstate Ins. Co.
0259686599-07 L.C.         Maria Shiela Masigla PT        97010 09/21/2012-10/15/2012 10 $182.50            Allstate Ins. Co.
0259686599-07 L.C.         Maria Shiela Masigla PT        97110 09/21/2012-10/15/2012 10 $305.70            Allstate Ins. Co.
0259686599-07 L.C.         Maria Shiela Masigla PT        97124 09/21/2012-10/15/2012 10 $127.80            Allstate Ins. Co.
0259686599-07 L.C.         Maria Shiela Masigla PT        97010 10/16/2012-10/31/2012 3     $26.34          Allstate Ins. Co.
0259686599-07 L.C.         Maria Shiela Masigla PT        97110 10/16/2012-10/31/2012 3     $91.71          Allstate Ins. Co.
0259686599-07 L.C.         Maria Shiela Masigla PT        97010 11/02/2012-11/28/2012 7     $61.46          Allstate Ins. Co.
0259686599-07 L.C.         Maria Shiela Masigla PT        97110 11/02/2012-11/28/2012 7    $213.99          Allstate Ins. Co.
0259686599-07 L.C.         Maria Shiela Masigla PT        97010 12/04/2012-01/07/2013 12 $105.36            Allstate Ins. Co.
0259686599-07 L.C.         Maria Shiela Masigla PT        97110 12/04/2012-01/07/2013 12 $366.84            Allstate Ins. Co.
0259686599-07 L.C.         Maria Shiela Masigla PT        64550 01/11/2013-01/24/2013 4    $293.20          Allstate Ins. Co.
0259686599-07 L.C.         Maria Shiela Masigla PT        97010 01/11/2013-01/24/2013 4     $73.00          Allstate Ins. Co.
0259686599-07 L.C.         Maria Shiela Masigla PT        97110 01/11/2013-01/24/2013 4    $122.28          Allstate Ins. Co.
0259686599-07 L.C.         Maria Shiela Masigla PT        64550 01/24/2013-01/31/2013 2    $146.60          Allstate Ins. Co.
0259686599-07 L.C.         Maria Shiela Masigla PT        97799       01/24/2013       1    $49.50          Allstate Ins. Co.
0259686599-07 L.C.         Maria Shiela Masigla PT        97799 01/24/2013-01/31/2013 2     $78.70          Allstate Ins. Co.
0259686599-07 L.C.         Maria Shiela Masigla PT        64550 02/07/2013-02/12/2013 2    $146.60          Allstate Ins. Co.
0259686599-07 L.C.         Maria Shiela Masigla PT        97124 02/07/2013-02/12/2013 2     $12.10          Allstate Ins. Co.
0259686599-07 L.C.         Maria Shiela Masigla PT        97799 02/07/2013-02/12/2013 2     $49.50          Allstate Ins. Co.
0261148811-03 E.C.         Maria Shiela Masigla PT        97001       09/20/2012       1    $42.35   Allstate Fire and Cas. Ins. Co.
0261148811-03 E.C.         Maria Shiela Masigla PT        97010 09/20/2012-10/15/2012 11 $200.75     Allstate Fire and Cas. Ins. Co.
0261148811-03 E.C.         Maria Shiela Masigla PT        97110 09/20/2012-10/15/2012 11 $335.01     Allstate Fire and Cas. Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                           Billing
              Claimant                                     Code         Dates of       # of Amount
  Claim No.    Initials            Provider                 Used        Service       Units Paid                  Payor
0261148811-03 E.C.          Maria Shiela Masigla PT        97124 09/20/2012-10/15/2012 11 $141.84     Allstate Fire and Cas. Ins. Co.
0261148811-03 E.C.          Maria Shiela Masigla PT        97010 10/16/2012-11/01/2012 7    $127.75   Allstate Fire and Cas. Ins. Co.
0261148811-03 E.C.          Maria Shiela Masigla PT        97110 10/16/2012-11/01/2012 7    $213.99   Allstate Fire and Cas. Ins. Co.
0261148811-03 E.C.          Maria Shiela Masigla PT        97124 10/16/2012-11/01/2012 7     $89.46   Allstate Fire and Cas. Ins. Co.
0261148811-03 E.C.          Maria Shiela Masigla PT        97010 11/07/2012-11/28/2012 6    $109.50   Allstate Fire and Cas. Ins. Co.
0261148811-03 E.C.          Maria Shiela Masigla PT        97110 11/07/2012-11/28/2012 6    $156.62   Allstate Fire and Cas. Ins. Co.
0261148811-03 E.C.          Maria Shiela Masigla PT        97124 11/07/2012-11/28/2012 6     $12.78   Allstate Fire and Cas. Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        64550 12/03/2012-01/08/2013 11 $806.30            Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        97001       12/03/2012       1    $72.92          Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        97010 12/03/2012-01/08/2013 11 $200.75            Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        97110 12/03/2012-01/08/2013 11 $312.69            Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        97124 12/03/2012-01/08/2013 11    $25.56          Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        97799 12/03/2012-12/19/2012 8    $396.00          Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        64550 01/14/2013-01/29/2013 6    $439.80          Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        97010 01/14/2013-01/29/2013 6    $109.50          Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        97110 01/14/2013-01/29/2013 6    $175.56          Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        97124 01/14/2013-01/29/2013 6     $38.34          Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        97799 01/23/2013-01/29/2013 3    $148.50          Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        64550 01/31/2013-02/04/2013 2    $146.60          Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        97010 01/31/2013-02/04/2013 2     $36.50          Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        97110 01/31/2013-02/04/2013 2     $46.36          Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        97124 01/31/2013-02/04/2013 2     $40.34          Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        97799 01/31/2013-02/04/2013 2     $99.00          Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        64550       02/19/2013       1    $73.30          Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        97010       02/19/2013       1    $18.25          Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        97110       02/19/2013       1    $23.18          Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        97124       02/19/2013       1    $20.17          Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        97799       02/19/2013       1    $49.50          Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        64550 02/21/2013-03/11/2013 9    $659.70          Allstate Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                           Billing
              Claimant                                     Code         Dates of       # of Amount
  Claim No.    Initials            Provider                 Used        Service       Units Paid               Payor
0268725595-01    J.B.       Maria Shiela Masigla PT        97010 02/21/2013-03/11/2013 9    $102.65       Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        97110 02/21/2013-03/11/2013 9    $208.62       Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        97124 02/21/2013-03/11/2013 9    $181.53       Allstate Ins. Co.
0268725595-01    J.B.       Maria Shiela Masigla PT        97799 02/21/2013-03/11/2013 9    $445.50       Allstate Ins. Co.
0268725595-04 N.A.          Maria Shiela Masigla PT        97001       12/05/2012       1    $42.35       Allstate Ins. Co.
0268725595-04 N.A.          Maria Shiela Masigla PT        97010 12/05/2012-12/26/2012 9    $164.25       Allstate Ins. Co.
0268725595-04 N.A.          Maria Shiela Masigla PT        97110 12/05/2012-12/26/2012 9    $262.03       Allstate Ins. Co.
0268725595-04 N.A.          Maria Shiela Masigla PT        97124 12/05/2012-12/26/2012 9     $51.12       Allstate Ins. Co.
0268725595-04 N.A.          Maria Shiela Masigla PT        97010 01/11/2013-01/25/2013 7    $127.75       Allstate Ins. Co.
0268725595-04 N.A.          Maria Shiela Masigla PT        97110 01/11/2013-01/25/2013 7    $213.99       Allstate Ins. Co.
0268725595-04 N.A.          Maria Shiela Masigla PT        97124 01/11/2013-01/25/2013 7     $89.46       Allstate Ins. Co.
0268725595-04 N.A.          Maria Shiela Masigla PT        97010 02/21/2013-03/11/2013 7    $127.75       Allstate Ins. Co.
0268725595-04 N.A.          Maria Shiela Masigla PT        97110 02/21/2013-03/11/2013 7    $162.26       Allstate Ins. Co.
0268725595-04 N.A.          Maria Shiela Masigla PT        97124 02/21/2013-03/11/2013 7    $141.19       Allstate Ins. Co.
0268725595-04 N.A.          Maria Shiela Masigla PT        97010 03/12/2013-04/10/2013 8    $146.00       Allstate Ins. Co.
0268725595-04 N.A.          Maria Shiela Masigla PT        97110 03/12/2013-04/10/2013 8    $185.44       Allstate Ins. Co.
0268725595-04 N.A.          Maria Shiela Masigla PT        97124 03/12/2013-04/10/2013 8    $161.36       Allstate Ins. Co.
0268725595-06 D.P.          Maria Shiela Masigla PT        97010       02/20/2013       1    $18.25       Allstate Ins. Co.
0268725595-06 D.P.          Maria Shiela Masigla PT        97110       02/20/2013       1    $23.18       Allstate Ins. Co.
0268725595-06 D.P.          Maria Shiela Masigla PT        97124       02/20/2013       1    $20.17       Allstate Ins. Co.
0268725595-06 D.P.          Maria Shiela Masigla PT        97010 02/21/2013-03/07/2013 2     $18.25       Allstate Ins. Co.
0268725595-06 D.P.          Maria Shiela Masigla PT        97110 02/21/2013-03/07/2013 2     $33.81       Allstate Ins. Co.
0268725595-06 D.P.          Maria Shiela Masigla PT        97124 02/21/2013-03/07/2013 2     $40.34       Allstate Ins. Co.
0268725595-06 D.P.          Maria Shiela Masigla PT        97010 03/12/2013-03/18/2013 4     $54.75       Allstate Ins. Co.
0268725595-06 D.P.          Maria Shiela Masigla PT        97110 03/12/2013-03/18/2013 4     $69.54       Allstate Ins. Co.
0268725595-06 D.P.          Maria Shiela Masigla PT        97124 03/12/2013-03/18/2013 4     $60.51       Allstate Ins. Co.
0269624242-03 O.C.          Maria Shiela Masigla PT        97001       12/12/2012       1    $72.92       Allstate Ins. Co.
0269624242-03 O.C.          Maria Shiela Masigla PT        97010 12/12/2012-12/19/2012 3     $54.75       Allstate Ins. Co.
0269624242-03 O.C.          Maria Shiela Masigla PT        97110 12/12/2012-12/19/2012 3     $73.92       Allstate Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
             Claimant                                     Code         Dates of       # of Amount
  Claim No.   Initials            Provider                 Used        Service       Units Paid               Payor
0269624242-03 O.C.         Maria Shiela Masigla PT        97124 12/12/2012-12/19/2012 3     $25.56       Allstate Ins. Co.
0269624242-03 O.C.         Maria Shiela Masigla PT        97010 01/02/2013-01/10/2013 4     $73.00       Allstate Ins. Co.
0269624242-03 O.C.         Maria Shiela Masigla PT        97110 01/02/2013-01/10/2013 4    $122.28       Allstate Ins. Co.
0269624242-03 O.C.         Maria Shiela Masigla PT        97124 01/02/2013-01/10/2013 4     $51.12       Allstate Ins. Co.
0269624242-03 O.C.         Maria Shiela Masigla PT        97010 01/11/2013-01/24/2013 5     $91.25       Allstate Ins. Co.
0269624242-03 O.C.         Maria Shiela Masigla PT        97110 01/11/2013-01/24/2013 5    $115.90       Allstate Ins. Co.
0269624242-03 O.C.         Maria Shiela Masigla PT        97124 01/11/2013-01/24/2013 5    $100.85       Allstate Ins. Co.
0288265572-02 A.F.         Maria Shiela Masigla PT        97001       05/17/2013       1    $72.92       Allstate Ins. Co.
0288265572-02 A.F.         Maria Shiela Masigla PT        97001       05/17/2013       1    $72.92       Allstate Ins. Co.
0288265572-02 A.F.         Maria Shiela Masigla PT        97010 05/20/2013-06/03/2013 6    $109.50       Allstate Ins. Co.
0288265572-02 A.F.         Maria Shiela Masigla PT        97010 05/20/2013-06/03/2013 6    $109.50       Allstate Ins. Co.
0288265572-02 A.F.         Maria Shiela Masigla PT        97110 05/20/2013-06/03/2013 6    $139.08       Allstate Ins. Co.
0288265572-02 A.F.         Maria Shiela Masigla PT        97110 05/20/2013-06/03/2013 6    $139.08       Allstate Ins. Co.
0288265572-02 A.F.         Maria Shiela Masigla PT        97124 05/20/2013-06/03/2013 6    $121.02       Allstate Ins. Co.
0288265572-02 A.F.         Maria Shiela Masigla PT        97124 05/20/2013-06/03/2013 6    $121.02       Allstate Ins. Co.
0476244595-03 J.M.         Maria Shiela Masigla PT        97001       10/20/2017       1    $72.92       Allstate Ins. Co.
0476244595-03 J.M.         Maria Shiela Masigla PT        97010 10/23/2017-11/08/2017 8    $146.00       Allstate Ins. Co.
0476244595-03 J.M.         Maria Shiela Masigla PT        97110 10/23/2017-11/08/2017 8    $185.44       Allstate Ins. Co.
0476244595-03 J.M.         Maria Shiela Masigla PT        97124 10/23/2017-11/08/2017 8    $161.36       Allstate Ins. Co.
0476244595-03 J.M.         Maria Shiela Masigla PT        97010 11/13/2017-11/30/2017 8    $146.00       Allstate Ins. Co.
0476244595-03 J.M.         Maria Shiela Masigla PT        97110 11/13/2017-11/30/2017 8    $185.44       Allstate Ins. Co.
0476244595-03 J.M.         Maria Shiela Masigla PT        97124 11/13/2017-11/30/2017 8    $161.36       Allstate Ins. Co.
0476244595-03 J.M.         Maria Shiela Masigla PT        97010 12/04/2017-12/27/2017 11 $200.75         Allstate Ins. Co.
0476244595-03 J.M.         Maria Shiela Masigla PT        97110 12/04/2017-12/27/2017 11 $254.98         Allstate Ins. Co.
0476244595-03 J.M.         Maria Shiela Masigla PT        97124 12/04/2017-12/27/2017 11 $221.87         Allstate Ins. Co.
0476244595-03 J.M.         Maria Shiela Masigla PT        95831       12/11/2017       1   $392.40       Allstate Ins. Co.
0476244595-03 J.M.         Maria Shiela Masigla PT        95833       12/11/2017       1   $114.32       Allstate Ins. Co.
0476244595-03 J.M.         Maria Shiela Masigla PT        95851       12/11/2017       1   $228.55       Allstate Ins. Co.
0476244595-03 J.M.         Maria Shiela Masigla PT        64550 12/28/2017-01/16/2018 3    $219.87       Allstate Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                           Billing
              Claimant                                     Code         Dates of       # of Amount
  Claim No.    Initials            Provider                 Used        Service       Units Paid                  Payor
0476244595-03 J.M.          Maria Shiela Masigla PT        97010 12/28/2017-01/16/2018 3     $54.75          Allstate Ins. Co.
0476244595-03 J.M.          Maria Shiela Masigla PT        97110 12/28/2017-01/16/2018 3     $69.54          Allstate Ins. Co.
0476244595-03 J.M.          Maria Shiela Masigla PT        97124 12/28/2017-01/16/2018 3     $60.51          Allstate Ins. Co.
0476244595-03 J.M.          Maria Shiela Masigla PT        97010 01/22/2018-02/06/2018 3     $36.50          Allstate Ins. Co.
0476244595-03 J.M.          Maria Shiela Masigla PT        97110 01/22/2018-02/06/2018 3     $46.36          Allstate Ins. Co.
0476244595-03 J.M.          Maria Shiela Masigla PT        97124 01/22/2018-02/06/2018 3     $40.34          Allstate Ins. Co.
0478186786-02 M.L.          Maria Shiela Masigla PT        97010       01/22/2018       1    $18.25   Allstate Fire and Cas. Ins. Co.
0478186786-02 M.L.          Maria Shiela Masigla PT        97110       01/22/2018       1    $23.18   Allstate Fire and Cas. Ins. Co.
0478186786-02 M.L.          Maria Shiela Masigla PT        97124       01/22/2018       1    $20.17   Allstate Fire and Cas. Ins. Co.
0478186786-08    S.P.       Maria Shiela Masigla PT        97002       01/22/2018       1    $30.80   Allstate Fire and Cas. Ins. Co.
0478186786-08    S.P.       Maria Shiela Masigla PT        97010 01/22/2018-01/25/2018 2     $36.50   Allstate Fire and Cas. Ins. Co.
0478186786-08    S.P.       Maria Shiela Masigla PT        97110 01/22/2018-01/25/2018 2     $46.36   Allstate Fire and Cas. Ins. Co.
0478186786-08    S.P.       Maria Shiela Masigla PT        97124 01/22/2018-01/25/2018 2     $16.98   Allstate Fire and Cas. Ins. Co.
0478186786-08    S.P.       Maria Shiela Masigla PT        97012       01/25/2018       1    $15.66   Allstate Fire and Cas. Ins. Co.
0482079902-02 S.B.          Maria Shiela Masigla PT        97001       11/14/2017       1    $72.92   Allstate Fire and Cas. Ins. Co.
0482079902-02 S.B.          Maria Shiela Masigla PT        97010       11/17/2017       1    $18.25   Allstate Fire and Cas. Ins. Co.
0482079902-02 S.B.          Maria Shiela Masigla PT        97110       11/17/2017       1    $23.18   Allstate Fire and Cas. Ins. Co.
0482079902-02 S.B.          Maria Shiela Masigla PT        97124       11/17/2017       1    $20.17   Allstate Fire and Cas. Ins. Co.
0492252812-02 S.B.          Maria Shiela Masigla PT        97001       02/23/2018       1    $72.92          Allstate Ins. Co.
0492252812-02 S.B.          Maria Shiela Masigla PT        64550 02/26/2018-03/05/2018 4    $293.16          Allstate Ins. Co.
0492252812-02 S.B.          Maria Shiela Masigla PT        95831       02/26/2018       1   $114.58          Allstate Ins. Co.
0492252812-02 S.B.          Maria Shiela Masigla PT        95833       02/26/2018       1   $104.18          Allstate Ins. Co.
0492252812-02 S.B.          Maria Shiela Masigla PT        95851       02/26/2018       1   $137.13          Allstate Ins. Co.
0492252812-02 S.B.          Maria Shiela Masigla PT        97010 02/26/2018-03/05/2018 4     $36.50          Allstate Ins. Co.
0492252812-02 S.B.          Maria Shiela Masigla PT        97110 02/26/2018-03/05/2018 4     $46.36          Allstate Ins. Co.
0492252812-02 S.B.          Maria Shiela Masigla PT        97124 02/26/2018-03/05/2018 4     $40.34          Allstate Ins. Co.
0492252812-02 S.B.          Maria Shiela Masigla PT        97799 02/26/2018-03/05/2018 4     $99.00          Allstate Ins. Co.
0492252812-02 S.B.          Maria Shiela Masigla PT        97010 03/07/2018-04/04/2018 13 $237.25            Allstate Ins. Co.
0492252812-02 S.B.          Maria Shiela Masigla PT        97110 03/07/2018-04/04/2018 13 $301.34            Allstate Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
             Claimant                                     Code         Dates of       # of Amount
  Claim No.   Initials            Provider                 Used        Service       Units Paid                  Payor
0492252812-02 S.B.         Maria Shiela Masigla PT        97124 03/07/2018-04/04/2018 13 $262.21            Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        97164       03/23/2018       1    $40.17          Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        95831       03/26/2018       1   $114.58          Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        95833       03/26/2018       1   $114.32          Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        95851       03/26/2018       1   $137.13          Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        97010 04/06/2018-04/25/2018 8    $146.00          Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        97110 04/06/2018-04/25/2018 8    $185.44          Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        97124 04/06/2018-04/25/2018 8    $161.68          Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        97010 04/27/2018-05/16/2018 8    $146.00          Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        97110 04/27/2018-05/16/2018 8    $185.44          Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        97124 04/27/2018-05/16/2018 8    $161.36          Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        97799 04/27/2018-05/16/2018 8    $396.00          Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        95831       04/30/2018       1   $114.58          Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        95833       04/30/2018       1   $114.32          Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        95851       04/30/2018       1   $137.13          Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        97012       04/30/2018       1    $15.66          Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        97002       05/07/2018       1    $30.80          Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        97010 05/21/2018-06/13/2018 8    $146.00          Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        97110 05/21/2018-06/13/2018 8    $185.44          Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        97124 05/21/2018-06/13/2018 8    $161.36          Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        97799 05/21/2018-06/13/2018 8    $396.00          Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        97010 06/18/2018-07/11/2018 7     $91.25          Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        97110 06/18/2018-07/11/2018 7    $115.90          Allstate Ins. Co.
0492252812-02 S.B.         Maria Shiela Masigla PT        97124 06/18/2018-07/11/2018 7    $100.85          Allstate Ins. Co.
0496020934-01 E.D.         Maria Shiela Masigla PT        97001       03/26/2018       1    $72.92   Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.         Maria Shiela Masigla PT        97010 03/27/2018-03/28/2018 2     $36.50   Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.         Maria Shiela Masigla PT        97110 03/27/2018-03/28/2018 2     $46.36   Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.         Maria Shiela Masigla PT        97124 03/27/2018-03/28/2018 2     $40.34   Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.         Maria Shiela Masigla PT        97010 04/06/2018-04/25/2018 9    $164.25   Allstate Fire and Cas. Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                           Billing
              Claimant                                     Code         Dates of       # of Amount
  Claim No.    Initials            Provider                 Used        Service       Units Paid                  Payor
0496020934-01 E.D.          Maria Shiela Masigla PT        97110 04/06/2018-04/25/2018 9    $112.95   Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.          Maria Shiela Masigla PT        95831       04/24/2018       1   $114.58   Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.          Maria Shiela Masigla PT        95851       04/24/2018       1   $124.98   Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.          Maria Shiela Masigla PT        97010 04/26/2018-05/16/2018 10 $164.25     Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.          Maria Shiela Masigla PT        97110 04/26/2018-05/16/2018 10 $134.21     Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.          Maria Shiela Masigla PT        97124 04/26/2018-05/16/2018 10    $40.34   Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.          Maria Shiela Masigla PT        97010 05/22/2018-06/11/2018 7    $109.50   Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.          Maria Shiela Masigla PT        97110 05/22/2018-06/11/2018 7    $139.08   Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.          Maria Shiela Masigla PT        97124 05/22/2018-06/11/2018 7    $121.02   Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.          Maria Shiela Masigla PT        64550       06/18/2018       1    $73.29   Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.          Maria Shiela Masigla PT        97010       06/18/2018       1    $18.25   Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.          Maria Shiela Masigla PT        97110       06/18/2018       1    $23.18   Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.          Maria Shiela Masigla PT        97124       06/18/2018       1    $20.17   Allstate Fire and Cas. Ins. Co.
0496020934-01 E.D.          Maria Shiela Masigla PT        97799       06/18/2018       1    $49.50   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.       Maria Shiela Masigla PT        97001       03/26/2018       1    $72.92   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.       Maria Shiela Masigla PT        97010 03/27/2018-03/28/2018 2     $36.50   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.       Maria Shiela Masigla PT        97110 03/27/2018-03/28/2018 2     $25.33   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.       Maria Shiela Masigla PT        97010 04/09/2018-04/26/2018 9    $164.25   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.       Maria Shiela Masigla PT        97110 04/09/2018-04/26/2018 9    $123.58   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.       Maria Shiela Masigla PT        97124 04/09/2018-04/26/2018 9     $20.17   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.       Maria Shiela Masigla PT        95831       04/30/2018       1   $114.58   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.       Maria Shiela Masigla PT        95851       04/30/2018       1   $166.64   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.       Maria Shiela Masigla PT        97010 04/30/2018-05/16/2018 9    $164.25   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.       Maria Shiela Masigla PT        97110 04/30/2018-05/16/2018 9    $208.62   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.       Maria Shiela Masigla PT        97124 04/30/2018-05/16/2018 9    $181.53   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.       Maria Shiela Masigla PT        97010 05/22/2018-06/12/2018 9    $127.75   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.       Maria Shiela Masigla PT        97110 05/22/2018-06/12/2018 9    $162.26   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.       Maria Shiela Masigla PT        97124 05/22/2018-06/12/2018 9    $141.19   Allstate Fire and Cas. Ins. Co.
0496020934-04    J.N.       Maria Shiela Masigla PT        95831       06/25/2018       1   $114.58   Allstate Fire and Cas. Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials           Provider                 Used        Service       Units Paid                  Payor
0496020934-04    J.N.      Maria Shiela Masigla PT        95851       06/25/2018       1   $121.23   Allstate Fire and Cas. Ins. Co.
0505336941-02 P.G.         Maria Shiela Masigla PT        97001       06/08/2018       1    $72.92   Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.         Maria Shiela Masigla PT        64550 06/11/2018-07/10/2018 14 $1,026.06   Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.         Maria Shiela Masigla PT        95831       06/11/2018       1   $125.74   Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.         Maria Shiela Masigla PT        95851       06/11/2018       1   $182.84   Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.         Maria Shiela Masigla PT        97010 06/11/2018-07/10/2018 14 $255.50     Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.         Maria Shiela Masigla PT        97110 06/11/2018-07/10/2018 14 $324.52     Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.         Maria Shiela Masigla PT        97124 06/11/2018-07/10/2018 14 $282.38     Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.         Maria Shiela Masigla PT        64550 07/12/2018-08/01/2018 9    $659.61   Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.         Maria Shiela Masigla PT        97010 07/12/2018-08/01/2018 9    $164.25   Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.         Maria Shiela Masigla PT        97110 07/12/2018-08/01/2018 9    $208.62   Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.         Maria Shiela Masigla PT        97124 07/12/2018-08/01/2018 9    $181.53   Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.         Maria Shiela Masigla PT        97001       06/08/2018       1    $72.92   Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.         Maria Shiela Masigla PT        64550 06/11/2018-07/11/2018 8    $586.32   Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.         Maria Shiela Masigla PT        95831       06/11/2018       1   $125.74   Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.         Maria Shiela Masigla PT        95851       06/11/2018       1   $182.84   Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.         Maria Shiela Masigla PT        97010 06/11/2018-07/11/2018 8    $146.00   Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.         Maria Shiela Masigla PT        97110 06/11/2018-07/11/2018 8    $185.44   Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.         Maria Shiela Masigla PT        97124 06/11/2018-07/11/2018 8    $161.36   Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.         Maria Shiela Masigla PT        64550 07/12/2018-07/18/2018 4    $293.16   Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.         Maria Shiela Masigla PT        97010 07/12/2018-07/18/2018 4     $73.00   Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.         Maria Shiela Masigla PT        97110 07/12/2018-07/18/2018 4     $92.72   Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.         Maria Shiela Masigla PT        97124 07/12/2018-07/18/2018 4     $80.68   Allstate Prop. and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        64550       09/16/2016       1    $73.29   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        97010       09/16/2016       1    $18.25   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        97110       09/16/2016       1    $23.18   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        97124       09/16/2016       1    $20.17   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        64550 10/19/2016-11/02/2016 6    $439.74   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        97002       10/19/2016       1    $30.80   Allstate Fire and Cas. Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials          Provider                  Used        Service       Units Paid                  Payor
0411304496-01    I.L.      MSB Physical Therapy PC        97010 10/19/2016-11/02/2016 6    $109.50   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        97110 10/19/2016-11/02/2016 6    $139.08   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        97124 10/19/2016-11/02/2016 6    $113.32   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        64550 12/01/2016-12/02/2016 2    $146.58   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        97010 12/01/2016-12/02/2016 2     $36.50   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        97110 12/01/2016-12/02/2016 2     $46.36   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        97124 12/01/2016-12/02/2016 2     $40.34   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        64550 01/11/2017-01/13/2017 2    $146.58   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        97010 01/11/2017-01/13/2017 2     $36.50   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        97110 01/11/2017-01/13/2017 2     $46.36   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        97124 01/11/2017-01/13/2017 2     $40.42   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        64550       01/12/2017       1    $73.29   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        97010       01/12/2017       1    $18.25   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        97110       01/12/2017       1    $23.18   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        97124       01/12/2017       1    $20.17   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        64550 01/26/2017-01/27/2017 2    $146.58   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        97010 01/26/2017-01/27/2017 2     $36.50   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        97110 01/26/2017-01/27/2017 2     $46.36   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.      MSB Physical Therapy PC        97124 01/26/2017-01/27/2017 2     $40.42   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.      MSB Physical Therapy PC        64550       09/16/2016       1    $73.29   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.      MSB Physical Therapy PC        97010       09/16/2016       1    $18.25   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.      MSB Physical Therapy PC        97110       09/16/2016       1    $23.18   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.      MSB Physical Therapy PC        97124       09/16/2016       1    $20.17   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.      MSB Physical Therapy PC        97001       10/07/2016       1    $72.92   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.      MSB Physical Therapy PC        97010 10/10/2016-11/07/2016 10 $182.50     Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.      MSB Physical Therapy PC        97110 10/10/2016-11/07/2016 10 $231.80     Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.      MSB Physical Therapy PC        97124 10/10/2016-11/07/2016 10 $201.70     Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.      MSB Physical Therapy PC        64550 11/09/2016-12/05/2016 4    $293.16   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.      MSB Physical Therapy PC        97010 11/09/2016-12/05/2016 4     $73.00   Allstate Fire and Cas. Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials          Provider                  Used        Service       Units Paid                  Payor
0431774421-01    J.C.      MSB Physical Therapy PC        97110 11/09/2016-12/05/2016 4     $92.72   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.      MSB Physical Therapy PC        97124 11/09/2016-12/05/2016 4     $80.68   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.      MSB Physical Therapy PC        64550 12/06/2016-12/29/2016 10 $732.90     Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.      MSB Physical Therapy PC        97010 12/06/2016-12/29/2016 10 $182.50     Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.      MSB Physical Therapy PC        97110 12/06/2016-12/29/2016 10 $231.80     Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.      MSB Physical Therapy PC        97124 12/06/2016-12/29/2016 10 $201.70     Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.      MSB Physical Therapy PC        64550 01/03/2017-01/04/2017 2    $146.58   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.      MSB Physical Therapy PC        97010 01/03/2017-01/04/2017 2     $36.50   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.      MSB Physical Therapy PC        97110 01/03/2017-01/04/2017 2     $46.36   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.      MSB Physical Therapy PC        97124 01/03/2017-01/04/2017 2     $40.42   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.      MSB Physical Therapy PC        97010 02/15/2017-02/16/2017 2     $36.50   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.      MSB Physical Therapy PC        97110 02/15/2017-02/16/2017 2     $46.36   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.      MSB Physical Therapy PC        97124 02/15/2017-02/16/2017 2     $40.34   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.      MSB Physical Therapy PC        97010 02/21/2017-03/09/2017 7    $127.75   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.      MSB Physical Therapy PC        97110 02/21/2017-03/09/2017 7    $162.26   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.      MSB Physical Therapy PC        97124 02/21/2017-03/09/2017 7    $125.53   Allstate Fire and Cas. Ins. Co.
0431774421-01    J.C.      MSB Physical Therapy PC        97012       02/23/2017       1    $15.66   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.         MSB Physical Therapy PC        97001       10/07/2016       1    $72.92   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.         MSB Physical Therapy PC        64550 10/10/2016-11/18/2016 12 $879.48     Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.         MSB Physical Therapy PC        97010 10/10/2016-11/02/2016 12 $219.00     Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.         MSB Physical Therapy PC        97110 10/10/2016-11/02/2016 12 $278.16     Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.         MSB Physical Therapy PC        97124 10/10/2016-11/02/2016 12 $234.34     Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.         MSB Physical Therapy PC        97002       11/01/2016       1    $30.80   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.         MSB Physical Therapy PC        97010 11/08/2016-12/06/2016 14 $255.50     Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.         MSB Physical Therapy PC        97110 11/08/2016-12/06/2016 14 $324.52     Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.         MSB Physical Therapy PC        97124 11/08/2016-12/06/2016 14 $282.38     Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.         MSB Physical Therapy PC        64550 12/07/2016-12/28/2016 9    $659.61   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.         MSB Physical Therapy PC        97010 12/07/2016-12/28/2016 9    $164.25   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.         MSB Physical Therapy PC        97110 12/07/2016-12/28/2016 9    $208.62   Allstate Fire and Cas. Ins. Co.


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                                             Allstate Ins. Co., et al. v. Rybak, et al.
                                Representative Sample of Fraudulent Claims Paid to Defendants
                                                         Billing
             Claimant                                    Code         Dates of       # of Amount
  Claim No.   Initials          Provider                  Used        Service       Units Paid                  Payor
0431774421-02 P.C.        MSB Physical Therapy PC        97124 12/07/2016-12/28/2016 9    $181.53   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.        MSB Physical Therapy PC        97002       12/14/2016       1    $23.10   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.        MSB Physical Therapy PC        64550 01/03/2017-01/04/2017 2    $146.58   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.        MSB Physical Therapy PC        97010 01/03/2017-01/04/2017 2     $36.50   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.        MSB Physical Therapy PC        97110 01/03/2017-01/04/2017 2     $46.36   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.        MSB Physical Therapy PC        97124 01/03/2017-01/04/2017 2     $40.42   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.        MSB Physical Therapy PC        64550 01/09/2017-01/11/2017 2    $146.58   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.        MSB Physical Therapy PC        97010 01/09/2017-01/11/2017 2     $36.50   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.        MSB Physical Therapy PC        97110 01/09/2017-01/11/2017 2     $46.36   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.        MSB Physical Therapy PC        97124 01/09/2017-01/11/2017 2     $40.42   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.        MSB Physical Therapy PC        64550       01/10/2017       1    $73.29   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.        MSB Physical Therapy PC        97010       01/10/2017       1    $18.25   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.        MSB Physical Therapy PC        97110       01/10/2017       1    $23.18   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.        MSB Physical Therapy PC        97124       01/10/2017       1    $20.21   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.        MSB Physical Therapy PC        97010       01/17/2017       1    $18.25   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.        MSB Physical Therapy PC        97110       01/17/2017       1    $23.18   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.        MSB Physical Therapy PC        97124       01/17/2017       1    $20.17   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.        MSB Physical Therapy PC        97010 01/19/2017-01/25/2017 4     $18.25   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.        MSB Physical Therapy PC        97110 01/19/2017-01/25/2017 4     $23.18   Allstate Fire and Cas. Ins. Co.
0431774421-02 P.C.        MSB Physical Therapy PC        97124 01/19/2017-01/25/2017 4     $20.17   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.        MSB Physical Therapy PC        97010 11/10/2016-12/06/2016 12 $219.00     Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.        MSB Physical Therapy PC        97110 11/10/2016-12/06/2016 12 $278.16     Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.        MSB Physical Therapy PC        97124 11/10/2016-12/06/2016 12 $242.04     Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.        MSB Physical Therapy PC        97002       11/18/2016       1    $25.35   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.        MSB Physical Therapy PC        64550 12/07/2016-12/30/2016 10 $732.90     Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.        MSB Physical Therapy PC        97010 12/07/2016-12/30/2016 10 $182.50     Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.        MSB Physical Therapy PC        97110 12/07/2016-12/30/2016 10 $231.80     Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.        MSB Physical Therapy PC        97124 12/07/2016-12/30/2016 10 $201.70     Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.        MSB Physical Therapy PC        64550 01/04/2017-01/05/2017 2     $73.29   Allstate Fire and Cas. Ins. Co.


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                                             Allstate Ins. Co., et al. v. Rybak, et al.
                                Representative Sample of Fraudulent Claims Paid to Defendants
                                                         Billing
             Claimant                                    Code         Dates of       # of Amount
  Claim No.   Initials          Provider                  Used        Service       Units Paid                  Payor
0431774421-03 D.S.        MSB Physical Therapy PC        97010 01/04/2017-01/05/2017 2     $36.50   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.        MSB Physical Therapy PC        97110 01/04/2017-01/05/2017 2     $46.36   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.        MSB Physical Therapy PC        97124 01/04/2017-01/05/2017 2     $40.42   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.        MSB Physical Therapy PC        97010 01/10/2017-01/12/2017 2     $36.50   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.        MSB Physical Therapy PC        97110 01/10/2017-01/12/2017 2     $46.36   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.        MSB Physical Therapy PC        97124 01/10/2017-01/12/2017 2     $40.42   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.        MSB Physical Therapy PC        64550       01/16/2017       1    $73.29   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.        MSB Physical Therapy PC        97010       01/16/2017       1    $18.25   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.        MSB Physical Therapy PC        97110       01/16/2017       1    $23.18   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.        MSB Physical Therapy PC        97124       01/16/2017       1    $20.21   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.        MSB Physical Therapy PC        64550       01/17/2017       1    $73.29   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.        MSB Physical Therapy PC        97010       01/17/2017       1    $18.25   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.        MSB Physical Therapy PC        97110       01/17/2017       1    $23.18   Allstate Fire and Cas. Ins. Co.
0431774421-03 D.S.        MSB Physical Therapy PC        97124       01/17/2017       1    $20.21   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        97001       10/07/2016       1    $72.92   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        64550 10/10/2016-11/08/2016 14 $1,026.06   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        97010 10/10/2016-11/08/2016 14 $255.50     Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        97110 10/10/2016-11/08/2016 14 $324.52     Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        97124 10/10/2016-11/08/2016 14 $274.68     Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        97002       11/01/2016       1    $30.80   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        97010 11/09/2016-12/06/2016 12 $219.00     Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        97110 11/09/2016-12/06/2016 12 $278.16     Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        97124 11/09/2016-12/06/2016 12 $242.04     Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        97010 12/07/2016-12/29/2016 10 $182.50     Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        97110 12/07/2016-12/29/2016 10 $231.80     Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        97124 12/07/2016-12/29/2016 10 $194.00     Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        97002       12/14/2016       1    $30.80   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        64550 01/03/2017-01/04/2017 2    $146.58   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        97010 01/03/2017-01/04/2017 2     $36.50   Allstate Fire and Cas. Ins. Co.


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                                                          #: 492

                                             Allstate Ins. Co., et al. v. Rybak, et al.
                                Representative Sample of Fraudulent Claims Paid to Defendants
                                                         Billing
             Claimant                                    Code         Dates of       # of Amount
  Claim No.   Initials          Provider                  Used        Service       Units Paid                  Payor
0431774421-04 M.J.        MSB Physical Therapy PC        97110 01/03/2017-01/04/2017 2     $46.36   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        97124 01/03/2017-01/04/2017 2     $40.42   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        64550 01/09/2017-01/11/2017 2    $146.58   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        97010 01/09/2017-01/11/2017 2     $36.50   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        97110 01/09/2017-01/11/2017 2     $46.36   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        97124 01/09/2017-01/11/2017 2     $40.42   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        64550       01/10/2017       1    $73.29   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        97010       01/10/2017       1    $18.25   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        97110       01/10/2017       1    $23.18   Allstate Fire and Cas. Ins. Co.
0431774421-04 M.J.        MSB Physical Therapy PC        97124       01/10/2017       1    $20.21   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97001       10/07/2016       1    $72.92   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        64550 10/10/2016-11/08/2016 14 $1,026.06   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97010 10/10/2016-11/08/2016 14 $255.50     Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97110 10/10/2016-11/08/2016 14 $324.52     Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97124 10/10/2016-11/08/2016 14 $274.68     Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97002       11/01/2016       1    $30.80   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        64550 11/09/2016-12/07/2016 13 $952.77     Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97010 11/09/2016-12/07/2016 13 $237.25     Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97110 11/09/2016-12/07/2016 13 $301.34     Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97124 11/09/2016-12/07/2016 13 $262.21     Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        64550 12/12/2016-12/28/2016 8    $586.32   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97010 12/12/2016-12/28/2016 8    $146.00   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97110 12/12/2016-12/28/2016 8    $185.44   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97124 12/12/2016-12/28/2016 8    $161.36   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        64550 01/03/2017-01/04/2017 2    $146.58   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97010 01/03/2017-01/04/2017 2     $36.50   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97110 01/03/2017-01/04/2017 2     $46.36   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97124 01/03/2017-01/04/2017 2     $40.42   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        64550 01/09/2017-01/11/2017 2    $146.58   Allstate Fire and Cas. Ins. Co.


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                                                          #: 493

                                             Allstate Ins. Co., et al. v. Rybak, et al.
                                Representative Sample of Fraudulent Claims Paid to Defendants
                                                         Billing
             Claimant                                    Code         Dates of       # of Amount
  Claim No.   Initials          Provider                  Used        Service       Units Paid                  Payor
0431774421-05 M.T.        MSB Physical Therapy PC        97010 01/09/2017-01/11/2017 2     $36.50   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97110 01/09/2017-01/11/2017 2     $46.36   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97124 01/09/2017-01/11/2017 2     $40.42   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        64550       01/10/2017       1    $73.29   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97010       01/10/2017       1    $18.25   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97110       01/10/2017       1    $23.18   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97124       01/10/2017       1    $20.21   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97010 01/23/2017-01/25/2017 3     $54.75   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97110 01/23/2017-01/25/2017 3     $69.54   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97124 01/23/2017-01/25/2017 3     $60.51   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97010 01/31/2017-02/21/2017 9    $164.25   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97110 01/31/2017-02/21/2017 9    $208.62   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97124 01/31/2017-02/21/2017 9    $181.53   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97010 02/27/2017-03/27/2017 7    $127.75   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97110 02/27/2017-03/27/2017 7    $162.26   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97124 02/27/2017-03/27/2017 7    $141.19   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97010       04/03/2017       1    $18.25   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97110       04/03/2017       1    $23.18   Allstate Fire and Cas. Ins. Co.
0431774421-05 M.T.        MSB Physical Therapy PC        97124       04/03/2017       1    $20.17   Allstate Fire and Cas. Ins. Co.
0434546750-02 S.B.        MSB Physical Therapy PC        97001       10/24/2016       1    $72.92          Allstate Ins. Co.
0434546750-02 S.B.        MSB Physical Therapy PC        97010 10/27/2016-11/07/2016 6    $109.50          Allstate Ins. Co.
0434546750-02 S.B.        MSB Physical Therapy PC        97110 10/27/2016-11/07/2016 6    $139.08          Allstate Ins. Co.
0434546750-02 S.B.        MSB Physical Therapy PC        97124 10/27/2016-11/07/2016 6    $121.02          Allstate Ins. Co.
0434546750-02 S.B.        MSB Physical Therapy PC        97799 10/27/2016-11/07/2016 6    $297.00          Allstate Ins. Co.
0434546750-02 S.B.        MSB Physical Therapy PC        97010 11/09/2016-11/10/2016 2     $36.50          Allstate Ins. Co.
0434546750-02 S.B.        MSB Physical Therapy PC        97110 11/09/2016-11/10/2016 2     $46.36          Allstate Ins. Co.
0434546750-02 S.B.        MSB Physical Therapy PC        97124 11/09/2016-11/10/2016 2     $40.34          Allstate Ins. Co.
0434546750-02 S.B.        MSB Physical Therapy PC        97799 11/09/2016-11/10/2016 2     $99.00          Allstate Ins. Co.
0434546750-02 S.B.        MSB Physical Therapy PC        97010 12/06/2016-12/08/2016 3     $54.75          Allstate Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials          Provider                  Used        Service       Units Paid               Payor
0434546750-02 S.B.         MSB Physical Therapy PC        97110 12/06/2016-12/08/2016 3     $69.54       Allstate Ins. Co.
0434546750-02 S.B.         MSB Physical Therapy PC        97124 12/06/2016-12/08/2016 3     $52.81       Allstate Ins. Co.
0434546750-02 S.B.         MSB Physical Therapy PC        97799 12/06/2016-12/08/2016 3    $148.50       Allstate Ins. Co.
0434546750-02 S.B.         MSB Physical Therapy PC        97002       12/07/2016       1    $30.80       Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97001       10/24/2016       1    $72.92       Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97010 10/27/2016-11/07/2016 5     $91.25       Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97110 10/27/2016-11/07/2016 5    $115.90       Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97124 10/27/2016-11/07/2016 5    $100.85       Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97799 10/27/2016-11/07/2016 5    $247.50       Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        64550 11/09/2016-12/06/2016 11 $806.19         Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97010 11/09/2016-12/06/2016 11 $200.75         Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97110 11/09/2016-12/06/2016 11 $254.98         Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97124 11/09/2016-12/06/2016 11 $214.17         Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97002       11/17/2016       1    $30.80       Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97010 12/08/2016-12/29/2016 6    $109.50       Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97110 12/08/2016-12/29/2016 6    $139.08       Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97124 12/08/2016-12/29/2016 6    $105.62       Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97799 12/08/2016-12/29/2016 6    $297.00       Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97010 01/05/2017-01/06/2017 2     $36.50       Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97110 01/05/2017-01/06/2017 2     $46.36       Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97124 01/05/2017-01/06/2017 2     $40.34       Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97799 01/05/2017-01/06/2017 2     $99.00       Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97010       01/13/2017       1    $18.25       Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97110       01/13/2017       1    $23.18       Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97124       01/13/2017       1    $20.21       Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97799       01/13/2017       1    $49.50       Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97010 01/19/2017-01/27/2017 3     $54.75       Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97110 01/19/2017-01/27/2017 3     $69.54       Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97124 01/19/2017-01/27/2017 3     $60.63       Allstate Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials          Provider                  Used        Service       Units Paid                   Payor
0434546750-11    E.I.      MSB Physical Therapy PC        97799 01/19/2017-01/27/2017 3    $148.50           Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97010       02/06/2017       1    $18.25           Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97110       02/06/2017       1    $23.18           Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97124       02/06/2017       1    $20.17           Allstate Ins. Co.
0434546750-11    E.I.      MSB Physical Therapy PC        97799       02/06/2017       1    $49.50           Allstate Ins. Co.
0436499486-02 S.M.         MSB Physical Therapy PC        97001       11/18/2016       1    $72.92   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.         MSB Physical Therapy PC        97010 11/23/2016-12/02/2016 5     $91.25   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.         MSB Physical Therapy PC        97110 11/23/2016-12/02/2016 5    $115.90   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.         MSB Physical Therapy PC        97124 11/23/2016-12/02/2016 5    $100.85   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.         MSB Physical Therapy PC        97010 12/07/2016-12/15/2016 3     $54.75   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.         MSB Physical Therapy PC        97110 12/07/2016-12/15/2016 3     $69.54   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.         MSB Physical Therapy PC        97124 12/07/2016-12/15/2016 3     $60.51   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.         MSB Physical Therapy PC        97010 01/03/2017-01/04/2017 2     $36.50   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.         MSB Physical Therapy PC        97110 01/03/2017-01/04/2017 2     $46.36   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.         MSB Physical Therapy PC        97124 01/03/2017-01/04/2017 2     $40.34   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.         MSB Physical Therapy PC        97010       01/11/2017       1    $18.25   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.         MSB Physical Therapy PC        97110       01/11/2017       1    $23.18   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.         MSB Physical Therapy PC        97124       01/11/2017       1    $20.17   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.         MSB Physical Therapy PC        97010 01/17/2017-01/20/2017 3     $54.75   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.         MSB Physical Therapy PC        97110 01/17/2017-01/20/2017 3     $69.54   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.         MSB Physical Therapy PC        97124 01/17/2017-01/20/2017 3     $60.51   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.         MSB Physical Therapy PC        97010 01/24/2017-01/27/2017 2     $36.50   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.         MSB Physical Therapy PC        97110 01/24/2017-01/27/2017 2     $46.36   Allstate Fire and Cas. Ins. Co.
0436499486-02 S.M.         MSB Physical Therapy PC        97124 01/24/2017-01/27/2017 2     $40.34   Allstate Fire and Cas. Ins. Co.
0446478414-02 B.M.         MSB Physical Therapy PC        97162       02/15/2017       1    $72.92   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.         MSB Physical Therapy PC        97010 02/16/2017-03/22/2017 8    $146.00   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.         MSB Physical Therapy PC        97110 02/16/2017-03/22/2017 8    $185.44   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.         MSB Physical Therapy PC        97124 02/16/2017-03/22/2017 8    $161.36   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.         MSB Physical Therapy PC        97164       03/15/2017       1    $30.80   Allstate Prop. and Cas. Ins. Co.


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                                             Allstate Ins. Co., et al. v. Rybak, et al.
                                Representative Sample of Fraudulent Claims Paid to Defendants
                                                         Billing
             Claimant                                    Code         Dates of       # of Amount
  Claim No.   Initials          Provider                  Used        Service       Units Paid                  Payor
0446478414-02 B.M.        MSB Physical Therapy PC        97010       03/27/2017       1    $18.25   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.        MSB Physical Therapy PC        97012       03/27/2017       1    $15.66   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.        MSB Physical Therapy PC        97110       03/27/2017       1    $23.18   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.        MSB Physical Therapy PC        97124       03/27/2017       1     $4.51   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.        MSB Physical Therapy PC        97010 03/28/2017-04/17/2017 9    $164.25   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.        MSB Physical Therapy PC        97110 03/28/2017-04/17/2017 9    $208.62   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.        MSB Physical Therapy PC        97124 03/28/2017-04/17/2017 9    $181.53   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.        MSB Physical Therapy PC        97164       04/10/2017       1    $30.80   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.        MSB Physical Therapy PC        97010 04/18/2017-05/08/2017 9    $164.25   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.        MSB Physical Therapy PC        97110 04/18/2017-05/08/2017 9    $208.62   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.        MSB Physical Therapy PC        97124 04/18/2017-05/08/2017 9    $181.53   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.        MSB Physical Therapy PC        97164       05/08/2017       1    $30.80   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.        MSB Physical Therapy PC        97010       05/17/2017       1    $18.25   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.        MSB Physical Therapy PC        97110       05/17/2017       1    $23.18   Allstate Prop. and Cas. Ins. Co.
0446478414-02 B.M.        MSB Physical Therapy PC        97124       05/17/2017       1    $20.17   Allstate Prop. and Cas. Ins. Co.
0595435132-01 K.F.        MSB Physical Therapy PC        97001       08/17/2020       1    $42.66   Allstate Fire and Cas. Ins. Co.
0595435132-01 K.F.        MSB Physical Therapy PC        64550 08/19/2020-09/17/2020 5    $366.45   Allstate Fire and Cas. Ins. Co.
0595435132-01 K.F.        MSB Physical Therapy PC        97010 08/19/2020-09/17/2020 5     $23.04   Allstate Fire and Cas. Ins. Co.
0595435132-01 K.F.        MSB Physical Therapy PC        97110 08/19/2020-09/17/2020 5    $122.28   Allstate Fire and Cas. Ins. Co.
0595435132-01 K.F.        MSB Physical Therapy PC        97124 08/19/2020-09/17/2020 5    $101.08   Allstate Fire and Cas. Ins. Co.
0595435132-01 K.F.        MSB Physical Therapy PC        97799 08/19/2020-09/17/2020 5    $247.50   Allstate Fire and Cas. Ins. Co.
0597828532-02 A.P.        MSB Physical Therapy PC        97001       08/18/2020       1    $72.92       Allstate Indemnity Co.
0597828532-02 A.P.        MSB Physical Therapy PC        97110 08/20/2020-09/17/2020 14    $84.63       Allstate Indemnity Co.
0597828532-02 A.P.        MSB Physical Therapy PC        97124 08/20/2020-09/17/2020 13    $25.27       Allstate Indemnity Co.
0597828532-02 A.P.        MSB Physical Therapy PC        97799 08/20/2020-09/17/2020 14 $349.16         Allstate Indemnity Co.
0597828532-02 A.P.        MSB Physical Therapy PC        97010 09/23/2020-10/09/2020 6     $33.54       Allstate Indemnity Co.
0597828532-02 A.P.        MSB Physical Therapy PC        97110 09/23/2020-10/09/2020 6    $198.10       Allstate Indemnity Co.
0597828532-02 A.P.        MSB Physical Therapy PC        97124 09/23/2020-10/09/2020 6    $151.12       Allstate Indemnity Co.
0597828532-02 A.P.        MSB Physical Therapy PC        97010 10/13/2020-10/16/2020 3     $15.75       Allstate Indemnity Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code         Dates of       # of Amount
  Claim No.    Initials          Provider                  Used        Service       Units Paid                  Payor
0597828532-02 A.P.         MSB Physical Therapy PC        97110 10/13/2020-10/16/2020 3    $113.73      Allstate Indemnity Co.
0597828532-02 A.P.         MSB Physical Therapy PC        97124 10/13/2020-10/16/2020 3     $75.06      Allstate Indemnity Co.
0597828532-02 A.P.         MSB Physical Therapy PC        97010       10/21/2020       1     $5.25      Allstate Indemnity Co.
0597828532-02 A.P.         MSB Physical Therapy PC        97110       10/21/2020       1    $37.91      Allstate Indemnity Co.
0597828532-02 A.P.         MSB Physical Therapy PC        97124       10/21/2020       1    $25.02      Allstate Indemnity Co.
0344451562-01 M.J.          PFJ Medical Care PC           20553       08/02/2016       1   $119.10          Allstate Ins. Co.
0344451562-01 M.J.          PFJ Medical Care PC           20553       09/27/2016       1   $119.10          Allstate Ins. Co.
0405231143-01 C.A.          PFJ Medical Care PC           20553       09/16/2016       1   $119.10          Allstate Ins. Co.
0405231143-01 C.A.          PFJ Medical Care PC           99244       09/16/2016       1   $236.94          Allstate Ins. Co.
0405235540-01 K.W.          PFJ Medical Care PC           20610       05/12/2016       1    $57.26          Allstate Ins. Co.
0406090035-01 W.W.          PFJ Medical Care PC           20553       06/29/2016       1   $119.10          Allstate Ins. Co.
0406090035-01 W.W.          PFJ Medical Care PC           20999       06/29/2016       2 $1,400.00          Allstate Ins. Co.
0406090035-01 W.W.          PFJ Medical Care PC           99215       06/29/2016       1   $148.69          Allstate Ins. Co.
0409288560-01 K.G.          PFJ Medical Care PC           99244       05/19/2016       1   $236.94          Allstate Ins. Co.
0411304496-01    I.L.       PFJ Medical Care PC           95831       05/05/2016       1    $43.60   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.       PFJ Medical Care PC           95833       05/05/2016       1   $114.32   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.       PFJ Medical Care PC           95851       05/05/2016       1    $45.71   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.       PFJ Medical Care PC           97750       05/12/2016       1   $249.96   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.       PFJ Medical Care PC           64550 05/16/2016-06/02/2016 5    $366.45   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.       PFJ Medical Care PC           95903       05/16/2016       1   $665.88   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.       PFJ Medical Care PC           95904       05/16/2016       1   $638.82   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.       PFJ Medical Care PC           95926       05/16/2016       1   $302.12   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.       PFJ Medical Care PC           97010 05/16/2016-06/02/2016 5     $91.25   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.       PFJ Medical Care PC           97110 05/16/2016-06/02/2016 5    $115.90   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.       PFJ Medical Care PC           97124 05/16/2016-06/02/2016 4     $80.84   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.       PFJ Medical Care PC           97799 05/16/2016-06/02/2016 5    $247.50   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.       PFJ Medical Care PC           99215       05/24/2016       1   $148.69   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.       PFJ Medical Care PC           95903       06/01/2016       1   $665.88   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.       PFJ Medical Care PC           95904       06/01/2016       1   $425.88   Allstate Fire and Cas. Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                         Billing
              Claimant                                   Code         Dates of       # of Amount
  Claim No.    Initials           Provider                Used        Service       Units Paid                  Payor
0411304496-01    I.L.        PFJ Medical Care PC         95926       06/01/2016       1   $302.12   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         95934       06/01/2016       1   $119.99   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         64550 06/03/2016-06/09/2016 3    $219.87   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         97010 06/03/2016-06/09/2016 3     $54.75   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         97110 06/03/2016-06/09/2016 3     $69.54   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         97124 06/03/2016-06/09/2016 3     $60.63   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         95861       06/08/2016       1   $241.50   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         95927       06/08/2016       1   $302.12   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         64550 06/10/2016-06/22/2016 5    $366.50   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         95831       06/10/2016       1    $86.01   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         95833       06/10/2016       1   $114.32   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         95851       06/10/2016       1   $137.13   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         97010 06/10/2016-06/22/2016 5     $91.25   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         97110 06/10/2016-06/22/2016 5    $115.90   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         97124 06/10/2016-06/22/2016 5    $101.05   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         97799 06/10/2016-06/22/2016 5    $247.50   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         97750       06/15/2016       1   $249.96   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         64550 07/01/2016-07/14/2016 5     $73.29   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         97010 07/01/2016-07/14/2016 5     $91.25   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         97110 07/01/2016-07/14/2016 5    $115.90   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         97124 07/01/2016-07/14/2016 5    $101.05   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         97010 07/21/2016-08/05/2016 6    $109.50   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         97110 07/21/2016-08/05/2016 6    $139.08   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         97124 07/21/2016-08/05/2016 6    $121.26   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         99215       08/05/2016       1   $148.69   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         97010 09/07/2016-09/08/2016 2     $36.50   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         97110 09/07/2016-09/08/2016 2     $46.36   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         97124 09/07/2016-09/08/2016 2     $37.93   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        PFJ Medical Care PC         97002       09/08/2016       1    $33.80   Allstate Fire and Cas. Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                         Billing
              Claimant                                   Code         Dates of       # of Amount
  Claim No.    Initials           Provider                Used        Service       Units Paid                  Payor
0411304496-02    J.L.        PFJ Medical Care PC         64550 05/24/2016-06/02/2016 4    $293.16   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         97010 05/24/2016-06/02/2016 4     $73.00   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         97110 05/24/2016-06/02/2016 4     $92.72   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         97124 05/24/2016-06/02/2016 4     $80.84   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         97799 05/24/2016-06/02/2016 4    $198.00   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         64550 06/03/2016-06/09/2016 3    $219.90   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         97010 06/03/2016-06/09/2016 3     $54.75   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         97110 06/03/2016-06/09/2016 3     $69.54   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         97124 06/03/2016-06/09/2016 3     $60.63   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         97799 06/03/2016-06/09/2016 3    $148.50   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         95861       06/08/2016       1   $241.50   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         95927       06/08/2016       1   $302.12   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         64550 06/10/2016-06/22/2016 4    $293.16   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         97010 06/10/2016-06/22/2016 4     $73.00   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         97110 06/10/2016-06/22/2016 4     $92.72   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         97124 06/10/2016-06/22/2016 4     $80.84   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         97010 07/01/2016-07/14/2016 4     $73.00   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         97110 07/01/2016-07/14/2016 4     $92.72   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         97124 07/01/2016-07/14/2016 4     $80.84   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         99215       07/01/2016       1   $148.69   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         97010 07/21/2016-08/05/2016 6    $109.50   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         97110 07/21/2016-08/05/2016 6    $139.08   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         97124 07/21/2016-08/05/2016 6    $121.26   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         97010 09/07/2016-09/08/2016 2     $36.50   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         97110 09/07/2016-09/08/2016 2     $46.36   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         97124 09/07/2016-09/08/2016 2     $37.93   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        PFJ Medical Care PC         97002       09/08/2016       1    $33.80   Allstate Fire and Cas. Ins. Co.
0418830014-04 S.C.           PFJ Medical Care PC         20553       08/01/2016       1   $119.10   Allstate Fire and Cas. Ins. Co.
0418830014-04 S.C.           PFJ Medical Care PC         99244       08/01/2016       1   $236.94   Allstate Fire and Cas. Ins. Co.


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
                                  Representative Sample of Fraudulent Claims Paid to Defendants
                                                          Billing
              Claimant                                    Code          Dates of       # of Amount
  Claim No.    Initials           Provider                 Used         Service        Units Paid                 Payor
0420467748-01 D.E.           PFJ Medical Care PC          20553        09/06/2016       1    $119.10         Allstate Ins. Co.
0420467748-01 D.E.           PFJ Medical Care PC          20999        09/06/2016       2    $600.00         Allstate Ins. Co.
0420467748-01 D.E.           PFJ Medical Care PC          99244        09/06/2016       1    $236.94         Allstate Ins. Co.
0420467748-02 L.H.           PFJ Medical Care PC          20553        08/30/2016       1    $119.10         Allstate Ins. Co.
0420467748-02 L.H.           PFJ Medical Care PC          99244        08/30/2016       1    $236.94         Allstate Ins. Co.
0427219795-03    J.B.        PFJ Medical Care PC          99244        09/13/2016       1    $236.94 Allstate Fire and Cas. Ins. Co.
0427219795-03    J.B.        PFJ Medical Care PC          99215        09/20/2016       1    $148.69 Allstate Fire and Cas. Ins. Co.
0378261168-01 T.P.          RA Medical Services PC        99244        12/07/2015       1    $236.94 Allstate Prop. and Cas. Ins. Co.
0384873782-04 N.R.          RA Medical Services PC        99244        12/07/2015       1    $236.94 Allstate Fire and Cas. Ins. Co.
0387559552-01 D.D.          RA Medical Services PC        99244        12/03/2015       1    $236.94 Allstate Fire and Cas. Ins. Co.
0388249740-02 M.B.          RA Medical Services PC        99244        11/10/2015       1    $92.98  Allstate Fire and Cas. Ins. Co.
0389038910-02 K.M.          RA Medical Services PC        99244        12/07/2015       1    $236.94 Allstate Fire and Cas. Ins. Co.
0390737807-02    S.P.       RA Medical Services PC        99244        01/25/2016       1    $236.94 Allstate Fire and Cas. Ins. Co.
0390737807-02    S.P.       RA Medical Services PC        99215        02/01/2016       1    $148.69 Allstate Fire and Cas. Ins. Co.
0391113973-01    A.J.       RA Medical Services PC        99244        01/27/2016       1    $236.94 Allstate Fire and Cas. Ins. Co.
0391445368-01 B.C.          RA Medical Services PC        99244        12/23/2015       1    $236.94 Allstate Fire and Cas. Ins. Co.
0391445368-01 B.C.          RA Medical Services PC        99215        01/20/2016       1    $148.69 Allstate Fire and Cas. Ins. Co.
0391537313-01    J.C.       RA Medical Services PC        99244        12/02/2015       1    $236.94 Allstate Fire and Cas. Ins. Co.
0391537313-01    J.C.       RA Medical Services PC        99215        12/09/2015       1    $64.07  Allstate Fire and Cas. Ins. Co.
0391537313-01    J.C.       RA Medical Services PC        99215        12/16/2015       1    $148.69 Allstate Fire and Cas. Ins. Co.
0391537313-01    J.C.       RA Medical Services PC        99215        01/21/2016       1    $148.69 Allstate Fire and Cas. Ins. Co.
0391537313-01    J.C.       RA Medical Services PC        20999        05/31/2016       2 $3,250.00 Allstate Fire and Cas. Ins. Co.
0391537313-01    J.C.       RA Medical Services PC        76942        05/31/2016       1    $262.91 Allstate Fire and Cas. Ins. Co.
0391537313-01    J.C.       RA Medical Services PC        99215        05/31/2016       1    $148.69 Allstate Fire and Cas. Ins. Co.
0391594314-02 M.M.          RA Medical Services PC        99244        01/11/2016       1    $236.94         Allstate Ins. Co.
0391594314-02 M.M.          RA Medical Services PC        99215        02/01/2016       1    $148.69         Allstate Ins. Co.
0391594314-02 M.M.          RA Medical Services PC        99244        02/08/2016       1    $236.94         Allstate Ins. Co.
0391674355-01 A.F.          RA Medical Services PC        99244        12/01/2015       1    $236.94         Allstate Ins. Co.
0391674355-01 A.F.          RA Medical Services PC        99215        12/21/2015       1    $148.69         Allstate Ins. Co.


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                                              Allstate Ins. Co., et al. v. Rybak, et al.
                                 Representative Sample of Fraudulent Claims Paid to Defendants
                                                         Billing
             Claimant                                    Code          Dates of       # of Amount
  Claim No.   Initials          Provider                  Used         Service        Units Paid                  Payor
0391698619-01 D.L.         RA Medical Services PC        99244        12/15/2015       1    $236.94   Allstate Fire and Cas. Ins. Co.
0393819305-01 A.C.         RA Medical Services PC        20610        12/23/2015       1    $57.26    Allstate Fire and Cas. Ins. Co.
0393819305-01 A.C.         RA Medical Services PC        76942        12/23/2015       1    $262.91   Allstate Fire and Cas. Ins. Co.
0393819305-01 A.C.         RA Medical Services PC        99244        12/23/2015       1    $236.94   Allstate Fire and Cas. Ins. Co.
0393819305-01 A.C.         RA Medical Services PC        20553        01/13/2016       1    $119.10   Allstate Fire and Cas. Ins. Co.
0393819305-01 A.C.         RA Medical Services PC        76942        01/13/2016       1    $262.91   Allstate Fire and Cas. Ins. Co.
0393819305-01 A.C.         RA Medical Services PC        99215        01/13/2016       1    $148.69   Allstate Fire and Cas. Ins. Co.
0393819305-01 A.C.         RA Medical Services PC        20610        02/25/2016       1    $57.26    Allstate Fire and Cas. Ins. Co.
0393819305-01 A.C.         RA Medical Services PC        99215        02/25/2016       1    $148.69   Allstate Fire and Cas. Ins. Co.
0393819305-02 L.C.         RA Medical Services PC        99244        01/13/2016       1    $236.94   Allstate Fire and Cas. Ins. Co.
0393819305-02 L.C.         RA Medical Services PC        20605        01/20/2016       1    $57.26    Allstate Fire and Cas. Ins. Co.
0393819305-02 L.C.         RA Medical Services PC        76942        01/20/2016       1    $262.91   Allstate Fire and Cas. Ins. Co.
0393819305-02 L.C.         RA Medical Services PC        99215        01/20/2016       1    $148.69   Allstate Fire and Cas. Ins. Co.
0394803431-02 A.D.         RA Medical Services PC        99244        02/02/2016       1    $236.94          Allstate Ins. Co.
0394803431-02 A.D.         RA Medical Services PC        99215        02/09/2016       1    $148.69          Allstate Ins. Co.
0397246497-01 S.M.         RA Medical Services PC        99244        12/15/2015       1    $104.08   Allstate Fire and Cas. Ins. Co.
0397246497-01 S.M.         RA Medical Services PC        99244        01/05/2016       1    $104.08   Allstate Fire and Cas. Ins. Co.
0397246497-01 S.M.         RA Medical Services PC        99215        01/19/2016       1    $64.07    Allstate Fire and Cas. Ins. Co.
0404014201-02 E.R.         RA Medical Services PC        99244        03/03/2016       1    $236.94   Allstate Fire and Cas. Ins. Co.
0404744260-02 C.A.         RA Medical Services PC        99244        03/17/2016       1    $236.94   Allstate Fire and Cas. Ins. Co.
0405235540-01 K.W.         RA Medical Services PC        99244        03/23/2016       1    $236.94          Allstate Ins. Co.
0405235540-01 K.W.         RA Medical Services PC        99215        04/06/2016       1    $148.69          Allstate Ins. Co.
0405235540-01 K.W.         RA Medical Services PC        99215        05/26/2016       1    $148.69          Allstate Ins. Co.
0405581117-01 C.K.         RA Medical Services PC        20553        03/16/2016       1    $119.10   Allstate Fire and Cas. Ins. Co.
0405581117-01 C.K.         RA Medical Services PC        20999        03/16/2016       2 $3,200.00    Allstate Fire and Cas. Ins. Co.
0405581117-01 C.K.         RA Medical Services PC        76942        03/16/2016       1    $262.91   Allstate Fire and Cas. Ins. Co.
0405581117-01 C.K.         RA Medical Services PC        99244        03/16/2016       1    $236.94   Allstate Fire and Cas. Ins. Co.
0405581117-01 C.K.         RA Medical Services PC        20553        04/13/2016       1    $119.10   Allstate Fire and Cas. Ins. Co.
0405581117-01 C.K.         RA Medical Services PC        20999        04/13/2016       2 $3,200.00    Allstate Fire and Cas. Ins. Co.


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                                                 Allstate Ins. Co., et al. v. Rybak, et al.
                                    Representative Sample of Fraudulent Claims Paid to Defendants
                                                             Billing
              Claimant                                       Code          Dates of      # of Amount
  Claim No.    Initials              Provider                 Used         Service       Units Paid                   Payor
0405581117-01 C.K.           RA Medical Services PC          76942        04/13/2016      1    $262.91   Allstate Fire and Cas. Ins. Co.
0405581117-01 C.K.           RA Medical Services PC          99215        04/13/2016      1    $148.69   Allstate Fire and Cas. Ins. Co.
0405581117-01 C.K.           RA Medical Services PC          99215        05/25/2016      1    $148.69   Allstate Fire and Cas. Ins. Co.
0407146448-02 M.J.           RA Medical Services PC          99244        03/24/2016      1    $104.08           Allstate Ins. Co.
0407146448-02 M.J.           RA Medical Services PC          99215        04/13/2016      1    $64.07            Allstate Ins. Co.
0407146448-02 M.J.           RA Medical Services PC          99215        05/10/2016      1    $92.98            Allstate Ins. Co.
0407266907-02 A.M.           RA Medical Services PC          99244        04/04/2016      1    $236.94           Allstate Ins. Co.
0409288560-01 K.G.           RA Medical Services PC          99244        06/17/2016      1    $236.94           Allstate Ins. Co.
0411304496-01    I.L.        RA Medical Services PC          99244        05/12/2016      1    $236.94   Allstate Fire and Cas. Ins. Co.
0411304496-01    I.L.        RA Medical Services PC          99215        06/09/2016      1    $148.69   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        RA Medical Services PC          99244        04/21/2016      1    $236.94   Allstate Fire and Cas. Ins. Co.
0411304496-02    J.L.        RA Medical Services PC          99215        06/01/2016      1    $148.69   Allstate Fire and Cas. Ins. Co.
0416039170-02    S.P.        RA Medical Services PC          99244        06/10/2016      1    $236.94       Allstate Indemnity Co.
0456035401-01 K.M.        Strategic Medical Initiatives PC   20999        06/13/2018      2    $445.52   Allstate Fire and Cas. Ins. Co.
0456035401-01 K.M.        Strategic Medical Initiatives PC   99215        06/13/2018      1    $148.69   Allstate Fire and Cas. Ins. Co.
0456035401-01 K.M.        Strategic Medical Initiatives PC   20999        07/25/2018      2 $1,225.00    Allstate Fire and Cas. Ins. Co.
0456035401-01 K.M.        Strategic Medical Initiatives PC   99215        07/25/2018      1    $148.69   Allstate Fire and Cas. Ins. Co.
0456035401-01 K.M.        Strategic Medical Initiatives PC   99215        11/28/2018      1    $64.07    Allstate Fire and Cas. Ins. Co.
0500741186-02 V.G.        Strategic Medical Initiatives PC   20553        07/26/2018      1    $119.10   Allstate Fire and Cas. Ins. Co.
0500741186-02 V.G.        Strategic Medical Initiatives PC   20999        07/26/2018      2    $32.87    Allstate Fire and Cas. Ins. Co.
0500741186-02 V.G.        Strategic Medical Initiatives PC   99244        07/26/2018      1    $236.94   Allstate Fire and Cas. Ins. Co.
0504358952-01    S.S.     Strategic Medical Initiatives PC   99215        07/25/2018      1    $148.69       Allstate Indemnity Co.
0504358952-01    S.S.     Strategic Medical Initiatives PC   99215        09/19/2018      1    $148.69       Allstate Indemnity Co.
0504358952-02 C.P.        Strategic Medical Initiatives PC   99215        07/25/2018      1    $148.69       Allstate Indemnity Co.
0505336941-02 P.G.        Strategic Medical Initiatives PC   99215        07/27/2018      1    $148.69   Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.        Strategic Medical Initiatives PC   97750        09/12/2018      1    $249.96   Allstate Prop. and Cas. Ins. Co.
0505336941-02 P.G.        Strategic Medical Initiatives PC   99215        10/23/2018      1    $148.69   Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.        Strategic Medical Initiatives PC   97750        09/05/2018      1    $249.96   Allstate Prop. and Cas. Ins. Co.
0505336941-05 E.K.        Strategic Medical Initiatives PC   99215        10/22/2018      1    $148.69   Allstate Prop. and Cas. Ins. Co.


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                                                 Allstate Ins. Co., et al. v. Rybak, et al.
                                    Representative Sample of Fraudulent Claims Paid to Defendants
                                                             Billing
              Claimant                                       Code          Dates of      # of Amount
  Claim No.    Initials              Provider                 Used         Service       Units Paid                 Payor
0505336941-05 E.K.        Strategic Medical Initiatives PC   97750        10/29/2018      1    $249.96 Allstate Prop. and Cas. Ins. Co.
0509792304-01    J.F.     Strategic Medical Initiatives PC   99215        11/02/2018      1    $148.69 Allstate Fire and Cas. Ins. Co.
0509792304-04    F.F.     Strategic Medical Initiatives PC   99215        11/02/2018      1    $148.69 Allstate Fire and Cas. Ins. Co.
0512214957-01 R.D.        Strategic Medical Initiatives PC   99215        09/25/2018      1    $148.69 Allstate Fire and Cas. Ins. Co.
0512214957-01 R.D.        Strategic Medical Initiatives PC   97750        10/08/2018      1    $249.96 Allstate Fire and Cas. Ins. Co.
0512214957-01 R.D.        Strategic Medical Initiatives PC   99215        10/22/2018      1    $148.69 Allstate Fire and Cas. Ins. Co.
0512214957-01 R.D.        Strategic Medical Initiatives PC   99215        11/14/2018      1    $148.69 Allstate Fire and Cas. Ins. Co.
0512283086-02 M.M.        Strategic Medical Initiatives PC   99244        09/19/2018      1    $236.94 Allstate Prop. and Cas. Ins. Co.
0513295435-01 D.B.        Strategic Medical Initiatives PC   99244        09/19/2018      1    $236.94         Allstate Ins. Co.
0513295435-01 D.B.        Strategic Medical Initiatives PC   99215        09/26/2018      1    $148.69         Allstate Ins. Co.
0513295435-01 D.B.        Strategic Medical Initiatives PC   99215        11/08/2018      1    $148.69         Allstate Ins. Co.
0513295435-01 D.B.        Strategic Medical Initiatives PC   99215        11/29/2018      1    $148.69         Allstate Ins. Co.
0518042239-02 G.R.        Strategic Medical Initiatives PC   99244        10/11/2018      1    $181.23 Allstate Fire and Cas. Ins. Co.
0518042239-02 G.R.        Strategic Medical Initiatives PC   99215        10/18/2018      1    $64.07  Allstate Fire and Cas. Ins. Co.
0518042239-02 G.R.        Strategic Medical Initiatives PC   99215        10/25/2018      1    $64.07  Allstate Fire and Cas. Ins. Co.
0518042239-02 G.R.        Strategic Medical Initiatives PC   99215        11/01/2018      1    $148.69 Allstate Fire and Cas. Ins. Co.
0518042239-02 G.R.        Strategic Medical Initiatives PC   99215        11/15/2018      1    $148.69 Allstate Fire and Cas. Ins. Co.
0518042239-04 M.W.        Strategic Medical Initiatives PC   99244        10/11/2018      1    $236.94 Allstate Fire and Cas. Ins. Co.
0518042239-04 M.W.        Strategic Medical Initiatives PC   99215        10/18/2018      1    $64.07  Allstate Fire and Cas. Ins. Co.
0518042239-04 M.W.        Strategic Medical Initiatives PC   99215        10/25/2018      1    $148.69 Allstate Fire and Cas. Ins. Co.
0518042239-04 M.W.        Strategic Medical Initiatives PC   99215        11/01/2018      1    $64.07  Allstate Fire and Cas. Ins. Co.
0518042239-04 M.W.        Strategic Medical Initiatives PC   20999        11/08/2018      2 $1,400.00 Allstate Fire and Cas. Ins. Co.
0518042239-04 M.W.        Strategic Medical Initiatives PC   99215        11/08/2018      1    $148.69 Allstate Fire and Cas. Ins. Co.




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                Case 1:22-cv-04441-SJB-VMS            Document 1-4 Filed 07/28/22           Page 93 of 449 PageID
                                                            #: 505

                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                  Billing Code          Dates of            # of       Amount
  Claim No.      Initials                  Provider                           Used              Service             Units      Pending
0374512275-02      B.S.                ACH Chiropractic PC                    99212            10/16/2015            1          $26.41
0374512275-02      B.S.                ACH Chiropractic PC                    98940            12/15/2015            1          $26.41
0374512275-03      Z.S.                ACH Chiropractic PC                    98940            10/16/2015            1          $26.41
0374512275-03      Z.S.                ACH Chiropractic PC                    99212            10/16/2015            1          $26.41
0374553048-02      E.F.                ACH Chiropractic PC                    99212            10/07/2015            1          $26.41
0374553048-02      E.F.                ACH Chiropractic PC                    98941      10/16/2015-10/26/2015       2          $69.36
0374553048-02      E.F.                ACH Chiropractic PC                    99212            10/07/2015            1          $26.41
0380809228-02     C.A.                 ACH Chiropractic PC                    98941      10/28/2015-10/30/2015       2          $69.36
0380809228-02     C.A.                 ACH Chiropractic PC                    99212            10/28/2015            1          $26.41
0380809228-02     C.A.                 ACH Chiropractic PC                    99212            10/28/2015            1          $26.41
0380809228-02     C.A.                 ACH Chiropractic PC                    97012            11/09/2015            1          $15.66
0380809228-02     C.A.                 ACH Chiropractic PC                    98941            11/09/2015            1          $34.68
0380809228-02     C.A.                 ACH Chiropractic PC                    97012            12/07/2015            1          $15.66
0380809228-05      T.T.                ACH Chiropractic PC                    98941      10/21/2015-11/02/2015       3         $104.04
0380809228-05      T.T.                ACH Chiropractic PC                    99212            10/21/2015            1          $26.41
0380809228-05      T.T.                ACH Chiropractic PC                    97012            11/02/2015            1          $15.66
0380809228-05      T.T.                ACH Chiropractic PC                    98941      11/10/2015-11/16/2015       3         $104.04
0380809228-05      T.T.                ACH Chiropractic PC                    97012            11/10/2015            1          $15.66
0380809228-07     B.G.                 ACH Chiropractic PC                    98941            10/07/2015            1          $34.68
0380809228-07     B.G.                 ACH Chiropractic PC                    98941            11/02/2015            1          $34.68
0380809228-07     B.G.                 ACH Chiropractic PC                    98941      11/23/2015-12/01/2015       2          $69.36
0380809228-07     B.G.                 ACH Chiropractic PC                    99212            12/01/2015            1          $26.41
0380809228-07     B.G.                 ACH Chiropractic PC                    98941            12/16/2015            1          $34.68
0380809228-07     B.G.                 ACH Chiropractic PC                    97012      01/04/2016-02/03/2016       2          $31.32
0380809228-07     B.G.                 ACH Chiropractic PC                    98941      01/04/2016-02/03/2016       3         $104.04
0380809228-07     B.G.                 ACH Chiropractic PC                    98941            03/28/2016            1          $34.68
0398385996-02      F.P.                ACH Chiropractic PC                    99203            01/11/2016            1          $54.74
0398385996-02      F.P.                ACH Chiropractic PC                    99212            03/16/2016            1          $26.41
0411304496-01      I.L.                ACH Chiropractic PC                    99203            04/27/2016            1          $54.73
0411304496-01      I.L.                ACH Chiropractic PC                    98941      07/21/2016-08/05/2016       6         $208.08


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                  Billing Code          Dates of            # of       Amount
  Claim No.      Initials                    Provider                         Used              Service             Units      Pending
0411304496-01      I.L.                ACH Chiropractic PC                    98941            09/07/2016            1           $34.68
0411304496-01      I.L.                ACH Chiropractic PC                    98941            09/16/2016            1           $34.68
0434546750-02      S.B.                ACH Chiropractic PC                    97012            10/27/2016            1           $15.66
0434546750-02      S.B.                ACH Chiropractic PC                    95904            10/27/2016            1         $2,330.56
0434546750-11      E.I.                ACH Chiropractic PC                    95904            11/04/2016            1         $2,330.56
0446478414-02     B.M.                 ACH Chiropractic PC                    95904            04/06/2017            1         $2,330.56
0478186786-02     M.L.                 ACH Chiropractic PC                    72040            10/18/2017            1           $65.88
0478186786-02     M.L.                 ACH Chiropractic PC                    72100            10/18/2017            1           $60.09
0478186786-02     M.L.                 ACH Chiropractic PC                    95904            12/06/2017            1         $1,019.62
0478186786-02     M.L.                 ACH Chiropractic PC                    95904            12/06/2017            1         $1,310.94
0478186786-03     P.O.                 ACH Chiropractic PC                    95904            10/31/2017            1         $1,310.94
0478186786-03     P.O.                 ACH Chiropractic PC                    95904            10/31/2017            1         $1,019.62
0478186786-03     P.O.                 ACH Chiropractic PC                    72040            10/18/2017            1           $65.88
0478186786-03     P.O.                 ACH Chiropractic PC                    72100            10/18/2017            1           $60.09
0478186786-03     P.O.                 ACH Chiropractic PC                    72110            12/21/2017            1           $87.60
0478186786-03     P.O.                 ACH Chiropractic PC                    76499            12/21/2017            1          $500.00
0478186786-08      S.P.                ACH Chiropractic PC                    93740            10/18/2017            1           $97.74
0478186786-08      S.P.                ACH Chiropractic PC                    72040            10/19/2017            1           $65.88
0478186786-08      S.P.                ACH Chiropractic PC                    95904            11/21/2017            1         $1,310.94
0478186786-08      S.P.                ACH Chiropractic PC                    95904            11/21/2017            1         $1,019.62
0478186786-08      S.P.                ACH Chiropractic PC                    93740            01/22/2018            1           $97.74
0478186786-12     L.M.                 ACH Chiropractic PC                    72040            11/09/2017            1           $65.88
0478186786-12     L.M.                 ACH Chiropractic PC                    72100            11/09/2017            1           $60.09
0492252812-02      S.B.                ACH Chiropractic PC                    95904            04/09/2018            1         $1,019.62
0492252812-02      S.B.                ACH Chiropractic PC                    95904            04/09/2018            1         $1,310.94
0496020934-01     E.D.                 ACH Chiropractic PC                    95904            04/09/2018            1         $1,310.94
0496020934-01     E.D.                 ACH Chiropractic PC                    95904            04/09/2018            1         $1,019.62
0496020934-04      J.N.                ACH Chiropractic PC                    95904            04/09/2018            1         $2,330.56
0509431607-05     D.L.                Alford A Smith MD PC                    99214            12/06/2018            1          $148.69
0509792304-01      J.F.               Alford A Smith MD PC                    20999            12/07/2018            2         $1,400.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                  Billing Code          Dates of            # of       Amount
  Claim No.      Initials                    Provider                         Used              Service             Units      Pending
0509792304-01      J.F.               Alford A Smith MD PC                    99215            12/07/2018            1          $148.69
0509792304-01      J.F.               Alford A Smith MD PC                    99215            12/14/2018            1          $148.69
0509792304-04      F.F.               Alford A Smith MD PC                    20999            12/14/2018            2         $1,375.00
0509792304-04      F.F.               Alford A Smith MD PC                    20999            12/14/2018            2         $1,375.00
0509792304-04      F.F.               Alford A Smith MD PC                    20999            01/18/2019            2         $1,375.00
0509792304-04      F.F.               Alford A Smith MD PC                    99215            01/18/2019            1          $148.69
0512214957-01     R.D.                Alford A Smith MD PC                    99215            03/18/2019            1          $148.69
0513295435-01     D.B.                Alford A Smith MD PC                    20999            12/06/2018            2         $1,225.00
0513295435-01     D.B.                Alford A Smith MD PC                    99215            12/06/2018            1          $148.69
0514687375-01     A.A.                Alford A Smith MD PC                    20999            12/28/2018            2         $1,400.00
0514795409-04     W.A.                Alford A Smith MD PC                    20999            03/05/2019            2          $875.00
0514795409-04     W.A.                Alford A Smith MD PC                    99215            03/05/2019            1          $148.69
0514795409-04     W.A.                Alford A Smith MD PC                    20999            03/19/2019            2         $1,225.00
0514795409-04     W.A.                Alford A Smith MD PC                    99215            03/19/2019            1          $148.69
0517763009-02     K.M.                Alford A Smith MD PC                    20999            12/18/2018            2          $875.00
0517763009-02     K.M.                Alford A Smith MD PC                    20999      01/03/2018-01/03/2019       3         $1,625.00
0517763009-02     K.M.                Alford A Smith MD PC                    20999            01/22/2019            2          $875.00
0517763009-02     K.M.                Alford A Smith MD PC                    99215            05/15/2019            1          $148.69
0517877940-01     D.G.                Alford A Smith MD PC                    20999            12/18/2018            2         $1,950.00
0517877940-01     D.G.                Alford A Smith MD PC                    20999            12/27/2018            3         $1,950.00
0517877940-01     D.G.                Alford A Smith MD PC                    20999            01/08/2019            2         $1,500.00
0518111661-01      J.A.               Alford A Smith MD PC                    20999            12/21/2018            2         $1,225.00
0518111661-02     D.M.                Alford A Smith MD PC                    20999            12/21/2018            2         $2,200.00
0518111661-02     D.M.                Alford A Smith MD PC                   209999            12/21/2018            1           $75.00
0520100884-01     M.S.                Alford A Smith MD PC                    20999            01/18/2019            2         $1,400.00
0520100884-01     M.S.                Alford A Smith MD PC                    99215            01/18/2019            1          $148.69
0520607029-02      J.H.               Alford A Smith MD PC                    20999            01/07/2019            2         $1,400.00
0522482363-05      J.E.               Alford A Smith MD PC                    20999            01/09/2019            2         $1,400.00
0522482363-05      J.E.               Alford A Smith MD PC                    20999            01/23/2019            2         $1,400.00
0523616068-12      J.F.               Alford A Smith MD PC                    20999            12/06/2018            2         $1,400.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0523616068-12      J.F.              Alford A Smith MD PC                      20999            12/13/2018           2         $1,400.00
0523616068-12      J.F.              Alford A Smith MD PC                      20999            12/20/2018           2         $1,400.00
0523616068-12      J.F.              Alford A Smith MD PC                      20999            12/27/2018           2         $1,400.00
0524615119-02     N.S.               Alford A Smith MD PC                      20999            12/26/2018           2         $1,225.00
0524615119-02     N.S.               Alford A Smith MD PC                      99215            12/26/2018           1          $148.69
0524615119-02     N.S.               Alford A Smith MD PC                      20999            01/23/2019           2         $1,225.00
0524615119-02     N.S.               Alford A Smith MD PC                      99215            01/23/2019           1          $148.69
0556464261-03     P.N.               Alford A Smith MD PC                      20999            08/28/2019           2         $1,400.00
0556464261-03     P.N.               Alford A Smith MD PC                      99244            08/28/2019           1          $236.94
0557707767-01     N.B.               Alford A Smith MD PC                      20999            09/26/2019           2         $1,400.00
0557707767-01     N.B.               Alford A Smith MD PC                      99244            09/26/2019           1          $236.94
0559183124-02      J.R.              Alford A Smith MD PC                      20999            09/26/2019           2         $1,400.00
0559183124-02      J.R.              Alford A Smith MD PC                      99244            09/26/2019           1          $236.94
0514795409-04     W.A.                  Alford Smith MD                        99205            02/26/2019           1          $200.68
0514795409-04     W.A.                  Alford Smith MD                        99215            04/09/2019           1          $148.69
0518460456-02      P.S.                 Alford Smith MD                        99205            04/10/2019           1          $200.68
0342499539-01      J.R.             Allay Medical Services PC                  99215            07/20/2015           1          $148.69
0342499539-01      J.R.             Allay Medical Services PC                  99215            09/15/2015           1          $148.69
0362861601-01     P.A.              Allay Medical Services PC                  99215            09/21/2015           1          $148.69
0362861601-02     Y.A.              Allay Medical Services PC                  99215            09/21/2015           1          $148.69
0368003091-06      E.J.             Allay Medical Services PC                  20553            12/09/2015           1          $119.10
0368003091-06      E.J.             Allay Medical Services PC                  20999            12/09/2015           2         $2,450.00
0368003091-06      E.J.             Allay Medical Services PC                  99215            12/09/2015           1          $148.69
0374124246-03     P.G.              Allay Medical Services PC                  64550      09/11/2015-09/21/2015      3          $219.90
0374512275-02      B.S.             Allay Medical Services PC                  95903            07/16/2015           1          $665.88
0374512275-02      B.S.             Allay Medical Services PC                  95904            07/16/2015           1          $638.82
0374512275-02      B.S.             Allay Medical Services PC                  95903            07/17/2015           1          $665.88
0374512275-02      B.S.             Allay Medical Services PC                  95904            07/17/2015           1          $425.88
0374512275-02      B.S.             Allay Medical Services PC                  95934            07/17/2015           1          $239.98
0374512275-02      B.S.             Allay Medical Services PC                  64550      08/05/2015-08/12/2015      3          $219.90


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                  Provider                            Used              Service            Units      Pending
0374512275-02      B.S.             Allay Medical Services PC                  64550      08/25/2015-08/27/2015      2          $146.60
0374512275-02      B.S.             Allay Medical Services PC                  64550      09/01/2015-09/22/2015      5          $366.50
0374512275-02      B.S.             Allay Medical Services PC                  64550      10/05/2015-10/16/2015      3          $219.90
0374512275-02      B.S.             Allay Medical Services PC                  95831            10/27/2015           1          $218.00
0374512275-02      B.S.             Allay Medical Services PC                  95833            10/27/2015           1          $114.32
0374512275-02      B.S.             Allay Medical Services PC                  95851            10/27/2015           1          $137.13
0374512275-02      B.S.             Allay Medical Services PC                  99215            11/12/2015           1          $148.69
0374512275-02      B.S.             Allay Medical Services PC                  64550      10/27/2015-11/12/2015      2          $146.60
0374512275-02      B.S.             Allay Medical Services PC                  97010      10/27/2015-11/12/2015      2           $36.50
0374512275-02      B.S.             Allay Medical Services PC                  97110      10/27/2015-11/12/2015      2           $46.36
0374512275-02      B.S.             Allay Medical Services PC                  97124      10/27/2015-11/12/2015      2           $40.42
0374512275-02      B.S.             Allay Medical Services PC                  97799            10/27/2015           1           $99.00
0374512275-02      B.S.             Allay Medical Services PC                  64550            12/03/2015           1           $73.30
0374512275-02      B.S.             Allay Medical Services PC                  97010            12/03/2015           1           $18.25
0374512275-02      B.S.             Allay Medical Services PC                  97110            12/03/2015           1           $23.18
0374512275-02      B.S.             Allay Medical Services PC                  97124            12/03/2015           1           $20.21
0374512275-02      B.S.             Allay Medical Services PC                  97799            12/03/2015           1           $49.50
0374512275-02      B.S.             Allay Medical Services PC                  20553            12/03/2015           1          $119.10
0374512275-02      B.S.             Allay Medical Services PC                  20999            12/03/2015           2         $1,200.00
0374512275-02      B.S.             Allay Medical Services PC                  76942            12/03/2015           1          $262.91
0374512275-02      B.S.             Allay Medical Services PC                  99215            12/03/2015           1          $148.69
0374512275-02      B.S.             Allay Medical Services PC                  97750            12/15/2015           1          $249.96
0374512275-02      B.S.             Allay Medical Services PC                  97799      12/15/2015-12/28/2015      2           $99.00
0374512275-02      B.S.             Allay Medical Services PC                  64550      12/15/2015-12/28/2015      2          $146.60
0374512275-02      B.S.             Allay Medical Services PC                  97010      12/15/2015-12/28/2015      2           $36.50
0374512275-02      B.S.             Allay Medical Services PC                  97110      12/15/2015-12/28/2015      2           $46.36
0374512275-02      B.S.             Allay Medical Services PC                  97124      12/15/2015-12/28/2015      2           $40.42
0374512275-03      Z.S.             Allay Medical Services PC                  95903      07/16/2015-07/17/2015      2         $1,331.76
0374512275-03      Z.S.             Allay Medical Services PC                  95904      07/16/2015-07/17/2015      2         $1,064.70
0374512275-03      Z.S.             Allay Medical Services PC                  95926            07/16/2015           1          $302.12


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                  Provider                            Used              Service            Units      Pending
0374512275-03      Z.S.             Allay Medical Services PC                  95934            07/17/2015           1         $239.98
0374512275-03      Z.S.             Allay Medical Services PC                  95903            07/17/2015           1         $665.88
0374512275-03      Z.S.             Allay Medical Services PC                  95904            07/17/2015           1         $425.88
0374512275-03      Z.S.             Allay Medical Services PC                  95934            07/17/2015           1         $239.98
0374512275-03      Z.S.             Allay Medical Services PC                  95926            07/17/2015           1         $302.12
0374512275-03      Z.S.             Allay Medical Services PC                  64550      07/27/2015-08/12/2015      4         $293.20
0374512275-03      Z.S.             Allay Medical Services PC                  64550      08/25/2015-08/27/2015      2         $146.60
0374512275-03      Z.S.             Allay Medical Services PC                  64550      09/01/2015-09/22/2015      5         $366.50
0374512275-03      Z.S.             Allay Medical Services PC                  64550      10/05/2015-10/16/2015      3         $219.90
0374512275-03      Z.S.             Allay Medical Services PC                  97010      10/05/2015-10/16/2015      3          $54.75
0374512275-03      Z.S.             Allay Medical Services PC                  97110      10/05/2015-10/16/2015      3          $69.54
0374512275-03      Z.S.             Allay Medical Services PC                  97124      10/05/2015-10/16/2015      3          $60.63
0374512275-03      Z.S.             Allay Medical Services PC                  97799      10/05/2015-10/16/2015      3         $148.50
0374512275-03      Z.S.             Allay Medical Services PC                  99215            11/12/2015           1         $148.69
0374512275-03      Z.S.             Allay Medical Services PC                  64550      10/27/2015-11/12/2015      2         $146.60
0374512275-03      Z.S.             Allay Medical Services PC                  97010      10/27/2015-11/12/2015      2          $36.50
0374512275-03      Z.S.             Allay Medical Services PC                  97110      10/27/2015-11/12/2015      2          $46.36
0374512275-03      Z.S.             Allay Medical Services PC                  97124      10/27/2015-11/12/2015      2          $40.42
0374512275-03      Z.S.             Allay Medical Services PC                  97799      10/27/2015-11/12/2015      2          $99.00
0374512275-03      Z.S.             Allay Medical Services PC                  97750            12/15/2015           1         $249.96
0374512275-03      Z.S.             Allay Medical Services PC                  97002            12/15/2015           1          $40.17
0374512275-03      Z.S.             Allay Medical Services PC                  64550      12/15/2015-12/28/2015      2         $146.60
0374512275-03      Z.S.             Allay Medical Services PC                  97010      12/15/2015-12/28/2015      2          $36.50
0374512275-03      Z.S.             Allay Medical Services PC                  97110      12/15/2015-12/28/2015      2          $46.36
0374512275-03      Z.S.             Allay Medical Services PC                  97124      12/15/2015-12/28/2015      2          $40.42
0374512275-03      Z.S.             Allay Medical Services PC                  97799      12/15/2015-12/28/2015      2          $99.00
0374553048-02      E.F.             Allay Medical Services PC                  95903            07/13/2015           1         $665.88
0374553048-02      E.F.             Allay Medical Services PC                  95904            07/13/2015           1         $425.88
0374553048-02      E.F.             Allay Medical Services PC                  95934            07/13/2015           1         $239.98
0374553048-02      E.F.             Allay Medical Services PC                  64550      07/30/2015-08/13/2015      4         $293.20


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                  Provider                            Used              Service            Units      Pending
0374553048-02      E.F.             Allay Medical Services PC                  64550      08/18/2015-08/27/2015      6          $439.80
0374553048-02      E.F.             Allay Medical Services PC                  64550      09/02/2015-09/24/2015      5          $366.50
0374553048-02      E.F.             Allay Medical Services PC                  64550      10/07/2015-10/21/2015      6          $439.80
0374553048-02      E.F.             Allay Medical Services PC                  97010      10/07/2015-10/21/2015      6          $109.50
0374553048-02      E.F.             Allay Medical Services PC                  97110      10/07/2015-10/21/2015      6          $139.08
0374553048-02      E.F.             Allay Medical Services PC                  97124      10/07/2015-10/21/2015      6          $121.26
0374553048-02      E.F.             Allay Medical Services PC                  97750            10/15/2015           1          $249.96
0374553048-02      E.F.             Allay Medical Services PC                  97799      10/26/2015-11/09/2015      3          $148.50
0374553048-02      E.F.             Allay Medical Services PC                  64550      10/26/2015-11/09/2015      3          $219.90
0374553048-02      E.F.             Allay Medical Services PC                  97010      10/26/2015-11/09/2015      3           $54.75
0374553048-02      E.F.             Allay Medical Services PC                  97110      10/26/2015-11/09/2015      3           $69.54
0374553048-02      E.F.             Allay Medical Services PC                  97124      10/26/2015-11/09/2015      3           $60.63
0374553048-02      E.F.             Allay Medical Services PC                  95831            11/16/2015           1          $130.80
0374553048-02      E.F.             Allay Medical Services PC                  95851            11/16/2015           1           $91.42
0374553048-02      E.F.             Allay Medical Services PC                  64550      11/16/2015-12/10/2015      8          $586.40
0374553048-02      E.F.             Allay Medical Services PC                  97799      11/16/2015-12/10/2015      8          $396.00
0374553048-02      E.F.             Allay Medical Services PC                  99215            12/10/2015           1          $148.69
0374553048-02      E.F.             Allay Medical Services PC                  97750            11/30/2015           1          $249.96
0375170644-02     M.R.              Allay Medical Services PC                  20553            08/27/2015           1          $119.10
0375170644-02     M.R.              Allay Medical Services PC                  20999            08/27/2015           2         $1,225.00
0375170644-02     M.R.              Allay Medical Services PC                  99215            08/27/2015           1          $148.69
0375170644-04     L.A.              Allay Medical Services PC                  99215            09/21/2015           1          $148.69
0375170644-04     L.A.              Allay Medical Services PC                  99215            10/29/2015           1          $148.69
0375170644-04     L.A.              Allay Medical Services PC                  20610            11/19/2015           1           $57.26
0375170644-04     L.A.              Allay Medical Services PC                  99215            11/19/2015           1          $148.69
0376459327-01     R.G.              Allay Medical Services PC                  99215            08/17/2015           1          $148.69
0376459327-01     R.G.              Allay Medical Services PC                  99215            11/19/2015           1          $148.69
0376459327-01     R.G.              Allay Medical Services PC                  20553            12/03/2015           1          $119.10
0376459327-01     R.G.              Allay Medical Services PC                  20999            12/03/2015           2           $12.25
0376459327-01     R.G.              Allay Medical Services PC                  99215            12/03/2015           1          $148.69


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                  Provider                            Used              Service            Units      Pending
0376459327-01     R.G.              Allay Medical Services PC                  20553            12/17/2015           1          $119.10
0376459327-01     R.G.              Allay Medical Services PC                  20999            12/17/2015           2         $1,225.00
0376459327-01     R.G.              Allay Medical Services PC                  99215            12/17/2015           1          $148.69
0377982285-02     Z.B.              Allay Medical Services PC                  20553            08/25/2015           1          $119.10
0377982285-02     Z.B.              Allay Medical Services PC                  20999            08/25/2015           2         $1,400.00
0377982285-02     Z.B.              Allay Medical Services PC                  99244            08/25/2015           1          $236.94
0380106203-01      S.F.             Allay Medical Services PC                  99215            09/03/2015           1          $148.69
0380106203-01      S.F.             Allay Medical Services PC                  99215            12/03/2015           1          $148.69
0380809228-02     C.A.              Allay Medical Services PC                  99244            08/19/2015           1          $236.94
0380809228-02     C.A.              Allay Medical Services PC                  97010      08/20/2015-08/28/2015      4           $73.00
0380809228-02     C.A.              Allay Medical Services PC                  97110      08/20/2015-08/28/2015      4           $92.72
0380809228-02     C.A.              Allay Medical Services PC                  97124      08/20/2015-08/28/2015      4           $80.84
0380809228-02     C.A.              Allay Medical Services PC                  95903            09/03/2015           1          $665.88
0380809228-02     C.A.              Allay Medical Services PC                  95904            09/03/2015           1          $638.82
0380809228-02     C.A.              Allay Medical Services PC                  95903            09/04/2015           1          $665.88
0380809228-02     C.A.              Allay Medical Services PC                  95904            09/04/2015           1          $425.88
0380809228-02     C.A.              Allay Medical Services PC                  95926            09/04/2015           1          $302.12
0380809228-02     C.A.              Allay Medical Services PC                  95934            09/04/2015           1          $239.98
0380809228-02     C.A.              Allay Medical Services PC                  97001            08/19/2015           1           $72.92
0380809228-02     C.A.              Allay Medical Services PC                  64550      08/20/2015-08/28/2015      4          $293.20
0380809228-02     C.A.              Allay Medical Services PC                  97799      08/20/2015-08/28/2015      4          $198.00
0380809228-02     C.A.              Allay Medical Services PC                  95861            09/10/2015           1          $241.50
0380809228-02     C.A.              Allay Medical Services PC                  95927            09/10/2015           1          $302.12
0380809228-02     C.A.              Allay Medical Services PC                  95925            09/03/2015           1          $302.12
0380809228-02     C.A.              Allay Medical Services PC                  95903            09/03/2015           1          $665.88
0380809228-02     C.A.              Allay Medical Services PC                  95904            09/03/2015           1          $638.82
0380809228-02     C.A.              Allay Medical Services PC                  95851            09/09/2015           1          $602.36
0380809228-02     C.A.              Allay Medical Services PC                  99358            09/09/2015           1          $204.41
0380809228-02     C.A.              Allay Medical Services PC                  64550      09/01/2015-09/25/2015      7          $513.10
0380809228-02     C.A.              Allay Medical Services PC                  97010      09/01/2015-09/25/2015      8          $146.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                  Provider                            Used              Service            Units      Pending
0380809228-02     C.A.              Allay Medical Services PC                  97110      09/01/2015-09/25/2015      8         $185.44
0380809228-02     C.A.              Allay Medical Services PC                  97124      09/01/2015-09/25/2015      8         $161.68
0380809228-02     C.A.              Allay Medical Services PC                  97799      09/01/2015-09/25/2015      8         $396.00
0380809228-02     C.A.              Allay Medical Services PC                  64450            09/24/2015           1          $73.30
0380809228-02     C.A.              Allay Medical Services PC                  64550      09/28/2015-10/15/2015      9         $659.70
0380809228-02     C.A.              Allay Medical Services PC                  97010      09/28/2015-10/15/2015      9         $164.25
0380809228-02     C.A.              Allay Medical Services PC                  97110      09/28/2015-10/15/2015      9         $208.62
0380809228-02     C.A.              Allay Medical Services PC                  97124      09/28/2015-10/15/2015      9         $181.89
0380809228-02     C.A.              Allay Medical Services PC                  97799      09/28/2015-10/15/2015      9         $445.50
0380809228-02     C.A.              Allay Medical Services PC                  99215            10/28/2015           1         $148.69
0380809228-02     C.A.              Allay Medical Services PC                  64550      10/28/2015-11/09/2015      4         $293.20
0380809228-02     C.A.              Allay Medical Services PC                  97010      10/28/2015-11/09/2015      4          $73.00
0380809228-02     C.A.              Allay Medical Services PC                  97110      10/28/2015-11/09/2015      4          $92.72
0380809228-02     C.A.              Allay Medical Services PC                  97124      10/28/2015-11/09/2015      4          $80.84
0380809228-02     C.A.              Allay Medical Services PC                  97799      10/28/2015-11/09/2015      4         $198.00
0380809228-02     C.A.              Allay Medical Services PC                  95831            11/04/2015           1         $130.80
0380809228-02     C.A.              Allay Medical Services PC                  95833            11/04/2015           1         $114.32
0380809228-02     C.A.              Allay Medical Services PC                  95851            11/04/2015           1          $91.42
0380809228-02     C.A.              Allay Medical Services PC                  97799      11/24/2015-12/09/2015      2          $99.00
0380809228-02     C.A.              Allay Medical Services PC                  64550      11/24/2015-12/09/2015      2         $147.00
0380809228-02     C.A.              Allay Medical Services PC                  97010      11/24/2015-12/09/2015      2          $36.50
0380809228-02     C.A.              Allay Medical Services PC                  97110      11/24/2015-12/09/2015      2          $46.36
0380809228-02     C.A.              Allay Medical Services PC                  97124      11/24/2015-12/09/2015      2          $40.42
0380809228-02     C.A.              Allay Medical Services PC                  20610            12/22/2015           1          $57.26
0380809228-02     C.A.              Allay Medical Services PC                  76942            12/22/2015           1         $262.91
0380809228-02     C.A.              Allay Medical Services PC                  99215            12/22/2015           1         $148.69
0380809228-02     C.A.              Allay Medical Services PC                  97750            11/24/2015           1         $249.96
0380809228-02     C.A.              Allay Medical Services PC                  99358            12/07/2015           1         $204.41
0380809228-02     C.A.              Allay Medical Services PC                  97750            12/22/2015           1         $249.96
0380809228-02     C.A.              Allay Medical Services PC                  64550            12/22/2015           1          $73.30


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                    Billing Code          Dates of          # of       Amount
  Claim No.      Initials                  Provider                             Used              Service           Units      Pending
0380809228-02     C.A.              Allay Medical Services PC                   97010            12/22/2015          1          $18.25
0380809228-02     C.A.              Allay Medical Services PC                   97110            12/22/2015          1          $23.18
0380809228-02     C.A.              Allay Medical Services PC                   97124            12/22/2015          1          $20.21
0380809228-02     C.A.              Allay Medical Services PC                   97799            12/22/2015          1          $49.50
0380809228-02     C.A.              Allay Medical Services PC                   97750            12/22/2015          1         $249.96
0380809228-05      T.T.             Allay Medical Services PC                   95925            08/31/2015          1         $302.12
0380809228-05      T.T.             Allay Medical Services PC                   95903            08/31/2015          1         $665.88
0380809228-05      T.T.             Allay Medical Services PC                   95904            08/31/2015          1         $638.82
0380809228-05      T.T.             Allay Medical Services PC                   99244            08/28/2015          1         $236.94
0380809228-05      T.T.             Allay Medical Services PC                   95926            09/08/2015          1         $302.12
0380809228-05      T.T.             Allay Medical Services PC                   95831            08/25/2015          1         $218.00
0380809228-05      T.T.             Allay Medical Services PC                   95833            08/25/2015          1         $114.32
0380809228-05      T.T.             Allay Medical Services PC                   95851            08/25/2015          1         $137.13
0380809228-05      T.T.             Allay Medical Services PC                   97001            08/17/2015          1          $72.92
0380809228-05      T.T.             Allay Medical Services PC                   64550      08/19/2015-08/28/2015     4         $293.20
0380809228-05      T.T.             Allay Medical Services PC                   97010      08/19/2015-08/28/2015     4          $73.00
0380809228-05      T.T.             Allay Medical Services PC                   97110      08/19/2015-08/28/2015     4          $92.72
0380809228-05      T.T.             Allay Medical Services PC                   97124      08/19/2015-08/28/2015     4          $80.84
0380809228-05      T.T.             Allay Medical Services PC                   97799      08/19/2015-08/28/2015     4         $198.00
0380809228-05      T.T.             Allay Medical Services PC                   95927            09/11/2015          1         $302.12
0380809228-05      T.T.             Allay Medical Services PC                   95861            09/11/2015          1         $241.50
0380809228-05      T.T.             Allay Medical Services PC                   95903            09/08/2015          1         $665.88
0380809228-05      T.T.             Allay Medical Services PC                   95904            09/08/2015          1         $425.88
0380809228-05      T.T.             Allay Medical Services PC                   95934            09/08/2015          1         $239.98
0380809228-05      T.T.             Allay Medical Services PC                   97750            09/08/2015          1         $249.96
0380809228-05      T.T.             Allay Medical Services PC                   99358            09/08/2015          1         $204.41
0380809228-05      T.T.             Allay Medical Services PC                   64550      08/31/2015-09/28/2015     12        $879.60
0380809228-05      T.T.             Allay Medical Services PC                   97010      08/31/2015-09/28/2015     12        $219.00
0380809228-05      T.T.             Allay Medical Services PC                   97110      08/31/2015-09/28/2015     12        $278.16
0380809228-05      T.T.             Allay Medical Services PC                   97124      08/31/2015-09/28/2015     12        $242.52


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                    Billing Code          Dates of          # of       Amount
  Claim No.      Initials                  Provider                             Used              Service           Units      Pending
0380809228-05      T.T.             Allay Medical Services PC                   97799      08/31/2015-09/28/2015     12        $594.00
0380809228-05      T.T.             Allay Medical Services PC                   97010      09/30/2015-10/23/2015     8         $146.00
0380809228-05      T.T.             Allay Medical Services PC                   97110      09/30/2015-10/23/2015     8         $185.44
0380809228-05      T.T.             Allay Medical Services PC                   97124      09/30/2015-10/23/2015     8         $161.68
0380809228-05      T.T.             Allay Medical Services PC                   95831            10/21/2015          1         $218.00
0380809228-05      T.T.             Allay Medical Services PC                   95833            10/21/2015          1         $114.32
0380809228-05      T.T.             Allay Medical Services PC                   95851            10/21/2015          1         $137.13
0380809228-05      T.T.             Allay Medical Services PC                   97750            10/26/2015          1         $249.96
0380809228-05      T.T.             Allay Medical Services PC                   64550      10/26/2015-11/13/2015     4         $293.20
0380809228-05      T.T.             Allay Medical Services PC                   97010      10/26/2015-11/13/2015     4          $73.00
0380809228-05      T.T.             Allay Medical Services PC                   97110      10/26/2015-11/13/2015     4          $92.72
0380809228-05      T.T.             Allay Medical Services PC                   97124      10/26/2015-11/13/2015     4          $80.84
0380809228-05      T.T.             Allay Medical Services PC                   97799      10/26/2015-11/13/2015     4         $198.00
0380809228-05      T.T.             Allay Medical Services PC                   64550            11/16/2015          1          $73.30
0380809228-05      T.T.             Allay Medical Services PC                   97010            11/16/2015          1          $18.25
0380809228-05      T.T.             Allay Medical Services PC                   97110            11/16/2015          1          $23.18
0380809228-05      T.T.             Allay Medical Services PC                   97124            11/16/2015          1          $20.21
0380809228-05      T.T.             Allay Medical Services PC                   97799            11/16/2015          1          $49.50
0380809228-06     C.D.              Allay Medical Services PC                   97001            08/17/2015          1          $72.92
0380809228-06     C.D.              Allay Medical Services PC                   97010      08/21/2015-08/27/2015     4          $73.00
0380809228-06     C.D.              Allay Medical Services PC                   97110      08/21/2015-08/27/2015     4          $92.72
0380809228-06     C.D.              Allay Medical Services PC                   97124      08/21/2015-08/27/2015     4          $80.84
0380809228-06     C.D.              Allay Medical Services PC                   95903            09/08/2015          1         $665.88
0380809228-06     C.D.              Allay Medical Services PC                   95904            09/08/2015          1         $638.82
0380809228-06     C.D.              Allay Medical Services PC                   64550      08/21/2015-08/27/2015     4         $293.20
0380809228-06     C.D.              Allay Medical Services PC                   97799      08/21/2015-08/27/2015     4         $198.00
0380809228-06     C.D.              Allay Medical Services PC                   97750            08/25/2015          1         $249.96
0380809228-06     C.D.              Allay Medical Services PC                   95903            09/10/2015          1         $665.88
0380809228-06     C.D.              Allay Medical Services PC                   95904            09/10/2015          1         $425.88
0380809228-06     C.D.              Allay Medical Services PC                   95934            09/10/2015          1         $239.98


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                    Billing Code          Dates of          # of       Amount
  Claim No.      Initials                  Provider                             Used              Service           Units      Pending
0380809228-06     C.D.              Allay Medical Services PC                   95925            09/08/2015          1         $302.12
0380809228-06     C.D.              Allay Medical Services PC                   95927            09/17/2015          1         $302.12
0380809228-06     C.D.              Allay Medical Services PC                   95861            09/17/2015          1         $241.50
0380809228-06     C.D.              Allay Medical Services PC                   64550      09/03/2015-09/25/2015     6         $439.80
0380809228-06     C.D.              Allay Medical Services PC                   97010      09/03/2015-09/25/2015     6         $109.50
0380809228-06     C.D.              Allay Medical Services PC                   97110      09/03/2015-09/25/2015     6         $139.08
0380809228-06     C.D.              Allay Medical Services PC                   97124      09/03/2015-09/25/2015     6         $121.26
0380809228-06     C.D.              Allay Medical Services PC                   97799      09/03/2015-09/25/2015     6         $297.00
0380809228-06     C.D.              Allay Medical Services PC                   99244            09/25/2015          1         $236.94
0380809228-06     C.D.              Allay Medical Services PC                   97010      09/08/2015-09/29/2015     2          $36.50
0380809228-06     C.D.              Allay Medical Services PC                   64550      09/28/2015-09/29/2015     2         $146.60
0380809228-06     C.D.              Allay Medical Services PC                   97110      09/28/2015-09/29/2015     2          $46.36
0380809228-06     C.D.              Allay Medical Services PC                   97124      09/28/2015-09/29/2015     2          $40.42
0380809228-06     C.D.              Allay Medical Services PC                   97799      09/28/2015-09/29/2015     2          $99.00
0380809228-07     B.G.              Allay Medical Services PC                   99244            08/28/2015          1         $236.94
0380809228-07     B.G.              Allay Medical Services PC                   99215            09/16/2015          1         $148.69
0380809228-07     B.G.              Allay Medical Services PC                   97010      08/19/2015-08/31/2015     6         $109.50
0380809228-07     B.G.              Allay Medical Services PC                   97110      08/19/2015-08/31/2015     6         $139.08
0380809228-07     B.G.              Allay Medical Services PC                   97124      08/19/2015-08/31/2015     6         $121.26
0380809228-07     B.G.              Allay Medical Services PC                   97799      08/19/2015-08/31/2015     6         $297.00
0380809228-07     B.G.              Allay Medical Services PC                   97001            08/17/2015          1          $72.92
0380809228-07     B.G.              Allay Medical Services PC                   64550      08/19/2015-08/31/2015     6         $439.80
0380809228-07     B.G.              Allay Medical Services PC                   64550      09/01/2015-09/25/2015     6         $439.80
0380809228-07     B.G.              Allay Medical Services PC                   97010      09/01/2015-09/25/2015     6         $109.50
0380809228-07     B.G.              Allay Medical Services PC                   97110      09/01/2015-09/25/2015     6         $139.08
0380809228-07     B.G.              Allay Medical Services PC                   97124      09/01/2015-09/25/2015     6         $121.26
0380809228-07     B.G.              Allay Medical Services PC                   97799      09/01/2015-09/25/2015     6         $297.00
0380809228-07     B.G.              Allay Medical Services PC                   95903            09/25/2015          1         $665.88
0380809228-07     B.G.              Allay Medical Services PC                   95904            09/25/2015          1         $638.82
0380809228-07     B.G.              Allay Medical Services PC                   95925            09/25/2015          1         $302.12


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                                                            #: 517

                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                    Billing Code          Dates of          # of       Amount
  Claim No.      Initials                  Provider                             Used              Service           Units      Pending
0380809228-07     B.G.              Allay Medical Services PC                   95925            09/25/2015          1          $302.12
0380809228-07     B.G.              Allay Medical Services PC                   97010      09/30/2015-10/15/2015     3           $54.75
0380809228-07     B.G.              Allay Medical Services PC                   97110      09/30/2015-10/15/2015     3           $69.54
0380809228-07     B.G.              Allay Medical Services PC                   97124      09/30/2015-10/15/2015     3           $60.63
0380809228-07     B.G.              Allay Medical Services PC                   97750            10/15/2015          1          $249.96
0380809228-07     B.G.              Allay Medical Services PC                   95861            11/23/2015          1          $241.50
0380809228-07     B.G.              Allay Medical Services PC                   95927            11/23/2015          1          $302.12
0380809228-07     B.G.              Allay Medical Services PC                   97124      10/28/2015-11/02/2015     2           $40.42
0380809228-07     B.G.              Allay Medical Services PC                   64550      10/29/2015-11/02/2015     2          $146.60
0380809228-07     B.G.              Allay Medical Services PC                   97010      10/29/2015-11/02/2015     2           $36.50
0380809228-07     B.G.              Allay Medical Services PC                   97110      10/29/2015-11/02/2015     2           $46.36
0380809228-07     B.G.              Allay Medical Services PC                   97799      10/29/2015-11/02/2015     2           $99.00
0380809228-07     B.G.              Allay Medical Services PC                   99215            12/01/2015          1          $148.69
0380809228-07     B.G.              Allay Medical Services PC                   97750            12/01/2015          1          $249.96
0380809228-07     B.G.              Allay Medical Services PC                   64550      11/23/2015-12/01/2015     2          $146.60
0380809228-07     B.G.              Allay Medical Services PC                   97010      11/23/2015-12/01/2015     2           $36.50
0380809228-07     B.G.              Allay Medical Services PC                   97110      11/23/2015-12/01/2015     2           $46.36
0380809228-07     B.G.              Allay Medical Services PC                   97124      11/23/2015-12/01/2015     2           $40.42
0380809228-07     B.G.              Allay Medical Services PC                   97799      11/23/2015-12/01/2015     2           $99.00
0380809228-07     B.G.              Allay Medical Services PC                   99358            12/01/2015          1          $204.41
0380809228-07     B.G.              Allay Medical Services PC                   64550            12/16/2015          1           $73.30
0380809228-07     B.G.              Allay Medical Services PC                   97010            12/16/2015          1           $18.25
0380809228-07     B.G.              Allay Medical Services PC                   97110            12/16/2015          1           $23.18
0380809228-07     B.G.              Allay Medical Services PC                   97124            12/16/2015          1           $20.21
0380809228-07     B.G.              Allay Medical Services PC                   97799            12/16/2015          1           $49.50
0383954005-01      R.S.             Allay Medical Services PC                   20553            10/22/2015          1          $119.10
0383954005-01      R.S.             Allay Medical Services PC                   20999            10/22/2015          2         $1,225.00
0383954005-01      R.S.             Allay Medical Services PC                   99244            10/22/2015          1          $236.94
0387559552-01     D.D.              Allay Medical Services PC                   20553            10/19/2015          1          $119.10
0387559552-01     D.D.              Allay Medical Services PC                   20999            10/19/2015          2         $1,400.00


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                                                            #: 518

                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                    Billing Code          Dates of          # of       Amount
  Claim No.      Initials                  Provider                             Used              Service           Units      Pending
0388149213-04     M.C.              Allay Medical Services PC                   20553            10/27/2015          1          $119.10
0388149213-04     M.C.              Allay Medical Services PC                   20999            10/27/2015          2         $2,275.00
0388149213-04     M.C.              Allay Medical Services PC                   99244            10/27/2015          1          $236.94
0389975136-01      J.S.             Allay Medical Services PC                   20999            11/04/2015          2         $1,400.00
0389975136-01      J.S.             Allay Medical Services PC                   99215            11/11/2015          1          $148.69
0391142502-07     A.F.              Allay Medical Services PC                   99215            11/16/2015          1          $148.69
0391142502-07     A.F.              Allay Medical Services PC                   20553            12/07/2015          1          $119.10
0391142502-07     A.F.              Allay Medical Services PC                   20999            12/07/2015          2         $1,400.00
0391142502-07     A.F.              Allay Medical Services PC                   99215            12/07/2015          1          $148.69
0391445368-01     B.C.              Allay Medical Services PC                   20553            12/10/2015          1          $119.10
0391445368-01     B.C.              Allay Medical Services PC                   20999            12/10/2015          2         $1,395.00
0391445368-01     B.C.              Allay Medical Services PC                   99244            12/10/2015          1          $236.94
0391594314-02     M.M.              Allay Medical Services PC                    2099            12/21/2015          1           $75.00
0391594314-02     M.M.              Allay Medical Services PC                   20553            12/21/2015          1          $119.10
0391594314-02     M.M.              Allay Medical Services PC                   20799            12/21/2015          1           $75.00
0391594314-02     M.M.              Allay Medical Services PC                   20999      12/21/2015-12/22/2015     3         $2,300.00
0391674355-01     A.F.              Allay Medical Services PC                   20553            12/11/2015          1          $119.10
0391674355-01     A.F.              Allay Medical Services PC                   20999            12/11/2015          2         $1,400.00
0391698619-01     D.L.              Allay Medical Services PC                   20553            12/23/2015          1          $119.10
0391698619-01     D.L.              Allay Medical Services PC                   20999            12/23/2015          2         $1,400.00
0393580955-02     M.L.              Allay Medical Services PC                   20553            12/15/2015          1          $119.10
0393580955-02     M.L.              Allay Medical Services PC                   20990            12/15/2015          1          $100.00
0393580955-02     M.L.              Allay Medical Services PC                   20999            12/15/2015          2         $1,300.00
0393819305-01     A.C.              Allay Medical Services PC                   20553            12/10/2015          1          $119.10
0393819305-01     A.C.              Allay Medical Services PC                   20999            12/10/2015          2         $1,575.00
0393819305-01     A.C.              Allay Medical Services PC                   99244            12/10/2015          1          $236.94
0393819305-02     L.C.              Allay Medical Services PC                   20553            12/10/2015          1          $119.10
0393819305-02     L.C.              Allay Medical Services PC                   20999            12/10/2015          2         $1,400.00
0393819305-02     L.C.              Allay Medical Services PC                   99244            12/10/2015          1          $236.94
0394803431-02     A.D.              Allay Medical Services PC                   20553            12/29/2015          1          $119.10


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                    Billing Code        Dates of            # of       Amount
  Claim No.      Initials                  Provider                             Used            Service             Units      Pending
0394803431-02     A.D.              Allay Medical Services PC                   20999          12/29/2015            2         $2,450.00
0411304496-01      I.L.             Allay Medical Services PC                   97750          10/27/2016            1          $249.96
0411304496-01      I.L.             Allay Medical Services PC                   95831          10/26/2016            1          $130.80
0411304496-01      I.L.             Allay Medical Services PC                   95833          10/26/2016            1          $114.32
0411304496-01      I.L.             Allay Medical Services PC                   95851          10/26/2016            1           $91.42
0411304496-02      J.L.             Allay Medical Services PC                   95831          10/26/2016            1          $305.20
0411304496-02      J.L.             Allay Medical Services PC                   95833          10/26/2016            1          $114.32
0411304496-02      J.L.             Allay Medical Services PC                   95851          10/26/2016            1          $182.84
0431774421-01      J.C.             Allay Medical Services PC                   97750          10/27/2016            1          $249.96
0431774421-01      J.C.             Allay Medical Services PC                   95903          10/27/2016            1          $665.88
0431774421-01      J.C.             Allay Medical Services PC                   95904          10/27/2016            1          $425.88
0431774421-01      J.C.             Allay Medical Services PC                   95934          10/27/2016            1          $239.98
0431774421-01      J.C.             Allay Medical Services PC                   95831          10/26/2016            1          $305.20
0431774421-01      J.C.             Allay Medical Services PC                   95833          10/26/2016            1          $114.32
0431774421-01      J.C.             Allay Medical Services PC                   95851          10/26/2016            1          $182.84
0431774421-01      J.C.             Allay Medical Services PC                   99215          10/28/2016            1          $148.69
0431774421-01      J.C.             Allay Medical Services PC                   95926          10/27/2016            1          $302.12
0431774421-02      P.C.             Allay Medical Services PC                   95927          10/19/2016            1          $302.12
0431774421-02      P.C.             Allay Medical Services PC                   20999          10/24/2016            2         $1,625.00
0431774421-02      P.C.             Allay Medical Services PC                   99215          10/24/2016            1          $148.69
0431774421-02      P.C.             Allay Medical Services PC                   95831          10/25/2016            1          $130.80
0431774421-02      P.C.             Allay Medical Services PC                   95833          10/25/2016            1          $114.32
0431774421-02      P.C.             Allay Medical Services PC                   95851          10/25/2016            1           $91.42
0431774421-03     D.S.              Allay Medical Services PC                   95831          10/25/2016            1          $130.80
0431774421-03     D.S.              Allay Medical Services PC                   95833          10/25/2016            1          $114.32
0431774421-03     D.S.              Allay Medical Services PC                   95851          10/25/2016            1          $137.13
0431774421-03     D.S.              Allay Medical Services PC                   20999          10/31/2016            2         $2,925.00
0431774421-03     D.S.              Allay Medical Services PC                   99215          10/31/2016            1          $148.69
0431774421-04     M.J.              Allay Medical Services PC                   95927          10/19/2016            1          $302.12
0431774421-04     M.J.              Allay Medical Services PC                   20552          10/24/2016            1          $100.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0431774421-04     M.J.              Allay Medical Services PC                  99215            10/24/2016           1          $148.69
0431774421-04     M.J.              Allay Medical Services PC                  95903            10/24/2016           1          $665.88
0431774421-04     M.J.              Allay Medical Services PC                  95904            10/24/2016           1          $425.88
0431774421-04     M.J.              Allay Medical Services PC                  95934            10/24/2016           1          $239.98
0431774421-04     M.J.              Allay Medical Services PC                  95926            10/24/2016           1          $302.12
0431774421-04     M.J.              Allay Medical Services PC                  95831            10/25/2016           1          $305.20
0431774421-04     M.J.              Allay Medical Services PC                  95833            10/25/2016           1          $114.32
0431774421-04     M.J.              Allay Medical Services PC                  95851            10/25/2016           1          $182.84
0431774421-05     M.T.              Allay Medical Services PC                  95903            10/24/2016           1          $665.88
0431774421-05     M.T.              Allay Medical Services PC                  95904            10/24/2016           1          $425.88
0431774421-05     M.T.              Allay Medical Services PC                  95934            10/24/2016           1          $239.98
0431774421-05     M.T.              Allay Medical Services PC                  95831            10/25/2016           1          $218.00
0431774421-05     M.T.              Allay Medical Services PC                  95833            10/25/2016           1          $114.32
0431774421-05     M.T.              Allay Medical Services PC                  95851            10/25/2016           1          $137.13
0434546750-02      S.B.             Allay Medical Services PC                  20999            10/24/2016           2         $1,675.00
0434546750-02      S.B.             Allay Medical Services PC                  97026            10/24/2016           1           $24.16
0434546750-02      S.B.             Allay Medical Services PC                  99244            10/24/2016           1          $236.94
0434546750-02      S.B.             Allay Medical Services PC                  95831            10/27/2016           1          $130.80
0434546750-02      S.B.             Allay Medical Services PC                  95833            10/27/2016           1          $114.32
0434546750-02      S.B.             Allay Medical Services PC                  95851            10/27/2016           1           $91.42
0434546750-11      E.I.             Allay Medical Services PC                  99244            10/24/2016           1          $236.94
0191030063-03      F.C.            Charles Deng Acupuncture PC                 97810      07/11/2011-08/12/2011      10         $300.00
0191030063-08     S.G.             Charles Deng Acupuncture PC                 97810      06/14/2011-07/06/2011      7          $210.00
0191030063-08     S.G.             Charles Deng Acupuncture PC                 97811      06/14/2011-07/06/2011      7          $359.66
0191030063-08     S.G.             Charles Deng Acupuncture PC                 97810      07/11/2011-08/09/2011      9          $270.00
0191030063-08     S.G.             Charles Deng Acupuncture PC                 97811      07/11/2011-08/09/2011      9          $462.42
0192991008-08      S.S.            Charles Deng Acupuncture PC                 97810      03/14/2011-04/06/2011      7          $455.00
0192991008-08      S.S.            Charles Deng Acupuncture PC                 99203            03/14/2011           1           $80.00
0193363124-05      J.J.            Charles Deng Acupuncture PC                 97810      05/26/2011-06/14/2011      9          $270.00
0193363124-05      J.J.            Charles Deng Acupuncture PC                 97811      05/26/2011-06/14/2011      9          $231.21


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0193363124-05      J.J.            Charles Deng Acupuncture PC                 97810      06/16/2011-07/07/2011      8         $240.00
0193363124-05      J.J.            Charles Deng Acupuncture PC                 97811      06/16/2011-07/07/2011      8         $205.52
0193363124-05      J.J.            Charles Deng Acupuncture PC                 97810      07/11/2011-08/17/2011      11        $330.00
0193363124-05      J.J.            Charles Deng Acupuncture PC                 97811      07/11/2011-08/17/2011      11        $282.59
0193363124-05      J.J.            Charles Deng Acupuncture PC                 97810      09/12/2011-10/17/2011      9         $270.00
0193363124-05      J.J.            Charles Deng Acupuncture PC                 97811      09/12/2011-10/17/2011      9         $231.21
0195186085-04      E.L.            Charles Deng Acupuncture PC                 97810      03/14/2011-04/06/2011      7         $455.00
0195186085-04      E.L.            Charles Deng Acupuncture PC                 99203            03/14/2011           1          $80.00
0195186085-04      E.L.            Charles Deng Acupuncture PC                 97810      04/20/2011-05/24/2011      12        $360.00
0195186085-04      E.L.            Charles Deng Acupuncture PC                 97811      04/20/2011-05/24/2011      12        $308.28
0195186085-04      E.L.            Charles Deng Acupuncture PC                 97810      06/01/2011-06/08/2011      2          $60.00
0196676050-03      J.J.            Charles Deng Acupuncture PC                 97810      03/28/2011-05/04/2011      12        $360.00
0196676050-03      J.J.            Charles Deng Acupuncture PC                 99203            03/28/2011           1          $80.00
0196676050-03      J.J.            Charles Deng Acupuncture PC                 97811      04/19/2011-05/04/2011      9         $231.21
0196676050-03      J.J.            Charles Deng Acupuncture PC                 97810      09/20/2011-10/07/2011      6         $180.00
0196676050-03      J.J.            Charles Deng Acupuncture PC                 97811      09/20/2011-10/07/2011      6         $154.14
0196676050-03      J.J.            Charles Deng Acupuncture PC                 97810      01/18/2012-03/06/2012      9         $270.00
0196676050-03      J.J.            Charles Deng Acupuncture PC                 97811      01/18/2012-03/06/2012      9         $231.21
0199001207-01     L.B.             Charles Deng Acupuncture PC                 97810      04/19/2011-06/01/2011      13        $390.00
0199001207-01     L.B.             Charles Deng Acupuncture PC                 99203            04/19/2011           1          $80.00
0199001207-01     L.B.             Charles Deng Acupuncture PC                 97810            07/05/2011           1          $30.00
0199001207-01     L.B.             Charles Deng Acupuncture PC                 97810            07/27/2011           1          $30.00
0199001207-04     A.E.             Charles Deng Acupuncture PC                 99203            04/21/2011           1          $80.00
0199001207-04     A.E.             Charles Deng Acupuncture PC                 97810      04/22/2011-05/24/2011      10        $300.00
0199001207-04     A.E.             Charles Deng Acupuncture PC                 97811      04/22/2011-05/24/2011      10        $513.80
0199001207-04     A.E.             Charles Deng Acupuncture PC                 97810      06/15/2011-06/23/2011      4         $120.00
0199001207-04     A.E.             Charles Deng Acupuncture PC                 97811      06/15/2011-06/23/2011      4         $102.76
0199001207-04     A.E.             Charles Deng Acupuncture PC                 97810      07/12/2011-07/20/2011      3          $90.00
0199001207-04     A.E.             Charles Deng Acupuncture PC                 97811      07/18/2011-07/20/2011      2          $51.38
0199001207-05     R.H.             Charles Deng Acupuncture PC                 97810      04/18/2011-05/04/2011      7         $210.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0199001207-05     R.H.             Charles Deng Acupuncture PC                 97811      04/18/2011-05/04/2011      7         $359.66
0199001207-05     R.H.             Charles Deng Acupuncture PC                 99203            04/18/2011           1          $80.00
0199001207-05     R.H.             Charles Deng Acupuncture PC                 97810      05/06/2011-05/27/2011      6         $180.00
0199001207-05     R.H.             Charles Deng Acupuncture PC                 97811      05/06/2011-05/27/2011      6         $308.28
0199001207-05     R.H.             Charles Deng Acupuncture PC                 97810      06/02/2011-07/01/2011      4         $120.00
0199001207-05     R.H.             Charles Deng Acupuncture PC                 97811      06/02/2011-07/01/2011      4         $205.52
0199001207-05     R.H.             Charles Deng Acupuncture PC                 97810      07/12/2011-07/15/2011      2          $60.00
0199001207-05     R.H.             Charles Deng Acupuncture PC                 97811      07/12/2011-07/15/2011      2         $102.76
0204726103-01     A.C.             Charles Deng Acupuncture PC                 97811      07/08/2011-07/28/2011      10        $513.80
0204726103-01     A.C.             Charles Deng Acupuncture PC                 97811      08/02/2011-08/17/2011      7         $359.66
0205197642-01     G.D.             Charles Deng Acupuncture PC                 97811      06/14/2011-06/29/2011      7         $179.83
0205197642-01     G.D.             Charles Deng Acupuncture PC                 97810      06/14/2011-06/29/2011      7         $210.00
0205197642-01     G.D.             Charles Deng Acupuncture PC                 97811      06/14/2011-06/29/2011      7         $179.83
0205197642-01     G.D.             Charles Deng Acupuncture PC                 99203            06/14/2011           1          $80.00
0205197642-01     G.D.             Charles Deng Acupuncture PC                 97811            07/05/2011           1          $25.69
0205197642-01     G.D.             Charles Deng Acupuncture PC                 97811      07/11/2011-07/28/2011      5         $128.45
0205631724-05     M.P.             Charles Deng Acupuncture PC                 99203            04/14/2011           1          $80.00
0205631724-05     M.P.             Charles Deng Acupuncture PC                 97810      07/13/2011-08/03/2011      2          $60.00
0205631724-05     M.P.             Charles Deng Acupuncture PC                 97811      07/13/2011-08/03/2011      2          $51.38
0206919284-02      J.J.            Charles Deng Acupuncture PC                 97811      07/15/2011-08/02/2011      7         $179.83
0206919284-02      J.J.            Charles Deng Acupuncture PC                 97811      06/22/2011-07/14/2011      10        $256.90
0206919284-02      J.J.            Charles Deng Acupuncture PC                 97811      08/05/2011-08/17/2011      5         $128.45
0206919284-02      J.J.            Charles Deng Acupuncture PC                 97810      03/09/2012-03/16/2012      2          $60.00
0206919284-02      J.J.            Charles Deng Acupuncture PC                 97811      03/09/2012-03/16/2012      2          $51.38
0208669697-03      J.S.            Charles Deng Acupuncture PC                 99203            06/20/2011           1          $80.00
0208669697-03      J.S.            Charles Deng Acupuncture PC                 97810      09/23/2011-10/24/2011      4         $120.00
0208669697-03      J.S.            Charles Deng Acupuncture PC                 97811      09/23/2011-10/24/2011      4         $102.76
0208669697-03      J.S.            Charles Deng Acupuncture PC                 97810      11/16/2011-12/05/2011      2          $60.00
0208669697-03      J.S.            Charles Deng Acupuncture PC                 97811      11/16/2011-12/05/2011      2         $102.76
0210577441-05      F.P.            Charles Deng Acupuncture PC                 97810      11/10/2011-11/18/2011      3          $90.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0210577441-05      F.P.            Charles Deng Acupuncture PC                 97811      11/10/2011-11/18/2011      3          $77.07
0210996961-05      J.B.            Charles Deng Acupuncture PC                 97811      07/11/2011-07/29/2011      9         $462.42
0211701685-05      J.L.            Charles Deng Acupuncture PC                 99203            08/01/2011           1          $80.00
0211701685-05      J.L.            Charles Deng Acupuncture PC                 97810      11/10/2011-12/14/2011      5         $150.00
0211701685-05      J.L.            Charles Deng Acupuncture PC                 97811      11/10/2011-12/14/2011      5         $205.52
0211701685-06     C.L.             Charles Deng Acupuncture PC                 99203            08/02/2011           1          $80.00
0211701685-06     C.L.             Charles Deng Acupuncture PC                 97810            11/10/2011           1          $30.00
0211701685-06     C.L.             Charles Deng Acupuncture PC                 97811            11/10/2011           1          $25.69
0213337363-02     L.G.             Charles Deng Acupuncture PC                 97810      07/14/2011-07/20/2011      4         $120.00
0213337363-02     L.G.             Charles Deng Acupuncture PC                 97811      07/14/2011-07/20/2011      4         $205.52
0213337363-02     L.G.             Charles Deng Acupuncture PC                 97810      06/08/2011-06/16/2011      5         $150.00
0213337363-02     L.G.             Charles Deng Acupuncture PC                 97811      06/08/2011-06/16/2011      5         $256.90
0213337363-02     L.G.             Charles Deng Acupuncture PC                 99203            06/08/2011           1          $80.00
0213337363-02     L.G.             Charles Deng Acupuncture PC                 97810      06/17/2011-07/11/2011      9         $270.00
0213337363-02     L.G.             Charles Deng Acupuncture PC                 97811      06/17/2011-07/11/2011      9         $359.66
0213337363-02     L.G.             Charles Deng Acupuncture PC                 97810      08/03/2011-08/10/2011      3          $90.00
0213337363-02     L.G.             Charles Deng Acupuncture PC                 97811      08/03/2011-08/10/2011      3         $154.14
0213337363-02     L.G.             Charles Deng Acupuncture PC                 97810      09/15/2011-09/29/2011      7         $210.00
0213337363-02     L.G.             Charles Deng Acupuncture PC                 97811      09/15/2011-09/29/2011      7         $308.28
0213337363-02     L.G.             Charles Deng Acupuncture PC                 99213            09/15/2011           1          $70.00
0213337363-02     L.G.             Charles Deng Acupuncture PC                 97810      09/30/2011-10/20/2011      7         $210.00
0213337363-02     L.G.             Charles Deng Acupuncture PC                 97811      09/30/2011-10/20/2011      7         $308.28
0213337363-02     L.G.             Charles Deng Acupuncture PC                 97810      11/10/2011-11/23/2011      3          $90.00
0213337363-02     L.G.             Charles Deng Acupuncture PC                 97811      11/10/2011-11/23/2011      3         $154.14
0214337768-03      S.L.            Charles Deng Acupuncture PC                 97810      01/24/2012-03/06/2012      14        $420.00
0214337768-03      S.L.            Charles Deng Acupuncture PC                 97811      01/24/2012-03/06/2012      14        $359.66
0214337768-03      S.L.            Charles Deng Acupuncture PC                 97810      03/08/2012-04/05/2012      7         $210.00
0214337768-03      S.L.            Charles Deng Acupuncture PC                 97811      03/08/2012-04/05/2012      7         $179.83
0214337768-04     A.P.             Charles Deng Acupuncture PC                 97810      08/18/2011-09/09/2011      8         $240.00
0214337768-04     A.P.             Charles Deng Acupuncture PC                 97811      08/18/2011-09/09/2011      8         $256.90


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0214337768-04     A.P.             Charles Deng Acupuncture PC                 97810      07/27/2011-08/17/2011      8         $240.00
0214337768-04     A.P.             Charles Deng Acupuncture PC                 97811      07/27/2011-08/17/2011      8         $411.04
0214337768-04     A.P.             Charles Deng Acupuncture PC                 99203            07/27/2011           1          $80.00
0214337768-04     A.P.             Charles Deng Acupuncture PC                 97810      09/12/2011-10/17/2011      11        $330.00
0214337768-04     A.P.             Charles Deng Acupuncture PC                 97811      09/12/2011-10/17/2011      11        $282.59
0214337768-04     A.P.             Charles Deng Acupuncture PC                 97810      11/22/2011-12/14/2011      5         $150.00
0214337768-04     A.P.             Charles Deng Acupuncture PC                 97811      11/22/2011-12/14/2011      5         $128.45
0214337768-05      E.L.            Charles Deng Acupuncture PC                 97810      09/22/2011-10/03/2011      5         $150.00
0214337768-05      E.L.            Charles Deng Acupuncture PC                 97811      09/22/2011-10/03/2011      5         $128.45
0214337768-05      E.L.            Charles Deng Acupuncture PC                 97810      10/10/2011-10/25/2011      8         $240.00
0214337768-05      E.L.            Charles Deng Acupuncture PC                 97811      10/10/2011-10/25/2011      8         $333.97
0214918740-01      J.P.            Charles Deng Acupuncture PC                 97810      09/12/2011-10/10/2011      8         $240.00
0214918740-01      J.P.            Charles Deng Acupuncture PC                 97811      09/12/2011-10/10/2011      8         $205.52
0214918740-01      J.P.            Charles Deng Acupuncture PC                 99203            09/12/2011           1          $80.00
0214918740-01      J.P.            Charles Deng Acupuncture PC                 97810      11/08/2011-11/14/2011      2          $60.00
0214918740-01      J.P.            Charles Deng Acupuncture PC                 97811      11/08/2011-11/14/2011      2          $51.38
0214918740-05      T.P.            Charles Deng Acupuncture PC                 97810      09/06/2011-10/11/2011      12        $360.00
0214918740-05      T.P.            Charles Deng Acupuncture PC                 97811      09/06/2011-10/11/2011      12        $308.28
0214918740-05      T.P.            Charles Deng Acupuncture PC                 99203            09/06/2011           1          $80.00
0214918740-05      T.P.            Charles Deng Acupuncture PC                 97810      10/14/2011-10/24/2011      4         $120.00
0214918740-05      T.P.            Charles Deng Acupuncture PC                 97811      10/14/2011-10/24/2011      4         $102.76
0217120120-03     Y.B.             Charles Deng Acupuncture PC                 97810      01/19/2012-02/16/2012      4         $120.00
0217120120-03     Y.B.             Charles Deng Acupuncture PC                 97811      01/19/2012-02/16/2012      4         $102.76
0223443532-05     R.M.             Charles Deng Acupuncture PC                 97810      10/31/2011-11/10/2011      6         $180.00
0223443532-05     R.M.             Charles Deng Acupuncture PC                 97811      10/31/2011-11/10/2011      6         $308.28
0223443532-05     R.M.             Charles Deng Acupuncture PC                 99203            10/31/2011           1          $80.00
0223443532-05     R.M.             Charles Deng Acupuncture PC                 97810      11/15/2011-12/22/2011      10        $300.00
0223443532-05     R.M.             Charles Deng Acupuncture PC                 97811      11/15/2011-12/22/2011      10        $513.80
0223443532-06     Y.P.             Charles Deng Acupuncture PC                 97810      01/17/2012-02/23/2012      12        $360.00
0223443532-06     Y.P.             Charles Deng Acupuncture PC                 97811      01/17/2012-02/23/2012      12        $308.28


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0223443532-07     B.B.             Charles Deng Acupuncture PC                 97811      11/01/2011-11/10/2011      5         $256.90
0223443532-07     B.B.             Charles Deng Acupuncture PC                 97811      11/15/2011-12/16/2011      11        $462.42
0223443532-07     B.B.             Charles Deng Acupuncture PC                 97810      01/18/2012-02/22/2012      9         $270.00
0223443532-07     B.B.             Charles Deng Acupuncture PC                 97811      01/18/2012-02/22/2012      9         $436.73
0223443532-07     B.B.             Charles Deng Acupuncture PC                 97810      02/29/2012-04/03/2012      8         $240.00
0223443532-07     B.B.             Charles Deng Acupuncture PC                 97811      02/29/2012-04/03/2012      8         $411.04
0223443532-07     B.B.             Charles Deng Acupuncture PC                 99213            02/29/2012           1          $70.00
0223443532-07     B.B.             Charles Deng Acupuncture PC                 97810            04/13/2012           1          $30.00
0223443532-07     B.B.             Charles Deng Acupuncture PC                 97811            04/13/2012           1          $51.38
0224293852-03     A.D.             Charles Deng Acupuncture PC                 97810            09/30/2011           1          $30.00
0224293852-03     A.D.             Charles Deng Acupuncture PC                 97811            09/30/2011           1          $25.69
0224293852-03     A.D.             Charles Deng Acupuncture PC                 99203            09/30/2011           1          $80.00
0227297040-03     M.A.             Charles Deng Acupuncture PC                 97810      12/28/2011-01/05/2012      5         $150.00
0227297040-03     M.A.             Charles Deng Acupuncture PC                 97811      12/28/2011-01/05/2012      5         $256.90
0227297040-03     M.A.             Charles Deng Acupuncture PC                 99203            12/28/2011           1          $80.00
0227297040-03     M.A.             Charles Deng Acupuncture PC                 97810      01/19/2012-02/16/2012      7         $210.00
0227297040-03     M.A.             Charles Deng Acupuncture PC                 97811      01/19/2012-02/16/2012      7         $359.66
0227297040-03     M.A.             Charles Deng Acupuncture PC                 99213            02/23/2012           1          $70.00
0228760237-01     K.L.             Charles Deng Acupuncture PC                 99213            03/09/2012           1          $70.00
0229571665-03      S.F.            Charles Deng Acupuncture PC                 97810      06/18/2012-06/25/2012      2          $60.00
0229571665-03      S.F.            Charles Deng Acupuncture PC                 97811      06/18/2012-06/25/2012      2          $51.38
0230244971-03     G.M.             Charles Deng Acupuncture PC                 99203            12/29/2011           1          $80.00
0230244971-03     G.M.             Charles Deng Acupuncture PC                 97810      03/09/2012-03/13/2012      2          $60.00
0230244971-03     G.M.             Charles Deng Acupuncture PC                 97811      03/09/2012-03/13/2012      2          $51.38
0230244971-03     G.M.             Charles Deng Acupuncture PC                 97810            05/01/2012           1          $30.00
0230244971-03     G.M.             Charles Deng Acupuncture PC                 97811            05/01/2012           1          $25.69
0231030412-01     R.H.             Charles Deng Acupuncture PC                 97810      01/03/2012-02/08/2012      14        $420.00
0231030412-01     R.H.             Charles Deng Acupuncture PC                 97811      01/03/2012-02/08/2012      14        $488.11
0231030412-01     R.H.             Charles Deng Acupuncture PC                 99203            01/03/2012           1          $80.00
0231030412-01     R.H.             Charles Deng Acupuncture PC                 97810      02/13/2012-02/24/2012      6         $180.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0231030412-01     R.H.             Charles Deng Acupuncture PC                 97811      02/13/2012-02/24/2012      6         $154.14
0231030412-01     R.H.             Charles Deng Acupuncture PC                 97810      03/21/2012-04/04/2012      3          $90.00
0231030412-01     R.H.             Charles Deng Acupuncture PC                 97811      03/21/2012-04/04/2012      3          $77.07
0231030412-01     R.H.             Charles Deng Acupuncture PC                 99213            03/21/2012           1          $70.00
0231030412-01     R.H.             Charles Deng Acupuncture PC                 97810      04/11/2012-04/12/2012      2          $60.00
0231030412-01     R.H.             Charles Deng Acupuncture PC                 97811      04/11/2012-04/12/2012      2          $51.38
0231030412-05     R.H.             Charles Deng Acupuncture PC                 97810      01/03/2012-01/13/2012      6         $180.00
0231030412-05     R.H.             Charles Deng Acupuncture PC                 97811      01/03/2012-01/13/2012      6         $308.28
0231030412-05     R.H.             Charles Deng Acupuncture PC                 99203            01/03/2012           1          $80.00
0231832668-03     D.D.             Charles Deng Acupuncture PC                 97810      12/12/2011-12/22/2011      3          $90.00
0231832668-03     D.D.             Charles Deng Acupuncture PC                 97811      12/12/2011-12/22/2011      3          $77.07
0231832668-03     D.D.             Charles Deng Acupuncture PC                 99203            12/12/2011           1          $80.00
0231832668-07      J.D.            Charles Deng Acupuncture PC                 97810      12/12/2011-01/03/2012      5         $150.00
0231832668-07      J.D.            Charles Deng Acupuncture PC                 97811      12/12/2011-01/03/2012      5         $256.90
0231832668-07      J.D.            Charles Deng Acupuncture PC                 99203            12/12/2011           1          $80.00
0231832668-07      J.D.            Charles Deng Acupuncture PC                 97810      01/25/2012-02/23/2012      2          $60.00
0231832668-07      J.D.            Charles Deng Acupuncture PC                 97811      01/25/2012-02/23/2012      2         $102.76
0231832668-07      J.D.            Charles Deng Acupuncture PC                 97810            03/12/2012           1          $30.00
0231832668-07      J.D.            Charles Deng Acupuncture PC                 97811            03/12/2012           1          $51.38
0231832668-07      J.D.            Charles Deng Acupuncture PC                 99213            03/12/2012           1          $70.00
0231928466-01     G.M.             Charles Deng Acupuncture PC                 97811      01/19/2012-03/07/2012      18        $462.42
0231928466-01     G.M.             Charles Deng Acupuncture PC                 97811      03/07/2012-04/10/2012      10        $256.90
0231928466-01     G.M.             Charles Deng Acupuncture PC                 97810      04/11/2012-05/18/2012      9         $270.00
0231928466-01     G.M.             Charles Deng Acupuncture PC                 97811      04/11/2012-05/18/2012      9         $231.21
0231928466-06     A.C.             Charles Deng Acupuncture PC                 97810      01/17/2012-03/01/2012      11        $330.00
0231928466-06     A.C.             Charles Deng Acupuncture PC                 97811      01/17/2012-03/01/2012      11        $282.59
0231928466-06     A.C.             Charles Deng Acupuncture PC                 99203            01/17/2012           1          $80.00
0231928466-06     A.C.             Charles Deng Acupuncture PC                 97810      03/06/2012-03/29/2012      8         $240.00
0231928466-06     A.C.             Charles Deng Acupuncture PC                 97811      03/06/2012-03/29/2012      8         $205.52
0231928466-06     A.C.             Charles Deng Acupuncture PC                 99213            03/06/2012           1          $70.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0231928466-06     A.C.             Charles Deng Acupuncture PC                 97810      04/10/2012-05/01/2012      6         $180.00
0231928466-06     A.C.             Charles Deng Acupuncture PC                 97811      04/10/2012-05/01/2012      6         $154.14
0231928466-08     M.M.             Charles Deng Acupuncture PC                 97810      02/09/2012-03/07/2012      6         $180.00
0231928466-08     M.M.             Charles Deng Acupuncture PC                 97811      02/09/2012-03/07/2012      6         $154.14
0231928466-08     M.M.             Charles Deng Acupuncture PC                 99203            02/09/2012           1          $80.00
0231928466-08     M.M.             Charles Deng Acupuncture PC                 97810      03/14/2012-04/10/2012      7         $210.00
0231928466-08     M.M.             Charles Deng Acupuncture PC                 97810      04/12/2012-04/18/2012      3          $90.00
0232442087-03     A.L.             Charles Deng Acupuncture PC                 97810      04/13/2012-05/18/2012      5         $150.00
0232442087-03     A.L.             Charles Deng Acupuncture PC                 97811      04/13/2012-05/18/2012      5         $256.90
0236474912-03     T.N.             Charles Deng Acupuncture PC                 97811      02/22/2012-03/22/2012      11        $282.59
0236474912-03     T.N.             Charles Deng Acupuncture PC                 97811      04/02/2012-04/09/2012      3          $77.07
0236474912-03     T.N.             Charles Deng Acupuncture PC                 97811      04/17/2012-05/03/2012      4         $102.76
0237989108-03      E.E.            Charles Deng Acupuncture PC                 99203            03/19/2012           1          $80.00
0246847370-04     M.F.             Charles Deng Acupuncture PC                 99203            05/18/2012           1          $80.00
0246847370-04     M.F.             Charles Deng Acupuncture PC                 97810      10/02/2012-10/03/2012      2          $60.00
0246847370-04     M.F.             Charles Deng Acupuncture PC                 97811      10/02/2012-10/03/2012      2          $51.38
0246847370-05     W.J.             Charles Deng Acupuncture PC                 99203            05/22/2012           1          $80.00
0247042302-01     B.B.             Charles Deng Acupuncture PC                 97811      08/27/2012-10/02/2012      11        $282.59
0247385354-01      J.E.            Charles Deng Acupuncture PC                 99203            06/07/2012           1          $80.00
0247385354-03     L.B.             Charles Deng Acupuncture PC                 97810      06/07/2012-07/10/2012      10        $300.00
0247385354-03     L.B.             Charles Deng Acupuncture PC                 97811      06/07/2012-07/10/2012      10        $256.90
0247385354-03     L.B.             Charles Deng Acupuncture PC                 99203            06/07/2012           1          $80.00
0247385354-03     L.B.             Charles Deng Acupuncture PC                 97810      07/11/2012-07/17/2012      3          $90.00
0247385354-03     L.B.             Charles Deng Acupuncture PC                 97811      07/11/2012-07/17/2012      3          $77.07
0247385354-03     L.B.             Charles Deng Acupuncture PC                 97810      07/19/2012-08/23/2012      6         $180.00
0247385354-03     L.B.             Charles Deng Acupuncture PC                 97811      07/19/2012-08/23/2012      6         $154.14
0247385354-03     L.B.             Charles Deng Acupuncture PC                 97810      09/06/2012-09/26/2012      7         $210.00
0247385354-03     L.B.             Charles Deng Acupuncture PC                 97811      09/06/2012-09/26/2012      7         $179.83
0247385354-05      R.I.            Charles Deng Acupuncture PC                 99203            06/07/2012           1          $80.00
0248229486-06     K.L.             Charles Deng Acupuncture PC                 97811      06/20/2012-07/26/2012      7         $256.90


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0250464211-01     O.S.             Charles Deng Acupuncture PC                 97810      05/25/2012-06/26/2012      11        $330.00
0250464211-01     O.S.             Charles Deng Acupuncture PC                 97811      05/25/2012-06/26/2012      11        $411.04
0250464211-01     O.S.             Charles Deng Acupuncture PC                 99203            05/25/2012           1          $80.00
0253727044-01     G.M.             Charles Deng Acupuncture PC                 99203            07/17/2012           1          $80.00
0253727044-01     G.M.             Charles Deng Acupuncture PC                 97810      10/26/2012-11/20/2012      7         $210.00
0253727044-01     G.M.             Charles Deng Acupuncture PC                 97811      10/26/2012-11/20/2012      7         $179.83
0253727044-01     G.M.             Charles Deng Acupuncture PC                 97810      12/10/2012-01/09/2013      9         $270.00
0253727044-01     G.M.             Charles Deng Acupuncture PC                 97811      12/10/2012-01/09/2013      9         $231.21
0253727044-01     G.M.             Charles Deng Acupuncture PC                 97810            02/08/2013           1          $30.00
0253727044-01     G.M.             Charles Deng Acupuncture PC                 97810      02/14/2013-02/28/2013      5         $150.00
0253727044-01     G.M.             Charles Deng Acupuncture PC                 97811      02/18/2013-02/28/2013      4         $179.83
0253727044-01     G.M.             Charles Deng Acupuncture PC                 99199      02/22/2013-02/28/2013      3         $150.00
0253727044-01     G.M.             Charles Deng Acupuncture PC                 97810      03/05/2013-03/18/2013      3          $90.00
0253727044-01     G.M.             Charles Deng Acupuncture PC                 97811            03/05/2013           1          $25.69
0253727044-01     G.M.             Charles Deng Acupuncture PC                 99199      03/05/2013-03/18/2013      3         $150.00
0253727044-01     G.M.             Charles Deng Acupuncture PC                 97810      03/21/2013-04/03/2013      3          $90.00
0253727044-01     G.M.             Charles Deng Acupuncture PC                 99199      03/21/2013-04/03/2013      3         $150.00
0253727044-01     G.M.             Charles Deng Acupuncture PC                 97810      04/12/2013-05/01/2013      7         $210.00
0253727044-01     G.M.             Charles Deng Acupuncture PC                 99199      04/12/2013-05/01/2013      6         $300.00
0253727044-04     D.M.             Charles Deng Acupuncture PC                 99203            07/02/2012           1          $80.00
0253727044-04     D.M.             Charles Deng Acupuncture PC                 97810            02/11/2013           1          $30.00
0253727044-04     D.M.             Charles Deng Acupuncture PC                 97810      02/25/2013-03/01/2013      2          $60.00
0253727044-04     D.M.             Charles Deng Acupuncture PC                 99199      02/25/2013-03/01/2013      2         $100.00
0253727044-04     D.M.             Charles Deng Acupuncture PC                 97810      03/05/2013-03/18/2013      4         $120.00
0253727044-04     D.M.             Charles Deng Acupuncture PC                 99199      03/05/2013-03/18/2013      4         $200.00
0253727044-04     D.M.             Charles Deng Acupuncture PC                 97810      03/22/2013-04/02/2013      3          $90.00
0253727044-04     D.M.             Charles Deng Acupuncture PC                 99199      03/22/2013-04/02/2013      3         $150.00
0253727044-04     D.M.             Charles Deng Acupuncture PC                 97810      04/10/2013-04/29/2013      5         $150.00
0253727044-04     D.M.             Charles Deng Acupuncture PC                 99199      04/10/2013-04/29/2013      5         $250.00
0253727044-14     M.B.             Charles Deng Acupuncture PC                 99203            07/30/2012           1          $80.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0256679861-06      J.P.            Charles Deng Acupuncture PC                 97810      08/27/2012-09/12/2012      6         $180.00
0256679861-06      J.P.            Charles Deng Acupuncture PC                 97811      08/27/2012-09/12/2012      6         $154.14
0256679861-06      J.P.            Charles Deng Acupuncture PC                 99203            08/27/2012           1          $80.00
0256679861-06      J.P.            Charles Deng Acupuncture PC                 97810            11/06/2012           1          $30.00
0256679861-06      J.P.            Charles Deng Acupuncture PC                 97811            11/06/2012           1          $25.69
0256679861-07      S.C.            Charles Deng Acupuncture PC                 99203            08/27/2012           1          $80.00
0256679861-07      S.C.            Charles Deng Acupuncture PC                 97810      08/28/2012-09/10/2012      4         $120.00
0256679861-07      S.C.            Charles Deng Acupuncture PC                 97811      08/28/2012-09/10/2012      4         $102.76
0257961391-07     M.P.             Charles Deng Acupuncture PC                 97811      08/27/2012-10/08/2012      17        $873.46
0257961391-07     M.P.             Charles Deng Acupuncture PC                 99203            08/27/2012           1          $80.00
0258075928-01     C.L.             Charles Deng Acupuncture PC                 97810      09/10/2012-10/10/2012      9         $270.00
0258075928-01     C.L.             Charles Deng Acupuncture PC                 97811      09/10/2012-10/10/2012      9         $231.21
0258075928-01     C.L.             Charles Deng Acupuncture PC                 99203            09/10/2012           1          $80.00
0258075928-01     C.L.             Charles Deng Acupuncture PC                 97810            02/13/2013           1          $30.00
0258075928-01     C.L.             Charles Deng Acupuncture PC                 97811            02/13/2013           1          $25.69
0258075928-01     C.L.             Charles Deng Acupuncture PC                 97810      02/18/2013-02/28/2013      3          $90.00
0258075928-01     C.L.             Charles Deng Acupuncture PC                 97811      02/18/2013-02/28/2013      3         $128.45
0258075928-01     C.L.             Charles Deng Acupuncture PC                 99199      02/22/2013-02/28/2013      2         $100.00
0258075928-01     C.L.             Charles Deng Acupuncture PC                 97810      03/04/2013-03/06/2013      2          $60.00
0258075928-01     C.L.             Charles Deng Acupuncture PC                 99199      03/04/2013-03/06/2013      2         $100.00
0258075928-01     C.L.             Charles Deng Acupuncture PC                 97811            03/06/2013           1          $25.69
0258075928-01     C.L.             Charles Deng Acupuncture PC                 97810      04/02/2013-04/08/2013      2          $60.00
0258075928-01     C.L.             Charles Deng Acupuncture PC                 99199      04/02/2013-04/08/2013      2         $100.00
0259040152-03      R.J.            Charles Deng Acupuncture PC                 99203            09/21/2012           1          $80.00
0259040152-03      R.J.            Charles Deng Acupuncture PC                 97810      12/11/2012-01/14/2013      4         $120.00
0259040152-03      R.J.            Charles Deng Acupuncture PC                 97811      12/11/2012-01/14/2013      4         $102.76
0259681756-03      T.P.            Charles Deng Acupuncture PC                 97811      09/25/2012-10/08/2012      5         $154.14
0259681756-03      T.P.            Charles Deng Acupuncture PC                 99203            09/25/2012           1          $80.00
0259681756-03      T.P.            Charles Deng Acupuncture PC                 97811      10/15/2012-11/23/2012      9         $462.42
0259681756-03      T.P.            Charles Deng Acupuncture PC                 97811      12/14/2012-01/18/2013      7         $179.83


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0259681756-03      T.P.            Charles Deng Acupuncture PC                 97810      02/15/2013-02/28/2013      2          $60.00
0259681756-03      T.P.            Charles Deng Acupuncture PC                 97810            03/19/2013           1          $30.00
0259681756-03      T.P.            Charles Deng Acupuncture PC                 99199            03/19/2013           1          $50.00
0259681756-03      T.P.            Charles Deng Acupuncture PC                 97810      04/05/2013-04/09/2013      2          $60.00
0259681756-03      T.P.            Charles Deng Acupuncture PC                 99199      04/05/2013-04/09/2013      2         $100.00
0259686599-03     V.C.             Charles Deng Acupuncture PC                 97810      01/24/2013-02/12/2013      4         $120.00
0259686599-03     V.C.             Charles Deng Acupuncture PC                 97810            02/18/2013           1          $30.00
0259686599-07     L.C.             Charles Deng Acupuncture PC                 97810      01/24/2013-02/12/2013      4         $120.00
0259686599-07     L.C.             Charles Deng Acupuncture PC                 97811      01/24/2013-02/12/2013      4         $102.76
0259686599-07     L.C.             Charles Deng Acupuncture PC                 97810            02/18/2013           1          $30.00
0259686599-07     L.C.             Charles Deng Acupuncture PC                 97811            02/18/2013           1          $25.69
0260066378-01      S.R.            Charles Deng Acupuncture PC                 97810      10/12/2012-11/23/2012      13        $390.00
0260066378-01      S.R.            Charles Deng Acupuncture PC                 97811      10/12/2012-11/23/2012      13        $333.97
0260066378-01      S.R.            Charles Deng Acupuncture PC                 97810      12/17/2012-01/21/2013      9         $270.00
0260066378-01      S.R.            Charles Deng Acupuncture PC                 97811      12/17/2012-01/14/2013      6         $154.14
0260066378-01      S.R.            Charles Deng Acupuncture PC                 97810      01/25/2013-02/14/2013      7         $210.00
0260066378-01      S.R.            Charles Deng Acupuncture PC                 97811      02/04/2013-02/14/2013      4         $102.76
0260066378-01      S.R.            Charles Deng Acupuncture PC                 97810      02/20/2013-02/26/2013      3          $90.00
0260066378-01      S.R.            Charles Deng Acupuncture PC                 97811            02/20/2013           1          $25.69
0260066378-01      S.R.            Charles Deng Acupuncture PC                 99199      02/22/2013-02/26/2013      2         $100.00
0260066378-05      F.C.            Charles Deng Acupuncture PC                 97810      10/09/2012-11/23/2012      18        $540.00
0260066378-05      F.C.            Charles Deng Acupuncture PC                 97811      10/09/2012-11/23/2012      18        $462.42
0260066378-05      F.C.            Charles Deng Acupuncture PC                 97810      12/12/2012-01/18/2013      15        $450.00
0260066378-05      F.C.            Charles Deng Acupuncture PC                 97811      12/12/2012-01/18/2013      15        $385.35
0260066378-05      F.C.            Charles Deng Acupuncture PC                 97810      01/30/2013-02/13/2013      7         $210.00
0260066378-05      F.C.            Charles Deng Acupuncture PC                 97811      02/01/2013-02/13/2013      5         $128.45
0260066378-05      F.C.            Charles Deng Acupuncture PC                 97810      02/13/2013-02/27/2013      7         $210.00
0260066378-05      F.C.            Charles Deng Acupuncture PC                 97811      02/13/2013-02/20/2013      4         $102.76
0260066378-05      F.C.            Charles Deng Acupuncture PC                 99199      02/22/2013-02/27/2013      3         $150.00
0261148811-03     E.C.             Charles Deng Acupuncture PC                 97810      12/12/2012-01/16/2013      11        $330.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0261148811-03     E.C.             Charles Deng Acupuncture PC                 97811      12/12/2012-01/02/2013      6         $154.14
0261148811-03     E.C.             Charles Deng Acupuncture PC                 97810      01/24/2013-02/13/2013      7         $210.00
0261148811-03     E.C.             Charles Deng Acupuncture PC                 97810      02/18/2013-02/27/2013      4         $120.00
0261148811-03     E.C.             Charles Deng Acupuncture PC                 99199      02/20/2013-02/27/2013      3         $150.00
0261148811-03     E.C.             Charles Deng Acupuncture PC                 97810      03/04/2013-03/11/2013      2          $60.00
0261148811-03     E.C.             Charles Deng Acupuncture PC                 99199      03/04/2013-03/18/2013      3         $150.00
0268725595-01      J.B.            Charles Deng Acupuncture PC                 99199      02/21/2013-02/28/2013      5         $250.00
0268725595-01      J.B.            Charles Deng Acupuncture PC                 99199      03/05/2013-03/19/2013      4         $200.00
0268725595-01      J.B.            Charles Deng Acupuncture PC                 97810      03/21/2013-04/03/2013      3          $90.00
0268725595-01      J.B.            Charles Deng Acupuncture PC                 99199      03/21/2013-04/04/2013      5         $250.00
0268725595-01      J.B.            Charles Deng Acupuncture PC                 97810            04/10/2013           1          $30.00
0268725595-01      J.B.            Charles Deng Acupuncture PC                 99199      04/10/2013-04/15/2013      2         $100.00
0268725595-04     N.A.             Charles Deng Acupuncture PC                 99199            02/22/2013           1          $50.00
0268725595-04     N.A.             Charles Deng Acupuncture PC                 99199      03/05/2013-03/06/2013      2         $100.00
0268725595-04     N.A.             Charles Deng Acupuncture PC                 99199      03/22/2013-04/05/2013      4         $200.00
0268725595-04     N.A.             Charles Deng Acupuncture PC                 97810      04/10/2013-04/26/2013      8         $240.00
0268725595-04     N.A.             Charles Deng Acupuncture PC                 99199      04/10/2013-04/25/2013      6         $300.00
0268725595-04     N.A.             Charles Deng Acupuncture PC                 99199      07/19/2013-07/26/2013      4         $200.00
0268725595-04     N.A.             Charles Deng Acupuncture PC                 97810            07/26/2013           1          $30.00
0268725595-04     N.A.             Charles Deng Acupuncture PC                 97810            08/02/2013           1          $30.00
0268725595-04     N.A.             Charles Deng Acupuncture PC                 99199            08/02/2013           1          $50.00
0268725595-06     D.P.             Charles Deng Acupuncture PC                 99199      03/12/2013-03/18/2013      3         $150.00
0268725595-06     D.P.             Charles Deng Acupuncture PC                 97810      04/11/2013-04/24/2013      2          $60.00
0268725595-06     D.P.             Charles Deng Acupuncture PC                 97811            04/11/2013           1          $25.69
0268725595-06     D.P.             Charles Deng Acupuncture PC                 99199      04/11/2013-04/30/2013      5         $250.00
0269624242-03     O.C.             Charles Deng Acupuncture PC                 99203            12/12/2012           1          $80.00
0280378084-12     C.G.             Charles Deng Acupuncture PC                 99199            04/11/2013           1          $50.00
0283577740-02      J.A.            Charles Deng Acupuncture PC                 97810      04/22/2013-05/01/2013      5         $150.00
0283577740-02      J.A.            Charles Deng Acupuncture PC                 99199      04/22/2013-05/01/2013      5         $250.00
0283577740-02      J.A.            Charles Deng Acupuncture PC                 97810      05/10/2013-05/14/2013      3          $90.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0283577740-02      J.A.            Charles Deng Acupuncture PC                 99199      05/10/2013-05/20/2013      5         $250.00
0283577740-02      J.A.            Charles Deng Acupuncture PC                 97810      05/29/2013-06/11/2013      5         $150.00
0283577740-02      J.A.            Charles Deng Acupuncture PC                 99199      05/29/2013-06/11/2013      5         $250.00
0283577740-02      J.A.            Charles Deng Acupuncture PC                 99199      06/13/2013-06/28/2013      5         $250.00
0283577740-03     M.M.             Charles Deng Acupuncture PC                 97810      04/22/2013-05/01/2013      5         $150.00
0283577740-03     M.M.             Charles Deng Acupuncture PC                 99199      04/30/2013-05/01/2013      2         $100.00
0283577740-03     M.M.             Charles Deng Acupuncture PC                 97810      05/13/2013-05/20/2013      4         $120.00
0283577740-03     M.M.             Charles Deng Acupuncture PC                 99199      05/13/2013-05/20/2013      4         $200.00
0283577740-03     M.M.             Charles Deng Acupuncture PC                 97810      05/29/2013-06/05/2013      3          $90.00
0283577740-03     M.M.             Charles Deng Acupuncture PC                 99199      05/29/2013-06/11/2013      5         $250.00
0284992970-03     A.F.             Charles Deng Acupuncture PC                 97810      05/17/2013-06/06/2013      7         $210.00
0284992970-03     A.F.             Charles Deng Acupuncture PC                 99199      05/17/2013-06/06/2013      7         $350.00
0284992970-03     A.F.             Charles Deng Acupuncture PC                 99203            05/17/2013           1          $80.00
0284992970-03     A.F.             Charles Deng Acupuncture PC                 97810      06/12/2013-07/08/2013      7         $210.00
0284992970-03     A.F.             Charles Deng Acupuncture PC                 99199      06/12/2013-07/08/2013      7         $350.00
0284992970-03     A.F.             Charles Deng Acupuncture PC                 97810      07/12/2013-07/29/2013      4         $120.00
0284992970-03     A.F.             Charles Deng Acupuncture PC                 99199      07/12/2013-07/29/2013      4         $200.00
0284992970-03     A.F.             Charles Deng Acupuncture PC                 97810      08/05/2013-08/27/2013      6         $180.00
0284992970-03     A.F.             Charles Deng Acupuncture PC                 99199      08/05/2013-08/27/2013      7         $350.00
0288265572-02     A.F.             Charles Deng Acupuncture PC                 97810      05/17/2013-06/06/2013      7         $210.00
0288265572-02     A.F.             Charles Deng Acupuncture PC                 99199      05/17/2013-06/06/2013      7         $350.00
0288265572-02     A.F.             Charles Deng Acupuncture PC                 99203            05/17/2013           1          $80.00
0288265572-02     A.F.             Charles Deng Acupuncture PC                 97810      05/17/2013-06/06/2013      7         $210.00
0288265572-02     A.F.             Charles Deng Acupuncture PC                 99199      05/17/2013-06/06/2013      7         $350.00
0288265572-02     A.F.             Charles Deng Acupuncture PC                 99203            05/17/2013           1          $80.00
0291301257-02     D.A.             Charles Deng Acupuncture PC                 99199      06/21/2013-07/08/2013      7         $350.00
0291301257-02     D.A.             Charles Deng Acupuncture PC                 97810      06/28/2013-07/03/2013      3          $90.00
0291301257-02     D.A.             Charles Deng Acupuncture PC                 97811            07/01/2013           1          $25.69
0291301257-02     D.A.             Charles Deng Acupuncture PC                 99203            06/21/2013           1          $80.00
0291301257-02     D.A.             Charles Deng Acupuncture PC                 97810            07/11/2013           1          $30.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0291301257-02     D.A.             Charles Deng Acupuncture PC                 99199      07/11/2013-07/26/2013      7         $350.00
0291301257-02     D.A.             Charles Deng Acupuncture PC                 99199      08/02/2013-08/23/2013      8         $400.00
0293324331-02     D.M.             Charles Deng Acupuncture PC                 97810      08/28/2013-09/19/2013      5         $150.00
0293324331-02     D.M.             Charles Deng Acupuncture PC                 99199      08/28/2013-09/19/2013      7         $350.00
0431774421-02      P.C.            Charles Deng Acupuncture PC                 99199      02/14/2017-03/01/2017      6         $300.00
0431774421-03     D.S.             Charles Deng Acupuncture PC                 97810            02/22/2017           1          $30.00
0431774421-03     D.S.             Charles Deng Acupuncture PC                 99199      02/22/2017-03/03/2017      4         $200.00
0431774421-05     M.T.             Charles Deng Acupuncture PC                 99199      02/14/2017-03/06/2017      7         $350.00
0446478414-02     B.M.             Charles Deng Acupuncture PC                 99199      02/15/2017-03/20/2017      7         $350.00
0446478414-02     B.M.             Charles Deng Acupuncture PC                 99203            02/15/2017           1          $54.73
4816996020-02     C.L.             Charles Deng Acupuncture PC                 97810            02/08/2011           1          $65.00
4816996020-02     C.L.             Charles Deng Acupuncture PC                 99203            02/08/2011           1          $80.00
4816996020-02     C.L.             Charles Deng Acupuncture PC                 97810      03/09/2011-04/01/2011      3         $195.00
Z6092458-051      B.R.             Charles Deng Acupuncture PC                 97810      05/11/2011-06/01/2011      11        $330.00
Z6092458-051      B.R.             Charles Deng Acupuncture PC                 97811      05/11/2011-06/01/2011      11        $282.59
Z6092458-051      B.R.             Charles Deng Acupuncture PC                 97810      06/03/2011-07/12/2011      13        $390.00
Z6092458-051      B.R.             Charles Deng Acupuncture PC                 97811      06/03/2011-07/12/2011      13        $333.97
Z6092458-051      B.R.             Charles Deng Acupuncture PC                 97810      07/13/2011-08/19/2011      13        $390.00
Z6092458-051      B.R.             Charles Deng Acupuncture PC                 97811      07/13/2011-08/19/2011      13        $333.97
Z6092458-061      C.T.             Charles Deng Acupuncture PC                 97810      05/11/2011-06/01/2011      11        $330.00
Z6092458-061      C.T.             Charles Deng Acupuncture PC                 97811      05/11/2011-06/01/2011      11        $565.18
Z6092458-061      C.T.             Charles Deng Acupuncture PC                 99203            05/11/2011           1          $80.00
Z6092458-061      C.T.             Charles Deng Acupuncture PC                 97810      06/03/2011-07/13/2011      11        $330.00
Z6092458-061      C.T.             Charles Deng Acupuncture PC                 97811      06/03/2011-07/13/2011      11        $565.18
Z6092458-061      C.T.             Charles Deng Acupuncture PC                 97810      07/15/2011-08/17/2011      7         $210.00
Z6092458-061      C.T.             Charles Deng Acupuncture PC                 97811      07/15/2011-08/17/2011      7         $359.66
0283577740-02      J.A.                 Charles Deng L.Ac.                     99199      08/28/2013-09/30/2013      4         $200.00
0284992970-03     A.F.                  Charles Deng L.Ac.                     97810      09/03/2013-09/27/2013      10        $300.00
0284992970-03     A.F.                  Charles Deng L.Ac.                     99199      09/03/2013-09/27/2013      11        $550.00
0284992970-03     A.F.                  Charles Deng L.Ac.                     97810            10/16/2013           1          $30.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0284992970-03     A.F.                  Charles Deng L.Ac.                     99199            10/16/2013           1          $50.00
0293324331-02     D.M.                  Charles Deng L.Ac.                     97810      10/04/2013-10/17/2013      3          $90.00
0293324331-02     D.M.                  Charles Deng L.Ac.                     99199      10/04/2013-10/17/2013      3         $150.00
0293324331-02     D.M.                  Charles Deng L.Ac.                     99199      10/23/2013-10/28/2013      3         $150.00
0293324331-02     D.M.                  Charles Deng L.Ac.                     99199      11/13/2013-12/12/2013      7         $300.00
0293324331-02     D.M.                  Charles Deng L.Ac.                     97810      11/14/2013-12/12/2013      3          $90.00
0293324331-02     D.M.                  Charles Deng L.Ac.                     97810            12/18/2013           1          $30.00
0293324331-02     D.M.                  Charles Deng L.Ac.                     99199      12/19/2013-12/26/2013      2         $100.00
0293324331-02     D.M.                  Charles Deng L.Ac.                     99199            01/08/2014           1          $50.00
0293324331-02     D.M.                  Charles Deng L.Ac.                     97810            01/13/2014           1          $30.00
0299083659-01     M.Y.                  Charles Deng L.Ac.                     99199      09/19/2013-09/25/2013      4         $200.00
0299083659-01     M.Y.                  Charles Deng L.Ac.                     99203            09/19/2013           1          $54.73
0299083659-01     M.Y.                  Charles Deng L.Ac.                     99199      10/02/2013-10/21/2013      10        $500.00
0299083659-01     M.Y.                  Charles Deng L.Ac.                     99199      10/23/2013-11/08/2013      7         $350.00
0299083659-01     M.Y.                  Charles Deng L.Ac.                     99199      11/12/2013-12/12/2013      3         $150.00
0299083659-01     M.Y.                  Charles Deng L.Ac.                     99199            12/16/2013           1          $50.00
0299083659-01     M.Y.                  Charles Deng L.Ac.                     97810      01/08/2014-01/13/2014      2          $60.00
0299083659-01     M.Y.                  Charles Deng L.Ac.                     99199      01/08/2014-01/13/2014      2         $100.00
0299083659-01     M.Y.                  Charles Deng L.Ac.                     97810            02/24/2014           1          $30.00
0299083659-01     M.Y.                  Charles Deng L.Ac.                     99199            02/24/2014           1          $50.00
0302803937-05      B.S.                 Charles Deng L.Ac.                     99199      10/24/2013-11/11/2013      9         $450.00
0302803937-05      B.S.                 Charles Deng L.Ac.                     99203            10/24/2013           1          $54.73
0302803937-05      B.S.                 Charles Deng L.Ac.                     99199      11/12/2013-12/09/2013      11        $800.00
0302803937-05      B.S.                 Charles Deng L.Ac.                     99199      12/23/2013-01/02/2014      4         $200.00
0302803937-05      B.S.                 Charles Deng L.Ac.                     99199      01/07/2014-01/30/2014      7         $350.00
0305061376-02     A.V.                  Charles Deng L.Ac.                     97810            12/05/2013           1          $30.00
0305061376-02     A.V.                  Charles Deng L.Ac.                     99199      12/05/2013-01/06/2014      7         $400.00
0305061376-02     A.V.                  Charles Deng L.Ac.                     97810      01/09/2014-02/04/2014      4         $120.00
0305061376-02     A.V.                  Charles Deng L.Ac.                     99199      01/10/2014-02/04/2014      8         $400.00
0305061376-02     A.V.                  Charles Deng L.Ac.                     97810            02/19/2014           1          $30.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0305061376-02     A.V.                  Charles Deng L.Ac.                     99199            02/19/2014           1           $50.00
0305061376-02     A.V.                  Charles Deng L.Ac.                     97810      02/27/2014-03/10/2014      5          $150.00
0305061376-02     A.V.                  Charles Deng L.Ac.                     99199      02/27/2014-03/10/2014      5          $250.00
0305061376-02     A.V.                  Charles Deng L.Ac.                     99199      03/11/2014-04/02/2014      5          $250.00
0305061376-02     A.V.                  Charles Deng L.Ac.                     99199      04/09/2014-04/22/2014      5         $2,500.00
0305061376-02     A.V.                  Charles Deng L.Ac.                     99199      05/06/2014-05/21/2014      5          $250.00
0305061376-02     A.V.                  Charles Deng L.Ac.                     97810            05/20/2014           1           $30.00
0305061376-02     A.V.                  Charles Deng L.Ac.                     99199      06/02/2014-06/04/2014      3          $200.00
0305061376-02     A.V.                  Charles Deng L.Ac.                     99199            06/24/2014           1           $50.00
0315420661-01     W.T.                  Charles Deng L.Ac.                     97810      01/29/2014-02/24/2014      9          $270.00
0315420661-01     W.T.                  Charles Deng L.Ac.                     99199      01/29/2014-02/24/2014      11         $550.00
0315420661-01     W.T.                  Charles Deng L.Ac.                     99203            01/29/2014           1           $54.73
0315420661-01     W.T.                  Charles Deng L.Ac.                     97810      02/26/2014-03/10/2014      3           $90.00
0315420661-01     W.T.                  Charles Deng L.Ac.                     99199      02/26/2014-03/10/2014      3          $150.00
0315420661-01     W.T.                  Charles Deng L.Ac.                     97810      03/17/2014-04/07/2014      7          $210.00
0315420661-01     W.T.                  Charles Deng L.Ac.                     99199      03/17/2014-04/07/2014      7          $350.00
0315420661-01     W.T.                  Charles Deng L.Ac.                     97810      04/09/2014-04/16/2014      2           $60.00
0315420661-01     W.T.                  Charles Deng L.Ac.                     99199            04/28/2014           1           $50.00
0315420661-01     W.T.                  Charles Deng L.Ac.                     99199      05/06/2014-05/23/2014      6          $300.00
0315420661-01     W.T.                  Charles Deng L.Ac.                     99199      05/28/2014-06/10/2014      5           $2.50
0315420661-01     W.T.                  Charles Deng L.Ac.                     99199      06/04/2014-06/10/2014      4          $200.00
0315420661-01     W.T.                  Charles Deng L.Ac.                     97810      07/16/2014-08/08/2014      4          $120.00
0315420661-01     W.T.                  Charles Deng L.Ac.                     99199      07/16/2014-08/08/2014      4          $200.00
0315420661-01     W.T.                  Charles Deng L.Ac.                     99199      09/15/2014-10/02/2014      3          $150.00
0315420661-01     W.T.                  Charles Deng L.Ac.                     97810      10/15/2014-10/24/2014      2           $60.00
0315420661-01     W.T.                  Charles Deng L.Ac.                     99199      10/15/2014-11/06/2014      2          $100.00
0315420661-01     W.T.                  Charles Deng L.Ac.                     99199      02/25/2015-03/09/2015      2          $100.00
0315420661-02      L.S.                 Charles Deng L.Ac.                     99199      04/09/2014-04/28/2014      4          $200.00
0315420661-02      L.S.                 Charles Deng L.Ac.                     99199            06/19/2014           1           $50.00
0315420661-02      L.S.                 Charles Deng L.Ac.                     99199      07/15/2014-08/08/2014      5          $250.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0315420661-02      L.S.                 Charles Deng L.Ac.                     99199      09/15/2014-10/02/2014      3         $150.00
0315420661-02      L.S.                 Charles Deng L.Ac.                     97810            10/02/2014           1          $30.00
0315420661-02      L.S.                 Charles Deng L.Ac.                     99199      10/15/2014-11/06/2014      4         $200.00
0319843156-02      J.P.                 Charles Deng L.Ac.                     97810      03/28/2014-04/04/2014      2          $60.00
0319843156-02      J.P.                 Charles Deng L.Ac.                     97810            04/25/2014           1          $30.00
0319843156-02      J.P.                 Charles Deng L.Ac.                     99199      05/09/2014-05/28/2014      5         $250.00
0319843156-02      J.P.                 Charles Deng L.Ac.                     99199      06/03/2014-06/09/2014      3         $150.00
0319843156-02      J.P.                 Charles Deng L.Ac.                     99199      06/13/2014-07/07/2014      5         $250.00
0319843156-02      J.P.                 Charles Deng L.Ac.                     99199      07/14/2014-08/20/2014      9         $450.00
0319843156-02      J.P.                 Charles Deng L.Ac.                     99199      08/28/2014-09/02/2014      2         $100.00
0324099315-01      J.G.                 Charles Deng L.Ac.                     99199      06/19/2014-07/07/2014      5         $250.00
0324099315-01      J.G.                 Charles Deng L.Ac.                     99199      06/19/2014-07/07/2014      5         $250.00
0324099315-01      J.G.                 Charles Deng L.Ac.                     97810            07/07/2014           1          $30.00
0324099315-01      J.G.                 Charles Deng L.Ac.                     97810      10/13/2014-10/15/2014      3          $90.00
0324099315-01      J.G.                 Charles Deng L.Ac.                     99199      10/13/2014-11/05/2014      10        $500.00
0324099315-01      J.G.                 Charles Deng L.Ac.                     99199            11/17/2014           1          $50.00
0326267416-02      R.F.                 Charles Deng L.Ac.                     99199      05/14/2014-05/19/2014      3         $150.00
0326267416-02      R.F.                 Charles Deng L.Ac.                     99203            05/14/2014           1          $54.73
0326267416-02      R.F.                 Charles Deng L.Ac.                     97810      05/16/2014-05/19/2014      2          $60.00
0326267416-02      R.F.                 Charles Deng L.Ac.                     99199      06/02/2014-06/13/2014      3         $150.00
0326267416-02      R.F.                 Charles Deng L.Ac.                     97810            06/04/2014           1          $30.00
0326267416-02      R.F.                 Charles Deng L.Ac.                     99199      06/19/2014-07/01/2014      4         $200.00
0326267416-02      R.F.                 Charles Deng L.Ac.                     99199            07/14/2014           1          $50.00
0333596995-01     M.J.                  Charles Deng L.Ac.                     99199      11/12/2014-12/01/2014      4         $200.00
0333596995-01     M.J.                  Charles Deng L.Ac.                     99199      10/13/2014-11/10/2014      11        $550.00
0333596995-01     M.J.                  Charles Deng L.Ac.                     97810      10/15/2014-11/10/2014      6         $180.00
0333596995-01     M.J.                  Charles Deng L.Ac.                     99199      08/04/2014-08/29/2014      10        $500.00
0333596995-01     M.J.                  Charles Deng L.Ac.                     99203            08/04/2014           1          $54.73
0333596995-01     M.J.                  Charles Deng L.Ac.                     97810      09/15/2014-10/03/2014      5         $150.00
0333596995-01     M.J.                  Charles Deng L.Ac.                     99199      09/16/2014-10/06/2014      10        $500.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0333596995-01     M.J.                  Charles Deng L.Ac.                     99199      11/12/2014-12/01/2014      4         $200.00
0340022847-01     J.M.                  Charles Deng L.Ac.                     97810      12/22/2014-01/22/2015      8         $240.00
0340022847-01     J.M.                  Charles Deng L.Ac.                     99199      12/22/2014-01/22/2015      13        $650.00
0340022847-01     J.M.                  Charles Deng L.Ac.                     97810      02/02/2015-02/10/2015      2          $60.00
0340022847-01     J.M.                  Charles Deng L.Ac.                     99199      02/02/2015-02/16/2015      4         $200.00
0340022847-01     J.M.                  Charles Deng L.Ac.                     99199            02/18/2015           1          $50.00
0342499539-01      J.R.                 Charles Deng L.Ac.                     99199      10/15/2014-11/07/2014      6         $300.00
0342499539-01      J.R.                 Charles Deng L.Ac.                     99199      12/26/2014-01/20/2015      8         $400.00
0342499539-01      J.R.                 Charles Deng L.Ac.                     99199      01/30/2015-02/04/2015      4         $200.00
0342499539-01      J.R.                 Charles Deng L.Ac.                     99199      04/13/2015-05/04/2015      6         $300.00
0342499539-01      J.R.                 Charles Deng L.Ac.                     99199      05/18/2015-06/01/2015      3         $150.00
0342499539-01      J.R.                 Charles Deng L.Ac.                     99199      06/15/2015-07/13/2015      3         $150.00
0342499539-01      J.R.                 Charles Deng L.Ac.                     99199      07/21/2015-07/27/2015      2         $100.00
0342499539-01      J.R.                 Charles Deng L.Ac.                     97810            07/27/2015           1          $32.87
0342499539-01      J.R.                 Charles Deng L.Ac.                     99199      09/01/2015-09/15/2015      2         $100.00
0374512275-02      B.S.                 Charles Deng L.Ac.                     99199      07/22/2015-07/30/2015      3         $150.00
0374512275-02      B.S.                 Charles Deng L.Ac.                     99199      08/05/2015-08/24/2015      4         $200.00
0374512275-02      B.S.                 Charles Deng L.Ac.                     99199      09/22/2015-10/16/2015      4         $200.00
0374512275-02      B.S.                 Charles Deng L.Ac.                     97810            10/12/2015           1          $30.00
0374512275-02      B.S.                 Charles Deng L.Ac.                     99199      10/19/2015-10/27/2015      2         $100.00
0374512275-02      B.S.                 Charles Deng L.Ac.                     99199      12/03/2015-12/15/2015      2         $100.00
0374512275-03      Z.S.                 Charles Deng L.Ac.                     99199      06/29/2015-07/30/2015      12        $600.00
0374512275-03      Z.S.                 Charles Deng L.Ac.                     97810      06/29/2015-07/14/2015      7         $230.09
0374512275-03      Z.S.                 Charles Deng L.Ac.                     99199      06/29/2015-07/30/2015      12        $600.00
0374512275-03      Z.S.                 Charles Deng L.Ac.                     99203            06/29/2015           1          $80.00
0374512275-03      Z.S.                 Charles Deng L.Ac.                     97810      08/05/2015-08/06/2015      2          $65.74
0374512275-03      Z.S.                 Charles Deng L.Ac.                     99199      08/05/2015-08/27/2015      5         $250.00
0374512275-03      Z.S.                 Charles Deng L.Ac.                     99199      09/22/2015-10/16/2015      4         $200.00
0374512275-03      Z.S.                 Charles Deng L.Ac.                     99199      10/19/2015-10/27/2015      2         $100.00
0374512275-03      Z.S.                 Charles Deng L.Ac.                     99199      12/03/2015-12/15/2015      2         $100.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0374512275-03      Z.S.                 Charles Deng L.Ac.                     99199            12/28/2015           1          $50.00
0374553048-02      E.F.                 Charles Deng L.Ac.                     99199      10/07/2015-10/16/2015      3         $200.00
0374553048-02      E.F.                 Charles Deng L.Ac.                     99199      10/20/2015-11/17/2015      6         $300.00
0374553048-02      E.F.                 Charles Deng L.Ac.                     99199      11/24/2015-12/10/2015      5         $250.00
0380809228-02     C.A.                  Charles Deng L.Ac.                     97810      08/18/2015-08/25/2015      3          $90.00
0380809228-02     C.A.                  Charles Deng L.Ac.                     99199      08/18/2015-09/10/2015      11        $550.00
0380809228-02     C.A.                  Charles Deng L.Ac.                     99203            08/18/2015           1          $54.73
0380809228-02     C.A.                  Charles Deng L.Ac.                     97810      09/24/2015-10/15/2015      4         $120.00
0380809228-02     C.A.                  Charles Deng L.Ac.                     99199      09/24/2015-10/15/2015      10        $500.00
0380809228-02     C.A.                  Charles Deng L.Ac.                     99199      10/28/2015-11/09/2015      4         $200.00
0380809228-02     C.A.                  Charles Deng L.Ac.                     97810      11/24/2015-12/07/2015      2          $60.00
0380809228-02     C.A.                  Charles Deng L.Ac.                     97810            12/12/2015           1          $30.00
0380809228-05      T.T.                 Charles Deng L.Ac.                     97810      08/17/2015-08/28/2015      4         $131.48
0380809228-05      T.T.                 Charles Deng L.Ac.                     99199      08/17/2015-08/28/2015      5         $250.00
0380809228-05      T.T.                 Charles Deng L.Ac.                     99203            08/17/2015           1          $54.73
0380809228-05      T.T.                 Charles Deng L.Ac.                     97810      08/17/2015-08/28/2015      4         $131.48
0380809228-05      T.T.                 Charles Deng L.Ac.                     99199      08/17/2015-08/28/2015      5         $250.00
0380809228-05      T.T.                 Charles Deng L.Ac.                     99203            08/17/2015           1          $54.73
0380809228-05      T.T.                 Charles Deng L.Ac.                     97810      08/31/2015-09/11/2015      4         $120.00
0380809228-05      T.T.                 Charles Deng L.Ac.                     99199      08/31/2015-09/18/2015      7         $350.00
0380809228-05      T.T.                 Charles Deng L.Ac.                     99199      09/28/2015-10/15/2015      4         $200.00
0380809228-05      T.T.                 Charles Deng L.Ac.                     99199      10/20/2015-11/19/2015      4         $200.00
0380809228-06     C.D.                  Charles Deng L.Ac.                     99199            08/17/2015           1          $50.00
0380809228-06     C.D.                  Charles Deng L.Ac.                     99203            08/17/2015           1          $54.73
0380809228-07     B.G.                  Charles Deng L.Ac.                     99199      08/17/2015-08/28/2015      4         $200.00
0380809228-07     B.G.                  Charles Deng L.Ac.                     99203            08/17/2015           1          $54.73
0380809228-07     B.G.                  Charles Deng L.Ac.                     97810      08/19/2015-08/28/2015      3          $98.61
0380809228-07     B.G.                  Charles Deng L.Ac.                     99199      08/31/2015-09/16/2015      4         $200.00
0380809228-07     B.G.                  Charles Deng L.Ac.                     97810            09/14/2015           1          $30.00
0380809228-07     B.G.                  Charles Deng L.Ac.                     97810      09/22/2015-09/25/2015      2          $60.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0380809228-07     B.G.                  Charles Deng L.Ac.                     99199      09/22/2015-10/15/2015      5          $250.00
0380809228-07     B.G.                  Charles Deng L.Ac.                     99199      10/29/2015-11/02/2015      2          $100.00
0380809228-07     B.G.                  Charles Deng L.Ac.                   MM043              11/02/2015           1           $30.00
0380809228-07     B.G.                  Charles Deng L.Ac.                     99199      11/23/2015-12/16/2015      3          $150.00
0380809228-07     B.G.                  Charles Deng L.Ac.                     99199            01/04/2016           1           $50.00
0380809228-07     B.G.                  Charles Deng L.Ac.                     99199      01/28/2016-02/03/2016      2          $100.00
0380809228-07     B.G.                  Charles Deng L.Ac.                     99199      03/28/2016-03/29/2016      2          $100.00
0398385996-02      F.P.                 Charles Deng L.Ac.                     99199      01/11/2016-03/14/2016      23        $1,200.00
0398385996-02      F.P.                 Charles Deng L.Ac.                     99203            01/11/2016           1           $54.73
0411304496-01      I.L.                 Charles Deng L.Ac.                     97781      07/13/2016-08/03/2016      6          $321.42
0411304496-01      I.L.                 Charles Deng L.Ac.                     99199      07/13/2016-07/27/2016      5          $250.00
0411304496-01      I.L.                 Charles Deng L.Ac.                     97781      08/04/2016-08/05/2016      2          $107.14
0411304496-01      I.L.                 Charles Deng L.Ac.                     99199      08/04/2016-08/05/2016      2          $100.00
0411304496-01      I.L.                 Charles Deng L.Ac.                     99199      09/07/2016-10/21/2016      6          $300.00
0411304496-01      I.L.                 Charles Deng L.Ac.                     99199            11/02/2016           1           $50.00
0411304496-01      I.L.                 Charles Deng L.Ac.                     99199            12/01/2016           1           $50.00
0411304496-01      I.L.                 Charles Deng L.Ac.                     99199      01/11/2017-01/13/2017      3          $150.00
0411304496-01      I.L.                 Charles Deng L.Ac.                     99199            01/26/2017           1           $50.00
0411304496-02      J.L.                 Charles Deng L.Ac.                     97810            10/19/2016           1           $30.00
0411304496-02      J.L.                 Charles Deng L.Ac.                     99199      10/20/2016-10/21/2016      2          $100.00
0411304496-02      J.L.                 Charles Deng L.Ac.                     99199            11/02/2016           1           $50.00
0411304496-02      J.L.                 Charles Deng L.Ac.                     99199            12/01/2016           1           $50.00
0411304496-02      J.L.                 Charles Deng L.Ac.                     99199      01/11/2017-01/13/2017      3          $150.00
0411304496-02      J.L.                 Charles Deng L.Ac.                     97810            01/26/2017           1           $30.00
0411304496-02      J.L.                 Charles Deng L.Ac.                     99199            01/26/2017           1           $50.00
0431774421-02      P.C.                 Charles Deng L.Ac.                     99199      10/07/2016-10/25/2016      9          $450.00
0431774421-02      P.C.                 Charles Deng L.Ac.                     99199      11/02/2016-11/23/2016      4         $2,000.00
0431774421-02      P.C.                 Charles Deng L.Ac.                     99199      11/28/2016-12/21/2016      8          $400.00
0431774421-02      P.C.                 Charles Deng L.Ac.                     99199      12/28/2016-01/23/2017      7          $350.00
0431774421-02      P.C.                 Charles Deng L.Ac.                     99199      01/24/2017-02/13/2017      8          $400.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0431774421-03     D.S.                  Charles Deng L.Ac.                     99199      10/10/2016-10/25/2016      7          $350.00
0431774421-03     D.S.                  Charles Deng L.Ac.                     99199      12/01/2016-12/21/2016      7          $350.00
0431774421-03     D.S.                  Charles Deng L.Ac.                     99199      12/27/2016-01/23/2017      7          $350.00
0431774421-03     D.S.                  Charles Deng L.Ac.                     97810      01/24/2017-01/31/2017      4          $120.00
0431774421-03     D.S.                  Charles Deng L.Ac.                     99199      01/24/2017-02/14/2017      6          $300.00
0431774421-04     M.J.                  Charles Deng L.Ac.                     99199      10/07/2016-10/25/2016      8          $400.00
0431774421-04     M.J.                  Charles Deng L.Ac.                     99199      11/30/2016-12/27/2016      8          $400.00
0431774421-04     M.J.                  Charles Deng L.Ac.                     99199      12/28/2016-01/23/2017      8          $400.00
0431774421-05     M.T.                  Charles Deng L.Ac.                     99199      10/07/2016-10/25/2016      9          $450.00
0431774421-05     M.T.                  Charles Deng L.Ac.                     99199      12/28/2016-01/23/2017      5          $250.00
0431774421-05     M.T.                  Charles Deng L.Ac.                     99199      01/25/2017-02/13/2017      7          $350.00
0434546750-11      E.I.                 Charles Deng L.Ac.                     99199      12/19/2016-01/13/2017      2          $100.00
0434546750-11      E.I.                 Charles Deng L.Ac.                     99199            01/26/2017           1           $50.00
0436499486-02     S.M.                  Charles Deng L.Ac.                     97781            11/28/2016           1           $53.57
0436499486-02     S.M.                  Charles Deng L.Ac.                     99199      01/03/2017-01/20/2017      4          $200.00
0436499486-02     S.M.                  Charles Deng L.Ac.                     97781            01/04/2017           1           $53.57
0247042302-01     B.B.                   Darren Mollo DC                       95999            06/15/2012           1         $1,314.00
0283577740-02      J.A.                  Darren Mollo DC                       98941            09/03/2013           1           $34.68
0283577740-02      J.A.                  Darren Mollo DC                       98941            09/30/2013           1           $34.68
0284992970-03     A.F.                   Darren Mollo DC                       98941      09/03/2013-09/18/2013      6          $208.08
0284992970-03     A.F.                   Darren Mollo DC                       98941      09/26/2013-09/30/2013      3          $104.04
0291301257-02     D.A.                   Darren Mollo DC                       98940            10/08/2013           1           $26.41
0293324331-02     D.M.                   Darren Mollo DC                       98941      10/04/2013-10/11/2013      2           $69.36
0293324331-02     D.M.                   Darren Mollo DC                       99212            10/04/2013           1           $26.41
0293324331-02     D.M.                   Darren Mollo DC                       98941      10/17/2013-10/24/2013      3          $104.04
0293324331-02     D.M.                   Darren Mollo DC                       98941      11/13/2013-11/26/2013      2           $69.36
0293324331-02     D.M.                   Darren Mollo DC                       98941            12/12/2013           1           $34.68
0293324331-02     D.M.                   Darren Mollo DC                       98940            12/18/2013           1           $26.41
0296244239-02     B.H.                   Darren Mollo DC                       98941            01/10/2014           1           $34.68
0296244239-02     B.H.                   Darren Mollo DC                       98941      02/06/2014-02/07/2014      2           $69.36


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0299083659-01     M.Y.                   Darren Mollo DC                       98941            01/08/2014           1          $34.68
0299083659-01     M.Y.                   Darren Mollo DC                       98940      01/13/2014-01/27/2014      2          $52.82
0299585850-02     L.G.                   Darren Mollo DC                       98940      01/10/2014-01/15/2014      2          $52.82
0299585850-02     L.G.                   Darren Mollo DC                       98941      01/23/2014-01/28/2014      2          $69.36
0299585850-02     L.G.                   Darren Mollo DC                       98941            02/18/2014           1          $34.68
0299585850-02     L.G.                   Darren Mollo DC                       98941            03/20/2014           1          $34.68
0299585850-02     L.G.                   Darren Mollo DC                       98940      03/25/2014-04/02/2014      2          $52.82
0305061376-02     A.V.                   Darren Mollo DC                       99203            11/01/2013           1          $54.74
0305061376-02     A.V.                   Darren Mollo DC                       98940      11/04/2013-11/05/2013      2          $52.82
0305061376-02     A.V.                   Darren Mollo DC                       98941      11/11/2013-12/04/2013      6         $208.08
0305061376-02     A.V.                   Darren Mollo DC                       98941      12/05/2013-12/24/2013      3         $104.04
0305061376-02     A.V.                   Darren Mollo DC                       99212            12/05/2013           1          $26.41
0305061376-02     A.V.                   Darren Mollo DC                       98940            12/18/2013           1          $26.41
0305061376-02     A.V.                   Darren Mollo DC                       98941      01/09/2014-01/22/2014      3         $104.04
0305061376-02     A.V.                   Darren Mollo DC                       98941            04/01/2014           1          $34.68
0305061376-02     A.V.                   Darren Mollo DC                       98941      04/16/2014-04/22/2014      2          $69.36
0305061376-02     A.V.                   Darren Mollo DC                       99212            04/22/2014           1          $26.41
0305061376-02     A.V.                   Darren Mollo DC                       98941            06/24/2014           1          $34.68
0315420661-01     W.T.                   Darren Mollo DC                       98941      01/29/2014-02/19/2014      9         $312.12
0315420661-01     W.T.                   Darren Mollo DC                       99203            01/29/2014           1          $54.74
0315420661-01     W.T.                   Darren Mollo DC                       98941      02/24/2014-03/12/2014      5         $173.40
0315420661-01     W.T.                   Darren Mollo DC                       98940            03/04/2014           1          $26.41
0315420661-01     W.T.                   Darren Mollo DC                       98941      03/17/2014-04/01/2014      6         $208.08
0315420661-01     W.T.                   Darren Mollo DC                       98941      04/04/2014-04/29/2014      8         $312.12
0315420661-01     W.T.                   Darren Mollo DC                       99212            04/16/2014           1          $26.41
0315420661-01     W.T.                   Darren Mollo DC                       98941      05/15/2014-05/22/2014      3         $104.04
0315420661-01     W.T.                   Darren Mollo DC                       98941      06/05/2014-06/10/2014      2          $69.36
0315420661-01     W.T.                   Darren Mollo DC                       98941            06/19/2014           1          $34.68
0315420661-01     W.T.                   Darren Mollo DC                       98941      07/17/2014-08/07/2014      2          $69.36
0315420661-01     W.T.                   Darren Mollo DC                       98941      09/04/2014-09/15/2014      2          $69.36


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0315420661-01     W.T.                   Darren Mollo DC                       98941            11/06/2014           1          $34.68
0315420661-01     W.T.                   Darren Mollo DC                       98941            03/04/2015           1          $34.68
0315420661-02      L.S.                  Darren Mollo DC                       98941      05/15/2014-05/22/2014      3         $104.04
0315420661-02      L.S.                  Darren Mollo DC                       98941      06/05/2014-06/10/2014      2          $69.36
0315420661-02      L.S.                  Darren Mollo DC                       98941      10/17/2014-11/06/2014      3         $104.04
0315420661-02      L.S.                  Darren Mollo DC                       98940            02/25/2015           1          $26.41
0315420661-02      L.S.                  Darren Mollo DC                       99212            02/25/2015           1          $26.41
0315420661-02      L.S.                  Darren Mollo DC                       98941            03/04/2015           1          $34.68
0319843156-02      J.P.                  Darren Mollo DC                       99203            03/28/2014           1          $54.74
0319843156-02      J.P.                  Darren Mollo DC                       98941            07/03/2014           1          $34.68
0319843156-02      J.P.                  Darren Mollo DC                       98940            07/10/2014           1          $26.41
0319843156-02      J.P.                  Darren Mollo DC                       98941      08/14/2014-09/02/2014      2          $69.36
0319843156-02      J.P.                  Darren Mollo DC                       99212            08/14/2014           1          $26.41
0326267416-02      R.F.                  Darren Mollo DC                       98941      05/29/2014-06/12/2014      2          $69.36
0326267416-02      R.F.                  Darren Mollo DC                       99203            05/29/2014           1          $54.74
0326267416-02      R.F.                  Darren Mollo DC                       98941      06/26/2014-07/01/2014      2          $69.36
0333596995-01     M.J.                   Darren Mollo DC                       98941            08/11/2014           1          $34.68
0333596995-01     M.J.                   Darren Mollo DC                       98941      11/14/2014-11/19/2014      2          $69.36
0333596995-01     M.J.                   Darren Mollo DC                       98941      09/22/2014-10/13/2014      3         $104.04
0333596995-01     M.J.                   Darren Mollo DC                       99212            10/13/2014           1          $26.41
0333596995-01     M.J.                   Darren Mollo DC                       98940            10/17/2014           1          $26.41
0333596995-01     M.J.                   Darren Mollo DC                       98941      10/29/2014-11/07/2014      2          $69.36
0340022847-01     J.M.                   Darren Mollo DC                       98941      12/26/2014-01/21/2015      7         $242.76
0340022847-01     J.M.                   Darren Mollo DC                       99212      02/02/2015-02/18/2015      2          $52.82
0340022847-01     J.M.                   Darren Mollo DC                       98941      02/06/2015-02/18/2015      4         $138.72
0342499539-01      J.R.                  Darren Mollo DC                       98941      04/20/2015-05/04/2015      4         $138.72
0342499539-01      J.R.                  Darren Mollo DC                       98941      06/08/2015-06/29/2015      4         $138.72
0342499539-01      J.R.                  Darren Mollo DC                       98941      07/13/2015-07/27/2015      3         $104.04
0374512275-02      B.S.                  Darren Mollo DC                       98940            10/05/2015           1          $26.41
0380809228-02     C.A.                   Darren Mollo DC                       99203            08/19/2015           1          $54.74


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0380809228-02     C.A.                  Darren Mollo DC                        98941      09/09/2015-10/05/2015      4         $138.72
0380809228-05      T.T.                 Darren Mollo DC                        99203            08/31/2015           1          $54.74
0380809228-05      T.T.                 Darren Mollo DC                        98941      09/02/2015-10/05/2015      8         $277.44
0380809228-06     C.D.                  Darren Mollo DC                        99203            08/17/2015           1          $54.74
0380809228-06     C.D.                  Darren Mollo DC                        98941            08/26/2015           1          $34.68
0380809228-06     C.D.                  Darren Mollo DC                        98941            09/25/2015           1          $34.68
0380809228-07     B.G.                  Darren Mollo DC                        99203            08/19/2015           1         $989.41
0380809228-07     B.G.                  Darren Mollo DC                        98941      08/21/2015-09/02/2015      4         $138.72
0380809228-07     B.G.                  Darren Mollo DC                        98941            09/16/2015           1         $104.04
0374512275-02      B.S.               Energy Chiropractic PC                   98941            01/04/2017           1          $34.68
0374512275-02      B.S.               Energy Chiropractic PC                   99212            01/04/2017           1          $26.41
0411304496-01      I.L.               Energy Chiropractic PC                   98941            11/02/2016           1          $34.68
0411304496-01      I.L.               Energy Chiropractic PC                   99212            11/02/2016           1          $26.41
0411304496-01      I.L.               Energy Chiropractic PC                   98941            12/02/2016           1          $34.68
0411304496-01      I.L.               Energy Chiropractic PC                   98941      01/11/2017-01/27/2017      5         $173.40
0411304496-02      J.L.               Energy Chiropractic PC                   98941            11/02/2016           1          $34.68
0411304496-02      J.L.               Energy Chiropractic PC                   99212            11/02/2016           1          $26.41
0411304496-02      J.L.               Energy Chiropractic PC                   98941            12/02/2016           1          $34.68
0411304496-02      J.L.               Energy Chiropractic PC                   98941      01/11/2017-01/27/2017      5         $173.40
0431774421-01      J.C.               Energy Chiropractic PC                   98941      02/15/2017-02/23/2017      3         $104.04
0431774421-01      J.C.               Energy Chiropractic PC                   98941      02/27/2017-03/09/2017      3         $104.04
0431774421-01      J.C.               Energy Chiropractic PC                   98941      05/30/2017-06/09/2017      5         $173.40
0431774421-01      J.C.               Energy Chiropractic PC                   99212            05/30/2017           1          $26.41
0431774421-01      J.C.               Energy Chiropractic PC                   98941      06/20/2017-07/05/2017      6         $208.08
0431774421-01      J.C.               Energy Chiropractic PC                   98941      07/12/2017-07/25/2017      3         $104.04
0431774421-01      J.C.               Energy Chiropractic PC                   98941            08/01/2017           1          $34.68
0431774421-01      J.C.               Energy Chiropractic PC                   98941      08/31/2017-09/12/2017      2          $69.36
0431774421-02      P.C.               Energy Chiropractic PC                   98941      01/09/2017-02/06/2017      6         $208.08
0431774421-02      P.C.               Energy Chiropractic PC                   98940            01/19/2017           1          $26.41
0431774421-02      P.C.               Energy Chiropractic PC                   98941      02/13/2017-02/22/2017      2          $69.36


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0431774421-02      P.C.               Energy Chiropractic PC                   98941      02/27/2017-03/15/2017      4         $138.72
0431774421-02      P.C.               Energy Chiropractic PC                   99212            03/06/2017           1          $26.41
0431774421-02      P.C.               Energy Chiropractic PC                   98940            03/08/2017           1          $26.41
0431774421-02      P.C.               Energy Chiropractic PC                   98941      03/29/2017-04/05/2017      2          $69.36
0431774421-03     D.S.                Energy Chiropractic PC                   98941      02/13/2017-02/24/2017      3         $104.04
0431774421-03     D.S.                Energy Chiropractic PC                   98941      02/27/2017-03/20/2017      7         $242.76
0431774421-03     D.S.                Energy Chiropractic PC                   99212            02/27/2017           1          $26.41
0431774421-03     D.S.                Energy Chiropractic PC                   98941      03/29/2017-04/24/2017      5         $173.40
0431774421-03     D.S.                Energy Chiropractic PC                   98941            05/01/2017           1          $34.68
0431774421-04     M.J.                Energy Chiropractic PC                   98941      02/13/2017-02/23/2017      4         $138.72
0431774421-04     M.J.                Energy Chiropractic PC                   98941      03/01/2017-03/13/2017      6         $208.08
0431774421-04     M.J.                Energy Chiropractic PC                   99212            03/01/2017           1          $26.41
0431774421-04     M.J.                Energy Chiropractic PC                   98941      03/29/2017-04/17/2017      3         $104.04
0431774421-05     M.T.                Energy Chiropractic PC                   98941            04/03/2017           1          $34.68
0478186786-02     M.L.                Energy Chiropractic PC                   99203            10/16/2017           1          $54.73
0478186786-02     M.L.                Energy Chiropractic PC                   98941      10/18/2017-11/06/2017      6         $208.08
0478186786-02     M.L.                Energy Chiropractic PC                   98941      11/15/2017-11/30/2017      4         $138.72
0478186786-02     M.L.                Energy Chiropractic PC                   98941      12/12/2017-12/13/2017      2          $69.36
0478186786-02     M.L.                Energy Chiropractic PC                   98940            01/22/2018           1          $26.41
0478186786-03     P.O.                Energy Chiropractic PC                   99203            10/17/2017           1          $54.73
0478186786-03     P.O.                Energy Chiropractic PC                   98941      10/18/2017-11/13/2017      9         $312.12
0478186786-03     P.O.                Energy Chiropractic PC                   98941      11/16/2017-12/05/2017      8         $277.44
0478186786-03     P.O.                Energy Chiropractic PC                   98941      12/12/2017-12/26/2017      5         $173.40
0478186786-03     P.O.                Energy Chiropractic PC                   99212            12/21/2017           1          $26.41
0478186786-03     P.O.                Energy Chiropractic PC                   98941      01/17/2018-01/23/2018      3         $104.04
0478186786-03     P.O.                Energy Chiropractic PC                   98941      01/29/2018-02/14/2018      5         $173.40
0478186786-03     P.O.                Energy Chiropractic PC                   98941      02/19/2018-02/26/2018      2          $69.36
0478186786-08      S.P.               Energy Chiropractic PC                   99203            10/18/2017           1          $54.73
0478186786-08      S.P.               Energy Chiropractic PC                   98940      10/20/2017-11/03/2017      5         $132.05
0478186786-08      S.P.               Energy Chiropractic PC                   98941            11/06/2017           1          $34.68


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0478186786-08      S.P.               Energy Chiropractic PC                   98941      11/13/2017-11/30/2017      7          $242.76
0478186786-08      S.P.               Energy Chiropractic PC                   98941      12/12/2017-12/13/2017      2           $69.36
0478186786-08      S.P.               Energy Chiropractic PC                   98941            01/22/2018           1           $34.68
0478186786-08      S.P.               Energy Chiropractic PC                   99212            01/22/2018           1           $26.41
0478186786-12     L.M.                Energy Chiropractic PC                   99203            11/03/2017           1           $54.73
0478186786-12     L.M.                Energy Chiropractic PC                   98941            11/09/2017           1           $34.68
0478186786-12     L.M.                Energy Chiropractic PC                   98941      11/15/2017-12/05/2017      7          $242.76
0478186786-12     L.M.                Energy Chiropractic PC                   98941            12/12/2017           1           $34.68
0478186786-12     L.M.                Energy Chiropractic PC                   98941      01/10/2018-01/17/2018      2           $69.36
0478186786-12     L.M.                Energy Chiropractic PC                   98941            04/17/2018           1           $34.68
0478186786-12     L.M.                Energy Chiropractic PC                   99212            04/17/2018           1           $26.41
0478186786-12     L.M.                Energy Chiropractic PC                   98941            04/17/2018           1           $34.68
0478186786-12     L.M.                Energy Chiropractic PC                   99212            04/17/2018           1           $26.41
0492252812-02      S.B.               Energy Chiropractic PC                   98941      07/25/2018-07/30/2018      2           $69.36
0492252812-02      S.B.               Energy Chiropractic PC                   99212            07/30/2018           1           $26.41
0496020934-01     E.D.                Energy Chiropractic PC                   99212            06/11/2018           1           $26.41
0496020934-01     E.D.                Energy Chiropractic PC                   93740            06/11/2018           1           $97.74
0496020934-04      J.N.               Energy Chiropractic PC                   93740            06/22/2018           1           $97.74
0496020934-04      J.N.               Energy Chiropractic PC                   99212            06/22/2018           1           $26.41
0500494711-01     Z.A.                Energy Chiropractic PC                   99203            08/01/2018           1           $54.73
0500494711-01     Z.A.                Energy Chiropractic PC                   98941      08/03/2018-08/09/2018      3          $104.04
0505336941-02     P.G.                Energy Chiropractic PC                   93740            06/06/2018           1           $97.74
0505336941-02     P.G.                Energy Chiropractic PC                   95904            08/22/2018           1         $1,019.62
0505336941-02     P.G.                Energy Chiropractic PC                   95904            08/22/2018           1         $1,310.94
0505336941-02     P.G.                Energy Chiropractic PC                   98941      01/09/2019-02/01/2019      3          $104.04
0505336941-02     P.G.                Energy Chiropractic PC                   98941            02/13/2019           1           $34.68
0505336941-05     E.K.                Energy Chiropractic PC                   95904            07/11/2018           1         $1,310.94
0505336941-05     E.K.                Energy Chiropractic PC                   95904            07/11/2018           1         $1,019.62
0505336941-05     E.K.                Energy Chiropractic PC                   98941      10/29/2018-11/12/2018      3          $104.04
0505336941-05     E.K.                Energy Chiropractic PC                   99212            11/12/2018           1           $26.41


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0505336941-05     E.K.                Energy Chiropractic PC                   93740            11/12/2018           1           $97.74
0505336941-05     E.K.                Energy Chiropractic PC                   98941            11/28/2018           1           $34.68
0505336941-05     E.K.                Energy Chiropractic PC                   98941            12/05/2018           1           $34.68
0505336941-05     E.K.                Energy Chiropractic PC                   98941      01/02/2019-01/09/2019      2           $69.36
0512214957-01     R.D.                Energy Chiropractic PC                   98941      12/11/2018-12/18/2018      2           $69.36
0512214957-01     R.D.                Energy Chiropractic PC                   98941            02/06/2019           1           $34.68
0512214957-01     R.D.                Energy Chiropractic PC                   98941            02/19/2019           1           $34.68
0597828532-02     A.P.                Energy Chiropractic PC                   98941      10/30/2020-11/06/2020      2          $114.00
0597828532-02     A.P.                Energy Chiropractic PC                   76999            11/09/2020           1         $1,350.00
0597828532-02     A.P.                Energy Chiropractic PC                   99201            11/09/2020           1           $54.74
0597828532-02     A.P.                Energy Chiropractic PC                   98941            11/09/2020           1           $57.00
0597828532-02     A.P.                Energy Chiropractic PC                   98941      12/14/2020-01/05/2021      2          $114.00
0597828532-02     A.P.                Energy Chiropractic PC                   98941      01/08/2021-02/19/2021      5          $285.00
0597828532-02     A.P.                Energy Chiropractic PC                   98941      02/26/2021-03/01/2021      2          $114.00
0597828532-02     A.P.                Energy Chiropractic PC                   98941      03/29/2021-04/19/2021      2          $114.00
0597828532-02     A.P.                Energy Chiropractic PC                   98941      05/18/2021-06/23/2021      5          $285.00
0405235540-01     K.W.               FJL Medical Services PC                   99215            09/06/2016           1          $148.69
0411304496-02      J.L.              FJL Medical Services PC                   99215            09/07/2016           1          $148.69
0411304496-02      J.L.              FJL Medical Services PC                   99215            11/02/2016           1          $148.69
0413937953-02     B.W.               FJL Medical Services PC                   20999            09/26/2016           2         $2,875.00
0413937953-02     B.W.               FJL Medical Services PC                   76942            09/26/2016           1          $262.91
0413937953-02     B.W.               FJL Medical Services PC                   99215            09/26/2016           1          $148.69
0414859926-01     N.B.               FJL Medical Services PC                   99244            08/16/2016           1          $236.94
0423203900-01     R.D.               FJL Medical Services PC                   20999            09/07/2016           2         $2,900.00
0423203900-01     R.D.               FJL Medical Services PC                   76942            09/07/2016           1          $262.91
0430039222-02      S.E.              FJL Medical Services PC                   99244            09/27/2016           1          $236.94
0430328526-03     N.Y.               FJL Medical Services PC                   20999            11/21/2016           2         $1,875.00
0430328526-03     N.Y.               FJL Medical Services PC                   76942            11/21/2016           1          $262.91
0430768903-02     C.C.               FJL Medical Services PC                   20999            10/05/2016           2         $6,375.00
0430768903-02     C.C.               FJL Medical Services PC                   76942            10/05/2016           1          $262.91


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                  Provider                            Used             Service             Units      Pending
0431774421-02      P.C.              FJL Medical Services PC                   20999           10/12/2016            2         $2,925.00
0431774421-02      P.C.              FJL Medical Services PC                   76942           10/12/2016            1          $262.91
0431774421-02      P.C.              FJL Medical Services PC                   20999           11/01/2016            2         $3,150.00
0431774421-03     D.S.               FJL Medical Services PC                   20999           10/12/2016            2         $3,200.00
0431774421-03     D.S.               FJL Medical Services PC                   76942           10/12/2016            1          $262.91
0431774421-03     D.S.               FJL Medical Services PC                   20299           10/26/2016            1          $100.00
0431774421-03     D.S.               FJL Medical Services PC                   20999           10/26/2016            2         $3,250.00
0431774421-03     D.S.               FJL Medical Services PC                   76942           10/26/2016            1          $262.91
0431774421-03     D.S.               FJL Medical Services PC                   20999           11/16/2016            2         $3,200.00
0431774421-03     D.S.               FJL Medical Services PC                   76942           11/16/2016            1          $262.91
0431774421-04     M.J.               FJL Medical Services PC                   20999           10/12/2016            2         $4,025.00
0431774421-04     M.J.               FJL Medical Services PC                   76942           10/12/2016            1          $262.91
0431774421-05     M.T.               FJL Medical Services PC                   20999           10/12/2016            2         $3,200.00
0431774421-05     M.T.               FJL Medical Services PC                   20999           11/01/2016            2         $2,825.00
0434546750-11      E.I.              FJL Medical Services PC                   20999           11/04/2016            2         $2,825.00
0434546750-11      E.I.              FJL Medical Services PC                   76942           11/04/2016            1          $262.91
0434704607-02      L.S.              FJL Medical Services PC                   20999           11/02/2016            2         $6,950.00
0434704607-02      L.S.              FJL Medical Services PC                   76942           11/02/2016            1          $262.91
0434704607-09     D.T.               FJL Medical Services PC                   20999           11/08/2016            3         $3,800.00
0434704607-09     D.T.               FJL Medical Services PC                   76942           11/08/2016            1          $262.91
0457648400-02     G.G.               FJL Medical Services PC                   99244           07/20/2017            1          $236.94
0462711755-01     D.L.               FJL Medical Services PC                   20553           07/20/2017            1          $119.10
0462711755-01     D.L.               FJL Medical Services PC                   20999           07/20/2017            2         $3,075.00
0462711755-01     D.L.               FJL Medical Services PC                   76942           07/20/2017            1          $262.91
0462711755-07      E.S.              FJL Medical Services PC                   20553           07/20/2017            1          $119.10
0462711755-07      E.S.              FJL Medical Services PC                   20999           07/20/2017            2         $3,175.00
0462711755-07      E.S.              FJL Medical Services PC                   76942           07/20/2017            1          $262.91
0462711755-08      R.P.              FJL Medical Services PC                   20553           07/20/2017            1          $119.10
0462711755-08      R.P.              FJL Medical Services PC                   20999           07/20/2017            2         $2,525.00
0462711755-08      R.P.              FJL Medical Services PC                   76942           07/20/2017            1          $262.91


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                    Provider                          Used              Service            Units      Pending
0467961603-02      P.B.              FJL Medical Services PC                   20999            10/05/2017           2         $3,700.00
0340022847-01     J.M.              Francis Joseph Lacina MD                   64550      12/23/2014-01/22/2015      14        $1,026.20
0340022847-01     J.M.              Francis Joseph Lacina MD                   64550      02/02/2015-02/06/2015      3          $219.90
0340022847-01     J.M.              Francis Joseph Lacina MD                   97010      02/02/2015-02/06/2015      3           $54.75
0340022847-01     J.M.              Francis Joseph Lacina MD                   97110      02/02/2015-02/06/2015      3           $69.54
0340022847-01     J.M.              Francis Joseph Lacina MD                   97124      02/02/2015-02/06/2015      3           $60.63
0340022847-01     J.M.              Francis Joseph Lacina MD                   97799      02/02/2015-02/06/2015      3          $148.50
0342499539-01      J.R.             Francis Joseph Lacina MD                   97799      01/06/2014-01/20/2015      10         $495.00
0342499539-01      J.R.             Francis Joseph Lacina MD                   64550      12/24/2014-01/20/2015      10         $733.00
0342499539-01      J.R.             Francis Joseph Lacina MD                   95903            01/19/2015           1          $665.88
0342499539-01      J.R.             Francis Joseph Lacina MD                   95904            01/19/2015           1          $425.88
0342499539-01      J.R.             Francis Joseph Lacina MD                   95934            01/19/2015           1          $239.98
0342499539-01      J.R.             Francis Joseph Lacina MD                   95926            01/19/2015           1          $302.12
0342499539-01      J.R.             Francis Joseph Lacina MD                   64550      01/30/2015-02/04/2015      3          $219.90
0374553048-02      E.F.             Francis Joseph Lacina MD                   99244            10/26/2015           1          $236.94
0375170644-02     M.R.              Francis Joseph Lacina MD                   99244            11/04/2015           1          $236.94
0377476239-01     L.C.              Francis Joseph Lacina MD                   99244            10/28/2015           1          $236.94
0377476239-01     L.C.              Francis Joseph Lacina MD                   99244            10/28/2015           1          $236.94
0377476239-01     L.C.              Francis Joseph Lacina MD                   99215            11/04/2015           1          $148.69
0380809228-05      T.T.             Francis Joseph Lacina MD                   99244            11/02/2015           1          $236.94
0380809228-07     B.G.              Francis Joseph Lacina MD                   99244            11/02/2015           1          $236.94
0398385996-02      F.P.             Francis Joseph Lacina MD                   20999            01/15/2016           2         $1,750.00
0398385996-02      F.P.             Francis Joseph Lacina MD                   99244            01/15/2016           1          $236.94
0398385996-02      F.P.             Francis Joseph Lacina MD                   99215            02/09/2016           1          $148.69
0398385996-02      F.P.             Francis Joseph Lacina MD                   95831            02/12/2016           1          $348.80
0398385996-02      F.P.             Francis Joseph Lacina MD                   95851            02/12/2016           1          $182.84
0374512275-02      B.S.               JFL Medical Care PC                      99244            01/04/2017           1          $236.94
0430768903-01     J.M.                JFL Medical Care PC                      20999            12/14/2016           2         $2,825.00
0430768903-01     J.M.                JFL Medical Care PC                      76942            12/14/2016           1          $262.91
0431774421-02      P.C.               JFL Medical Care PC                      99215            03/08/2017           1          $148.69


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                   Provider                           Used             Service             Units      Pending
0431774421-03     D.S.                 JFL Medical Care PC                     20999           12/16/2016            2         $3,150.00
0431774421-03     D.S.                 JFL Medical Care PC                     20999           12/16/2016            2         $3,150.00
0431774421-03     D.S.                 JFL Medical Care PC                     76942           12/16/2016            1          $262.91
0431774421-03     D.S.                 JFL Medical Care PC                     99215           12/16/2016            1          $148.69
0431774421-03     D.S.                 JFL Medical Care PC                     20999           12/16/2016            2         $2,600.00
0431774421-03     D.S.                 JFL Medical Care PC                     76942           12/16/2016            1          $262.91
0431774421-03     D.S.                 JFL Medical Care PC                     99215           12/16/2016            1          $148.69
0431774421-03     D.S.                 JFL Medical Care PC                     99215           02/15/2017            1          $148.69
0431774421-03     D.S.                 JFL Medical Care PC                     99215           05/03/2017            1          $148.69
0431774421-04     M.J.                 JFL Medical Care PC                     99215           12/21/2016            1          $148.69
0431774421-04     M.J.                 JFL Medical Care PC                     20553           02/01/2017            1          $119.10
0431774421-04     M.J.                 JFL Medical Care PC                     20999           02/01/2017            2         $3,100.00
0431774421-04     M.J.                 JFL Medical Care PC                     76942           02/01/2017            1          $262.91
0431774421-04     M.J.                 JFL Medical Care PC                     99215           02/01/2017            1          $148.69
0431774421-04     M.J.                 JFL Medical Care PC                     99215           03/08/2017            1          $148.69
0434704607-02      L.S.                JFL Medical Care PC                     20999           12/20/2016            3         $4,450.00
0434704607-02      L.S.                JFL Medical Care PC                     76942           12/20/2016            1          $262.91
0434704607-09     D.T.                 JFL Medical Care PC                     20553           11/23/2016            1          $119.10
0434704607-09     D.T.                 JFL Medical Care PC                     20999           11/23/2016            2         $4,075.00
0436499486-02     S.M.                 JFL Medical Care PC                     99215           03/29/2017            1          $148.69
0440453512-01     C.W.                 JFL Medical Care PC                     20999           12/27/2016            2         $2,500.00
0440453512-01     C.W.                 JFL Medical Care PC                     76942           12/27/2016            1          $262.91
0440453512-01     C.W.                 JFL Medical Care PC                     20999           01/05/2017            3         $1,925.00
0440453512-01     C.W.                 JFL Medical Care PC                     76942           01/05/2017            1          $262.91
0440453512-01     C.W.                 JFL Medical Care PC                     20999           02/15/2017            2         $5,025.00
0440453512-01     C.W.                 JFL Medical Care PC                     76942           02/15/2017            1          $262.91
0440453512-01     C.W.                 JFL Medical Care PC                     76942           02/22/2017            1          $262.91
0440453512-01     C.W.                 JFL Medical Care PC                     20999           03/01/2017            2         $4,425.00
0440453512-01     C.W.                 JFL Medical Care PC                     76942           03/01/2017            1          $262.91
0440453512-01     C.W.                 JFL Medical Care PC                     20999           02/22/2017            2         $2,525.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                   Provider                           Used             Service             Units      Pending
0440453512-01     C.W.                 JFL Medical Care PC                     20999           02/22/2017            2         $2,525.00
0440453512-01     C.W.                 JFL Medical Care PC                     20999           03/22/2017            2         $5,050.00
0440453512-01     C.W.                 JFL Medical Care PC                     76942           03/22/2017            1          $262.91
0440453512-01     C.W.                 JFL Medical Care PC                     20999           03/29/2017            2         $5,050.00
0440453512-01     C.W.                 JFL Medical Care PC                     76942           03/29/2017            1          $262.91
0446478414-02     B.M.                 JFL Medical Care PC                     20999           03/15/2017            2         $3,025.00
0446478414-02     B.M.                 JFL Medical Care PC                     76942           03/15/2017            1          $262.91
0448810002-02     D.W.                 JFL Medical Care PC                     20999           03/30/2017            2         $6,075.00
0448810002-02     D.W.                 JFL Medical Care PC                     20999           06/13/2017            2         $2,525.00
0449850220-02     K.L.                 JFL Medical Care PC                     20999           05/17/2017            2         $5,050.00
0457648400-02     G.G.                 JFL Medical Care PC                     99244           09/15/2017            1          $236.94
0457648400-02     G.G.                 JFL Medical Care PC                     20999           09/15/2017            2         $4,575.00
0478186786-02     M.L.                 JFL Medical Care PC                     99215           11/30/2017            1          $148.69
0478186786-08      S.P.                JFL Medical Care PC                     99244           10/25/2017            1          $236.94
0478186786-08      S.P.                JFL Medical Care PC                     20999           11/30/2017            2         $4,825.00
0478186786-08      S.P.                JFL Medical Care PC                     76942           11/30/2017            1          $262.91
0478186786-08      S.P.                JFL Medical Care PC                     99215           11/30/2017            1          $148.69
0478186786-12     L.M.                 JFL Medical Care PC                     99244           01/17/2018            1          $236.94
0556464261-03     P.N.                JP Medical Services PC                   20999           12/26/2019            2         $1,400.00
0556464261-03     P.N.                JP Medical Services PC                   99215           12/26/2019            1          $148.69
0557707767-01     N.B.                JP Medical Services PC                   20999           01/08/2020            2         $1,400.00
0559183124-02      J.R.               JP Medical Services PC                   20999           12/12/2019            2         $1,400.00
0559183124-02      J.R.               JP Medical Services PC                   99215           12/12/2019            1          $148.69
0559183124-02      J.R.               JP Medical Services PC                   20999           12/26/2019            2         $1,400.00
0559183124-02      J.R.               JP Medical Services PC                   99215           12/26/2019            1          $148.69
0562978064-02     G.A.                JP Medical Services PC                   20999           12/27/2019            2         $1,050.00
0564349363-01     E.M.                JP Medical Services PC                   20999           12/10/2019            2         $1,300.00
0564349363-01     E.M.                JP Medical Services PC                   20999           01/15/2020            2          $975.00
0564349363-01     E.M.                JP Medical Services PC                   20999           01/28/2020            2          $650.00
0567146238-03     R.W.                JP Medical Services PC                   20999           12/10/2019            2          $975.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0567146238-03     R.W.                JP Medical Services PC                   20999      12/18/2019-12/19/2019      3         $1,300.00
0567146238-03     R.W.                JP Medical Services PC                   20999            01/13/2020           2          $650.00
0567146238-03     R.W.                JP Medical Services PC                   20999            01/30/2020           2          $900.00
0567146238-03     R.W.                JP Medical Services PC                   20999            02/04/2020           2          $975.00
0567146238-03     R.W.                JP Medical Services PC                   20999            02/10/2020           2          $975.00
0567178421-01      T.S.               JP Medical Services PC                   20999            12/17/2019           2          $975.00
0567178421-01      T.S.               JP Medical Services PC                   20999            12/30/2019           2          $975.00
0567728472-01     W.D.                JP Medical Services PC                   20999            01/08/2020           2         $1,400.00
0568456115-02     K.M.                JP Medical Services PC                   20999            02/07/2020           2          $975.00
0570786467-06     W.L.                JP Medical Services PC                   20999            01/09/2020           2         $1,400.00
0570797323-01     A.G.                JP Medical Services PC                   20999            12/24/2019           2         $1,950.00
0570797323-01     A.G.                JP Medical Services PC                   99244            12/24/2019           1          $236.94
0571314871-03     Z.K.                JP Medical Services PC                   20999            12/26/2019           2          $725.00
0571314871-03     Z.K.                JP Medical Services PC                   99244            12/26/2019           1          $236.94
0571500685-01     C.E.                JP Medical Services PC                   20999            01/02/2020           2         $1,400.00
0571500685-01     C.E.                JP Medical Services PC                   99215            01/02/2020           1          $148.69
0571500685-01     C.E.                JP Medical Services PC                   20999            12/11/2019           2         $1,400.00
0571500685-01     C.E.                JP Medical Services PC                   99244            12/11/2019           1          $236.94
0571805324-02     D.S.                JP Medical Services PC                   20999            12/10/2019           2          $975.00
0571805324-02     D.S.                JP Medical Services PC                   99244            12/10/2019           1          $236.94
0571805324-03     R.M.                JP Medical Services PC                   20999            12/10/2019           2          $650.00
0571805324-03     R.M.                JP Medical Services PC                   99244            12/10/2019           1          $236.94
0597828532-02     A.P.                JP Medical Services PC                   95861            11/17/2020           1          $241.50
0597828532-02     A.P.                JP Medical Services PC                   95912            11/17/2020           1          $405.26
0597828532-02     A.P.                JP Medical Services PC                   95861            11/30/2020           1          $483.00
0597828532-02     A.P.                JP Medical Services PC                   95912            11/30/2020           1          $405.26
0597828532-02     A.P.                JP Medical Services PC                   95927            02/16/2021           1          $302.12
0608935029-02     R.C.                JP Medical Services PC                   95861            02/16/2021           1          $241.50
0608935029-02     R.C.                JP Medical Services PC                   95912            02/16/2021           1          $405.26
0404744260-02     C.A.                   JPC Medical PC                        99205            12/22/2016           1          $236.94


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                   Provider                           Used             Service             Units      Pending
0405235540-01     K.W.                   JPC Medical PC                        99358           01/10/2017            1          $204.41
0405235540-01     K.W.                   JPC Medical PC                        99205           01/10/2017            1          $236.94
0405235540-01     K.W.                   JPC Medical PC                        99215           02/21/2017            1          $148.69
0431259696-05      I.G.                  JPC Medical PC                        95886           01/26/2017            1          $617.52
0431259696-05      I.G.                  JPC Medical PC                        95903           01/26/2017            1         $1,331.76
0431259696-05      I.G.                  JPC Medical PC                        95904           01/26/2017            1         $1,064.70
0431259696-05      I.G.                  JPC Medical PC                        95934           01/26/2017            1          $239.98
0434552568-02      A.J.                  JPC Medical PC                        95886           02/16/2017            1          $617.52
0434552568-02      A.J.                  JPC Medical PC                        95903           02/16/2017            1         $1,331.76
0434552568-02      A.J.                  JPC Medical PC                        95904           02/16/2017            1         $1,064.70
0434552568-02      A.J.                  JPC Medical PC                        95934           02/16/2017            1          $239.98
0434704607-09     D.T.                   JPC Medical PC                        95886           01/24/2017            1          $617.52
0434704607-09     D.T.                   JPC Medical PC                        95903           01/24/2017            1         $1,331.76
0434704607-09     D.T.                   JPC Medical PC                        95904           01/24/2017            1         $1,064.70
0434704607-09     D.T.                   JPC Medical PC                        95934           01/24/2017            1          $239.98
0436367817-03     M.K.                   JPC Medical PC                        95886           01/31/2017            1          $617.52
0436367817-03     M.K.                   JPC Medical PC                        95903           01/31/2017            1         $1,331.76
0436367817-03     M.K.                   JPC Medical PC                        95904           01/31/2017            1         $1,064.70
0436367817-03     M.K.                   JPC Medical PC                        95934           01/31/2017            1          $239.98
0436730963-06     R.N.                   JPC Medical PC                        95886           02/02/2017            1          $617.52
0436730963-06     R.N.                   JPC Medical PC                        95903           02/02/2017            1         $1,498.23
0436730963-06     R.N.                   JPC Medical PC                        95904           02/02/2017            1         $1,064.70
0436730963-06     R.N.                   JPC Medical PC                        95934           02/02/2017            1          $239.98
0438641714-03     P.W.                   JPC Medical PC                        95886           04/13/2017            1          $308.76
0438641714-03     P.W.                   JPC Medical PC                        95903           04/13/2017            1          $665.88
0438641714-03     P.W.                   JPC Medical PC                        95904           04/13/2017            1          $425.88
0438641714-03     P.W.                   JPC Medical PC                        95934           04/13/2017            1          $239.98
0439267394-01     R.N.                   JPC Medical PC                        95903           04/25/2017            1         $1,165.29
0439267394-01     R.N.                   JPC Medical PC                        95904           04/25/2017            1         $1,064.70
0439267394-01     R.N.                   JPC Medical PC                        95934           04/25/2017            1          $239.98


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                   Provider                           Used             Service             Units      Pending
0440453512-01     C.W.                   JPC Medical PC                        99358           05/08/2017            1          $204.41
0440453512-01     C.W.                   JPC Medical PC                        99215           05/08/2017            1          $148.69
0440453512-01     C.W.                   JPC Medical PC                        99215           06/05/2017            1          $148.69
0441705449-03     M.T.                   JPC Medical PC                        95886           03/07/2017            1          $617.52
0441705449-03     M.T.                   JPC Medical PC                        95903           03/07/2017            1         $1,331.76
0441705449-03     M.T.                   JPC Medical PC                        95904           03/07/2017            1         $1,064.70
0441705449-03     M.T.                   JPC Medical PC                        95934           03/07/2017            1          $239.98
0447210337-03     B.D.                   JPC Medical PC                        99205           03/23/2017            1          $200.68
0447210337-08      G.J.                  JPC Medical PC                        99205           04/13/2017            1          $200.68
0447210337-08      G.J.                  JPC Medical PC                        95886           04/13/2017            1          $617.52
0447210337-08      G.J.                  JPC Medical PC                        95903           04/13/2017            1         $1,331.76
0447210337-08      G.J.                  JPC Medical PC                        95904           04/13/2017            1         $1,064.70
0447210337-08      G.J.                  JPC Medical PC                        95934           04/13/2017            1          $239.98
0449854487-01     N.W.                   JPC Medical PC                        95886           04/25/2017            1          $617.52
0449854487-01     N.W.                   JPC Medical PC                        95903           04/25/2017            1         $1,331.76
0449854487-01     N.W.                   JPC Medical PC                        95904           04/25/2017            1         $1,064.70
0449854487-01     N.W.                   JPC Medical PC                        95934           04/25/2017            1          $239.98
0449854487-02     L.W.                   JPC Medical PC                        95886           04/25/2017            1          $617.52
0449854487-02     L.W.                   JPC Medical PC                        95903           04/25/2017            1         $1,165.29
0449854487-02     L.W.                   JPC Medical PC                        95904           04/25/2017            1         $1,064.70
0449854487-02     L.W.                   JPC Medical PC                        95934           04/25/2017            1          $239.98
0367613387-02     M.J.               JPF Medical Services PC                   20553           11/08/2016            1          $119.10
0367613387-02     M.J.               JPF Medical Services PC                   20999           11/08/2016            2         $1,625.00
0367613387-02     M.J.               JPF Medical Services PC                   99214           11/08/2016            1          $148.69
0393570304-01     C.R.               JPF Medical Services PC                   20553           09/16/2016            1          $119.10
0393570304-01     C.R.               JPF Medical Services PC                   20999           09/16/2016            2         $1,225.00
0393570304-01     C.R.               JPF Medical Services PC                   99244           09/16/2016            1          $236.94
0395201676-02     F.M.               JPF Medical Services PC                   20553           09/30/2016            1          $119.10
0395201676-02     F.M.               JPF Medical Services PC                   20999           09/30/2016            2         $1,375.00
0395201676-02     F.M.               JPF Medical Services PC                   99244           09/30/2016            1          $236.94


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                  Provider                            Used             Service             Units      Pending
0395201676-02     F.M.               JPF Medical Services PC                   20999           10/07/2016            2         $1,550.00
0395201676-02     F.M.               JPF Medical Services PC                   99215           10/14/2016            1          $148.69
0395201676-02     F.M.               JPF Medical Services PC                   20999           10/14/2016            2         $1,375.00
0395201676-02     F.M.               JPF Medical Services PC                   20553           10/21/2016            1          $119.10
0395201676-02     F.M.               JPF Medical Services PC                   20999           10/21/2016            1          $755.00
0395201676-02     F.M.               JPF Medical Services PC                   99215           10/21/2016            1          $148.69
0405231143-01     C.A.               JPF Medical Services PC                   20553           09/23/2016            1          $119.10
0405231143-01     C.A.               JPF Medical Services PC                   20999           09/23/2016            2         $1,225.00
0405231143-01     C.A.               JPF Medical Services PC                   99215           09/23/2016            1          $148.69
0408989390-03     A.H.               JPF Medical Services PC                   20999           10/28/2016            2         $1,550.00
0408989390-03     A.H.               JPF Medical Services PC                   99215           10/28/2016            1          $148.69
0415767268-02     Y.E.               JPF Medical Services PC                   20999           10/04/2016            2         $1,225.00
0415767268-02     Y.E.               JPF Medical Services PC                   20999           10/25/2016            2         $1,475.00
0415767268-02     Y.E.               JPF Medical Services PC                   99215           10/25/2016            1          $148.69
0415767268-02     Y.E.               JPF Medical Services PC                   20553           10/25/2016            1          $119.10
0415767268-02     Y.E.               JPF Medical Services PC                   20999           10/25/2016            2         $1,475.00
0415767268-02     Y.E.               JPF Medical Services PC                   99215           10/25/2016            1          $148.69
0415767268-02     Y.E.               JPF Medical Services PC                   20999           12/08/2016            2         $1,350.00
0415767268-02     Y.E.               JPF Medical Services PC                   99215           12/08/2016            1          $148.69
0415767268-02     Y.E.               JPF Medical Services PC                   20999           01/05/2017            2         $1,275.00
0415767268-02     Y.E.               JPF Medical Services PC                   20999           01/12/2017            2         $1,525.00
0415767268-02     Y.E.               JPF Medical Services PC                   99215           01/12/2017            1          $148.69
0415767268-02     Y.E.               JPF Medical Services PC                   99215           01/19/2017            1          $148.69
0415767268-02     Y.E.               JPF Medical Services PC                   99215           02/02/2017            1          $148.69
0415767268-02     Y.E.               JPF Medical Services PC                   20999           02/02/2017            2         $1,525.00
0419487863-01     O.C.               JPF Medical Services PC                   20999           10/04/2016            2         $1,525.00
0420467748-02     L.H.               JPF Medical Services PC                   20999           10/04/2016            2         $1,625.00
0422068007-01      S.J.              JPF Medical Services PC                   20999           11/29/2016            2         $2,875.00
0422068007-01      S.J.              JPF Medical Services PC                   20999           12/06/2016            2         $1,625.00
0422068007-01      S.J.              JPF Medical Services PC                   99215           12/06/2016            1          $148.69


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                  Provider                            Used             Service             Units      Pending
0422068007-01      S.J.              JPF Medical Services PC                   20553           01/30/2017            1          $119.10
0422068007-01      S.J.              JPF Medical Services PC                   20999           01/30/2017            2         $1,450.00
0422068007-01      S.J.              JPF Medical Services PC                   99215           01/30/2017            1          $148.69
0422068007-01      S.J.              JPF Medical Services PC                   20999           02/06/2017            2         $1,525.00
0422068007-01      S.J.              JPF Medical Services PC                   99215           02/06/2017            1          $148.69
0422413260-02     N.R.               JPF Medical Services PC                   20553           11/01/2016            1          $119.10
0422413260-02     N.R.               JPF Medical Services PC                   20999           11/01/2016            2         $1,550.00
0422413260-02     N.R.               JPF Medical Services PC                   99215           11/01/2016            1          $148.69
0423374818-01     A.Z.               JPF Medical Services PC                   20999           10/14/2016            2         $1,625.00
0423374818-01     A.Z.               JPF Medical Services PC                   20999           10/21/2016            2         $1,300.00
0423374818-01     A.Z.               JPF Medical Services PC                   99215           10/21/2016            1          $148.69
0423374818-01     A.Z.               JPF Medical Services PC                   20999           11/04/2016            2         $1,550.00
0423374818-01     A.Z.               JPF Medical Services PC                   99215           11/04/2016            1          $148.69
0423374818-04     N.G.               JPF Medical Services PC                   20999           10/14/2016            2         $2,050.00
0423374818-04     N.G.               JPF Medical Services PC                   20999           10/21/2016            2         $1,300.00
0423374818-04     N.G.               JPF Medical Services PC                   99215           10/21/2016            1          $148.69
0423374818-04     N.G.               JPF Medical Services PC                   20999           11/04/2016            2          $684.00
0423374818-04     N.G.               JPF Medical Services PC                   99215           11/04/2016            1          $148.69
0427219795-03      J.B.              JPF Medical Services PC                   20553           10/25/2016            1          $119.10
0427219795-03      J.B.              JPF Medical Services PC                   20999           10/25/2016            2         $1,475.00
0427219795-03      J.B.              JPF Medical Services PC                   99215           10/25/2016            1          $148.69
0427219795-03      J.B.              JPF Medical Services PC                   20553           11/01/2016            1          $119.10
0427219795-03      J.B.              JPF Medical Services PC                   20999           11/01/2016            2         $1,450.00
0427219795-03      J.B.              JPF Medical Services PC                   99215           11/01/2016            1          $148.69
0427531546-05     T.K.               JPF Medical Services PC                   20553           09/27/2016            1          $119.10
0427531546-05     T.K.               JPF Medical Services PC                   20999           09/27/2016            2           $15.50
0427531546-05     T.K.               JPF Medical Services PC                   99244           09/27/2016            1          $236.94
0427531546-05     T.K.               JPF Medical Services PC                   20553           10/04/2016            1          $119.10
0427531546-05     T.K.               JPF Medical Services PC                   20999           10/04/2016            2         $1,225.00
0427531546-05     T.K.               JPF Medical Services PC                   99215           10/04/2016            1          $148.69


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                  Provider                            Used             Service             Units      Pending
0427531546-05     T.K.               JPF Medical Services PC                   20553           10/25/2016            1          $119.10
0427531546-05     T.K.               JPF Medical Services PC                   20999           10/25/2016            2         $1,225.00
0427531546-05     T.K.               JPF Medical Services PC                   99215           10/25/2016            1          $148.69
0427531546-05     T.K.               JPF Medical Services PC                   20553           11/01/2016            1          $119.10
0427531546-05     T.K.               JPF Medical Services PC                   20999           11/01/2016            2         $1,450.00
0427531546-05     T.K.               JPF Medical Services PC                   99215           11/01/2016            1          $148.69
0427531546-05     T.K.               JPF Medical Services PC                   20553           12/08/2016            1          $119.10
0427531546-05     T.K.               JPF Medical Services PC                   20999           12/08/2016            2         $1,625.00
0427531546-05     T.K.               JPF Medical Services PC                   99215           12/08/2016            1          $148.69
0427531546-05     T.K.               JPF Medical Services PC                   20999           12/29/2016            2         $1,525.00
0427531546-05     T.K.               JPF Medical Services PC                   99215           12/29/2016            1          $148.69
0429945370-01     D.B.               JPF Medical Services PC                   20999           10/04/2016            2         $1,375.00
0429945370-01     D.B.               JPF Medical Services PC                   20999           11/09/2016            2         $1,475.00
0429945370-01     D.B.               JPF Medical Services PC                   99215           11/09/2016            1          $148.69
0429945370-01     D.B.               JPF Medical Services PC                   20999           02/01/2017            2         $1,625.00
0433530375-01     R.M.               JPF Medical Services PC                   20999           11/03/2016            2         $1,525.00
0433530375-01     R.M.               JPF Medical Services PC                   99244           11/03/2016            1          $236.94
0433530375-01     R.M.               JPF Medical Services PC                   99215           11/29/2016            1          $148.69
0433530375-01     R.M.               JPF Medical Services PC                   20999           11/29/2016            2         $1,625.00
0433530375-01     R.M.               JPF Medical Services PC                   20553           11/03/2016            1          $119.10
0433530375-01     R.M.               JPF Medical Services PC                   99244           11/03/2016            1          $236.94
0433530375-01     R.M.               JPF Medical Services PC                   20999           11/03/2016            2         $1,525.00
0433530375-01     R.M.               JPF Medical Services PC                   20553           11/29/2016            1          $119.10
0433530375-01     R.M.               JPF Medical Services PC                   99215           11/29/2016            1          $148.69
0433530375-01     R.M.               JPF Medical Services PC                   20999           01/16/2017            2         $1,400.00
0434099155-01     K.G.               JPF Medical Services PC                   20999           12/09/2016            2         $1,625.00
0434099155-01     K.G.               JPF Medical Services PC                   99244           12/09/2016            1          $236.94
0434196456-02      J.R.              JPF Medical Services PC                   20999           01/10/2017            2         $1,625.00
0434196456-02      J.R.              JPF Medical Services PC                   20999           01/17/2017            2         $1,625.00
0434196456-02      J.R.              JPF Medical Services PC                   99215           01/17/2017            1          $148.69


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                  Provider                            Used              Service            Units      Pending
0434196456-02      J.R.              JPF Medical Services PC                   20999            02/21/2017           2         $1,525.00
0434196456-02      J.R.              JPF Medical Services PC                   99215            02/21/2017           1          $148.69
0434196456-02      J.R.              JPF Medical Services PC                   20999            02/28/2017           2         $1,350.00
0434196456-02      J.R.              JPF Medical Services PC                   99215            02/28/2017           1          $148.69
0434580254-01     C.B.               JPF Medical Services PC                   20999            01/24/2017           2         $1,625.00
0434580254-01     C.B.               JPF Medical Services PC                   20999            02/07/2017           2         $1,525.00
0434580254-01     C.B.               JPF Medical Services PC                   99215            02/07/2017           1          $148.69
0435034350-01      S.T.              JPF Medical Services PC                   20999            02/14/2017           2         $1,625.00
0435844709-01     K.K.               JPF Medical Services PC                   20999            01/12/2017           2         $1,400.00
0435844709-01     K.K.               JPF Medical Services PC                   20999            01/18/2017           2         $1,225.00
0435844709-01     K.K.               JPF Medical Services PC                   99215            01/18/2017           1          $148.69
0435844709-01     K.K.               JPF Medical Services PC                   20999            01/23/2017           2         $1,225.00
0435844709-01     K.K.               JPF Medical Services PC                   99215            01/23/2017           1          $148.69
0435844709-01     K.K.               JPF Medical Services PC                   20999            01/30/2017           2         $1,225.00
0435844709-01     K.K.               JPF Medical Services PC                   20999            02/16/2017           2         $1,225.00
0435844709-01     K.K.               JPF Medical Services PC                   99215            02/16/2017           1          $148.69
0435844709-01     K.K.               JPF Medical Services PC                   20999      01/23/2017-02/23/2017      3         $1,225.00
0435844709-01     K.K.               JPF Medical Services PC                   99215            02/23/2017           1          $148.69
0435844709-01     K.K.               JPF Medical Services PC                   20999            02/28/2017           2         $1,125.00
0435844709-01     K.K.               JPF Medical Services PC                   99215            02/28/2017           1          $148.69
0435844709-01     K.K.               JPF Medical Services PC                   20999            03/08/2017           2         $1,400.00
0435844709-01     K.K.               JPF Medical Services PC                   99215            03/08/2017           1          $148.69
0435844709-02     N.S.               JPF Medical Services PC                   20999            01/12/2017           2         $1,400.00
0435844709-02     N.S.               JPF Medical Services PC                   20999            01/18/2017           2         $1,225.00
0435844709-02     N.S.               JPF Medical Services PC                   99215            01/18/2017           1          $148.69
0435844709-02     N.S.               JPF Medical Services PC                   20999            01/23/2017           2         $1,400.00
0435844709-02     N.S.               JPF Medical Services PC                   99215            01/23/2017           1          $148.69
0435844709-02     N.S.               JPF Medical Services PC                   20999            01/30/2017           2         $1,400.00
0435844709-02     N.S.               JPF Medical Services PC                   99215            01/30/2017           1          $148.69
0435844709-02     N.S.               JPF Medical Services PC                   20999            02/16/2017           2         $1,400.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                  Provider                            Used             Service             Units      Pending
0435844709-02     N.S.               JPF Medical Services PC                   99215           02/16/2017            1          $148.69
0435844709-02     N.S.               JPF Medical Services PC                   20999           02/23/2017            2         $1,400.00
0435844709-02     N.S.               JPF Medical Services PC                   99215           02/23/2017            1          $148.69
0435844709-02     N.S.               JPF Medical Services PC                   20999           02/28/2017            2         $1,400.00
0435844709-02     N.S.               JPF Medical Services PC                   99215           02/28/2017            1          $148.69
0435844709-02     N.S.               JPF Medical Services PC                   99215           03/08/2017            1          $148.69
0435844709-02     N.S.               JPF Medical Services PC                   20999           03/08/2017            2         $1,400.00
0436118640-03      J.C.              JPF Medical Services PC                   20999           12/07/2016            2         $1,625.00
0436118640-03      J.C.              JPF Medical Services PC                   20999           02/08/2017            2         $1,525.00
0436118640-03      J.C.              JPF Medical Services PC                   20999           03/08/2017            2         $1,625.00
0436118640-03      J.C.              JPF Medical Services PC                   99215           03/08/2017            1          $148.69
0436643688-01     Y.R.               JPF Medical Services PC                   20553           11/29/2016            1          $119.10
0436643688-01     Y.R.               JPF Medical Services PC                   99215           11/29/2016            1          $148.69
0436643688-01     Y.R.               JPF Medical Services PC                   20999           11/29/2016            2         $1,525.00
0436643688-01     Y.R.               JPF Medical Services PC                   20999           01/09/2017            2         $1,625.00
0436643688-01     Y.R.               JPF Medical Services PC                   99215           01/30/2017            1          $148.69
0436643688-01     Y.R.               JPF Medical Services PC                   20999           01/30/2017            2         $1,625.00
0436643688-01     Y.R.               JPF Medical Services PC                   20999           02/27/2017            2         $1,625.00
0436643688-01     Y.R.               JPF Medical Services PC                   99215           02/27/2017            1          $148.69
0436891501-03     E.M.               JPF Medical Services PC                   20999           11/15/2016            2         $1,450.00
0436891501-03     E.M.               JPF Medical Services PC                   20553           01/09/2017            1          $119.10
0436891501-03     E.M.               JPF Medical Services PC                   20999           01/09/2017            2         $1,525.00
0436891501-03     E.M.               JPF Medical Services PC                   99244           01/09/2017            1          $236.94
0436891501-03     E.M.               JPF Medical Services PC                   20999           01/30/2017            2         $1,525.00
0437276942-04      E.E.              JPF Medical Services PC                   20999           01/23/2017            2         $1,625.00
0437276942-04      E.E.              JPF Medical Services PC                   20999           02/13/2017            2         $1,625.00
0437276942-04      E.E.              JPF Medical Services PC                   99215           02/13/2017            1          $148.69
0437276942-04      E.E.              JPF Medical Services PC                   20999           02/27/2017            2         $1,625.00
0437276942-04      E.E.              JPF Medical Services PC                   99215           02/27/2017            1          $148.69
0437276942-04      E.E.              JPF Medical Services PC                   99215           03/06/2017            1          $148.69


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                  Provider                            Used             Service             Units      Pending
0437276942-05      B.S.              JPF Medical Services PC                   20999           01/23/2017            2         $1,625.00
0437276942-05      B.S.              JPF Medical Services PC                   20999           02/13/2017            2         $1,625.00
0437276942-05      B.S.              JPF Medical Services PC                   99215           02/13/2017            1          $148.69
0437276942-05      B.S.              JPF Medical Services PC                   20999           02/20/2017            2         $1,625.00
0437276942-05      B.S.              JPF Medical Services PC                   99215           02/20/2017            1          $148.69
0437276942-05      B.S.              JPF Medical Services PC                   20999           02/27/2017            2         $1,625.00
0437276942-05      B.S.              JPF Medical Services PC                   99215           02/27/2017            1          $148.69
0437297467-01     M.K.               JPF Medical Services PC                   20999           12/13/2016            2         $1,550.00
0437429368-02     B.C.               JPF Medical Services PC                   20999           02/07/2017            2         $1,525.00
0437429368-02     B.C.               JPF Medical Services PC                   99244           02/07/2017            1          $236.94
0437429368-02     B.C.               JPF Medical Services PC                   99215           02/14/2017            1          $148.69
0437429368-02     B.C.               JPF Medical Services PC                   20999           02/14/2017            2         $1,525.00
0437429368-02     B.C.               JPF Medical Services PC                   20999           02/21/2017            2         $1,525.00
0437429368-02     B.C.               JPF Medical Services PC                   99215           02/21/2017            1          $148.69
0437623788-01     A.C.               JPF Medical Services PC                   20999           12/06/2016            2         $2,925.00
0438465858-01      J.B.              JPF Medical Services PC                   20999           02/07/2017            2         $1,525.00
0438465858-01      J.B.              JPF Medical Services PC                   99244           02/07/2017            1          $236.94
0438587776-06      J.T.              JPF Medical Services PC                   20999           01/26/2017            2         $5,525.00
0438587776-06      J.T.              JPF Medical Services PC                   99244           01/26/2017            1          $236.94
0438895979-01     L.R.               JPF Medical Services PC                   20999           01/17/2017            2         $2,925.00
0438895979-01     L.R.               JPF Medical Services PC                   99215           02/07/2017            1          $148.69
0439942862-02     F.V.               JPF Medical Services PC                   20999           01/09/2017            2         $1,625.00
0440527661-01      I.S.              JPF Medical Services PC                   20999           01/05/2017            2         $1,375.00
0440527661-01      I.S.              JPF Medical Services PC                   20999           12/29/2016            2         $1,050.00
0440527661-01      I.S.              JPF Medical Services PC                   20999           01/11/2017            2         $1,225.00
0440527661-01      I.S.              JPF Medical Services PC                   99215           01/11/2017            1          $148.69
0440527661-01      I.S.              JPF Medical Services PC                   20999           01/18/2017            2         $1,225.00
0440527661-01      I.S.              JPF Medical Services PC                   99215           01/18/2017            1          $148.69
0440527661-01      I.S.              JPF Medical Services PC                   20999           01/31/2017            2         $1,225.00
0440527661-01      I.S.              JPF Medical Services PC                   20553           01/31/2017            1          $119.10


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                  Provider                            Used             Service             Units      Pending
0440527661-01      I.S.              JPF Medical Services PC                   20553           02/08/2017            1          $119.10
0440527661-01      I.S.              JPF Medical Services PC                   20999           02/08/2017            2         $1,225.00
0440527661-01      I.S.              JPF Medical Services PC                   20553           02/14/2017            1          $119.10
0440527661-01      I.S.              JPF Medical Services PC                   20999           02/14/2017            2         $1,225.00
0440527661-01      I.S.              JPF Medical Services PC                   20553           02/21/2017            1          $119.10
0440527661-01      I.S.              JPF Medical Services PC                   20999           02/21/2017            2         $1,225.00
0440527661-01      I.S.              JPF Medical Services PC                   20999           03/01/2017            2         $1,225.00
0440527661-01      I.S.              JPF Medical Services PC                   99215           03/01/2017            1          $148.69
0440527661-01      I.S.              JPF Medical Services PC                   99215           03/08/2017            1          $148.69
0440527661-01      I.S.              JPF Medical Services PC                   20999           03/08/2017            2         $1,225.00
0440527661-02      S.S.              JPF Medical Services PC                   20999           12/29/2016            2         $1,225.00
0440527661-02      S.S.              JPF Medical Services PC                   20999           01/05/2017            2         $1,050.00
0440527661-02      S.S.              JPF Medical Services PC                   20999           01/11/2017            2         $1,225.00
0440527661-02      S.S.              JPF Medical Services PC                   99215           01/11/2017            1          $148.69
0440527661-02      S.S.              JPF Medical Services PC                   99215           01/18/2017            1          $148.69
0440527661-02      S.S.              JPF Medical Services PC                   20999           01/18/2017            2         $1,225.00
0440527661-02      S.S.              JPF Medical Services PC                   20553           01/31/2017            1          $119.10
0440527661-02      S.S.              JPF Medical Services PC                   20999           01/31/2017            2         $1,225.00
0440527661-02      S.S.              JPF Medical Services PC                   20553           02/08/2017            1          $119.10
0440527661-02      S.S.              JPF Medical Services PC                   20999           02/08/2017            2         $1,225.00
0440527661-02      S.S.              JPF Medical Services PC                   20553           02/14/2017            1          $119.10
0440527661-02      S.S.              JPF Medical Services PC                   20999           02/14/2017            2         $1,125.00
0440527661-02      S.S.              JPF Medical Services PC                   20553           02/21/2017            1          $119.10
0440527661-02      S.S.              JPF Medical Services PC                   20999           02/21/2017            2         $1,225.00
0440527661-02      S.S.              JPF Medical Services PC                   20999           03/01/2017            2         $1,225.00
0440527661-02      S.S.              JPF Medical Services PC                   20999           03/08/2017            2         $1,225.00
0440527661-02      S.S.              JPF Medical Services PC                   99215           03/08/2017            1          $148.69
0440874212-01     Y.Q.               JPF Medical Services PC                   20999           01/23/2017            2         $1,625.00
0440874212-01     Y.Q.               JPF Medical Services PC                   20999           01/30/2017            2         $1,625.00
0440874212-01     Y.Q.               JPF Medical Services PC                   20999           03/06/2017            2         $1,625.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                  Provider                            Used             Service             Units      Pending
0440874212-01     Y.Q.               JPF Medical Services PC                   99215           03/06/2017            1          $148.69
0440997251-01     S.M.               JPF Medical Services PC                   20999           02/21/2017            2         $1,625.00
0440997251-01     S.M.               JPF Medical Services PC                   99244           02/21/2017            1          $236.94
0440997251-01     S.M.               JPF Medical Services PC                   20553           02/28/2017            1          $119.10
0440997251-01     S.M.               JPF Medical Services PC                   20999           02/28/2017            2         $1,625.00
0440997251-01     S.M.               JPF Medical Services PC                   99215           02/28/2017            1          $148.69
0441434602-01     M.C.               JPF Medical Services PC                   20999           02/02/2017            2         $6,500.00
0441434602-01     M.C.               JPF Medical Services PC                   99244           02/02/2017            1          $236.94
0441447026-01     B.R.               JPF Medical Services PC                   20999           01/24/2017            2         $1,625.00
0441447026-01     B.R.               JPF Medical Services PC                   20999           01/31/2017            2         $1,625.00
0441447026-01     B.R.               JPF Medical Services PC                   20999           02/07/2017            2         $1,625.00
0441447026-01     B.R.               JPF Medical Services PC                   20999           02/21/2017            2         $1,625.00
0441447026-01     B.R.               JPF Medical Services PC                   99215           02/21/2017            1          $148.69
0441447026-01     B.R.               JPF Medical Services PC                   20999           02/28/2017            2         $1,625.00
0441447026-01     B.R.               JPF Medical Services PC                   99215           02/28/2017            1          $148.69
0441447026-01     B.R.               JPF Medical Services PC                   20999           03/07/2017            2         $1,625.00
0441447026-01     B.R.               JPF Medical Services PC                   99215           03/07/2017            1          $148.69
0441699666-01     P.G.               JPF Medical Services PC                   20999           01/25/2017            2         $1,525.00
0441699666-01     P.G.               JPF Medical Services PC                   99244           01/25/2017            1          $236.94
0441699666-01     P.G.               JPF Medical Services PC                   20999           03/01/2017            2         $1,625.00
0441699666-01     P.G.               JPF Medical Services PC                   99215           03/01/2017            1          $148.69
0441699666-01     P.G.               JPF Medical Services PC                   99244           01/25/2017            1          $236.94
0441699666-01     P.G.               JPF Medical Services PC                   20999           01/25/2017            2         $1,525.00
0441699666-01     P.G.               JPF Medical Services PC                   99215           03/01/2017            1          $148.69
0441699666-01     P.G.               JPF Medical Services PC                   20999           03/01/2017            2         $1,625.00
0441699666-02     L.G.               JPF Medical Services PC                   20553           01/25/2017            1          $119.10
0441699666-02     L.G.               JPF Medical Services PC                   20999           01/25/2017            2         $1,625.00
0441699666-02     L.G.               JPF Medical Services PC                   99244           01/25/2017            1          $236.94
0441699666-02     L.G.               JPF Medical Services PC                   20999           03/01/2017            2         $1,525.00
0441699666-02     L.G.               JPF Medical Services PC                   99215           03/01/2017            1          $148.69


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                    Provider                          Used              Service            Units      Pending
0441699666-02     L.G.               JPF Medical Services PC                   20553            03/08/2017           1          $119.10
0441699666-02     L.G.               JPF Medical Services PC                   20999            03/08/2017           2         $1,625.00
0441699666-02     L.G.               JPF Medical Services PC                   99215            03/08/2017           1          $148.69
0443460670-02     K.T.               JPF Medical Services PC                   20553            01/31/2017           1          $119.10
0443460670-02     K.T.               JPF Medical Services PC                   20999            01/31/2017           2         $1,625.00
0443460670-02     K.T.               JPF Medical Services PC                   99244            01/31/2017           1          $236.94
0443460670-02     K.T.               JPF Medical Services PC                   20999            02/07/2017           2         $1,625.00
0443460670-02     K.T.               JPF Medical Services PC                   99215            02/07/2017           1          $148.69
0443460670-02     K.T.               JPF Medical Services PC                   99215            02/14/2017           1          $148.69
0443460670-02     K.T.               JPF Medical Services PC                   20999            02/14/2017           2         $1,625.00
0443460670-02     K.T.               JPF Medical Services PC                   20999            02/21/2017           2         $1,625.00
0443460670-02     K.T.               JPF Medical Services PC                   99215            02/21/2017           1          $148.69
0444794309-02     J.M.               JPF Medical Services PC                   20999            02/21/2017           2         $1,525.00
0444794309-02     J.M.               JPF Medical Services PC                   99244            02/21/2017           1          $236.94
0444794309-02     J.M.               JPF Medical Services PC                   20999            03/07/2017           2         $1,525.00
0444794309-02     J.M.               JPF Medical Services PC                   99215            03/07/2017           1          $148.69
0444827991-01     M.L.               JPF Medical Services PC                   20999            02/27/2017           2         $1,525.00
0444995442-06      J.B.              JPF Medical Services PC                   20999            02/16/2017           2         $1,625.00
0444995442-06      J.B.              JPF Medical Services PC                   99244            02/16/2017           1          $236.94
0444995442-06      J.B.              JPF Medical Services PC                   99215            02/16/2017           1          $148.69
0446478414-02     B.M.               JPF Medical Services PC                   20610            02/17/2017           1           $57.26
0446478414-02     B.M.               JPF Medical Services PC                   20999            02/17/2017           2         $4,875.00
0446478414-02     B.M.               JPF Medical Services PC                   99244            02/17/2017           1          $236.94
0446478414-02     B.M.               JPF Medical Services PC                   97750            03/17/2017           1          $249.96
0448810002-02     D.W.               JPF Medical Services PC                   99244            04/05/2017           1          $236.94
0448810002-02     D.W.               JPF Medical Services PC                   20999            04/05/2017           2         $4,550.00
0455115931-09      C.S.              JPF Medical Services PC                   20999            04/25/2017           2         $1,400.00
0455115931-09      C.S.              JPF Medical Services PC                   20999            05/02/2017           2         $1,375.00
0296244239-02     B.H.                 Jules F Parisien MD                     64550      11/26/2013-12/06/2013      3          $219.90
0302803937-05      B.S.                Jules F Parisien MD                     97010      11/06/2013-12/09/2013      14         $255.50


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                    Provider                          Used              Service            Units      Pending
0302803937-05      B.S.                Jules F Parisien MD                     97110      11/06/2013-12/09/2013      14         $324.52
0302803937-05      B.S.                Jules F Parisien MD                     97124      11/06/2013-12/09/2013      14         $282.94
0302803937-05      B.S.                Jules F Parisien MD                     64550      11/06/2013-12/09/2013      14         $952.90
0305061376-02     A.V.                 Jules F Parisien MD                     97799      11/06/2013-12/05/2013      12         $594.00
0305061376-02     A.V.                 Jules F Parisien MD                     64550      11/06/2013-12/05/2013      12         $879.60
0305061376-02     A.V.                 Jules F Parisien MD                     95903            11/26/2013           1          $665.88
0305061376-02     A.V.                 Jules F Parisien MD                     95904            11/26/2013           1          $425.88
0305061376-02     A.V.                 Jules F Parisien MD                     95934            11/26/2013           1          $239.98
0305061376-02     A.V.                 Jules F Parisien MD                     99244            10/29/2013           1          $236.94
0315420661-01     W.T.                 Jules F Parisien MD                     95831            06/04/2014           1          $218.00
0315420661-01     W.T.                 Jules F Parisien MD                     95833            06/04/2014           1          $114.32
0315420661-01     W.T.                 Jules F Parisien MD                     95851            06/04/2014           1          $182.84
0315420661-01     W.T.                 Jules F Parisien MD                     98515            06/04/2014           1           $45.71
0315420661-01     W.T.                 Jules F Parisien MD                     98531            06/04/2014           1           $87.20
0509431607-05     D.L.                 Jules F Parisien MD                     99214            10/11/2018           1          $148.69
0509431607-05     D.L.                 Jules F Parisien MD                     20999            10/18/2018           2         $1,225.00
0567728472-01     W.D.                  Jules Medical PC                       20999            02/25/2020           2         $1,400.00
0568456115-02     K.M.                  Jules Medical PC                       20999            02/17/2020           2          $500.00
0568456115-02     K.M.                  Jules Medical PC                       99215            02/17/2020           1          $148.69
0571444520-03     M.F.                  Jules Medical PC                       20999            02/25/2020           2          $975.00
0571444520-03     M.F.                  Jules Medical PC                       99215            02/25/2020           1          $148.69
0574676656-01     L.R.                  Jules Medical PC                       20999            01/15/2020           2         $1,400.00
0575785381-02     C.H.                  Jules Medical PC                       20999            01/29/2020           2         $1,400.00
0575785381-03     K.C.                  Jules Medical PC                       20999            01/15/2020           2         $1,400.00
0575785381-03     K.C.                  Jules Medical PC                       99244            01/15/2020           1          $236.94
0575785381-03     K.C.                  Jules Medical PC                       20999            01/15/2020           2         $1,400.00
0411304496-02      J.L.                KP Medical Care PC                      20999            12/01/2016           2         $3,900.00
0411304496-02      J.L.                KP Medical Care PC                      99215            12/01/2016           1          $148.69
0411304496-02      J.L.                KP Medical Care PC                      95831            12/01/2016           1          $130.80
0411304496-02      J.L.                KP Medical Care PC                      95833            12/01/2016           1          $114.32


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                  Provider                            Used             Service             Units      Pending
0411304496-02      J.L.                KP Medical Care PC                      95851           12/01/2016            1           $91.42
0431774421-01      J.C.                KP Medical Care PC                      20552           02/21/2017            1          $100.00
0431774421-01      J.C.                KP Medical Care PC                      20999           02/21/2017            2         $2,925.00
0431774421-01      J.C.                KP Medical Care PC                      99244           02/21/2017            1          $236.94
0431774421-01      J.C.                KP Medical Care PC                      95831           02/22/2017            1          $305.20
0431774421-01      J.C.                KP Medical Care PC                      95831           02/22/2017            1          $305.20
0431774421-01      J.C.                KP Medical Care PC                      95833           02/22/2017            1          $114.32
0431774421-01      J.C.                KP Medical Care PC                      95851           02/22/2017            1          $182.84
0431774421-02      P.C.                KP Medical Care PC                      95903           10/31/2016            1          $665.88
0431774421-02      P.C.                KP Medical Care PC                      95904           10/31/2016            1          $425.88
0431774421-02      P.C.                KP Medical Care PC                      95934           10/31/2016            1          $239.98
0431774421-02      P.C.                KP Medical Care PC                      20552           01/23/2017            1          $100.00
0431774421-02      P.C.                KP Medical Care PC                      20999           01/23/2017            2         $2,925.00
0431774421-02      P.C.                KP Medical Care PC                      99215           01/23/2017            1          $148.69
0431774421-02      P.C.                KP Medical Care PC                      97750           01/23/2017            1          $249.96
0431774421-02      P.C.                KP Medical Care PC                      99215           02/13/2017            1          $148.69
0431774421-02      P.C.                KP Medical Care PC                      99244           02/28/2017            1          $236.94
0431774421-02      P.C.                KP Medical Care PC                      99215           03/06/2017            1          $148.69
0431774421-03     D.S.                 KP Medical Care PC                      20999           11/03/2016            2         $1,625.00
0431774421-03     D.S.                 KP Medical Care PC                      97026           11/03/2016            1           $21.46
0431774421-03     D.S.                 KP Medical Care PC                      99215           11/03/2016            1          $148.69
0431774421-03     D.S.                 KP Medical Care PC                      20999           11/21/2016            2         $4,075.00
0431774421-03     D.S.                 KP Medical Care PC                      97026           11/21/2016            1           $21.46
0431774421-03     D.S.                 KP Medical Care PC                      99215           11/21/2016            1          $148.69
0431774421-03     D.S.                 KP Medical Care PC                      20552           01/16/2017            1          $100.00
0431774421-03     D.S.                 KP Medical Care PC                      20999           01/16/2017            2         $2,925.00
0431774421-03     D.S.                 KP Medical Care PC                      95831           01/23/2017            1          $130.80
0431774421-03     D.S.                 KP Medical Care PC                      95833           01/23/2017            1          $114.32
0431774421-03     D.S.                 KP Medical Care PC                      95851           01/23/2017            1           $91.42
0431774421-03     D.S.                 KP Medical Care PC                      20999           02/13/2017            2         $2,925.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                  Provider                            Used             Service             Units      Pending
0431774421-03     D.S.                 KP Medical Care PC                      99215           02/13/2017            1          $148.69
0431774421-03     D.S.                 KP Medical Care PC                      97750           02/13/2017            1          $249.96
0431774421-03     D.S.                 KP Medical Care PC                      20999           03/03/2017            2         $3,250.00
0431774421-03     D.S.                 KP Medical Care PC                      99215           03/03/2017            1          $148.69
0431774421-04     M.J.                 KP Medical Care PC                      20999           12/05/2016            2         $5,200.00
0431774421-04     M.J.                 KP Medical Care PC                      99215           12/05/2016            1          $148.69
0431774421-04     M.J.                 KP Medical Care PC                      20552           01/23/2017            1          $100.00
0431774421-04     M.J.                 KP Medical Care PC                      20999           01/23/2017            2         $2,925.00
0431774421-04     M.J.                 KP Medical Care PC                      99215           01/23/2017            1          $148.69
0431774421-04     M.J.                 KP Medical Care PC                      95831           01/23/2017            1          $218.00
0431774421-04     M.J.                 KP Medical Care PC                      95833           01/23/2017            1          $114.32
0431774421-04     M.J.                 KP Medical Care PC                      95851           01/23/2017            1          $137.13
0431774421-04     M.J.                 KP Medical Care PC                      20999           02/13/2017            2         $4,550.00
0431774421-04     M.J.                 KP Medical Care PC                      99215           02/13/2017            1          $148.69
0431774421-04     M.J.                 KP Medical Care PC                      99244           02/28/2017            1          $236.94
0431774421-04     M.J.                 KP Medical Care PC                      20999           03/06/2017            2         $2,700.00
0431774421-04     M.J.                 KP Medical Care PC                      99215           03/06/2017            1          $148.69
0431774421-05     M.T.                 KP Medical Care PC                      20552           11/07/2016            1          $100.00
0431774421-05     M.T.                 KP Medical Care PC                      20999           11/07/2016            2         $1,625.00
0431774421-05     M.T.                 KP Medical Care PC                      99215           11/07/2016            1          $148.69
0431774421-05     M.T.                 KP Medical Care PC                      20552           01/23/2017            1          $100.00
0431774421-05     M.T.                 KP Medical Care PC                      20999           01/23/2017            2         $2,925.00
0431774421-05     M.T.                 KP Medical Care PC                      20552           02/20/2017            1          $100.00
0431774421-05     M.T.                 KP Medical Care PC                      20999           02/20/2017            2         $3,000.00
0431774421-05     M.T.                 KP Medical Care PC                      99215           02/20/2017            1          $148.69
0431774421-05     M.T.                 KP Medical Care PC                      95831           02/20/2017            1          $218.00
0431774421-05     M.T.                 KP Medical Care PC                      95831           02/20/2017            1          $218.00
0431774421-05     M.T.                 KP Medical Care PC                      95833           02/20/2017            1          $114.32
0431774421-05     M.T.                 KP Medical Care PC                      95851           02/20/2017            1          $137.13
0431774421-05     M.T.                 KP Medical Care PC                      95831           02/20/2017            1          $218.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                  Provider                            Used             Service             Units      Pending
0431774421-05     M.T.                 KP Medical Care PC                      95833           02/20/2017            1          $114.32
0431774421-05     M.T.                 KP Medical Care PC                      95851           02/20/2017            1          $137.13
0434546750-02      S.B.                KP Medical Care PC                      95903           11/03/2016            1          $665.88
0434546750-02      S.B.                KP Medical Care PC                      95904           11/03/2016            1          $425.88
0434546750-02      S.B.                KP Medical Care PC                      95934           11/03/2016            1          $239.98
0434546750-02      S.B.                KP Medical Care PC                      95926           11/03/2016            1          $302.12
0434546750-02      S.B.                KP Medical Care PC                      95926           10/31/2016            1          $302.12
0434546750-02      S.B.                KP Medical Care PC                      95903           10/31/2016            1          $665.88
0434546750-02      S.B.                KP Medical Care PC                      95904           10/31/2016            1          $638.82
0434546750-11      E.I.                KP Medical Care PC                      95926           11/15/2016            1          $302.12
0434546750-11      E.I.                KP Medical Care PC                      95926           11/15/2016            1          $302.12
0434546750-11      E.I.                KP Medical Care PC                      95927           11/14/2016            1          $302.12
0434546750-11      E.I.                KP Medical Care PC                      95861           11/11/2016            1          $241.50
0434546750-11      E.I.                KP Medical Care PC                      95903           11/15/2016            1          $665.88
0434546750-11      E.I.                KP Medical Care PC                      95904           11/15/2016            1          $425.88
0434546750-11      E.I.                KP Medical Care PC                      95934           11/15/2016            1          $239.98
0434546750-11      E.I.                KP Medical Care PC                      20999           12/01/2016            2         $2,925.00
0434546750-11      E.I.                KP Medical Care PC                      95831           11/14/2016            1          $130.80
0434546750-11      E.I.                KP Medical Care PC                      95833           11/14/2016            1          $114.32
0434546750-11      E.I.                KP Medical Care PC                      95851           11/14/2016            1          $137.13
0434546750-11      E.I.                KP Medical Care PC                      95831           12/12/2016            1          $218.00
0434546750-11      E.I.                KP Medical Care PC                      95833           12/12/2016            1          $114.32
0434546750-11      E.I.                KP Medical Care PC                      95851           12/12/2016            1          $182.84
0436499486-02     S.M.                 KP Medical Care PC                      95903           11/28/2016            1          $665.88
0436499486-02     S.M.                 KP Medical Care PC                      95904           11/28/2016            1          $638.82
0436499486-02     S.M.                 KP Medical Care PC                      20552           12/15/2016            1          $100.00
0436499486-02     S.M.                 KP Medical Care PC                      20999           12/15/2016            2         $3,775.00
0436499486-02     S.M.                 KP Medical Care PC                      20552           01/20/2017            1          $100.00
0436499486-02     S.M.                 KP Medical Care PC                      20999           01/20/2017            2         $3,625.00
0436499486-02     S.M.                 KP Medical Care PC                      95831           02/08/2017            1          $218.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                  Provider                            Used             Service             Units      Pending
0436499486-02     S.M.                 KP Medical Care PC                      95833           02/08/2017            1          $114.32
0436499486-02     S.M.                 KP Medical Care PC                      95851           02/08/2017            1          $137.13
0436499486-02     S.M.                 KP Medical Care PC                      20999           03/03/2017            2         $1,175.00
0436499486-02     S.M.                 KP Medical Care PC                      99215           03/03/2017            1          $148.69
0436499486-02     S.M.                 KP Medical Care PC                      95927           03/03/2017            1          $302.12
0284690559-02     S.D.                 Ksenia Pavlova DO                       20999           07/08/2013            2          $750.00
0284992970-03     A.F.                 Ksenia Pavlova DO                       99244           09/09/2013            1          $236.94
0284992970-03     A.F.                 Ksenia Pavlova DO                       20553           09/30/2013            1          $119.10
0284992970-03     A.F.                 Ksenia Pavlova DO                       20999           09/30/2013            2         $1,375.00
0284992970-03     A.F.                 Ksenia Pavlova DO                       99215           09/30/2013            1          $148.69
0284992970-03     A.F.                 Ksenia Pavlova DO                       99215           11/29/2013            1          $148.69
0285337622-01      A.J.                Ksenia Pavlova DO                       20999           08/27/2013            2         $1,200.00
0286190004-02     A.S.                 Ksenia Pavlova DO                       20553           07/18/2013            1          $119.10
0286190004-02     A.S.                 Ksenia Pavlova DO                       20999           07/18/2013            2         $2,250.00
0286190004-02     A.S.                 Ksenia Pavlova DO                       99244           07/18/2013            1          $236.94
0286190004-02     A.S.                 Ksenia Pavlova DO                       20553           08/13/2013            1          $119.10
0286190004-02     A.S.                 Ksenia Pavlova DO                       20999           08/13/2013            2         $3,075.00
0286190004-02     A.S.                 Ksenia Pavlova DO                       99215           01/07/2014            1          $148.69
0286562616-01     C.C.                 Ksenia Pavlova DO                       20999           07/15/2013            2         $2,725.00
0286562616-01     C.C.                 Ksenia Pavlova DO                       99215           07/15/2013            1          $148.69
0286562616-01     C.C.                 Ksenia Pavlova DO                       20999           07/12/2013            2         $3,225.00
0286970512-02     C.H.                 Ksenia Pavlova DO                       20553           08/29/2013            1          $119.10
0286970512-02     C.H.                 Ksenia Pavlova DO                       20999           08/29/2013            2         $2,575.00
0286970512-02     C.H.                 Ksenia Pavlova DO                       99244           08/29/2013            1          $236.94
0289515321-01     L.A.                 Ksenia Pavlova DO                       20553           07/01/2013            1          $119.10
0289515321-01     L.A.                 Ksenia Pavlova DO                       20999           07/01/2013            2         $1,225.00
0289515321-01     L.A.                 Ksenia Pavlova DO                       99244           07/01/2013            1          $236.94
0289515321-02     V.P.                 Ksenia Pavlova DO                       20553           07/01/2013            1          $119.10
0289515321-02     V.P.                 Ksenia Pavlova DO                       20999           07/01/2013            2         $1,250.00
0289515321-02     V.P.                 Ksenia Pavlova DO                       99244           07/01/2013            1          $236.94


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                   Provider                           Used             Service             Units      Pending
0289515321-02     V.P.                  Ksenia Pavlova DO                      20553           07/29/2013            1          $119.10
0289515321-02     V.P.                  Ksenia Pavlova DO                      20999           07/29/2013            2         $2,150.00
0289515321-02     V.P.                  Ksenia Pavlova DO                      99215           07/29/2013            1          $148.69
0289515321-02     V.P.                  Ksenia Pavlova DO                      20553           08/12/2013            1          $119.10
0289515321-02     V.P.                  Ksenia Pavlova DO                      20999           08/12/2013            2         $2,900.00
0289515321-02     V.P.                  Ksenia Pavlova DO                      99215           08/12/2013            1          $148.69
0289515321-02     V.P.                  Ksenia Pavlova DO                      20553           09/12/2013            1          $119.10
0289515321-02     V.P.                  Ksenia Pavlova DO                      20999           09/12/2013            2         $1,900.00
0289515321-02     V.P.                  Ksenia Pavlova DO                      99215           09/12/2013            1          $148.69
0291039501-01     C.R.                  Ksenia Pavlova DO                      20553           07/08/2013            1          $119.10
0291039501-01     C.R.                  Ksenia Pavlova DO                      20999           07/08/2013            2         $2,250.00
0291039501-01     C.R.                  Ksenia Pavlova DO                      20553           06/28/2013            1          $119.10
0291039501-01     C.R.                  Ksenia Pavlova DO                      20999           06/28/2013            1          $675.00
0291039501-01     C.R.                  Ksenia Pavlova DO                    20999.7           06/28/2013            1          $825.00
0291039501-01     C.R.                  Ksenia Pavlova DO                    20999,7           06/28/2013            1           $75.00
0291039501-01     C.R.                  Ksenia Pavlova DO                      20553           08/19/2013            1          $119.10
0291039501-01     C.R.                  Ksenia Pavlova DO                      20999           08/19/2013            2         $2,575.00
0291039501-01     C.R.                  Ksenia Pavlova DO                      20553           10/08/2013            1          $119.10
0291039501-01     C.R.                  Ksenia Pavlova DO                      20999           10/08/2013            2         $3,050.00
0291039501-01     C.R.                  Ksenia Pavlova DO                      99215           10/08/2013            1          $148.69
0291039501-01     C.R.                  Ksenia Pavlova DO                      20553           10/22/2013            1          $119.10
0291039501-01     C.R.                  Ksenia Pavlova DO                      20999           10/22/2013            2         $3,050.00
0291039501-01     C.R.                  Ksenia Pavlova DO                      99215           10/22/2013            1          $148.69
0291301257-02     D.A.                  Ksenia Pavlova DO                      99244           10/21/2013            1          $236.94
0291588705-02     A.P.                  Ksenia Pavlova DO                      20553           08/12/2013            1          $119.10
0291588705-02     A.P.                  Ksenia Pavlova DO                      20999           08/12/2013            2         $2,575.00
0293324331-02     D.M.                  Ksenia Pavlova DO                      20553           09/03/2013            1          $119.10
0293324331-02     D.M.                  Ksenia Pavlova DO                      20999           09/03/2013            2         $2,900.00
0293909230-02      J.B.                 Ksenia Pavlova DO                      20553           07/26/2013            1          $119.10
0293909230-02      J.B.                 Ksenia Pavlova DO                      20999           07/26/2013            2         $1,450.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                   Provider                           Used             Service             Units      Pending
0293909230-06     T.D.                  Ksenia Pavlova DO                      20553           07/26/2013            1          $119.10
0293909230-06     T.D.                  Ksenia Pavlova DO                      20999           07/26/2013            2         $3,225.00
0294030985-02     C.B.                  Ksenia Pavlova DO                      20553           08/07/2013            1          $119.10
0294030985-02     C.B.                  Ksenia Pavlova DO                      20999           08/07/2013            2         $2,900.00
0294030985-02     C.B.                  Ksenia Pavlova DO                      99244           08/07/2013            1          $236.94
0294124474-04     J.M.                  Ksenia Pavlova DO                      20553           08/13/2013            1          $119.10
0294124474-04     J.M.                  Ksenia Pavlova DO                      20999           08/13/2013            2          $850.00
0294124474-04     J.M.                  Ksenia Pavlova DO                      99244           08/13/2013            1          $236.94
0294889332-02      F.B.                 Ksenia Pavlova DO                      20553           07/26/2013            1          $119.10
0294889332-02      F.B.                 Ksenia Pavlova DO                      20999           07/26/2013            2         $1,525.00
0295392310-02     A.S.                  Ksenia Pavlova DO                      20553           12/03/2013            1          $119.10
0295392310-02     A.S.                  Ksenia Pavlova DO                      20999           12/03/2013            2         $1,455.00
0295392310-02     A.S.                  Ksenia Pavlova DO                      99215           12/03/2013            1          $148.69
0295851943-01      J.S.                 Ksenia Pavlova DO                      20999           08/19/2013            2         $1,200.00
0297724700-06     G.F.                  Ksenia Pavlova DO                      20999           09/19/2013            2         $2,250.00
0297724700-06     G.F.                  Ksenia Pavlova DO                      20999           10/22/2013            2           $37.00
0297724700-06     G.F.                  Ksenia Pavlova DO                      99215           10/22/2013            1          $148.69
0298235276-02     P.A.                  Ksenia Pavlova DO                      20553           09/05/2013            1          $119.10
0298235276-02     P.A.                  Ksenia Pavlova DO                      20999           09/05/2013            1         $1,525.00
0298350612-01     N.P.                  Ksenia Pavlova DO                      20553           09/03/2013            1          $119.10
0298350612-01     N.P.                  Ksenia Pavlova DO                      20999           09/03/2013            2         $1,300.00
0298350612-01     N.P.                  Ksenia Pavlova DO                      99215           12/13/2013            1          $148.69
0298915281-02      J.T.                 Ksenia Pavlova DO                      20553           10/17/2013            1          $119.10
0298915281-02      J.T.                 Ksenia Pavlova DO                      20999           10/17/2013            2         $2,575.00
0298915281-02      J.T.                 Ksenia Pavlova DO                      99244           10/17/2013            1          $236.94
0298915281-02      J.T.                 Ksenia Pavlova DO                      20553           11/07/2013            1          $119.10
0298915281-02      J.T.                 Ksenia Pavlova DO                      20999           11/07/2013            2         $1,750.00
0298915281-02      J.T.                 Ksenia Pavlova DO                      99215           11/07/2013            1          $148.69
0299585850-02     L.G.                  Ksenia Pavlova DO                      99215           12/06/2013            1          $148.69
0299585850-02     L.G.                  Ksenia Pavlova DO                      64422           01/31/2014            1          $176.36


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                   Provider                           Used             Service             Units      Pending
0299585850-02     L.G.                  Ksenia Pavlova DO                      99215           01/31/2014            1          $148.69
0300460441-02     K.S.                  Ksenia Pavlova DO                      20999           10/22/2013            2         $1,225.00
0300460441-02     K.S.                  Ksenia Pavlova DO                      20553           12/10/2013            1          $119.10
0300460441-02     K.S.                  Ksenia Pavlova DO                      20999           12/10/2013            2         $2,275.00
0300460441-02     K.S.                  Ksenia Pavlova DO                      99215           12/10/2013            1          $148.69
0302107560-01     M.J.                  Ksenia Pavlova DO                      20553           12/11/2013            1          $119.10
0302107560-01     M.J.                  Ksenia Pavlova DO                      20999           12/11/2013            2         $1,225.00
0302107560-01     M.J.                  Ksenia Pavlova DO                      99244           12/11/2013            1          $236.94
0302571708-01     N.N.                  Ksenia Pavlova DO                      20999           10/31/2013            2         $3,550.00
0302571708-01     N.N.                  Ksenia Pavlova DO                      99215           12/04/2013            1          $148.69
0302571708-01     N.N.                  Ksenia Pavlova DO                      99215           03/12/2014            1          $148.69
0302803937-05      B.S.                 Ksenia Pavlova DO                      99244           01/13/2014            1          $236.94
0303041388-02     D.M.                  Ksenia Pavlova DO                      20553           10/29/2013            1          $119.10
0303041388-02     D.M.                  Ksenia Pavlova DO                      20999           10/29/2013            2         $3,225.00
0303041388-02     D.M.                  Ksenia Pavlova DO                      20553           02/06/2014            1          $119.10
0303041388-02     D.M.                  Ksenia Pavlova DO                      20999           02/06/2014            2         $1,582.00
0303041388-02     D.M.                  Ksenia Pavlova DO                      99215           02/06/2014            1          $148.69
0303835698-03      J.F.                 Ksenia Pavlova DO                      20553           11/12/2013            1          $119.10
0303835698-03      J.F.                 Ksenia Pavlova DO                      20999           11/12/2013            2         $1,625.00
0303835698-03      J.F.                 Ksenia Pavlova DO                      99215           12/19/2013            1          $148.69
0303835698-04      J.R.                 Ksenia Pavlova DO                      20553           11/05/2013            1          $119.10
0303835698-04      J.R.                 Ksenia Pavlova DO                      20999           11/05/2013            2         $1,575.00
0304067465-02     R.L.                  Ksenia Pavlova DO                      20999           10/29/2013            2         $2,031.00
0304067465-02     R.L.                  Ksenia Pavlova DO                      20999           11/19/2013            2           $29.25
0304067465-02     R.L.                  Ksenia Pavlova DO                      99215           11/19/2013            1          $148.69
0304262934-04     X.E.                  Ksenia Pavlova DO                      99215           11/26/2013            1          $148.69
0304262934-04     X.E.                  Ksenia Pavlova DO                      99215           12/18/2013            1          $148.69
0304262934-04     X.E.                  Ksenia Pavlova DO                      64418           12/31/2013            1          $176.36
0304262934-04     X.E.                  Ksenia Pavlova DO                      99215           12/31/2013            1          $148.69
0304262934-04     X.E.                  Ksenia Pavlova DO                      64418           01/15/2014            1          $176.36


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                   Provider                           Used             Service             Units      Pending
0304262934-04     X.E.                  Ksenia Pavlova DO                      99215           01/15/2014            1          $148.69
0304262934-04     X.E.                  Ksenia Pavlova DO                      64418           01/22/2014            1          $176.36
0304262934-04     X.E.                  Ksenia Pavlova DO                      99215           01/22/2014            1          $148.69
0304716061-01     R.C.                  Ksenia Pavlova DO                      20553           11/05/2013            1          $119.10
0304716061-01     R.C.                  Ksenia Pavlova DO                      20999           11/05/2013            2         $3,225.00
0304716061-01     R.C.                  Ksenia Pavlova DO                      20999           11/19/2013            2         $1,725.00
0305061376-02     A.V.                  Ksenia Pavlova DO                      99244           12/13/2013            1          $236.94
0305061376-02     A.V.                  Ksenia Pavlova DO                      99244           12/13/2013            1          $236.94
0305954190-01     A.W.                  Ksenia Pavlova DO                      20999           11/14/2013            2          $532.00
0305954190-01     A.W.                  Ksenia Pavlova DO                      99244           11/14/2013            1          $236.94
0306824244-08      S.T.                 Ksenia Pavlova DO                      20553           11/15/2013            1          $119.10
0306824244-08      S.T.                 Ksenia Pavlova DO                      20999           11/15/2013            2          $875.00
0306824244-08      S.T.                 Ksenia Pavlova DO                      99215           12/19/2013            1          $148.69
0306824244-08      S.T.                 Ksenia Pavlova DO                      20553           03/13/2014            1          $119.10
0306824244-08      S.T.                 Ksenia Pavlova DO                      20999           03/13/2014            2         $2,275.00
0306824244-08      S.T.                 Ksenia Pavlova DO                      99215           03/13/2014            1          $148.69
0309584018-02     K.M.                  Ksenia Pavlova DO                      99244           12/04/2013            1          $236.94
0310861737-03     J.M.                  Ksenia Pavlova DO                      64419           12/31/2013            1          $176.36
0310861737-03     J.M.                  Ksenia Pavlova DO                      99244           12/31/2013            1          $236.94
0314369836-01     K.E.                  Ksenia Pavlova DO                      20553           05/22/2014            1          $119.10
0314369836-01     K.E.                  Ksenia Pavlova DO                      20999           05/22/2014            2         $2,275.00
0314369836-01     K.E.                  Ksenia Pavlova DO                      99244           05/22/2014            1          $236.94
0314369836-02     M.E.                  Ksenia Pavlova DO                      99244           05/22/2014            1          $236.94
0316749738-01     B.C.                  Ksenia Pavlova DO                      99244           05/08/2014            1          $236.94
0318434412-03      P.T.                 Ksenia Pavlova DO                      99244           03/12/2014            1          $236.94
0318434412-03      P.T.                 Ksenia Pavlova DO                      64418           05/27/2014            1          $176.36
0318434412-03      P.T.                 Ksenia Pavlova DO                      99215           05/27/2014            1          $148.69
0319061727-01     S.N.                  Ksenia Pavlova DO                      64422           05/09/2014            1          $176.36
0319061727-01     S.N.                  Ksenia Pavlova DO                      99215           05/09/2014            1          $148.69
0319061727-01     S.N.                  Ksenia Pavlova DO                      99244           05/22/2014            1          $236.94


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0320476492-01     G.M.                  Ksenia Pavlova DO                      20553            05/12/2014           1          $119.10
0320476492-01     G.M.                  Ksenia Pavlova DO                      20999            05/12/2014           2         $2,600.00
0320476492-01     G.M.                  Ksenia Pavlova DO                      99244            05/12/2014           1          $236.94
0323613521-02     A.G.                  Ksenia Pavlova DO                      99244            05/30/2014           1          $236.94
0324606623-02     L.C.                  Ksenia Pavlova DO                      64418            05/05/2014           1          $176.36
0324606623-02     L.C.                  Ksenia Pavlova DO                      99244            05/05/2014           1          $236.94
0324749084-04     C.G.                  Ksenia Pavlova DO                      99244            05/05/2014           1          $236.94
0325275196-01      L.E.                 Ksenia Pavlova DO                      99244            05/15/2014           1          $236.94
0326267416-10     L.G.                  Ksenia Pavlova DO                      99244            05/15/2014           1          $236.94
0326267416-10     L.G.                  Ksenia Pavlova DO                      99215            06/12/2014           1          $148.69
0342499539-01      J.R.                 Ksenia Pavlova DO                      99215            06/01/2015           1          $148.69
0342499539-01      J.R.                 Ksenia Pavlova DO                      99215            06/29/2015           1          $148.69
0358475275-04     C.L.                  Ksenia Pavlova DO                      99215            07/02/2015           1          $148.69
0362861601-02     Y.A.                  Ksenia Pavlova DO                      99215            05/14/2015           1          $148.69
0368003091-06      E.J.                 Ksenia Pavlova DO                      20553            10/21/2015           1          $119.10
0368003091-06      E.J.                 Ksenia Pavlova DO                      20999            10/21/2015           2         $2,275.00
0368003091-06      E.J.                 Ksenia Pavlova DO                      99244            10/21/2015           1          $236.94
0369477179-02     J.M.                  Ksenia Pavlova DO                      64422            06/10/2015           1          $176.36
0370811663-03     K.B.                  Ksenia Pavlova DO                      99215            07/02/2015           1          $148.69
0374124246-03     P.G.                  Ksenia Pavlova DO                      97010      07/13/2015-07/27/2015      3           $54.75
0374124246-03     P.G.                  Ksenia Pavlova DO                      97110      07/13/2015-07/27/2015      3           $69.54
0374124246-03     P.G.                  Ksenia Pavlova DO                      97124      07/13/2015-07/27/2015      3           $60.63
0374124246-03     P.G.                  Ksenia Pavlova DO                      64550      06/08/2015-07/27/2015      11         $806.30
0374124246-03     P.G.                  Ksenia Pavlova DO                      97799      07/13/2015-07/27/2015      3          $148.50
0374124246-03     P.G.                  Ksenia Pavlova DO                      97799      06/08/2015-07/06/2015      8          $396.00
0374124246-03     P.G.                  Ksenia Pavlova DO                      99220            06/03/2015           1          $182.58
0374124246-03     P.G.                  Ksenia Pavlova DO                      97010      06/08/2015-07/06/2015      8          $146.00
0374124246-03     P.G.                  Ksenia Pavlova DO                      97110      06/08/2015-07/06/2015      8          $185.44
0374124246-03     P.G.                  Ksenia Pavlova DO                      97124      06/08/2015-07/06/2015      8          $161.68
0374124246-03     P.G.                  Ksenia Pavlova DO                      64550      06/08/2015-07/06/2015      8          $586.40


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0374124246-03     P.G.                  Ksenia Pavlova DO                      64550      07/13/2015-07/27/2015      3         $219.90
0374124246-03     P.G.                  Ksenia Pavlova DO                      99215            07/31/2015           1         $148.69
0374124246-03     P.G.                  Ksenia Pavlova DO                      99244            08/06/2015           1         $236.94
0374512275-02      B.S.                 Ksenia Pavlova DO                      95861            08/06/2015           1         $241.50
0374512275-02      B.S.                 Ksenia Pavlova DO                      99244            08/06/2015           1         $236.94
0374512275-02      B.S.                 Ksenia Pavlova DO                      95831            07/22/2015           1         $218.00
0374512275-02      B.S.                 Ksenia Pavlova DO                      95833            07/22/2015           1         $114.32
0374512275-02      B.S.                 Ksenia Pavlova DO                      95851            07/22/2015           1         $137.13
0374512275-02      B.S.                 Ksenia Pavlova DO                      99215            09/22/2015           1         $148.69
0374512275-02      B.S.                 Ksenia Pavlova DO                      95831            09/22/2015           1         $130.80
0374512275-02      B.S.                 Ksenia Pavlova DO                      95833            09/22/2015           1         $114.32
0374512275-02      B.S.                 Ksenia Pavlova DO                      95851            09/22/2015           1         $137.13
0374512275-02      B.S.                 Ksenia Pavlova DO                      97750            10/05/2015           1         $249.96
0374512275-03      Z.S.                 Ksenia Pavlova DO                      99244            08/06/2015           1         $236.94
0374512275-03      Z.S.                 Ksenia Pavlova DO                      95861            08/06/2015           1         $241.50
0374512275-03      Z.S.                 Ksenia Pavlova DO                      95831            07/27/2015           1         $305.20
0374512275-03      Z.S.                 Ksenia Pavlova DO                      95833            07/27/2015           1         $114.32
0374512275-03      Z.S.                 Ksenia Pavlova DO                      95851            07/27/2015           1         $182.84
0374512275-03      Z.S.                 Ksenia Pavlova DO                      95927            08/06/2015           1         $302.12
0374512275-03      Z.S.                 Ksenia Pavlova DO                      99215            09/22/2015           1         $148.69
0374512275-03      Z.S.                 Ksenia Pavlova DO                      97750            09/22/2015           1         $249.96
0374512275-03      Z.S.                 Ksenia Pavlova DO                      97750            09/22/2015           1         $249.96
0374512275-03      Z.S.                 Ksenia Pavlova DO                      95831            10/05/2015           1         $305.20
0374512275-03      Z.S.                 Ksenia Pavlova DO                      95833            10/05/2015           1         $114.32
0374512275-03      Z.S.                 Ksenia Pavlova DO                      95851            10/05/2015           1         $228.55
0374553048-02      E.F.                 Ksenia Pavlova DO                      95903            07/23/2015           1         $665.88
0374553048-02      E.F.                 Ksenia Pavlova DO                      95904            07/23/2015           1         $638.82
0374553048-02      E.F.                 Ksenia Pavlova DO                      95926            07/23/2015           1         $302.12
0374553048-02      E.F.                 Ksenia Pavlova DO                      99215            08/10/2015           1         $148.69
0374553048-02      E.F.                 Ksenia Pavlova DO                      99215            09/10/2015           1         $148.69


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                   Provider                           Used             Service             Units      Pending
0374553048-02      E.F.                 Ksenia Pavlova DO                      95831           10/08/2015            1          $130.80
0374553048-02      E.F.                 Ksenia Pavlova DO                      95833           10/08/2015            1          $114.32
0374553048-02      E.F.                 Ksenia Pavlova DO                      95851           10/08/2015            1           $91.42
0374553048-02      E.F.                 Ksenia Pavlova DO                      99215           10/20/2015            1          $148.69
0375170644-02     M.R.                  Ksenia Pavlova DO                      99244           07/09/2015            1          $236.94
0375170644-04     L.A.                  Ksenia Pavlova DO                      99244           07/09/2015            1          $236.94
0375170644-04     L.A.                  Ksenia Pavlova DO                      99215           07/31/2015            1          $148.69
0375170644-04     L.A.                  Ksenia Pavlova DO                      99215           10/01/2015            1          $148.69
0376459327-01     R.G.                  Ksenia Pavlova DO                      20553           07/31/2015            1          $119.10
0376459327-01     R.G.                  Ksenia Pavlova DO                      20999           07/31/2015            2         $2,600.00
0376459327-01     R.G.                  Ksenia Pavlova DO                      99244           07/31/2015            1          $236.94
0377476239-01     L.C.                  Ksenia Pavlova DO                      20553           07/31/2015            1          $119.10
0377476239-01     L.C.                  Ksenia Pavlova DO                      20999           07/31/2015            3         $2,275.00
0377476239-01     L.C.                  Ksenia Pavlova DO                      99244           07/31/2015            1          $236.94
0377476239-01     L.C.                  Ksenia Pavlova DO                      99215           10/01/2015            1          $148.69
0377476239-01     L.C.                  Ksenia Pavlova DO                      99215           10/05/2015            1          $148.69
0380106203-01      S.F.                 Ksenia Pavlova DO                      99215           09/28/2015            1          $148.69
0380106203-01      S.F.                 Ksenia Pavlova DO                      99215           10/05/2015            1          $148.69
0380809228-02     C.A.                  Ksenia Pavlova DO                      99244           08/25/2015            1          $236.94
0380809228-02     C.A.                  Ksenia Pavlova DO                      20610           09/22/2015            1           $57.26
0380809228-02     C.A.                  Ksenia Pavlova DO                      76942           09/22/2015            1          $262.91
0380809228-02     C.A.                  Ksenia Pavlova DO                      99215           09/22/2015            1          $148.69
0380809228-02     C.A.                  Ksenia Pavlova DO                      95831           10/05/2015            1          $305.20
0380809228-02     C.A.                  Ksenia Pavlova DO                      95833           10/05/2015            1          $114.32
0380809228-02     C.A.                  Ksenia Pavlova DO                      95851           10/05/2015            1          $182.84
0380809228-02     C.A.                  Ksenia Pavlova DO                      99215           10/06/2015            1          $148.69
0380809228-02     C.A.                  Ksenia Pavlova DO                      97750           10/08/2015            1          $249.96
0380809228-05      T.T.                 Ksenia Pavlova DO                      99244           08/17/2015            1          $236.94
0380809228-05      T.T.                 Ksenia Pavlova DO                      99215           09/17/2015            1          $148.69
0380809228-05      T.T.                 Ksenia Pavlova DO                      99215           10/20/2015            1          $148.69


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                     Provider                         Used              Service            Units      Pending
0380809228-06     C.D.                   Ksenia Pavlova DO                     99244            08/17/2015           1          $236.94
0380809228-07     B.G.                   Ksenia Pavlova DO                     99244            08/17/2015           1          $236.94
0380809228-07     B.G.                   Ksenia Pavlova DO                     95831            09/14/2015           1          $348.80
0380809228-07     B.G.                   Ksenia Pavlova DO                     95833            09/14/2015           1          $114.32
0380809228-07     B.G.                   Ksenia Pavlova DO                     95851            09/14/2015           1          $182.84
0380809228-07     B.G.                   Ksenia Pavlova DO                     95903            10/15/2015           1          $665.88
0380809228-07     B.G.                   Ksenia Pavlova DO                     95904            10/15/2015           1          $425.88
0380809228-07     B.G.                   Ksenia Pavlova DO                     95934            10/15/2015           1          $239.98
0380809228-07     B.G.                   Ksenia Pavlova DO                     95926            10/15/2015           1          $302.12
0431774421-02      P.C.                  Ksenia Pavlova DO                     97750            10/13/2016           1          $249.96
0431774421-03     D.S.                   Ksenia Pavlova DO                     95903            10/17/2016           1          $665.88
0431774421-03     D.S.                   Ksenia Pavlova DO                     95904            10/17/2016           1          $425.88
0431774421-03     D.S.                   Ksenia Pavlova DO                     95934            10/17/2016           1          $239.98
0431774421-03     D.S.                   Ksenia Pavlova DO                     97750            10/13/2016           1          $249.96
0431774421-03     D.S.                   Ksenia Pavlova DO                     95926            10/17/2016           1          $302.12
0431774421-04     M.J.                   Ksenia Pavlova DO                     97750            10/13/2016           1          $249.96
0431774421-05     M.T.                   Ksenia Pavlova DO                     95903            10/17/2016           1         $1,304.70
0431774421-05     M.T.                   Ksenia Pavlova DO                     97750            10/13/2016           1          $249.96
0431774421-05     M.T.                   Ksenia Pavlova DO                     97750            02/27/2017           1          $249.96
0211701685-05      J.L.       Island Life Chiropractic Pain Care PLLC          95999            12/07/2011           1         $1,022.00
0211701685-05      J.L.       Island Life Chiropractic Pain Care PLLC          95999            12/07/2011           1         $1,314.00
0212571806-03     A.D.        Island Life Chiropractic Pain Care PLLC          95999            10/12/2011           1         $1,314.00
0212571806-03     A.D.        Island Life Chiropractic Pain Care PLLC          95999            10/12/2011           1         $1,022.00
0217120120-03     Y.B.        Island Life Chiropractic Pain Care PLLC          95999            10/12/2011           1         $1,314.00
0217120120-03     Y.B.        Island Life Chiropractic Pain Care PLLC          95999            10/12/2011           1         $1,022.00
0223443532-05     R.M.        Island Life Chiropractic Pain Care PLLC          95999            11/23/2011           1         $1,314.00
0223443532-07     B.B.        Island Life Chiropractic Pain Care PLLC          97139            04/03/2012           1           $16.70
0223443532-07     B.B.        Island Life Chiropractic Pain Care PLLC          98941      04/03/2012-04/13/2012      2           $69.36
0223443532-07     B.B.        Island Life Chiropractic Pain Care PLLC          99214            04/03/2012           1           $48.90
0228760237-01     K.L.        Island Life Chiropractic Pain Care PLLC          97139            04/25/2012           1           $16.70


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                     Provider                         Used              Service            Units      Pending
0229571665-03      S.F.       Island Life Chiropractic Pain Care PLLC          97139      04/23/2012-05/30/2012      3           $50.10
0229571665-03      S.F.       Island Life Chiropractic Pain Care PLLC          97139      06/18/2012-06/25/2012      2           $33.40
0229571665-03      S.F.       Island Life Chiropractic Pain Care PLLC          98941      06/18/2012-06/25/2012      2           $69.36
0230271157-06     R.M.        Island Life Chiropractic Pain Care PLLC          95999            03/27/2012           1         $1,022.00
0230710758-01     M.G.        Island Life Chiropractic Pain Care PLLC          95999            12/21/2011           1         $1,314.00
0231030412-01     R.H.        Island Life Chiropractic Pain Care PLLC          98941            03/29/2012           1           $34.68
0231030412-01     R.H.        Island Life Chiropractic Pain Care PLLC          99212            03/29/2012           1           $26.41
0231928466-01     G.M.        Island Life Chiropractic Pain Care PLLC          95999            01/25/2012           1         $1,314.00
0231928466-01     G.M.        Island Life Chiropractic Pain Care PLLC          97139      05/15/2012-05/18/2012      2           $33.40
0231928466-01     G.M.        Island Life Chiropractic Pain Care PLLC          98940            05/15/2012           1           $26.41
0231928466-01     G.M.        Island Life Chiropractic Pain Care PLLC          98941            05/18/2012           1           $34.68
0232367730-01     L.C.        Island Life Chiropractic Pain Care PLLC          99212            03/20/2012           1           $26.41
0232367730-09      S.J.       Island Life Chiropractic Pain Care PLLC          95999            02/24/2012           1         $1,022.00
0232442087-03     A.L.        Island Life Chiropractic Pain Care PLLC          95999            01/25/2012           1         $1,314.00
0232442087-03     A.L.        Island Life Chiropractic Pain Care PLLC          95999            01/25/2012           1         $1,022.00
0232442087-03     A.L.        Island Life Chiropractic Pain Care PLLC          97139      03/21/2012-04/16/2012      5           $83.50
0232442087-03     A.L.        Island Life Chiropractic Pain Care PLLC          98941      03/21/2012-04/16/2012      5          $173.40
0232442087-03     A.L.        Island Life Chiropractic Pain Care PLLC          99212            03/21/2012           1           $26.41
0232442087-03     A.L.        Island Life Chiropractic Pain Care PLLC          97139            05/29/2012           1           $16.70
0232442087-03     A.L.        Island Life Chiropractic Pain Care PLLC          98941            05/29/2012           1           $34.68
0232442087-03     A.L.        Island Life Chiropractic Pain Care PLLC          99212            05/29/2012           1           $26.41
0236474912-03     T.N.        Island Life Chiropractic Pain Care PLLC          95999            03/07/2012           1         $1,314.00
0236474912-03     T.N.        Island Life Chiropractic Pain Care PLLC          95999            03/07/2012           1         $1,022.00
0236474912-03     T.N.        Island Life Chiropractic Pain Care PLLC          98941      06/22/2012-07/06/2012      2           $69.36
0237989108-03      E.E.       Island Life Chiropractic Pain Care PLLC          95999            03/27/2012           1         $1,022.00
0237989108-03      E.E.       Island Life Chiropractic Pain Care PLLC          99455            03/19/2012           1          $350.00
0237989108-03      E.E.       Island Life Chiropractic Pain Care PLLC          95999            03/27/2012           1         $1,314.00
0237989108-03      E.E.       Island Life Chiropractic Pain Care PLLC          99212            05/18/2012           1           $26.41
0240366203-03     O.L.        Island Life Chiropractic Pain Care PLLC          95999            04/17/2012           1         $1,314.00
0240366203-03     O.L.        Island Life Chiropractic Pain Care PLLC          99455            04/09/2012           1          $350.00


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           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                     Provider                         Used              Service            Units      Pending
0241444553-05     K.L.        Island Life Chiropractic Pain Care PLLC          95999            04/24/2012           1         $1,022.00
0241444553-05     K.L.        Island Life Chiropractic Pain Care PLLC          95999            04/24/2012           1         $1,314.00
0241444553-05     K.L.        Island Life Chiropractic Pain Care PLLC          99455            04/17/2012           1          $350.00
0241444553-05     K.L.        Island Life Chiropractic Pain Care PLLC          99212            08/02/2012           1           $26.41
0245880257-03     T.M.        Island Life Chiropractic Pain Care PLLC          97139            10/23/2012           1           $16.70
0245880257-03     T.M.        Island Life Chiropractic Pain Care PLLC          98940            10/23/2012           1           $26.41
0245880257-03     T.M.        Island Life Chiropractic Pain Care PLLC          97139      01/11/2013-01/29/2013      4           $66.80
0245880257-03     T.M.        Island Life Chiropractic Pain Care PLLC          98940      01/11/2013-01/29/2013      4          $105.64
0245880257-03     T.M.        Island Life Chiropractic Pain Care PLLC          97139            01/31/2013           1           $16.70
0245880257-03     T.M.        Island Life Chiropractic Pain Care PLLC          98940            01/31/2013           1           $26.41
0246761522-01     D.H.        Island Life Chiropractic Pain Care PLLC          99455            06/04/2012           1          $350.00
0246761522-01     D.H.        Island Life Chiropractic Pain Care PLLC          95999            07/24/2012           1         $1,314.00
0246761522-01     D.H.        Island Life Chiropractic Pain Care PLLC          97139      08/22/2012-09/26/2012      8          $133.60
0246761522-01     D.H.        Island Life Chiropractic Pain Care PLLC          97139      10/02/2012-10/05/2012      2           $33.40
0246761522-01     D.H.        Island Life Chiropractic Pain Care PLLC          98940      10/02/2012-10/05/2012      2           $52.82
0247042302-01     B.B.        Island Life Chiropractic Pain Care PLLC          99455            06/29/2012           1          $350.00
0247042302-01     B.B.        Island Life Chiropractic Pain Care PLLC          97139      07/02/2012-08/01/2012      11         $183.70
0247042302-01     B.B.        Island Life Chiropractic Pain Care PLLC          97139      09/20/2012-11/05/2012      8          $133.60
0247042302-01     B.B.        Island Life Chiropractic Pain Care PLLC          97139      11/13/2012-11/19/2012      2           $33.40
0247042302-01     B.B.        Island Life Chiropractic Pain Care PLLC          98941            11/13/2012           1           $34.68
0247042302-01     B.B.        Island Life Chiropractic Pain Care PLLC          98940            11/19/2012           1           $26.41
0247042302-01     B.B.        Island Life Chiropractic Pain Care PLLC          99212            12/27/2012           1           $26.41
0247385354-01      J.E.       Island Life Chiropractic Pain Care PLLC          97139      07/12/2012-07/24/2012      6          $100.20
0247385354-01      J.E.       Island Life Chiropractic Pain Care PLLC          99212            07/17/2012           1           $25.41
0247385354-01      J.E.       Island Life Chiropractic Pain Care PLLC          97139      08/06/2012-08/13/2012      2           $33.40
0247385354-01      J.E.       Island Life Chiropractic Pain Care PLLC          97139      08/29/2012-09/27/2012      10         $167.00
0247385354-01      J.E.       Island Life Chiropractic Pain Care PLLC          97139      11/08/2012-11/14/2012      2           $33.40
0247385354-01      J.E.       Island Life Chiropractic Pain Care PLLC          98940      11/08/2012-11/14/2012      2           $52.82
0247385354-03     L.B.        Island Life Chiropractic Pain Care PLLC          99203            06/07/2012           1           $54.74
0247385354-03     L.B.        Island Life Chiropractic Pain Care PLLC          97139      06/08/2012-07/10/2012      10         $167.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                     Provider                         Used              Service            Units      Pending
0247385354-03     L.B.        Island Life Chiropractic Pain Care PLLC          98940      06/08/2012-07/10/2012      8          $211.28
0247385354-03     L.B.        Island Life Chiropractic Pain Care PLLC          98941      06/15/2012-06/18/2012      2           $69.36
0247385354-03     L.B.        Island Life Chiropractic Pain Care PLLC          97139      07/11/2012-07/19/2012      4           $66.80
0247385354-03     L.B.        Island Life Chiropractic Pain Care PLLC          98940      07/11/2012-07/19/2012      4          $105.64
0247385354-03     L.B.        Island Life Chiropractic Pain Care PLLC          99212            07/19/2012           1           $26.41
0247385354-03     L.B.        Island Life Chiropractic Pain Care PLLC          97139      07/25/2012-08/13/2012      3           $50.10
0247385354-03     L.B.        Island Life Chiropractic Pain Care PLLC          98940      07/25/2012-08/13/2012      3           $79.23
0247385354-03     L.B.        Island Life Chiropractic Pain Care PLLC          97139      08/22/2012-09/26/2012      8          $133.60
0247385354-03     L.B.        Island Life Chiropractic Pain Care PLLC          98940      08/22/2012-09/26/2012      7          $184.87
0247385354-03     L.B.        Island Life Chiropractic Pain Care PLLC          98941            09/19/2012           1           $34.68
0247385354-04     R.K.        Island Life Chiropractic Pain Care PLLC          97139      06/25/2012-07/10/2012      8          $133.60
0247385354-04     R.K.        Island Life Chiropractic Pain Care PLLC          97139      06/08/2012-06/20/2012      7          $116.90
0247385354-04     R.K.        Island Life Chiropractic Pain Care PLLC          97139      07/11/2012-07/25/2012      6          $100.20
0247385354-04     R.K.        Island Life Chiropractic Pain Care PLLC          97139      07/31/2012-08/16/2012      5           $83.50
0247385354-04     R.K.        Island Life Chiropractic Pain Care PLLC          97139            10/12/2012           1           $16.70
0247385354-04     R.K.        Island Life Chiropractic Pain Care PLLC          98941            10/12/2012           1           $34.68
0247385354-05      R.I.       Island Life Chiropractic Pain Care PLLC          97139      06/08/2012-07/05/2012      10         $167.00
0247385354-05      R.I.       Island Life Chiropractic Pain Care PLLC          97139      07/23/2012-07/25/2012      3           $50.10
0247385354-05      R.I.       Island Life Chiropractic Pain Care PLLC          97139      08/02/2012-08/08/2012      3           $50.10
0250464211-01     O.S.        Island Life Chiropractic Pain Care PLLC          95999            06/05/2012           1         $1,022.00
0250464211-01     O.S.        Island Life Chiropractic Pain Care PLLC          95999            06/05/2012           1         $1,314.00
0250464211-01     O.S.        Island Life Chiropractic Pain Care PLLC          97139      05/30/2012-06/19/2012      5           $83.50
0250464211-01     O.S.        Island Life Chiropractic Pain Care PLLC          99203            05/30/2012           1           $54.74
0250464211-01     O.S.        Island Life Chiropractic Pain Care PLLC          98941      06/01/2012-06/19/2012      4          $138.72
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          95999            07/31/2012           1         $1,022.00
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          97139      07/30/2012-08/13/2012      6          $100.20
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          99212            10/01/2012           1           $26.41
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          97139      11/14/2012-11/26/2012      4           $66.80
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          98941      11/14/2012-11/26/2012      4          $138.72
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          97139      11/29/2012-01/02/2013      7          $116.90


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                     Provider                         Used              Service            Units      Pending
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          98940      11/29/2012-01/02/2013      6          $158.46
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          98941            12/12/2012           1           $34.68
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          97139            01/09/2013           1           $16.70
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          98941            01/09/2013           1           $34.68
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          97139      02/18/2013-02/28/2013      4           $66.80
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          98940            02/18/2013           1           $26.41
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          98941      02/22/2013-02/28/2013      3          $104.04
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          97139      03/05/2013-03/13/2013      3           $50.10
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          98941      03/05/2013-03/13/2013      3          $104.04
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          97139      03/18/2013-03/21/2013      2           $33.40
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          98941            03/18/2013           1           $34.68
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          99212            03/18/2013           1           $26.41
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          98940            03/21/2013           1           $26.41
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          97139      04/09/2013-04/15/2013      2           $33.40
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          98941            04/09/2013           1           $34.68
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          98940            04/15/2013           1           $26.41
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          97139      04/18/2013-04/29/2013      4           $66.80
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          98940      04/18/2013-04/26/2013      3           $79.23
0253727044-01     G.M.        Island Life Chiropractic Pain Care PLLC          98941      04/29/2013-05/02/2013      2           $69.36
0253727044-04     D.M.        Island Life Chiropractic Pain Care PLLC          95999            07/17/2012           1         $1,022.00
0253727044-04     D.M.        Island Life Chiropractic Pain Care PLLC          97139      07/12/2012-08/20/2012      11         $183.70
0253727044-04     D.M.        Island Life Chiropractic Pain Care PLLC          95999            07/17/2012           1         $1,314.00
0253727044-04     D.M.        Island Life Chiropractic Pain Care PLLC          97139      08/28/2012-09/20/2012      5           $83.50
0253727044-04     D.M.        Island Life Chiropractic Pain Care PLLC          99212            09/17/2012           1           $26.41
0253727044-04     D.M.        Island Life Chiropractic Pain Care PLLC          97139      12/03/2012-01/02/2013      11         $183.70
0253727044-04     D.M.        Island Life Chiropractic Pain Care PLLC          98940      12/03/2012-01/02/2013      11         $290.51
0253727044-04     D.M.        Island Life Chiropractic Pain Care PLLC          97139            01/07/2013           1           $16.70
0253727044-04     D.M.        Island Life Chiropractic Pain Care PLLC          98940            01/07/2013           1           $26.41
0253727044-04     D.M.        Island Life Chiropractic Pain Care PLLC          99212            01/09/2013           1           $26.41
0253727044-14     M.B.        Island Life Chiropractic Pain Care PLLC          99455            08/02/2012           1          $350.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                     Provider                         Used              Service            Units      Pending
0253727044-14     M.B.        Island Life Chiropractic Pain Care PLLC          97139            08/22/2012           1           $16.70
0253727044-14     M.B.        Island Life Chiropractic Pain Care PLLC          98941            08/22/2012           1           $34.68
0256679861-06      J.P.       Island Life Chiropractic Pain Care PLLC          99203            08/28/2012           1           $54.74
0256679861-06      J.P.       Island Life Chiropractic Pain Care PLLC          97139      08/29/2012-10/01/2012      8          $133.60
0256679861-06      J.P.       Island Life Chiropractic Pain Care PLLC          98940            08/29/2012           1           $26.41
0256679861-06      J.P.       Island Life Chiropractic Pain Care PLLC          98941      08/30/2012-10/01/2012      7          $242.76
0256679861-06      J.P.       Island Life Chiropractic Pain Care PLLC          95999            09/19/2012           1         $1,022.00
0256679861-06      J.P.       Island Life Chiropractic Pain Care PLLC          97139      10/08/2012-10/15/2012      2           $33.40
0256679861-06      J.P.       Island Life Chiropractic Pain Care PLLC          98941      10/08/2012-10/15/2012      2           $69.36
0256679861-06      J.P.       Island Life Chiropractic Pain Care PLLC          97139            11/06/2012           1           $16.70
0256679861-06      J.P.       Island Life Chiropractic Pain Care PLLC          98940            11/06/2012           1           $26.41
0256679861-07      S.C.       Island Life Chiropractic Pain Care PLLC          99203            08/28/2012           1           $54.74
0256679861-07      S.C.       Island Life Chiropractic Pain Care PLLC          97139      08/29/2012-09/25/2012      3           $50.10
0256679861-07      S.C.       Island Life Chiropractic Pain Care PLLC          98940      08/29/2012-09/25/2012      3           $79.23
0256679861-07      S.C.       Island Life Chiropractic Pain Care PLLC          97139            10/09/2012           1           $16.70
0256679861-07      S.C.       Island Life Chiropractic Pain Care PLLC          98940            10/09/2012           1           $26.41
0256679861-07      S.C.       Island Life Chiropractic Pain Care PLLC          97139            12/10/2012           1           $16.70
0256679861-07      S.C.       Island Life Chiropractic Pain Care PLLC          98940            12/10/2012           1           $26.41
0258075928-01     C.L.        Island Life Chiropractic Pain Care PLLC          95999            09/19/2012           1         $1,022.00
0258075928-01     C.L.        Island Life Chiropractic Pain Care PLLC          95999            09/19/2012           1         $1,314.00
0259040152-03      R.J.       Island Life Chiropractic Pain Care PLLC          95999            11/01/2012           1         $1,314.00
0260066378-01      S.R.       Island Life Chiropractic Pain Care PLLC          95999            11/05/2012           1         $1,022.00
0260066378-05      F.C.       Island Life Chiropractic Pain Care PLLC          95999            11/06/2012           1         $1,314.00
0283577740-02      J.A.       Island Life Chiropractic Pain Care PLLC          95999            06/05/2013           1         $1,314.00
0283577740-02      J.A.       Island Life Chiropractic Pain Care PLLC          95999            06/05/2013           1         $1,022.00
0296244239-02     B.H.        Island Life Chiropractic Pain Care PLLC          95999            09/24/2013           1         $1,022.00
0296244239-02     B.H.        Island Life Chiropractic Pain Care PLLC          95999            09/24/2013           1         $1,314.00
0299585850-02     L.G.        Island Life Chiropractic Pain Care PLLC          95999            02/14/2014           1         $1,022.00
0303475743-01     M.G.        Island Life Chiropractic Pain Care PLLC          95999            11/05/2013           1         $1,022.00
0303475743-01     M.G.        Island Life Chiropractic Pain Care PLLC          95999            11/05/2013           1         $1,679.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                     Provider                         Used              Service            Units      Pending
0303475743-01     M.G.        Island Life Chiropractic Pain Care PLLC          95999            11/05/2013           1         $2,336.00
0326267416-02      R.F.       Island Life Chiropractic Pain Care PLLC          95999            07/01/2014           1          $949.00
0326267416-10     L.G.        Island Life Chiropractic Pain Care PLLC          95999            06/05/2014           1         $1,022.00
0374512275-02      B.S.       Island Life Chiropractic Pain Care PLLC          95999            07/09/2015           1         $1,022.00
0374512275-02      B.S.       Island Life Chiropractic Pain Care PLLC          95999            07/09/2015           1         $1,314.00
0374512275-03      Z.S.       Island Life Chiropractic Pain Care PLLC          95999            07/16/2015           1         $1,022.00
0374512275-03      Z.S.       Island Life Chiropractic Pain Care PLLC          95999            07/16/2015           1         $1,314.00
0374553048-02      E.F.       Island Life Chiropractic Pain Care PLLC          95999            07/21/2015           1         $1,022.00
0374553048-02      E.F.       Island Life Chiropractic Pain Care PLLC          95999            07/21/2015           1         $1,314.00
0380809228-02     C.A.        Island Life Chiropractic Pain Care PLLC          95999            08/25/2015           1         $2,336.00
0380809228-05      T.T.       Island Life Chiropractic Pain Care PLLC          95999            09/28/2015           1         $2,336.00
0380809228-06     C.D.        Island Life Chiropractic Pain Care PLLC          95999            08/25/2015           1         $2,336.00
0380809228-07     B.G.        Island Life Chiropractic Pain Care PLLC          95999            08/25/2015           1         $2,336.00
0398385996-02      F.P.       Island Life Chiropractic Pain Care PLLC          95999            01/14/2016           1         $2,336.00
3966876891-02      A.I.       Island Life Chiropractic Pain Care PLLC          97139      04/17/2012-05/21/2012      13         $217.10
3966876891-02      A.I.       Island Life Chiropractic Pain Care PLLC          98941      04/17/2012-04/19/2012      2           $69.36
3966876891-02      A.I.       Island Life Chiropractic Pain Care PLLC          99212            04/17/2012           1           $26.41
3966876891-02      A.I.       Island Life Chiropractic Pain Care PLLC          98940      04/23/2012-05/21/2012      11         $290.51
4817002837-02     C.C.        Island Life Chiropractic Pain Care PLLC          95999            02/08/2012           1         $1,314.00
4817002837-02     C.C.        Island Life Chiropractic Pain Care PLLC          95999            02/08/2012           1         $1,022.00
4817002837-02     C.C.        Island Life Chiropractic Pain Care PLLC          97139            06/26/2012           1           $16.70
4817002837-02     C.C.        Island Life Chiropractic Pain Care PLLC          98941            06/26/2012           1           $34.68
4817002837-02     C.C.        Island Life Chiropractic Pain Care PLLC          99212            06/26/2012           1           $26.41
0245880257-03     T.M.                Maria Shiela Masigla PT                  97799      02/28/2013-03/08/2013      3          $148.50
0245880257-03     T.M.                Maria Shiela Masigla PT                  97010      02/28/2013-03/08/2013      3           $54.75
0245880257-03     T.M.                Maria Shiela Masigla PT                  97110      02/28/2013-03/08/2013      3           $69.54
0245880257-03     T.M.                Maria Shiela Masigla PT                  97124      02/28/2013-03/08/2013      3           $60.63
0245880257-03     T.M.                Maria Shiela Masigla PT                  64550      02/28/2013-03/08/2013      3          $219.90
0245880257-03     T.M.                Maria Shiela Masigla PT                  97010      03/14/2013-03/26/2013      4           $73.00
0245880257-03     T.M.                Maria Shiela Masigla PT                  97110      03/14/2013-03/26/2013      4           $92.72


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0245880257-03     T.M.               Maria Shiela Masigla PT                   97124      03/14/2013-03/26/2013      4          $80.84
0245880257-03     T.M.               Maria Shiela Masigla PT                   64550      03/14/2013-03/26/2013      4         $293.20
0245880257-03     T.M.               Maria Shiela Masigla PT                   97799      03/14/2013-03/26/2013      4         $198.00
0245880257-03     T.M.               Maria Shiela Masigla PT                   97799      03/29/2013-04/03/2013      2          $99.00
0245880257-03     T.M.               Maria Shiela Masigla PT                   97010      03/29/2013-04/03/2013      2          $36.50
0245880257-03     T.M.               Maria Shiela Masigla PT                   97110      03/29/2013-04/03/2013      2          $46.36
0245880257-03     T.M.               Maria Shiela Masigla PT                   97124      03/29/2013-04/03/2013      2          $40.42
0245880257-03     T.M.               Maria Shiela Masigla PT                   64550      03/29/2013-04/03/2013      2         $146.60
0246761522-01     D.H.               Maria Shiela Masigla PT                   97799      06/04/2012-07/02/2012      12        $594.00
0246761522-01     D.H.               Maria Shiela Masigla PT                   64550      06/04/2012-07/02/2012      13        $952.90
0246761522-01     D.H.               Maria Shiela Masigla PT                   64550      07/03/2012-08/03/2012      7         $513.10
0246761522-01     D.H.               Maria Shiela Masigla PT                   97110      07/03/2012-08/03/2012      7         $234.78
0246761522-01     D.H.               Maria Shiela Masigla PT                   97124      07/03/2012-08/03/2012      7          $98.28
0246761522-01     D.H.               Maria Shiela Masigla PT                   97799      08/07/2012-08/29/2012      8         $396.00
0246761522-01     D.H.               Maria Shiela Masigla PT                   64550      08/07/2012-09/18/2012      13        $952.90
0247042302-01     B.B.               Maria Shiela Masigla PT                   64550      06/28/2012-07/25/2012      12        $879.60
0247042302-01     B.B.               Maria Shiela Masigla PT                   97799      06/28/2012-07/25/2012      12        $594.00
0247042302-01     B.B.               Maria Shiela Masigla PT                   97799      07/30/2012-08/01/2012      2          $99.00
0247042302-01     B.B.               Maria Shiela Masigla PT                   64550      07/30/2012-08/01/2012      2         $146.60
0247042302-01     B.B.               Maria Shiela Masigla PT                   64550      08/03/2012-09/10/2012      10        $733.00
0247042302-01     B.B.               Maria Shiela Masigla PT                   97799      08/03/2012-08/29/2012      7         $346.50
0247042302-01     B.B.               Maria Shiela Masigla PT                   64550      09/18/2012-10/23/2012      8         $586.40
0247042302-01     B.B.               Maria Shiela Masigla PT                   97799      09/28/2012-10/23/2012      5         $247.50
0247042302-01     B.B.               Maria Shiela Masigla PT                   64550      11/05/2012-11/13/2012      2         $146.60
0247042302-01     B.B.               Maria Shiela Masigla PT                   97799            11/13/2012           1          $49.50
0247042302-01     B.B.               Maria Shiela Masigla PT                   97010      11/05/2012-11/13/2012      2          $40.04
0247042302-01     B.B.               Maria Shiela Masigla PT                   97110      11/05/2012-11/13/2012      2          $67.08
0247042302-01     B.B.               Maria Shiela Masigla PT                   97124      11/05/2012-11/13/2012      2          $28.08
0247042302-01     B.B.               Maria Shiela Masigla PT                   64550      12/21/2012-12/27/2012      2         $146.60
0247042302-01     B.B.               Maria Shiela Masigla PT                   97010      12/21/2012-12/27/2012      2          $40.04


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0247042302-01     B.B.               Maria Shiela Masigla PT                   97110      12/21/2012-12/27/2012      2          $67.08
0247042302-01     B.B.               Maria Shiela Masigla PT                   97124      12/21/2012-12/27/2012      2          $28.08
0247042302-01     B.B.               Maria Shiela Masigla PT                   64550            01/10/2013           1          $73.30
0247042302-01     B.B.               Maria Shiela Masigla PT                   97010            01/10/2013           1          $20.02
0247042302-01     B.B.               Maria Shiela Masigla PT                   97110            01/10/2013           1          $33.54
0247042302-01     B.B.               Maria Shiela Masigla PT                   97124            01/10/2013           1          $14.04
0247385354-01      J.E.              Maria Shiela Masigla PT                   64550      06/26/2012-07/10/2012      6         $439.80
0247385354-01      J.E.              Maria Shiela Masigla PT                   64550      06/07/2012-06/25/2012      8         $586.40
0247385354-01      J.E.              Maria Shiela Masigla PT                   97799      06/07/2012-07/10/2012      14        $693.00
0247385354-01      J.E.              Maria Shiela Masigla PT                   64550      07/11/2012-08/02/2012      8         $586.40
0247385354-01      J.E.              Maria Shiela Masigla PT                   64550      08/06/2012-09/12/2012      11        $806.30
0247385354-01      J.E.              Maria Shiela Masigla PT                   97799      09/25/2012-10/25/2012      9         $445.50
0247385354-01      J.E.              Maria Shiela Masigla PT                   64550      09/19/2012-10/25/2012      12        $879.60
0247385354-01      J.E.              Maria Shiela Masigla PT                   97799      11/07/2012-11/14/2012      3         $148.50
0247385354-01      J.E.              Maria Shiela Masigla PT                   64550      11/07/2012-11/14/2012      3         $219.90
0247385354-03     L.B.               Maria Shiela Masigla PT                   64550      06/07/2012-07/10/2012      12        $879.60
0247385354-03     L.B.               Maria Shiela Masigla PT                   97799      06/07/2012-07/10/2012      12        $594.00
0247385354-03     L.B.               Maria Shiela Masigla PT                   97001            06/07/2012           1          $72.92
0247385354-03     L.B.               Maria Shiela Masigla PT                   97010      06/07/2012-07/10/2012      12        $240.24
0247385354-03     L.B.               Maria Shiela Masigla PT                   97110      06/07/2012-07/10/2012      12        $402.48
0247385354-03     L.B.               Maria Shiela Masigla PT                   97124      06/07/2012-07/10/2012      12        $168.48
0247385354-03     L.B.               Maria Shiela Masigla PT                   64550      07/11/2012-07/16/2012      2         $146.60
0247385354-03     L.B.               Maria Shiela Masigla PT                   97010      07/11/2012-07/16/2012      2          $40.04
0247385354-03     L.B.               Maria Shiela Masigla PT                   97110      07/11/2012-07/16/2012      2          $67.08
0247385354-03     L.B.               Maria Shiela Masigla PT                   97124      07/11/2012-07/16/2012      2          $28.08
0247385354-03     L.B.               Maria Shiela Masigla PT                   97799      07/11/2012-07/16/2012      2          $99.00
0247385354-03     L.B.               Maria Shiela Masigla PT                   64550            07/25/2012           1          $73.30
0247385354-03     L.B.               Maria Shiela Masigla PT                   97010            07/25/2012           1          $20.02
0247385354-03     L.B.               Maria Shiela Masigla PT                   97110            07/25/2012           1          $33.54
0247385354-03     L.B.               Maria Shiela Masigla PT                   97124            07/25/2012           1          $14.04


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0247385354-03     L.B.               Maria Shiela Masigla PT                   97799            07/25/2012           1          $49.50
0247385354-03     L.B.               Maria Shiela Masigla PT                   97750            07/16/2012           1         $249.96
0247385354-03     L.B.               Maria Shiela Masigla PT                   97799      08/09/2012-08/23/2012      5         $247.50
0247385354-03     L.B.               Maria Shiela Masigla PT                   97010      08/09/2012-09/07/2012      7         $140.14
0247385354-03     L.B.               Maria Shiela Masigla PT                   97110      08/09/2012-09/07/2012      7         $234.78
0247385354-03     L.B.               Maria Shiela Masigla PT                   97124      08/09/2012-09/07/2012      7          $98.28
0247385354-03     L.B.               Maria Shiela Masigla PT                   64550      08/09/2012-09/07/2012      7         $513.10
0247385354-03     L.B.               Maria Shiela Masigla PT                   97010      09/17/2012-09/26/2012      4          $80.08
0247385354-03     L.B.               Maria Shiela Masigla PT                   97110      09/17/2012-09/26/2012      4         $134.16
0247385354-03     L.B.               Maria Shiela Masigla PT                   97124      09/17/2012-09/26/2012      4          $56.16
0247385354-03     L.B.               Maria Shiela Masigla PT                   97799      09/25/2012-09/26/2012      2          $99.00
0247385354-03     L.B.               Maria Shiela Masigla PT                   64550      09/17/2012-09/26/2012      4         $293.20
0247385354-04     R.K.               Maria Shiela Masigla PT                   97799      06/07/2012-07/10/2012      16        $792.00
0247385354-04     R.K.               Maria Shiela Masigla PT                   64550      06/07/2012-06/27/2012      10        $733.00
0247385354-04     R.K.               Maria Shiela Masigla PT                   64550      06/28/2012-07/10/2012      6         $439.80
0247385354-04     R.K.               Maria Shiela Masigla PT                   64550      07/11/2012-08/07/2012      9         $659.70
0247385354-04     R.K.               Maria Shiela Masigla PT                   97799      07/11/2012-08/07/2012      9         $445.50
0247385354-04     R.K.               Maria Shiela Masigla PT                   99358            06/28/2012           1         $143.20
0247385354-04     R.K.               Maria Shiela Masigla PT                   64550      08/08/2012-09/18/2012      12        $879.60
0247385354-04     R.K.               Maria Shiela Masigla PT                   97799      08/08/2012-08/29/2012      7         $346.50
0247385354-04     R.K.               Maria Shiela Masigla PT                   97799      09/26/2012-10/12/2012      3         $148.50
0247385354-04     R.K.               Maria Shiela Masigla PT                   64550      09/26/2012-10/12/2012      3         $219.90
0247385354-05      R.I.              Maria Shiela Masigla PT                   97799      06/07/2012-07/05/2012      9         $445.50
0247385354-05      R.I.              Maria Shiela Masigla PT                   64550      06/07/2012-07/05/2012      11        $806.30
0247385354-05      R.I.              Maria Shiela Masigla PT                   64550      07/23/2012-08/06/2012      6         $439.80
0247385354-05      R.I.              Maria Shiela Masigla PT                   97799      07/23/2012-08/06/2012      6         $297.00
0247385354-05      R.I.              Maria Shiela Masigla PT                   64550      08/08/2012-09/12/2012      7         $513.10
0247385354-05      R.I.              Maria Shiela Masigla PT                   97799      08/08/2012-08/30/2012      5         $247.50
0247385354-05      R.I.              Maria Shiela Masigla PT                   97799      09/26/2012-10/01/2012      2          $99.00
0247385354-05      R.I.              Maria Shiela Masigla PT                   64550      09/21/2012-10/01/2012      3         $219.90


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0247385354-05      R.I.              Maria Shiela Masigla PT                   64550            11/28/2012           1          $73.30
0247385354-05      R.I.              Maria Shiela Masigla PT                   97010            11/28/2012           1          $20.02
0247385354-05      R.I.              Maria Shiela Masigla PT                   97110            11/28/2012           1          $33.54
0247385354-05      R.I.              Maria Shiela Masigla PT                   97124            11/28/2012           1          $14.04
0247385354-05      R.I.              Maria Shiela Masigla PT                   97799            11/28/2012           1          $49.50
0248229486-03     S.M.               Maria Shiela Masigla PT                   97001            06/18/2012           1          $72.92
0248229486-03     S.M.               Maria Shiela Masigla PT                   97010      06/18/2012-07/24/2012      9         $180.18
0248229486-03     S.M.               Maria Shiela Masigla PT                   97110      06/18/2012-07/24/2012      9         $301.86
0248229486-03     S.M.               Maria Shiela Masigla PT                   97124      06/18/2012-07/24/2012      9         $126.36
0248229486-03     S.M.               Maria Shiela Masigla PT                   64550      06/18/2012-07/24/2012      9         $659.70
0248229486-03     S.M.               Maria Shiela Masigla PT                   97799      06/18/2012-07/24/2012      9         $445.50
0248229486-05     T.M.               Maria Shiela Masigla PT                   97799      06/18/2012-07/27/2012      9         $445.50
0248229486-05     T.M.               Maria Shiela Masigla PT                   97001            06/18/2012           1          $72.92
0248229486-05     T.M.               Maria Shiela Masigla PT                   64550      06/18/2012-07/27/2012      9         $659.70
0248229486-05     T.M.               Maria Shiela Masigla PT                   97010      06/18/2012-07/27/2012      9         $180.18
0248229486-05     T.M.               Maria Shiela Masigla PT                   97110      06/18/2012-07/27/2012      9         $301.86
0248229486-05     T.M.               Maria Shiela Masigla PT                   97124      06/18/2012-07/27/2012      9         $126.36
0249232133-03     M.M.               Maria Shiela Masigla PT                   97799      06/27/2012-07/25/2012      15        $742.50
0249232133-03     M.M.               Maria Shiela Masigla PT                   64550      06/27/2012-07/16/2012      10        $733.00
0249232133-03     M.M.               Maria Shiela Masigla PT                   64550      07/17/2012-07/25/2012      5         $366.50
0249232133-03     M.M.               Maria Shiela Masigla PT                   64550      07/30/2012-08/08/2012      4         $293.20
0249232133-03     M.M.               Maria Shiela Masigla PT                   97799      07/30/2012-08/08/2012      4         $198.00
0249232133-03     M.M.               Maria Shiela Masigla PT                   97799      08/13/2012-08/29/2012      5         $247.50
0249232133-03     M.M.               Maria Shiela Masigla PT                   64550      08/13/2012-09/19/2012      12        $879.60
0249232133-03     M.M.               Maria Shiela Masigla PT                   97799      10/02/2012-11/09/2012      8         $396.00
0249232133-03     M.M.               Maria Shiela Masigla PT                   64550      10/02/2012-11/09/2012      9         $659.70
0249232133-03     M.M.               Maria Shiela Masigla PT                   64550      11/16/2012-11/26/2012      2         $146.60
0249232133-03     M.M.               Maria Shiela Masigla PT                   97799      11/16/2012-11/26/2012      2          $99.00
0249232133-03     M.M.               Maria Shiela Masigla PT                   64550      12/07/2012-12/26/2012      2         $146.60
0250464211-01     O.S.               Maria Shiela Masigla PT                   64550      06/01/2012-06/26/2012      9         $659.70


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0250464211-01     O.S.               Maria Shiela Masigla PT                   97001            05/30/2012           1          $72.92
0250464211-01     O.S.               Maria Shiela Masigla PT                   97799      06/01/2012-06/26/2012      9         $445.50
0250464211-01     O.S.               Maria Shiela Masigla PT                   97010      06/01/2012-06/26/2012      9         $180.18
0250464211-01     O.S.               Maria Shiela Masigla PT                   97110      06/01/2012-06/26/2012      9         $301.86
0250464211-01     O.S.               Maria Shiela Masigla PT                   97124      06/01/2012-06/26/2012      9         $126.36
0252361290-05     G.T.               Maria Shiela Masigla PT                   64550      08/15/2012-09/21/2012      13        $952.90
0252361290-05     G.T.               Maria Shiela Masigla PT                   97799      08/15/2012-08/28/2012      7         $346.50
0252361290-05     G.T.               Maria Shiela Masigla PT                   97799      10/01/2012-11/01/2012      5         $247.50
0252361290-05     G.T.               Maria Shiela Masigla PT                   64550      10/01/2012-11/15/2012      6         $439.80
0252361290-05     G.T.               Maria Shiela Masigla PT                   97799      11/20/2012-11/26/2012      3         $148.50
0252361290-05     G.T.               Maria Shiela Masigla PT                   64550      11/20/2012-11/28/2012      4         $293.20
0252361290-05     G.T.               Maria Shiela Masigla PT                   64550      12/17/2012-12/27/2012      2         $146.60
0253727044-01     G.M.               Maria Shiela Masigla PT                   64550      07/19/2012-08/13/2012      10        $733.00
0253727044-01     G.M.               Maria Shiela Masigla PT                   64550      09/14/2012-09/19/2012      4         $293.20
0253727044-01     G.M.               Maria Shiela Masigla PT                   64550      10/01/2012-10/31/2012      10        $733.00
0253727044-01     G.M.               Maria Shiela Masigla PT                   97799      10/01/2012-11/14/2012      11        $544.50
0253727044-01     G.M.               Maria Shiela Masigla PT                   64550      11/05/2012-11/14/2012      3         $219.90
0253727044-01     G.M.               Maria Shiela Masigla PT                   97799      11/19/2012-11/23/2012      2          $99.00
0253727044-01     G.M.               Maria Shiela Masigla PT                   64550      11/16/2012-11/29/2012      5         $366.50
0253727044-01     G.M.               Maria Shiela Masigla PT                   64550            12/04/2012           1          $73.30
0253727044-01     G.M.               Maria Shiela Masigla PT                   97799            12/04/2012           1          $49.50
0253727044-01     G.M.               Maria Shiela Masigla PT                   64550      12/06/2012-01/09/2013      10        $733.00
0253727044-01     G.M.               Maria Shiela Masigla PT                   97799      12/06/2012-12/19/2012      5         $247.50
0253727044-01     G.M.               Maria Shiela Masigla PT                   64550      01/02/2013-01/09/2013      3         $219.90
0253727044-01     G.M.               Maria Shiela Masigla PT                   97010      01/02/2013-01/09/2013      3          $54.75
0253727044-01     G.M.               Maria Shiela Masigla PT                   97110      01/02/2013-01/09/2013      3          $69.54
0253727044-01     G.M.               Maria Shiela Masigla PT                   97124      01/02/2013-01/09/2013      3          $60.63
0253727044-01     G.M.               Maria Shiela Masigla PT                   97799            02/18/2013           1          $49.50
0253727044-01     G.M.               Maria Shiela Masigla PT                   64550            02/18/2013           1          $73.30
0253727044-01     G.M.               Maria Shiela Masigla PT                   97010            02/18/2013           1          $18.25


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0253727044-01     G.M.               Maria Shiela Masigla PT                   97110            02/18/2013           1          $23.18
0253727044-01     G.M.               Maria Shiela Masigla PT                   97124            02/18/2013           1          $20.21
0253727044-01     G.M.               Maria Shiela Masigla PT                   97799      02/06/2013-02/14/2013      3         $148.50
0253727044-01     G.M.               Maria Shiela Masigla PT                   64450            02/06/2013           1          $73.30
0253727044-01     G.M.               Maria Shiela Masigla PT                   64550      02/11/2013-02/14/2013      2         $146.60
0253727044-01     G.M.               Maria Shiela Masigla PT                   97010      02/06/2013-02/14/2013      3          $54.75
0253727044-01     G.M.               Maria Shiela Masigla PT                   97110      02/06/2013-02/14/2013      3          $69.54
0253727044-01     G.M.               Maria Shiela Masigla PT                   97124      02/06/2013-02/14/2013      3          $60.63
0253727044-01     G.M.               Maria Shiela Masigla PT                   64550      03/05/2013-03/27/2013      7         $513.10
0253727044-01     G.M.               Maria Shiela Masigla PT                   97799      03/05/2013-03/27/2013      7         $346.50
0253727044-01     G.M.               Maria Shiela Masigla PT                   97010      03/05/2013-03/27/2013      7         $127.75
0253727044-01     G.M.               Maria Shiela Masigla PT                   97110      03/05/2013-03/27/2013      7         $162.26
0253727044-01     G.M.               Maria Shiela Masigla PT                   97124      03/05/2013-03/27/2013      7         $141.47
0253727044-01     G.M.               Maria Shiela Masigla PT                   97010      04/03/2013-04/09/2013      2          $36.50
0253727044-01     G.M.               Maria Shiela Masigla PT                   97110      04/03/2013-04/09/2013      2          $46.36
0253727044-01     G.M.               Maria Shiela Masigla PT                   97124      04/03/2013-04/09/2013      2          $40.42
0253727044-01     G.M.               Maria Shiela Masigla PT                   64550      04/03/2013-04/09/2013      2         $146.60
0253727044-01     G.M.               Maria Shiela Masigla PT                   97799      04/03/2013-04/09/2013      2          $99.00
0253727044-01     G.M.               Maria Shiela Masigla PT                   97010      04/12/2013-04/26/2013      5          $91.25
0253727044-01     G.M.               Maria Shiela Masigla PT                   97110      04/12/2013-04/26/2013      5         $115.90
0253727044-01     G.M.               Maria Shiela Masigla PT                   97124      04/12/2013-04/26/2013      5         $101.05
0253727044-01     G.M.               Maria Shiela Masigla PT                   64550      04/12/2013-04/26/2013      5         $366.50
0253727044-01     G.M.               Maria Shiela Masigla PT                   97799      04/12/2013-04/26/2013      5         $247.50
0253727044-01     G.M.               Maria Shiela Masigla PT                   97799      04/29/2013-05/02/2013      2          $99.00
0253727044-01     G.M.               Maria Shiela Masigla PT                   97010      04/29/2013-05/02/2013      2          $36.50
0253727044-01     G.M.               Maria Shiela Masigla PT                   97110      04/29/2013-05/02/2013      2          $46.36
0253727044-01     G.M.               Maria Shiela Masigla PT                   97124      04/29/2013-05/02/2013      2          $40.42
0253727044-01     G.M.               Maria Shiela Masigla PT                   64550      04/29/2013-05/02/2013      2         $146.60
0253727044-04     D.M.               Maria Shiela Masigla PT                   64550      08/08/2012-08/16/2012      3         $219.90
0253727044-04     D.M.               Maria Shiela Masigla PT                   64550      07/03/2012-08/07/2012      10        $733.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0253727044-04     D.M.               Maria Shiela Masigla PT                   97124      07/03/2012-08/16/2012      13        $182.52
0253727044-04     D.M.               Maria Shiela Masigla PT                   64550      08/20/2012-09/20/2012      6         $439.80
0253727044-04     D.M.               Maria Shiela Masigla PT                   97110            11/08/2012           1          $33.54
0253727044-04     D.M.               Maria Shiela Masigla PT                   97124            11/08/2012           1          $14.04
0253727044-04     D.M.               Maria Shiela Masigla PT                   97110      10/03/2012-11/13/2012      12        $402.48
0253727044-04     D.M.               Maria Shiela Masigla PT                   97124      10/03/2012-11/13/2012      12        $168.48
0253727044-04     D.M.               Maria Shiela Masigla PT                   64550      10/03/2012-11/13/2012      13        $952.90
0253727044-04     D.M.               Maria Shiela Masigla PT                   64550      11/12/2012-11/26/2012      6         $439.80
0253727044-04     D.M.               Maria Shiela Masigla PT                   64550            12/03/2012           1          $73.30
0253727044-04     D.M.               Maria Shiela Masigla PT                   97799            12/03/2012           1          $49.50
0253727044-04     D.M.               Maria Shiela Masigla PT                   97799      11/12/2012-11/26/2012      4         $198.00
0253727044-04     D.M.               Maria Shiela Masigla PT                   97010      12/06/2012-01/09/2013      12        $240.24
0253727044-04     D.M.               Maria Shiela Masigla PT                   97110      12/06/2012-01/09/2013      12        $402.48
0253727044-04     D.M.               Maria Shiela Masigla PT                   97124      12/06/2012-01/09/2013      12        $168.48
0253727044-04     D.M.               Maria Shiela Masigla PT                   64550      12/06/2012-01/09/2013      12        $879.60
0253727044-04     D.M.               Maria Shiela Masigla PT                   97799      12/06/2012-12/19/2012      5         $247.50
0253727044-04     D.M.               Maria Shiela Masigla PT                   97799      02/25/2013-03/11/2013      5         $247.50
0253727044-04     D.M.               Maria Shiela Masigla PT                   97010      02/25/2013-03/11/2013      5          $91.25
0253727044-04     D.M.               Maria Shiela Masigla PT                   97110      02/25/2013-03/11/2013      5         $115.90
0253727044-04     D.M.               Maria Shiela Masigla PT                   97124      02/25/2013-03/11/2013      5         $101.05
0253727044-04     D.M.               Maria Shiela Masigla PT                   64550      02/25/2013-03/11/2013      5         $366.50
0253727044-04     D.M.               Maria Shiela Masigla PT                   64550      03/14/2013-03/26/2013      5         $366.50
0253727044-04     D.M.               Maria Shiela Masigla PT                   97010      03/14/2013-03/26/2013      5          $91.25
0253727044-04     D.M.               Maria Shiela Masigla PT                   97110      03/14/2013-03/26/2013      5         $115.90
0253727044-04     D.M.               Maria Shiela Masigla PT                   97124      03/14/2013-03/26/2013      5         $101.05
0253727044-04     D.M.               Maria Shiela Masigla PT                   97799      03/14/2013-03/26/2013      5         $247.50
0253727044-04     D.M.               Maria Shiela Masigla PT                   64550      04/02/2013-04/10/2013      2         $146.60
0253727044-04     D.M.               Maria Shiela Masigla PT                   97010      04/02/2013-04/10/2013      2          $36.50
0253727044-04     D.M.               Maria Shiela Masigla PT                   97110      04/02/2013-04/10/2013      2          $46.36
0253727044-04     D.M.               Maria Shiela Masigla PT                   97124      04/02/2013-04/10/2013      2          $40.42


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0253727044-04     D.M.               Maria Shiela Masigla PT                   97799      04/02/2013-04/10/2013      2          $99.00
0253727044-04     D.M.               Maria Shiela Masigla PT                   97799      04/18/2013-04/25/2013      3         $148.50
0253727044-04     D.M.               Maria Shiela Masigla PT                   97010      04/18/2013-04/25/2013      3          $54.75
0253727044-04     D.M.               Maria Shiela Masigla PT                   97110      04/18/2013-04/25/2013      3          $69.54
0253727044-04     D.M.               Maria Shiela Masigla PT                   97124      04/18/2013-04/25/2013      3          $60.63
0253727044-04     D.M.               Maria Shiela Masigla PT                   64550      04/18/2013-04/25/2013      3         $219.90
0253727044-04     D.M.               Maria Shiela Masigla PT                   97010      04/29/2013-05/01/2013      2          $36.50
0253727044-04     D.M.               Maria Shiela Masigla PT                   97110      04/29/2013-05/01/2013      2          $46.36
0253727044-04     D.M.               Maria Shiela Masigla PT                   97124      04/29/2013-05/01/2013      2          $40.42
0253727044-04     D.M.               Maria Shiela Masigla PT                   64550      04/29/2013-05/01/2013      2         $146.60
0253727044-04     D.M.               Maria Shiela Masigla PT                   97799      04/29/2013-05/01/2013      2          $99.00
0253727044-14     M.B.               Maria Shiela Masigla PT                   64550      07/30/2012-08/17/2012      4         $293.20
0253727044-14     M.B.               Maria Shiela Masigla PT                   97001            07/30/2012           1          $72.92
0253727044-14     M.B.               Maria Shiela Masigla PT                   97010      07/30/2012-08/17/2012      4          $80.08
0253727044-14     M.B.               Maria Shiela Masigla PT                   97110      07/30/2012-08/17/2012      4         $134.16
0253727044-14     M.B.               Maria Shiela Masigla PT                   97124      07/30/2012-08/17/2012      4          $56.16
0253727044-14     M.B.               Maria Shiela Masigla PT                   97799      07/30/2012-08/17/2012      4         $198.00
0253727044-14     M.B.               Maria Shiela Masigla PT                   64550            08/22/2012           1          $73.30
0253727044-14     M.B.               Maria Shiela Masigla PT                   97010            08/22/2012           1          $20.02
0253727044-14     M.B.               Maria Shiela Masigla PT                   97110            08/22/2012           1          $33.54
0253727044-14     M.B.               Maria Shiela Masigla PT                   97124            08/22/2012           1          $14.04
0253727044-14     M.B.               Maria Shiela Masigla PT                   97799            08/22/2012           1          $49.50
0256679861-06      J.P.              Maria Shiela Masigla PT                   97010      10/08/2012-11/06/2012      3          $60.06
0256679861-06      J.P.              Maria Shiela Masigla PT                   97110      10/08/2012-11/06/2012      3         $100.62
0256679861-06      J.P.              Maria Shiela Masigla PT                   97124      10/08/2012-11/06/2012      3          $42.12
0256679861-06      J.P.              Maria Shiela Masigla PT                   97799      10/08/2012-11/06/2012      2          $99.00
0256679861-06      J.P.              Maria Shiela Masigla PT                   64550      10/08/2012-11/06/2012      3         $219.90
0256679861-07      S.C.              Maria Shiela Masigla PT                   97001            08/29/2012           1          $72.92
0256679861-07      S.C.              Maria Shiela Masigla PT                   97010      08/29/2012-09/25/2012      5         $100.10
0256679861-07      S.C.              Maria Shiela Masigla PT                   97110      08/29/2012-09/25/2012      5         $167.70


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0256679861-07      S.C.              Maria Shiela Masigla PT                   97124      08/29/2012-09/25/2012      5          $70.20
0256679861-07      S.C.              Maria Shiela Masigla PT                   97010      10/09/2012-10/19/2012      2          $40.04
0256679861-07      S.C.              Maria Shiela Masigla PT                   97110      10/09/2012-10/19/2012      2          $67.08
0256679861-07      S.C.              Maria Shiela Masigla PT                   97124      10/09/2012-10/19/2012      2          $28.08
0256679861-07      S.C.              Maria Shiela Masigla PT                   97010      11/02/2012-11/06/2012      2          $40.04
0256679861-07      S.C.              Maria Shiela Masigla PT                   97110      11/02/2012-11/06/2012      2          $67.08
0256679861-07      S.C.              Maria Shiela Masigla PT                   97124      11/02/2012-11/06/2012      2          $28.08
0257961391-07     M.P.               Maria Shiela Masigla PT                   97799      10/08/2012-11/13/2012      9         $445.50
0257961391-07     M.P.               Maria Shiela Masigla PT                   64550      10/08/2012-11/13/2012      11        $806.30
0257961391-07     M.P.               Maria Shiela Masigla PT                   64550      11/19/2012-11/29/2012      4         $293.20
0257961391-07     M.P.               Maria Shiela Masigla PT                   64550      12/04/2012-12/05/2012      2         $146.60
0257961391-07     M.P.               Maria Shiela Masigla PT                   97799            11/21/2012           1          $49.50
0257961391-07     M.P.               Maria Shiela Masigla PT                   97124      12/04/2012-12/05/2012      2          $28.08
0257961391-07     M.P.               Maria Shiela Masigla PT                   97124      11/19/2012-11/29/2012      4          $56.16
0257961391-07     M.P.               Maria Shiela Masigla PT                   97799      12/04/2012-12/05/2012      2          $99.00
0257961391-07     M.P.               Maria Shiela Masigla PT                   64550      12/11/2012-01/11/2013      4         $293.20
0257961391-07     M.P.               Maria Shiela Masigla PT                   97799      12/11/2012-12/17/2012      2          $99.00
0257961391-07     M.P.               Maria Shiela Masigla PT                   64550            01/29/2013           1          $73.30
0257961391-07     M.P.               Maria Shiela Masigla PT                   97799            01/29/2013           1          $49.50
0257961391-07     M.P.               Maria Shiela Masigla PT                   64550            02/20/2013           1          $73.30
0257961391-07     M.P.               Maria Shiela Masigla PT                   97010            02/20/2013           1          $18.25
0257961391-07     M.P.               Maria Shiela Masigla PT                   97110            02/20/2013           1          $23.18
0257961391-07     M.P.               Maria Shiela Masigla PT                   97124            02/20/2013           1          $20.21
0257961391-07     M.P.               Maria Shiela Masigla PT                   97799            02/20/2013           1          $49.50
0257961391-07     M.P.               Maria Shiela Masigla PT                   64550            02/05/2013           1          $73.30
0257961391-07     M.P.               Maria Shiela Masigla PT                   97799            02/05/2013           1          $49.50
0257961391-07     M.P.               Maria Shiela Masigla PT                   97799      02/28/2013-03/11/2013      2          $99.00
0257961391-07     M.P.               Maria Shiela Masigla PT                   64550      02/28/2013-03/11/2013      2         $146.60
0257961391-07     M.P.               Maria Shiela Masigla PT                   97010      02/28/2013-03/11/2013      2          $36.50
0257961391-07     M.P.               Maria Shiela Masigla PT                   97110      02/28/2013-03/11/2013      2          $46.36


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0257961391-07     M.P.               Maria Shiela Masigla PT                   97124      02/28/2013-03/11/2013      2          $40.42
0257961391-13      J.J.              Maria Shiela Masigla PT                   64550      10/04/2012-10/16/2012      6         $439.80
0257961391-13      J.J.              Maria Shiela Masigla PT                   97799      10/04/2012-10/16/2012      5         $247.50
0258075928-01     C.L.               Maria Shiela Masigla PT                   64550      11/14/2012-11/30/2012      5         $366.50
0258075928-01     C.L.               Maria Shiela Masigla PT                   64550            02/13/2013           1          $73.30
0258075928-01     C.L.               Maria Shiela Masigla PT                   97010            02/13/2013           1          $18.25
0258075928-01     C.L.               Maria Shiela Masigla PT                   97110            02/13/2013           1          $23.18
0258075928-01     C.L.               Maria Shiela Masigla PT                   97124            02/13/2013           1          $20.21
0258075928-01     C.L.               Maria Shiela Masigla PT                   97799            02/13/2013           1          $49.50
0258075928-01     C.L.               Maria Shiela Masigla PT                   97010      02/18/2013-02/19/2013      2          $36.50
0258075928-01     C.L.               Maria Shiela Masigla PT                   97110      02/18/2013-02/19/2013      2          $46.36
0258075928-01     C.L.               Maria Shiela Masigla PT                   97124      02/18/2013-02/19/2013      2          $40.42
0258075928-01     C.L.               Maria Shiela Masigla PT                   64550      02/18/2013-02/19/2013      2         $146.60
0258075928-01     C.L.               Maria Shiela Masigla PT                   97799      02/22/2013-03/08/2013      6         $297.00
0258075928-01     C.L.               Maria Shiela Masigla PT                   64550      02/22/2013-03/08/2013      6         $439.80
0258075928-01     C.L.               Maria Shiela Masigla PT                   97799      02/18/2013-02/19/2013      2          $99.00
0258075928-01     C.L.               Maria Shiela Masigla PT                   97010      02/22/2013-03/08/2013      6         $109.50
0258075928-01     C.L.               Maria Shiela Masigla PT                   97110      02/22/2013-03/08/2013      6         $139.08
0258075928-01     C.L.               Maria Shiela Masigla PT                   97124      02/22/2013-03/08/2013      6         $121.26
0258075928-01     C.L.               Maria Shiela Masigla PT                   64550      04/02/2013-04/10/2013      3         $219.90
0258075928-01     C.L.               Maria Shiela Masigla PT                   97010      04/02/2013-04/10/2013      3          $54.75
0258075928-01     C.L.               Maria Shiela Masigla PT                   97110      04/02/2013-04/10/2013      3          $69.54
0258075928-01     C.L.               Maria Shiela Masigla PT                   97124      04/02/2013-04/10/2013      3          $60.63
0258075928-01     C.L.               Maria Shiela Masigla PT                   97799      04/02/2013-04/10/2013      3         $148.50
0258075928-01     C.L.               Maria Shiela Masigla PT                   64550            05/02/2013           1          $73.30
0258075928-01     C.L.               Maria Shiela Masigla PT                   97010            05/02/2013           1          $18.25
0258075928-01     C.L.               Maria Shiela Masigla PT                   97110            05/02/2013           1          $23.18
0258075928-01     C.L.               Maria Shiela Masigla PT                   97124            05/02/2013           1          $20.21
0258075928-01     C.L.               Maria Shiela Masigla PT                   97799            05/02/2013           1          $49.50
0259040152-03      R.J.              Maria Shiela Masigla PT                   97799      10/24/2012-11/02/2012      3         $148.50


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0259040152-03      R.J.              Maria Shiela Masigla PT                   97799      11/12/2012-11/23/2012      4         $198.00
0259040152-03      R.J.              Maria Shiela Masigla PT                   97799      12/03/2012-12/04/2012      2          $99.00
0259040152-03      R.J.              Maria Shiela Masigla PT                   64550      12/05/2012-12/12/2012      3         $219.90
0259040152-03      R.J.              Maria Shiela Masigla PT                   97799      12/05/2012-12/12/2012      3         $148.50
0259681756-03      T.P.              Maria Shiela Masigla PT                   97799      09/24/2012-10/12/2012      8         $396.00
0259681756-03      T.P.              Maria Shiela Masigla PT                   64550      09/24/2012-10/15/2012      9         $659.70
0259681756-03      T.P.              Maria Shiela Masigla PT                   64550      10/17/2012-11/06/2012      7         $513.10
0259681756-03      T.P.              Maria Shiela Masigla PT                   97799      10/17/2012-11/06/2012      6         $297.00
0259681756-03      T.P.              Maria Shiela Masigla PT                   97799            12/03/2012           1          $49.50
0259681756-03      T.P.              Maria Shiela Masigla PT                   64550            12/03/2012           1          $73.30
0259681756-03      T.P.              Maria Shiela Masigla PT                   97799            11/23/2012           1          $49.50
0259681756-03      T.P.              Maria Shiela Masigla PT                   64550      11/23/2012-11/30/2012      4         $293.20
0259681756-03      T.P.              Maria Shiela Masigla PT                   97799      12/10/2012-12/17/2012      4         $198.00
0259681756-03      T.P.              Maria Shiela Masigla PT                   64550      12/10/2012-01/09/2013      9         $659.70
0259681756-03      T.P.              Maria Shiela Masigla PT                   64550      01/17/2013-01/25/2013      4         $293.20
0259681756-03      T.P.              Maria Shiela Masigla PT                   97799      01/24/2013-01/25/2013      2          $99.00
0259681756-03      T.P.              Maria Shiela Masigla PT                   97799      02/07/2013-02/15/2013      2          $99.00
0259686599-02     D.R.               Maria Shiela Masigla PT                   64550      09/19/2012-09/24/2012      3         $219.90
0259686599-03     V.C.               Maria Shiela Masigla PT                   64550      09/19/2012-10/10/2012      10        $733.00
0259686599-03     V.C.               Maria Shiela Masigla PT                   97799      10/16/2012-10/25/2012      5         $247.50
0259686599-03     V.C.               Maria Shiela Masigla PT                   64550      10/16/2012-10/31/2012      6         $439.80
0259686599-03     V.C.               Maria Shiela Masigla PT                   97124      10/16/2012-10/31/2012      6          $84.24
0259686599-03     V.C.               Maria Shiela Masigla PT                   97124      10/31/2012-11/28/2012      9         $126.36
0259686599-03     V.C.               Maria Shiela Masigla PT                   64550      10/31/2012-11/28/2012      9         $659.70
0259686599-03     V.C.               Maria Shiela Masigla PT                   97799      11/02/2012-11/20/2012      6         $297.00
0259686599-03     V.C.               Maria Shiela Masigla PT                   97124      12/06/2012-01/07/2013      7          $98.28
0259686599-03     V.C.               Maria Shiela Masigla PT                   97799      12/06/2012-12/19/2012      4         $198.00
0259686599-03     V.C.               Maria Shiela Masigla PT                   64550      12/06/2012-01/07/2013      7         $513.10
0259686599-03     V.C.               Maria Shiela Masigla PT                   97010      01/11/2013-01/24/2013      4          $80.08
0259686599-03     V.C.               Maria Shiela Masigla PT                   97110      01/11/2013-01/24/2013      4         $134.16


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0259686599-03     V.C.               Maria Shiela Masigla PT                   97124      01/11/2013-01/24/2013      4          $56.16
0259686599-03     V.C.               Maria Shiela Masigla PT                   97010            01/31/2013           1          $18.25
0259686599-03     V.C.               Maria Shiela Masigla PT                   97110            01/31/2013           1          $23.18
0259686599-03     V.C.               Maria Shiela Masigla PT                   97124            01/31/2013           1          $20.21
0259686599-03     V.C.               Maria Shiela Masigla PT                   64550            01/31/2013           1          $73.30
0259686599-03     V.C.               Maria Shiela Masigla PT                   97799      02/07/2013-02/12/2013      2          $99.00
0259686599-03     V.C.               Maria Shiela Masigla PT                   64550      02/07/2013-02/12/2013      2         $146.60
0259686599-03     V.C.               Maria Shiela Masigla PT                   97010      02/07/2013-02/12/2013      2          $36.50
0259686599-03     V.C.               Maria Shiela Masigla PT                   97110      02/07/2013-02/12/2013      2          $46.99
0259686599-03     V.C.               Maria Shiela Masigla PT                   97124      02/07/2013-02/12/2013      2          $40.42
0259686599-07     L.C.               Maria Shiela Masigla PT                   64550      09/21/2012-10/15/2012      10        $733.00
0259686599-07     L.C.               Maria Shiela Masigla PT                   97799      09/25/2012-10/15/2012      9         $445.50
0259686599-07     L.C.               Maria Shiela Masigla PT                   97124      10/16/2012-10/31/2012      3          $42.12
0259686599-07     L.C.               Maria Shiela Masigla PT                   64550      10/16/2012-10/31/2012      3         $219.90
0259686599-07     L.C.               Maria Shiela Masigla PT                   97799      10/16/2012-10/25/2012      2          $99.00
0259686599-07     L.C.               Maria Shiela Masigla PT                   97799      11/02/2012-11/20/2012      5         $247.50
0259686599-07     L.C.               Maria Shiela Masigla PT                   64550      11/02/2012-11/28/2012      7         $513.10
0259686599-07     L.C.               Maria Shiela Masigla PT                   97124      11/02/2012-11/28/2012      7          $98.28
0259686599-07     L.C.               Maria Shiela Masigla PT                   64550      12/04/2012-01/07/2013      12        $879.60
0259686599-07     L.C.               Maria Shiela Masigla PT                   97124      12/04/2012-01/07/2013      12        $168.48
0259686599-07     L.C.               Maria Shiela Masigla PT                   97799      12/04/2012-12/19/2012      6         $297.00
0259686599-07     L.C.               Maria Shiela Masigla PT                   97124      01/11/2013-01/24/2013      4          $56.16
0259686599-07     L.C.               Maria Shiela Masigla PT                   97010      01/24/2013-01/31/2013      2          $36.50
0259686599-07     L.C.               Maria Shiela Masigla PT                   97110      01/24/2013-01/31/2013      2          $46.36
0259686599-07     L.C.               Maria Shiela Masigla PT                   97124      01/24/2013-01/31/2013      2          $40.42
0259686599-07     L.C.               Maria Shiela Masigla PT                   97010      02/07/2013-02/12/2013      2          $36.50
0259686599-07     L.C.               Maria Shiela Masigla PT                   97110      02/07/2013-02/12/2013      2          $46.36
0260066378-01      S.R.              Maria Shiela Masigla PT                   97799      09/28/2012-10/23/2012      11        $544.50
0260066378-01      S.R.              Maria Shiela Masigla PT                   64550      09/25/2012-10/23/2012      12        $879.60
0260066378-01      S.R.              Maria Shiela Masigla PT                   97010      09/25/2012-10/23/2012      12        $240.24


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0260066378-01      S.R.              Maria Shiela Masigla PT                   97110      09/25/2012-10/23/2012      12        $402.48
0260066378-01      S.R.              Maria Shiela Masigla PT                   97124      09/25/2012-10/23/2012      12        $168.48
0260066378-01      S.R.              Maria Shiela Masigla PT                   97001            09/25/2012           1          $72.92
0260066378-01      S.R.              Maria Shiela Masigla PT                   64550      10/25/2012-11/15/2012      6         $439.80
0260066378-01      S.R.              Maria Shiela Masigla PT                   97010      10/25/2012-11/15/2012      6         $120.12
0260066378-01      S.R.              Maria Shiela Masigla PT                   97110      10/25/2012-11/15/2012      6         $201.24
0260066378-01      S.R.              Maria Shiela Masigla PT                   97124      10/25/2012-11/15/2012      6          $84.24
0260066378-01      S.R.              Maria Shiela Masigla PT                   97799      10/25/2012-11/13/2012      5         $247.50
0260066378-01      S.R.              Maria Shiela Masigla PT                   97010      12/03/2012-12/05/2012      2          $40.04
0260066378-01      S.R.              Maria Shiela Masigla PT                   97110      12/03/2012-12/05/2012      2          $67.08
0260066378-01      S.R.              Maria Shiela Masigla PT                   97124      12/03/2012-12/05/2012      2          $28.08
0260066378-01      S.R.              Maria Shiela Masigla PT                   97010      11/20/2012-11/30/2012      5         $100.10
0260066378-01      S.R.              Maria Shiela Masigla PT                   97110      11/20/2012-11/30/2012      5         $167.70
0260066378-01      S.R.              Maria Shiela Masigla PT                   97124      11/20/2012-11/30/2012      5          $70.20
0260066378-01      S.R.              Maria Shiela Masigla PT                   64550      11/20/2012-11/30/2012      5         $366.50
0260066378-01      S.R.              Maria Shiela Masigla PT                   64550      12/03/2012-12/05/2012      2         $146.60
0260066378-01      S.R.              Maria Shiela Masigla PT                   97799      11/20/2012-11/26/2012      3         $148.50
0260066378-01      S.R.              Maria Shiela Masigla PT                   97799      12/03/2012-12/05/2012      2          $99.00
0260066378-01      S.R.              Maria Shiela Masigla PT                   97799      12/07/2012-12/17/2012      4         $198.00
0260066378-01      S.R.              Maria Shiela Masigla PT                   64550      12/07/2012-01/10/2013      9         $659.70
0260066378-01      S.R.              Maria Shiela Masigla PT                   97010      12/07/2012-01/10/2013      9         $180.18
0260066378-01      S.R.              Maria Shiela Masigla PT                   97110      12/07/2012-01/10/2013      9         $301.86
0260066378-01      S.R.              Maria Shiela Masigla PT                   97124      12/07/2012-01/10/2013      9         $126.36
0260066378-01      S.R.              Maria Shiela Masigla PT                   64550      01/17/2013-02/04/2013      6         $439.80
0260066378-01      S.R.              Maria Shiela Masigla PT                   97010      01/17/2013-02/04/2013      6         $109.50
0260066378-01      S.R.              Maria Shiela Masigla PT                   97110      01/17/2013-02/04/2013      6         $139.08
0260066378-01      S.R.              Maria Shiela Masigla PT                   97124      01/17/2013-02/04/2013      6         $121.26
0260066378-01      S.R.              Maria Shiela Masigla PT                   97799      01/25/2013-02/04/2013      3         $148.50
0260066378-01      S.R.              Maria Shiela Masigla PT                   97010      02/08/2013-02/14/2013      2          $36.50
0260066378-01      S.R.              Maria Shiela Masigla PT                   97110      02/08/2013-02/14/2013      2          $46.36


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0260066378-01      S.R.              Maria Shiela Masigla PT                   97124      02/08/2013-02/14/2013      2          $40.42
0260066378-01      S.R.              Maria Shiela Masigla PT                   64550      02/08/2013-02/14/2013      2         $146.60
0260066378-01      S.R.              Maria Shiela Masigla PT                   97799      02/08/2013-02/14/2013      2          $99.00
0260066378-01      S.R.              Maria Shiela Masigla PT                   64550            02/20/2013           1          $73.30
0260066378-01      S.R.              Maria Shiela Masigla PT                   97799            02/20/2013           1          $49.50
0260066378-01      S.R.              Maria Shiela Masigla PT                   97010            02/20/2013           1          $18.25
0260066378-01      S.R.              Maria Shiela Masigla PT                   97110            02/20/2013           1          $23.18
0260066378-01      S.R.              Maria Shiela Masigla PT                   97124            02/20/2013           1          $20.21
0260066378-05      F.C.              Maria Shiela Masigla PT                   97799      09/25/2012-10/22/2012      12        $594.00
0260066378-05      F.C.              Maria Shiela Masigla PT                   97001            09/25/2012           1          $72.92
0260066378-05      F.C.              Maria Shiela Masigla PT                   64550      09/25/2012-10/10/2012      8         $586.40
0260066378-05      F.C.              Maria Shiela Masigla PT                   64550      10/12/2012-10/22/2012      5         $366.50
0260066378-05      F.C.              Maria Shiela Masigla PT                   97010      10/12/2012-10/22/2012      5         $100.10
0260066378-05      F.C.              Maria Shiela Masigla PT                   97110      10/12/2012-10/22/2012      5         $167.70
0260066378-05      F.C.              Maria Shiela Masigla PT                   97124      10/12/2012-10/22/2012      5          $70.20
0260066378-05      F.C.              Maria Shiela Masigla PT                   97010      09/25/2012-10/10/2012      8         $160.16
0260066378-05      F.C.              Maria Shiela Masigla PT                   97110      09/25/2012-10/10/2012      8         $268.32
0260066378-05      F.C.              Maria Shiela Masigla PT                   97124      09/25/2012-10/10/2012      8         $112.32
0260066378-05      F.C.              Maria Shiela Masigla PT                   97799      10/24/2012-11/01/2012      3         $148.50
0260066378-05      F.C.              Maria Shiela Masigla PT                   64550      10/24/2012-11/01/2012      4         $293.20
0260066378-05      F.C.              Maria Shiela Masigla PT                   97010      10/24/2012-11/01/2012      4          $80.08
0260066378-05      F.C.              Maria Shiela Masigla PT                   97110      10/24/2012-11/01/2012      4         $134.16
0260066378-05      F.C.              Maria Shiela Masigla PT                   97124      10/24/2012-11/01/2012      4          $56.16
0260066378-05      F.C.              Maria Shiela Masigla PT                   64550      11/02/2012-11/23/2012      9         $659.70
0260066378-05      F.C.              Maria Shiela Masigla PT                   97010      11/02/2012-11/26/2012      10        $200.20
0260066378-05      F.C.              Maria Shiela Masigla PT                   97110      11/02/2012-11/26/2012      10        $335.40
0260066378-05      F.C.              Maria Shiela Masigla PT                   97124      11/02/2012-11/26/2012      10        $140.40
0260066378-05      F.C.              Maria Shiela Masigla PT                   97799      11/02/2012-11/26/2012      9         $445.50
0260066378-05      F.C.              Maria Shiela Masigla PT                   64550      12/28/2012-01/09/2013      5         $366.50
0260066378-05      F.C.              Maria Shiela Masigla PT                   97010      12/28/2012-01/09/2013      5         $100.10


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0260066378-05      F.C.              Maria Shiela Masigla PT                   97110      12/28/2012-01/09/2013      5         $167.70
0260066378-05      F.C.              Maria Shiela Masigla PT                   97124      12/28/2012-01/09/2013      5          $70.20
0260066378-05      F.C.              Maria Shiela Masigla PT                   97799      12/03/2012-12/19/2012      8         $396.00
0260066378-05      F.C.              Maria Shiela Masigla PT                   64550      12/03/2012-12/27/2012      10        $733.00
0260066378-05      F.C.              Maria Shiela Masigla PT                   97010      12/03/2012-12/27/2012      10        $200.20
0260066378-05      F.C.              Maria Shiela Masigla PT                   97110      12/03/2012-12/27/2012      10        $335.40
0260066378-05      F.C.              Maria Shiela Masigla PT                   97124      12/03/2012-12/27/2012      10        $140.40
0260066378-05      F.C.              Maria Shiela Masigla PT                   97010      01/11/2013-02/04/2013      12        $219.00
0260066378-05      F.C.              Maria Shiela Masigla PT                   97110      01/11/2013-02/04/2013      12        $278.16
0260066378-05      F.C.              Maria Shiela Masigla PT                   97124      01/11/2013-02/04/2013      12        $242.52
0260066378-05      F.C.              Maria Shiela Masigla PT                   97799      01/23/2013-02/04/2013      6         $297.00
0260066378-05      F.C.              Maria Shiela Masigla PT                   64550      01/11/2013-02/01/2013      11        $879.60
0260066378-05      F.C.              Maria Shiela Masigla PT                   97010      02/06/2013-02/15/2013      5          $91.25
0260066378-05      F.C.              Maria Shiela Masigla PT                   97110      02/06/2013-02/15/2013      5         $115.90
0260066378-05      F.C.              Maria Shiela Masigla PT                   97124      02/06/2013-02/15/2013      5         $101.05
0260066378-05      F.C.              Maria Shiela Masigla PT                   64550      02/06/2013-02/15/2013      5         $366.50
0260066378-05      F.C.              Maria Shiela Masigla PT                   97799      02/06/2013-02/15/2013      5         $247.50
0261148811-03     E.C.               Maria Shiela Masigla PT                   97799      09/27/2012-10/15/2012      8         $396.00
0261148811-03     E.C.               Maria Shiela Masigla PT                   64550      09/20/2012-10/15/2012      11        $806.30
0261148811-03     E.C.               Maria Shiela Masigla PT                   97799      10/17/2012-11/01/2012      5         $247.50
0261148811-03     E.C.               Maria Shiela Masigla PT                   64550      10/16/2012-11/01/2012      7         $513.10
0261148811-03     E.C.               Maria Shiela Masigla PT                   64550      11/07/2012-11/28/2012      6         $439.80
0261148811-03     E.C.               Maria Shiela Masigla PT                   97799      11/07/2012-11/20/2012      4         $198.00
0261148811-03     E.C.               Maria Shiela Masigla PT                   97799      12/03/2012-12/17/2012      5         $247.50
0261148811-03     E.C.               Maria Shiela Masigla PT                   97010      12/03/2012-01/09/2013      11        $220.22
0261148811-03     E.C.               Maria Shiela Masigla PT                   97110      12/03/2012-01/09/2013      11        $368.94
0261148811-03     E.C.               Maria Shiela Masigla PT                   97124      12/03/2012-01/09/2013      11        $154.44
0261148811-03     E.C.               Maria Shiela Masigla PT                   64550      12/03/2012-01/09/2013      9         $659.70
0261148811-03     E.C.               Maria Shiela Masigla PT                   64550      01/14/2013-01/28/2013      5         $366.50
0261148811-03     E.C.               Maria Shiela Masigla PT                   97010      01/14/2013-01/28/2013      5         $100.10


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0261148811-03     E.C.               Maria Shiela Masigla PT                   97110      01/14/2013-01/28/2013      5         $167.70
0261148811-03     E.C.               Maria Shiela Masigla PT                   97124      01/14/2013-01/28/2013      5          $70.20
0261148811-03     E.C.               Maria Shiela Masigla PT                   97799            01/24/2013           1          $49.50
0261148811-03     E.C.               Maria Shiela Masigla PT                   64550      01/31/2013-02/04/2013      2         $146.60
0261148811-03     E.C.               Maria Shiela Masigla PT                   97010      01/31/2013-02/04/2013      2          $36.50
0261148811-03     E.C.               Maria Shiela Masigla PT                   97110      01/31/2013-02/04/2013      2          $46.36
0261148811-03     E.C.               Maria Shiela Masigla PT                   97124      01/31/2013-02/04/2013      2          $40.42
0261148811-03     E.C.               Maria Shiela Masigla PT                   97799      01/31/2013-02/04/2013      2          $99.00
0261148811-03     E.C.               Maria Shiela Masigla PT                   64550      02/07/2013-02/13/2013      2         $146.60
0261148811-03     E.C.               Maria Shiela Masigla PT                   97010      02/07/2013-02/13/2013      2          $36.50
0261148811-03     E.C.               Maria Shiela Masigla PT                   97110      02/07/2013-02/13/2013      2          $46.36
0261148811-03     E.C.               Maria Shiela Masigla PT                   97124      02/07/2013-02/13/2013      2          $40.42
0261148811-03     E.C.               Maria Shiela Masigla PT                   97799      02/07/2013-02/13/2013      2          $99.00
0261148811-03     E.C.               Maria Shiela Masigla PT                   64550      02/07/2013-02/13/2013      2         $146.60
0261148811-03     E.C.               Maria Shiela Masigla PT                   97799      02/07/2013-02/13/2013      2          $99.00
0261148811-03     E.C.               Maria Shiela Masigla PT                   64550      02/27/2013-03/11/2013      3         $219.90
0261148811-03     E.C.               Maria Shiela Masigla PT                   97799      02/27/2013-03/11/2013      3         $148.50
0261148811-03     E.C.               Maria Shiela Masigla PT                   64550      02/27/2013-03/11/2013      3         $219.90
0261148811-03     E.C.               Maria Shiela Masigla PT                   97010      02/27/2013-03/11/2013      3          $54.75
0261148811-03     E.C.               Maria Shiela Masigla PT                   97110      02/27/2013-03/11/2013      3          $69.54
0261148811-03     E.C.               Maria Shiela Masigla PT                   97124      02/27/2013-03/11/2013      3          $60.63
0261148811-03     E.C.               Maria Shiela Masigla PT                   64550            03/18/2013           1          $73.30
0261148811-03     E.C.               Maria Shiela Masigla PT                   97799            03/18/2013           1          $49.50
0261148811-03     E.C.               Maria Shiela Masigla PT                   97010            03/18/2013           1          $18.25
0261148811-03     E.C.               Maria Shiela Masigla PT                   97110            03/18/2013           1          $23.18
0261148811-03     E.C.               Maria Shiela Masigla PT                   97124            03/18/2013           1          $20.21
0268725595-01      J.B.              Maria Shiela Masigla PT                   64550      03/28/2013-04/04/2013      3         $219.90
0268725595-01      J.B.              Maria Shiela Masigla PT                   97010      03/28/2013-04/04/2013      3          $54.75
0268725595-01      J.B.              Maria Shiela Masigla PT                   97110      03/28/2013-04/04/2013      3          $69.54
0268725595-01      J.B.              Maria Shiela Masigla PT                   97124      03/28/2013-04/04/2013      3          $60.63


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0268725595-01      J.B.              Maria Shiela Masigla PT                   97799      03/28/2013-04/04/2013      2          $99.00
0268725595-01      J.B.              Maria Shiela Masigla PT                   64550      03/14/2013-03/25/2013      6         $439.80
0268725595-01      J.B.              Maria Shiela Masigla PT                   97799      03/14/2013-03/25/2013      6         $297.00
0268725595-01      J.B.              Maria Shiela Masigla PT                   97010      03/14/2013-03/25/2013      6         $109.50
0268725595-01      J.B.              Maria Shiela Masigla PT                   97110      03/14/2013-03/25/2013      6         $139.08
0268725595-01      J.B.              Maria Shiela Masigla PT                   97124      03/14/2013-03/25/2013      6         $121.26
0268725595-01      J.B.              Maria Shiela Masigla PT                   64550      04/10/2013-04/15/2013      2         $146.60
0268725595-01      J.B.              Maria Shiela Masigla PT                   97799      04/10/2013-04/15/2013      2          $99.00
0268725595-01      J.B.              Maria Shiela Masigla PT                   97010      04/10/2013-04/15/2013      2          $36.50
0268725595-01      J.B.              Maria Shiela Masigla PT                   97110      04/10/2013-04/15/2013      2          $46.36
0268725595-01      J.B.              Maria Shiela Masigla PT                   97124      04/10/2013-04/15/2013      2          $40.42
0268725595-01      J.B.              Maria Shiela Masigla PT                   64550            05/01/2013           1          $73.30
0268725595-01      J.B.              Maria Shiela Masigla PT                   97010            05/01/2013           1          $18.25
0268725595-01      J.B.              Maria Shiela Masigla PT                   97110            05/01/2013           1          $23.18
0268725595-01      J.B.              Maria Shiela Masigla PT                   97124            05/01/2013           1          $20.21
0268725595-01      J.B.              Maria Shiela Masigla PT                   97799            05/01/2013           1          $49.50
0268725595-04     N.A.               Maria Shiela Masigla PT                   97010      04/11/2013-04/25/2013      6         $109.50
0268725595-04     N.A.               Maria Shiela Masigla PT                   97110      04/11/2013-04/25/2013      6         $139.08
0268725595-04     N.A.               Maria Shiela Masigla PT                   97124      04/11/2013-04/25/2013      6         $121.26
0268725595-04     N.A.               Maria Shiela Masigla PT                   97010      04/26/2013-05/07/2013      2          $36.50
0268725595-04     N.A.               Maria Shiela Masigla PT                   97110      04/26/2013-05/07/2013      2          $46.36
0268725595-04     N.A.               Maria Shiela Masigla PT                   97124      04/26/2013-05/07/2013      2          $40.42
0269624242-03     O.C.               Maria Shiela Masigla PT                   64550      12/12/2012-12/19/2012      3         $219.90
0269624242-03     O.C.               Maria Shiela Masigla PT                   64550      01/02/2013-01/10/2013      4         $293.20
0269624242-03     O.C.               Maria Shiela Masigla PT                   97799      01/22/2013-01/24/2013      3         $148.50
0269624242-03     O.C.               Maria Shiela Masigla PT                   64550      01/11/2013-01/24/2013      5         $366.50
0269624242-03     O.C.               Maria Shiela Masigla PT                   64550      03/29/2013-04/08/2013      3         $219.90
0269624242-03     O.C.               Maria Shiela Masigla PT                   97010      03/29/2013-04/08/2013      3          $54.75
0269624242-03     O.C.               Maria Shiela Masigla PT                   97110      03/29/2013-04/08/2013      3          $69.54
0269624242-03     O.C.               Maria Shiela Masigla PT                   97124      03/29/2013-04/08/2013      3          $60.63


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0269624242-03     O.C.               Maria Shiela Masigla PT                   97799      03/29/2013-04/08/2013      3         $148.50
0269624242-03     O.C.               Maria Shiela Masigla PT                   64550            04/15/2013           1          $73.30
0269624242-03     O.C.               Maria Shiela Masigla PT                   97799            04/15/2013           1          $49.50
0269624242-03     O.C.               Maria Shiela Masigla PT                   97010            04/15/2013           1          $18.25
0269624242-03     O.C.               Maria Shiela Masigla PT                   97110            04/15/2013           1          $23.18
0269624242-03     O.C.               Maria Shiela Masigla PT                   97124            04/15/2013           1          $20.21
0270766678-08     G.S.               Maria Shiela Masigla PT                   64550      01/03/2013-01/23/2013      8         $586.40
0270766678-08     G.S.               Maria Shiela Masigla PT                   64550      01/24/2013-02/04/2013      3         $219.90
0280378084-12     C.G.               Maria Shiela Masigla PT                   97001            04/11/2013           1          $72.92
0283577740-02      J.A.              Maria Shiela Masigla PT                   64550      04/22/2013-05/07/2013      6         $439.80
0283577740-02      J.A.              Maria Shiela Masigla PT                   97001            04/22/2013           1          $72.92
0283577740-02      J.A.              Maria Shiela Masigla PT                   97010      04/22/2013-05/07/2013      6         $109.50
0283577740-02      J.A.              Maria Shiela Masigla PT                   97110      04/22/2013-05/07/2013      6         $139.08
0283577740-02      J.A.              Maria Shiela Masigla PT                   97124      04/22/2013-05/07/2013      6         $121.26
0283577740-02      J.A.              Maria Shiela Masigla PT                   97799      04/22/2013-05/07/2013      6         $297.00
0283577740-02      J.A.              Maria Shiela Masigla PT                   64550      05/10/2013-05/20/2013      5         $366.50
0283577740-02      J.A.              Maria Shiela Masigla PT                   97799      05/10/2013-05/20/2013      5         $247.50
0283577740-02      J.A.              Maria Shiela Masigla PT                   97010      05/10/2013-05/20/2013      5          $91.25
0283577740-02      J.A.              Maria Shiela Masigla PT                   97110      05/10/2013-05/20/2013      5         $115.90
0283577740-02      J.A.              Maria Shiela Masigla PT                   97124      05/10/2013-05/20/2013      5         $101.05
0283577740-02      J.A.              Maria Shiela Masigla PT                   64550      05/29/2013-06/03/2013      2         $146.60
0283577740-02      J.A.              Maria Shiela Masigla PT                   97010      05/29/2013-06/03/2013      2          $36.50
0283577740-02      J.A.              Maria Shiela Masigla PT                   97110      05/29/2013-06/03/2013      2          $46.36
0283577740-02      J.A.              Maria Shiela Masigla PT                   97124      05/29/2013-06/03/2013      2          $40.42
0283577740-02      J.A.              Maria Shiela Masigla PT                   97799      05/29/2013-06/03/2013      2          $99.00
0283577740-02      J.A.              Maria Shiela Masigla PT                   64550      06/05/2013-06/19/2013      7         $513.10
0283577740-02      J.A.              Maria Shiela Masigla PT                   97010      06/05/2013-06/19/2013      7         $127.75
0283577740-02      J.A.              Maria Shiela Masigla PT                   97110      06/05/2013-06/19/2013      7         $162.26
0283577740-02      J.A.              Maria Shiela Masigla PT                   97124      06/05/2013-06/19/2013      7         $141.47
0283577740-02      J.A.              Maria Shiela Masigla PT                   97799      06/05/2013-06/19/2013      7         $346.50


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0283577740-03     M.M.               Maria Shiela Masigla PT                   64550      04/24/2013-04/25/2013      2         $146.60
0283577740-03     M.M.               Maria Shiela Masigla PT                   97010      04/24/2013-04/25/2013      2          $36.50
0283577740-03     M.M.               Maria Shiela Masigla PT                   97110      04/24/2013-04/25/2013      2          $46.36
0283577740-03     M.M.               Maria Shiela Masigla PT                   97124      04/24/2013-04/25/2013      2          $40.42
0283577740-03     M.M.               Maria Shiela Masigla PT                   97799      04/24/2013-04/25/2013      2          $99.00
0283577740-03     M.M.               Maria Shiela Masigla PT                   97001            04/22/2013           1          $72.92
0283577740-03     M.M.               Maria Shiela Masigla PT                   97799      04/30/2013-05/07/2013      3         $148.50
0283577740-03     M.M.               Maria Shiela Masigla PT                   97010      04/30/2013-05/07/2013      3          $54.75
0283577740-03     M.M.               Maria Shiela Masigla PT                   97110      04/30/2013-05/07/2013      3          $69.54
0283577740-03     M.M.               Maria Shiela Masigla PT                   97124      04/30/2013-05/07/2013      3          $60.63
0283577740-03     M.M.               Maria Shiela Masigla PT                   64550      04/30/2013-05/07/2013      3         $219.90
0283577740-03     M.M.               Maria Shiela Masigla PT                   97010      05/13/2013-05/20/2013      4          $73.00
0283577740-03     M.M.               Maria Shiela Masigla PT                   97110      05/13/2013-05/20/2013      4          $92.72
0283577740-03     M.M.               Maria Shiela Masigla PT                   97124      05/13/2013-05/20/2013      4          $80.84
0283577740-03     M.M.               Maria Shiela Masigla PT                   64550      05/13/2013-05/20/2013      4         $293.20
0283577740-03     M.M.               Maria Shiela Masigla PT                   97799      05/13/2013-05/20/2013      4         $198.00
0283577740-03     M.M.               Maria Shiela Masigla PT                   97010      05/29/2013-06/03/2013      2          $36.50
0283577740-03     M.M.               Maria Shiela Masigla PT                   97110      05/29/2013-06/03/2013      2          $46.36
0283577740-03     M.M.               Maria Shiela Masigla PT                   97124      05/29/2013-06/03/2013      2          $40.42
0283577740-03     M.M.               Maria Shiela Masigla PT                   97799      05/29/2013-06/03/2013      2          $99.00
0283577740-03     M.M.               Maria Shiela Masigla PT                   64550      05/29/2013-06/03/2013      2         $146.60
0284992970-03     A.F.               Maria Shiela Masigla PT                   97010      05/20/2013-06/03/2013      6         $109.50
0284992970-03     A.F.               Maria Shiela Masigla PT                   97110      05/20/2013-06/03/2013      6         $139.08
0284992970-03     A.F.               Maria Shiela Masigla PT                   97124      05/20/2013-06/03/2013      6         $121.26
0284992970-03     A.F.               Maria Shiela Masigla PT                   64550      05/20/2013-06/03/2013      6         $439.80
0284992970-03     A.F.               Maria Shiela Masigla PT                   97001            05/17/2013           1          $72.92
0284992970-03     A.F.               Maria Shiela Masigla PT                   97799      05/20/2013-06/03/2013      6         $297.00
0288265572-02     A.F.               Maria Shiela Masigla PT                   64550      05/20/2013-06/03/2013      6         $439.80
0288265572-02     A.F.               Maria Shiela Masigla PT                   97799      05/20/2013-06/03/2013      6         $297.00
0288265572-02     A.F.               Maria Shiela Masigla PT                   64550      05/20/2013-06/03/2013      6         $439.80


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0288265572-02     A.F.               Maria Shiela Masigla PT                   97799      05/22/2013-06/03/2013      5         $297.00
0431774421-01      J.C.              Maria Shiela Masigla PT                   97010      07/05/2017-07/27/2017      9         $164.25
0431774421-01      J.C.              Maria Shiela Masigla PT                   97110      07/05/2017-07/27/2017      9         $208.62
0431774421-01      J.C.              Maria Shiela Masigla PT                   97124      07/05/2017-07/27/2017      9         $181.89
0431774421-01      J.C.              Maria Shiela Masigla PT                   97799      07/05/2017-07/27/2017      9         $445.50
0431774421-01      J.C.              Maria Shiela Masigla PT                   64550      07/05/2017-07/27/2017      9         $659.61
0431774421-01      J.C.              Maria Shiela Masigla PT                   64550      08/01/2017-08/29/2017      2         $146.58
0431774421-01      J.C.              Maria Shiela Masigla PT                   97010      08/01/2017-08/29/2017      2          $36.50
0431774421-01      J.C.              Maria Shiela Masigla PT                   97110      08/01/2017-08/29/2017      2          $46.36
0431774421-01      J.C.              Maria Shiela Masigla PT                   97124      08/01/2017-08/29/2017      2          $40.42
0431774421-01      J.C.              Maria Shiela Masigla PT                   97799      08/01/2017-08/29/2017      2          $99.00
0431774421-01      J.C.              Maria Shiela Masigla PT                   97010      08/31/2017-09/12/2017      3          $54.75
0431774421-01      J.C.              Maria Shiela Masigla PT                   97110      08/31/2017-09/12/2017      3          $69.54
0431774421-01      J.C.              Maria Shiela Masigla PT                   97124      08/31/2017-09/12/2017      3          $60.63
0431774421-01      J.C.              Maria Shiela Masigla PT                   64550      08/31/2017-09/12/2017      3         $219.87
0431774421-01      J.C.              Maria Shiela Masigla PT                   97799      08/31/2017-09/12/2017      3         $148.50
0476244595-03     J.M.               Maria Shiela Masigla PT                   97162            10/20/2017           1          $72.92
0476244595-03     J.M.               Maria Shiela Masigla PT                   64550      10/23/2017-11/08/2017      8         $586.32
0476244595-03     J.M.               Maria Shiela Masigla PT                   97799      10/23/2017-11/08/2017      8         $396.00
0476244595-03     J.M.               Maria Shiela Masigla PT                   64550      11/13/2017-11/30/2017      8         $586.32
0476244595-03     J.M.               Maria Shiela Masigla PT                   97799      11/13/2017-11/30/2017      8         $396.00
0476244595-03     J.M.               Maria Shiela Masigla PT                   64550      12/04/2017-12/27/2017      11        $806.19
0476244595-03     J.M.               Maria Shiela Masigla PT                   97799      12/04/2017-12/27/2017      11        $544.50
0476244595-03     J.M.               Maria Shiela Masigla PT                   97799      12/28/2017-01/16/2018      3         $148.50
0476244595-03     J.M.               Maria Shiela Masigla PT                   64550      01/22/2018-02/06/2018      3         $219.87
0476244595-03     J.M.               Maria Shiela Masigla PT                   97799      01/22/2018-02/06/2018      3         $148.50
0476244595-03     J.M.               Maria Shiela Masigla PT                   97164            02/06/2018           1          $40.17
0478186786-02     M.L.               Maria Shiela Masigla PT                   97162            10/16/2017           1          $72.92
0478186786-02     M.L.               Maria Shiela Masigla PT                   64550      10/17/2017-11/02/2017      7         $513.03
0478186786-02     M.L.               Maria Shiela Masigla PT                   97010      10/17/2017-11/02/2017      7         $127.75


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0478186786-02     M.L.               Maria Shiela Masigla PT                   97110      10/17/2017-11/02/2017      7         $162.26
0478186786-02     M.L.               Maria Shiela Masigla PT                   97124      10/17/2017-11/02/2017      7         $141.47
0478186786-02     M.L.               Maria Shiela Masigla PT                   97799      10/17/2017-11/02/2017      7         $346.50
0478186786-02     M.L.               Maria Shiela Masigla PT                   97799      11/09/2017-11/30/2017      5         $247.50
0478186786-02     M.L.               Maria Shiela Masigla PT                   97010      11/09/2017-11/30/2017      5          $91.25
0478186786-02     M.L.               Maria Shiela Masigla PT                   97110      11/09/2017-11/30/2017      5         $115.90
0478186786-02     M.L.               Maria Shiela Masigla PT                   97124      11/09/2017-11/30/2017      5         $101.05
0478186786-02     M.L.               Maria Shiela Masigla PT                   64550      11/09/2017-11/30/2017      5         $366.45
0478186786-02     M.L.               Maria Shiela Masigla PT                   97010      12/06/2017-12/13/2017      3          $54.75
0478186786-02     M.L.               Maria Shiela Masigla PT                   97110      12/06/2017-12/13/2017      3          $69.54
0478186786-02     M.L.               Maria Shiela Masigla PT                   97124      12/06/2017-12/13/2017      3          $60.63
0478186786-02     M.L.               Maria Shiela Masigla PT                   64550      12/06/2017-12/13/2017      3         $219.87
0478186786-02     M.L.               Maria Shiela Masigla PT                   97799      12/06/2017-12/13/2017      3         $148.50
0478186786-02     M.L.               Maria Shiela Masigla PT                   64550            01/22/2018           1          $73.29
0478186786-02     M.L.               Maria Shiela Masigla PT                   97799            01/22/2018           1          $49.50
0478186786-02     M.L.               Maria Shiela Masigla PT                   97164            01/22/2018           1          $40.17
0478186786-03     P.O.               Maria Shiela Masigla PT                   97162            10/16/2017           1          $72.92
0478186786-03     P.O.               Maria Shiela Masigla PT                   64550      10/17/2017-11/09/2017      10        $732.90
0478186786-03     P.O.               Maria Shiela Masigla PT                   97010      10/17/2017-11/09/2017      10        $182.50
0478186786-03     P.O.               Maria Shiela Masigla PT                   97110      10/17/2017-11/09/2017      10        $231.80
0478186786-03     P.O.               Maria Shiela Masigla PT                   97124      10/17/2017-11/09/2017      10        $202.10
0478186786-03     P.O.               Maria Shiela Masigla PT                   97799      10/17/2017-11/09/2017      10        $495.00
0478186786-03     P.O.               Maria Shiela Masigla PT                   97164            11/07/2017           1          $40.17
0478186786-03     P.O.               Maria Shiela Masigla PT                   95831            11/09/2017           1         $305.20
0478186786-03     P.O.               Maria Shiela Masigla PT                   95833            11/09/2017           1         $114.32
0478186786-03     P.O.               Maria Shiela Masigla PT                   95851            11/09/2017           1         $228.55
0478186786-03     P.O.               Maria Shiela Masigla PT                   97799      11/13/2017-11/29/2017      8         $396.00
0478186786-03     P.O.               Maria Shiela Masigla PT                   64550      11/13/2017-11/22/2017      5         $366.45
0478186786-03     P.O.               Maria Shiela Masigla PT                   97010      11/13/2017-11/29/2017      8         $146.00
0478186786-03     P.O.               Maria Shiela Masigla PT                   97110      11/13/2017-11/29/2017      8         $185.44


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0478186786-03     P.O.               Maria Shiela Masigla PT                   97124      11/13/2017-11/29/2017      8         $161.68
0478186786-03     P.O.               Maria Shiela Masigla PT                   97012            12/04/2017           1          $15.66
0478186786-03     P.O.               Maria Shiela Masigla PT                   97799      12/04/2017-12/26/2017      7         $346.50
0478186786-03     P.O.               Maria Shiela Masigla PT                   97010      12/04/2017-12/26/2017      7         $127.75
0478186786-03     P.O.               Maria Shiela Masigla PT                   97110      12/04/2017-12/26/2017      7         $162.26
0478186786-03     P.O.               Maria Shiela Masigla PT                   97124      12/04/2017-12/26/2017      7         $141.47
0478186786-03     P.O.               Maria Shiela Masigla PT                   97799      01/02/2018-01/18/2018      4         $198.00
0478186786-03     P.O.               Maria Shiela Masigla PT                   97010      01/02/2018-01/18/2018      4          $73.00
0478186786-03     P.O.               Maria Shiela Masigla PT                   97110      01/02/2018-01/18/2018      4          $92.72
0478186786-03     P.O.               Maria Shiela Masigla PT                   97124      01/02/2018-01/18/2018      4          $80.84
0478186786-03     P.O.               Maria Shiela Masigla PT                   95831            01/15/2018           1         $305.20
0478186786-03     P.O.               Maria Shiela Masigla PT                   95833            01/15/2018           1         $114.32
0478186786-03     P.O.               Maria Shiela Masigla PT                   95851            01/15/2018           1         $182.84
0478186786-03     P.O.               Maria Shiela Masigla PT                   97799      01/22/2018-02/07/2018      8         $396.00
0478186786-03     P.O.               Maria Shiela Masigla PT                   97010      01/22/2018-02/07/2018      8         $146.00
0478186786-03     P.O.               Maria Shiela Masigla PT                   97110      01/22/2018-02/07/2018      8         $185.44
0478186786-03     P.O.               Maria Shiela Masigla PT                   97124      01/22/2018-02/07/2018      8         $161.68
0478186786-03     P.O.               Maria Shiela Masigla PT                   97012            01/24/2018           1          $15.66
0478186786-03     P.O.               Maria Shiela Masigla PT                   97012            02/19/2018           1          $15.66
0478186786-03     P.O.               Maria Shiela Masigla PT                   97164            02/13/2018           1          $40.17
0478186786-03     P.O.               Maria Shiela Masigla PT                   97010      02/13/2018-02/26/2018      3          $54.75
0478186786-03     P.O.               Maria Shiela Masigla PT                   97110      02/13/2018-02/26/2018      3          $69.54
0478186786-03     P.O.               Maria Shiela Masigla PT                   97124      02/13/2018-02/26/2018      3          $60.63
0478186786-03     P.O.               Maria Shiela Masigla PT                   97799      02/13/2018-02/26/2018      3         $148.50
0478186786-03     P.O.               Maria Shiela Masigla PT                   97010      03/13/2018-04/03/2018      2          $36.50
0478186786-03     P.O.               Maria Shiela Masigla PT                   97110      03/13/2018-04/03/2018      2          $46.36
0478186786-03     P.O.               Maria Shiela Masigla PT                   97124      03/13/2018-04/03/2018      2          $40.42
0478186786-03     P.O.               Maria Shiela Masigla PT                   97799      03/13/2018-04/03/2018      2          $99.00
0478186786-08      S.P.              Maria Shiela Masigla PT                   64550      10/23/2017-11/09/2017      7         $513.03
0478186786-08      S.P.              Maria Shiela Masigla PT                   95831            11/09/2017           1         $218.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                    Billing Code          Dates of          # of       Amount
  Claim No.      Initials                   Provider                            Used              Service           Units      Pending
0478186786-08      S.P.              Maria Shiela Masigla PT                    95833            11/09/2017          1         $114.32
0478186786-08      S.P.              Maria Shiela Masigla PT                    95851            11/09/2017          1         $137.13
0478186786-08      S.P.              Maria Shiela Masigla PT                    97010      11/13/2017-11/30/2017     7         $127.75
0478186786-08      S.P.              Maria Shiela Masigla PT                    97110      11/13/2017-11/30/2017     7         $162.26
0478186786-08      S.P.              Maria Shiela Masigla PT                    97124      11/13/2017-11/30/2017     7         $141.47
0478186786-08      S.P.              Maria Shiela Masigla PT                    97799      11/13/2017-11/30/2017     7         $346.50
0478186786-08      S.P.              Maria Shiela Masigla PT                    64550      11/13/2017-11/30/2017     7         $513.03
0478186786-08      S.P.              Maria Shiela Masigla PT                    97010      12/06/2017-12/13/2017     3          $54.75
0478186786-08      S.P.              Maria Shiela Masigla PT                    97110      12/06/2017-12/13/2017     3          $69.54
0478186786-08      S.P.              Maria Shiela Masigla PT                    97124      12/06/2017-12/13/2017     3          $60.63
0478186786-08      S.P.              Maria Shiela Masigla PT                    97799      12/06/2017-12/13/2017     3         $148.50
0478186786-08      S.P.              Maria Shiela Masigla PT                    64550      12/06/2017-12/13/2017     3         $219.87
0478186786-08      S.P.              Maria Shiela Masigla PT                    97164            01/22/2018          1          $40.17
0478186786-08      S.P.              Maria Shiela Masigla PT                    64550      01/22/2018-01/25/2018     2         $146.58
0478186786-08      S.P.              Maria Shiela Masigla PT                    97799      01/22/2018-01/25/2018     2          $99.00
0478186786-08      S.P.              Maria Shiela Masigla PT                    95831            01/22/2018          1         $218.00
0478186786-08      S.P.              Maria Shiela Masigla PT                    95833            01/22/2018          1         $114.32
0478186786-08      S.P.              Maria Shiela Masigla PT                    95851            01/22/2018          1         $137.13
0478186786-08      S.P.              Maria Shiela Masigla PT                    64550            03/20/2018          1          $73.29
0478186786-08      S.P.              Maria Shiela Masigla PT                    97010            03/20/2018          1          $18.25
0478186786-08      S.P.              Maria Shiela Masigla PT                    97110            03/20/2018          1          $23.18
0478186786-08      S.P.              Maria Shiela Masigla PT                    97124            03/20/2018          1          $20.21
0478186786-08      S.P.              Maria Shiela Masigla PT                    97799            03/20/2018          1          $49.50
0478186786-12     L.M.               Maria Shiela Masigla PT                    97162            10/24/2017          1          $72.92
0478186786-12     L.M.               Maria Shiela Masigla PT                    64550      10/26/2017-11/09/2017     6         $439.74
0478186786-12     L.M.               Maria Shiela Masigla PT                    97010      10/26/2017-11/09/2017     6         $109.50
0478186786-12     L.M.               Maria Shiela Masigla PT                    97110      10/26/2017-11/09/2017     6         $139.08
0478186786-12     L.M.               Maria Shiela Masigla PT                    97124      10/26/2017-11/09/2017     6         $121.19
0478186786-12     L.M.               Maria Shiela Masigla PT                    97799      10/26/2017-11/09/2017     6         $297.00
0478186786-12     L.M.               Maria Shiela Masigla PT                    95831            10/31/2017          1         $218.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                    Billing Code          Dates of          # of       Amount
  Claim No.      Initials                   Provider                            Used              Service           Units      Pending
0478186786-12     L.M.               Maria Shiela Masigla PT                    95833            10/31/2017          1         $114.32
0478186786-12     L.M.               Maria Shiela Masigla PT                    95851            10/31/2017          1         $137.13
0478186786-12     L.M.               Maria Shiela Masigla PT                    97799      11/15/2017-11/29/2017     5         $247.50
0478186786-12     L.M.               Maria Shiela Masigla PT                    97010      11/15/2017-11/29/2017     5          $91.25
0478186786-12     L.M.               Maria Shiela Masigla PT                    97110      11/15/2017-11/29/2017     5         $115.90
0478186786-12     L.M.               Maria Shiela Masigla PT                    97124      11/15/2017-11/29/2017     5         $101.05
0478186786-12     L.M.               Maria Shiela Masigla PT                    64550      11/15/2017-11/29/2017     5         $366.45
0478186786-12     L.M.               Maria Shiela Masigla PT                    97799      12/04/2017-12/12/2017     3         $148.50
0478186786-12     L.M.               Maria Shiela Masigla PT                    64550      12/04/2017-12/12/2017     3         $219.87
0478186786-12     L.M.               Maria Shiela Masigla PT                    97010      12/04/2017-12/12/2017     3          $54.75
0478186786-12     L.M.               Maria Shiela Masigla PT                    97110      12/04/2017-12/12/2017     3          $69.54
0478186786-12     L.M.               Maria Shiela Masigla PT                    97124      12/04/2017-12/12/2017     3          $60.63
0478186786-12     L.M.               Maria Shiela Masigla PT                    97164            01/17/2018          1          $40.17
0478186786-12     L.M.               Maria Shiela Masigla PT                    64550      01/09/2018-01/17/2018     2         $146.58
0478186786-12     L.M.               Maria Shiela Masigla PT                    97010      01/09/2018-01/17/2018     2          $36.50
0478186786-12     L.M.               Maria Shiela Masigla PT                    97110      01/09/2018-01/17/2018     2          $46.36
0478186786-12     L.M.               Maria Shiela Masigla PT                    97124      01/09/2018-01/17/2018     2          $40.42
0478186786-12     L.M.               Maria Shiela Masigla PT                    97799      01/09/2018-01/17/2018     2          $99.00
0482079902-02      S.B.              Maria Shiela Masigla PT                    97162            11/14/2017          1          $72.92
0482079902-02      S.B.              Maria Shiela Masigla PT                    64550            11/17/2017          1          $73.29
0482079902-02      S.B.              Maria Shiela Masigla PT                    97799            11/17/2017          1          $49.50
0492252812-02      S.B.              Maria Shiela Masigla PT                    97162            02/23/2018          1          $72.92
0492252812-02      S.B.              Maria Shiela Masigla PT                    97799      03/07/2018-04/04/2018     13        $643.50
0492252812-02      S.B.              Maria Shiela Masigla PT                    97799      04/06/2018-04/25/2018     8         $396.00
0492252812-02      S.B.              Maria Shiela Masigla PT                    64550      04/06/2018-04/25/2018     8         $586.32
0492252812-02      S.B.              Maria Shiela Masigla PT                    97164            05/07/2018          1          $40.17
0492252812-02      S.B.              Maria Shiela Masigla PT                    64550      04/27/2018-05/16/2018     8         $586.32
0492252812-02      S.B.              Maria Shiela Masigla PT                    64550      05/21/2018-06/13/2018     8         $586.32
0492252812-02      S.B.              Maria Shiela Masigla PT                    97799      06/18/2018-07/11/2018     7         $346.50
0492252812-02      S.B.              Maria Shiela Masigla PT                    64550      06/18/2018-07/11/2018     7         $513.03


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                    Billing Code          Dates of          # of       Amount
  Claim No.      Initials                   Provider                            Used              Service           Units      Pending
0492252812-02      S.B.              Maria Shiela Masigla PT                    64550      07/16/2018-07/30/2018     4         $293.16
0492252812-02      S.B.              Maria Shiela Masigla PT                    97799      07/16/2018-07/30/2018     4         $198.00
0492252812-02      S.B.              Maria Shiela Masigla PT                    97010      07/16/2018-07/30/2018     4          $73.00
0492252812-02      S.B.              Maria Shiela Masigla PT                    97110      07/16/2018-07/30/2018     4          $92.72
0492252812-02      S.B.              Maria Shiela Masigla PT                    97124      07/16/2018-07/30/2018     4          $80.84
0496020934-01     E.D.               Maria Shiela Masigla PT                    97162            03/26/2018          1          $72.92
0496020934-01     E.D.               Maria Shiela Masigla PT                    64550      03/27/2018-03/28/2018     2         $146.58
0496020934-01     E.D.               Maria Shiela Masigla PT                    97799      03/27/2018-03/28/2018     2          $99.00
0496020934-01     E.D.               Maria Shiela Masigla PT                    97124      04/06/2018-04/25/2018     9         $181.89
0496020934-01     E.D.               Maria Shiela Masigla PT                    64550      04/06/2018-04/25/2018     9         $659.61
0496020934-01     E.D.               Maria Shiela Masigla PT                    97799            04/06/2018          1          $49.50
0496020934-01     E.D.               Maria Shiela Masigla PT                    95833            04/24/2018          1         $114.32
0496020934-01     E.D.               Maria Shiela Masigla PT                    64550      04/26/2018-05/16/2018     10        $732.90
0496020934-01     E.D.               Maria Shiela Masigla PT                    64550      05/22/2018-06/11/2018     7         $513.03
0496020934-04      J.N.              Maria Shiela Masigla PT                    97162            03/26/2018          1          $72.92
0496020934-04      J.N.              Maria Shiela Masigla PT                    64550      03/27/2018-03/28/2018     2         $146.58
0496020934-04      J.N.              Maria Shiela Masigla PT                    97124      03/27/2018-03/28/2018     2          $40.42
0496020934-04      J.N.              Maria Shiela Masigla PT                    97799      03/27/2018-03/28/2018     2          $99.00
0496020934-04      J.N.              Maria Shiela Masigla PT                    97799      04/09/2018-04/26/2018     9         $445.50
0496020934-04      J.N.              Maria Shiela Masigla PT                    64550      04/09/2018-04/26/2018     9         $659.61
0496020934-04      J.N.              Maria Shiela Masigla PT                    95833            04/30/2018          1         $114.32
0496020934-04      J.N.              Maria Shiela Masigla PT                    97799      04/30/2018-05/16/2018     9         $445.50
0496020934-04      J.N.              Maria Shiela Masigla PT                    64550      05/22/2018-06/12/2018     9         $659.61
0496020934-04      J.N.              Maria Shiela Masigla PT                    97799      05/22/2018-06/12/2018     9         $445.50
0496020934-04      J.N.              Maria Shiela Masigla PT                    95833            06/25/2018          1         $114.32
0496020934-04      J.N.              Maria Shiela Masigla PT                    97799      06/14/2018-06/25/2018     3         $148.50
0496020934-04      J.N.              Maria Shiela Masigla PT                    64550      06/14/2018-06/25/2018     3         $219.87
0496020934-04      J.N.              Maria Shiela Masigla PT                    97010      06/14/2018-06/25/2018     3          $54.75
0496020934-04      J.N.              Maria Shiela Masigla PT                    97110      06/14/2018-06/25/2018     3          $69.54
0496020934-04      J.N.              Maria Shiela Masigla PT                    97124      06/14/2018-06/25/2018     3          $60.63


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                  Provider                            Used              Service            Units      Pending
0505336941-02     P.G.              Maria Shiela Masigla PT                    95833            06/11/2018           1         $114.32
0505336941-02     P.G.              Maria Shiela Masigla PT                    97799      06/11/2018-07/10/2018      14        $693.00
0505336941-02     P.G.              Maria Shiela Masigla PT                    97799      07/12/2018-08/01/2018      9         $445.50
0505336941-05     E.K.              Maria Shiela Masigla PT                    95833            06/11/2018           1         $114.32
0505336941-05     E.K.              Maria Shiela Masigla PT                    97799      06/11/2018-07/11/2018      8         $396.00
0505336941-05     E.K.              Maria Shiela Masigla PT                    97799      07/12/2018-07/18/2018      4         $198.00
0374512275-02      B.S.             MSB Physical Therapy PC                    64550      12/19/2016-12/28/2016      4         $293.16
0374512275-02      B.S.             MSB Physical Therapy PC                    97002            12/19/2016           1          $40.17
0374512275-02      B.S.             MSB Physical Therapy PC                    97010      12/19/2016-12/28/2016      4          $73.00
0374512275-02      B.S.             MSB Physical Therapy PC                    97110      12/19/2016-12/28/2016      4          $92.72
0374512275-02      B.S.             MSB Physical Therapy PC                    97124      12/19/2016-12/28/2016      4          $80.84
0374512275-02      B.S.             MSB Physical Therapy PC                    97799      12/19/2016-12/28/2016      4         $198.00
0374512275-02      B.S.             MSB Physical Therapy PC                    64550      01/03/2017-01/04/2017      2         $146.58
0374512275-02      B.S.             MSB Physical Therapy PC                    97010      01/03/2017-01/04/2017      2          $36.50
0374512275-02      B.S.             MSB Physical Therapy PC                    97110      01/03/2017-01/04/2017      2          $46.36
0374512275-02      B.S.             MSB Physical Therapy PC                    97124      01/03/2017-01/04/2017      2          $40.42
0374512275-02      B.S.             MSB Physical Therapy PC                    97799      01/03/2017-01/04/2017      2          $99.00
0374512275-02      B.S.             MSB Physical Therapy PC                    64550            01/17/2017           1          $73.29
0374512275-02      B.S.             MSB Physical Therapy PC                    97010            01/17/2017           1          $18.25
0374512275-02      B.S.             MSB Physical Therapy PC                    97110            01/17/2017           1          $23.18
0374512275-02      B.S.             MSB Physical Therapy PC                    97124            01/17/2017           1          $20.21
0374512275-02      B.S.             MSB Physical Therapy PC                    97799            01/17/2017           1          $49.50
0374512275-02      B.S.             MSB Physical Therapy PC                    64550            02/01/2017           1          $73.29
0374512275-02      B.S.             MSB Physical Therapy PC                    97010            02/01/2017           1          $18.25
0374512275-02      B.S.             MSB Physical Therapy PC                    97110            02/01/2017           1          $23.18
0374512275-02      B.S.             MSB Physical Therapy PC                    97124            02/01/2017           1          $20.21
0374512275-02      B.S.             MSB Physical Therapy PC                    97799            02/01/2017           1          $49.50
0411304496-01      I.L.             MSB Physical Therapy PC                    97799            09/16/2016           1          $49.50
0411304496-01      I.L.             MSB Physical Therapy PC                    97799      10/19/2016-11/02/2016      6         $297.00
0411304496-01      I.L.             MSB Physical Therapy PC                    97799      12/01/2016-12/02/2016      2          $99.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                 Provider                             Used              Service            Units      Pending
0411304496-01      I.L.             MSB Physical Therapy PC                    97799      01/11/2017-01/13/2017      2          $99.00
0411304496-01      I.L.             MSB Physical Therapy PC                    97799            01/12/2017           1          $49.50
0411304496-01      I.L.             MSB Physical Therapy PC                    97799      01/26/2017-01/27/2017      2          $99.00
0411304496-02      J.L.             MSB Physical Therapy PC                    97799            09/16/2016           1          $49.50
0411304496-02      J.L.             MSB Physical Therapy PC                    97002            10/19/2016           1          $40.17
0411304496-02      J.L.             MSB Physical Therapy PC                    97799      10/19/2016-11/02/2016      6         $297.00
0411304496-02      J.L.             MSB Physical Therapy PC                    97010      10/19/2016-11/02/2016      6         $109.50
0411304496-02      J.L.             MSB Physical Therapy PC                    97110      10/19/2016-11/02/2016      6         $139.08
0411304496-02      J.L.             MSB Physical Therapy PC                    97124      10/19/2016-11/02/2016      6         $121.26
0411304496-02      J.L.             MSB Physical Therapy PC                    64550      10/19/2016-11/02/2016      6         $439.74
0411304496-02      J.L.             MSB Physical Therapy PC                    64550      12/01/2016-12/02/2016      2         $146.58
0411304496-02      J.L.             MSB Physical Therapy PC                    97010      12/01/2016-12/02/2016      2          $36.50
0411304496-02      J.L.             MSB Physical Therapy PC                    97110      12/01/2016-12/02/2016      2          $46.36
0411304496-02      J.L.             MSB Physical Therapy PC                    97124      12/01/2016-12/02/2016      2          $40.42
0411304496-02      J.L.             MSB Physical Therapy PC                    97799      12/01/2016-12/02/2016      2          $99.00
0411304496-02      J.L.             MSB Physical Therapy PC                    64550      01/11/2017-01/13/2017      2         $146.58
0411304496-02      J.L.             MSB Physical Therapy PC                    97010      01/11/2017-01/13/2017      2          $36.50
0411304496-02      J.L.             MSB Physical Therapy PC                    97110      01/11/2017-01/13/2017      2          $46.36
0411304496-02      J.L.             MSB Physical Therapy PC                    97124      01/11/2017-01/13/2017      2          $40.42
0411304496-02      J.L.             MSB Physical Therapy PC                    97799      01/11/2017-01/13/2017      2          $99.00
0411304496-02      J.L.             MSB Physical Therapy PC                    64550            01/12/2017           1          $73.29
0411304496-02      J.L.             MSB Physical Therapy PC                    97010            01/12/2017           1          $18.25
0411304496-02      J.L.             MSB Physical Therapy PC                    97110            01/12/2017           1          $23.18
0411304496-02      J.L.             MSB Physical Therapy PC                    97124            01/12/2017           1          $20.21
0411304496-02      J.L.             MSB Physical Therapy PC                    97799            01/12/2017           1          $49.50
0411304496-02      J.L.             MSB Physical Therapy PC                    64550      01/26/2017-01/27/2017      2         $146.58
0411304496-02      J.L.             MSB Physical Therapy PC                    97010      01/26/2017-01/27/2017      2          $36.50
0411304496-02      J.L.             MSB Physical Therapy PC                    97110      01/26/2017-01/27/2017      2          $46.36
0411304496-02      J.L.             MSB Physical Therapy PC                    97124      01/26/2017-01/27/2017      2          $40.42
0411304496-02      J.L.             MSB Physical Therapy PC                    97799      01/26/2017-01/27/2017      2          $99.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                 Provider                             Used              Service            Units      Pending
0431774421-01      J.C.             MSB Physical Therapy PC                    64550      10/10/2016-11/07/2016      10         $732.90
0431774421-01      J.C.             MSB Physical Therapy PC                    97799      10/10/2016-11/07/2016      10         $495.00
0431774421-01      J.C.             MSB Physical Therapy PC                    97799      11/09/2016-12/05/2016      4          $198.00
0431774421-01      J.C.             MSB Physical Therapy PC                    97799      12/06/2016-12/29/2016      10         $495.00
0431774421-01      J.C.             MSB Physical Therapy PC                    97799      01/03/2017-01/04/2017      2           $99.00
0431774421-01      J.C.             MSB Physical Therapy PC                    64550      02/15/2017-02/16/2017      2          $146.58
0431774421-01      J.C.             MSB Physical Therapy PC                    97799      02/15/2017-02/16/2017      2           $99.00
0431774421-01      J.C.             MSB Physical Therapy PC                    64550      02/21/2017-03/09/2017      7          $513.03
0431774421-01      J.C.             MSB Physical Therapy PC                    97799      02/21/2017-03/09/2017      7          $346.50
0431774421-01      J.C.             MSB Physical Therapy PC                    64550      05/30/2017-06/05/2017      4          $293.16
0431774421-01      J.C.             MSB Physical Therapy PC                    97010      05/30/2017-06/05/2017      4           $73.00
0431774421-01      J.C.             MSB Physical Therapy PC                    97124      05/30/2017-06/05/2017      4           $80.84
0431774421-01      J.C.             MSB Physical Therapy PC                    97799      05/30/2017-06/05/2017      4          $198.00
0431774421-01      J.C.             MSB Physical Therapy PC                    97110      05/31/2017-06/05/2017      3           $69.54
0431774421-01      J.C.             MSB Physical Therapy PC                    64550      06/06/2017-06/27/2017      7          $513.03
0431774421-01      J.C.             MSB Physical Therapy PC                    97799      06/06/2017-06/27/2017      7          $346.50
0431774421-01      J.C.             MSB Physical Therapy PC                    97164            06/06/2017           1           $40.17
0431774421-01      J.C.             MSB Physical Therapy PC                    97010      06/06/2017-06/27/2017      7          $127.75
0431774421-01      J.C.             MSB Physical Therapy PC                    97110      06/06/2017-06/27/2017      7          $162.26
0431774421-01      J.C.             MSB Physical Therapy PC                    97124      06/06/2017-06/27/2017      7          $141.47
0431774421-02      P.C.             MSB Physical Therapy PC                    97799      10/10/2016-11/26/2016      12         $594.00
0431774421-02      P.C.             MSB Physical Therapy PC                    64550      11/08/2016-12/06/2016      14        $1,026.06
0431774421-02      P.C.             MSB Physical Therapy PC                    97799      11/08/2016-12/06/2016      14         $693.00
0431774421-02      P.C.             MSB Physical Therapy PC                    97799      12/07/2016-12/28/2016      9          $445.50
0431774421-02      P.C.             MSB Physical Therapy PC                    97799            01/10/2017           1           $49.50
0431774421-02      P.C.             MSB Physical Therapy PC                    97799      01/09/2017-01/11/2017      2           $99.00
0431774421-02      P.C.             MSB Physical Therapy PC                    97799      01/03/2017-01/04/2017      2           $99.00
0431774421-02      P.C.             MSB Physical Therapy PC                    64550      01/19/2017-01/25/2017      4          $293.16
0431774421-02      P.C.             MSB Physical Therapy PC                    97799      01/19/2017-01/25/2017      4          $198.00
0431774421-02      P.C.             MSB Physical Therapy PC                    64550            01/17/2017           1           $73.29


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                 Provider                             Used              Service            Units      Pending
0431774421-02      P.C.             MSB Physical Therapy PC                    97799            01/17/2017           1          $49.50
0431774421-02      P.C.             MSB Physical Therapy PC                    64550      01/31/2017-02/20/2017      6         $439.74
0431774421-02      P.C.             MSB Physical Therapy PC                    97010      01/31/2017-02/20/2017      6         $109.50
0431774421-02      P.C.             MSB Physical Therapy PC                    97110      01/31/2017-02/20/2017      6         $139.08
0431774421-02      P.C.             MSB Physical Therapy PC                    97124      01/31/2017-02/20/2017      6         $121.26
0431774421-02      P.C.             MSB Physical Therapy PC                    97799      01/31/2017-02/20/2017      6         $297.00
0431774421-02      P.C.             MSB Physical Therapy PC                    64550      02/21/2017-03/29/2017      10        $732.90
0431774421-02      P.C.             MSB Physical Therapy PC                    97010      02/21/2017-03/29/2017      10        $182.50
0431774421-02      P.C.             MSB Physical Therapy PC                    97110      02/21/2017-03/29/2017      10        $231.80
0431774421-02      P.C.             MSB Physical Therapy PC                    97124      02/21/2017-03/29/2017      10        $202.10
0431774421-02      P.C.             MSB Physical Therapy PC                    97799      02/21/2017-03/29/2017      10        $495.00
0431774421-02      P.C.             MSB Physical Therapy PC                    64550      04/05/2017-04/17/2017      2         $146.58
0431774421-02      P.C.             MSB Physical Therapy PC                    97010      04/05/2017-04/17/2017      2          $36.50
0431774421-02      P.C.             MSB Physical Therapy PC                    97110      04/05/2017-04/17/2017      2          $46.36
0431774421-02      P.C.             MSB Physical Therapy PC                    97124      04/05/2017-04/17/2017      2          $40.42
0431774421-02      P.C.             MSB Physical Therapy PC                    97799      04/05/2017-04/17/2017      2          $99.00
0431774421-03     D.S.              MSB Physical Therapy PC                    97799      10/13/2016-11/08/2016      10        $544.50
0431774421-03     D.S.              MSB Physical Therapy PC                    64550      11/10/2016-12/06/2016      12        $879.48
0431774421-03     D.S.              MSB Physical Therapy PC                    97799      11/10/2016-12/06/2016      12        $594.00
0431774421-03     D.S.              MSB Physical Therapy PC                    97799      12/07/2016-12/30/2016      10        $495.00
0431774421-03     D.S.              MSB Physical Therapy PC                    97799      01/04/2017-01/05/2017      2          $99.00
0431774421-03     D.S.              MSB Physical Therapy PC                    97799            01/16/2017           1          $49.50
0431774421-03     D.S.              MSB Physical Therapy PC                    64550      01/10/2017-01/12/2017      2         $146.58
0431774421-03     D.S.              MSB Physical Therapy PC                    97799      01/10/2017-01/12/2017      2          $99.00
0431774421-03     D.S.              MSB Physical Therapy PC                    97799            01/17/2017           1          $49.50
0431774421-03     D.S.              MSB Physical Therapy PC                    64550      01/23/2017-01/25/2017      3         $219.87
0431774421-03     D.S.              MSB Physical Therapy PC                    97010      01/23/2017-01/25/2017      3          $54.75
0431774421-03     D.S.              MSB Physical Therapy PC                    97110      01/23/2017-01/25/2017      3          $69.54
0431774421-03     D.S.              MSB Physical Therapy PC                    97124      01/23/2017-01/25/2017      3          $60.63
0431774421-03     D.S.              MSB Physical Therapy PC                    97799      01/23/2017-01/25/2017      3         $148.50


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                 Provider                             Used              Service            Units      Pending
0431774421-03     D.S.              MSB Physical Therapy PC                    97799      02/21/2017-03/29/2017      11        $544.50
0431774421-03     D.S.              MSB Physical Therapy PC                    64550      02/21/2017-03/29/2017      11        $806.19
0431774421-03     D.S.              MSB Physical Therapy PC                    97010      02/21/2017-03/29/2017      11        $200.75
0431774421-03     D.S.              MSB Physical Therapy PC                    97110      02/21/2017-03/29/2017      11        $254.98
0431774421-03     D.S.              MSB Physical Therapy PC                    97124      02/21/2017-03/29/2017      11        $222.31
0431774421-03     D.S.              MSB Physical Therapy PC                    97164            03/30/2017           1          $40.17
0431774421-03     D.S.              MSB Physical Therapy PC                    64550      03/30/2017-04/12/2017      3         $219.87
0431774421-03     D.S.              MSB Physical Therapy PC                    97010      03/30/2017-04/12/2017      3          $54.75
0431774421-03     D.S.              MSB Physical Therapy PC                    97110      03/30/2017-04/12/2017      3          $69.54
0431774421-03     D.S.              MSB Physical Therapy PC                    97124      03/30/2017-04/12/2017      3          $60.63
0431774421-03     D.S.              MSB Physical Therapy PC                    97799      03/30/2017-04/12/2017      3         $148.50
0431774421-03     D.S.              MSB Physical Therapy PC                    64550      04/19/2017-05/01/2017      3         $219.87
0431774421-03     D.S.              MSB Physical Therapy PC                    97010      04/19/2017-05/01/2017      3          $54.75
0431774421-03     D.S.              MSB Physical Therapy PC                    97110      04/19/2017-05/01/2017      3          $69.54
0431774421-03     D.S.              MSB Physical Therapy PC                    97124      04/19/2017-05/01/2017      3          $60.63
0431774421-03     D.S.              MSB Physical Therapy PC                    97799      04/19/2017-05/01/2017      3         $148.50
0431774421-04     M.J.              MSB Physical Therapy PC                    97799      10/10/2016-11/08/2016      14        $693.00
0431774421-04     M.J.              MSB Physical Therapy PC                    97799      11/09/2016-12/06/2016      12        $594.00
0431774421-04     M.J.              MSB Physical Therapy PC                    64550      11/09/2016-12/06/2016      12        $879.48
0431774421-04     M.J.              MSB Physical Therapy PC                    64550      12/07/2016-12/29/2016      10        $732.90
0431774421-04     M.J.              MSB Physical Therapy PC                    97799      12/07/2016-12/29/2016      10        $495.00
0431774421-04     M.J.              MSB Physical Therapy PC                    97799      01/09/2017-01/11/2017      2          $99.00
0431774421-04     M.J.              MSB Physical Therapy PC                    97799            01/10/2017           1          $49.50
0431774421-04     M.J.              MSB Physical Therapy PC                    97799      01/03/2017-01/04/2017      2          $99.00
0431774421-04     M.J.              MSB Physical Therapy PC                    97799      01/19/2017-01/25/2017      4         $198.00
0431774421-04     M.J.              MSB Physical Therapy PC                    64550            01/17/2017           1          $73.29
0431774421-04     M.J.              MSB Physical Therapy PC                    97010            01/17/2017           1          $18.25
0431774421-04     M.J.              MSB Physical Therapy PC                    97110            01/17/2017           1          $23.18
0431774421-04     M.J.              MSB Physical Therapy PC                    97124            01/17/2017           1          $20.21
0431774421-04     M.J.              MSB Physical Therapy PC                    97799            01/17/2017           1          $49.50


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                 Provider                             Used              Service            Units      Pending
0431774421-04     M.J.              MSB Physical Therapy PC                    97010      01/19/2017-01/25/2017      4          $73.00
0431774421-04     M.J.              MSB Physical Therapy PC                    97110      01/19/2017-01/25/2017      4          $92.72
0431774421-04     M.J.              MSB Physical Therapy PC                    97124      01/19/2017-01/25/2017      4          $80.84
0431774421-04     M.J.              MSB Physical Therapy PC                    64550      01/19/2017-01/25/2017      4         $293.16
0431774421-04     M.J.              MSB Physical Therapy PC                    64550      01/31/2017-02/16/2017      7         $513.03
0431774421-04     M.J.              MSB Physical Therapy PC                    97010      01/31/2017-02/16/2017      7         $127.75
0431774421-04     M.J.              MSB Physical Therapy PC                    97110      01/31/2017-02/16/2017      7         $162.26
0431774421-04     M.J.              MSB Physical Therapy PC                    97124      01/31/2017-02/16/2017      7         $141.47
0431774421-04     M.J.              MSB Physical Therapy PC                    97799      01/31/2017-02/16/2017      7         $346.50
0431774421-04     M.J.              MSB Physical Therapy PC                    64550      02/21/2017-03/29/2017      12        $879.48
0431774421-04     M.J.              MSB Physical Therapy PC                    97010      02/21/2017-03/29/2017      12        $219.00
0431774421-04     M.J.              MSB Physical Therapy PC                    97110      02/21/2017-03/29/2017      12        $278.16
0431774421-04     M.J.              MSB Physical Therapy PC                    97124      02/21/2017-03/29/2017      12        $242.52
0431774421-04     M.J.              MSB Physical Therapy PC                    64550            04/05/2017           1          $73.29
0431774421-04     M.J.              MSB Physical Therapy PC                    97010            04/05/2017           1          $18.25
0431774421-04     M.J.              MSB Physical Therapy PC                    97110            04/05/2017           1          $23.18
0431774421-04     M.J.              MSB Physical Therapy PC                    97124            04/05/2017           1          $20.21
0431774421-04     M.J.              MSB Physical Therapy PC                    97799            04/05/2017           1          $49.50
0431774421-04     M.J.              MSB Physical Therapy PC                    64550            04/17/2017           1          $73.29
0431774421-04     M.J.              MSB Physical Therapy PC                    97010            04/17/2017           1          $18.25
0431774421-04     M.J.              MSB Physical Therapy PC                    97110            04/17/2017           1          $23.18
0431774421-04     M.J.              MSB Physical Therapy PC                    97124            04/17/2017           1          $20.21
0431774421-04     M.J.              MSB Physical Therapy PC                    97799            04/17/2017           1          $49.50
0431774421-05     M.T.              MSB Physical Therapy PC                    97799      10/10/2016-11/08/2016      14        $693.00
0431774421-05     M.T.              MSB Physical Therapy PC                    97799      11/09/2016-12/07/2016      13        $643.50
0431774421-05     M.T.              MSB Physical Therapy PC                    97799      12/12/2016-12/28/2016      8         $396.00
0431774421-05     M.T.              MSB Physical Therapy PC                    97799      01/09/2017-01/11/2017      2          $99.00
0431774421-05     M.T.              MSB Physical Therapy PC                    97799            01/10/2017           1          $49.50
0431774421-05     M.T.              MSB Physical Therapy PC                    97799      01/03/2017-01/04/2017      2          $99.00
0431774421-05     M.T.              MSB Physical Therapy PC                    64550      01/23/2017-01/25/2017      3         $219.87


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                 Provider                             Used              Service            Units      Pending
0431774421-05     M.T.              MSB Physical Therapy PC                    97799      01/23/2017-01/25/2017      3         $148.50
0431774421-05     M.T.              MSB Physical Therapy PC                    64550      01/31/2017-02/21/2017      9         $659.61
0431774421-05     M.T.              MSB Physical Therapy PC                    97799      01/31/2017-02/21/2017      9         $445.50
0431774421-05     M.T.              MSB Physical Therapy PC                    64550      02/27/2017-03/27/2017      7         $513.03
0431774421-05     M.T.              MSB Physical Therapy PC                    97799      02/27/2017-03/27/2017      7         $346.50
0431774421-05     M.T.              MSB Physical Therapy PC                    64550            04/03/2017           1          $73.29
0431774421-05     M.T.              MSB Physical Therapy PC                    97799            04/03/2017           1          $49.50
0434546750-02      S.B.             MSB Physical Therapy PC                    64550      10/27/2016-11/07/2016      6         $439.74
0434546750-02      S.B.             MSB Physical Therapy PC                    64550      11/09/2016-11/10/2016      2         $146.58
0434546750-02      S.B.             MSB Physical Therapy PC                    64550      12/06/2016-12/08/2016      3         $219.87
0434546750-11      E.I.             MSB Physical Therapy PC                    64550      10/27/2016-11/07/2016      5         $366.45
0434546750-11      E.I.             MSB Physical Therapy PC                    97799      11/09/2016-12/06/2016      11        $544.50
0434546750-11      E.I.             MSB Physical Therapy PC                    64550      12/08/2016-12/29/2016      6         $439.74
0434546750-11      E.I.             MSB Physical Therapy PC                    64550            01/13/2017           1          $73.29
0434546750-11      E.I.             MSB Physical Therapy PC                    64550      01/05/2017-01/06/2017      2         $146.58
0434546750-11      E.I.             MSB Physical Therapy PC                    64550      01/19/2017-01/27/2017      3         $219.87
0434546750-11      E.I.             MSB Physical Therapy PC                    64550            02/06/2017           1          $73.29
0436499486-02     S.M.              MSB Physical Therapy PC                    64550      11/23/2016-12/02/2016      5         $366.45
0436499486-02     S.M.              MSB Physical Therapy PC                    97799      11/23/2016-12/02/2016      5         $247.50
0436499486-02     S.M.              MSB Physical Therapy PC                    64550      12/07/2016-12/15/2016      3         $219.87
0436499486-02     S.M.              MSB Physical Therapy PC                    97799      12/07/2016-12/15/2016      3         $148.50
0436499486-02     S.M.              MSB Physical Therapy PC                    64550            01/11/2017           1          $73.29
0436499486-02     S.M.              MSB Physical Therapy PC                    97799            01/11/2017           1          $49.50
0436499486-02     S.M.              MSB Physical Therapy PC                    64550      01/03/2017-01/04/2017      2         $146.58
0436499486-02     S.M.              MSB Physical Therapy PC                    97799      01/03/2017-01/04/2017      2          $99.00
0436499486-02     S.M.              MSB Physical Therapy PC                    64550      01/17/2017-01/20/2017      3         $219.87
0436499486-02     S.M.              MSB Physical Therapy PC                    97799      01/17/2017-01/20/2017      3         $148.50
0436499486-02     S.M.              MSB Physical Therapy PC                    64550      01/24/2017-01/27/2017      2         $146.58
0436499486-02     S.M.              MSB Physical Therapy PC                    97799      01/24/2017-01/27/2017      2          $99.00
0436499486-02     S.M.              MSB Physical Therapy PC                    97164            02/01/2017           1          $40.17


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                 Provider                             Used              Service            Units      Pending
0436499486-02     S.M.              MSB Physical Therapy PC                    97799      02/01/2017-02/08/2017      3         $148.50
0436499486-02     S.M.              MSB Physical Therapy PC                    64550      02/01/2017-02/08/2017      3         $219.87
0436499486-02     S.M.              MSB Physical Therapy PC                    97010      02/01/2017-02/08/2017      3          $54.75
0436499486-02     S.M.              MSB Physical Therapy PC                    97110      02/01/2017-02/08/2017      3          $69.54
0436499486-02     S.M.              MSB Physical Therapy PC                    97124      02/01/2017-02/08/2017      3          $60.63
0436499486-02     S.M.              MSB Physical Therapy PC                    64550      02/23/2017-03/23/2017      8         $586.32
0436499486-02     S.M.              MSB Physical Therapy PC                    97010      02/23/2017-03/23/2017      8         $146.00
0436499486-02     S.M.              MSB Physical Therapy PC                    97110      02/23/2017-03/23/2017      8         $185.44
0436499486-02     S.M.              MSB Physical Therapy PC                    97124      02/23/2017-03/23/2017      8         $161.68
0436499486-02     S.M.              MSB Physical Therapy PC                    97799      02/23/2017-03/23/2017      8         $396.00
0436499486-02     S.M.              MSB Physical Therapy PC                    97164            03/23/2017           1          $40.17
0436499486-02     S.M.              MSB Physical Therapy PC                    95831            03/29/2017           1         $218.00
0436499486-02     S.M.              MSB Physical Therapy PC                    95833            03/29/2017           1         $114.32
0436499486-02     S.M.              MSB Physical Therapy PC                    95851            03/29/2017           1         $137.13
0436499486-02     S.M.              MSB Physical Therapy PC                    64550      03/29/2017-04/14/2017      7         $513.03
0436499486-02     S.M.              MSB Physical Therapy PC                    97010      03/29/2017-04/14/2017      7         $127.75
0436499486-02     S.M.              MSB Physical Therapy PC                    97110      03/29/2017-04/14/2017      7         $162.26
0436499486-02     S.M.              MSB Physical Therapy PC                    97124      03/29/2017-04/14/2017      7         $141.47
0436499486-02     S.M.              MSB Physical Therapy PC                    97799      03/29/2017-04/14/2017      7         $346.50
0446478414-02     B.M.              MSB Physical Therapy PC                    95831            02/17/2017           1         $305.20
0446478414-02     B.M.              MSB Physical Therapy PC                    95833            02/17/2017           1         $114.32
0446478414-02     B.M.              MSB Physical Therapy PC                    95851            02/17/2017           1         $182.84
0446478414-02     B.M.              MSB Physical Therapy PC                    64550      02/16/2017-03/22/2017      8         $586.32
0446478414-02     B.M.              MSB Physical Therapy PC                    97799      02/16/2017-03/22/2017      8         $396.00
0446478414-02     B.M.              MSB Physical Therapy PC                    64550            03/27/2017           1          $73.29
0446478414-02     B.M.              MSB Physical Therapy PC                    97799            03/27/2017           1          $49.50
0446478414-02     B.M.              MSB Physical Therapy PC                    95831            03/20/2017           1         $305.20
0446478414-02     B.M.              MSB Physical Therapy PC                    95833            03/20/2017           1         $114.32
0446478414-02     B.M.              MSB Physical Therapy PC                    95851            03/20/2017           1         $182.84
0446478414-02     B.M.              MSB Physical Therapy PC                    64550      03/28/2017-04/17/2017      9         $659.61


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                 Provider                             Used              Service            Units      Pending
0446478414-02     B.M.              MSB Physical Therapy PC                    97799      03/28/2017-04/17/2017      9          $445.50
0446478414-02     B.M.              MSB Physical Therapy PC                    95831            04/10/2017           1          $305.20
0446478414-02     B.M.              MSB Physical Therapy PC                    95833            04/10/2017           1          $114.32
0446478414-02     B.M.              MSB Physical Therapy PC                    95851            04/10/2017           1          $228.55
0446478414-02     B.M.              MSB Physical Therapy PC                    64550      04/18/2017-05/08/2017      9          $659.61
0446478414-02     B.M.              MSB Physical Therapy PC                    97799      04/18/2017-05/08/2017      9          $445.50
0446478414-02     B.M.              MSB Physical Therapy PC                    64550            05/17/2017           1           $73.29
0446478414-02     B.M.              MSB Physical Therapy PC                    97799            05/17/2017           1           $49.50
0595435132-01     K.F.              MSB Physical Therapy PC                    97161            08/17/2020           1           $99.24
0597828532-02     A.P.              MSB Physical Therapy PC                    64550      08/20/2020-09/17/2020      14        $1,026.06
0597828532-02     A.P.              MSB Physical Therapy PC                    97161            08/18/2020           1           $99.24
0597828532-02     A.P.              MSB Physical Therapy PC                    97010      08/20/2020-09/17/2020      14         $108.10
0597828532-02     A.P.              MSB Physical Therapy PC                    64550      09/23/2020-10/09/2020      6          $439.74
0597828532-02     A.P.              MSB Physical Therapy PC                    97799      09/23/2020-10/09/2020      6          $297.00
0597828532-02     A.P.              MSB Physical Therapy PC                    64550      10/13/2020-10/16/2020      3          $219.87
0597828532-02     A.P.              MSB Physical Therapy PC                    97799      10/13/2020-10/16/2020      3          $148.50
0597828532-02     A.P.              MSB Physical Therapy PC                    64550            10/21/2020           1           $73.29
0597828532-02     A.P.              MSB Physical Therapy PC                    97799            10/21/2020           1           $49.50
0597828532-02     A.P.              MSB Physical Therapy PC                    64550      10/27/2020-10/30/2020      2          $146.58
0597828532-02     A.P.              MSB Physical Therapy PC                    97010      10/27/2020-10/30/2020      2           $11.52
0597828532-02     A.P.              MSB Physical Therapy PC                    97110      10/27/2020-10/30/2020      2           $83.20
0597828532-02     A.P.              MSB Physical Therapy PC                    97124      10/27/2020-10/30/2020      2           $54.92
0597828532-02     A.P.              MSB Physical Therapy PC                    97799      10/27/2020-10/30/2020      2           $99.00
0597828532-02     A.P.              MSB Physical Therapy PC                    64550      11/03/2020-11/06/2020      3          $219.87
0597828532-02     A.P.              MSB Physical Therapy PC                    97010      11/03/2020-11/06/2020      3           $17.28
0597828532-02     A.P.              MSB Physical Therapy PC                    97110      11/03/2020-11/06/2020      3          $124.80
0597828532-02     A.P.              MSB Physical Therapy PC                    97124      11/03/2020-11/06/2020      3           $82.38
0597828532-02     A.P.              MSB Physical Therapy PC                    97799      11/03/2020-11/06/2020      3          $148.50
0597828532-02     A.P.              MSB Physical Therapy PC                    64550      11/09/2020-11/17/2020      3          $219.87
0597828532-02     A.P.              MSB Physical Therapy PC                    97010      11/09/2020-11/17/2020      3           $17.28


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                 Provider                             Used              Service            Units      Pending
0597828532-02     A.P.              MSB Physical Therapy PC                    97110      11/09/2020-11/17/2020      3          $124.80
0597828532-02     A.P.              MSB Physical Therapy PC                    97124      11/09/2020-11/17/2020      3           $82.38
0597828532-02     A.P.              MSB Physical Therapy PC                    97799      11/09/2020-11/17/2020      3          $148.50
0597828532-02     A.P.              MSB Physical Therapy PC                    64550            11/24/2020           1           $73.29
0597828532-02     A.P.              MSB Physical Therapy PC                    97010            11/24/2020           1           $5.76
0597828532-02     A.P.              MSB Physical Therapy PC                    97110            11/24/2020           1           $41.60
0597828532-02     A.P.              MSB Physical Therapy PC                    97124            11/24/2020           1           $27.46
0597828532-02     A.P.              MSB Physical Therapy PC                    97799            11/24/2020           1           $49.50
0344451562-01     M.J.               PFJ Medical Care PC                       20999            08/02/2016           2         $1,400.00
0344451562-01     M.J.               PFJ Medical Care PC                       99244            08/02/2016           1          $236.94
0344451562-01     M.J.               PFJ Medical Care PC                       20999            09/27/2016           2         $1,400.00
0344451562-01     M.J.               PFJ Medical Care PC                       99214            09/27/2016           1          $148.69
0371795286-01     M.R.               PFJ Medical Care PC                       20553            07/07/2016           1          $119.10
0371795286-01     M.R.               PFJ Medical Care PC                       20999            07/07/2016           2         $1,400.00
0371795286-01     M.R.               PFJ Medical Care PC                       99215            07/07/2016           1          $148.69
0371795286-01     M.R.               PFJ Medical Care PC                       20553            07/27/2016           1          $119.10
0371795286-01     M.R.               PFJ Medical Care PC                       99215            07/27/2016           1          $148.69
0371795286-01     M.R.               PFJ Medical Care PC                       20999            07/27/2016           2         $1,550.00
0371795286-01     M.R.               PFJ Medical Care PC                       20553            08/18/2016           1          $119.10
0371795286-01     M.R.               PFJ Medical Care PC                       20999            08/18/2016           2         $1,550.00
0371795286-01     M.R.               PFJ Medical Care PC                       99215            08/18/2016           1          $148.69
0371795286-01     M.R.               PFJ Medical Care PC                       20999            08/25/2016           2         $1,550.00
0371795286-01     M.R.               PFJ Medical Care PC                       99215            08/25/2016           1          $148.69
0371795286-01     M.R.               PFJ Medical Care PC                       20553            09/07/2016           1          $119.10
0371795286-01     M.R.               PFJ Medical Care PC                       20999            09/07/2016           2         $1,225.00
0371795286-01     M.R.               PFJ Medical Care PC                       99215            09/07/2016           1          $148.69
0371795286-01     M.R.               PFJ Medical Care PC                       20999            09/21/2016           2         $1,625.00
0371795286-01     M.R.               PFJ Medical Care PC                       20553            09/21/2016           1          $119.10
0371795286-01     M.R.               PFJ Medical Care PC                       99215            09/21/2016           1          $148.69
0391537313-01      J.C.              PFJ Medical Care PC                       99244            05/19/2016           1          $236.94


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0393526215-02      J.P.                PFJ Medical Care PC                     20553            06/15/2016           1          $119.10
0393526215-02      J.P.                PFJ Medical Care PC                     20999            06/15/2016           2         $1,225.00
0393526215-02      J.P.                PFJ Medical Care PC                     99244            06/15/2016           1          $236.94
0397364209-01     R.R.                 PFJ Medical Care PC                     99215            05/25/2016           1          $148.69
0400879102-01     L.C.                 PFJ Medical Care PC                     20553            06/01/2016           1          $119.10
0400879102-01     L.C.                 PFJ Medical Care PC                     20999            06/01/2016           2         $1,400.00
0400879102-01     L.C.                 PFJ Medical Care PC                     99244            06/01/2016           1          $236.94
0400879102-01     L.C.                 PFJ Medical Care PC                     20553            07/20/2016           1          $119.10
0400879102-01     L.C.                 PFJ Medical Care PC                     20999            07/20/2016           2         $1,225.00
0400879102-01     L.C.                 PFJ Medical Care PC                     99215            07/20/2016           1          $148.69
0405231143-01     C.A.                 PFJ Medical Care PC                     20999            09/16/2016           2         $1,300.00
0405235540-01     K.W.                 PFJ Medical Care PC                     99215            05/12/2016           1          $148.69
0405632076-03     H.R.                 PFJ Medical Care PC                     20999            08/05/2016           2         $1,400.00
0408989390-03     A.H.                 PFJ Medical Care PC                     20999            08/12/2016           2         $1,400.00
0408989390-03     A.H.                 PFJ Medical Care PC                     20999            08/26/2016           2         $1,525.00
0408989390-03     A.H.                 PFJ Medical Care PC                     99215            08/26/2016           1          $148.69
0411304496-01      I.L.                PFJ Medical Care PC                     97799      06/03/2016-06/09/2016      3          $148.50
0411304496-01      I.L.                PFJ Medical Care PC                     97799      07/01/2016-07/14/2016      5          $247.50
0411304496-01      I.L.                PFJ Medical Care PC                     64550      07/21/2016-08/05/2016      6          $439.74
0411304496-01      I.L.                PFJ Medical Care PC                     97799      07/21/2016-08/05/2016      6          $297.00
0411304496-01      I.L.                PFJ Medical Care PC                     97799      09/07/2016-09/08/2016      2           $99.00
0411304496-01      I.L.                PFJ Medical Care PC                     64550      09/07/2016-09/08/2016      2          $146.58
0411304496-02      J.L.                PFJ Medical Care PC                     97799      06/10/2016-06/22/2016      4          $198.00
0411304496-02      J.L.                PFJ Medical Care PC                     95831            06/10/2016           1          $305.20
0411304496-02      J.L.                PFJ Medical Care PC                     95833            06/10/2016           1          $114.32
0411304496-02      J.L.                PFJ Medical Care PC                     95851            06/10/2016           1          $182.84
0411304496-02      J.L.                PFJ Medical Care PC                     97799      07/01/2016-07/14/2016      4          $198.00
0411304496-02      J.L.                PFJ Medical Care PC                     64550      07/01/2016-07/14/2016      4          $293.20
0411304496-02      J.L.                PFJ Medical Care PC                     64550      07/21/2016-08/05/2016      6          $439.74
0411304496-02      J.L.                PFJ Medical Care PC                     97799      07/21/2016-08/05/2016      6          $297.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code          Dates of           # of       Amount
  Claim No.      Initials                   Provider                           Used              Service            Units      Pending
0411304496-02      J.L.                PFJ Medical Care PC                     64550      09/07/2016-09/08/2016      2          $146.58
0411304496-02      J.L.                PFJ Medical Care PC                     97799      09/07/2016-09/08/2016      2           $99.00
0411304496-02      J.L.                PFJ Medical Care PC                     95831            09/07/2016           1          $261.60
0411304496-02      J.L.                PFJ Medical Care PC                     95833            09/07/2016           1          $114.32
0411304496-02      J.L.                PFJ Medical Care PC                     95851            09/07/2016           1          $182.84
0413937953-02     B.W.                 PFJ Medical Care PC                     20553            08/01/2016           1          $119.10
0413937953-02     B.W.                 PFJ Medical Care PC                     20999            08/01/2016           2         $1,400.00
0413937953-02     B.W.                 PFJ Medical Care PC                     99244            08/01/2016           1          $236.94
0415767268-02     Y.E.                 PFJ Medical Care PC                     20999            08/09/2016           2         $1,225.00
0417465200-01     D.G.                 PFJ Medical Care PC                     20999            06/22/2016           2         $1,400.00
0417465200-05     D.R.                 PFJ Medical Care PC                     20999            06/22/2016           2         $1,400.00
0418830014-04      S.C.                PFJ Medical Care PC                     20999            08/01/2016           2         $1,400.00
0419958235-01     H.T.                 PFJ Medical Care PC                     20999            07/27/2016           2         $1,400.00
0419958235-01     H.T.                 PFJ Medical Care PC                     20999            09/21/2016           2         $1,625.00
0419958235-01     H.T.                 PFJ Medical Care PC                     99215            09/21/2016           1          $148.69
0420467748-02     L.H.                 PFJ Medical Care PC                     20999            08/30/2016           2         $1,400.00
0422002691-01     R.B.                 PFJ Medical Care PC                     20999            07/27/2016           2         $1,400.00
0422002691-01     R.B.                 PFJ Medical Care PC                     20999            08/10/2016           2         $1,225.00
0422002691-01     R.B.                 PFJ Medical Care PC                     99215            08/10/2016           1          $148.69
0422068007-01      S.J.                PFJ Medical Care PC                     20999            08/31/2016           2         $1,225.00
0422068007-01      S.J.                PFJ Medical Care PC                     20999            09/14/2016           2         $1,525.00
0422068007-01      S.J.                PFJ Medical Care PC                     99215            09/14/2016           1          $148.69
0422413260-02     N.R.                 PFJ Medical Care PC                     20553            08/23/2016           1          $119.10
0422413260-02     N.R.                 PFJ Medical Care PC                     20999            08/23/2016           2         $1,225.00
0422413260-02     N.R.                 PFJ Medical Care PC                     99215            08/23/2016           1          $148.69
0422413260-02     N.R.                 PFJ Medical Care PC                     20553            08/02/2016           1          $119.10
0422413260-02     N.R.                 PFJ Medical Care PC                     20999            08/02/2016           2         $1,400.00
0422413260-02     N.R.                 PFJ Medical Care PC                     99244            08/02/2016           1          $236.94
0423921162-08     K.Z.                 PFJ Medical Care PC                     20999            08/24/2016           2         $1,225.00
0423921162-08     K.Z.                 PFJ Medical Care PC                     20999            08/31/2016           2         $1,225.00


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                  Provider                            Used             Service             Units      Pending
0423921162-08     K.Z.                PFJ Medical Care PC                      99215           08/31/2016            1          $148.69
0423921162-09      F.C.               PFJ Medical Care PC                      20553           08/31/2016            1          $119.10
0423921162-09      F.C.               PFJ Medical Care PC                      20999           08/31/2016            2         $1,225.00
0423921162-09      F.C.               PFJ Medical Care PC                      99244           08/31/2016            1          $236.94
0425541539-01      E.S.               PFJ Medical Care PC                      20999           09/09/2016            2         $1,525.00
0425541539-02      I.S.               PFJ Medical Care PC                      20999           09/02/2016            2         $1,625.00
0427219795-03      J.B.               PFJ Medical Care PC                      20553           09/13/2016            1          $119.10
0427219795-03      J.B.               PFJ Medical Care PC                      20999           09/13/2016            2          $896.00
0427219795-03      J.B.               PFJ Medical Care PC                      20553           09/20/2016            1          $119.10
0427219795-03      J.B.               PFJ Medical Care PC                      20999           09/20/2016            2         $1,525.00
0374553048-02      E.F.              RA Medical Services PC                    99215           11/16/2015            1          $148.69
0375170644-04     L.A.               RA Medical Services PC                    99244           11/11/2015            1          $236.94
0376459327-01     R.G.               RA Medical Services PC                    20553           01/13/2016            1          $119.10
0376459327-01     R.G.               RA Medical Services PC                    20999           01/13/2016            2         $3,225.00
0376459327-01     R.G.               RA Medical Services PC                    76942           01/13/2016            1          $262.91
0376459327-01     R.G.               RA Medical Services PC                    99244           01/13/2016            1          $236.94
0377476239-01     L.C.               RA Medical Services PC                    20553           11/11/2015            1          $119.10
0377476239-01     L.C.               RA Medical Services PC                    20999           11/11/2015            2         $2,875.00
0377476239-01     L.C.               RA Medical Services PC                    76942           11/11/2015            1          $262.91
0377476239-01     L.C.               RA Medical Services PC                    99215           11/11/2015            1          $148.69
0377476239-01     L.C.               RA Medical Services PC                    99215           11/18/2015            1          $148.69
0388249740-02     M.B.               RA Medical Services PC                    20553           11/10/2015            1          $119.10
0388249740-02     M.B.               RA Medical Services PC                    20999           11/10/2015            2         $3,050.00
0388249740-02     M.B.               RA Medical Services PC                    76942           11/10/2015            1          $262.91
0390737807-02      S.P.              RA Medical Services PC                    20553           02/01/2016            1          $119.10
0390737807-02      S.P.              RA Medical Services PC                    20999           02/01/2016            2         $3,175.00
0390737807-02      S.P.              RA Medical Services PC                    76942           02/01/2016            1          $262.91
0391445368-01     B.C.               RA Medical Services PC                    20553           01/20/2016            1          $119.10
0391445368-01     B.C.               RA Medical Services PC                    20999           01/20/2016            2         $3,200.00
0391445368-01     B.C.               RA Medical Services PC                    76942           01/20/2016            1          $262.91


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           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                   Billing Code         Dates of            # of       Amount
  Claim No.      Initials                 Provider                             Used             Service             Units      Pending
0391537313-01      J.C.              RA Medical Services PC                    20553           12/09/2015            1          $119.10
0391537313-01      J.C.              RA Medical Services PC                    20999           12/09/2015            2         $1,550.00
0391537313-01      J.C.              RA Medical Services PC                    76942           12/09/2015            1          $262.91
0391674355-01     A.F.               RA Medical Services PC                    20553           12/01/2015            1          $119.10
0391674355-01     A.F.               RA Medical Services PC                    20999           12/01/2015            2         $3,175.00
0391674355-01     A.F.               RA Medical Services PC                    76942           12/01/2015            1          $262.91
0391674355-01     A.F.               RA Medical Services PC                    20553           12/21/2015            1          $119.10
0391674355-01     A.F.               RA Medical Services PC                    20999           12/21/2015            2         $3,225.00
0391674355-01     A.F.               RA Medical Services PC                    76942           12/21/2015            1          $262.91
0391674355-01     A.F.               RA Medical Services PC                    20553           02/09/2016            1          $119.10
0391674355-01     A.F.               RA Medical Services PC                    20999           02/09/2016            2         $2,850.00
0391674355-01     A.F.               RA Medical Services PC                    76942           02/09/2016            1          $262.91
0391674355-01     A.F.               RA Medical Services PC                    99215           02/09/2016            1          $148.69
0394803431-02     A.D.               RA Medical Services PC                    20553           02/02/2016            1          $119.10
0394803431-02     A.D.               RA Medical Services PC                    20999           02/02/2016            2         $3,200.00
0394803431-02     A.D.               RA Medical Services PC                    76942           02/02/2016            1          $262.91
0394803431-02     A.D.               RA Medical Services PC                    20553           02/09/2016            1          $119.10
0394803431-02     A.D.               RA Medical Services PC                    20999           02/09/2016            2         $3,200.00
0394803431-02     A.D.               RA Medical Services PC                    76942           02/09/2016            1          $262.91
0397246497-01     S.M.               RA Medical Services PC                    20553           01/05/2016            1          $119.10
0397246497-01     S.M.               RA Medical Services PC                    20999           01/05/2016            2         $3,200.00
0397246497-01     S.M.               RA Medical Services PC                    76942           01/05/2016            1          $262.91
0397246497-01     S.M.               RA Medical Services PC                    20553           12/15/2015            1          $119.10
0397246497-01     S.M.               RA Medical Services PC                    20999           12/15/2015            2         $1,675.00
0397246497-01     S.M.               RA Medical Services PC                    76942           12/15/2015            1          $262.91
0397246497-01     S.M.               RA Medical Services PC                    20553           01/05/2016            1          $119.10
0397246497-01     S.M.               RA Medical Services PC                    20999           01/05/2016            2         $3,200.00
0397246497-01     S.M.               RA Medical Services PC                    76942           01/05/2016            1          $262.91
0397246497-01     S.M.               RA Medical Services PC                    99215           01/05/2016            1          $148.69
0397246497-01     S.M.               RA Medical Services PC                    20553           01/19/2016            1          $119.10


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                     Billing Code       Dates of            # of       Amount
  Claim No.      Initials                    Provider                            Used           Service             Units      Pending
0397246497-01     S.M.               RA Medical Services PC                      20999         01/19/2016            2         $3,375.00
0397246497-01     S.M.               RA Medical Services PC                      76942         01/19/2016            1          $262.91
0398385996-02      F.P.              RA Medical Services PC                      20553         01/15/2016            1          $119.10
0398385996-02      F.P.              RA Medical Services PC                      20999         01/15/2016            2         $1,675.00
0398385996-02      F.P.              RA Medical Services PC                      76942         01/15/2016            1          $262.91
0398385996-02      F.P.              RA Medical Services PC                      99244         01/15/2016            1          $236.94
0405235540-01     K.W.               RA Medical Services PC                      20553         03/23/2016            1          $119.10
0405235540-01     K.W.               RA Medical Services PC                      20999         03/23/2016            2         $3,200.00
0405235540-01     K.W.               RA Medical Services PC                      76942         03/23/2016            1          $262.91
0407146448-02     M.J.               RA Medical Services PC                      20553         03/24/2016            1          $119.10
0407146448-02     M.J.               RA Medical Services PC                      20999         03/24/2016            2         $3,200.00
0407146448-02     M.J.               RA Medical Services PC                      76942         03/24/2016            1          $262.91
0407146448-02     M.J.               RA Medical Services PC                      20553         04/13/2016            1          $119.10
0407146448-02     M.J.               RA Medical Services PC                      20999         04/13/2016            2         $3,200.00
0407146448-02     M.J.               RA Medical Services PC                      76942         04/13/2016            1          $262.91
0413937953-02     B.W.               RA Medical Services PC                      20999         06/27/2016            2         $3,200.00
0413937953-02     B.W.               RA Medical Services PC                      76942         06/27/2016            1          $262.91
0413937953-02     B.W.               RA Medical Services PC                      99244         06/27/2016            1          $236.94
0416039170-02      S.P.              RA Medical Services PC                      20553         06/10/2016            1          $119.10
0416039170-02      S.P.              RA Medical Services PC                      20999         06/10/2016            2         $5,325.00
0416039170-02      S.P.              RA Medical Services PC                      76942         06/10/2016            1          $262.91
0456035401-01     K.M.            Strategic Medical Initiatives PC               20999         11/28/2018            2         $1,400.00
0487492894-01     G.T.            Strategic Medical Initiatives PC               99215         10/24/2018            1          $148.69
0487492894-01     G.T.            Strategic Medical Initiatives PC               20999         10/24/2018            2         $1,225.00
0487492894-01     G.T.            Strategic Medical Initiatives PC               20999         11/05/2018            2         $1,225.00
0487492894-01     G.T.            Strategic Medical Initiatives PC               99215         11/05/2018            1          $148.69
0487492894-01     G.T.            Strategic Medical Initiatives PC               99215         11/19/2018            1          $148.69
0487492894-01     G.T.            Strategic Medical Initiatives PC               20999         11/19/2018            2         $1,200.00
0489630029-01     K.R.            Strategic Medical Initiatives PC               20999         07/02/2018            2         $1,400.00
0489630029-01     K.R.            Strategic Medical Initiatives PC               99215         07/02/2018            1          $148.69


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                                               Allstate Ins. Co., et al. v. Rybak, et al.
           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                     Billing Code       Dates of            # of       Amount
  Claim No.      Initials                    Provider                            Used           Service             Units      Pending
0491933347-01      J.S.           Strategic Medical Initiatives PC               99244         11/16/2018            1          $236.94
0491933347-01      J.S.           Strategic Medical Initiatives PC               20999         11/16/2018            2         $1,225.00
0496894239-01     J.M.            Strategic Medical Initiatives PC               20999         06/13/2018            2         $1,000.00
0498092550-03      S.P.           Strategic Medical Initiatives PC               20999         08/03/2018            2         $1,400.00
0502492929-02     S.M.            Strategic Medical Initiatives PC               20999         07/27/2018            2         $1,375.00
0503008724-02     H.M.            Strategic Medical Initiatives PC               99215         10/24/2018            1          $148.69
0503008724-02     H.M.            Strategic Medical Initiatives PC               20999         11/05/2018            2         $1,225.00
0503008724-02     H.M.            Strategic Medical Initiatives PC               99215         11/05/2018            1          $148.69
0504358952-01      S.S.           Strategic Medical Initiatives PC               20999         07/25/2018            2         $1,400.00
0504358952-01      S.S.           Strategic Medical Initiatives PC               20999         09/19/2018            2         $1,400.00
0504975699-02     A.C.            Strategic Medical Initiatives PC               20999         11/29/2018            2         $1,200.00
0504975699-02     A.C.            Strategic Medical Initiatives PC               99215         11/29/2018            1          $148.69
0507748499-05     S.G.            Strategic Medical Initiatives PC               20999         09/17/2018            2         $1,225.00
0508843752-02      J.T.           Strategic Medical Initiatives PC               99244         11/08/2018            1          $236.94
0508843752-02      J.T.           Strategic Medical Initiatives PC               20999         11/08/2018            2         $1,225.00
0509431607-05     D.L.            Strategic Medical Initiatives PC               99244         08/02/2018            1          $236.94
0509431607-05     D.L.            Strategic Medical Initiatives PC               20999         10/25/2018            2         $2,250.00
0509431607-05     D.L.            Strategic Medical Initiatives PC               99214         10/25/2018            1          $148.69
0509792304-01      J.F.           Strategic Medical Initiatives PC               20999         11/02/2018            2         $1,400.00
0509792304-04      F.F.           Strategic Medical Initiatives PC               20999         11/02/2018            2         $1,375.00
0509812128-02      C.P.           Strategic Medical Initiatives PC               20999         07/25/2018            2         $1,375.00
0510244577-02     O.M.            Strategic Medical Initiatives PC               99215         09/24/2018            1          $148.69
0510244577-02     O.M.            Strategic Medical Initiatives PC               20999         09/24/2018            2         $1,050.00
0510244577-04      S.B.           Strategic Medical Initiatives PC               99244         07/23/2018            1          $236.94
0510244577-04      S.B.           Strategic Medical Initiatives PC               20999         07/23/2018            2         $1,125.00
0512214957-01     R.D.            Strategic Medical Initiatives PC               20999         10/22/2018            2         $1,950.00
0512214957-01     R.D.            Strategic Medical Initiatives PC               20999         11/14/2018            2         $1,950.00
0512283086-02     M.M.            Strategic Medical Initiatives PC               20999         09/19/2018            2         $1,225.00
0512801705-01     G.M.            Strategic Medical Initiatives PC               20999         09/26/2018            2         $1,400.00
0512801705-01     G.M.            Strategic Medical Initiatives PC               20999         11/01/2018            2         $1,400.00


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           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                     Billing Code          Dates of         # of       Amount
  Claim No.      Initials                    Provider                            Used              Service          Units      Pending
0512801705-01     G.M.            Strategic Medical Initiatives PC               99215            11/01/2018         1          $148.69
0512803891-02     G.C.            Strategic Medical Initiatives PC               20999            09/19/2018         2         $1,400.00
0513295435-01     D.B.            Strategic Medical Initiatives PC               20553            09/19/2018         1          $119.10
0513295435-01     D.B.            Strategic Medical Initiatives PC               20999            09/19/2018         2         $1,225.00
0513295435-01     D.B.            Strategic Medical Initiatives PC               20999            11/08/2018         2         $1,225.00
0513295435-01     D.B.            Strategic Medical Initiatives PC               20999      10/29/2018-11/29/2018    5         $1,400.00
0513989285-02     O.M.            Strategic Medical Initiatives PC               99244            10/02/2018         1          $236.94
0513989285-02     O.M.            Strategic Medical Initiatives PC               20999            10/16/2018         2         $2,150.00
0513989285-02     O.M.            Strategic Medical Initiatives PC               99215            10/16/2018         1          $148.69
0513989285-02     O.M.            Strategic Medical Initiatives PC               20999            10/02/2018         2         $1,750.00
0514687375-01     A.A.            Strategic Medical Initiatives PC               20999            11/09/2018         2         $1,375.00
0514795409-02      J.J.           Strategic Medical Initiatives PC               20999            11/08/2018         2         $1,400.00
0514795409-02      J.J.           Strategic Medical Initiatives PC               99215            11/08/2018         1          $148.69
0514795409-04     W.A.            Strategic Medical Initiatives PC               20999            11/13/2018         2         $1,050.00
0516050432-01     G.N.            Strategic Medical Initiatives PC               20999            10/18/2018         2         $1,225.00
0516050432-01     G.N.            Strategic Medical Initiatives PC               20999            10/25/2018         2         $1,225.00
0517411401-01     M.J.            Strategic Medical Initiatives PC               20999            10/31/2018         2         $1,400.00
0517411401-01     M.J.            Strategic Medical Initiatives PC               99215            10/31/2018         1          $148.69
0517763009-02     K.M.            Strategic Medical Initiatives PC               20999            10/04/2018         2         $1,575.00
0517763009-02     K.M.            Strategic Medical Initiatives PC               20999            10/23/2018         2         $1,150.00
0517763009-02     K.M.            Strategic Medical Initiatives PC               20999            10/30/2018         2          $975.00
0517763009-02     K.M.            Strategic Medical Initiatives PC               99215            10/30/2018         1          $148.69
0517877940-01     D.G.            Strategic Medical Initiatives PC               20999            10/16/2018         2         $1,750.00
0517877940-01     D.G.            Strategic Medical Initiatives PC               20999            10/09/2018         2          $975.00
0517877940-01     D.G.            Strategic Medical Initiatives PC               99244            10/09/2018         1          $236.94
0517877940-01     D.G.            Strategic Medical Initiatives PC               20999            10/23/2018         2         $1,950.00
0517877940-01     D.G.            Strategic Medical Initiatives PC               20999            10/30/2018         2         $1,500.00
0517877940-01     D.G.            Strategic Medical Initiatives PC               99215            10/30/2018         1          $148.69
0517877940-01     D.G.            Strategic Medical Initiatives PC               20999            11/27/2018         2         $1,950.00
0518042239-02     G.R.            Strategic Medical Initiatives PC               20999            10/25/2018         2         $1,400.00


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           Representative Sample of Unpaid No-fault Claims that Form the Basis of Plaintiffs' Request for Declaratory Relief
                Claimant                                                     Billing Code       Dates of            # of       Amount
  Claim No.      Initials                    Provider                            Used           Service             Units      Pending
0518042239-02     G.R.            Strategic Medical Initiatives PC               20999         10/11/2018            2         $1,400.00
0518042239-02     G.R.            Strategic Medical Initiatives PC               20999         10/18/2018            2         $1,400.00
0518042239-02     G.R.            Strategic Medical Initiatives PC               20999         11/01/2018            2         $1,400.00
0518042239-02     G.R.            Strategic Medical Initiatives PC               20999         11/15/2018            2         $1,400.00
0518042239-04     M.W.            Strategic Medical Initiatives PC               20999         10/25/2018            2         $1,225.00
0518042239-04     M.W.            Strategic Medical Initiatives PC               20999         10/18/2018            2         $1,400.00
0518042239-04     M.W.            Strategic Medical Initiatives PC               20999         10/11/2018            2         $1,225.00
0518042239-04     M.W.            Strategic Medical Initiatives PC               20999         11/01/2018            2         $1,400.00
0518111661-01      J.A.           Strategic Medical Initiatives PC               20999         11/16/2018            2         $1,950.00
0518111661-02     D.M.            Strategic Medical Initiatives PC               20999         11/16/2018            2         $1,750.00
0520607029-02      J.H.           Strategic Medical Initiatives PC               20999         11/23/2018            2         $1,400.00
0521584268-01     L.A.            Strategic Medical Initiatives PC               20999         10/31/2018            2         $1,400.00
0522482363-05      J.E.           Strategic Medical Initiatives PC               20999         10/17/2018            2         $1,400.00
0522482363-05      J.E.           Strategic Medical Initiatives PC               20999         10/31/2018            2         $1,200.00
0523616068-12      J.F.           Strategic Medical Initiatives PC               20999         11/20/2018            2         $1,400.00
0524615119-02     N.S.            Strategic Medical Initiatives PC               99244         11/25/2018            1          $236.94
0524615119-02     N.S.            Strategic Medical Initiatives PC               20999         11/28/2018            2         $1,400.00




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                C.P.




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                M.J.F.




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             M.J.F.




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          J.L.




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                        C.W.




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                B.A.M.




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            B.A.M.




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           F.P.




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          B.A.




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     B.G.




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        P.F.




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           J.L.




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          J.C.




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          E.I.




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          B.S.




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     M.L.




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     P.G.




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        A.P.




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         M.T.




                                                               M.T.




                                                               M.T.




                                                               M.T.




                                                               M.T.




                                                                  M.T.




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            M.T.




                                                                M.T.




                                                                M.T.




                                                                 M.T.




                                                                M.T.




                                                                 M.T.




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        M.T.




                                                               M.T.




                                                               M.T.




                                                               M.T.




                                                                M.T.




                                                                M.T.




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          M.L.




                                                               M.L.




                                                               M.L.




                                                               M.L.




                                                                M.L.




                                                               M.L.




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         M.L.




                                                               M.L.




                                                              M.L.




                                                                M.L.




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         P.G.




                                                                      P.G.




                                                               P.G.




                                                               P.G.




                                                                      P.G.




                                                                        P.G.




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         P.G.




                                                                 P.G.




                                                                 P.G.




                                                                   P.G.




                                                                   P.G.




                                                                  P.G.




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          P.G.




                                                                  P.G.




                                                                 P.G.




                                                                P.G.




                                                                P.G.




                                                                  P.G.




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           A.P.




                                                                    A.P.




                                                                    A.P.




                                                                       A.P.




                                                                           A.P.




                                                                      A.P.




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            A.P.




                                                                   A.P.




                                                                    A.P.




                                                                    A.P.




                                                                    A.P.




                                                                     A.P.




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          A.P.




                                                                   A.P.




                                                                      A.P.




                                                                      A.P.




                                                                      A.P.




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      R.D.




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     B.M.




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       D.S.




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       Z.S.




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        N.P.




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                     EXHIBIT “8”
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      S.B.




             S.B.




             S.B.




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        S.B.




               S.B.




               S.B.




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       S.B.




              S.B.




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         D.S.




                D.S.




                D.S.




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      D.S.




             D.S.




              D.S.




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   J.P.




                 J.P.




          J.P.




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              P.G.




       P.G.




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           P.G.




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            J.L.




 J.L.




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           F.P.




F.P.




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      A.S.




             A.S.




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           G.L.




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         F.E.




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                                    #: 794




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Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 383 of 449 PageID
                                    #: 795




         F.P.




                                    11 of 20                          Exhibit 10
Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 384 of 449 PageID
                                    #: 796




                                    12 of 20                          Exhibit 10
Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 385 of 449 PageID
                                    #: 797




                                    13 of 20                          Exhibit 10
Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 386 of 449 PageID
                                    #: 798




                                    14 of 20                          Exhibit 10
Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 387 of 449 PageID
                                    #: 799




                                    15 of 20                          Exhibit 10
Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 388 of 449 PageID
                                    #: 800




            I.E.




                                    16 of 20                          Exhibit 10
Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 389 of 449 PageID
                                    #: 801




                                    17 of 20                          Exhibit 10
Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 390 of 449 PageID
                                    #: 802




                                    18 of 20                          Exhibit 10
Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 391 of 449 PageID
                                    #: 803




                                    19 of 20                          Exhibit 10
Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 392 of 449 PageID
                                    #: 804




                                    20 of 20                          Exhibit 10
Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 393 of 449 PageID
                                    #: 805




                     EXHIBIT “11”
                 J.B.
Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 394 of 449 PageID
                                    #: 806




                                         J.B.




                                        J.B.




                                  J.B.




                                 J.B.




                                  J.B.




                                         1 of 11                      Exhibit 11
Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 395 of 449 PageID
              M.J.                  #: 807




                                        M.J.




                                 M.J.




                                   M.J.




                                 M.J.




                                M.J.




                                        2 of 11                       Exhibit 11
Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 396 of 449 PageID
             M.J.                   #: 808




                                M.J.




                                M.J.




                                M.J.




                                M.J.




                                M.J.




                                       3 of 11                        Exhibit 11
Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 397 of 449 PageID
            M.J.                    #: 809




                                 M.J.




                               M.J.




                               M.J.




                              M.J.




                              M.J.




                                        4 of 11                       Exhibit 11
Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 398 of 449 PageID
                 Z.S.               #: 810




                                    Z.S.




                                     Z.S.




                                    Z.S.




                                    Z.S.




                                   Z.S.




                                     5 of 11                          Exhibit 11
Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 399 of 449 PageID
                Z.S.                #: 811




                                    Z.S.




                                    Z.S.




                                   Z.S.




                                   Z.S.




                                    Z.S.




                                     6 of 11                          Exhibit 11
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                                    #: 812
                   Z.S.




                                    Z.S.




                                   Z.S.




                                     7 of 11                          Exhibit 11
Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 401 of 449 PageID
          D.S.                      #: 813




                 D.S.




                 D.S.




                 D.S.




                  D.S.




                    D.S.




                                     8 of 11                          Exhibit 11
Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 402 of 449 PageID
            D.S.                    #: 814




                   D.S.




              D.S.




              D.S.




                   D.S.




                    D.S.




                                     9 of 11                          Exhibit 11
Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 403 of 449 PageID
             S.M.                   #: 815




                    S.M.




                    S.M.




               S.M.




                    S.M.




                    S.M.




                                    10 of 11                          Exhibit 11
Case 1:22-cv-04441-SJB-VMS    Document 1-4 Filed 07/28/22   Page 404 of 449 PageID
              S.M.                   #: 816




                S.M.




                       S.M.




                S.M.




               S.M.




                                     11 of 11                          Exhibit 11
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                                    #: 817




                     EXHIBIT “12”
Case 1:22-cv-04441-SJB-VMS         Document 1-4 Filed 07/28/22          Page 406 of 449 PageID
                                          #: 818

                                Allstate Ins. Co., et al. v. Rybak, et al.
      Representative Sample of Fraudulent Claims for Cupping Billed under Billing Code 99199
                                                           Billing
                Claimant                                                    Dates of           # of
 Claim No.                           Provider              Code
                 Initials                                                   Service            Units
                                                            Used
0268725595-06     D.P.      Charles Deng Acupuncture PC    99199           02/21/2013             1
0268725595-06     D.P.      Charles Deng Acupuncture PC    99199     04/04/2013-04/05/2013        2
0269624242-03     O.C.      Charles Deng Acupuncture PC    99199           04/01/2013             1
0283577740-02     J.A.      Charles Deng Acupuncture PC    99199     07/23/2013-07/26/2013        3
0283577740-03     M.M.      Charles Deng Acupuncture PC    99199     06/13/2013-06/28/2013        5
0283577740-03     M.M.      Charles Deng Acupuncture PC    99199     07/23/2013-07/26/2013        3
0288265572-02     A.F.      Charles Deng Acupuncture PC    99199     05/17/2013-06/06/2013        7
0288265572-02     A.F.      Charles Deng Acupuncture PC    99199     06/12/2013-07/08/2013        7
0288265572-02     A.F.      Charles Deng Acupuncture PC    99199     06/12/2013-07/09/2013        6
0288265572-02     A.F.      Charles Deng Acupuncture PC    99199     08/05/2013-08/27/2013        7
0293324331-02     D.M.      Charles Deng Acupuncture PC    99199     07/22/2013-07/25/2013        3
0293324331-02     D.M.      Charles Deng Acupuncture PC    99199     08/02/2013-08/27/2013        8
0294866694-01     J.B.      Charles Deng Acupuncture PC    99199     08/05/2013-08/23/2013        6
0431774421-04     M.J.      Charles Deng Acupuncture PC    99199     02/14/2017-03/06/2017        4
0436499486-02     S.M.      Charles Deng Acupuncture PC    99199     02/23/2017-03/03/2017        3
0288265572-02     A.F.           Charles Deng L.Ac.        99199     09/03/2013-09/27/2013       11
0288265572-02     A.F.           Charles Deng L.Ac.        99199           10/16/2013             1
0288265572-02     A.F.           Charles Deng L.Ac.        99199     10/22/2013-11/07/2013        6
0288265572-02     A.F.           Charles Deng L.Ac.        99199           11/20/2013             1
0294866694-01     J.B.           Charles Deng L.Ac.        99199     08/27/2013-09/17/2013        4
0296244239-02     B.H.           Charles Deng L.Ac.        99199     08/21/2013-09/26/2013       13
0296244239-02     B.H.           Charles Deng L.Ac.        99199     10/01/2013-10/10/2013        3
0296244239-02     B.H.           Charles Deng L.Ac.        99199     10/22/2013-11/08/2013        4
0296244239-02     B.H.           Charles Deng L.Ac.        99199     11/21/2013-12/10/2013        4
0298350612-01     N.P.           Charles Deng L.Ac.        99199     09/05/2013-09/27/2013        8
0298350612-01     N.P.           Charles Deng L.Ac.        99199     10/01/2013-10/17/2013        7
0298350612-01     N.P.           Charles Deng L.Ac.        99199     10/28/2013-11/07/2013        5
0298350612-01     N.P.           Charles Deng L.Ac.        99199     11/12/2013-12/09/2013        7
0298350612-01     N.P.           Charles Deng L.Ac.        99199           12/13/2013             1
0302803937-04     A.S.           Charles Deng L.Ac.        99199     10/29/2013-11/08/2013        6
0302803937-04     A.S.           Charles Deng L.Ac.        99199     11/13/2013-12/10/2013        8
0302803937-04     A.S.           Charles Deng L.Ac.        99199     01/02/2014-01/06/2014        2
0302803937-04     A.S.           Charles Deng L.Ac.        99199           01/13/2014             1
0302803937-04     A.S.           Charles Deng L.Ac.        99199     04/01/2014-04/02/2014        2
0303475743-01     M.G.           Charles Deng L.Ac.        99199     10/30/2013-11/07/2013        4
0303475743-01     M.G.           Charles Deng L.Ac.        99199           11/22/2013             1
0303475743-01     M.G.           Charles Deng L.Ac.        99199     12/20/2013-01/03/2014        2
0303475743-01     M.G.           Charles Deng L.Ac.        99199     01/17/2014-01/31/2014        3
0315420661-02     L.S.           Charles Deng L.Ac.        99199     01/29/2014-02/19/2014       10
0315420661-02     L.S.           Charles Deng L.Ac.        99199     02/17/2014-03/10/2014        5
0315420661-02     L.S.           Charles Deng L.Ac.        99199     03/19/2014-04/04/2014        6
0315420661-02     L.S.           Charles Deng L.Ac.        99199     05/16/2014-05/23/2014        4


                                                1 of 3                                       Exhibit 12
Case 1:22-cv-04441-SJB-VMS         Document 1-4 Filed 07/28/22          Page 407 of 449 PageID
                                          #: 819

                                Allstate Ins. Co., et al. v. Rybak, et al.
      Representative Sample of Fraudulent Claims for Cupping Billed under Billing Code 99199
                                                           Billing
                Claimant                                                    Dates of           # of
 Claim No.                          Provider               Code
                 Initials                                                   Service            Units
                                                            Used
0319843156-02     J.P.          Charles Deng L.Ac.         99199     03/28/2014-04/04/2014        3
0319843156-02     J.P.          Charles Deng L.Ac.         99199     04/09/2014-04/25/2014        3
0319843156-02     J.P.          Charles Deng L.Ac.         99199     06/03/2014-06/09/2014        3
0324099315-01     J.G.          Charles Deng L.Ac.         99199     05/01/2014-05/20/2014        6
0324099315-01     J.G.          Charles Deng L.Ac.         99199           06/02/2014             1
0324099315-01     J.G.          Charles Deng L.Ac.         99199     07/16/2014-07/17/2014        2
0326267416-10     L.G.          Charles Deng L.Ac.         99199     05/23/2014-05/27/2014        2
0326267416-10     L.G.          Charles Deng L.Ac.         99199     06/02/2014-06/13/2014        3
0326267416-10     L.G.          Charles Deng L.Ac.         99199           06/30/2014             1
0333596995-01     M.J.          Charles Deng L.Ac.         99199     09/16/2014-10/06/2014       10
0333596995-01     M.J.          Charles Deng L.Ac.         99199     10/13/2014-11/10/2014       11
0336215595-02     L.B.          Charles Deng L.Ac.         99199     08/26/2014-09/09/2014        4
0336215595-02     L.B.          Charles Deng L.Ac.         99199     09/19/2014-10/08/2014        5
0336215595-02     L.B.          Charles Deng L.Ac.         99199     10/14/2014-11/05/2014        6
0340022847-01     J.M.          Charles Deng L.Ac.         99199     09/09/2014-10/03/2014        7
0340022847-01     J.M.          Charles Deng L.Ac.         99199     10/04/2014-11/10/2014       10
0340022847-01     J.M.          Charles Deng L.Ac.         99199     11/17/2014-12/10/2014        8
0340022847-01     J.M.          Charles Deng L.Ac.         99199     12/12/2014-12/16/2014        2
0342499539-01     J.R.          Charles Deng L.Ac.         99199     11/19/2014-12/10/2014        4
0342499539-01     J.R.          Charles Deng L.Ac.         99199     02/27/2015-03/09/2015        3
0342499539-01     J.R.          Charles Deng L.Ac.         99199     03/18/2015-04/08/2015        5
0374124246-03     P.G.          Charles Deng L.Ac.         99199     05/29/2015-07/13/2015       10
0374124246-03     P.G.          Charles Deng L.Ac.         99199     07/23/2015-08/06/2015        5
0374512275-02     B.S.          Charles Deng L.Ac.         99199     06/29/2015-07/17/2015       10
0374512275-02     B.S.          Charles Deng L.Ac.         99199     09/01/2015-09/14/2015        3
0374512275-03     Z.S.          Charles Deng L.Ac.         99199     08/05/2015-08/27/2015        5
0374512275-03     Z.S.          Charles Deng L.Ac.         99199     09/01/2015-09/14/2015        3
0374553048-02     E.F.          Charles Deng L.Ac.         99199     07/08/2015-07/30/2015       10
0374553048-02     E.F.          Charles Deng L.Ac.         99199     08/10/2015-08/27/2015        9
0374553048-02     E.F.          Charles Deng L.Ac.         99199     09/14/2015-09/17/2015        2
0398385996-02     F.P.          Charles Deng L.Ac.         99199     01/11/2016-01/18/2016        5
0398385996-02     F.P.          Charles Deng L.Ac.         99199     01/20/2016-02/16/2016       11
0398385996-02     F.P.          Charles Deng L.Ac.         99199     02/19/2016-03/14/2016        8
0411304496-01     I.L.          Charles Deng L.Ac.         99199     05/04/2016-05/16/2016        5
0411304496-01     I.L.          Charles Deng L.Ac.         99199     05/24/2016-06/15/2016        8
0411304496-01     I.L.          Charles Deng L.Ac.         99199     06/16/2016-07/08/2016        4
0411304496-02     J.L.          Charles Deng L.Ac.         99199     04/21/2016-05/12/2016        6
0411304496-02     J.L.          Charles Deng L.Ac.         99199     05/24/2016-06/10/2016        7
0411304496-02     J.L.          Charles Deng L.Ac.         99199     06/16/2016-07/07/2016        3
0411304496-02     J.L.          Charles Deng L.Ac.         99199     07/13/2016-07/27/2016        3
0411304496-02     J.L.          Charles Deng L.Ac.         99199     09/07/2016-09/08/2016        2
0431774421-03     D.S.          Charles Deng L.Ac.         99199     11/02/2016-11/28/2016        6


                                               2 of 3                                        Exhibit 12
Case 1:22-cv-04441-SJB-VMS         Document 1-4 Filed 07/28/22          Page 408 of 449 PageID
                                          #: 820

                                Allstate Ins. Co., et al. v. Rybak, et al.
      Representative Sample of Fraudulent Claims for Cupping Billed under Billing Code 99199
                                                           Billing
                Claimant                                                    Dates of           # of
 Claim No.                          Provider               Code
                 Initials                                                   Service            Units
                                                            Used
0431774421-04     M.J.          Charles Deng L.Ac.         99199     11/02/2016-11/29/2016       6
0431774421-04     M.J.          Charles Deng L.Ac.         99199     02/06/2017-02/13/2017       3
0431774421-05     M.T.          Charles Deng L.Ac.         99199     11/02/2016-11/28/2016       5
0431774421-05     M.T.          Charles Deng L.Ac.         99199     11/30/2016-12/27/2016       6
0434546750-02     S.B.          Charles Deng L.Ac.         99199     10/19/2016-11/09/2016       5
0434546750-11     E.I.          Charles Deng L.Ac.         99199     01/04/2016-11/11/2016       5
0434546750-11     E.I.          Charles Deng L.Ac.         99199     11/23/2016-11/28/2016       2
0434546750-11     E.I.          Charles Deng L.Ac.         99199     11/29/2016-12/12/2016       3
0436499486-02     S.M.          Charles Deng L.Ac.         99199           11/28/2016            1
0436499486-02     S.M.          Charles Deng L.Ac.         99199     12/07/2016-12/15/2016       3
0436499486-02     S.M.          Charles Deng L.Ac.         99199     01/24/2017-02/03/2017       3




                                               3 of 3                                        Exhibit 12
Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 409 of 449 PageID
                                    #: 821




                     EXHIBIT “13”
Case 1:22-cv-04441-SJB-VMS        Document 1-4 Filed 07/28/22         Page 410 of 449 PageID
                                         #: 822

                              Allstate Ins. Co., et al. v. Rybak, et al.
  Representative Sample of Submitted Claims where Provider Purportedly Performed NCV Testing
                                      Without EMG Testing
                                                         Billing
                Claimant                                                 Dates of        # of
 Claim No.                          Provider             Code
                 Initials                                                Service         Units
                                                          Used
0434546750-02     S.B.         KP Medical Care PC        95903          10/31/2016         1
0434546750-02     S.B.         KP Medical Care PC        95904          10/31/2016         1
0434546750-02     S.B.         KP Medical Care PC        95903          11/03/2016         1
0434546750-02     S.B.         KP Medical Care PC        95904          11/03/2016         1
0431774421-01     J.C.      Allay Medical Services PC    95903          10/27/2016         1
0431774421-01     J.C.      Allay Medical Services PC    95904          10/27/2016         1
0374553048-02     E.F.      Allay Medical Services PC    95903          07/13/2015         1
0374553048-02     E.F.      Allay Medical Services PC    95904          07/13/2015         1
0374553048-02     E.F.         Ksenia Pavlova DO         95903          07/23/2015         1
0374553048-02     E.F.         Ksenia Pavlova DO         95904          07/23/2015         1
0380809228-07     B.G.      Allay Medical Services PC    95903          09/25/2015         1
0380809228-07     B.G.      Allay Medical Services PC    95904          09/25/2015         1
0380809228-07     B.G.         Ksenia Pavlova DO         95903          10/15/2015         1
0380809228-07     B.G.         Ksenia Pavlova DO         95904          10/15/2015         1
0434546750-11     E.I.         KP Medical Care PC        95903          11/15/2016         1
0434546750-11     E.I.         KP Medical Care PC        95904          11/15/2016         1
0431774421-04     M.J.      Allay Medical Services PC    95903          10/24/2016         1
0431774421-04     M.J.      Allay Medical Services PC    95904          10/24/2016         1
0411304496-01     I.L.        PFJ Medical Care PC        95903          05/16/2016         1
0411304496-01     I.L.        PFJ Medical Care PC        95904          05/16/2016         1
0411304496-01     I.L.        PFJ Medical Care PC        95903          06/01/2016         1
0411304496-01     I.L.        PFJ Medical Care PC        95904          06/01/2016         1
0436499486-02     S.M.         KP Medical Care PC        95903          11/28/2016         1
0436499486-02     S.M.         KP Medical Care PC        95904          11/28/2016         1
0374512275-02     B.S.      Allay Medical Services PC    95903          07/16/2015         1
0374512275-02     B.S.      Allay Medical Services PC    95904          07/16/2015         1
0374512275-02     B.S.      Allay Medical Services PC    95903          07/17/2015         1
0374512275-02     B.S.      Allay Medical Services PC    95904          07/17/2015         1
0374512275-03     Z.S.      Allay Medical Services PC    95903          07/17/2015         1
0374512275-03     Z.S.      Allay Medical Services PC    95904          07/17/2015         1
0431774421-05     M.T.      Allay Medical Services PC    95903          10/24/2016         1
0431774421-05     M.T.      Allay Medical Services PC    95904          10/24/2016         1
0431774421-05     M.T.         Ksenia Pavlova DO         95903          10/17/2016         1
0380809228-05     T.T.      Allay Medical Services PC    95903          08/31/2015         1
0380809228-05     T.T.      Allay Medical Services PC    95904          08/31/2015         1
0380809228-05     T.T.      Allay Medical Services PC    95903          09/08/2015         1
0380809228-05     T.T.      Allay Medical Services PC    95904          09/08/2015         1
0439267394-01     R.N.           JPC Medical PC          95903          04/25/2017         1
0439267394-01     R.N.           JPC Medical PC          95904          04/25/2017         1




                                               1 of 1                                  Exhibit 13
Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 411 of 449 PageID
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                     EXHIBIT “14”
Case 1:22-cv-04441-SJB-VMS         Document 1-4 Filed 07/28/22         Page 412 of 449 PageID
                                          #: 824

                                Allstate Ins. Co., et al. v. Rybak, et al.
Representative Sample of Submitted Claims for EMG Testing where Provider Diagnosed Radiculopathy

                                                          Billing
                Claimant                                                  Dates of         # of
  Claim No.                         Provider              Code
                 Initials                                                 Service          Units
                                                           Used
0431774421-04     M.J.         KP Medical Care PC         95861          11/14/2016          1
0436499486-02     S.M.         KP Medical Care PC         95861          12/07/2016          1
0431774421-05     M.T.         KP Medical Care PC         95861          11/14/2016          1
0431259696-05     I.G.          JPC Medical PC            95886          01/26/2017          1
0434552568-02     A.J.          JPC Medical PC            95886          02/16/2017          1
0436367817-03     M.K.          JPC Medical PC            95886          01/31/2017          1
0436730963-06     R.N.          JPC Medical PC            95886          02/02/2017          1
0438641714-03     P.W.          JPC Medical PC            95886          04/13/2017          1
0449854487-02     L.W.          JPC Medical PC            95886          04/25/2017          1
0441705449-03     M.T.          JPC Medical PC            95886          03/07/2017          1




                                               1 of 1                                    Exhibit 14
Case 1:22-cv-04441-SJB-VMS   Document 1-4 Filed 07/28/22   Page 413 of 449 PageID
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                     EXHIBIT “15”
Case 1:22-cv-04441-SJB-VMS         Document 1-4 Filed 07/28/22         Page 414 of 449 PageID
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                              Allstate Ins. Co., et al. v. Rybak, et al.
 Representative Sample of Submitted Claims for EMG Testing where Provider Diagnosed Multi-level
                                          Radiculopathy
                                                          Billing
                Claimant                                                  Dates of         # of
 Claim No.                          Provider              Code
                 Initials                                                 Service          Units
                                                           Used
0431774421-04     M.J.         KP Medical Care PC         95861          11/14/2016          1
0436499486-02     S.M.         KP Medical Care PC         95861          12/07/2016          1
0431774421-05     M.T.         KP Medical Care PC         95861          11/14/2016          1
0431259696-05     I.G.          JPC Medical PC            95886          01/26/2017          1
0434552568-02     A.J.          JPC Medical PC            95886          02/16/2017          1
0436367817-03     M.K.          JPC Medical PC            95886          01/31/2017          1
0436730963-06     R.N.          JPC Medical PC            95886          02/02/2017          1
0438641714-03     P.W.          JPC Medical PC            95886          04/13/2017          1
0449854487-02     L.W.          JPC Medical PC            95886          04/25/2017          1
0441705449-03     M.T.          JPC Medical PC            95886          03/07/2017          1




                                               1 of 1                                    Exhibit 15
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                     EXHIBIT “16”
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                               Allstate Ins. Co., et al. v. Rybak, et al.
   Representative Sample of Submitted Claims for EMG Testing where Provider Diagnosed Bilateral
                                           Radiculopathy
                                                                Billing
                Claimant                                                   Dates of          # of
  Claim No.                          Provider                    Code
                 Initials                                                  Service          Units
                                                                 Used
0431774421-04      M.J.         KP Medical Care PC               95861    11/14/2016           1
0436499486-02     S.M.          KP Medical Care PC               95861    12/07/2016           1
0431774421-05     M.T.          KP Medical Care PC               95861    11/14/2016           1
0434552568-02      A.J.           JPC Medical PC                 95886    02/16/2017           1
0436367817-03     M.K.            JPC Medical PC                 95886    01/31/2017           1
0436730963-06     R.N.            JPC Medical PC                 95886    02/02/2017           1
0449854487-02     L.W.            JPC Medical PC                 95886    04/25/2017           1
0441705449-03     M.T.            JPC Medical PC                 95886    03/07/2017           1




                                              1 of 1                                     Exhibit 16
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                     EXHIBIT “17”
Case 1:22-cv-04441-SJB-VMS            Document 1-4 Filed 07/28/22               Page 418 of 449 PageID
                                             #: 830

                                Allstate Ins. Co., et al. v. Rybak, et al.
             Representative Sample of Fraudulent Claims for pf-NCS Testing Billed under
                                  Billing Code 95904 and/or 95999
                                                                      Billing
                Claimant                                                             Dates of      # of
 Claim No.                                Provider                    Code
                 Initials                                                            Service       Units
                                                                       Used
0434546750-02     S.B.                ACH Chiropractic PC             95904         10/27/2016       1
0434546750-11     E.I.                ACH Chiropractic PC             95904         11/04/2016       1
0446478414-02     B.M.                ACH Chiropractic PC             95904         04/06/2017       1
0478186786-02     M.L.                ACH Chiropractic PC             95904         12/06/2017       1
0478186786-02     M.L.                ACH Chiropractic PC             95904         12/06/2017       1
0478186786-03     P.O.                ACH Chiropractic PC             95904         10/31/2017       1
0478186786-03     P.O.                ACH Chiropractic PC             95904         10/31/2017       1
0478186786-08     S.P.                ACH Chiropractic PC             95904         11/21/2017       1
0478186786-08     S.P.                ACH Chiropractic PC             95904         11/21/2017       1
0492252812-02     S.B.                ACH Chiropractic PC             95904         04/09/2018       1
0492252812-02     S.B.                ACH Chiropractic PC             95904         04/09/2018       1
0496020934-01     E.D.                ACH Chiropractic PC             95904         04/09/2018       1
0496020934-01     E.D.                ACH Chiropractic PC             95904         04/09/2018       1
0496020934-04     J.N.                ACH Chiropractic PC             95904         04/09/2018       1
0505336941-02     P.G.               Energy Chiropractic PC           95904         08/22/2018       1
0505336941-02     P.G.               Energy Chiropractic PC           95904         08/22/2018       1
0505336941-05     E.K.               Energy Chiropractic PC           95904         07/11/2018       1
0505336941-05     E.K.               Energy Chiropractic PC           95904         07/11/2018       1
0211701685-05     J.L.      Island Life Chiropractic Pain Care PLLC   95999         12/07/2011       1
0211701685-05     J.L.      Island Life Chiropractic Pain Care PLLC   95999         12/07/2011       1
0212571806-03     A.D.      Island Life Chiropractic Pain Care PLLC   95999         10/12/2011       1
0212571806-03     A.D.      Island Life Chiropractic Pain Care PLLC   95999         10/12/2011       1
0217120120-03     Y.B.      Island Life Chiropractic Pain Care PLLC   95999         10/12/2011       1
0217120120-03     Y.B.      Island Life Chiropractic Pain Care PLLC   95999         10/12/2011       1
0223443532-05     R.M.      Island Life Chiropractic Pain Care PLLC   95999         11/23/2011       1
0230271157-06     R.M.      Island Life Chiropractic Pain Care PLLC   95999         03/27/2012       1
0230710758-01     M.G.      Island Life Chiropractic Pain Care PLLC   95999         12/21/2011       1
0231928466-01     G.M.      Island Life Chiropractic Pain Care PLLC   95999         01/25/2012       1
0231928466-01     G.M.      Island Life Chiropractic Pain Care PLLC   95999         01/25/2012       1
0231928466-01     G.M.      Island Life Chiropractic Pain Care PLLC   95999         01/25/2012       1
0232367730-09     S.J.      Island Life Chiropractic Pain Care PLLC   95999         02/24/2012       1
0232442087-03     A.L.      Island Life Chiropractic Pain Care PLLC   95999         01/25/2012       1
0232442087-03     A.L.      Island Life Chiropractic Pain Care PLLC   95999         01/25/2012       1
0236474912-03     T.N.      Island Life Chiropractic Pain Care PLLC   95999         03/07/2012       1
0236474912-03     T.N.      Island Life Chiropractic Pain Care PLLC   95999         03/07/2012       1
0237989108-03     E.E.      Island Life Chiropractic Pain Care PLLC   95999         03/27/2012       1
0237989108-03     E.E.      Island Life Chiropractic Pain Care PLLC   95999         03/27/2012       1
0240366203-03     O.L.      Island Life Chiropractic Pain Care PLLC   95999         04/17/2012       1
0241444553-05     K.L.      Island Life Chiropractic Pain Care PLLC   95999         04/24/2012       1
0241444553-05     K.L.      Island Life Chiropractic Pain Care PLLC   95999         04/24/2012       1
0246761522-01     D.H.      Island Life Chiropractic Pain Care PLLC   95999         07/24/2012       1


                                                 1 of 2                                          Exhibit 17
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                                Allstate Ins. Co., et al. v. Rybak, et al.
             Representative Sample of Fraudulent Claims for pf-NCS Testing Billed under
                                  Billing Code 95904 and/or 95999
                                                                      Billing
                Claimant                                                             Dates of      # of
 Claim No.                                Provider                    Code
                 Initials                                                            Service       Units
                                                                       Used
0249232133-03     M.M.      Island Life Chiropractic Pain Care PLLC   95999         07/05/2012       1
0249232133-03     M.M.      Island Life Chiropractic Pain Care PLLC   95999         07/05/2012       1
0250464211-01     O.S.      Island Life Chiropractic Pain Care PLLC   95999         06/05/2012       1
0250464211-01     O.S.      Island Life Chiropractic Pain Care PLLC   95999         06/05/2012       1
0253727044-01     G.M.      Island Life Chiropractic Pain Care PLLC   95999         07/31/2012       1
0253727044-04     D.M.      Island Life Chiropractic Pain Care PLLC   95999         07/17/2012       1
0253727044-04     D.M.      Island Life Chiropractic Pain Care PLLC   95999         07/17/2012       1
0256679861-06     J.P.      Island Life Chiropractic Pain Care PLLC   95999         09/19/2012       1
0258075928-01     C.L.      Island Life Chiropractic Pain Care PLLC   95999         09/19/2012       1
0258075928-01     C.L.      Island Life Chiropractic Pain Care PLLC   95999         09/19/2012       1
0259040152-03     R.J.      Island Life Chiropractic Pain Care PLLC   95999         11/01/2012       1
0260066378-01     S.R.      Island Life Chiropractic Pain Care PLLC   95999         11/05/2012       1
0260066378-05     F.C.      Island Life Chiropractic Pain Care PLLC   95999         11/06/2012       1
0261148811-03     E.C.      Island Life Chiropractic Pain Care PLLC   95999         09/26/2012       1
0268725595-01     J.B.      Island Life Chiropractic Pain Care PLLC   95999         12/10/2012       1
0268725595-01     J.B.      Island Life Chiropractic Pain Care PLLC   95999         01/29/2013       1
0283577740-02     J.A.      Island Life Chiropractic Pain Care PLLC   95999         06/05/2013       1
0283577740-02     J.A.      Island Life Chiropractic Pain Care PLLC   95999         06/05/2013       1
0296244239-02     B.H.      Island Life Chiropractic Pain Care PLLC   95999         09/24/2013       1
0296244239-02     B.H.      Island Life Chiropractic Pain Care PLLC   95999         09/24/2013       1
0299585850-02     L.G.      Island Life Chiropractic Pain Care PLLC   95999         02/14/2014       1
0303475743-01     M.G.      Island Life Chiropractic Pain Care PLLC   95999         11/05/2013       1
0303475743-01     M.G.      Island Life Chiropractic Pain Care PLLC   95999         11/05/2013       1
0303475743-01     M.G.      Island Life Chiropractic Pain Care PLLC   95999         11/05/2013       1
0326267416-02     R.F.      Island Life Chiropractic Pain Care PLLC   95999         07/01/2014       1
0326267416-10     L.G.      Island Life Chiropractic Pain Care PLLC   95999         06/05/2014       1
0374512275-02     B.S.      Island Life Chiropractic Pain Care PLLC   95999         07/09/2015       1
0374512275-02     B.S.      Island Life Chiropractic Pain Care PLLC   95999         07/09/2015       1
0374512275-03     Z.S.      Island Life Chiropractic Pain Care PLLC   95999         07/16/2015       1
0374512275-03     Z.S.      Island Life Chiropractic Pain Care PLLC   95999         07/16/2015       1
0374553048-02     E.F.      Island Life Chiropractic Pain Care PLLC   95999         07/21/2015       1
0374553048-02     E.F.      Island Life Chiropractic Pain Care PLLC   95999         07/21/2015       1
0380809228-02     C.A.      Island Life Chiropractic Pain Care PLLC   95999         08/25/2015       1
0380809228-05     T.T.      Island Life Chiropractic Pain Care PLLC   95999         09/28/2015       1
0380809228-06     C.D.      Island Life Chiropractic Pain Care PLLC   95999         08/25/2015       1
0380809228-07     B.G.      Island Life Chiropractic Pain Care PLLC   95999         08/25/2015       1
0398385996-02     F.P.      Island Life Chiropractic Pain Care PLLC   95999         01/14/2016       1
4817002837-02     C.C.      Island Life Chiropractic Pain Care PLLC   95999         02/08/2012       1
4817002837-02     C.C.      Island Life Chiropractic Pain Care PLLC   95999         02/08/2012       1




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                     EXHIBIT “18”
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                               Allstate Ins. Co., et al. v. Rybak, et al.
             Representative Sample of Fraudulent Claims for Muscle Testing Billed under
                                  Billing Code 95831 and/or 95833
                                                            Billing
                Claimant                                                     Dates of       # of
 Claim No.                            Provider              Code
                 Initials                                                    Service        Units
                                                             Used
0374512275-03     Z.S.        Allay Medical Services PC     95831           09/14/2015        1
0374512275-03     Z.S.        Allay Medical Services PC     95833           09/14/2015        1
0374553048-02     E.F.        Allay Medical Services PC     95831           07/09/2015        1
0374553048-02     E.F.        Allay Medical Services PC     95833           07/09/2015        1
0374553048-02     E.F.        Allay Medical Services PC     95831           08/12/2015        1
0374553048-02     E.F.        Allay Medical Services PC     95833           08/12/2015        1
0374553048-02     E.F.        Allay Medical Services PC     95833           11/16/2015        1
0431774421-01     J.C.           KP Medical Care PC         95831           12/05/2016        1
0431774421-01     J.C.           KP Medical Care PC         95833           12/05/2016        1
0431774421-01     J.C.           KP Medical Care PC         95833           02/22/2017        1
0431774421-02     P.C.           KP Medical Care PC         95831           10/31/2016        1
0431774421-02     P.C.           KP Medical Care PC         95833           10/31/2016        1
0431774421-02     P.C.           KP Medical Care PC         95831           11/22/2016        1
0431774421-02     P.C.           KP Medical Care PC         95833           11/22/2016        1
0431774421-02     P.C.           KP Medical Care PC         95831           01/10/2017        1
0431774421-02     P.C.           KP Medical Care PC         95833           01/10/2017        1
0431774421-03     D.S.           KP Medical Care PC         95831           10/31/2016        1
0431774421-03     D.S.           KP Medical Care PC         95833           10/31/2016        1
0431774421-03     D.S.           KP Medical Care PC         95831           12/01/2016        1
0431774421-03     D.S.           KP Medical Care PC         95833           12/01/2016        1
0431774421-04     M.J.           KP Medical Care PC         95831           11/22/2016        1
0431774421-04     M.J.           KP Medical Care PC         95833           11/22/2016        1
0431774421-05     M.T.           KP Medical Care PC         95831           12/12/2016        1
0431774421-05     M.T.           KP Medical Care PC         95833           12/12/2016        1
0431774421-05     M.T.           KP Medical Care PC         95831           01/10/2017        1
0431774421-05     M.T.           KP Medical Care PC         95833           01/10/2017        1
0431774421-05     M.T.           KP Medical Care PC         95833           02/20/2017        1
0411304496-01     I.L.          PFJ Medical Care PC         95831           05/05/2016        1
0411304496-01     I.L.          PFJ Medical Care PC         95833           05/05/2016        1
0411304496-01     I.L.          PFJ Medical Care PC         95831           06/10/2016        1
0411304496-01     I.L.          PFJ Medical Care PC         95833           06/10/2016        1
0411304496-02     J.L.          PFJ Medical Care PC         95831           06/10/2016        1
0411304496-02     J.L.          PFJ Medical Care PC         95833           06/10/2016        1
0411304496-02     J.L.          PFJ Medical Care PC         95831           09/07/2016        1
0411304496-02     J.L.          PFJ Medical Care PC         95833           09/07/2016        1




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                     EXHIBIT “19”
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                                Allstate Ins. Co., et al. v. Rybak, et al.
       Representative Sample of Fraudulent Claims for Physical Capacity Testing Billed under
                                          Billing Code 97750
                                                            Billing
                Claimant                                                    Dates of             # of
 Claim No.                           Provider               Code
                 Initials                                                   Service              Units
                                                             Used
0374124246-03     P.G.       Allay Medical Services PC      97750          07/27/2015              1
0374512275-02     B.S.       Allay Medical Services PC      97750          07/27/2015              1
0374512275-02     B.S.       Allay Medical Services PC      97750          08/27/2015              1
0374512275-02     B.S.       Allay Medical Services PC      97750          12/15/2015              1
0374512275-03     Z.S.       Allay Medical Services PC      97750          07/22/2015              1
0374512275-03     Z.S.       Allay Medical Services PC      97750          08/27/2015              1
0374512275-03     Z.S.       Allay Medical Services PC      97750          10/12/2015              1
0374512275-03     Z.S.       Allay Medical Services PC      97750          12/15/2015              1
0374553048-02     E.F.       Allay Medical Services PC      97750          08/10/2015              1
0374553048-02     E.F.       Allay Medical Services PC      97750          09/02/2015              1
0374553048-02     E.F.       Allay Medical Services PC      97750          10/15/2015              1
0374553048-02     E.F.       Allay Medical Services PC      97750          11/30/2015              1
0380809228-02     C.A.       Allay Medical Services PC      97750          11/24/2015              1
0380809228-02     C.A.       Allay Medical Services PC      97750          12/22/2015              1
0380809228-02     C.A.       Allay Medical Services PC      97750          12/22/2015              1
0380809228-05     T.T.       Allay Medical Services PC      97750          09/08/2015              1
0380809228-05     T.T.       Allay Medical Services PC      97750          10/26/2015              1
0380809228-06     C.D.       Allay Medical Services PC      97750          08/25/2015              1
0380809228-07     B.G.       Allay Medical Services PC      97750          10/15/2015              1
0380809228-07     B.G.       Allay Medical Services PC      97750          12/01/2015              1
0411304496-01     I.L.       Allay Medical Services PC      97750          10/27/2016              1
0431774421-01     J.C.       Allay Medical Services PC      97750          10/27/2016              1
0446478414-02     B.M.       JPF Medical Services PC        97750          03/17/2017              1
0431774421-01     J.C.          KP Medical Care PC          97750          01/03/2017              1
0431774421-01     J.C.          KP Medical Care PC          97750          02/27/2017              1
0431774421-02     P.C.          KP Medical Care PC          97750          11/14/2016              1
0431774421-02     P.C.          KP Medical Care PC          97750          01/23/2017              1
0431774421-03     D.S.          KP Medical Care PC          97750          01/10/2017              1
0431774421-03     D.S.          KP Medical Care PC          97750          02/13/2017              1
0431774421-04     M.J.          KP Medical Care PC          97750          01/10/2017              1
0431774421-05     M.T.          KP Medical Care PC          97750          12/19/2016              1
0431774421-05     M.T.          KP Medical Care PC          97750          01/23/2017              1
0434546750-11     E.I.          KP Medical Care PC          97750          11/17/2016              1
0434546750-11     E.I.          KP Medical Care PC          97750          12/19/2016              1
0374512275-02     B.S.          Ksenia Pavlova DO           97750          10/05/2015              1
0374512275-03     Z.S.          Ksenia Pavlova DO           97750          09/22/2015              1
0374512275-03     Z.S.          Ksenia Pavlova DO           97750          09/22/2015              1
0374553048-02     E.F.          Ksenia Pavlova DO           97750          07/14/2015              1
0380809228-02     C.A.          Ksenia Pavlova DO           97750          10/08/2015              1
0431774421-02     P.C.          Ksenia Pavlova DO           97750          10/13/2016              1
0431774421-03     D.S.          Ksenia Pavlova DO           97750          10/13/2016              1


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                                Allstate Ins. Co., et al. v. Rybak, et al.
       Representative Sample of Fraudulent Claims for Physical Capacity Testing Billed under
                                          Billing Code 97750
                                                            Billing
                Claimant                                                    Dates of             # of
 Claim No.                           Provider               Code
                 Initials                                                   Service              Units
                                                             Used
0431774421-04     M.J.          Ksenia Pavlova DO           97750          10/13/2016              1
0431774421-05     M.T.          Ksenia Pavlova DO           97750          10/13/2016              1
0431774421-05     M.T.          Ksenia Pavlova DO           97750          02/27/2017              1
0411304496-01     I.L.         PFJ Medical Care PC          97750          05/12/2016              1
0411304496-01     I.L.         PFJ Medical Care PC          97750          06/15/2016              1




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                     EXHIBIT “20”
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                                Allstate Ins. Co., et al. v. Rybak, et al.
 Representative Sample of Fraudulent Claims for Physical Capacity Testing Billed under Billing Codes
            95831, 95833, and/or 95851 Within 30 Days of another Physical Capacity Test
                                                             Billing
                Claimant                                                      Dates of         # of
  Claim No.                           Provider               Code
                 Initials                                                     Service          Units
                                                              Used
0374512275-03     Z.S.        Allay Medical Services PC      95831          09/14/2015           1
0374512275-03     Z.S.        Allay Medical Services PC      95833          09/14/2015           1
0374512275-03     Z.S.        Allay Medical Services PC      95851          09/14/2015           1
0374553048-02     E.F.        Allay Medical Services PC      95831          08/12/2015           1
0374553048-02     E.F.        Allay Medical Services PC      95833          08/12/2015           1
0374553048-02     E.F.        Allay Medical Services PC      95851          08/12/2015           1
0374553048-02     E.F.        Allay Medical Services PC      95833          11/16/2015           1
0374553048-02     E.F.        Allay Medical Services PC      95831          11/16/2015           1
0374553048-02     E.F.        Allay Medical Services PC      95851          11/16/2015           1
0431774421-02     P.C.           KP Medical Care PC          95831          11/22/2016           1
0431774421-02     P.C.           KP Medical Care PC          95833          11/22/2016           1
0431774421-02     P.C.           KP Medical Care PC          95851          11/22/2016           1
0431774421-03     D.S.           KP Medical Care PC          95831          01/23/2017           1
0431774421-03     D.S.           KP Medical Care PC          95833          01/23/2017           1
0431774421-03     D.S.           KP Medical Care PC          95851          01/23/2017           1
0431774421-04     M.J.           KP Medical Care PC          95831          01/23/2017           1
0431774421-04     M.J.           KP Medical Care PC          95833          01/23/2017           1
0431774421-04     M.J.           KP Medical Care PC          95851          01/23/2017           1
0431774421-05     M.T.           KP Medical Care PC          95831          01/10/2017           1
0431774421-05     M.T.           KP Medical Care PC          95833          01/10/2017           1
0431774421-05     M.T.           KP Medical Care PC          95851          01/10/2017           1
0431774421-05     M.T.           KP Medical Care PC          95833          02/20/2017           1
0431774421-05     M.T.           KP Medical Care PC          95851          02/20/2017           1
0431774421-05     M.T.           KP Medical Care PC          95831          02/20/2017           1
0434546750-11     E.I.           KP Medical Care PC          95831          12/12/2016           1
0434546750-11     E.I.           KP Medical Care PC          95833          12/12/2016           1
0434546750-11     E.I.           KP Medical Care PC          95851          12/12/2016           1
0374512275-03     Z.S.           Ksenia Pavlova DO           95831          10/05/2015           1
0374512275-03     Z.S.           Ksenia Pavlova DO           95833          10/05/2015           1
0374512275-03     Z.S.           Ksenia Pavlova DO           95851          10/05/2015           1
0411304496-01     I.L.          PFJ Medical Care PC          95831          06/10/2016           1
0411304496-01     I.L.          PFJ Medical Care PC          95833          06/10/2016           1
0411304496-01     I.L.          PFJ Medical Care PC          95851          06/10/2016           1




                                                 1 of 1                                      Exhibit 20
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                     EXHIBIT “21”
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                               Allstate Ins. Co., et al. v. Rybak, et al.
 Representative Sample of Fraudulent Claims for Physical Capacity Testing Billed under Billing Codes
                                         97001 and/or 97002
                                                             Billing
                Claimant                                                      Dates of         # of
  Claim No.                           Provider               Code
                 Initials                                                     Service          Units
                                                              Used
0374512275-03     Z.S.        Allay Medical Services PC      97002          12/15/2015           1
0380809228-02     C.A.        Allay Medical Services PC      97001          08/19/2015           1
0380809228-05     T.T.        Allay Medical Services PC      97001          08/17/2015           1
0380809228-06     C.D.        Allay Medical Services PC      97001          08/17/2015           1
0380809228-07     B.G.        Allay Medical Services PC      97001          08/17/2015           1
0246761522-01     D.H.         Maria Shiela Masigla PT       97001          06/04/2012           1
0247042302-01     B.B.         Maria Shiela Masigla PT       97001          06/28/2012           1
0247385354-01     J.E.         Maria Shiela Masigla PT       97001          06/07/2012           1
0247385354-03     L.B.         Maria Shiela Masigla PT       97001          06/07/2012           1
0247385354-04     R.K.         Maria Shiela Masigla PT       97001          06/07/2012           1
0247385354-05     R.I.         Maria Shiela Masigla PT       97001          06/07/2012           1
0248229486-03     S.M.         Maria Shiela Masigla PT       97001          06/18/2012           1
0248229486-05     T.M.         Maria Shiela Masigla PT       97001          06/18/2012           1
0249232133-03     M.M.         Maria Shiela Masigla PT       97001          06/27/2012           1
0250464211-01     O.S.         Maria Shiela Masigla PT       97001          05/30/2012           1
0252361290-05     G.T.         Maria Shiela Masigla PT       97001          08/15/2012           1
0253727044-04     D.M.         Maria Shiela Masigla PT       97001          07/03/2012           1
0253727044-14     M.B.         Maria Shiela Masigla PT       97001          07/30/2012           1
0256679861-07     S.C.         Maria Shiela Masigla PT       97001          08/29/2012           1
0257961391-07     M.P.         Maria Shiela Masigla PT       97001          08/27/2012           1
0257961391-13      J.J.        Maria Shiela Masigla PT       97001          08/27/2012           1
0259040152-03     R.J.         Maria Shiela Masigla PT       97001          09/20/2012           1
0259681756-03     T.P.         Maria Shiela Masigla PT       97001          09/24/2012           1
0259686599-02     D.R.         Maria Shiela Masigla PT       97001          09/19/2012           1
0259686599-03     V.C.         Maria Shiela Masigla PT       97001          09/19/2012           1
0259686599-07     L.C.         Maria Shiela Masigla PT       97001          09/21/2012           1
0260066378-01     S.R.         Maria Shiela Masigla PT       97001          09/25/2012           1
0260066378-05     F.C.         Maria Shiela Masigla PT       97001          09/25/2012           1
0261148811-03     E.C.         Maria Shiela Masigla PT       97001          09/20/2012           1
0268725595-01     J.B.         Maria Shiela Masigla PT       97001          12/03/2012           1
0268725595-04     N.A.         Maria Shiela Masigla PT       97001          12/05/2012           1
0269624242-03     O.C.         Maria Shiela Masigla PT       97001          12/12/2012           1
0280378084-12     C.G.         Maria Shiela Masigla PT       97001          04/11/2013           1
0283577740-02     J.A.         Maria Shiela Masigla PT       97001          04/22/2013           1
0283577740-03     M.M.         Maria Shiela Masigla PT       97001          04/22/2013           1
0284992970-03     A.F.         Maria Shiela Masigla PT       97001          05/17/2013           1
0288265572-02     A.F.         Maria Shiela Masigla PT       97001          05/17/2013           1
0288265572-02     A.F.         Maria Shiela Masigla PT       97001          05/17/2013           1
0476244595-03     J.M.         Maria Shiela Masigla PT       97001          10/20/2017           1
0478186786-08     S.P.         Maria Shiela Masigla PT       97002          01/22/2018           1
0482079902-02     S.B.         Maria Shiela Masigla PT       97001          11/14/2017           1


                                                 1 of 2                                      Exhibit 21
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                               Allstate Ins. Co., et al. v. Rybak, et al.
 Representative Sample of Fraudulent Claims for Physical Capacity Testing Billed under Billing Codes
                                         97001 and/or 97002
                                                             Billing
                Claimant                                                      Dates of         # of
  Claim No.                           Provider               Code
                 Initials                                                     Service          Units
                                                              Used
0492252812-02     S.B.        Maria Shiela Masigla PT        97001          02/23/2018           1
0492252812-02     S.B.        Maria Shiela Masigla PT        97002          05/07/2018           1
0496020934-01     E.D.        Maria Shiela Masigla PT        97001          03/26/2018           1
0496020934-04     J.N.        Maria Shiela Masigla PT        97001          03/26/2018           1
0505336941-02     P.G.        Maria Shiela Masigla PT        97001          06/08/2018           1
0505336941-05     E.K.        Maria Shiela Masigla PT        97001          06/08/2018           1
0374512275-02     B.S.        MSB Physical Therapy PC        97002          12/19/2016           1
0411304496-01     I.L.        MSB Physical Therapy PC        97002          10/19/2016           1
0411304496-02     J.L.        MSB Physical Therapy PC        97002          10/19/2016           1
0431774421-01     J.C.        MSB Physical Therapy PC        97001          10/07/2016           1
0431774421-02     P.C.        MSB Physical Therapy PC        97001          10/07/2016           1
0431774421-02     P.C.        MSB Physical Therapy PC        97002          11/01/2016           1
0431774421-02     P.C.        MSB Physical Therapy PC        97002          12/14/2016           1
0431774421-03     D.S.        MSB Physical Therapy PC        97002          11/18/2016           1
0431774421-04     M.J.        MSB Physical Therapy PC        97001          10/07/2016           1
0431774421-04     M.J.        MSB Physical Therapy PC        97002          11/01/2016           1
0431774421-04     M.J.        MSB Physical Therapy PC        97002          12/14/2016           1
0431774421-05     M.T.        MSB Physical Therapy PC        97001          10/07/2016           1
0431774421-05     M.T.        MSB Physical Therapy PC        97002          11/01/2016           1
0434546750-02     S.B.        MSB Physical Therapy PC        97001          10/24/2016           1
0434546750-02     S.B.        MSB Physical Therapy PC        97002          12/07/2016           1
0434546750-11     E.I.        MSB Physical Therapy PC        97001          10/24/2016           1
0434546750-11     E.I.        MSB Physical Therapy PC        97002          11/17/2016           1
0436499486-02     S.M.        MSB Physical Therapy PC        97001          11/18/2016           1
0595435132-01     K.F.        MSB Physical Therapy PC        97001          08/17/2020           1
0597828532-02     A.P.        MSB Physical Therapy PC        97001          08/18/2020           1
0411304496-01     I.L.         PFJ Medical Care PC           97002          09/08/2016           1
0411304496-02     J.L.         PFJ Medical Care PC           97002          09/08/2016           1




                                                 2 of 2                                      Exhibit 21
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                               Allstate Ins. Co., et al. v. Rybak, et al.
Representative Sample of Fraudulent Claims for Somatosensory Evoked Potentials Testing Billed under
                                     Codes 95925 and/or 95926
                                                                      Billing
                Claimant                                                             Dates of       # of
 Claim No.                                Provider                    Code
                 Initials                                                            Service        Units
                                                                       Used
0512214957-01     R.D.               Alford A Smith MD PC             95926         11/29/2018        1
0374512275-02     B.S.             Allay Medical Services PC          95926         07/16/2015        1
0374512275-03     Z.S.             Allay Medical Services PC          95926         07/17/2015        1
0374512275-03     Z.S.             Allay Medical Services PC          95926         07/16/2015        1
0374512275-03     Z.S.             Allay Medical Services PC          95926         07/17/2015        1
0374553048-02     E.F.             Allay Medical Services PC          95926         07/13/2015        1
0380809228-02     C.A.             Allay Medical Services PC          95926         09/04/2015        1
0380809228-02     C.A.             Allay Medical Services PC          95925         09/03/2015        1
0380809228-05     T.T.             Allay Medical Services PC          95925         08/31/2015        1
0380809228-05     T.T.             Allay Medical Services PC          95926         09/08/2015        1
0380809228-06     C.D.             Allay Medical Services PC          95925         09/08/2015        1
0380809228-07     B.G.             Allay Medical Services PC          95925         09/25/2015        1
0380809228-07     B.G.             Allay Medical Services PC          95925         09/25/2015        1
0431774421-01     J.C.             Allay Medical Services PC          95926         10/27/2016        1
0431774421-04     M.J.             Allay Medical Services PC          95926         10/24/2016        1
0342499539-01     J.R.             Francis Joseph Lacina MD           95926         01/19/2015        1
0431774421-02     P.C.                KP Medical Care PC              95926         10/31/2016        1
0434546750-02     S.B.                KP Medical Care PC              95926         11/03/2016        1
0434546750-02     S.B.                KP Medical Care PC              95926         10/31/2016        1
0434546750-11     E.I.                KP Medical Care PC              95926         11/15/2016        1
0434546750-11     E.I.                KP Medical Care PC              95926         11/15/2016        1
0436499486-02     S.M.                KP Medical Care PC              95926         11/28/2016        1
0436499486-02     S.M.                KP Medical Care PC              95926         12/07/2016        1
0374553048-02     E.F.                 Ksenia Pavlova DO              95926         07/23/2015        1
0380809228-07     B.G.                 Ksenia Pavlova DO              95926         10/15/2015        1
0431774421-03     D.S.                 Ksenia Pavlova DO              95926         10/17/2016        1
0431774421-05     M.T.                 Ksenia Pavlova DO              95926         10/17/2016        1
0342499539-01     J.R.      Island Life Chiropractic Pain Care PLLC   95925         01/20/2015        1
0342499539-01     J.R.      Island Life Chiropractic Pain Care PLLC   95926         01/20/2015        1
0411304496-01     I.L.                PFJ Medical Care PC             95926         05/16/2016        1
0411304496-01     I.L.                PFJ Medical Care PC             95926         06/01/2016        1




                                                 1 of 1                                          Exhibit 22
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                     EXHIBIT “23”
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                               Allstate Ins. Co., et al. v. Rybak, et al.
     Representative Sample of Fraudulent Claims for Trigger Point Injections and Dry Needling
                           under Billing Codes 20552, 20553 and 20999
                                                           Billing
                Claimant                                                    Dates of            # of
 Claim No.                          Provider               Code
                 Initials                                                   Service             Units
                                                            Used
0368003091-06     E.J.      Allay Medical Services PC      20553           12/09/2015             1
0368003091-06     E.J.      Allay Medical Services PC      20999           12/09/2015             2
0374512275-02     B.S.      Allay Medical Services PC      20553           12/03/2015             1
0374512275-02     B.S.      Allay Medical Services PC      20999           12/03/2015             2
0375170644-02     M.R.      Allay Medical Services PC      20553           08/27/2015             1
0375170644-02     M.R.      Allay Medical Services PC      20999           08/27/2015             2
0376459327-01     R.G.      Allay Medical Services PC      20553           08/24/2015             1
0376459327-01     R.G.      Allay Medical Services PC      20999           08/24/2015             2
0376459327-01     R.G.      Allay Medical Services PC      20553           11/19/2015             1
0376459327-01     R.G.      Allay Medical Services PC      20999           11/19/2015             2
0376459327-01     R.G.      Allay Medical Services PC      20553           12/03/2015             1
0376459327-01     R.G.      Allay Medical Services PC      20999           12/03/2015             2
0376459327-01     R.G.      Allay Medical Services PC      20553           12/17/2015             1
0376459327-01     R.G.      Allay Medical Services PC      20999           12/17/2015             2
0377982285-02     Z.B.      Allay Medical Services PC      20553           08/25/2015             1
0377982285-02     Z.B.      Allay Medical Services PC      20999           08/25/2015             2
0383954005-01     R.S.      Allay Medical Services PC      20553           10/22/2015             1
0383954005-01     R.S.      Allay Medical Services PC      20999           10/22/2015             2
0386951981-02     T.U.      Allay Medical Services PC      20553           10/13/2015             1
0386951981-02     T.U.      Allay Medical Services PC      20999           10/13/2015             2
0387559552-01     D.D.      Allay Medical Services PC      20553           10/19/2015             1
0387559552-01     D.D.      Allay Medical Services PC      20999           10/19/2015             2
0388149213-04     M.C.      Allay Medical Services PC      20553           10/27/2015             1
0388149213-04     M.C.      Allay Medical Services PC      20999           10/27/2015             2
0389975136-01     J.S.      Allay Medical Services PC      20553           11/04/2015             1
0389975136-01     J.S.      Allay Medical Services PC      20999           11/04/2015             2
0391142502-07     A.F.      Allay Medical Services PC      20553           11/09/2015             1
0391142502-07     A.F.      Allay Medical Services PC      20999           11/09/2015             2
0391142502-07     A.F.      Allay Medical Services PC      20553           11/16/2015             1
0391142502-07     A.F.      Allay Medical Services PC      20999           11/16/2015             2
0391142502-07     A.F.      Allay Medical Services PC      20553           12/07/2015             1
0391142502-07     A.F.      Allay Medical Services PC      20999           12/07/2015             2
0391445368-01     B.C.      Allay Medical Services PC      20553           12/10/2015             1
0391445368-01     B.C.      Allay Medical Services PC      20999           12/10/2015             2
0391674355-01     A.F.      Allay Medical Services PC      20553           12/11/2015             1
0391674355-01     A.F.      Allay Medical Services PC      20999           12/11/2015             2
0391698619-01     D.L.      Allay Medical Services PC      20553           12/23/2015             1
0391698619-01     D.L.      Allay Medical Services PC      20999           12/23/2015             2
0393580955-02     M.L.      Allay Medical Services PC      20553           12/15/2015             1
0393580955-02     M.L.      Allay Medical Services PC      20999           12/15/2015             2
0393819305-01     A.C.      Allay Medical Services PC      20553           12/10/2015             1


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                               Allstate Ins. Co., et al. v. Rybak, et al.
     Representative Sample of Fraudulent Claims for Trigger Point Injections and Dry Needling
                           under Billing Codes 20552, 20553 and 20999
                                                           Billing
                Claimant                                                    Dates of            # of
 Claim No.                          Provider               Code
                 Initials                                                   Service             Units
                                                            Used
0393819305-01     A.C.      Allay Medical Services PC      20999           12/10/2015             2
0393819305-02     L.C.      Allay Medical Services PC      20553           12/10/2015             1
0393819305-02     L.C.      Allay Medical Services PC      20999           12/10/2015             2
0394803431-02     A.D.      Allay Medical Services PC      20553           12/29/2015             1
0394803431-02     A.D.      Allay Medical Services PC      20999           12/29/2015             2
0431774421-02     P.C.      Allay Medical Services PC      20552           10/24/2016             1
0431774421-02     P.C.      Allay Medical Services PC      20999           10/24/2016             2
0462711755-01     D.L.       FJL Medical Services PC       20553           07/20/2017             1
0462711755-01     D.L.       FJL Medical Services PC       20999           07/20/2017             2
0462711755-07     E.S.       FJL Medical Services PC       20553           07/20/2017             1
0462711755-07     E.S.       FJL Medical Services PC       20999           07/20/2017             2
0462711755-08     R.P.       FJL Medical Services PC       20553           07/20/2017             1
0462711755-08     R.P.       FJL Medical Services PC       20999           07/20/2017             2
0342499539-01     J.R.      Francis Joseph Lacina MD       20553           01/19/2015             1
0342499539-01     J.R.      Francis Joseph Lacina MD       20999           01/19/2015             2
0398385996-02     F.P.      Francis Joseph Lacina MD       20553           01/15/2016             1
0398385996-02     F.P.      Francis Joseph Lacina MD       20999           01/15/2016             2
0431774421-04     M.J.         JFL Medical Care PC         20553           02/01/2017             1
0431774421-04     M.J.         JFL Medical Care PC         20999           02/01/2017             2
0434704607-09     D.T.         JFL Medical Care PC         20553           11/23/2016             1
0434704607-09     D.T.         JFL Medical Care PC         20999           11/23/2016             2
0367613387-01     T.G.       JPF Medical Services PC       20553           10/25/2016             1
0367613387-01     T.G.       JPF Medical Services PC       20999           10/25/2016             2
0367613387-01     T.G.       JPF Medical Services PC       20553           11/01/2016             1
0367613387-01     T.G.       JPF Medical Services PC       20999           11/01/2016             2
0367613387-02     M.J.       JPF Medical Services PC       20553           11/08/2016             1
0367613387-02     M.J.       JPF Medical Services PC       20999           11/08/2016             2
0393570304-01     C.R.       JPF Medical Services PC       20553           09/16/2016             1
0393570304-01     C.R.       JPF Medical Services PC       20999           09/16/2016             2
0395201676-02     F.M.       JPF Medical Services PC       20553           09/30/2016             1
0395201676-02     F.M.       JPF Medical Services PC       20999           09/30/2016             2
0395201676-02     F.M.       JPF Medical Services PC       20553           10/21/2016             1
0395201676-02     F.M.       JPF Medical Services PC       20999           10/21/2016             1
0405231143-01     C.A.       JPF Medical Services PC       20553           09/23/2016             1
0405231143-01     C.A.       JPF Medical Services PC       20999           09/23/2016             2
0415767268-02     Y.E.       JPF Medical Services PC       20553           10/25/2016             1
0415767268-02     Y.E.       JPF Medical Services PC       20999           10/25/2016             2
0420467748-02     L.H.       JPF Medical Services PC       20553           10/04/2016             1
0420467748-02     L.H.       JPF Medical Services PC       20999           10/04/2016             2
0422068007-01     S.J.       JPF Medical Services PC       20553           01/30/2017             1
0422068007-01     S.J.       JPF Medical Services PC       20999           01/30/2017             2


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                               Allstate Ins. Co., et al. v. Rybak, et al.
     Representative Sample of Fraudulent Claims for Trigger Point Injections and Dry Needling
                           under Billing Codes 20552, 20553 and 20999
                                                           Billing
                Claimant                                                    Dates of            # of
 Claim No.                          Provider               Code
                 Initials                                                   Service             Units
                                                            Used
0422413260-02     N.R.       JPF Medical Services PC       20553           11/01/2016             1
0422413260-02     N.R.       JPF Medical Services PC       20999           11/01/2016             2
0427219795-03     J.B.       JPF Medical Services PC       20553           10/25/2016             1
0427219795-03     J.B.       JPF Medical Services PC       20999           10/25/2016             2
0427219795-03     J.B.       JPF Medical Services PC       20553           11/01/2016             1
0427219795-03     J.B.       JPF Medical Services PC       20999           11/01/2016             2
0427531546-05     T.K.       JPF Medical Services PC       20553           09/27/2016             1
0427531546-05     T.K.       JPF Medical Services PC       20999           09/27/2016             2
0427531546-05     T.K.       JPF Medical Services PC       20553           10/04/2016             1
0427531546-05     T.K.       JPF Medical Services PC       20999           10/04/2016             2
0427531546-05     T.K.       JPF Medical Services PC       20553           10/25/2016             1
0427531546-05     T.K.       JPF Medical Services PC       20999           10/25/2016             2
0427531546-05     T.K.       JPF Medical Services PC       20553           11/01/2016             1
0427531546-05     T.K.       JPF Medical Services PC       20999           11/01/2016             2
0427531546-05     T.K.       JPF Medical Services PC       20553           12/08/2016             1
0427531546-05     T.K.       JPF Medical Services PC       20999           12/08/2016             2
0429945370-01     D.B.       JPF Medical Services PC       20553           10/04/2016             1
0429945370-01     D.B.       JPF Medical Services PC       20999           10/04/2016             2
0429945370-01     D.B.       JPF Medical Services PC       20553           11/09/2016             1
0429945370-01     D.B.       JPF Medical Services PC       20999           11/09/2016             2
0433530375-01     R.M.       JPF Medical Services PC       20553           11/03/2016             1
0433530375-01     R.M.       JPF Medical Services PC       20999           11/03/2016             2
0433530375-01     R.M.       JPF Medical Services PC       20553           11/29/2016             1
0433530375-01     R.M.       JPF Medical Services PC       20999           11/29/2016             2
0434196456-02     J.R.       JPF Medical Services PC       20553           01/10/2017             1
0434196456-02     J.R.       JPF Medical Services PC       20999           01/10/2017             2
0434196456-02     J.R.       JPF Medical Services PC       20553           01/17/2017             1
0434196456-02     J.R.       JPF Medical Services PC       20999           01/17/2017             2
0434196456-02     J.R.       JPF Medical Services PC       20553           01/31/2017             1
0434196456-02     J.R.       JPF Medical Services PC       20999           01/31/2017             2
0434196456-02     J.R.       JPF Medical Services PC       20553           02/21/2017             1
0434196456-02     J.R.       JPF Medical Services PC       20999           02/21/2017             2
0434196456-02     J.R.       JPF Medical Services PC       20553           02/28/2017             1
0434196456-02     J.R.       JPF Medical Services PC       20999           02/28/2017             2
0435844709-01     K.K.       JPF Medical Services PC       20553           01/12/2017             1
0435844709-01     K.K.       JPF Medical Services PC       20999           01/12/2017             2
0435844709-01     K.K.       JPF Medical Services PC       20553           01/18/2017             1
0435844709-01     K.K.       JPF Medical Services PC       20999           01/18/2017             2
0435844709-01     K.K.       JPF Medical Services PC       20553           01/23/2017             1
0435844709-01     K.K.       JPF Medical Services PC       20999           01/23/2017             2
0435844709-01     K.K.       JPF Medical Services PC       20553           02/28/2017             1


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                               Allstate Ins. Co., et al. v. Rybak, et al.
     Representative Sample of Fraudulent Claims for Trigger Point Injections and Dry Needling
                           under Billing Codes 20552, 20553 and 20999
                                                           Billing
                Claimant                                                    Dates of            # of
 Claim No.                          Provider               Code
                 Initials                                                   Service             Units
                                                            Used
0435844709-01     K.K.       JPF Medical Services PC       20999           02/28/2017             2
0435844709-01     K.K.       JPF Medical Services PC       20553           03/08/2017             1
0435844709-01     K.K.       JPF Medical Services PC       20999           03/08/2017             2
0435844709-02     N.S.       JPF Medical Services PC       20553           01/12/2017             1
0435844709-02     N.S.       JPF Medical Services PC       20999           01/12/2017             2
0435844709-02     N.S.       JPF Medical Services PC       20553           01/18/2017             1
0435844709-02     N.S.       JPF Medical Services PC       20999           01/18/2017             2
0435844709-02     N.S.       JPF Medical Services PC       20553           01/23/2017             1
0435844709-02     N.S.       JPF Medical Services PC       20999           01/23/2017             2
0435844709-02     N.S.       JPF Medical Services PC       20553           01/30/2017             1
0435844709-02     N.S.       JPF Medical Services PC       20999           01/30/2017             2
0435844709-02     N.S.       JPF Medical Services PC       20553           02/16/2017             1
0435844709-02     N.S.       JPF Medical Services PC       20999           02/16/2017             2
0435844709-02     N.S.       JPF Medical Services PC       20553           02/28/2017             1
0435844709-02     N.S.       JPF Medical Services PC       20999           02/28/2017             2
0435844709-02     N.S.       JPF Medical Services PC       20553           03/08/2017             1
0435844709-02     N.S.       JPF Medical Services PC       20999           03/08/2017             2
0436643688-01     Y.R.       JPF Medical Services PC       20553           11/29/2016             1
0436643688-01     Y.R.       JPF Medical Services PC       20999           11/29/2016             2
0436891501-03     E.M.       JPF Medical Services PC       20553           11/15/2016             1
0436891501-03     E.M.       JPF Medical Services PC       20999           11/15/2016             2
0436891501-03     E.M.       JPF Medical Services PC       20553           01/09/2017             1
0436891501-03     E.M.       JPF Medical Services PC       20999           01/09/2017             2
0437276942-04     E.E.       JPF Medical Services PC       20553           01/23/2017             1
0437276942-04     E.E.       JPF Medical Services PC       20999           01/23/2017             2
0437276942-04     E.E.       JPF Medical Services PC       20553           02/13/2017             1
0437276942-04     E.E.       JPF Medical Services PC       20999           02/13/2017             2
0437276942-05     B.S.       JPF Medical Services PC       20553           01/23/2017             1
0437276942-05     B.S.       JPF Medical Services PC       20999           01/23/2017             2
0437276942-05     B.S.       JPF Medical Services PC       20553           02/13/2017             1
0437276942-05     B.S.       JPF Medical Services PC       20999           02/13/2017             2
0437276942-05     B.S.       JPF Medical Services PC       20553           02/20/2017             1
0437276942-05     B.S.       JPF Medical Services PC       20999           02/20/2017             2
0437838963-01     Y.R.       JPF Medical Services PC       20553           11/29/2016             1
0437838963-01     Y.R.       JPF Medical Services PC       20999           11/29/2016             2
0438465858-01     J.B.       JPF Medical Services PC       20999           02/07/2017             2
0438482951-01     J.B.       JPF Medical Services PC       20999           02/07/2017             2
0440527661-01      I.S.      JPF Medical Services PC       20553           12/29/2016             1
0440527661-01      I.S.      JPF Medical Services PC       20999           12/29/2016             2
0440527661-01      I.S.      JPF Medical Services PC       20553           01/18/2017             1
0440527661-01      I.S.      JPF Medical Services PC       20999           01/18/2017             2


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                               Allstate Ins. Co., et al. v. Rybak, et al.
     Representative Sample of Fraudulent Claims for Trigger Point Injections and Dry Needling
                           under Billing Codes 20552, 20553 and 20999
                                                           Billing
                Claimant                                                    Dates of            # of
 Claim No.                          Provider               Code
                 Initials                                                   Service             Units
                                                            Used
0440527661-01      I.S.      JPF Medical Services PC       20553           01/31/2017             1
0440527661-01      I.S.      JPF Medical Services PC       20999           01/31/2017             2
0440527661-01      I.S.      JPF Medical Services PC       20553           02/08/2017             1
0440527661-01      I.S.      JPF Medical Services PC       20999           02/08/2017             2
0440527661-01      I.S.      JPF Medical Services PC       20553           02/14/2017             1
0440527661-01      I.S.      JPF Medical Services PC       20999           02/14/2017             2
0440527661-01      I.S.      JPF Medical Services PC       20553           02/21/2017             1
0440527661-01      I.S.      JPF Medical Services PC       20999           02/21/2017             2
0440527661-01      I.S.      JPF Medical Services PC       20553           03/01/2017             1
0440527661-01      I.S.      JPF Medical Services PC       20999           03/01/2017             2
0440527661-01      I.S.      JPF Medical Services PC       20553           03/08/2017             1
0440527661-01      I.S.      JPF Medical Services PC       20999           03/08/2017             2
0440527661-02     S.S.       JPF Medical Services PC       20553           01/31/2017             1
0440527661-02     S.S.       JPF Medical Services PC       20999           01/31/2017             2
0440527661-02     S.S.       JPF Medical Services PC       20553           02/08/2017             1
0440527661-02     S.S.       JPF Medical Services PC       20999           02/08/2017             2
0440527661-02     S.S.       JPF Medical Services PC       20553           02/14/2017             1
0440527661-02     S.S.       JPF Medical Services PC       20999           02/14/2017             2
0440527661-02     S.S.       JPF Medical Services PC       20553           02/21/2017             1
0440527661-02     S.S.       JPF Medical Services PC       20999           02/21/2017             2
0440527661-02     S.S.       JPF Medical Services PC       20553           03/08/2017             1
0440527661-02     S.S.       JPF Medical Services PC       20999           03/08/2017             2
0440997251-01     S.M.       JPF Medical Services PC       20553           02/28/2017             1
0440997251-01     S.M.       JPF Medical Services PC       20999           02/28/2017             2
0441447026-01     B.R.       JPF Medical Services PC       20553           01/24/2017             1
0441447026-01     B.R.       JPF Medical Services PC       20999           01/24/2017             2
0441447026-01     B.R.       JPF Medical Services PC       20553           02/21/2017             1
0441447026-01     B.R.       JPF Medical Services PC       20999           02/21/2017             2
0441447026-01     B.R.       JPF Medical Services PC       20553           02/28/2017             1
0441447026-01     B.R.       JPF Medical Services PC       20999           02/28/2017             2
0441699666-02     L.G.       JPF Medical Services PC       20553           01/25/2017             1
0441699666-02     L.G.       JPF Medical Services PC       20999           01/25/2017             2
0441699666-02     L.G.       JPF Medical Services PC       20553           03/08/2017             1
0441699666-02     L.G.       JPF Medical Services PC       20999           03/08/2017             2
0443460670-02     K.T.       JPF Medical Services PC       20553           01/31/2017             1
0443460670-02     K.T.       JPF Medical Services PC       20999           01/31/2017             2
0431774421-01     J.C.         KP Medical Care PC          20552           02/21/2017             1
0431774421-01     J.C.         KP Medical Care PC          20999           02/21/2017             2
0431774421-02     P.C.         KP Medical Care PC          20552           01/23/2017             1
0431774421-02     P.C.         KP Medical Care PC          20999           01/23/2017             2
0431774421-03     D.S.         KP Medical Care PC          20552           01/16/2017             1


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                               Allstate Ins. Co., et al. v. Rybak, et al.
     Representative Sample of Fraudulent Claims for Trigger Point Injections and Dry Needling
                           under Billing Codes 20552, 20553 and 20999
                                                           Billing
                Claimant                                                    Dates of            # of
 Claim No.                          Provider               Code
                 Initials                                                   Service             Units
                                                            Used
0431774421-03     D.S.         KP Medical Care PC          20999           01/16/2017             2
0431774421-04     M.J.         KP Medical Care PC          20552           01/23/2017             1
0431774421-04     M.J.         KP Medical Care PC          20999           01/23/2017             2
0431774421-05     M.T.         KP Medical Care PC          20552           11/07/2016             1
0431774421-05     M.T.         KP Medical Care PC          20999           11/07/2016             2
0431774421-05     M.T.         KP Medical Care PC          20552           01/23/2017             1
0431774421-05     M.T.         KP Medical Care PC          20999           01/23/2017             2
0431774421-05     M.T.         KP Medical Care PC          20552           02/20/2017             1
0431774421-05     M.T.         KP Medical Care PC          20999           02/20/2017             2
0436499486-02     S.M.         KP Medical Care PC          20552           12/15/2016             1
0436499486-02     S.M.         KP Medical Care PC          20999           12/15/2016             2
0436499486-02     S.M.         KP Medical Care PC          20552           01/20/2017             1
0436499486-02     S.M.         KP Medical Care PC          20999           01/20/2017             2
0284992970-03     A.F.         Ksenia Pavlova DO           20553           09/30/2013             1
0284992970-03     A.F.         Ksenia Pavlova DO           20999           09/30/2013             2
0285337622-01     A.J.         Ksenia Pavlova DO           20553           08/27/2013             1
0285337622-01     A.J.         Ksenia Pavlova DO           20999           08/27/2013             2
0286190004-02     A.S.         Ksenia Pavlova DO           20553           07/18/2013             1
0286190004-02     A.S.         Ksenia Pavlova DO           20999           07/18/2013             2
0286190004-02     A.S.         Ksenia Pavlova DO           20553           08/06/2013             1
0286190004-02     A.S.         Ksenia Pavlova DO           20999           08/06/2013             2
0286190004-02     A.S.         Ksenia Pavlova DO           20553           08/13/2013             1
0286190004-02     A.S.         Ksenia Pavlova DO           20999           08/13/2013             2
0286970512-02     C.H.         Ksenia Pavlova DO           20553           08/29/2013             1
0286970512-02     C.H.         Ksenia Pavlova DO           20999           08/29/2013             2
0287540454-01     J.R.         Ksenia Pavlova DO           20553           07/01/2013             1
0287540454-01     J.R.         Ksenia Pavlova DO           20999           07/01/2013             2
0287540454-01     J.R.         Ksenia Pavlova DO           20553           07/29/2013             1
0287540454-01     J.R.         Ksenia Pavlova DO           20999           07/29/2013             2
0289515321-01     L.A.         Ksenia Pavlova DO           20553           07/01/2013             1
0289515321-01     L.A.         Ksenia Pavlova DO           20999           07/01/2013             2
0289515321-02     V.P.         Ksenia Pavlova DO           20553           07/01/2013             1
0289515321-02     V.P.         Ksenia Pavlova DO           20999           07/01/2013             2
0289515321-02     V.P.         Ksenia Pavlova DO           20553           07/29/2013             1
0289515321-02     V.P.         Ksenia Pavlova DO           20999           07/29/2013             2
0289515321-02     V.P.         Ksenia Pavlova DO           20553           08/12/2013             1
0289515321-02     V.P.         Ksenia Pavlova DO           20999           08/12/2013             2
0289515321-02     V.P.         Ksenia Pavlova DO           20553           09/12/2013             1
0289515321-02     V.P.         Ksenia Pavlova DO           20999           09/12/2013             2
0289804584-01     M.S.         Ksenia Pavlova DO           20553           07/15/2013             1
0289804584-01     M.S.         Ksenia Pavlova DO           20999           07/15/2013             2


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                               Allstate Ins. Co., et al. v. Rybak, et al.
     Representative Sample of Fraudulent Claims for Trigger Point Injections and Dry Needling
                           under Billing Codes 20552, 20553 and 20999
                                                           Billing
                Claimant                                                    Dates of            # of
 Claim No.                          Provider               Code
                 Initials                                                   Service             Units
                                                            Used
0289804584-01     M.S.          Ksenia Pavlova DO          20553           09/05/2013             1
0289804584-01     M.S.          Ksenia Pavlova DO          20999           09/05/2013             2
0291039501-01     C.R.          Ksenia Pavlova DO          20553           06/28/2013             1
0291039501-01     C.R.          Ksenia Pavlova DO          20999           06/28/2013             1
0291039501-01     C.R.          Ksenia Pavlova DO          20553           07/08/2013             1
0291039501-01     C.R.          Ksenia Pavlova DO          20999           07/08/2013             2
0291039501-01     C.R.          Ksenia Pavlova DO          20553           08/05/2013             1
0291039501-01     C.R.          Ksenia Pavlova DO          20999           08/05/2013             2
0291039501-01     C.R.          Ksenia Pavlova DO          20553           08/19/2013             1
0291039501-01     C.R.          Ksenia Pavlova DO          20999           08/19/2013             2
0291039501-01     C.R.          Ksenia Pavlova DO          20553           10/08/2013             1
0291039501-01     C.R.          Ksenia Pavlova DO          20999           10/08/2013             2
0291039501-01     C.R.          Ksenia Pavlova DO          20553           10/22/2013             1
0291039501-01     C.R.          Ksenia Pavlova DO          20999           10/22/2013             2
0291588705-02     A.P.          Ksenia Pavlova DO          20553           07/12/2013             1
0291588705-02     A.P.          Ksenia Pavlova DO          20999           07/12/2013             2
0291588705-02     A.P.          Ksenia Pavlova DO          20553           07/15/2013             1
0291588705-02     A.P.          Ksenia Pavlova DO          20999           07/15/2013             2
0291588705-02     A.P.          Ksenia Pavlova DO          20553           08/12/2013             1
0291588705-02     A.P.          Ksenia Pavlova DO          20999           08/12/2013             2
0293324331-02     D.M.          Ksenia Pavlova DO          20553           09/03/2013             1
0293324331-02     D.M.          Ksenia Pavlova DO          20999           09/03/2013             2
0293909230-02     J.B.          Ksenia Pavlova DO          20553           07/26/2013             1
0293909230-02     J.B.          Ksenia Pavlova DO          20999           07/26/2013             2
0293909230-06     T.D.          Ksenia Pavlova DO          20553           07/26/2013             1
0293909230-06     T.D.          Ksenia Pavlova DO          20999           07/26/2013             2
0294030985-02     C.B.          Ksenia Pavlova DO          20553           08/07/2013             1
0294030985-02     C.B.          Ksenia Pavlova DO          20999           08/07/2013             2
0294124474-04     J.M.          Ksenia Pavlova DO          20553           08/13/2013             1
0294124474-04     J.M.          Ksenia Pavlova DO          20999           08/13/2013             2
0294866694-01     J.B.          Ksenia Pavlova DO          20553           09/19/2013             1
0294866694-01     J.B.          Ksenia Pavlova DO          20999           09/19/2013             2
0294889332-02     F.B.          Ksenia Pavlova DO          20553           07/26/2013             1
0294889332-02     F.B.          Ksenia Pavlova DO          20999           07/26/2013             2
0295392310-02     A.S.          Ksenia Pavlova DO          20553           12/03/2013             1
0295392310-02     A.S.          Ksenia Pavlova DO          20999           12/03/2013             2
0295851943-01     J.S.          Ksenia Pavlova DO          20553           08/19/2013             1
0295851943-01     J.S.          Ksenia Pavlova DO          20999           08/19/2013             2
0297724700-06     G.F.          Ksenia Pavlova DO          20553           09/19/2013             1
0297724700-06     G.F.          Ksenia Pavlova DO          20999           09/19/2013             2
0297724700-06     G.F.          Ksenia Pavlova DO          20553           10/22/2013             1


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                                          #: 852

                               Allstate Ins. Co., et al. v. Rybak, et al.
     Representative Sample of Fraudulent Claims for Trigger Point Injections and Dry Needling
                           under Billing Codes 20552, 20553 and 20999
                                                           Billing
                Claimant                                                    Dates of            # of
 Claim No.                          Provider               Code
                 Initials                                                   Service             Units
                                                            Used
0297724700-06     G.F.          Ksenia Pavlova DO          20999           10/22/2013             2
0298235276-02     P.A.          Ksenia Pavlova DO          20553           09/05/2013             1
0298235276-02     P.A.          Ksenia Pavlova DO          20999           09/05/2013             1
0298350612-01     N.P.          Ksenia Pavlova DO          20553           09/03/2013             1
0298350612-01     N.P.          Ksenia Pavlova DO          20999           09/03/2013             2
0298915281-02     J.T.          Ksenia Pavlova DO          20553           10/17/2013             1
0298915281-02     J.T.          Ksenia Pavlova DO          20999           10/17/2013             2
0298915281-02     J.T.          Ksenia Pavlova DO          20553           11/07/2013             1
0298915281-02     J.T.          Ksenia Pavlova DO          20999           11/07/2013             2
0299585850-02     L.G.          Ksenia Pavlova DO          20553           09/03/2013             1
0299585850-02     L.G.          Ksenia Pavlova DO          20999           09/03/2013             2
0299585850-02     L.G.          Ksenia Pavlova DO          20553           12/06/2013             1
0299585850-02     L.G.          Ksenia Pavlova DO          20999           12/06/2013             2
0300460441-02     K.S.          Ksenia Pavlova DO          20553           10/22/2013             1
0300460441-02     K.S.          Ksenia Pavlova DO          20999           10/22/2013             2
0300460441-02     K.S.          Ksenia Pavlova DO          20553           12/10/2013             1
0300460441-02     K.S.          Ksenia Pavlova DO          20999           12/10/2013             2
0302107560-01     M.J.          Ksenia Pavlova DO          20553           12/11/2013             1
0302107560-01     M.J.          Ksenia Pavlova DO          20999           12/11/2013             2
0302571708-01     N.N.          Ksenia Pavlova DO          20553           10/31/2013             1
0302571708-01     N.N.          Ksenia Pavlova DO          20999           10/31/2013             2
0303041388-02     D.M.          Ksenia Pavlova DO          20553           10/29/2013             1
0303041388-02     D.M.          Ksenia Pavlova DO          20999           10/29/2013             2
0303041388-02     D.M.          Ksenia Pavlova DO          20553           02/06/2014             1
0303041388-02     D.M.          Ksenia Pavlova DO          20999           02/06/2014             2
0303835698-02     R.J.          Ksenia Pavlova DO          20553           10/22/2013             1
0303835698-02     R.J.          Ksenia Pavlova DO          20999           10/22/2013             2
0303835698-03     J.F.          Ksenia Pavlova DO          20553           11/12/2013             1
0303835698-03     J.F.          Ksenia Pavlova DO          20999           11/12/2013             2
0303835698-03     J.F.          Ksenia Pavlova DO          20553           12/19/2013             1
0303835698-03     J.F.          Ksenia Pavlova DO          20999           12/19/2013             2
0303835698-04     J.R.          Ksenia Pavlova DO          20553           10/15/2013             1
0303835698-04     J.R.          Ksenia Pavlova DO          20999           10/15/2013             2
0303835698-04     J.R.          Ksenia Pavlova DO          20553           11/05/2013             1
0303835698-04     J.R.          Ksenia Pavlova DO          20999           11/05/2013             2
0304067465-02     R.L.          Ksenia Pavlova DO          20553           10/29/2013             1
0304067465-02     R.L.          Ksenia Pavlova DO          20999           10/29/2013             2
0304067465-02     R.L.          Ksenia Pavlova DO          20553           11/19/2013             1
0304067465-02     R.L.          Ksenia Pavlova DO          20999           11/19/2013             2
0304262934-01     K.A.          Ksenia Pavlova DO          20553           11/26/2013             1
0304262934-01     K.A.          Ksenia Pavlova DO          20999           11/26/2013             2


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                               Allstate Ins. Co., et al. v. Rybak, et al.
     Representative Sample of Fraudulent Claims for Trigger Point Injections and Dry Needling
                           under Billing Codes 20552, 20553 and 20999
                                                           Billing
                Claimant                                                    Dates of            # of
 Claim No.                          Provider               Code
                 Initials                                                   Service             Units
                                                            Used
0304262934-06     C.W.          Ksenia Pavlova DO          20553           11/18/2013             1
0304262934-06     C.W.          Ksenia Pavlova DO          20999           11/18/2013             2
0304716061-01     R.C.          Ksenia Pavlova DO          20553           11/05/2013             1
0304716061-01     R.C.          Ksenia Pavlova DO          20999           11/05/2013             2
0304716061-01     R.C.          Ksenia Pavlova DO          20553           11/19/2013             1
0304716061-01     R.C.          Ksenia Pavlova DO          20999           11/19/2013             2
0306824244-08     S.T.          Ksenia Pavlova DO          20553           11/15/2013             1
0306824244-08     S.T.          Ksenia Pavlova DO          20999           11/15/2013             2
0306824244-08     S.T.          Ksenia Pavlova DO          20553           03/13/2014             1
0306824244-08     S.T.          Ksenia Pavlova DO          20999           03/13/2014             2
0314369836-01     K.E.          Ksenia Pavlova DO          20553           05/22/2014             1
0314369836-01     K.E.          Ksenia Pavlova DO          20999           05/22/2014             2
0320476492-01     G.M.          Ksenia Pavlova DO          20553           05/12/2014             1
0320476492-01     G.M.          Ksenia Pavlova DO          20999           05/12/2014             2
0362861601-01     P.A.          Ksenia Pavlova DO          20553           04/09/2015             1
0362861601-01     P.A.          Ksenia Pavlova DO          20999           04/09/2015             2
0362861601-01     P.A.          Ksenia Pavlova DO          20553           05/14/2015             1
0362861601-01     P.A.          Ksenia Pavlova DO          20999           05/14/2015             2
0362861601-02     Y.A.          Ksenia Pavlova DO          20553           04/09/2015             1
0362861601-02     Y.A.          Ksenia Pavlova DO          20999           04/09/2015             2
0368003091-06     E.J.          Ksenia Pavlova DO          20553           10/21/2015             1
0368003091-06     E.J.          Ksenia Pavlova DO          20999           10/21/2015             2
0376459327-01     R.G.          Ksenia Pavlova DO          20553           07/31/2015             1
0376459327-01     R.G.          Ksenia Pavlova DO          20999           07/31/2015             2
0377476239-01     L.C.          Ksenia Pavlova DO          20553           07/31/2015             1
0377476239-01     L.C.          Ksenia Pavlova DO          20999           07/31/2015             3
0344451562-01     M.J.         PFJ Medical Care PC         20553           08/02/2016             1
0344451562-01     M.J.         PFJ Medical Care PC         20999           08/02/2016             2
0344451562-01     M.J.         PFJ Medical Care PC         20553           09/27/2016             1
0344451562-01     M.J.         PFJ Medical Care PC         20999           09/27/2016             2
0371795286-01     M.R.         PFJ Medical Care PC         20553           07/07/2016             1
0371795286-01     M.R.         PFJ Medical Care PC         20999           07/07/2016             2
0371795286-01     M.R.         PFJ Medical Care PC         20553           07/27/2016             1
0371795286-01     M.R.         PFJ Medical Care PC         20999           07/27/2016             2
0371795286-01     M.R.         PFJ Medical Care PC         20553           08/18/2016             1
0371795286-01     M.R.         PFJ Medical Care PC         20999           08/18/2016             2
0371795286-01     M.R.         PFJ Medical Care PC         20553           09/07/2016             1
0371795286-01     M.R.         PFJ Medical Care PC         20999           09/07/2016             2
0371795286-01     M.R.         PFJ Medical Care PC         20553           09/21/2016             1
0371795286-01     M.R.         PFJ Medical Care PC         20999           09/21/2016             2
0393526215-02     J.P.         PFJ Medical Care PC         20553           06/15/2016             1


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                               Allstate Ins. Co., et al. v. Rybak, et al.
     Representative Sample of Fraudulent Claims for Trigger Point Injections and Dry Needling
                           under Billing Codes 20552, 20553 and 20999
                                                           Billing
                Claimant                                                    Dates of            # of
 Claim No.                          Provider               Code
                 Initials                                                   Service             Units
                                                            Used
0393526215-02    J.P.         PFJ Medical Care PC          20999           06/15/2016             2
0400879102-01    L.C.         PFJ Medical Care PC          20553           06/01/2016             1
0400879102-01    L.C.         PFJ Medical Care PC          20999           06/01/2016             2
0400879102-01    L.C.         PFJ Medical Care PC          20553           07/20/2016             1
0400879102-01    L.C.         PFJ Medical Care PC          20999           07/20/2016             2
0405231143-01    C.A.         PFJ Medical Care PC          20553           09/16/2016             1
0405231143-01    C.A.         PFJ Medical Care PC          20999           09/16/2016             2
0406090035-01    W.W.         PFJ Medical Care PC          20553           06/29/2016             1
0406090035-01    W.W.         PFJ Medical Care PC          20999           06/29/2016             2
0413937953-02    B.W.         PFJ Medical Care PC          20553           08/01/2016             1
0413937953-02    B.W.         PFJ Medical Care PC          20999           08/01/2016             2
0417465200-01    D.G.         PFJ Medical Care PC          20999           06/22/2016             2
0417465200-05    D.R.         PFJ Medical Care PC          20999           06/22/2016             2
0418830014-04    S.C.         PFJ Medical Care PC          20553           08/01/2016             1
0418830014-04    S.C.         PFJ Medical Care PC          20999           08/01/2016             2
0420467748-01    D.E.         PFJ Medical Care PC          20553           09/06/2016             1
0420467748-01    D.E.         PFJ Medical Care PC          20999           09/06/2016             2
0420467748-02    L.H.         PFJ Medical Care PC          20553           08/30/2016             1
0420467748-02    L.H.         PFJ Medical Care PC          20999           08/30/2016             2
0422413260-02    N.R.         PFJ Medical Care PC          20553           08/02/2016             1
0422413260-02    N.R.         PFJ Medical Care PC          20999           08/02/2016             2
0422413260-02    N.R.         PFJ Medical Care PC          20553           08/23/2016             1
0422413260-02    N.R.         PFJ Medical Care PC          20999           08/23/2016             2
0423921162-09    F.C.         PFJ Medical Care PC          20553           08/31/2016             1
0423921162-09    F.C.         PFJ Medical Care PC          20999           08/31/2016             2
0427219795-03    J.B.         PFJ Medical Care PC          20553           09/13/2016             1
0427219795-03    J.B.         PFJ Medical Care PC          20999           09/13/2016             2
0427219795-03    J.B.         PFJ Medical Care PC          20553           09/20/2016             1
0427219795-03    J.B.         PFJ Medical Care PC          20999           09/20/2016             2
0376459327-01    R.G.        RA Medical Services PC        20553           01/13/2016             1
0376459327-01    R.G.        RA Medical Services PC        20999           01/13/2016             2
0377476239-01    L.C.        RA Medical Services PC        20553           11/11/2015             1
0377476239-01    L.C.        RA Medical Services PC        20999           11/11/2015             2
0388249740-02    M.B.        RA Medical Services PC        20553           11/10/2015             1
0388249740-02    M.B.        RA Medical Services PC        20999           11/10/2015             2
0390737807-02    S.P.        RA Medical Services PC        20553           02/01/2016             1
0390737807-02    S.P.        RA Medical Services PC        20999           02/01/2016             2
0391445368-01    B.C.        RA Medical Services PC        20553           01/20/2016             1
0391445368-01    B.C.        RA Medical Services PC        20999           01/20/2016             2
0391537313-01    J.C.        RA Medical Services PC        20553           12/09/2015             1
0391537313-01    J.C.        RA Medical Services PC        20999           12/09/2015             2


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                               Allstate Ins. Co., et al. v. Rybak, et al.
     Representative Sample of Fraudulent Claims for Trigger Point Injections and Dry Needling
                           under Billing Codes 20552, 20553 and 20999
                                                               Billing
                Claimant                                                    Dates of            # of
 Claim No.                             Provider                Code
                 Initials                                                   Service             Units
                                                                Used
0391674355-01     A.F.         RA Medical Services PC          20553       12/01/2015             1
0391674355-01     A.F.         RA Medical Services PC          20999       12/01/2015             2
0391674355-01     A.F.         RA Medical Services PC          20553       12/21/2015             1
0391674355-01     A.F.         RA Medical Services PC          20999       12/21/2015             2
0391674355-01     A.F.         RA Medical Services PC          20553       02/09/2016             1
0391674355-01     A.F.         RA Medical Services PC          20999       02/09/2016             2
0394803431-02     A.D.         RA Medical Services PC          20553       02/02/2016             1
0394803431-02     A.D.         RA Medical Services PC          20999       02/02/2016             2
0394803431-02     A.D.         RA Medical Services PC          20553       02/09/2016             1
0394803431-02     A.D.         RA Medical Services PC          20999       02/09/2016             2
0397246497-01     S.M.         RA Medical Services PC          20553       12/15/2015             1
0397246497-01     S.M.         RA Medical Services PC          20999       12/15/2015             2
0397246497-01     S.M.         RA Medical Services PC          20553       01/05/2016             1
0397246497-01     S.M.         RA Medical Services PC          20999       01/05/2016             2
0397246497-01     S.M.         RA Medical Services PC          20553       01/19/2016             1
0397246497-01     S.M.         RA Medical Services PC          20999       01/19/2016             2
0398385996-02     F.P.         RA Medical Services PC          20553       01/15/2016             1
0398385996-02     F.P.         RA Medical Services PC          20999       01/15/2016             2
0405235540-01     K.W.         RA Medical Services PC          20553       03/23/2016             1
0405235540-01     K.W.         RA Medical Services PC          20999       03/23/2016             2
0405581117-01     C.K.         RA Medical Services PC          20553       03/16/2016             1
0405581117-01     C.K.         RA Medical Services PC          20999       03/16/2016             2
0405581117-01     C.K.         RA Medical Services PC          20553       04/13/2016             1
0405581117-01     C.K.         RA Medical Services PC          20999       04/13/2016             2
0407146448-02     M.J.         RA Medical Services PC          20553       03/24/2016             1
0407146448-02     M.J.         RA Medical Services PC          20999       03/24/2016             2
0407146448-02     M.J.         RA Medical Services PC          20553       04/13/2016             1
0407146448-02     M.J.         RA Medical Services PC          20999       04/13/2016             2
0416039170-02     S.P.         RA Medical Services PC          20553       06/10/2016             1
0416039170-02     S.P.         RA Medical Services PC          20999       06/10/2016             2
0500741186-02     V.G.      Strategic Medical Initiatives PC   20553       07/26/2018             1
0500741186-02     V.G.      Strategic Medical Initiatives PC   20999       07/26/2018             2




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                               Allstate Ins. Co., et al. v. Rybak, et al.
      Representative Sample of Fraudulent Claims for Dry Needling under Billing Code 20999
                                                          Billing
                Claimant                                                   Dates of          # of
 Claim No.                          Provider              Code
                 Initials                                                  Service           Units
                                                           Used
0376459327-01     R.G.      Allay Medical Services PC     20999          08/24/2015            2
0376459327-01     R.G.      Allay Medical Services PC     20999          11/19/2015            2
0386951981-02     T.U.      Allay Medical Services PC     20999          10/13/2015            2
0388149213-04     M.C.      Allay Medical Services PC     20999          10/27/2015            2
0391142502-07     A.F.      Allay Medical Services PC     20999          11/09/2015            2
0391142502-07     A.F.      Allay Medical Services PC     20999          11/16/2015            2
0342499539-01     J.R.      Francis Joseph Lacina MD      20999          01/19/2015            2
0448810002-02     D.W.         JFL Medical Care PC        20999          05/24/2017            2
0559511448-02     M.D.        JP Medical Services PC      20999          12/17/2019            2
0563379072-01     B.L.        JP Medical Services PC      20999          12/10/2019            2
0563379072-01     B.L.        JP Medical Services PC      20999          01/23/2020            2
0567765565-06     M.F.        JP Medical Services PC      20999          12/26/2019            2
0568456115-02     K.M.        JP Medical Services PC      20999          11/27/2019            2
0568456115-02     K.M.        JP Medical Services PC      20999          12/04/2019            2
0568456115-02     K.M.        JP Medical Services PC      20999          12/10/2019            2
0367613387-01     T.G.       JPF Medical Services PC      20999          10/25/2016            2
0367613387-01     T.G.       JPF Medical Services PC      20999          11/01/2016            2
0434196456-02     J.R.       JPF Medical Services PC      20999          01/31/2017            2
0434196456-02     J.R.       JPF Medical Services PC      20999          02/07/2017            2
0437838963-01     Y.R.       JPF Medical Services PC      20999          11/29/2016            2
0438482951-01     J.B.       JPF Medical Services PC      20999          02/07/2017            2
0568456115-02     K.M.           Jules Medical PC         20999          02/17/2020            2
0571444520-07     K.J.           Jules Medical PC         20999          02/25/2020            2
0575785381-03     K.C.           Jules Medical PC         20999          01/29/2020            2
0575785381-07     J.T.           Jules Medical PC         20999          01/29/2020            2
0431774421-03     D.S.         KP Medical Care PC         20999          12/12/2016            2
0286190004-02     A.S.          Ksenia Pavlova DO         20999          08/06/2013            2
0287540454-01     J.R.          Ksenia Pavlova DO         20999          07/01/2013            2
0287540454-01     J.R.          Ksenia Pavlova DO         20999          07/29/2013            2
0289515321-01     L.A.          Ksenia Pavlova DO         20999          07/01/2013            2
0289515321-01     L.A.          Ksenia Pavlova DO         20999          07/01/2013            2
0289804584-01     M.S.          Ksenia Pavlova DO         20999          07/15/2013            2
0289804584-01     M.S.          Ksenia Pavlova DO         20999          09/05/2013            2
0291039501-01     C.R.          Ksenia Pavlova DO         20999          08/05/2013            2
0291588705-02     A.P.          Ksenia Pavlova DO         20999          07/12/2013            2
0291588705-02     A.P.          Ksenia Pavlova DO         20999          07/15/2013            2
0294866694-01     J.B.          Ksenia Pavlova DO         20999          09/19/2013            2
0299585850-02     L.G.          Ksenia Pavlova DO         20999          09/03/2013            2
0299585850-02     L.G.          Ksenia Pavlova DO         20999          12/06/2013            2
0303835698-02     R.J.          Ksenia Pavlova DO         20999          10/22/2013            2
0303835698-03      J.F.         Ksenia Pavlova DO         20999          12/19/2013            2
0303835698-04     J.R.          Ksenia Pavlova DO         20999          10/15/2013            2


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                               Allstate Ins. Co., et al. v. Rybak, et al.
      Representative Sample of Fraudulent Claims for Dry Needling under Billing Code 20999
                                                          Billing
                Claimant                                                   Dates of          # of
 Claim No.                         Provider               Code
                 Initials                                                  Service           Units
                                                           Used
0304262934-01    K.A.          Ksenia Pavlova DO          20999          11/26/2013            2
0304262934-06    C.W.          Ksenia Pavlova DO          20999          11/18/2013            2
0362861601-01    P.A.          Ksenia Pavlova DO          20999          04/09/2015            2
0362861601-01    P.A.          Ksenia Pavlova DO          20999          05/14/2015            2
0362861601-02    Y.A.          Ksenia Pavlova DO          20999          04/09/2015            2
0406090035-01    W.W.         PFJ Medical Care PC         20999          06/29/2016            2
0420467748-01    D.E.         PFJ Medical Care PC         20999          09/06/2016            2
0391537313-01    J.C.        RA Medical Services PC       20999          05/31/2016            2
0405581117-01    C.K.        RA Medical Services PC       20999          03/16/2016            2
0405581117-01    C.K.        RA Medical Services PC       20999          04/13/2016            2




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                               Allstate Ins. Co., et al. v. Rybak, et al.
   Representative Sample of Fraudulent Claims for Ultrasonic Guidance under Billing Code 76942
                                                          Billing
                Claimant                                                   Dates of         # of
 Claim No.                          Provider              Code
                 Initials                                                  Service          Units
                                                           Used
0374512275-02     B.S.      Allay Medical Services PC     76942           12/03/2015             1
0380809228-02     C.A.      Allay Medical Services PC     76942           12/22/2015             1
0413937953-02     B.W.       FJL Medical Services PC      76942           09/26/2016             1
0423203900-01     R.D.       FJL Medical Services PC      76942           09/07/2016             1
0430328526-03     N.Y.       FJL Medical Services PC      76942           11/21/2016             1
0430768903-01     J.M.       FJL Medical Services PC      76942           10/05/2016             1
0430768903-02     C.C.       FJL Medical Services PC      76942           10/05/2016             1
0431774421-02     P.C.       FJL Medical Services PC      76942           10/12/2016             1
0431774421-03     D.S.       FJL Medical Services PC      76942           10/12/2016             1
0431774421-03     D.S.       FJL Medical Services PC      76942           10/26/2016             1
0431774421-03     D.S.       FJL Medical Services PC      76942           11/16/2016             1
0431774421-04     M.J.       FJL Medical Services PC      76942           10/12/2016             1
0431774421-05     M.T.       FJL Medical Services PC      76942           10/12/2016             1
0431774421-05     M.T.       FJL Medical Services PC      76942           11/01/2016             1
0434546750-11      E.I.      FJL Medical Services PC      76942           11/04/2016             1
0434704607-02     L.S.       FJL Medical Services PC      76942           11/02/2016             1
0434704607-09     D.T.       FJL Medical Services PC      76942           11/08/2016             1
0462711755-01     D.L.       FJL Medical Services PC      76942           07/20/2017             1
0462711755-07     E.S.       FJL Medical Services PC      76942           07/20/2017             1
0462711755-08     R.P.       FJL Medical Services PC      76942           07/20/2017             1
0342499539-01     J.R.      Francis Joseph Lacina MD      76942           01/19/2015             1
0398385996-02     F.P.      Francis Joseph Lacina MD      76942           01/15/2016             1
0430768903-01     J.M.        JFL Medical Care PC         76942           12/14/2016             1
0431774421-03     D.S.        JFL Medical Care PC         76942           12/16/2016             1
0431774421-03     D.S.        JFL Medical Care PC         76942           12/16/2016             1
0431774421-03     D.S.        JFL Medical Care PC         76942           12/16/2016             1
0431774421-04     M.J.        JFL Medical Care PC         76942           02/01/2017             1
0434704607-02     L.S.        JFL Medical Care PC         76942           12/20/2016             1
0440453512-01     C.W.        JFL Medical Care PC         76942           01/25/2017             1
0440453512-01     C.W.        JFL Medical Care PC         76942           12/27/2016             1
0440453512-01     C.W.        JFL Medical Care PC         76942           01/05/2017             1
0440453512-01     C.W.        JFL Medical Care PC         76942           02/15/2017             1
0440453512-01     C.W.        JFL Medical Care PC         76942           02/22/2017             1
0440453512-01     C.W.        JFL Medical Care PC         76942           03/01/2017             1
0440453512-01     C.W.        JFL Medical Care PC         76942           03/22/2017             1
0440453512-01     C.W.        JFL Medical Care PC         76942           03/29/2017             1
0446478414-02     B.M.        JFL Medical Care PC         76942           03/15/2017             1
0448810002-02     D.W.        JFL Medical Care PC         76942           03/30/2017             1
0448810002-02     D.W.        JFL Medical Care PC         76942           05/24/2017             1
0448810002-02     D.W.        JFL Medical Care PC         76942           06/13/2017             1
0449850220-02     K.L.        JFL Medical Care PC         76942           05/17/2017             1
0478186786-08     S.P.        JFL Medical Care PC         76942           11/30/2017             1


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                               Allstate Ins. Co., et al. v. Rybak, et al.
   Representative Sample of Fraudulent Claims for Ultrasonic Guidance under Billing Code 76942
                                                          Billing
                Claimant                                                   Dates of         # of
 Claim No.                          Provider              Code
                 Initials                                                  Service          Units
                                                           Used
0431774421-04     M.J.       JPF Medical Services PC      76942           10/07/2016             1
0431774421-05     M.T.       JPF Medical Services PC      76942           10/07/2016             1
0380809228-02     C.A.         Ksenia Pavlova DO          76942           09/22/2015             1
0376459327-01     R.G.       RA Medical Services PC       76942           01/13/2016             1
0377476239-01     L.C.       RA Medical Services PC       76942           11/11/2015             1
0388249740-02     M.B.       RA Medical Services PC       76942           11/10/2015             1
0390737807-02     S.P.       RA Medical Services PC       76942           02/01/2016             1
0391445368-01     B.C.       RA Medical Services PC       76942           01/20/2016             1
0391537313-01     J.C.       RA Medical Services PC       76942           05/31/2016             1
0391537313-01     J.C.       RA Medical Services PC       76942           12/09/2015             1
0391674355-01     A.F.       RA Medical Services PC       76942           12/01/2015             1
0391674355-01     A.F.       RA Medical Services PC       76942           12/21/2015             1
0391674355-01     A.F.       RA Medical Services PC       76942           02/09/2016             1
0393819305-01     A.C.       RA Medical Services PC       76942           12/23/2015             1
0393819305-01     A.C.       RA Medical Services PC       76942           01/13/2016             1
0393819305-02     L.C.       RA Medical Services PC       76942           01/20/2016             1
0394803431-02     A.D.       RA Medical Services PC       76942           02/02/2016             1
0394803431-02     A.D.       RA Medical Services PC       76942           02/09/2016             1
0397246497-01     S.M.       RA Medical Services PC       76942           01/05/2016             1
0397246497-01     S.M.       RA Medical Services PC       76942           12/15/2015             1
0397246497-01     S.M.       RA Medical Services PC       76942           01/05/2016             1
0397246497-01     S.M.       RA Medical Services PC       76942           01/19/2016             1
0398385996-02     F.P.       RA Medical Services PC       76942           01/15/2016             1
0405235540-01     K.W.       RA Medical Services PC       76942           03/23/2016             1
0405581117-01     C.K.       RA Medical Services PC       76942           03/16/2016             1
0405581117-01     C.K.       RA Medical Services PC       76942           04/13/2016             1
0407146448-02     M.J.       RA Medical Services PC       76942           03/24/2016             1
0407146448-02     M.J.       RA Medical Services PC       76942           04/13/2016             1
0413937953-02     B.W.       RA Medical Services PC       76942           06/27/2016             1
0416039170-02     S.P.       RA Medical Services PC       76942           06/10/2016             1




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